         Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 1 of 644

                REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1   CHRISTINE A. VARNEY (pro hac vice)
     cvarney@cravath.com
 2   KATHERINE B. FORREST (pro hac vice)
     kforrest@cravath.com
 3   GARY A. BORNSTEIN (pro hac vice)
     gbornstein@cravath.com
 4   YONATAN EVEN (pro hac vice)
     yeven@cravath.com
 5   J. WESLEY EARNHARDT (pro hac vice)
     wearnhardt@cravath.com
 6   LAUREN A. MOSKOWITZ (pro hac vice)
     lmoskowitz@cravath.com
 7   JUSTIN C. CLARKE (pro hac vice)
     jcclarke@cravath.com
 8   M. BRENT BYARS (pro hac vice)
     mbyars@cravath.com
 9   CRAVATH, SWAINE & MOORE LLP
     825 Eighth Avenue
10   New York, New York 10019
     Telephone: (212) 474-1000
11   Facsimile: (212) 474-3700
12   PAUL J. RIEHLE (SBN 115199)
     paul.riehle@faegredrinker.com
13   FAEGRE DRINKER BIDDLE & REATH LLP
     Four Embarcadero Center
14   27th Floor San Francisco, CA 94111
15   Telephone: (415) 591-7500
     Facsimile: (415) 591-7510
16   Attorneys for Plaintiff and Counter-defendant
17   Epic Games, Inc.

18                            UNITED STATES DISTRICT COURT
19                          NORTHERN DISTRICT OF CALIFORNIA
20                                      OAKLAND DIVISION
21
        EPIC GAMES, INC.,                              Case No. 4:20-cv-05640-YGR-TSH
22
                         Plaintiff, Counter-defendant, FINDINGS OF FACT AND
23
                                                       CONCLUSIONS OF LAW
24                                                     PROPOSED BY EPIC GAMES, INC.
                              v.
25
        APPLE INC.,
26                                                     The Honorable Yvonne Gonzalez Rogers
                         Defendant, Counterclaimant.
27                                                     Trial: May 3, 2021

28
          Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 2 of 644




 1                Epic Games, Inc. respectfully proposes the Findings of Fact and Conclusions of

 2   Law submitted herewith.

 3
       Dated: May 28, 2021                     CRAVATH, SWAINE & MOORE LLP
 4
                                                   Christine Varney
 5                                                 Katherine B. Forrest
                                                   Gary A. Bornstein
 6                                                 Yonatan Even
                                                   J. Wesley Earnhardt
 7                                                 Lauren A. Moskowitz
                                                   Justin C. Clarke
 8                                                 M. Brent Byars
 9
                                               Respectfully submitted,
10
                                               By: /s/ Katherine B. Forrest
11                                                  Katherine B. Forrest
12                                                   Attorneys for Plaintiff-Counter-defendant
                                                     Epic Games, Inc.
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 3 of 644




                                                     Findings of Fact

Note: (i) Yellow highlighting quotes or reproduces materials that the Court has ordered sealed
in a prior order or that are subject to a sealing request; (ii) blue highlighting indicates materials
that are subject to the pending motions at Dkt. Nos. 602, 657 or 721; and (iii) green highlighting
reflects materials that are subject to both (i) and (ii).


I.     INTRODUCTION. ......................................................................................................... 1

II.    BACKGROUND – APPLE AND ITS ECOSYSTEM ...................................................16

       A.        Apple’s Business. ...............................................................................................16

       B.        Switching Costs Tend To Lock Users into iOS. ..................................................24

       C.        Because Users Are Locked into iOS, Mobile App Developers Cannot
                 Forgo Developing Apps for iOS. ........................................................................34

       D.        The Origin of the App Store. ..............................................................................40

       E.        Apple Recognizes that Having More Developers on Its Platform Enables It
                 to Sell More iPhones. .........................................................................................50

       F.        iOS App Store Profitability. ...............................................................................54

III.   THERE IS AN AFTERMARKET FOR iOS APP DISTRIBUTION. .............................68

       A.        There Is a Foremarket for Smartphone Operating Systems. ................................68

       B.        The Geographic Market for Smartphone OSs Is Global Excluding China. ..........73

       C.        Consumers Do Not View Other Electronic Devices as Substitutes for
                 Smartphones. .....................................................................................................75

       D.        Developers Do Not View Other Electronic Devices as Substitutes for
                 Smartphones. .....................................................................................................88

       E.        Apple and Google Are the Only Significant Participants in the Foremarket
                 for Mobile OSs. .................................................................................................90

       F.        Apple Has Market Power in the Smartphone Operating System
                 Foremarket.........................................................................................................92

                                                                i
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 4 of 644




      G.        There Is an Aftermarket for iOS App Distribution. .............................................95

      H.        Apple Incorrectly Defined the Relevant Market as the Market for Digital
                Games Transactions. ........................................................................................ 103

      I.        The Geographic Market for iOS App Distribution Is Global Excluding
                China. .............................................................................................................. 125

      J.        The iOS App Distribution Market Is a Properly Defined Aftermarket............... 126

      K.        App Stores on Other Smartphone Operating Systems Are Not Substitutes
                for the App Store.............................................................................................. 131

      L.        Web App Distribution is Not a Substitute for Native App Distribution. ............ 132

      M.        Streaming Services Are Not Substitutes for Downloading Games Locally
                as Native Apps. ................................................................................................ 146

IV.   APPLE HAS MONOPOLY POWER IN THE iOS APP DISTRIBUTION
      MARKET. ................................................................................................................... 159

      A.        Apple Uses Its Control over iOS to Monopolize App Distribution Through
                Contractual Restrictions. .................................................................................. 159

      B.        Apple Has 100% Market Share in the Market for iOS App Distribution. .......... 167

      C.        The App Store’s Profit Margins Are Extraordinarily High. ............................... 170

      D.        Apple Does Not Track Relative Pricing of Apps on Non-iOS Platforms. .......... 203

V.    APPLE’S CONDUCT CAUSES ANTI-COMPETITIVE EFFECTS IN THE iOS
      APP DISTRIBUTION MARKET. ............................................................................... 206

      A.        Apple’s Conduct Foreclosed All Manners of Distribution of Apps on iOS
                by Third Parties. ............................................................................................... 206

      B.        Apple’s Conduct Increases the Price of Apps to Consumers. ............................ 211

      C.        Apple’s Conduct Harms Innovation. ................................................................ 215

      D.        Apple Self-Preferences Its Own Apps. ............................................................. 224



                                                                ii
        Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 5 of 644




        E.     Apple Has Rejected ‘Store Within a Store’ Apps for Anti-competitive
               Reasons, Not Because of Security Concerns. .................................................... 228

        F.     Apple’s Conduct Increases Barriers to Switching by Preventing the
               Development of Effective Middleware. ............................................................ 233

VI.     APPLE HAS AND EXERCISES MONOPOLY POWER IN THE MARKET
        FOR PAYMENT SOLUTIONS FOR ACCEPTING AND PROCESSING
        PAYMENTS FOR DIGITAL CONTENT PURCHASED WITHIN AN iOS APP. ...... 236

        A.     There Is a Separate Aftermarket for Payment Solutions for Accepting and
               Processing Payments for Digital Content Purchased Within an iOS App
               (“iOS In-App Payment Solutions Market”). ..................................................... 236

        B.     There Is Separate Demand for In-App Payment Solutions. ............................... 245

        C.     IAP and the App Store Are Not Integrated. ...................................................... 254

        D.     Apple Has and Exercises Monopoly Power in the iOS In-App Payment
               Solutions Market. ............................................................................................. 255

VII.    APPLE HAS TIED TOGETHER TWO DISTINCT PRODUCTS—ITS APP
        DISTRIBUTION SERVICES AND ITS IN-APP PAYMENT SOLUTIONS............... 263

VIII.   APPLE’S CONDUCT CAUSES ANTI-COMPETITIVE EFFECTS IN THE
        MARKET FOR iOS IN-APP PAYMENT SOLUTIONS. ............................................ 268

        A.     Apple’s Conduct Raises the Price of In-App Purchases of Digital Goods
               Within iOS apps. .............................................................................................. 268

        B.     Many Developers Cannot Afford to Pay Apple’s 30% Commission for
               In-App Purchases of Digital Content. ............................................................... 269

        C.     By Standing as a Middleman in Every In-App Purchase of Digital
               Content, Apple Interferes with Developers’ Ability to Provide Effective
               Customer Service. ............................................................................................ 270

        D.     Apple’s Management of IAP Refunds Increases Risk of Fraud. ........................ 274

        E.     Apple Does Not Provide Developers Access to Key Analytics About Their
               Customers, Which They Could Use to Improve Their Offerings. ...................... 275

        F.     Apple’s Price Tiers Interfere with Developers’ Pricing in Foreign Markets. ..... 278
                                                            iii
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 6 of 644




      G.      By Requiring Apple’s In-App Payment Solution, Apple Deprives
              Consumers of Innovative Payment Options that Would Offer More
              Flexibility and Convenience. ............................................................................ 279

      H.      Through Its Anti-Steering Provisions, Apple Deprives Consumers of
              Knowledge Regarding Available Choices. ....................................................... 279

      I.      Apple’s Pro-Competitive Justifications for Its Anti-Steering Provision
              Fail. ................................................................................................................. 282

IX.   EPIC IS INJURED BY APPLE’S CONDUCT. ........................................................... 283

      A.      Background...................................................................................................... 283

      B.      Fortnite. ........................................................................................................... 289

      C.      Fortnite Game Modes. ..................................................................................... 303

      D.      Fortnite as a Social Space. ............................................................................... 305

      E.      Cross-Progression Enhances the Complementary, Not Substitutable,
              Nature of Other Platforms. ............................................................................... 307

      F.      Epic Games Store............................................................................................. 309

      G.      Distribution of EGS. ........................................................................................ 312

      H.      Epic’s Financial Arrangements with Developers Distributing Through
              EGS. ................................................................................................................ 315

      I.      EGS Security. .................................................................................................. 317

      J.      Epic Online Services (“EOS”). ......................................................................... 318

      K.      iOS is an Important Distribution Channel for Fortnite. ..................................... 319

      L.      Engineering Issues. .......................................................................................... 320

      M.      Epic’s Experience on iOS................................................................................. 322

      N.      Epic Has Disagreed with Apple’s Policies for Years. ....................................... 325

      O.      The Hotfix. ...................................................................................................... 330

                                                              iv
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 7 of 644




      P.      Epic Direct Payment. ....................................................................................... 331

      Q.      Unreal Engine.................................................................................................. 334

X.    INTELLECTUAL PROPERTY JUSTIFICATIONS FOR APPLE’S
      RESTRAINTS ON APP DISTRIBUTION ARE PRETEXTUAL. ............................... 342

XI.   SECURITY JUSTIFICATIONS FOR APPLE’S RESTRAINTS ON APP
      DISTRIBUTION ARE PRETEXTUAL. ...................................................................... 353

      A.      iOS Was Modeled on macOS and Inherited its Core Architectural
              Features. .......................................................................................................... 354

      B.      Apple Has Failed to Demonstrate that macOS and iOS Have a
              Meaningfully Different “Threat Model” in the Context of App
              Distribution. ..................................................................................................... 356

      C.      Apple’s Decision to Forbid Third-Party Distribution Outside the App
              Store Was a Policy Decision, Not a Security Requirement. .............................. 358

      D.      Apple Separates Notarization from Distribution on macOS, Creating a
              Secure Yet Open Distribution Model on macOS............................................... 363

      E.      Security, Including for the iPhone, is Ensured First and Foremost by the
              OS and Hardware. ............................................................................................ 375

      F.      Apple’s App Review Is Cursory, Is Opaque and Yields Poor Results. .............. 378

      G.      Apple Has Historically Lagged Behind Other Platforms in the Use of
              Automated Tools for App Review. ................................................................... 394

      H.      App Review Does Not Ensure Security or Quality. .......................................... 396

      I.      Even if Apple Ended Its Prohibition on Third-Party Distribution, App
              Review’s Security Protections Could Be Maintained by Apple or
              Replicated by Third Parties. ............................................................................. 403

      J.      iOS Already Natively Supports Direct Downloading of Unreviewed Third-
              Party Apps Through the Enterprise and Ad Hoc Distribution Programs. ........... 415

      K.      Apple’s Comparison of Security on iOS vs. Other Platforms is Incomplete
              and Misleading. ................................................................................................ 417

                                                              v
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 8 of 644




       L.      Enabling Third-Party App Distribution Would Not Meaningfully Impact
               Security on the iOS Platform. ........................................................................... 421

XII.   SECURITY JUSTIFICATIONS FOR APPLE’S REQUIREMENT FOR IN-APP
       PURCHASE ARE PRETEXTUAL. ............................................................................ 425

       A.      Apple Has Not Identified Security Vulnerabilities Created by Third-Party
               Direct Payment Mechanisms that Are Used on iOS Devices. ............................ 426




                                                          vi
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 9 of 644




I.     INTRODUCTION.

               1.      This case is about Apple’s conduct to monopolize two markets within its

iOS ecosystem: (i) the iOS App Distribution Market; and (ii) the iOS In-App Payment Solutions

Market. To understand those markets and Apple’s conduct within those markets, it is important

to understand Apple’s iOS ecosystem.

               2.      The foundation of this ecosystem is the iPhone’s mobile operating system,

called “iOS”. (DX-4581.4.)

               3.      iOS grew out of Apple’s macOS operating system (formerly known as

Mac OS X), versions of which have been on Apple’s Mac computers since the early 2000s. iOS

traces its roots back to the introduction of the iPhone in 2007. (See Section II below; see also

Ex. Depo. 4 at 37:23-38:1, 64:19-21, 81:2-84:6 (Forstall); PX-880.10.)

               4.      Since the introduction of iOS in 2007, Apple has developed myriad

services and features that tie together all Apple products to create an Apple “ecosystem”, but that

are not compatible with devices running on other operating systems outside of the Apple

ecosystem. As Apple has added more features and more devices that can interact with iOS, the

reach and hold that iOS has on consumers’ lives has grown. (See Sections II.A-II.B below.)

               5.      As a result, consumers—and often their households—become locked in to

iOS, with high switching costs and decreased ability and willingness to extract themselves from

the iOS ecosystem. (Athey Trial Tr. 1754:16-18, 1769:22-1770:22, 1792:13-24; see also Section

II.B below.)



                                                 1
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 10 of 644




               6.     These switching costs run the gamut, from time, to financial costs

associated with reacquiring digital content, to learning a new operating system, and to the

frustration and complexity associated with having a device that is incompatible with a user’s

remaining devices or the devices of friends and family members who remain on iOS. As one of

Apple’s executives put it: “Who leaves Apple products once they’ve bought apps, music,

movies, etc!” (PX-404.1; Ex. Depo. 3 at 67:13-19; 68:1-13 (Cue); see also Section II.B below.)

               7.     While these features designed by Apple may be responsible for the lock-

in, they are not what drew most users to the iOS ecosystem in the first place. Rather, the success

of the iOS ecosystem stemmed from the combination of Apple’s iPhone with iOS and with a

world of software created by developers whose ingenuity, creativity and dedication has led to an

array of apps that provide ever-more functionality to users within the iOS ecosystem. (See

Section II.E below.) As Apple’s iconic commercial noted, whatever a user wanted to do with her

iPhone, “there’s an app for that!” (PX-2065.1.)

               8.     Developers of apps cannot reach users of iOS devices without writing

apps specifically for iOS; native apps written for other operating systems do not work on iOS,

and non-native apps, such as apps delivered over a web browser, are no match for native apps

created specifically for iOS devices. (See Sections III.K-III.M below.)

               9.     In the fall of 2007, Apple recognized the need to allow third parties to

develop native apps for iOS to help attract new users and grow the iOS ecosystem. In March

2008, Apple announced the release of software tools for developing iOS apps and the upcoming

launch of the App Store. (See Section II.D below.)

                                                  2
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 11 of 644




                10.     The relationship between Apple and the developer community is, in some

ways, synergistic. Apple develops iOS, and app developers design apps that deploy iOS to do

wonderful, amazing, useful and fun things. Appealing devices, with appealing functionality,

result in consumer adoption. A device that has great potential, but not great functionality, is of

limited use to consumers. (See Section II.D-II.E below.) Apple has acknowledged that “[a]n

ecosystem including third party apps made our products more attractive”. (PX-314.5.)

                11.     That synergy, however, does not result in a level playing field. As Apple

has gathered more and more users into its ecosystem and locked them in, the importance of the

Apple ecosystem to developers has increased to the point that nearly all developers rely on

Apple—but Apple does not need to rely on any single developer. (See, e.g., Sections II.C and IV

below.)

                12.     Although Apple had other options, and debated them internally as a

“policy” matter, at the same time it decided to allow third parties to develop apps for iOS users,

in 2008, Apple chose to make the newly created App Store the exclusive means of distribution of

all apps on iOS. (See Section II.D below.)

                13.     Apple requires all app developers that wish to have their apps available on

an iOS device to enter into non-negotiable contracts that establish the terms and conditions of

their relationship. (See Section IV.257 below.) Under these contracts, app developers are

subject to a variety of restrictions related to distribution:

                        a.      Developers must submit all their apps and app updates for review

                                by Apple, and await Apple’s determination as to whether to

                                                    3
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 12 of 644




                               approve or reject their app, which Apple makes in its sole

                               discretion (PX-2619.16 (DPLA) § 3.2(g); see Section XI.F below);

                       b.      Apple may delist developers’ apps from the App Store at any time

                               (PX-2943 (Schedule 2) § 7.3);

                       c.      Developers cannot offer their own app store on iOS devices

                               (PX-2619 (DPLA) § 3.3.2); and

                       d.      Other than specified exceptions, developers cannot allow users to

                               access content, subscriptions or features they purchased through

                               another app distribution channel, such as the developer’s own

                               website, without also selling it in the App Store (PX-2619 (DPLA)

                               § 3.3.3.).

               14.     As a result of these restrictive policies, the App Store is the only place for

iOS users to obtain and developers to distribute apps, for the range of tasks and activities users

may want to do on iOS devices, such as banking, navigation, gaming, watching videos, social

networking, and finding friends or romantic partners. (See, e.g., Section Error! Reference

source not found. below.)

               15.     The App Store started out with only 500 apps. (Fischer Trial Tr. 928:14;

Cook Trial Tr. 3860:20-21.) That number grew to over 75,000 after one year. (Schiller Trial Tr.

2845:16-21.) Today, the App Store contains 1.8 million apps. (Fischer Trial Tr. 928:14-15;

Cook Trial Tr. 3860:20-22.)




                                                  4
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 13 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 14 of 644




               20.     Apple points to its App Review process and asserts that there are security

benefits that flow from funneling all apps through the App Review process, but that is pretextual.

(See Section Error! Reference source not found. below.) Apple’s App Review process does

little to keep iOS devices secure. It is cursory and has historically lagged behind the state of the

art in terms of use of the automated tools needed for robust security checks. Many apps that

should have been rejected under Apple’s own guidelines have been approved, and apps that

should have been approved have been rejected. Developers have faced an inefficient and opaque

app review process riddled with arbitrary decisions and errors coupled with poor customer

service. (See Sections XI.F-Error! Reference source not found. below.)

               21.     Moreover, the manual portion of Apple’s App Review process screens

primarily for non-security issues—including specifically for anti-competitive purposes. For

example, Apple has used the App Review process to reject competitive threats even when the

apps complied with Apple’s then-prevailing guidelines. And Apple has used App Review to

preference its own apps over competing third-party apps to the detriment of consumers and

developers. (See Sections Error! Reference source not found. below.)

               22.     There is nothing security-related about Apple’s App Review process that

Apple could not continue to do if distribution were open—similar to what Apple does on macOS

today through a process it calls “notarization”—or that could not be replicated or even improved

upon by third parties. Put simply, Apple has no security reason for restricting iOS app

distribution to the App Store. Indeed, Apple has never even analyzed whether any other app

stores would introduce security problems to the iOS platform. (See, e.g., Section XI.I below.)

                                                  6
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 15 of 644




               23.     Not only is exclusive distribution through the App Store neither designed

to nor essential to ensure security, but also Apple’s restrictions on app distribution degrade the

experience of consumers and developers. Excluding competing app stores from the iOS

ecosystem has resulted in higher app prices, less innovation and fewer features for both

developers and consumers. And Apple’s arbitrary App Review process is ripe for abuse. (See

Parts V, VIII below.) The safety of iOS users is also not dependent on Apple’s restrictive

policies. To the contrary, Apple’s policies have actually harmed user safety because, by refusing

to loosen its stranglehold on consumers and their data, Apple refuses to help developers with

even the most basic safety features, such as running registered sex offender checks or verifying

users’ ages. (See Section VIII.E below.)

               24.     As some developers’ business models evolved from selling apps up front

to providing apps free to download and offering content for purchase within the app, Apple

adapted its business model, as well, by adding a new restriction. Between the launch of the App

Store and 2009, an array of developers developed their own functionality that permitted their

users to make purchases from within their apps. In 2009, Apple introduced the In-App Purchase

(“IAP”) system—a payment solution that Apple required all developers selling in-app digital

content to use and that carried with it an automatic deduction of a 30% commission from all such

in-app purchases of digital content. Later still, in 2011, Apple expanded the reach of IAP to

cover subscriptions. (See Section II.F below.)

               25.     Apple’s price hikes have closed the door on many developers who wish to

enter the iOS ecosystem. Some small businesses cannot afford to absorb Apple’s 30% fee and

                                                 7
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 16 of 644




would lose business if they passed it on to their customers. As Apple’s founder Steve Jobs

acknowledged, Apple’s commission “is prohibitive for many things”. (PX-438.1.)

                  26.   Of course, some developers have chosen to pass on part of Apple’s 30%

fee to consumers. For that reason, Apple’s conduct has caused consumers to pay higher prices

for apps and in-app content. (See Part VIII below.)

                  27.   The App Store and IAP are not technologically integrated. The App Store

was created and existed for some time without IAP, and it still exists apart from IAP. (See

Section Error! Reference source not found..) While Apple requires the use of IAP for the

purchase of in-app digital content, Apple does not require the use of IAP for in-app purchases of

physical goods and services made from iOS apps, such as Amazon purchases or Uber rides.

(See, e.g., Section VI.B below.)

                  28.   Rather than technological, Apple’s requirement that all in-app purchases

of digital goods use Apple’s IAP is contractual. The IAP requirement is simply a tool for Apple

to collect its outsized commission. (See Section VI.D below.) Specifically, under the same non-

negotiable contracts discussed above, app developers are subject to a variety of restrictions

related to IAP:

                        a.     They must use Apple’s In-App Purchase system for digital in-app

                               purchases and may not include an alternative payment solution

                               within the app (PX-2790 (App Store Review Guidelines) § 3.1.1);

                        b.     They cannot steer users to alternative payment methods outside the

                               app: “Apps and their metadata may not include buttons, external

                                                 8
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 17 of 644




                  links, or other calls to action that direct customers to purchasing

                  mechanisms other than in-app purchase” (PX-2790 (App Store

                  Review Guidelines) § 3.1.1);

             c.   Starting with the operative version of the Guidelines (those issued

                  in March of 2021 and in evidence as PX-2790), Apple began

                  imposing even more onerous and suffocating anti-steering

                  provisions on developers. (Trial Tr. 4147:1-25; PX-2790

                  (Guidelines) § 3.1.3.) These broad, newly added restrictions go

                  beyond the above-described prohibitions on links and calls to

                  action within the app which existed in previous iterations of the

                  Guidelines. Specifically, the new Guidelines also contain

                  additional broad anti-steering language that applies to developers

                  that offer multi-platform apps. (Trial Tr. 4147:1-25; PX-2790

                  (Guidelines) § 3.1.3.) The new Guidelines prevent such

                  developers from marketing non-App Store purchase alternatives to

                  consumers using any of the information that they obtain from their

                  own customers when customers sign up for an account for the

                  developer’s app on iOS. (Trial Tr. 4147:1-25; PX-2790

                  (Guidelines) § 3.1.3 (prohibiting developers from “encouraging

                  users to use a purchasing method other than in-app purchase”




                                    9
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 18 of 644




                              “either within the app or through communications sent to points of

                              contact obtained from account registration within the app.”)

                      d.      They must allow Apple to collect a 30% commission on the sale of

                              paid apps (PX-2943.3-5 (Schedule 2) § 3.4);

                      e.      They must allow Apple to collect a 30% commission on digital

                              in-app purchases including subscriptions (with a 15% commission

                              on subscriptions after the first year) (PX-2943.3-4 (Schedule 2)

                              § 3.4(a));

                      f.      They may not mention the commission paid to Apple anywhere in

                              the app (Ex. Depo. 2 at 144:10-23 (Shoemaker)); and

                      g.      They must price their app within global pricing tiers set by Apple.

                              (Ex. Depo. 9 at 266:12-15 (Fischer)).

               29.    As with Apple’s contractual requirement that apps be distributed

exclusively through the App Store, Apple’s decision to require apps to use IAP was a business

decision. It was meant to capture revenue, not to create security benefits. Apple’s assertion to

the contrary is pretextual. (See Part XII below.)

               30.    As noted above, before Apple imposed its IAP requirement in 2009, non-

IAP payment methods were used by some developers to process payments for digital content.

Apple has no evidence that using those methods for those apps created any security issues. And

Apple continues to permit non-IAP payment methods for various categories of apps. Apple has




                                                10
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 19 of 644




no evidence that the non-IAP payment methods in these apps have caused security issues. (See

Part XII below.)

               31.    There are many third-party payment processors available for developers,

including PayPal, Chase, Square and Stripe, just to name a few. They are trusted partners of

thousands of companies, including Grubhub, Wish, StubHub, Uber, DoorDash, Lyft, Instacart,

Postmates, Amazon Shopping, Walmart, eBay, Amazon Prime Video, Altice One, and Canal+.

(See Ex. Expert 1 (Evans) ¶¶ 235, 238.) Apple itself contracts with PayPal and Chase as part of

the IAP process. (Ex. Depo. 12 at 75:12-19, 78:23-25, 79:3-8, 79:10-15 (Gray).) (See

Section XII below.)

               32.    Apple’s requirement that its IAP solution be inserted in the relationship

between developers and these third-party payment processors does not ensure security. To the

contrary, third-party payment processors may provide even better security than Apple. They

have multi-platform datasets that detect fraud better than Apple can through IAP. Security could

also be a vector on which third-party payment processors compete and innovate, leading to better

security for everyone. (See Part XII below.)

               33.    Not only is Apple’s IAP requirement neither designed nor essential to

ensuring security on iOS, but also Apple’s IAP requirement results in significant decreases in

quality to consumers and developers. It interferes with the relationship between developers and

their customers, from forcing developers to rely on Apple for resolving transactional disputes, to

processing refunds, to preventing developers from obtaining data and metrics about their




                                                11
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 20 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 21 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 22 of 644




             a.   Epic has an app store, the Epic Games Store, that it has launched

                  on personal computers (“PCs”) and Macs. Epic would launch the

                  Epic Games Store on iOS if it could, but Apple will not allow it to

                  do so. If the Epic Games Store were on iOS, it would provide

                  consumers with the benefits of competition in iOS app distribution.

             b.   Absent Apple’s rules, Epic would not distribute its apps through

                  the App Store. (Sweeney Trial Tr. 97:24-98:4 (“[O]ur Epic Games

                  Store business is harmed by Apple’s policies because we are

                  barred from introducing a version of our store for iOS. So we can

                  operate on PC and Mac, but we cannot, because of Apple’s

                  policies, distribute apps on iOS, and that locks us out of a very

                  large worldwide business we would love to be in.”).) Instead, Epic

                  would distribute its apps through other means, including from its

                  website and through EGS. (Sweeney Trial Tr. 97:25-98:4.) By

                  distributing its apps through the App Store, Epic has paid supra-

                  competitive commissions and been deprived of the benefits that

                  would flow from a competitive market. (Sweeney Trial Tr. 92:8-

                  13; Evans Trial Tr. 1550:7-14 (Apple’s anticompetitive conduct in

                  the iOS App Distribution Market has caused “higher prices”, “less

                  and poorer distribution services” and a “slower pace of

                  innovation”.).)

                                    14
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 23 of 644




                      c.      Epic has its own payment processing functionality—Epic direct

                              payment. Apple forbids Epic from using Epic direct payment on

                              iOS, depriving Epic’s customers of payment choices that would

                              allow Epic to offer lower prices and comprehensive customer

                              service. (Sweeney Trial Tr. 128:13-129:4.)

               40.    In addition, many other app developers have also been harmed by Apple’s

practices, several of which have come forth to provide testimony in this case. (See Part VIII

below.)

                      a.      There are app developers that are unable to innovate and produce

                              products because of Apple’s practices. (See, e.g., Ex. Depo. 1 at

                              65:15-17; 65:19-66:4 (Ong).)

                      b.      There are app developers that cannot offer safety features to users

                              because of Apple’s practices.

                      c.      There are app developers that cannot financially survive because of

                              Apple’s practices, depriving customers of their offerings

                              altogether.




                                               15
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 24 of 644




II.    BACKGROUND – APPLE AND ITS ECOSYSTEM

       A.     Apple’s Business.

              41.     The Court takes judicial notice of the fact that Apple is the largest

company in the world by market capitalization, with a market cap of over $2 trillion. (See

Jessica Bursztynsky, Apple Becomes First U.S. Company to Reach a $2 Trillion Market Cap,

CNBC (Aug. 19, 2020), https://www.cnbc.com/2020/08/19/apple-reaches-2-trillion-market-

cap.html.)

                      a.     “Information about the stock price of publicly traded companies

                             [is] the proper subject of judicial notice.” In re Facebook, Inc. Sec.

                             Litig., 405 F. Supp. 3d 809, 828 (N.D. Cal. 2019).

              42.     Apple is headquartered in Cupertino, California, and employs

approximately 147,000 full-time equivalent employees worldwide. (DX-4581.7, 18.)

              43.     Apple launched the iPhone in 2007. (Schiller Trial Tr. 2719:8-9;

DX-3426.1; Cook Trial Tr. 3849:12.)

              44.     Smartphones require an operating system (“OS”) to function. Among

other things, an OS makes decisions about how a device’s hardware resources are shared across

different apps, coordinates activities among those apps and enforces security mechanisms to

prevent those apps from interfering with the proper operation of the device. (Sweeney Trial Tr.

132:6-15; Grant Trial Tr. 663:13-17; Ex. Expert 5 (Mickens) ¶¶ 7, 21-23.)

              45.     The iPhone runs on a mobile operating system called “iOS”. (DX-

4581.4.)


                                                16
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 25 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 26 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 27 of 644




                       a.      The notes from this meeting were about Mobile Me, a precursor to

                               what is now iCloud. (See Schiller Trial Tr. 2865:17-21.)

                       b.      Mr. Schiller later wrote to other Apple executives that iCloud

                               “figure[s] pretty big in the ability and effort involved [for

                               customers] to switch [from iPhone to Android].” (PX-80.1;

                               Schiller Trial Tr. 2955:10-1956:14.)

               57.     Apple has developed a number of apps, services and features that enhance

“lock in” into the Apple ecosystem. iMessage (used in the Messages app), “Find My Friends”

and “Continuity” are a few examples, all discussed below. As Apple has developed, updated and

released its own apps over time, it has built them “as far into the iPhone OS experience as

possible.” (PX-403.1.)

               58.     Messages is a particularly “sticky” Apple app. It allows for seamless

messaging and multimedia communications across Apple iPhones, iPads and Macs. (PX-416;

Ex. Depo. 3 at 114:14-115:2 (Cue); Schiller Trial Tr. 3171:13 (“iMessage is a communications

service that Apple runs.”).)

               59.     Consumers have come to rely on the ability to iMessage each other on iOS

devices. If an iPhone user attempts to send a text message to the user of a non-Apple device

(such as an Android phone), iMessage transmits the message as a standard cellular text (called an

SMS), meaning both users are deprived of the features uniquely associated with iMessage,

including encryption of the message contents. (Schiller Trial Tr. 3172:4-3173:9.) Apple

prominently reveals to iOS users whether they are exchanging messages with someone who

                                                 19
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 28 of 644




owns an iOS device: iMessages appear in blue bubbles, and standard text messages appear in

green bubbles. (Schiller Trial Tr. 3173:11-16.)

               60.    Apple has recognized the power that iMessage has to attract and keep

users within its ecosystem.

                      a.      As early as 2013, Apple decided not to develop a version of

                              iMessage for the Android OS. (Ex. Depo. 3 at 91:17-20, 91:22-

                              92:09, 92:11-12, 92:18-93:1 (Cue).)

                      b.      Mr. Cue testified that Apple “could have made a version on

                              Android that worked with iOS” such that there would “have been

                              cross-compatibility with the iOS platform so that users of both

                              platforms would have been able to exchange messages with one

                              another seamlessly”. (Ex. Depo. 3 at 92:5-9, 92:11-16 (Cue).)

                      c.      However, Craig Federighi, Apple’s Senior Vice President of

                              Software Engineering and the executive in charge of iOS, feared

                              that “iMessage on Android would simply serve to remove [an]

                              obstacle to iPhone families giving their kids Android phones”.

                              (PX-407.1; Ex. Depo. 3 at 96:7-11, 97:8-12 (Cue).)

                      d.      Mr. Schiller, an Apple executive in charge of the App Store,

                              agreed that Apple should not offer iMessage on Android devices.

                              (PX-408.1 (“iMessage was created as a feature of iOS that brings

                              value to our iPhone users. It makes no revenue and is funded by

                                                  20
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 29 of 644




                  our product margins. The idea that we should now get into the

                  messaging business (what little there is of it) . . . is 180 degrees a

                  different strategy. I don’t understand the end game there.”); Ex.

                  Depo. 3 at 92:18-93:1 (Cue).)

             e.   In 2013, Mr. Cue forwarded a news article titled “9 Smart and

                  Useful Features of Apple’s iPhone Ecosystem That Make it Hard

                  to Switch” to his team. (PX-415.1; Ex. Depo. 3 at 128:7-25

                  (Cue).)

             f.   In 2016, a former Apple employee commented that “the #1 most

                  difficult [reason] to leave the Apple universe app is iMessage . . .

                  iMessage amounts to serious lock-in” to the Apple ecosystem.

                  (PX-416.3; Ex. Depo. 3 at 114:14-115:2 (Cue).) Greg Joswiak, an

                  Apple executive, responded to other Apple executives that “we

                  hear this a lot”. (PX-416.1.) In turn, Mr. Schiller wrote “note Joz

                  and I think moving iMessage to Android will hurt us more than

                  help us, this email illustrates why” and Mr. Schiller shared this

                  analysis with Mr. Cook, who forwarded the email to other high-

                  level Apple executives. (PX-416.1.)

             g.   Similarly, in late 2016, Mr. Schiller forwarded an article to “the

                  highest level executives at Apple” (Schiller Trial Tr. 2981:11-

                  2982:19) titled “iMessage is the glue that keeps me stuck to the

                                    21
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 30 of 644




                              iPhone”. (PX-2356.1.) The article stated, “[T]he main draw of

                              iOS is really interoperability between iPhone and other Apple

                              products, and nothing is stickier in that regard than iMessage (for

                              better or worse).” (PX-2356.4.)

                      h.      iMessage remains unavailable to non-iOS devices. (Schiller Trial

                              Tr. 3172:2-12 (SMS and iMessage are different protocols, and “if

                              [the two devices sending messages] are different, it sends an SMS.

                              And if they are both iPhone or Apple-related devices, then it will

                              send an iMessage and that gives added features.”).)

               61.    Apple has continued to identify new ways to keep users in its iOS

ecosystem. In December 2019, Mr. Cook asked, “What could we do that would give us a long

term competitive advantage for both enterprise and consumer?” (PX-842.2.) Mr. Federighi

responded, “Our primary strategy here is to eliminate user-entered passwords.” (PX-842.1

(emphasis in original).) These passwords would not transfer if a user switched from an iOS

device to an Android device. (Schiller Trial Tr. 2990:2-9.) Mr. Federighi explained that “use of

these features is likely to make our platform more ‘sticky’”. (PX-842.2.)

               62.    Apple provides users of its devices with a suite of features that are

available only for Apple devices, including AirDrop, used to send files and information to nearby

devices without an Internet connection (DX-5492.163; DX-5335.5); Instant Hotspot, used to

“connect[] other Apple devices to a personal iOS or iPadOS hotspot” (DX-5492.149); “Find

My”, which allows users to locate missing devices, is also designed to work only for Apple

                                               22
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 31 of 644




devices (see DX-5492.145-146); and family sharing of iCloud storage (Schiller Trial

Tr. 2962:25-2963:10).

               63.      “Continuity” is another Apple feature that Apple executives have been

informed draws users deeper into the iOS ecosystem. (See PX-2356.4.) According to Apple

expert Professor Hitt, Continuity is “a suite of tools that allow [users] to seamlessly transition

between files and processes on separate Apple devices”, and Handoff, one feature within the

suite, “allows users to begin a process or task on one device and continue doing so on another

device”. (DX-5335.5.) Professor Hitt further notes that this feature serves to “create[] an

infrastructure to integrate different devices in [Apple’s] ecosystem”, as “[u]sers are able to

switch between [Apple] devices without losing information or progress.” (DX-5335.5.)

               64.      Altogether, these Apple device-specific features encourage users to buy

multiple Apple devices, which Apple executives have been informed make it difficult to leave

the Apple ecosystem. (See PX-416.1; PX-2356.4 (“[T]he main draw of iOS is really

interoperability between iPhone and other Apple products.”).)

               65.      Apple’s prior adjudicated antitrust violations have not deterred it from

seeking to lock more and more consumers into its ecosystem, even when its conduct results in

higher consumer prices.

                        a.     Following a bench trial, the United States District Court for the

                               Southern District of New York found that Apple knowingly

                               violated the antitrust laws in a price-fixing case involving eBooks.

                               (See Schiller Trial Tr. 2983:13-2984:7.)

                                                 23
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 32 of 644




                      b.      A monitor was appointed to ensure that Apple could not continue

                              its anti-competitive conduct. (Schiller Trial Tr. 2984:12-14.)

                      c.      Mr. Cue was Apple’s primary trial witness at the trial. (Schiller

                              Trial Tr. 2985:13-15.)

                      d.      The court’s findings did not convince Apple to refrain from

                              pursuing anti-competitive conduct.

       B.      Switching Costs Tend To Lock Users into iOS.

               66.    The various types of costs for users to change platforms—for instance,

from iOS to Android—are called “switching costs”. (Evans Trial Tr. 1494:23-24 (“[S]witching

costs refer to the obstacles of moving from one product to another product.”).) “Sunk costs”

refer to consumers’ up-front investments—including the price of the device and learning how to

use it—these are switching costs that a user would have to incur again if they were to switch.

(Evans Trial Tr. 1494:19-1495:21.)

                      a.      Switching costs include the amount of time and effort that it takes

                              for a user to switch from one platform to another, such as between

                              an iOS and Android device—for instance, how much time it takes

                              to ensure that all app-related data that was downloaded onto the

                              user’s old device are transferred to the new one; which apps on the

                              new OS replicate the functionality of those apps the user

                              downloaded on the old OS; and accounts the user created can be

                              transferred (Athey Trial Tr. 1756:8-9 (“[N]ot every app [available]


                                               24
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 33 of 644




                  on iOS might be available on an Android.”); Ex. Expert 4 (Athey)

                  ¶¶ 20-23; Evans Trial Tr. 1496:5-13 (“If you switched . . . from

                  iPhone to Android . . . there are, for iOS users, potentially

                  important apps that you can’t use anymore, and you lose the data

                  from them and so forth. An example of that is iMessage.

                  Transferring data in apps. So, for example, if I have my photos

                  stored in iCloud, then those aren’t going to transfer over.”); see

                  also Schiller Trial Tr. 2963:3-10 (“Q. And so if I’m in a family

                  with Apple iPhone users, but I choose to have an Android, and

                  let’s say we have four people in the family, and we share an iCloud

                  storage account – which can be done; correct? A. Yes. Q. I, as an

                  Android user, cannot share that iCloud storage account; correct?

                  A. That’s true.”); PX-79.)

             b.   Switching costs include the human confusion and frustrations

                  involved in switching between operating systems, including

                  learning how to use the new operating system. (Ex. Expert 4

                  (Athey) ¶ 20; Evans Trial Tr. 1495:6-13 (Switching costs include

                  “spend[ing] time learning how to use the operating system and the

                  other things that go with it, and while this is an example of time,

                  there are also brains. There is the learning process for an operating

                  system”), id. at 1496:14-16 (While “[t]here is the whole issue of –

                                    25
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 34 of 644




                  it is not impossible, but there’s the whole issue of learning a new

                  set of user interfaces and controls for the phone.”); see also PX-

                  79.)

             c.   Switching costs include the financial costs associated with the

                  switch—for instance, losing valuable media, paid apps and in-app

                  purchases that cannot be transferred from one device to another

                  and must be downloaded again; and the cost of peripherals, such as

                  charging cables and docks, that only work with one type of device

                  and not another. (Athey Trial Tr. 1757:21-1758:7 (“So with [the

                  app] Moleskine, I have a library of notes and drawings and

                  sketches that I made while taking notes in class, and so given that I

                  won’t have Moleskine [after switching to Android], I can’t transfer

                  that data.”); Ex. Expert 4 (Athey) ¶¶ 21, 23; see also PX-79.)

                  Consumers incur sunk costs when they have to move from one

                  “operating system ecosystem” to another. (Evans Trial Tr.

                  1495:3-13.) These costs include “buy[ing] a phone”, which is

                  “expensive”. (Evans Trial Tr. 1495:5-6; see also Evans Trial Tr.

                  1496:20-1497:3. (“[O]ne of the other aspects of an operating

                  system ecosystem is there are generally other things that are

                  complimentary to it under accessories and peripheral devices and

                  so forth. So in the case of the iPhone, a person may have an Apple

                                    26
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 35 of 644




                             Watch or they may have Air Pods. In the case of the Apple Watch,

                             that does not really transfer over at all or very well onto Androids.

                             Air Pods, my understanding is not very well either.”).)

                     d.      Switching costs include the loss of utility or increased complexity

                             of certain communication with family and friends—for instance,

                             the loss of parental control capabilities, or family sharing on iOS

                             devices. (Athey Trial Tr. 1762:12-1764:20; Ex. Expert 4 (Athey)

                             ¶ 31 (“Apple’s Family Sharing and Screen Time features, for

                             example, only work if both the parent and the child use iOS or

                             other Apple OSs. If the family mixes-and-matches Android and

                             Apple devices, the value of such apps is reduced, and the Android

                             user must either repurchase the family’s apps or not have access to

                             them.”); see also PX-79.)

                     e.      Switching costs include the loss of services associated with a

                             particular operating system (e.g., access to cloud storage) (See

                             PX-79.3, .11-12.)

              67.    The switching costs of moving from using an iPhone to another mobile

device, such as an Android smartphone are substantial. (Athey Trial Tr. 1755:6-1761:7; Evans

Trial Tr. 1497:22-1498:5; Ex. Expert 1 (Evans) ¶¶ 83-88; see also PX-79; PX-416; PX-2093.)




                                               27
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 36 of 644




             68.   Among the steps that a user considering switching needs to take are the

following:

                   a.     Determining whether apps she uses to manage important devices

                          and critical relationships exist on the new device with equivalent or

                          sufficient functionality (e.g., apps that operate their “smart” home

                          devices such as thermostats and locks) (Ex. Expert 4 (Athey) ¶ 21;

                          see also PX-79);

                   b.     Determining whether other existing apps are available on the new

                          platform (Athey Trial Tr. 1755:12-19; Ex. Expert 4 (Athey) ¶ 21;

                          see also PX-79);

                   c.     Identifying and reinstalling her apps—which, for the average user,

                          would number over 100 (Athey Trial Tr. 1755:12-19; 1756:5-

                          1757:5; 1757:17-20; Ex. Expert 4 (Athey) ¶ 22; see also PX-79);

                   d.     Transferring her app-related data onto a new platform and

                          reestablishing any configured settings (e.g., account settings),

                          which may require her user to reestablish her relationship with

                          each app developer on the new platform (Athey Trial Tr. 1757:23-

                          1758:7; Ex. Expert 4 (Athey) ¶ 23; see also PX-79);

                   e.     For apps that involve subscriptions, users may need to continue to

                          manage their subscriptions on the old platform if they change

                          devices mid-subscription, or they may need to repurchase a

                                             28
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 37 of 644




                              subscription entirely. (Athey Trial Tr. 1758:8-1760:6 (“[I]f I

                              purchased [a New York Times] subscription on my iPhone, I need

                              to continue to manage that subscription through Apple, even

                              though I no longer have an Apple device to manage that

                              subscription.”); Ex. Expert 4 (Athey) ¶ 24.)

               69.    Users also incur “mixing-and-matching costs” when they access apps and

services on devices that have an operating system that is different from their mobile device.

(Athey Trial Tr. 1760:23-1761:3; Ex. Expert 4 (Athey) ¶¶ 26-27; see also PX-79; PX-407;

PX-416.)

               70.    Mixing-and-matching costs can be “within-user” (e.g., a user wanting to

access a note-taking app on both her phone and desktop computer), as well as within members of

a group or family (for example, a parent wanting to set various types of monitoring and

restrictions on his or her children’s devices). (Athey Trial Tr. 1761:5-1763:24, 1764:1-20;

Ex. Expert 4 (Athey) ¶¶ 29-32; see also PX-79; PX-407; PX-416.)

               71.    Due to these switching and mixing-and-matching costs, many users

choose devices that work on the same operating system as other devices they use, or that their

family and friends use. (See Ex. Expert 1 (Evans) ¶¶ 83-88.)

               72.    Once a user has chosen an operating system, she has made investments in

the hardware, software and learning for such operating systems. (Evans Trial Tr.

1494:19-1495:21; Ex. Expert 1 (Evans) ¶ 83; see PX-404.1.)




                                                29
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 38 of 644




             a.   Users who use iOS devices overwhelmingly stick with iOS devices

                  and do not also use (or switch to) Android devices. (Ex. Expert 1

                  (Evans) ¶ 88; Schmalensee Trial Tr. 1924:8-12; Lafontaine Trial

                  Tr. 2063:17-2064:16; Simon Trial Tr. 391:25-392:5; Patel Trial

                  Tr. 451:6-17.)

             b.   For example, data from the Match Group, which develops online

                  dating products (Ex. Depo. 1 at 12:9-25 (Ong)), shows that users of

                  the Tinder dating app generally do not use both iOS and Android

                  devices. (Ex. Depo. 1 at 66:12-24 (Ong).) As Adrian Ong, Match

                  Group’s Senior Vice President of Operations testified (Ex. Depo. 1

                  at 9:10-12, 9:15-18, 9:22-25 (Ong)), users pick a platform, become

                  comfortable with its nuances and stick to it. (Ex. Depo. 1 at 70:6-

                  15 (Ong).)

             c.   Similarly, data from Nvidia, which operates a game streaming

                  service called GeForce Now, shows that “below two percent” of

                  users of GeForce Now “used both an Android device and an

                  iPhone device” to access its service. (Patel Trial Tr. 451:6-17.)

             d.   And data from Down Dog, which operates a health and fitness app,

                  shows that users do not switch between taking the fitness classes

                  offered on its app on an iOS device and on an Android device.

                  (Simon Trial Tr. 391:25-392:2.) In fact, only two and a half

                                   30
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 39 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 40 of 644




(Cue); PX-79.1 (Goldman Sachs report explaining “high switching costs”); PX-80.1 (email to

Apple executives attaching the Goldman Sachs report).)

                     a.     As Mr. Cue put it, acknowledged, switching away from an iPhone

                            could mean spending “hundreds of additional dollars in order to

                            have the same content [the consumer] already had on their

                            iPhone”. (Ex. Depo. 3 at 70:15-20, 22-25 (Cue).)

                     b.     As noted, in 2013, Apple executives discussed whether to make

                            iMessage available on Android devices. Mr. Federighi said, “I am

                            concerned the [sic] iMessage on Android would simply serve to

                            remove and [sic] obstacle to iPhone families giving their kids

                            Android phones.” (PX-2093.1.)

                     c.     In addition, as noted, in March 2016, Mr. Schiller forwarded an

                            email chain to Mr. Cook and recounted the difficulties a former

                            senior Apple employee had when he tried for two months to use an

                            Android smartphone in place of the iPhone he had been using. The

                            former executive explained, “iMessage amounts to serious lock-

                            in.” (PX-416.3.) Mr. Joswiak noted that “we hear this a lot” and

                            Mr. Schiller noted that “Joz and I think moving iMessage to

                            Android will hurt us more than help us, this email illustrates why”.

                            (PX-416.1.)




                                             32
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 41 of 644




              75.    Apple executives have long recognized the costs of switching as an

advantage for the Apple ecosystem.

                     a.     For instance, in June 2013, Mr. Schiller, Apple’s then-head of

                            marketing and now Apple Fellow, circulated a Goldman Sachs

                            analyst report to other high-level executives at Apple entitled

                            “Switching from iPhone to Android: how hard can it be?”

                            (PX-79.1.) In a cover email, Mr. Schiller wrote: “Here is an

                            interesting report on the cost and methodology to switch from

                            iPhone to Android (iTunes and iCloud figure pretty big in the

                            ability and the effort involved to switch)”. (PX-79; compare

                            Schiller Trial Tr. 2851:5-18, with Schiller Trial Tr. 2955:13-

                            1956:14).) While no witness asked about the document could

                            recall a conversation about it (although Mr. Schiller came up with

                            something to say about it after his deposition (Schiller Trial

                            Tr. 2953:19-2954:1)), the cover email did not indicate any

                            disagreement with the document’s contents. (PX-80.1) The

                            document set forth switching costs between Apple and Android

                            devices and referred to “the raw time and ‘pain in the neck’ factor”




                                              33
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 42 of 644




                              of switching. (PX-79.3; PX-80.1; Ex. Depo. 3 at 120:20-121:1

                              (Cue).)

                       b.     The report concluded that “the cost of switching platforms [from

                              iPhone to Android] is significant, and indeed, it was not possible to

                              transfer all of [the] content” from the iPhone. (PX-79.1.)

                       c.     Both Mr. Cue and Mr. Schiller have acknowledged that movies

                              purchased on an iOS device cannot be transferred to an Android

                              device. (Ex. Depo. 3 at 126:20-25 (Cue); Schiller Trial Tr. 2959:6-

                              14, 2962:9-16.)

               76.     Ultimately, switching costs are relevant to the question of market power

because switching costs influence the degree to which users could avoid a price increase by

leaving the platform. High switching costs enhance market power because when it is costly to

leave the platform, users are more susceptible to price increases and user switching is not a

significant competitive constraint. (Evans Trial Tr. 1497:7-1498:5.) According to Professor

Schmalensee, it is “[b]y definition” true that “if the reason consumers single-home is that it’s

very difficult for them to switch, then the situation resembles the situation with a monopoly

provider”. (Schmalensee Trial Tr. 1923:6-10.)

       C.      Because Users Are Locked into iOS, Mobile App Developers Cannot Forgo
               Developing Apps for iOS.

               77.     Consumer lock-in to the iOS ecosystem also results in higher costs to

developers. (Grant Trial Tr. 670:17-671:1; Athey Trial Tr. 1765:18-1766:25.)



                                                34
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 43 of 644




               78.    In order to be successful, app developers typically try to reach as many

consumers as possible, which generally requires that they develop apps for as many platforms as

possible. As a result, they are unlikely to abandon or substitute away from smartphones, as that

would cause them to entirely lose access to users who do not access apps on other platforms.

(Evans Trial Tr. 1498:25-1499:8 (“To the extent that the users don’t switch much, that means

that the developers pretty much have to keep doing what they are currently doing. So if there

was an increase in price and few or no users actually switch from iPhones to Android phones,

from iOS to Android operating systems, then developers have to do what they have always done,

which is they have to make sure that they have their iOS app available for the very large group of

iOS users.”); Simon Trial Tr. 394:2-7.)

                      a.      For example, Mr. Simon of Down Dog testified that “there is very

                              little cross over Android and with iOS for any particular user. In

                              our case specifically, we’ve grown almost entirely by word of

                              mouth. We have done almost no marketing, which means users

                              tell their friends and family about Down Dog. If half of their

                              friends and family can’t download Down Dog because they have

                              an iOS device and not an Android, then that actually amounts to

                              basically halving our growth rate, which is something that

                              compounds over time. So it substantially reduces the ability for us

                              to grow.” (Simon Trial Tr. 393:23-394:7; see also Simon Trial Tr.




                                               35
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 44 of 644




                              391:19-21 (noting that typically users who take a class on the iOS

                              app do not switch to taking a class on the web).)

                79.   As a result of needing to maximize their outreach to consumers,

developers incur “multi-homing costs”, or costs of writing apps for multiple platforms. (Ex.

Expert 4 (Athey) ¶ 42; Athey Trial Tr. 1768:5-16; Grant Trial Tr. 670:17-22 (“Q. Are there any

time or monetary costs involved in [an app being written for another platform]? A. Yes.

Depending on the complexity of [the] app, it can be quite significant. It wouldn’t be unusual for

an application to have multiple developers who purely work on a specific version for a specific

platform.”).)

                      a.      Developers incur not only the initial cost of writing apps for

                              multiple platforms, but also the costs associated with maintaining,

                              servicing and improving the app on multiple platforms over time.

                              (Grant Trial Tr. 670:22-671:1 (“It’s both an upfront cost to get the

                              application to work on the additional platforms and then it’s an

                              ongoing consideration. Every feature that you add that relies on

                              APIs will have to be recreated or modified to work on other

                              platforms.”); Athey Trial Tr. 1768:13-16 (“To provide their

                              services across two platforms, the developers . . . have to port the

                              code. Different code runs on iOS and Android, and it’s costly to

                              create that additional code base.”); Ex. Expert 4 (Athey) ¶ 42.)




                                                36
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 45 of 644




               80.     Smartphones in particular are critical platforms for developers, given that

they are the only devices that virtually everyone has access to at all times. (Sweeney Trial Tr.

111:23-112:1 (explaining why Epic launched Fortnite on iOS, noting that “[s]martphones, both

iOS and Android, reached a far larger audience than consoles, and so we really wanted to enable

Fortnite players to be able to play with all of their friends” ); 131:1-5 (“A smartphone is a . . .

portable supercomputer and it has the ability of a cell phone that has a high-resolution screen,

touch input, and internet connectivity that is connected to a cellular network.”).)

               81.     Today, most mobile app developers write apps for both the Android and

iOS platforms. (Ex. Depo. 1 at 32:14-17 (Ong); Ex. Depo. 7 at 306:12-23; 307:21-308:2; 308:4-

6 (Okamoto) (86% of developers also program apps for Android in order to “get to the broadest

customer set possible”); Simon Trial Tr. 389:24-390:7; Grant Trial Tr. 669:22-670:10.) As

Professor Lafontaine, one of Apple’s economic experts, acknowledged, “most smartphone users

have either an iOS or an [Android device]”. (Lafontaine Trial Tr. 1919:1-3.)

               82.     Some mobile app developers choose to develop an Android version of

their mobile app before developing the same app for iOS—a concept known in the industry as

“Android first”. (PX-42.2; Ex. Depo. 7 at 309:15-310:3; 311:23-312:9 (Okamoto).)

                       a.      Apple has learned that developers do so because there is “[l]ess

                               risk to innovate on Android”, where developers “are willing to test

                               the waters and experiment with new app ideas”. (PX-42.2.) After

                               they “build a buzz for their app on Android”, they “monetize on

                               iOS.” (PX-42.2.)

                                                  37
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 46 of 644




                      b.     But after proving and refining their concept on Android, these

                             developers then turn to developing the app for the more difficult

                             iOS platform, where they can successfully monetize it. (PX-42.2;

                             Ex. Depo. 7 at 311:23-312:9, 312:16-18, 312:20-25, 320:4-10,

                             320:14-22 (Okamoto).)

              83.     When a developer has both Android and iOS versions of the same app, the

relatively more affluent iOS users spend much more in the app than do their Android

counterparts, making iOS the “monetization platform of choice” for developers. (PX-42.2)

Because they would lose access to these consumers on their mobile devices without an iOS app,

developers virtually never forego app development for iOS. (Ex. Depo. 7 at 320:4-10, 14-22

(Okamoto); Ex. Depo. 2 at 79:24-80:10 (Shoemaker); Simon Trial Tr. 393:21-394:12.)

                      a.     Apple’s own presentations confirm that iOS is the monetization

                             platform of choice for developers, as a 2016 Apple presentation

                             stated: “OUR CUSTOMERS SPENT NEARLY 2X more than

                             [Google Play’s], and THAT’S what developers care about the

                             most.” (DX-4526.32.)

              84.     And although in theory an iOS developer unhappy with Apple could

simply leave the iOS platform and write only for Android, most mobile app developers do not

consider abandoning iOS to be a viable option. (Ex. Depo. 2 at 79:24-80:10 (Shoemaker); see

Sweeney Trial Tr. 112:2-17) (describing the importance of the iOS userbase).)




                                              38
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 47 of 644




             a.   Distributing apps on iOS is a virtual necessity for developers.

                  (Sweeney Trial Tr. 112:3 (“iOS is a vital platform for [our]

                  business.”); see also Athey Trial Tr. 1872:24-25 (“[D]evelopers

                  make more [money on] iOS [than Android].”).) Developers cannot

                  afford to forgo distributing their apps to iOS users, as doing so

                  would entail giving up access to approximately one billion

                  potential customers, who form the most lucrative part of the

                  available customer base. (Federighi Trial Tr. 3362:2-3; Ex. Depo.

                  7 at 320:4-10, 320:14-22 (Okamoto); Sweeney Trial Tr. 112:4-15

                  (“[R]eaching the entire base of Apple[‘s] 1 billion iPhone

                  consumers is a paramount goal for our company.”).)

             b.   For example, mobile app developer Match Group could not just

                  abandon iOS and develop solely for other platforms, because iOS

                  has the “majority of the distribution”. Leaving iOS would be

                  “extremely destructive” for Match Group. (Ex. Depo. 1 at 69:20-

                  21, 69:23-70:5 (Ong).) Accordingly, Match Group does not view

                  distribution on Android as a substitute for distribution on iOS.

                  (Ex. Depo. 1 at 67:23-68:1 (Ong).)

             c.   Mobile app developer Down Dog also does not consider leaving

                  iOS to be a choice because of the need to reach iOS users. (Simon

                  Trial Tr. 393:23-24 (“Again, there is very little cross over between

                                    39
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 48 of 644




                                Android and with iOS for any particular user.”).) Down Dog

                                would still develop for iOS even if the App Store raised its

                                commission fee by 20% or doubled its annual developer fee

                                because of the necessity of reaching the iOS userbase. (Simon

                                Trial Tr. 393:2-14; 393:16-20.)

               85.       Ultimately, the high cost to consumers of leaving the iOS ecosystem gives

Apple enormous bargaining power over developers. (Ex. Expert 4 (Athey) ¶¶ 35-38.) Because

so few consumers switch, each developer needs to offer its apps on iOS to reach a vast portion of

the available consumers for smartphone apps. (Ex. Expert 4 (Athey) ¶¶ 35-38.) This dynamic

makes developers heavily dependent on Apple (Ex. Expert 4 (Athey) ¶¶ 36-38), especially given

Apple’s unilateral discretion to decide which apps will be available on iOS.

       D.      The Origin of the App Store.

               86.       When the first iPhone was launched in 2007, the only “native” apps

available on the device were those written by Apple. (Ex. Depo. 3 at 47:15-19 (Cue); Schiller

Trial Tr. 2727:17-19.)

               87.       However, at that time, different executives at Apple had different views on

whether Apple should enable “native” third-party app development for the iPhone. One group,

including Apple’s then-CEO Steve Jobs, felt that Apple should never allow third parties to create

native apps for the iPhone, and that third parties could use web applications instead. Another

group believed in a “hybrid model” where third-party app developers would rely on a

combination of web technologies and native abilities to create iOS apps. A third group,


                                                  40
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 49 of 644




including Scott Forstall, former Senior Vice President of Apple (iOS Software), advocated for

enabling third-party native app development on iOS, in part because the “voluminous”

technological benefits of native apps over web apps would provide a better experience for iPhone

users. (Ex. Depo. 4 at 77:16-20, 77:24-78:12, 78:16-79:6, 81:2-84:6 (Forstall); PX-870.1 (Mr.

Forstall writes: “I do think at some point we will want to enable third parties to write apps . . . .I

still think that touch device-specific apps will provide a better experience.”).)

               88.     After the launch of the iPhone, Apple quickly realized that there was

significant third-party developer interest in writing native apps for iOS, and that new third-party

apps would help Apple sell iPhones. (Ex. Depo. 4 at 85:1-9 (Forstall); Schiller Trial Tr.

2980:23-25 (“Q. And it was apps that were key to selling iPhones, correct? A. Certainly very

important features of [the] iPhone.”).)

                       a.      Several third-party app developers approached Mr. Forstall and

                               asked whether they could build native apps for the iPhone. (Ex.

                               Depo. 4 at 85:1-9 (Forstall).)

                       b.      In addition, app developers started “jailbreaking” iPhones—that is,

                               a modification of iOS which allows the download and execution of

                               apps not distributed via the official App Store (Schiller Trial Tr.

                               2729:19-24; PX-871.1)—so that they could write native

                               applications, which Mr. Forstall interpreted as an indication of

                               demand for such capabilities. (Ex. Depo. 4 at 85:19-24, 86:1-5

                               (Forstall).)
                                                 41
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 50 of 644




               89.     At an August 2007 meeting, Mr. Forstall and Mr. Jobs, along with other

top Apple executives, discussed “[o]pen[ing] up” the iPhone’s software to third-party app

developers like Electronic Arts. (PX-872.1.)

               90.     By October 2007, Mr. Jobs had changed his mind about enabling third-

party native app development on the iPhone and told Mr. Forstall that he wanted such

functionality enabled by early 2008. (PX-874.1; PX-876.1.)

               91.     In the months that followed, Apple executives and software engineers

debated the proper distribution method for third-party applications and specifically whether

“Apple signed applications” would be posted exclusively to an “online store”, or whether third

parties would be permitted to “distribute on their own”. (PX-877.3; Ex. Depo. 4 at 125:12-15;

127:3-8, 129:8-24, 130:5-131:12 (Forstall).) Apple’s security experts remained out of this

debate, noting that the question of exclusive distribution is one of “policy”, as opposed to

security. (PX-877.3 (“Signing does not imply a specific distribution method, and it’s left as a

policy decision as to whether Apple signed applications are posted to the online store, or we

allow developers to distribute on their own.”); Ex. Depo. 4 at 130:5-131:12 (Forstall).)

               92.     On March 6, 2008, Apple held an event before a group of developers and

enterprise consumers to announce the opening of iOS to third-party apps, the release of

developer tools for app development and the launch of the App Store. (PX-880.8, .20; Ex. Depo.

4 at 161:20-162:16 (Forstall).)

                       a.     At the event, Mr. Jobs announced that “the App Store is going to

                              be the exclusive way to distribute iPhone applications directly to

                                                42
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 51 of 644




                  every iPhone user”. (PX-880.21; Ex. Depo. 4 at 161:20-162:16

                  (Forstall); Schiller Trial Tr. 2738:2-11.) He then described the

                  App Store’s “business deal” for developers: “When we sell the

                  app through the App Store, the developer gets 70% of the revenues

                  right off the top. We keep 30[%] to pay for running the App

                  Store. . . . So when a developer wants to distribute their app for

                  free, there is no charge for free apps at all. . . . The developer

                  and us have the same exact interest which is to get as many apps

                  out in front of as many iPhone users as possible.” (PX-880.21

                  (emphasis added); Ex. Depo. 4 at 163:14-164:25 (Forstall).)

             b.   During the event’s Q&A session, Mr. Jobs was asked: “[Doesn’t]

                  the fact that Apple is going to be the exclusive distributor for all

                  these applications raise some questions about monopolies and so

                  forth? What if a developer doesn’t want to distribute through the

                  App Store?” Mr. Jobs responded: “Then they won’t be able to

                  distribute their app on the iPhone but we don’t think that’s going to

                  be the case with almost every developer. Remember, the

                  developer wants to get their app out in front of every iPhone user

                  and there is no way for even large developers to do that, much less

                  small developers. So we think this is going to a boon for




                                    43
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 52 of 644




                              developers and they are going to love it”. (PX-880.27; Ex. Depo. 4

                              at 171:5-16 (Forstall).)

                       c.     After confirming that “there wouldn’t be a way for [developers] to

                              distribute [apps] without iTunes or [the] App Store”, Mr. Jobs

                              continued: “And also, just to make it a little clearer, we don’t

                              intend to make money off the App Store. . . . [W]e are

                              basically giving all the money to the developers here and if that

                              30% of it pays for running the store, well that will be great, but we

                              just want to create a very efficient channel for these developers to

                              reach every single iPhone user.” (PX-880.27 (emphasis added);

                              Ex. Depo. 4 at 173:5-174:10 (Forstall).)

               93.     The App Store was devised as a storefront that could incentivize

developers to create innovative and useful apps for the iOS platform in order to attract users.

(PX-870; Ex. Depo. 4 at 79:10-17, 80:6-20 (Forstall); 85:1-9; Schiller Trial Tr. 2733:23-2734:4;

PX-880.20.)

               94.     The App Store was intended to be a way to promote the iPhone and sell

more devices. (PX-880.21 (“The developer and us have the same exact interest which is to get

as many apps out in front of as many iPhone users as possible.”); PX-2060.18 (Mr. Jobs: “Our

purpose in the App Store is to add value to the iPhone. Free apps do that just as well as paid

apps sometimes. We love free apps.”); id. at .19 (Mr. Jobs: “We don’t expect [the App Store] to




                                                44
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 53 of 644




be a big profit generator. We expect it to add value to the iPhone. We’ll sell more iPhones

because of it.”.).)

                       a.      Apple recognized that an important way to attract users to iOS was

                               by providing a variety of apps, including a robust set of apps

                               developed by third-party developers. (PX-314.5 (“An ecosystem

                               including third party apps made our products more attractive.”);

                               DX-4566.1 (Mr. Jobs: “We are excited about creating a vibrant

                               third party developer community around the iPhone . . . .); Ex.

                               Depo. 3 at 45:11-14 (Cue).)

                95.    App development requires tools. (Grant Trial Tr. 684:18-22 (“Q. Now

you’ve mentioned a number of different things involved in a developer writing an app. Is there

any relationship between those things and the word ‘tool’? A. Yes. Generally you would refer

to things like debugger, a complier, profiler as tools that were specific to a platform.”).)

                96.    Apple had already developed a set of tools—prior to the launch of the App

Store—for native iOS app development for the first iPhone in 2007. (Ex. Depo. 8 at 49:1-8

(Cue); PX-880.8 (“Starting today we are opening up the same native APIs and tools that we use

internally to build all our iPhone applications. This means that third party developers can build

native iPhone applications using the same SDK that we do.”) (emphasis added).) These tools

were based in part on the Integrated Development Environment (which was marketed by Apple

as Xcode) available for macOS, which Apple had released since 2003. (Ex. Depo. 4 at 37:23-

38:1, 38:6-8 (Forstall); Grant Trial Tr. 675:8-10 (“Q. Is there a relationship between Xcode and

                                                 45
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 54 of 644




macOS? A. Yes. It would be the same. It would be the primary application to develop and app

for macOS.”).)

                 97.   At the iPhone’s launch, third parties had neither the software tools nor the

access necessary to write native apps for iOS and have them distributed on the iPhone. (Ex.

Depo. 3 at 47:15-19 (Cue).) In connection with the App Store launch, Apple announced the

release of the iOS “software development kit”, or “SDK”, as well as information regarding a

series of “application programming interfaces” (“APIs”). (PX-880.8; Ex. Depo. 4 at 161:20-

162:16 (Forstall).)

                       a.     Developers can use the iOS SDK to create iOS apps. (Grant Trial

                              Tr. 685:9-11.)

                       b.     SDKs generally include information concerning APIs that

                              developers use to create apps for a particular operating system.

                              APIs are sets of definitions and protocols for building and

                              integrating application software, and allow third-party developers

                              to program their apps to connect to operating system-provided

                              functionality. (Grant Trial Tr. 669:10-13 (“SDK stand[s] for

                              ‘software development kit’. It would be the items necessary to

                              create an app for a platform. It will have a selection of tools. It

                              will have documentation. It will . . . contain the means of

                              accessing APIs.”).)




                                                46
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 55 of 644




                      c.      APIs made available to third-party developers are referred to as

                              “public APIs”. (Grant Trial Tr. 675:16-20 (“A public API is an

                              API that the creator of an operating system or platform exposes

                              and wishes a developer to call. It will be documented, listed. It is

                              something that they intend somebody to use.”).)

                      d.      A platform developer also often has “private APIs”, which are

                              APIs not made publicly available. (Grant Trial Tr. 676:23-677:4

                              (“Q. What does a private API mean? A. It is an API that is part of

                              a platform or operating system, but the provider of that platform

                              does not wish developers to use it, so they will not document it.”);

                              Kosmynka Trial Tr. 1101:9-12 (“The intention of the API is not to

                              have it used in third-party developer apps at this point.”), 1101:13-

                              14 (“Q. And to whom is it private? A. To Apple.”).)

               98.    Generally, every OS is different and its tools for development are created

for its particular characteristics. An app written with Android SDKs does not run on the iOS

platform and vice versa. (Ex. Depo. 3 at 61:25-62:1, 62:3-62:5, 63:5-63:6, 63:8-9 (Cue); Grant

Trial Tr. 669:22-670:10 (“Q. Do you know whether or not an app that is developed for iOS will

run on the Android platform? A. It will not, no. Q. Do you know whether or not an app that is

developed for Android would run on the iOS platform? A. No, it will not.”); Simon Trial Tr.

390:5-7; Fischer Trial Tr. 873:3-8.)




                                                47
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 56 of 644




               99.     Apps can be written for all OS platforms if a developer has access to these

platforms and has the skill, time and money to invest in writing apps for that OS. (Grant Trial

Tr. 670:11-671:20.) Most often, the company controlling the operating system makes the tools

needed to write apps for that operating system available for free or at a nominal price, so as to

attract third-party developers. (Grant Trial Tr. 686:15-18 (“Q. Are you aware of any platform

that charges more than a nominal cost for the use of an API or SDK? A. I can’t think of any

platforms that even have a nominal cost.”); PX-868.22 (Apple presentation surveying SDKs on

different platforms and noting that “[a]ll programs provide free SDKs and documentation”); Ex.

Expert 1 (Evans) ¶ 10; Evans Trial Tr. 1540:13-16 (“So what Mr. Jobs is announcing here is

consistent with the user pays model where the idea is to make it as easy as possible for

developers to create apps, not charge them, and then make money from the user side.”).) Free or

nominally priced tools incentivize app development. (Evans Trial Tr. 1540:17-21 (“[T]he whole

idea is I can get a lot of developers to write apps, and that is going to make the platform more

interesting to users and . . . sell [more] devices, iPhones.”).)

               100.    Apple distributes its developer tools for free, but charges an annual fee for

membership in its Developer Program.

                       a.      For example, Apple makes the SDK developers need to program

                               apps for the macOS used by Mac personal computers available for

                               free. (PX-2622.5; Schiller Trial Tr. 2758:3-8, 2758:17-24.)

                       b.      Apple also makes the tools necessary for iOS development

                               available to developers for free through its Xcode Software

                                                  48
        Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 57 of 644




                             Development Environment. Any interested developer with an

                             Apple ID can download Xcode and begin programming iOS apps.

                             (Schiller Trial Tr. 2757:9-16, 2758:3-8, 2758:19-24; see also

                             PX-2622.4)

                      c.     However, if developers wish to distribute their iOS apps to users,

                             then they must join the Apple Developer Program. (PX-2619.2;

                             Schiller Trial. Tr. 2759:25-2760:9.) This requires developers to

                             sign the Developer Program License Agreement and pay an annual

                             $99 fee to Apple. (Simon Trial Tr. 353:12-15 (“I believe we had

                             to sign up as a developer, pay the $99 developer fee and sign

                             various agreements.”); Schiller Trial. Tr. 2759:25-2760:9,

                             2761:21-25.)3

                      d.     Apple also charges developers for technical assistance in

                             programming their iOS apps. Though the annual $99 fee covers a

                             consult with Apple’s Technical Services team on “two specific

                             technical areas [for which developers] would like assistance,

                             guidance or otherwise”, technical assistance beyond the two




    3
     Developers may also distribute through the Developer Enterprise Program, for which they
would pay Apple a $299 annual fee to distribute apps within their organization. (See Section II.F
below.)
                                               49
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 58 of 644




                              covered incidents costs an additional $99 “per incident”. (Ex.

                              Depo. 5 at 29:18-30:3, 32:6-7 (Haun).)

       E.      Apple Recognizes that Having More Developers on Its Platform Enables It to
               Sell More iPhones.

               101.   As Mr. Federighi, Apple’s Apple Senior Vice President of Software

Engineering, explained, apps are vital to the iOS ecosystem: “[A]pps are the center of the iOS

experience.” (Federighi Trial Tr. 3431:17-19; see also Federighi Trial Tr. 3445:4-6 (agreeing

that “apps add value to the iPhone”).)

               102.   As more developers write apps for an OS platform, more users are

attracted to that OS platform. (PX-2060.18-19; Fischer Trial Tr. 855:9-856:8; Ex. Depo. 4 at

40:24-41:4, 41:6-9, 41:11-13, 41:15-18 (Forstall); Ex. Expert 1 (Evans) ¶ 22; Evans Trial

Tr. 1540:17-21 (“[T]he whole idea is I can get a lot of developers to write apps, and that is going

to make the platform more interesting to users and . . . sell [more] devices, iPhones.”).) As more

users adopt an OS platform, so too do more developers, resulting in a positive feedback loop.

(Ex. Expert 1 (Evans) ¶ 19.) This positive feedback loop is the result of indirect network effects.

Indirect network effects occur when participants on one side of the platform value having more

participants on the other side with whom they can have a mutually beneficial interaction. (Ex.

Expert 1 (Evans) ¶ 19.)

               103.   Apple recognizes that “offer[ing] [well-known developers] on the iOS

platform” “would attract users to the iOS platform”, and thus “sell more iOS devices”. (Ex.

Depo. 7 at 324:4-13, 324:20-325:1, 325:3-6, 325:8-10 (Okamoto).) According to Mr. Jobs, “Our



                                                50
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 59 of 644




purpose in the App Store is to add value to the iPhone. Free apps do that just as well as paid

apps sometimes. We love free apps.” (PX-2060.18.)

               104.   Apple’s promotion of its hardware focuses on using developers’ creativity

and innovation to showcase capabilities of these devices. As Apple’s Senior Director of

Partnership Management and Worldwide Developer Relations testified, part of the appeal of

Apple devices is that the “catalog of apps” is “impressive”. (Ex. Depo. 18 at 330:3-6, 330:17-21,

330:22-331:1 (Pruden).)

               105.   In connection with promoting the iPad Pro in 2018, for example, Apple

highlighted the availability of “over 1 million apps specifically designed to transform your iPad

into anything you need with just a tap”. (Ex. Depo. 18 at 330:17-21 (Pruden).)

               106.   Similarly, when the iPhone 12 was launched in 2020, Apple held an event

“to announce [the phone] to the world” (Ex. Depo. 18 at 286:10-11; 286:13-15 (Pruden)) and

invited about “a dozen” developers—including “a hiking app”, “the NFL”, “Red Bull TV”, and

“League of Legends [Wild Rift].” (Ex. Depo. 18 at 284:18-21; 285:6-9, 285:13-17 (Pruden)).

               107.   Apple wants developers of “popular games”, such as Epic, on iOS so that

the platform is more “attractive for [its] users”. (PX-854.2 (listing a set of developers and games

that Apple noted it would “like to target”); Ex. Depo. 7 at 324:4-13, 325:3-6, 325:8-10

(Okamoto).).

               108.   With regard to Epic, Apple recognized that Epic brought value to the

platform by being “a very well-known developer that had some very strong titles on it” and that




                                                51
        Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 60 of 644




Epic’s apps could showcase “what a great gaming device the iPhone with iOS was.” (Ex. Depo.

7 at 324:4-13 (Okamoto).)

               109.   Apple even considered seeking Epic’s agreement to create exclusive

games for iOS. (Ex. Depo. 16 at 324:4-13 (Okamoto); see also PX-442.2 (Ms. Pruden: “We’ve

asked them what it would take to make Fortnite exclusive to iOS on mobile (for a limited time)

and they had one clear answer: 2-hour App Review.”).)

               110.   Apple has repeatedly sought other exclusive content from Epic for iOS as

well.

                      a.     Apple has requested Fortnite items to promote its App Store gift

                             cards. (DX-3144.2-3 (noting that “the benefit” of Epic “offer[ing]

                             a free Fortnite item bundle in game with purchase of an App Store

                             gift card” would be “mostly Apple’s”).)

                      b.     Apple has also requested other “iOS exclusive” game features,

                             such as skins (i.e., in-game costumes and other cosmetics).

                             (Weissinger Trial Tr. 1338:4-16 (“Q. So, generally speaking,

                             overall, how would you say Apple was as a partner from a

                             marketing perspective? A. I always felt like it was opportunistic.

                             I felt like it was transactional, impersonal. It always felt like in

                             some sense it was kind of fly-by-night where they could come in

                             for a particular promotion, they would show up, and they would

                             ask for assets and then there would be strings attached or caveats

                                               52
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 61 of 644




                                attached of well, we want to promote this thing but we require an

                                exclusive asset or we require exclusive content, and those requests

                                would come in kind of late in the process, and it would cause

                                undue burden and stress on the team. These were requests that

                                typically we don’t receive from our console partners.”).)

                        c.      In 2018, Apple asked Epic to participate in its Worldwide

                                Developer Conference (“WWDC”) to showcase “some of your

                                positive experiences regarding the Fortnite development effort and

                                the role [Apple Tool] Metal” played in that. (DX-3068.1)

                111.    Additionally, an Apple executive has acknowledged that Epic has

introduced “sever[al] breakthrough technologies” in the Unreal Engine. (PX-43.2; Ex. Depo. 16

at 325:19-20, 326:1-5, 327:11-14 (Okamoto).)

                112.    Indeed, Epic has introduced several innovative technologies to iOS,

including through the Unreal Engine. (Grant Trial Tr. 681:18-682:8 (“Q. Does Epic create any

cross-platform specific features for the Unreal Engine? A. Yes, we do. Q. Can you describe

them please? A. Yes. It could be simple features such as ability to draw graphics, to play audio

for platforms that have more advance[d] capabilities such as AR. We will have cross-platform

ways of doing AR on multiple platforms should they support that. Q. And does Epic create any

cross-platform features for iOS? A. Yes. Q. And can you describe that? A. Yes. It would be

the ones I listed. The ability to play audio, the ability to do AR, to open files, to read files, to

write files, to draw graphics.”).)

                                                  53
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 62 of 644




       F.     iOS App Store Profitability.

              113.    Even before Apple charges anything for distribution of apps through the

App Store, Apple already has earned significant amounts that compensate it for its investments

in its iOS products and ecosystem.

                      a.     Through sales of the iPhone and iPad (PX-606; PX-1055.1; PX-

                             2391.6);

                      b.     Through sales of wearables and other accessories (PX-2391.6);

                      c.     Through fees paid to join the Apple Developer Program;

                             i.      Apple charges developers $99 annually to join and remain

                                     in the Apple Developer Program (Ex. Depo. 5 at 28:21-

                                     29:1 (Haun)).

                      d.     Through fees paid to join the Apple Developer Enterprise

                             Program;

                             i.      In addition to the Developer Program, Apple maintains a

                                     Developer Enterprise Program, which charges a $299

                                     annual fee and allows businesses, organizations and

                                     institutions to create and distribute “internal-use apps to

                                     their employees” on iOS. (PX-2519.1.)

              114.    As discussed above, when Apple launched the App Store in March 2008,

Mr. Jobs assured developers that the store’s 30% commission charged to developers for paid

apps was designed only to cover its costs. He also stated that “when a developer wants to


                                               54
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 63 of 644




distribute their app for free, there is no charge for free apps at all”. (PX-880.21; Ex. Depo. 4 at

164:4-11 (Forstall).) Additionally, Mr. Jobs explained, “It costs money to run it. Those free

apps cost money to store and to deliver wirelessly. The paid apps cost money, too. They have to

pay for some of the free apps. We don’t expect this to be a big profit generator. We expect it to

add value to the iPhone. We’ll sell more iPhones because of it.” (PX-2060.19.)

                       a.      Mr. Jobs’s representations demonstrate that Apple was going to

                               operate the iOS operating system “consistent with the user pay

                               model where the idea is to make it was easy as possible for

                               developers to create apps, not charge them, and then make money

                               from the user side.” (Evans Trial Tr. 1540:6-16.)

               115.    Initially, App Store revenues were based on a commission structure in

which app developers paid a percentage of their revenues (30%) for sales of apps. (PX-99.2; Ex.

Depo. 2 at 63:22-24, 64:01-64:13 (Shoemaker).)

               116.    During the time between the launch of the App Store in 2008 and the

introduction of IAP in 2009, in-app payment processing and app distribution were entirely

separate and iOS developers were monetizing their apps with in-app payment solutions that were

self-provided. (Ex. Depo. 4 at 230:5-11, 230:16-18, 230:20-22, 230:24-231:2, 252:6-252:13

(Forstall).)

                       a.      For example, a February 2009 email from Shaan Pruden to Ron

                               Okamoto noted “Skyscape: Need to remove in-app commerce

                               capabilities, working to have them change their model for

                                                 55
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 64 of 644




                  providing medical reference”. (PX-1813.3.) Another email from

                  February 2009 similarly corroborates the fact that Skyscape

                  allowed users to “purchase all your content directly from Skyscape

                  from within the app”. (PX-1701.2.)

             b.   Another February 2009 email between Cindy Lawrence and Shaan

                  Pruden about the “launch of [a] store-less” Kindle app “following

                  [Apple’s] guidance from a week ago”. The purpose of the “revised

                  Kindle App” was that Amazon “removed the in-app commerce”

                  function. (PX-1815.1.)

             c.   In early March, C.K. Haun emailed Greg Joswiak and Ron

                  Okamoto that the “Kindle reader app for iPhone/iPod touch is

                  ready for release. Since they originally submitted they've changed

                  their app to mesh with our Ts&Cs. They’ve removed their in-app

                  commerce, and instead now go to Safari and the standard web site

                  for purchasing anything from Amazon.” (PX-1818.1.) Similarly,

                  another email from March 2009 corroborates the fact that Amazon

                  Kindle offered “free sample chapters of books with a buy now

                  button enabling the transaction in the app with one click

                  purchasing”. (PX-1703.1.)

             d.   On March 31, Ms. Lawrence wrote that the Unbound Medicine app

                  “continues to violate the Ts and Cs, specifically with in App

                                   56
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 65 of 644




                             Commerce.” (PX-1709.1.) Later in April, Tyler Stone reported to

                             C.K. Haun that this issue had been “corrected”: “The Unbound

                             Medicine app used to have an order form within the app which was

                             actually a WebKit view loading an optimized website” but “[t]hey

                             have, as instructed by us, changed that so now their app instead

                             launches Safari and the customer proceeds on the Unbound

                             Medicine website”. (PX-1709.1.)

                      e.     Mr. Forstall similarly agreed that “there were some apps on the

                             App Store prior to the release of IAP that were using their own

                             payment mechanisms for different kinds of purchases made in the

                             app”. (Ex. Depo. 4 at 252:06-13 (Forstall); Trial Tr. 3096:17-21.)

                      f.     Mr. Schiller’s testimony that there were no in-app commerce

                             opportunities that developers availed themselves of prior to

                             Apple’s introduction of IAP (Schiller Trial Tr. 3195:6-11; see also

                             Apple Findings of Fact (May 19, 2021 submission) ¶ 53) is

                             directly refuted by the record evidence.

              117.    Apple did not invent in-app purchasing. In December 2008, Apple

executives reviewed an internal Apple presentation entitled “In-App Commerce”. (PX-888.2.)

The presentation described “Current App Commerce Models”, including “In-App”. (PX-888.3.)

The presentation has several slides describing examples of apps and platforms that had in-app

purchasing technology (PX-888.16-23)—all before Apple required apps selling digital content to

                                               57
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 66 of 644




use IAP on iOS. The presentation also describes “What Developers are Asking For”, complete

with examples of developers that wanted to sell in-app digital content on iOS. (PX-888.26.)

               118.    Apple executives viewed this competition as a “leak” in the App Store

model: C.K. Haun emailed Ron Okamoto in January 2008 noting that many games “have a

healthy after-market in additional game levels, enhanced graphics for in-game activities, and

other data up to and including completely new games that can be created from an installed base

game engine”, and that developers were likely to want to employ this model of monetization for

their iPhone apps. (PX-897.2.) In response to Haun’s warning that “the new level/enhanced

graphics business for fee (outside of [the iTunes Music Store]) [is] possible easily”, Apple

executive Greg Joswiak replied: “If this is accurate, it sounds like we’ll have to make sure our

terms don’t allow this.” (PX-897.1-2.)

               119.    And so Apple began requiring developers to use IAP for when they sold

digital goods in their apps, at a 30% commission. (DX-4192.4.) As Apple’s CEO noted, this

was a choice that Apple made—“there are clearly other ways to monetize”, and Apple “chose

this one because [it thought] this one overall [was] the best” for it. (Cook Trial Tr. 3990:6-11.)

               120.    As Apple executives internally acknowledged, the App Store became

profitable in 2009 and has been profitable ever since. (See PX-406.1 (July 2009 email where Mr.

Cue states, “(w)e are definitely making money”); Ex. Depo. 3 at 89:13-90:7, 90:9-91:13 (Cue).)

                       a.     Mr. Cue testified that the App Store has “been financially

                              successful (for Apple) since it was first introduced”. (Ex. Depo. 3

                              at 79:4-6; 79:8-11 (Cue).) In fact, Apple has been able to create

                                                58
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 67 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 68 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 69 of 644




               125.    Some developers have said they “would not launch a native iOS app

because of the 30 percent commission structure”. (Ex. Depo. 3 at 150:5-12 (Cue).)

                       a.      Many businesses, including small businesses, cannot afford to

                               absorb Apple’s commission rates—whether 30% or 15%—and

                               cannot afford to pass the costs on to consumers without losing

                               users. (Ex. Expert 1 (Evans) ¶ 275.)

                       b.      Apple executives were informed that Kazaa, for example, was a

                               music-streaming service that did not “plan[] to create a native iOS

                               app due to the 30% IAP subscription rev[enue] share” (PX-418.1.)

               126.    Apple often claims that it has never raised its prices to developers.

(Schiller Trial. Tr. 2740:14-15.) This is incorrect for at least the following reasons.

               127.    As noted above, when Apple introduced IAP in 2009, it began requiring

developers to use IAP when they sold digital goods in their apps, at a 30% commission.

(Schiller Trial Tr. 2790:2-14, 2790:19-21; DX-4192.4.) When Amazon launched its Kindle app

on iOS in 2009, Apple approved an exception for Amazon to not use IAP for digital purchases.

(PX-1714.1 (“For e-Books we allow them to do what Amazon’s Kindle app does: they kick you

out to their website to purchase the actual book.”).)

               128.    In 2011, Apple imposed a new requirement that developers who sold in-

app subscriptions would always have to use IAP and pay a 30% commission, whereas before

2011, developers could instead send users outside of the app to purchase subscriptions at no cost.

(DX-3060.2 (“[P]ublishers may no longer provide links in their apps (to a web site, for example)

                                                 61
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 70 of 644




which allow the customer to purchase content or subscriptions outside of the app”); PX-1849.1

(email pre-dating 2011 subscriptions announcement stating, “[a]ll in-app purchases and in-app

subscriptions share revenue at the same 70/30 split with Apple as app purchases – Links out of

the app to purchase with other mechanisms are no longer necessary or allowed”); PX-108.1

(“Current Apps – Must migrate from current business model to IAP”), (“New Apps – No longer

allowing business models outside App Store”.); Ex. Depo. 3 at 85:19-85:22 (Cue); Ex. Depo. 16

at 366:11-12, 366:15-17, 366:25-367:2 (Okamoto); see also PX-98.7 (Apple added IAP in 2009,

and “it has aided their bottom line significantly”); Ex. Depo. 2 at 63:22-24; 64:01-64:13

(Shoemaker).)

                129.   Then in 2016, Apple launched “Search Ads” in the App Store. With

Search Ads, Apple began asking developers to pay for the privilege of appearing first in Search

results when iOS users search for apps within the App Store. (Ex. Depo. 3 at 87:23-88:6 (Cue);

Ex. Depo. 8 at 94:9-13 (Cue); Schiller Trial Tr. 2817:8-21.)

                       a.     One of the ways that consumers find iOS apps they want to use

                              among the millions of apps in the App Store is by searching app

                              names or keywords in the Search bar in the App Store (similar to

                              how users search for webpages using a search engine like Google).

                              (Ex. Depo. 3 at 87:23-88:6 (Cue).)

                       b.     Through Search Ads, Apple auctions the first placement in App

                              Store Search results to app developers. (Schiller Trial Tr. 2816:1-

                              6; Ex. Depo. 11 at 132:25-133:13 (Friedman); Ex. Depo. 8 at

                                                62
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 71 of 644




                  93:19-21, 93:23-94:7 (Cue); Schmid Trial Tr. 3316:12-22.) For

                  example, a user who searches the name of one app may not see that

                  specific app as the first result in the list returned by Search, but

                  instead may see a competing app whose developer has won the bid

                  in the auction conducted by Apple. (Schiller Trial Tr. 2817:8-21;

                  Ex. Depo. 8 at 93:23-94:7 (Cue); Ex. Depo. 11 at 133:2-133:13

                  (Friedman); see also Fischer Trial Tr. 865:5-8, 866:7-13, 867:8-18,

                  868:24-869:6; Schmid Trial Tr. 3318:11-13 (“Q. Would it surprise

                  you if Pandora came up first in a search for Spotify on the App

                  Store? A. I would not be surprised.”).)

             c.   Some Apple executives conceived and proposed Search Ads as a

                  way of profiting from certain app developers’ willingness to pay

                  “bot nets” to illicitly inflate their organic placement in Search, a

                  form of “chart gaming” that Apple had been unable to prevent:

                  “[I]f people are willing to pay ‘marketing companies’ (bot nets) to

                  gain position, why don’t we just let them pay us to gain position?”

                  (PX-254.1; Ex. Depo. 6 at 134:25-135:1, 136:2-18, 138:18-24

                  (Friedman).)

             d.   In 2018, Tim Sweeney complained to Matt Fischer that “it’s

                  super-frustrating that Fortnite is not the first search result when

                  customers search for the text: ‘Fortnite’. Some days, Microsoft

                                    63
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 72 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 73 of 644




                              admitted that “when Apple introduced IAP, it effectively imposed

                              a price increase” on in-app purchases, assuming (as is true) that

                              developers previously were not required to pay anything to Apple

                              for the sale of in-app digital content. (Schmalensee Trial Tr.

                              1974:20-1975:9.)

                      b.      Likewise, Professor Schmalensee conceded that when Apple began

                              requiring developers who offered subscriptions to use IAP, Apple

                              imposed a “price increase” on subscriptions, assuming (as is true)

                              that Apple previously had not charged developers who offered

                              subscriptions on iOS. (Schmalensee Trial Tr. 1975:10-1977:5.) In

                              his words: “If you could [offer subscriptions] and you didn’t pay a

                              commission . . . and then Apple said, ‘[i]f you do it, you pay a

                              commission,’ by definition, that’s a price increase.” (Schmalensee

                              Trial Tr. 1976:25-1977:4.)

               131.   Moreover, the fact that Apple has never changed its headline commission

is not evidence that Apple has chosen not to charge a profit-maximizing price. As Professor

Schmalensee testified, “determining the profit-maximizing price requires taking into account all

of the facts and circumstances that face the business”. (Schmalensee Trial Tr. 1977:20-25.)

“[O]ne of the facts and circumstances that a business would rationally take into account in

setting a profit-maximizing price would be the possibility of regulatory action”. (Schmalensee

Trial Tr. 1978:4-9.) Another is “the possibility of legislative action”. (Schmalensee Trial Tr.

                                                 65
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 74 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 75 of 644
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 76 of 644




III.    THERE IS AN AFTERMARKET FOR iOS APP DISTRIBUTION.

               135.    As set forth in the following paragraphs, there is a relevant antitrust

aftermarket for app distribution on iOS (the “iOS App Distribution Market”). Sections III.A-E

discuss the existence and definition of a relevant foremarket for smartphone operating systems;

Section III.F discusses Apple’s market power in the foremarket; and Sections III.G-M discuss

the existence and definition of the aftermarket.

        A.     There Is a Foremarket for Smartphone Operating Systems.

               136.    There is a relevant two-sided foremarket for smartphone operating

systems. (Ex. Expert 1 (Evans) ¶ 62; Evans Trial Tr. 1484:17-25, 1486:19-21; see also DX-

3084.12 (Apple bar graph labeled: “Operating system purchasing”).)

               137.    All computing devices, including smartphones, are powered by an

operating system. (Sweeney Trial Tr. 132:4-11; Grant Trial Tr. 663:10-17.)

               138.    Before a consumer can even consider purchasing an app, she must

purchase a device on which to install and run apps. As discussed below, there are currently only

two smartphone operating systems with significant market share, each at the core of a separate,

differentiated ecosystem of devices, accessories, apps and services: Apple’s iOS and Google’s

Android OS. (See Sections III.E-F below.) When a consumer wishes to purchase a smartphone,

the first choice she must make therefore is which operating system she wants the device to run

and which mobile ecosystem she wants to participate in.

               139.    A “foremarket” is a market where there is competition for a long-lasting

product and from which demand for a second product is derived. (Ex. Expert 1 (Evans) ¶ 40;


                                                   68
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 77 of 644




Evans Trial Tr. 1485:3-13.) In this case, the consumer’s choice of a smartphone operating

system determines her demand for apps; apps that are created for iOS cannot be used on Android

devices and apps created for Android cannot be used on iOS devices. (See Section III.K below.)

               140.   There is a foremarket for mobile operating systems, and it is separate from

the aftermarket for app distribution. (Ex. Expert 1 (Evans) ¶¶ 41-42.)

                      a.      The starting point for market definition is the conduct at issue.

                              (Ex. Expert 1 (Evans) ¶ 33; Ex. Expert 16 (Evans) ¶ 3; Evans Trial

                              Tr. 1453:5-11, 1503:19-1504:1, 2387:10-2389:23; Schmalensee

                              Trial Tr. 1941:1-5; Lafontaine Trial Tr. 2031:1-9.)

                      b.      An operating system is the “app development platform” that

                              “enables developers to create apps” and gives consumers the

                              ability to use them. (Evans Trial Tr. 1479:13-21.)

                      c.      App distribution is the “distribution mechanism” between

                              developers that make apps and the consumers who want them.

                              (Evans Trial. Tr. 1479:3-12.)

                      d.      App distribution and operating systems are not the same. (Evans

                              Trial Tr. 1479:13-15.) App distribution occurs at a later time than

                              the consumer obtaining a phone or a developer creating an app.

                              (Evans Trial Tr. 1479:22-23.)

                      e.      The market for smartphone operating systems is a foremarket

                              because the operating system is the locus of relevant developer and

                                                69
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 78 of 644




                              consumer demand, and the operating systems facilitate the

                              distribution of OS-specific apps by developers to consumers. (Ex.

                              Expert 1 (Evans) ¶ 44.)

                      f.      In the foremarket, the consumer makes the decision to purchase a

                              smartphone with a specific operating system installed. Similarly,

                              on the other side of the platform, the developer makes the decision

                              to develop an app for a particular operating system. (Evans Trial

                              Tr. 1485:14-1486:6.)

                      g.      The market for iOS app distribution is an aftermarket because it

                              “derives” from the operating system market. The existence of the

                              foremarket provides an installed base of smartphone users with a

                              particular operating system for whom developers can create apps.

                              Without an operating system used by consumers, developers could

                              not distribute apps, and consumers could not download and use

                              apps. (Ex. Expert 1 (Evans) ¶¶ 40-42; Evans Trial Tr. 1486:7-18;

                              Ex. Expert 4 (Athey) ¶¶ 42-44.)

               141.   To define the foremarket, Dr. David Evans, Epic’s expert in antitrust

economics, first assessed a variety of qualitative factors described further below. Smartphones

have unique features and their operating systems are general purpose operating systems. Other

electronic devices such as gaming consoles and PCs and their operating systems are poor

substitutes for the times and places in which consumers want to use mobile apps. (See

                                               70
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 79 of 644




Section III.C.) Because these other operating systems are not substitutes for consumers, they are

also not substitutes for developers; the only way to meet the demand by customers who use a

particular operating system is to have an app that runs on the operating system that those

customers use. (See Section III.D.) Therefore, operating systems for other devices are not

significant competitive constraints on smartphone operating systems.

               142.   Dr. Evans also performed a standard test to determine product market

boundaries (Evans Trial Tr. 1491:2-8): whether a hypothetical monopolist of smartphone OSs

could profitably impose a small but significant and nontransitory price increase (“SSNIP”) above

a competitive level, or whether such a SSNIP would instead result in sufficient switching to an

alternative product to make the price increase unprofitable. (Ex. Expert 1 (Evans) ¶ 35.) This

test for market definition, known as the “hypothetical monopolist test”, or SSNIP test, is

prescribed by the Antitrust Division of the Department of Justice and the Federal Trade

Commission. The agencies typically assume a SSNIP to be in the 5%-10% range. (Ex.

Expert 13 (Cragg) ¶ 18; see also Cragg Trial Tr. 2250:14-19 (“The standard test is the

hypothetical monopolist test.”).) .”).) No Apple expert has performed a hypothetical monopolist

test. (Schmalensee Trial Tr. 1929:3-22; Hitt Trial Tr. 2185:18-2186:3; Lafontaine Trial Tr.

2050:12-22; Hanssens Trial Tr. 3550:22-24.)

               143.   To perform this analysis, Dr. Evans assumed that the average smartphone

operating system costs $30, which is the high end of the reported price range for license fees that

Microsoft charged for the Windows Phone OS. (Ex. Expert 1 (Evans) ¶ 67.) Dr. Evans applied a

10% SSNIP, or an increase of $3, and added it to the average price of a smartphone. (Ex.

                                                71
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 80 of 644




Expert 1 (Evans) ¶ 68.) Dr. Evans demonstrated that it is implausible that a material number of

consumers would switch to other devices in the face of a $3 price increase. (Ex. Expert 1

(Evans) ¶ 68.) As a conservative check on his analysis, Dr. Evans also considered whether the

results of a SSNIP would hold for higher priced operating systems and price increases, and he

confirmed that they would. (Ex. Expert 1 (Evans) ¶ 68.) He showed it to be implausible that

such an increase would lead to sufficient switching to make the price increase unprofitable. (Ex.

Expert 1 (Evans) ¶ 68.)

               144.    Although Apple takes the position that the relevant foremarket product (if

any) is mobile devices, rather than operating systems, this position is driven by litigation and

does not reflect Apple’s sincere view of the market dynamics. For example, Mr. Cook refused to

admit on the stand that Apple “compete[s] against Google in operating systems”. (Cook Trial

Tr. 3891:5-12.) But roughly two years ago, Mr. Cook publicly acknowledged that Apple

“compete[s] on the operating system side with . . . Google and Microsoft”, as distinct from

Apple’s “compet[ition] in the hardware space with Samsung and Huawei and many other

prominent Chinese companies”. (PX-1721.7; Cook Trial Tr. 3891:13-3892:3.)

               145.    In reality, when consumers purchase a smartphone, they choose it based

on the operating system: iOS or Android. (Evans Trial Tr. 1485:14-1486:1.) In this regard, the

market for smartphone operating systems is analogous to the market for computer operating

systems. As Professor Schmalensee testified, there is “an ordinary market” for computer

operating systems that includes competitors such as Microsoft’s Windows, which is




                                                 72
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 81 of 644




commercially available to original equipment manufacturers to license, and Apple’s macOS,

which is not. (Schmalensee Trial Tr. 1960:17-1961:12.)

               146.   Similarly, the market for smartphone operating systems includes Google’s

Android, which is commercially available, and Apple’s iOS, which is not. The fact that Android

is not sold at a positive price does not prevent economists from defining the market or shield

Apple or Google from antitrust scrutiny; as Professor Schmalensee testified, “[t]here is a price

that’s being paid” by original equipment manufacturers who take on “a number of obligations”

when they license Android from Google. (Schmalensee Trial Tr. 1962:14-1963:13; Ex.

Expert 16 (Evans) ¶ 6; Evans Trial Tr. 2377:7-2379:11.)

               147.   Finally, courts have previously recognized that operating systems can

constitute a relevant product market. In United States v. Microsoft Corp., 253 F.3d 34 (D.C. Cir.

2001), for example, the court defined the market as Intel-compatible operating systems. (Evans

Trial Tr. 2378:4-16; see also Schmalensee Trial Tr. 1959:16-1960:9 (discussion of Professor

Schmalensee’s prior writings where he “acknowledged . . . that there can be a market for

operating systems themselves” and “talked about operating systems competing”).)

       B.      The Geographic Market for Smartphone OSs Is Global Excluding China.

               148.   Smartphones are sold globally. (Ex. Expert 1 (Evans) ¶ 70.) Smartphone

operating systems are also sold around the world and generally work regardless of location. (Ex.

Expert 1 (Evans) ¶ 70.)

               149.   The market for smartphone OSs excludes China (Evans Trial Tr. 1491:9-

12), where government policies limit domestic competition. (Ex. Expert 1 (Evans) ¶ 71.)


                                                73
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 82 of 644




                       a.     Due to government regulations, Android original equipment

                              manufacturers distribute different versions of their devices, with

                              different sets of pre-installed apps, inside and outside of China.

                              Different versions of the Android operating system are pre-

                              installed by original equipment manufacturers inside China.

                              Smartphones with the version of Android used in China are

                              generally not sold outside of China, and smartphones that have the

                              Google version of Android are generally not sold in China. (Ex.

                              Expert 1 (Evans) ¶ 71.)

                       b.     Government regulations, as well as other factors unique to China,

                              also have resulted in the broader digital economy in China being

                              dominated by domestic firms. (Ex. Expert 1 (Evans) ¶ 108.)

                              China thus has a separate smartphone app ecosystem. Many of the

                              most popular non-Chinese apps are not available in China, and the

                              most popular Chinese apps have generally not been successful

                              outside of China. (Ex. Expert 1 (Evans) ¶ 71.)

               150.    Dr. Lafontaine acknowledged that, when reaching her geographic market

limited to United States consumers, she did not consider developers’ ability to directly distribute

apps to consumers. Indeed, she did not know whether direct distribution is limited by national

boundaries. (Lafontaine Trial Tr. 2067:7-2068:3.)




                                                74
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 83 of 644




       C.      Consumers Do Not View Other Electronic Devices as Substitutes for
               Smartphones.

               151.    There are a number of different types of devices that use apps to make

certain functionality available to consumers. (Sweeney Trial Tr. 133:3-11; Grant Trial Tr. 664:2-

6 (“Q. What types of devices, if any, use apps? A. Smartphones, computers, game consoles. . . .

Those would be the most common examples today.”) These devices come in a variety of shapes

and sizes, and have a variety of qualities and characteristics. For many uses, they are not

reasonable substitutes. (Ex. Expert 13 (Cragg) ¶¶ 31-33, 73-79; Cragg Trial Tr. 2269:21-

2271:21.)

               152.    The devices that have been discussed in this matter include:

                       a.      Smartphones;

                       b.      Tablets;

                       c.      Personal Computers (“PCs”) (both Windows and Macs); and

                       d.      Gaming consoles such as the Microsoft Xbox, Nintendo Switch,

                               and Sony PlayStation.

               153.    Smartphones are multi-purpose computing devices. Consumers use

smartphones because these devices provide features that consumers want, including being small

and portable, having access to the Internet anytime, anywhere, and providing GPS location

services. (Sweeney Trial Tr. 131:1-5 (“A smartphone is a . . . portable supercomputer and it has

the ability of a cell phone that has a high-resolution screen, touch input and internet connectivity

that is connected to a cellular network.”); Grant Trial Tr. 687:6-11 (“A smartphone would be a

mobile phone that likely has a touchscreen. It will have internet access available. It will have a
                                                 75
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 84 of 644




web browser that you can put a common website address or search engine to access the internet

that way. It will have an App Store that you can download and install additional apps to extend

the functionality of your phone.”); Expert 1 (Evans) ¶ 48; Evans Trial Tr. 1460:17-1461:12 (the

smartphone is “mobile” and “fits in your pocket, it’s easy to carry around all the time” and “is

connected to the internet pretty much all the time”), 1487:8-23 (“[T]he key [smartphone features]

to keep in mind [are] that it is mobile, and it has a cellular connection that provides that

anywhere, anytime productivity. And then, furthermore, [it] has various features included on the

phone that are useful to consumers and ultimately developers when people are out and about

doing things.”); Ex. Expert 13 (Cragg) ¶¶ 73-77; Schiller Trial Tr. 2723:8-16 (smartphones are

“highly personal devices with a growing amount of information everywhere you go, roaming on

other networks everywhere you go”); Federighi Trial Tr. 3362:22-3363:6; Cook Trial Tr. 3850:1-

6 (“You have a phone in your pocket or your pocketbook most of the time, and you want instant

service.”).) Consumers value smartphones because when they are “away from home”, it may be

the “only” device they have with them. (Ex. Depo. 5 at 170:23-171:10 (Haun).) And even if

consumers do sometimes carry another device—such as a laptop—when away from home,

smartphones are constantly connected to the Internet, are handheld and use touch controls that

make them far more convenient to use when away from home, both for playing games and for

other purposes. (Grant Trial Tr. 689:9-13 (“A smartphone would be compact, it would be

portable. You would be able to use it around the house freely or outside the house. There [are] no

wires associated with either power or internet access.”); Ex. Depo. 5 at 171:25-172:8 (Haun); Ex.

Expert 1 (Evans) ¶ 28; Ex. Expert 13 (Cragg) ¶¶ 73-77.)

                                                 76
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 85 of 644




               154.    Developers that do not make smartphone apps will likely be unable to

reach consumers who are on the go or who do not have other devices. (Evans Trial Tr. 1461:5-

1462:3, 1487:8-23, 1489:19-1490:8 (“[P]ersonal computers are not a good substitute for

smartphone operating systems from the developer standpoint because they can’t reach the

consumer for a good portion of the time when the consumers wants to use an app on a

smartphone . . . [a]nd don’t have . . . access to a variety of features on smartphones that

consumers want to use.”).)

               155.    Feature phones are not reasonable substitutes for smartphones.

                       a.      Although they allow users to make phone calls and sometimes

                               provide basic functionality (e.g., send text messages, take

                               pictures), they lack many other qualities of smartphones, including

                               a connection to the Internet and the full suite of functionality that

                               requires Internet access. (Sweeney Trial Tr. 131:9-12 (“A feature

                               phone is something like a cell phone from back in the Nokia days,

                               a device for making phone calls and sending and receiving text

                               messages, but generally lacks the ability to run sophisticated

                               apps.”); Grant Trial Tr. 687:6-12 (noting access to a web browser

                               and the ability download and install apps as the “main

                               differentiating factors” between feature phones and smartphones).)

               156.    PCs are not reasonable substitutes for smartphones. (Evans Trial Tr.

1488:17-1490:8; Ex. Expert 1 (Evans) ¶¶ 50-51, 53-54.)

                                                 77
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 86 of 644




             a.   PCs are not portable. While individuals can carry laptops around,

                  they are materially bulkier and heavier than smartphones. (Athey

                  Trial Tr. 1761:11-17 (“So if you were in the park in the morning,

                  you might have access to an iPhone. At a different time of day,

                  say in the afternoon, you might be doing productivity-related

                  activities, say on a laptop with a larger screen and a keyboard,

                  where you can input information. And then at night before bed,

                  you might want a medium-size screen to read a book with larger

                  print or to watch a show.”); Ex. Expert 13 (Cragg) ¶¶ 31-33, 73-77;

                  Cragg Trial Tr. 2269:21-2271-71.)

             b.   PCs require using a keyboard and often a mouse. Mobile devices

                  do not. (Ex. Depo. 5 at 171:25-172:8 (Haun); Grant Trial

                  Tr. 690:7-11 (“On a mobile phone the user is going to be using

                  touch and touching the screen which is less accurate than a

                  keyboard or mouse. On a PC, we can expect the user to have a

                  keyboard or mouse and perform high precision tasks.”); Ex.

                  Expert 13 (Cragg) ¶¶ 73-77 (“Hardware differences between

                  gaming platforms drive large differences in mobile and non-mobile

                  game design. Mobile users cannot control a game as nimbly or

                  precisely as do users utilizing a mouse or controller on a PC or

                  console connected to a large screen.”).)

                                    78
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 87 of 644




             c.   To access the Internet for email, search and for other basic

                  applications, PCs typically require access to a wired or WiFi

                  connection. (Grant Trial Tr. 689:11-12 (“There [are] no wires

                  associated with either power or internet access [for

                  smartphones].”), 689:14-15 (“Conversely, a PC would . . . have

                  power for internet, for wires.”).) Unlike PCs, smartphones can

                  access these applications through cellular networks. (Evans Trial

                  Tr. 1461:5-12, 1487:8-23, 1488:25-1489:18; Sweeney Trial Tr.

                  131:2-5 (“A smartphone . . . [has] internet connectivity that is

                  connected to a cellular network.”); Schiller Trial Tr. 2721:5-6

                  (describing Apple’s goal of making the iPhone “the internet in

                  your pocket”); Cook Trial Tr. 3850:1-6 (noting that “[y]ou have a

                  phone in your pocket or your pocketbook most of the time, and

                  you want instant service”).)

             d.   Unlike with smartphones, consumers cannot perform functions on

                  PCs while they are “on the go”—for example, taking photographs

                  or ordering a car to pick them up at a specific location. (Evans

                  Trial Tr. 1461:5-12; 1488:17-1489:7 (“[P]ersonal computer[s] . . .

                  lack . . . portability [and a] cellular connection.”); Schiller Trial Tr.

                  2722:15-16 (“[A] phone you rely on for making phone calls and




                                     79
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 88 of 644




                               being connected and available to use all the time.”); Grant Trial

                               Tr. 689:9-13.)

                       e.      In the U.S., at least 89% of households have personal computers

                               and 88% of internet-using adults had smartphones, which shows

                               they are not substitutes; if they were, consumers would only need

                               one and not the other. (Ex. Expert 1 (Evans) ¶ 51; PX-1070; Ex.

                               Expert 13 (Cragg) ¶ 44 (“[T]he regular concurrent use of multiple

                               electronic devices – which typically come at considerable cost to

                               the user – is strong evidence that these goods are used

                               incrementally, for distinct purposes, rather than as substitutes.”).)

               157.    Game consoles, including the Sony PlayStation, Microsoft Xbox and

Nintendo Switch, are not reasonable substitutes for smartphones. (Sweeney Trial Tr. 138:23-25;

Expert 1 (Evans) ¶¶ 50, 53-54); Evans Trial Tr. 1459:5-1461:20 (“The key distinction between a

smartphone and game consoles . . . is that the smartphone can be used anywhere, anytime. And

that means that a consumer, no matter what time of day, no matter where they are in the

country . . . can use the smartphone.”).)

                       a.      Gaming consoles are “single purpose” devices—they are intended

                               and used almost exclusively for gaming. (Sweeney Trial Tr.

                               138:18-21 (“A console is a fixed function device as [it is] typically

                               plugged into a television and controlled using a game controller or

                               a joystick. It’s focused specifically on games and entertainment

                                                 80
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 89 of 644




                  experiences.”); Wright Trial Tr. 555:24-556:5; Grant Trial Tr.

                  693:21-694:1 (“[A single purpose device] is a device that has one

                  single purpose. I think I would describe a game console as being a

                  single purpose device for entertainment.”).) For example, a

                  gaming console “is typically a fixed device that is not something

                  people carry around . . . [and] it doesn’t provide the opportunity to

                  use it anywhere, any time as a smartphone could”. (Evans Trial

                  Tr. 1459:20-1460:1.) One cannot use a gaming console while out

                  and about to perform, for example, personal banking. (Sweeney

                  Trial Tr. 312:10-19; Grant Trial Tr. 695:3-4.)

             b.   These single-purpose devices do not offer the same general

                  computing features as smartphones, such as the ability to make

                  calls, take photographs, “GPS” or “cellular capability”. (Sweeney

                  Trial Tr. 138:20-21 (“[Consoles are] focused specifically on games

                  and entertainment experiences.”); Wright Trial Tr. 535:20-536:12;

                  Grant Trial Tr. 693:24-694:1 (“I think I would describe a game

                  console as being a single purpose device for entertainment.”),

                  694:13-19 (“The APIs in a console will be significantly lower than

                  you would find on an operating system. [This] will effectively act

                  to limit the scope of application you might create. You could create

                  a very good game or a video platform, such as Netflix, but you

                                   81
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 90 of 644




                  wouldn’t find yourself creating an application to answer email, for

                  example, or to manage a to-do list.”); Evans Trial Tr. 1460:17-

                  1461:20, 1472:9-1473:16 (discussing mobile operating systems as

                  general purpose operating systems); DX-5552.2-3 (App Store

                  permits more than 25 categories of apps for iOS devices, ranging

                  from “Navigation” to “Developer Tools” to “Finance”); Schiller

                  Trial Tr. 3131:22-3132:15 (game consoles are not used for “non-

                  gaming-related phone call[s]”, “banking apps”, or “personal

                  investment information”).)

             c.   There are significant hardware differences between smartphones

                  and game consoles like the PlayStation 4, the Xbox One and the

                  Nintendo Switch. (Ex. Expert 13 (Cragg) ¶¶ 73-77; Cragg Trial

                  Tr. 2254:2-10, 2256:8-16; Sweeney Trial Tr. 139:17-23 (“The

                  performance of Fortnite on Xbox and PlayStation is typically

                  much higher [than on smartphones]. You have a higher graphical

                  fidelity. You have certain graphical features which are available

                  only on high-end consoles and PCs, such as advanced shadows and

                  reflections that make the 3D world of Fortnite more realistic.”),

                  140:9-11 (“The big difference with Switch is that it only works

                  when it is connected to a WiFi network, so you can’t use it on as

                  many on-the-go scenarios.”), 145:18-20 (“Consoles have

                                   82
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 91 of 644




                  considerably more graphics performance; therefore, the capability

                  of displaying more realistic images.”), 145:24-25 (“Consoles

                  generally have more computing performance similar to run more

                  realistic simulations, such as particle systems.”); Grant Trial

                  Tr. 695:4-9 (“The user will be interacting [with a game console]

                  through a controller using thumb sticks and buttons. They will

                  have the same characteristics of a PC where you can reasonably

                  utilize . . . all of the performance with no concern for battery

                  life.”); PX-2274.1 (“The experience of driving games on a phone

                  or tablet isn’t ideal (no wheel or controller, holding a small

                  display, not on a loud speaker system, etc) and the business model

                  is not what most users want for mobile games . . . .”).)

             d.   Lori Wright, Vice President of Xbox Business Development at

                  Microsoft, testified that the Xbox console is not a reasonable

                  substitute for iOS devices. (Wright Trial Tr. 538:13-21.)

                  i.     First, unlike iOS devices, the Xbox console requires

                         peripherals (i.e., other equipment) to operate. (Wright Trial

                         Tr. 536:13-537:13; see PX-2778.1.) It is not possible for a

                         user to play a game on an Xbox console, for example,

                         without connecting it to a display screen, speakers and a

                         controller. (Wright Trial Tr. 537:10-13.) It must always be

                                    83
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 92 of 644




                         plugged into a power outlet to operate, and it has no

                         cellular capability—Internet connection is limited to WiFi

                         or ethernet. (Wright Trial Tr. 536:13-537:13.)

                  ii.    Second, Ms. Wright testified that the Xbox is a special

                         purpose platform because it “is designed to give you a

                         gaming experience. People buy an Xbox because they

                         want to play games.” (Wright Trial Tr. 555:24-556:5.) In

                         contrast, iOS devices are general purpose devices because

                         there is a “wide, wide variety” of “different ideas and

                         applications that can come through it”. (Wright Trial Tr.

                         557:10-15.) As a special purpose device, Microsoft’s Xbox

                         console is designed and marketed “to optimize the game

                         experience”, and it cannot perform many of the functions

                         that iOS devices can, such as requesting a rideshare, taking

                         a photo or obtaining driving directions. (Wright Trial Tr.

                         535:20-536:12.)

                  iii.   Third, Ms. Wright testified that not only are consoles and

                         iOS devices different in their functionality, but the types of

                         games that are available on both types of devices are

                         dramatically different, with console games requiring more

                         computing power and graphic fidelity than mobile devices

                                   84
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 93 of 644




                         can provide. (Wright Trial Tr. 538:22-539:7.) For

                         example, a Microsoft presentation identifying competitive

                         game releases for 2020 and 2021 identifies a list of high-

                         intensity games that will be released only on consoles or

                         PC—not iOS devices. (PX-2476.) For Xbox console

                         games, “developers have taken a design choice to build an

                         experience that they want to have rendered . . . with all the

                         compute power, graphic fidelity, that this box provides.”

                         (Wright Trial Tr. 539:22-25.) In contrast, mobile games

                         are designed for a “more casual” gaming experience and

                         the “vast majority are free to play and then have in-app

                         purchase mechanisms as part of them.” (Wright Trial

                         Tr. 539:8-16.) Even when console game titles are rewritten

                         to run on iOS devices, “they’re different games. They feel

                         different. They operate different[ly]. They’re just

                         leveraging the marketing brand of that, but it is a different

                         version of the game that is written to run on iOS.” (Wright

                         Trial Tr. 636:11-17.)

             e.   Dr. Evans similarly testified on the “fundamental difference[s]”

                  between general purpose and special purpose operating systems.

                  (Evans Trial Tr. 1472:9-1473:16.)

                                   85
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 94 of 644




                  i.     General operating systems typically follow the “user pays”

                         model, where developers receive access to the operating

                         system for free or a nominal charge. (Evans Trial Tr.

                         1474:5-17.) This in turn “stimulates the supply of apps”,

                         which attracts consumers to the platform. (Evans Trial Tr.

                         1474:18-24.) In order to earn its revenue, the platforms

                         charge consumers access fees. (Evans Trial Tr. 1474:18-

                         24.)

                  ii.    Special purpose operating systems, on the other hand,

                         including game consoles, charge developers to access the

                         platform and attract consumers through hardware sold at

                         cost or below cost. (Evans Trial Tr. 1475:19-1476:8.)

             f.   Professor Schmalensee also agreed that iOS, like Windows,

                  macOS and Android, is a “general-purpose operating system” and

                  thus “provide[s] a platform for app developers and users to make

                  all kinds of software”. (Schmalensee Trial Tr. 1969:5-14.) He

                  distinguished general-purpose operating systems from “more

                  special or niche operating systems”, such as video game consoles,

                  which are “designed and marketed primarily for games”.

                  (Schmalensee Trial Tr. 1969:15-1970:11, 1970:16-1971:2.)




                                   86
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 95 of 644




                          g.     As a result, gaming consoles do not compete with iOS devices.

                                 For example, while Microsoft recognizes Sony’s PlayStation as a

                                 “direct competitor” to its Xbox console and the Nintendo Switch as

                                 a competitor but “to a much lesser extent” than the PlayStation,

                                 Ms. Wright testified that “[w]e certainly don’t view iPhone as a

                                 competing device” and “[w]e do not view the iPad as a competing

                                 device” to the Xbox console. (Wright Trial Tr. 537:14-538:2.) In

                                 fact, Microsoft does not market its Xbox console as a replacement

                                 or substitute for iOS devices because consumers do not “play[] one

                                 at the expense of another”. (Wright Trial Tr. 643:18-24; DX-

                                 5532.11-12 (Microsoft Corporation Form 10-K statement listing

                                 Apple and Google as competition for Windows but not Xbox).)

                   158.   Further evidence that consumers do not view consoles as substitutes for

smartphones is demonstrated by the fact that nearly all console owners also own smartphones. If

the two were substitutes, consumers would not need to own both. (Evans Trial Tr. 1488:1-3,

1488:9-16; Ex. Expert 1 (Evans) ¶¶ 50-51; Ex. Expert 13 (Cragg) ¶ 44 (“[T]he regular concurrent

use of multiple electronic devices—which typically come at considerable cost to the user—is

strong evidence that these goods are used incrementally, for distinct purposes, rather than as

substitutes.”).)




                                                  87
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 96 of 644




        D.     Developers Do Not View Other Electronic Devices as Substitutes for
               Smartphones.

               159.   App developers are incentivized to make apps for platforms that

consumers use. (Ex. Expert 1 (Evans) ¶¶ 58-61; Hitt Trial Tr. 2124:12-16; Cragg Trial Tr.

2255:20-2256:3; Athey Trial Tr. 1768:18-1769:1.) If app developers ignore a platform that can

support adequate functionality for an app, the developer loses out on that economic opportunity

to reach the consumers who use that platform. (Evans Trial Tr. 1460:11-16 (“[D]eveloper[s] . . .

need to be where the customers are. So if the customers are out and about and have a demand

for using an app, then they need to be there.”); Ex. Expert 1 (Evans) ¶ 59; Grant Trial Tr. 671:6-

20.)

               160.   In light of the differences between smartphones and other electronic

devices, however, app developers do not view them as reasonable substitutes for distributing

their apps. (Evans Trial Tr. 1489:19-1490:8, 1506:10-13 (“[T]he distribution of apps for

personal computers and the distribution of apps for game consoles were not a meaningful

substitute from the standpoint of the consumer or the developer.”); Sweeney Trial Tr. 146:16-17

(“It makes the experience of Fortnite very different between console, PC, and smartphone

devices.”); Grant Trial Tr. 689:23-690:20, 694:7-695:12.) This is true even if consumers have or

use other devices at some point in time or for some purposes. (Ex. Expert 1 (Evans) ¶ 60.)

               161.   Developers view smartphones as different from other electronic devices

because smartphones are ubiquitous among consumers and because the user experience on a

smartphone is very different from the user experience on other electronic devices. (Evans Trial



                                                88
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 97 of 644




Tr. 1461:5-12, 1487:8-23.) Developers view iOS in particular to be essential. (Sweeney Trial

Tr. 112:2-17 (“iOS is a vital platform for a business.”); Weissinger Trial Tr. 1346:3-1347:1.)

               162.    Match Group, for instance, does not make its dating services available on

gaming consoles, because gaming consoles do not have the same audience as dating apps, users

do not carry their gaming consoles with them, and gaming consoles do not offer the feature set

on which Match’s mobile device apps rely. (Ex. Depo. 1 at 12:24-13:25 (Ong).) In particular,

gaming consoles do not offer location-based features, the ability to receive push notifications and

send messages while on the go, native swiping, or continuous internet connectivity. (Ex. Depo. 1

at 12:24-13:25, 120:12-13, 120:16-21, 120:24-25, 121:2-4 (Ong).)

               163.    The vast majority of users of mobile devices for game applications spend

the bulk of their time playing on mobile devices. (Cragg Trial Tr. 2264:23-2265:7.) Ms. Wright,

for example, testified that “there are roughly three billion gamers in the world. Ninety-six

percent of those gamers play games on a mobile device.” (Wright Trial Tr. 550:4-6.) Further,

Fortnite data show that the vast majority of Fortnite users in general, and iOS users in particular,

do not multi-home, in the sense that they do not use multiple platforms for the same purpose, i.e.,

to play Fortnite. (Ex. Expert 13 (Cragg) ¶ 46.) Instead, Fortnite users are roughly eight times as

likely to play and transact on one platform than they are to play and transact on multiple

platforms. (Cragg Trial Tr. 2264:23-2265:7; Ex. Expert 13 (Cragg) ¶ 89, Figure 14; PX-1009.)

               164.    To test for substitutability, Dr. Cragg analyzed differences in development

costs for mobile and non-mobile platforms. He found that developers could expect to expend

$120,000 to $600,000 to develop a game for a mobile device, whereas the top non-mobile games

                                                89
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 98 of 644




ranged from $135 to $300 million. (Ex. Expert 13 (Cragg) ¶¶ 81-82, Figure 12.) And “[i]f

Apple’s Experts were correct that developers could compete in a single mobile-plus-non-mobile

game transaction market, it would be economically irrational for developers to publish their

games on both mobile and non-mobile platforms”. (Ex. Expert 13 (Cragg) ¶ 82.) This is

confirmed by the market evidence, which shows there is almost no overlap between the most

popular mobile games and the most popular games on other platforms. (Ex. Expert 13 (Cragg)

Figure 10; see also id. ¶¶ 38-39.)

               165.    As described below in Section III.G, Dr. Evans conducted a study based

on Fortnite user data that showed that Fortnite users typically single-home on one platform, that

only 16.7% of the gameplay minutes (or 3.1% of gameplay minutes when accounting for natural

cross-progression to gaming consoles and PCs) that would have occurred in the iOS Fortnite app

absent the removal of Fortnite on August 13, 2020 shifted to other platforms, and that it would

be unprofitable for developers to abandon the iOS platform in response to a SSNIP.

       E.      Apple and Google Are the Only Significant Participants in the Foremarket
               for Mobile OSs.

               166.    iOS is Apple’s operating system for the iPhone. (Fischer Trial Tr. 874:16-

17; Sweeney Trial Tr. 155:10-11 (“Apple exercises total control of its availability of all software

on iOS . . . .”); Grant Trial Tr. 667:17 (“iOS is Apple’s operating system for mobile

platforms.”).) Apple does not license iOS to any other party. (Schiller Trial Tr. 3107:12-13;

Cook Trial Tr. 3885:17-18.)

               167.    Google licenses the Android OS to third parties. (Grant Trial Tr. 688:4-20;

Ex. Expert 1 (Evans) ¶ 10.) The firms that make smartphones are called “original equipment
                                                90
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 99 of 644




manufacturers”, or “OEMs”. (Grant Trial Tr. 688:2.) OEMs that make Android phones license

the Android OS and related services from Google. (Grant Trial Tr. 688:17-20.) Android OEMs

include Samsung, Nokia, Microsoft, LG, HTC and OnePlus. Google itself makes a mobile

device that uses the Android OS. (Grant Trial Tr. 688:4-6.)

               168.   Together, Apple’s and Google’s dominance in the smartphone operating

system market give them a duopoly (a market defined by two primary participants). (Evans Trial

Tr. 1492:4-12; Ex. Expert 1 (Evans) ¶ 74.) There is a strong presumption in the economics of

industrial organization that where, as here, a market is a duopoly, both participants have

substantial market power. (Ex. Expert 1 (Evans) ¶ 82.)

               169.   Collectively, Apple and Google have generated more than 89% of the

revenue in the smartphone operating system market each year since 2012, and more than 99% of

the revenue in the market since 2016. (Ex. Expert 1 (Evans) ¶ 74.) As of 2019, Apple’s iOS

holds a 40% revenue share, and Google’s Android OS holds a 60% share. (Evans Trial Tr.

1494:11-18; PX-1059.)

               170.   There have been no successful entrants into the smartphone operating

system market since 2008, when Android OS entered the market. (Ex. Expert 1 (Evans) ¶ 74.)

Major software developers have tried and failed to enter the smartphone operating system

market. For example, Microsoft attempted to enter the market by launching the Windows Phone

OS but ultimately exited the market. (Ex. Expert 1 (Evans) ¶¶ 47, 67.)




                                                91
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 100 of 644




       F.      Apple Has Market Power in the Smartphone Operating System Foremarket.

               171.   Apple has market power in the smartphone operating system foremarket.

(Evans Trial Tr. 1491:17-20.) As one of two participants in a duopoly market, Apple is

presumed to have significant market power. (See Section III.E.)

               172.   The iOS and Android ecosystems are highly differentiated. (Ex. Expert 1

(Evans) ¶ 75.) iOS is designed around Apple’s suite of apps and services, and Android is

similarly designed around Google’s. (Ex. Expert 1 (Evans) ¶¶ 75-76.) They are also

differentiated based on the available hardware and the user interface and controls. (Ex. Expert 1

(Evans) ¶ 77.) That iOS and Android devices and their respective operating systems are

differentiated limits the degree of substitution between them and therefore enhances the market

power of Apple and Google. (Ex. Expert 1 (Evans) ¶ 78.)

               173.   Apple’s market power is further demonstrated by its market share. As

noted, iOS has a substantial share of the smartphone operating system market, with iOS and

Android together accounting for nearly all of the smartphone sales globally since 2013. (Evans

Trial Tr. 1493:12-22; PX-1059.) Over the last 10 years, iOS app users have accounted for about

50% of the time smartphone app users spend online. (Ex. Expert 1 (Evans) ¶ 79.) iOS also

accounts for a significant share of spending on apps. Between 2015 and 2019, iOS accounted for

50-52% of spending globally, excluding China, and 57-60% of spending in the U.S. (Ex.

Expert 1 (Evans) ¶ 80; PX-1057.) Apple also has over “50 percent of phone sales by revenue in

the U.S.” (Evans Trial Tr. 1494:11-18; PX-1061.)




                                               92
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 101 of 644




              174.    Several structural features of the smartphone operating system market

confirm Apple’s market power:

                      a.     Apple’s sole competitor in the relevant market is Google’s

                             Android (Evans Trial Tr. 1492:4-9);

                      b.     There have been no successful new entrants since 2008, and even

                             well-funded entrants like Microsoft have tried and failed to enter

                             (Evans Trial Tr. 1493:12-1494:10; Ex. Expert 1 (Evans) ¶¶ 90-91);

                      c.     A new entrant would face significant barriers to entry, such as the

                             cost of developing a smartphone OS, the challenge of convincing

                             phone manufacturers to adopt the OS, the challenge of persuading

                             developers to create software for the platform, and the challenge of

                             persuading consumers locked into iOS or Android to switch to a

                             new smartphone OS (Ex. Expert 1 (Evans) ¶¶ 90-91);

                      d.     Apple’s substantial market share has persisted for over a decade.

                             (Ex. Expert 1 (Evans) ¶ 91; Evans Trial Tr. 1493:12-22.)

              175.    Google does not constrain Apple’s market power. (Evans Trial Tr.

1706:10-16.) There are significant sunk costs and switching costs for consumers that result in

minimal switching between platforms. (See Section II.B above; Evans Trial Tr. 1492:19-1493:2;

Ex. Expert 1 (Evans) ¶¶ 75-78, 83-88.) Consumers single-home on one platform or the other,

because “most smartphone users have either an iOS or an Android [device] but not both”.

(Schmalensee Trial Tr. 1919:1-7; Evans Trial Tr. 1498:9-16 (“[P]eople are an iOS user or they

                                               93
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 102 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 103 of 644




                       b.     Benjamin Simon, Down Dog’s Co-Founder and CEO, also testified

                              that roughly 50% of Down Dog’s revenue comes from iOS

                              subscribers, 35% from Android subscribers and the rest from the

                              web and other platforms. (Simon Trial Tr. 391:14-18, 401:8-15.)

                              Mr. Simon noted that Down Dog cannot abandon iOS, as there “is

                              no other way for [Down Dog] to allow [their] users to access any

                              iOS app”. (Simon Trial Tr. 390:23-25, 393:21-394:12.)

               178.    Apple’s market power is further shown by the fact that developers have

not left iOS even as Apple has required them to comply with unfavorable terms and conditions,

including Apple’s 30% fee for IAP. (Ex. Expert 1 (Evans) ¶ 199.)

       G.      There Is an Aftermarket for iOS App Distribution.

               179.    There is a relevant two-sided antitrust aftermarket for the distribution of

apps on the iOS platform. (Evans Trial Tr. 1511:20-1512:2; Ex. Expert 1 (Evans) ¶ 144.)

               180.    Importantly, while that market is currently captured entirely by Apple’s

App Store, that result is not pre-ordained, but rather is the outcome of the anticompetitive

conduct at issue. But for that conduct, the market would have close substitutes that would

compete with Apple’s App Store for the provision of distribution services to iOS app developers.

By considering the but-for world absent Apple’s conduct, Dr. Evans determined which

distribution channels for iOS apps would be in the relevant market. (Evans Trial Tr. 1510:13-

1511:7.) “The iOS app distribution market includes all the channels that consumers and




                                                 95
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 104 of 644




developers would use, and that includes App Stores operating as online marketplaces and direct

distribution.” (Evans Trial Tr. 1511:24-1512:2.)

               181.    Dr. Evans explained that to define a market, the first step is to start “with

the supplier at issue” and its product, which in this case, is the App Store and the distribution of

apps. Then, any “potential substitutes” for the App Store must be considered that customers

would turn to in the event of a price increase in sufficient numbers to constrain the supplier’s

market power. (Evans Trial Tr. 1503:19-1504:1, 2387:10-2388:10.)

               182.    Dr. Evans began by assessing a variety of qualitative factors. As

explained above, non-smartphone operating systems are not reasonable substitutes for iOS users

or developers, (see Sections III.C and III.D), so the app distribution channels for those operating

systems are also not reasonable substitutes for distribution channels of iOS apps. And app

distribution channels for Android apps are not a significant competitive constraint because users

would have to switch devices to make use of those channels and, as described above, (see

Section II.B), consumers face significant switching costs and typically do not switch between

smartphone ecosystems.

               183.    Dr. Evans conducted a study of Fortnite data, the results of which revealed

that about 82.7% of all users single-home and only played on one platform. (Evans Trial

Tr. 1516:8-17; Ex. Expert 1 (Evans) ¶ 126.) Users who only play Fortnite on iOS account for

over 60% of all minutes played on iOS. (Evans Trial Tr. 1516:22-1517:15.) Developers cannot

reach these users through any other platform and therefore must be where these users are.

(Evans Trial Tr. 1460:11-16.)

                                                 96
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 105 of 644




               184.   The lack of substitutability between mobile and other devices is evidenced

by data about Fortnite player usage on different devices. Fortnite data show that 64.1% of

Fortnite iOS users—over 73 million people—have accessed Fortnite exclusively on iOS devices.

(Ex. Expert 6 (Hitt) ¶¶ 62, 71, Figure 13 (64.1% of 115 million iOS users).) From March 2018

through July 2020, Epic earned at least $500 million in Fortnite on iOS, and iOS Fortnite users

who only ever transact on iOS represent about two thirds of Epic’s iOS revenue. (Ex. Expert 6

(Hitt) Figure 14 ($745 million in total revenue for users who made purchases in Fortnite on

iOS); Hitt Trial Tr. 2172:9-25 (roughly two thirds of spending by iOS users on Fortnite only

ever transacted on iOS).) And in any given month, the vast majority of Fortnite players play and

transact on a single device—eight times as many as the number of players who play on more

than one device. (Cragg Trial Tr. 2264:23-2265:7 (noting that “the vast majority of people sign

in to Fortnite on a single device each month”); Ex. Expert 13 (Cragg) ¶ 89, Figure 14.)




                                               97
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 106 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 107 of 644




serious gamers. (Evans Trial Tr. 1526:3-1527:4.) Therefore, taking into account the natural

cross-progression, the amount of substitution fell to 3.1%. (Evans Trial Tr. 1527:10-14.) This

result is additionally conservative because the removal of Fortnite from the App Store was a

significant degradation in quality; it was a more significant change than a typical 5-10% SSNIP.

(Evans Trial Tr. 1527:20-1529:21.)

               186.    To then evaluate whether developers would remain on iOS despite a price

increase or degradation in quality or whether developers would abandon the platform, Dr. Evans

conducted the same analysis as described above with respect to gameplay minutes, but looking

instead at whether iOS Fortnite users would substitute their spending to other platforms such that

the developer would recoup a sufficient amount of its iOS revenue on other platforms. (Evans

Trial Tr. 1532:23-1533:25.)

               187.    Dr. Evans began by calculating Apple’s “effective” commission using

Apple’s transactional data and arrived at 27.7% for 2019. (Ex. Expert 1 (Evans) ¶ 157.) Dr.

Evans then conservatively determined that if Apple raised its effective commission by 10%,

developers would pass through to consumers 50% of the price increase. (Ex. Expert 1 (Evans)

¶ 136.) Dr. Evans calculated the spending that would have to shift from the iOS Fortnite app to

Fortnite on other platforms in order for Epic to find it profitable to leave the iOS platform. (Ex.

Expert 1 (Evans) ¶ 133.) He then demonstrated that it would not be profitable for Epic to leave

iOS unless it could recoup at least 87.7% of its iOS Fortnite revenue from other platforms. (Ex.

Expert 1 (Evans) ¶ 133.) As Dr. Evans demonstrated, when Epic left the iOS platform, it

recouped no more than half of its iOS revenues, on the high end, which means that Epic would

                                                99
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 108 of 644




find it more profitable to pay a 10% increase in price than to leave iOS. (Ex. Expert 1 (Evans)

¶ 133.) Developers therefore would not abandon iOS in the face of a price increase or

degradation in quality because it would not be profitable to do so. (Evans Trial Tr. 1534:1-6;

PX-1079.)

               188.   Analyzing Fortnite is conservative because it is already available on a

number of platforms. (Evans Trial Tr. 1534:10-24; Ex. Expert 1 (Evans) ¶ 131; Ex. Expert 13

(Cragg) ¶ 52.) Other developers, such as Uber, that did not invest in other platforms, would find

it even more unprofitable to abandon iOS in the face of a price increase or a degradation of

quality. (Evans Trial Tr. 1534:25-1535:7.)

               189.   Dr. Evans’s finding is confirmed by a consumer survey conducted by

Professor Rossi. Professor Rossi surveyed 2,595 iOS users who had spent money on in-app

purchases or subscriptions (“at-issue purchases”) in the most recent 30 days, which he chose in

order to ensure “the quality of the data”. (Rossi Trial Tr. 2508:7-18, 2528:21-24; Ex. Expert 3

(Rossi) ¶ 39.) The final formulation of the survey questions was a culmination of multiple

rounds of pretesting. Through the iterative process of pretesting and updating survey drafts,

Professor Rossi determined that he had sufficient information to support that the final changes to

the survey would be well-understood and would address the issues raised during the multiple

stages of pretesting. (Rossi Trial Tr. 2548:4-11; Ex. Expert 3 (Rossi) ¶ 20; PX-1918; PX-1919;

PX-1920.) Professor Rossi did not include paid app downloads in his definition of at-issue

purchases because they make up less than 2% of App Store revenue, and therefore doing so

would not have “materially affect[ed] any of [his] conclusions.” (Rossi Trial Tr. 2546:3-10; PX-

                                               100
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 109 of 644




2367.2-3). In conducting his survey, Professor Rossi constructed a hypothetical scenario in

which he asked iOS users who make their own spending decisions how they would react to a

“long run or non-transitory [5 percent] price increase” of at-issue purchases. (Rossi Trial

Tr. 2510:13-2511:14; Ex. Expert 3 (Rossi) ¶¶ 7, 15; PX-2547.1-43.) Of these iOS users (who

did not answer “unsure”), 81% stated that they would have made the same at-issue purchases if

the cost of the digital content had been 5% higher. (Rossi Trial Tr. 2516:15-2517:2; Ex. Expert 3

(Rossi) ¶ 41; PX-1088.1; PX-2545.) The remaining 19% of iOS users (who did not answer

“unsure”) stated that they would have decreased their spending. (Rossi Trial Tr. 2516:15-

2517:2; Ex. Expert 3 (Rossi) ¶ 41; PX-2545.) Overall, respondents stated that they would

decrease their spending by approximately 11% in response to the 5% price change, which

translates to a demand elasticity of -2.19. (Rossi Trial Tr. 2517:10-14; Ex. Expert 3 (Rossi) ¶ 44;

PX-1090.1; PX-2545.) Notably, only 1.3% of survey participants from these two groups

reported that they “would have switched from their current iOS device (iPhone or iPad) to a non-

iOS device in response to the price increase”. (Rossi Trial Tr. 2517:3-10; Ex. Expert 3 (Rossi)

¶¶ 12, 43; PX-1089.1; PX-2545.) Professor Rossi used multiple sources of external data to

provide affirmative evidence of the representativeness of his survey population, thus bolstering

the reliability of his survey results (Rossi Trial Tr. 2521:3-22; Ex. Expert 3 (Rossi) ¶¶ 46-50;

PX-1085.1; PX-1086.1; PX-1087.1; PX-1091.1; PX-1092.1.)

               190.    Dr. Evans used Professor Rossi’s survey data to show that 74% of

spending-weighted respondents would not have changed their spending behavior at all if their

transaction costs increased by 5%, while just 1.4% of consumers would have switched to a new

                                                101
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 110 of 644




non-iOS device. (Ex. Expert 1 (Evans) ¶¶ 136-137; PX-1078.) Based on these results showing

that consumers are not particularly responsive to increases in prices for iOS app distribution,

Dr. Evans determined they have relatively inelastic demand. (Evans Trial Tr. 1650:17-1651:6;

Ex. Expert 1 (Evans) ¶ 137.) Professor Rossi’s survey confirms Dr. Evans’s finding that

consumers have relatively inelastic demand for iOS app distribution and that very few consumers

would respond to a price increase by switching to Android. (Evans Trial Tr. 1650:17-1651:6.)

               191.    To confirm the existence of the iOS app distribution market, Dr. Evans

performed a SSNIP test. (Ex. Expert 1 (Evans) ¶¶ 139-144.) He began by calculating the App

Store’s “effective” commission rate, which was 27.7% in 2019, based on transaction data

produced by Apple. (PX-1050; Ex. Expert 1 (Evans) ¶ 157; see Ex. Expert 6 (Hitt) ¶ 179.)

Assuming developers pass on 50% of their costs to consumers, Dr. Evans analyzed whether the

price increase from Dr. Rossi’s survey would be profitable for Apple; this 5% increase in

consumer-facing prices would amount to a 30% increase in the App Store’s commission, from

27.7% to 35.9%. (Ex. Expert 1 (Evans) ¶¶ 136, 141; Evans Trial Tr. 1669:3-7.) Dr. Evans found

that if Apple raised its App Store commission by this amount, it could have increased its profits

by $824.9 million in 2019. (Ex. Expert 1 (Evans) ¶ 141.)

               192.    In theory, Apple, as the monopolist, should already be charging the

highest commission rate it can and should not be able to increase fees more, but in practice, it is

likely that Apple has not increased its commission rate over the current 30% maximum given the

high level of regulatory, media, and developer scrutiny it has faced for several years. (Ex.

Expert 1 (Evans) ¶ 142.)

                                                102
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 111 of 644




       H.      Apple Incorrectly Defined the Relevant Market as the Market for Digital
               Games Transactions.

               193.    The economic experts who testified for Epic and Apple agree that “[t]he

general role of market definition in antitrust matters is to identify competitive constraints

relevant to the conduct at issue”. (Lafontaine Trial Tr. 2031:1-9; Ex. Expert 1 (Evans) ¶ 32;

Evans Trial Tr. 1453:5-11; 1503:19-1504:1, 2387:10-2389:23; Schmalensee Trial Tr. 1941:1-5.)

Both sides’ economic experts also agree that “the definition of a market has to begin with the

product around which we look for substitutes.” (See, e.g., Lafontaine Trial Tr. 2004:9-12,

2005:15-21.) In defining the relevant product market, however, Apple’s experts ignored these

basic principles.

               194.    In their testimony and reports, Apple’s experts repeatedly emphasized that

the App Store sells a single product: transactions. (See, e.g., Ex. Expert 8 (Schmalensee) ¶ 136

(referring to the App Store as a “transaction platform . . . that supplies one product—

transactions”).) Professor Lafontaine testified that “[t]he apps are not the product here . . . The

transactions are the product.” (Lafontaine Trial Tr. 2031:25-2032:3, 2037:15-16). And

Professor Schmalensee testified that the relevant product is the “transaction service” the App

Store provides by bringing together developers and consumers, and “the transaction services that

are provided by the App Store are the same services whether the developer sells games or music

or coffee or crocheting materials.” (Schmalensee Trial Tr. 1954:3-1955:23 (agreeing that “that

transaction service . . . has nothing whatsoever to do with the content that the developer then

provides to the user”).)



                                                103
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 112 of 644




               195.    Notwithstanding their assertion that the App Store sells the same

transactions to all developers, Apple’s proposed “digital game transactions” product market does

not focus on the product Apple sells, but on a product invented by its economists specifically for

this litigation and tied to the identity of the plaintiff, Epic. (Schmalensee Trial Tr. 1943:18-

1944:1 (agreeing that “if there were a different plaintiff [in the case] who was not a company that

developed game apps, it is possible . . . that [he] would come to a different conclusion as to the

proper market definition”).) Their analysis focused on Epic, and just one of Epic’s products:

Fortnite. (Lafontaine Trial Tr. 2005:24-2006:3 (“[C]onduct is not a product and therefore

consumers don’t consume the conduct. So what we need to look at is what is the product that’s

affected by the conduct.”), 2030:10-17 (noting that defining a relevant market does not begin

with the conduct), 2046:16-2047:9 (“Q: And when you formed your opinion, you did not know

that Epic was the developer of the Houseparty app, correct? A: That’s correct.”); Hitt Trial

Tr. 2126:23-25 (“[T]he framework I used—and I relied heavily on Professor Lafontaine—is to

look for substitutes for performing digital game transactions.”). Documents in evidence and

Apple’s witnesses repeatedly refer to app distribution, (e.g., PX-877; Schiller Trial Tr. 2728:24-

2729:10 (describing what the App Store offers as “app distribution”), 2748:1-13 (“There are

many, many competitors for app distribution.”), but there are no documents referring to digital

game transactions or game transaction platforms, which are litigation-driven concepts.

               196.    The App Store provides distribution services to all apps, and these are the

same distribution services regardless of the service the app then provides to consumers. (Evans

Trial Tr. 1454:11-16; 1457:10-1458:25; 1707:2-17; Schmalensee Trial Tr. 1955:3-23.) The

                                                104
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 113 of 644




challenged conduct in this case is therefore not specific to Epic or game apps; Apple’s conduct

applies to all iOS app developers and potential iOS app distributors. (Evans Trial Tr. 2448:5-

2449:21; Ex. Expert 1 (Evans) ¶ 39; Ex. Expert 16 (Evans) ¶¶ 11-14; Ex. Expert 13 (Cragg)

¶ 15.)

                      a.      If Apple’s market definition were correct, two lawsuits challenging

                              the same conduct by the same defendant could result in different

                              product markets and different findings about the defendant’s

                              liability. (Evans Trial Tr. 1744:17-19 (stating that the market does

                              not depend on the plaintiff), 2387:10-2389:23 (explaining why the

                              plaintiff-centric approach to market definition is flawed); Hitt Trial

                              Tr. 2189:17-22; see also Lafontaine Trial Tr. 2033:11-23.)

                      b.      Professor Hitt, for example, agreed that if the very same

                              allegations were made by Spotify, the market definition would be

                              different. (Hitt Trial Tr. 2189:17-22 (agreeing that “if Spotify

                              brought the same complaint with the same allegations, that would

                              require a different market analysis”); see also Lafontaine Trial Tr.

                              2033:11-23 (asserting that the plaintiff’s product “determines what

                              the market definition is”).)

                      c.      Professor Schmalensee conceded that if this same lawsuit were

                              brought by a large group of app developers that make different

                              types of apps, one might want to consider the possibility of

                                               105
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 114 of 644




                   multiple relevant markets by considering differences between apps.

                   (Schmalensee Trial Tr. 1944:14-20.)

             d.    Professor Schmalensee also testified that if the Department of

                   Justice brought a lawsuit challenging the same conduct as Epic, he

                   would “consider the possibility of a market of all apps or of

                   multiple categories of markets”. (Schmalensee Trial Tr.

                   1944:21-1945:5.)

             e.    Dr. Lafontaine, another of Apple’s experts, had never heard of

                   Epic’s Houseparty app and failed to review a list of Epic’s apps

                   before determining that the relevant product market is for digital

                   game transactions. (Lafontaine Trial Tr. 2046:16-2048:6.)

                   Professor Hitt, conversely, did know about both Houseparty and

                   Epic’s Unreal Engine apps when defining the relevant market, yet

                   he did not consider them, even though he acknowledged the

                   relevant market must include all relevant products. (Hitt Trial Tr.

                   2187:17-20, 2190:10-2191:15.)

             f.    Professor Schmalense also testified that if Epic were “suing in its

                   capacity as a distributor of apps”—which, in fact, Epic is doing—

                   “the relevant market would be . . . the market for being an app

                   store”. (Schmalensee Trial Tr. 1945:18-1946:10, 1947:14-21.)




                                    106
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 115 of 644




                      g.      Finally, Professor Schmalensee testified that if Epic offered a

                              portfolio of game and non-game apps, that “might lead to a

                              different ultimate outcome than where [he] landed in this case”.

                              (Schmalensee Trial Tr. 1945:9-14.) Notwithstanding Professor

                              Schmalensee’s concession that “Epic does do both game apps and

                              non-game apps, of course”, the analysis performed by Apple’s

                              experts focused exclusively on game transactions. (Schmalensee

                              Trial Tr. 1945:9-14.)

               197.   In fact, Epic does offer a portfolio of game and non-game apps, a fact

Apple’s experts either did not consider or affirmatively ignored in formulating their market

definition. For example, in her market definition analysis, Dr. Lafontaine did not consider any

non-game app Epic develops, including Houseparty, and also did not consider any non-game

apps developed using Epic’s Unreal Engine. (Lafontaine Trial Tr. 2047:4-2049:18.) Similarly,

Professor Hitt admitted that when he decided to focus his analysis exclusively on games, he was

aware that “Houseparty is a social app which would not be within the games market” he defined

and that Epic’s Unreal Engine apps “are not games . . . they are essentially DevTools” that are

“used for media content generation”. (Hitt Trial Tr. 2190:10-2191:15.) Professor Hitt conceded

that as between the two market definitions before the Court, Epic’s and Apple’s, only Epic’s

market actually includes Epic’s non-game apps. (Hitt Trial Tr. 2192:20-25 (“Q: You agree with

me, sir, that as between the two market definitions before the Court, Epic’s and Apple’s, only




                                               107
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 116 of 644




Epic’s market actually includes [Houseparty and the Unreal Engine apps], correct? A: Yes.

Houseparty is outside the games transaction market. So that would be yes.”).)

               198.    By focusing exclusively on Epic and Fortnite, Apple’s experts, “working

together”, concluded that the relevant market is for a specific type of transaction: digital games

transactions. (See Lafontaine Trial Tr. 2051:17-24; Ex. Expert 7 (Lafontaine) ¶ 1.)

Dr. Lafontaine claims it is appropriate to bifurcate the market between game and non-game

transactions because game transactions face different competitive conditions than non-games do.

(Lafontaine Trial Tr. 2041:18-24.) But, according to Dr. Lafontaine, it is inappropriate to further

sub-divide the game transactions market because game transactions constitute an “intuitive and

natural grouping”, even though “there are different competitive conditions that are applicable to

different games”. (Lafontaine Trial Tr. 2042:3-2043:20.)

               199.    The Apple experts’ “intuitive and natural grouping” includes, according to

Dr. Lafontaine’s testimony, “transactions on a game console, but only if they are digital

transactions, but not digital transaction for something other than games, and [not] retail

transactions for products to be used with game consoles.” (Lafontaine Trial Tr.

2052:25-2053:7.) Dr. Lafontaine’s market was based in part on “what [she] understood the law

would require”. (Lafontaine Trial Tr. 2053:23-2054:3.)

                       a.     However, Microsoft does not view game transactions in Apple’s

                              App Store to be in competition with game transactions in the Xbox

                              Store, which is Microsoft’s digital marketplace for Xbox console

                              games. (Wright Trial Tr. 547:4-9, 549:14-21.) It is not an

                                                108
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 117 of 644




                   “either/or choice”—that is, a user is “not playing one at the

                   expense of another”. (Wright Trial Tr. 549:14-21, 643:18-24.)

                   With respect to Sony’s PlayStation, on the other hand, “if you

                   made a choice to buy a PlayStation, then you’re buying games

                   from Sony. That is taking away from you being an owner of an

                   Xbox for the most part and buying games through the Xbox Store.”

                   (Wright Trial Tr. 548:12-18.)

             b.    Further, Ms. Wright testified that, in connection with planning its

                   business development strategy, Microsoft does not consider the

                   scenario in which a user playing a game on a non-Xbox platform

                   sees an in-game item that he wants to purchase, stops playing the

                   game on the non-Xbox device, moves to his Xbox (or a friend’s

                   Xbox) to make the purchase, and then returns to the non-Xbox

                   device to continue to play the game with the item purchased on the

                   his (or a friend’s) Xbox. (Wright Trial Tr. 550:18-551:6.)

             c.    Because of these differences, the distribution of apps on game

                   consoles is not in the same market as distribution of apps on an

                   iOS device. (Evans Trial Tr. 1459:5-9.) For a consumer who

                   owns both a smartphone and console, purchases made on the

                   console are not made in lieu of purchases on iOS. (Evans Trial

                   Tr. 1506:15-1507:2.) To use that purchase on the iOS app, the

                                    109
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 118 of 644




                               consumer must download the app from the App Store. (Evans

                               Trial Tr. 1506:23-1507:2.)

               200.    Apple claims that the fact that consumers cannot substitute “zombie

game[s]” with the purchase of “graphing calculators” demonstrates that the iOS app distribution

market is incorrectly defined. (See, e.g., Evans Trial Tr. 1642:16-18 (“Q. In your view, is a

download transaction from the App Store or Call of Duty: Black Ops – Zombies a substitute for

download transaction of the Graphing Calculator Plus app?”), 1706:20-22.) However, this

position lacks merit. As noted, Apple’s position in this litigation (and Epic’s) is that the App

Store sells a single product: transactions. (See, e.g., Ex. Expert 8 (Schmalensee) ¶ 136 (referring

to the App Store as a “transaction platform . . . that supplies one product—transactions”); see

also Ex. Expert 8 (Schmalensee) ¶ 24 (“Apple’s App Store exists to facilitate transactions

between members of these two groups”).) When a developer sells a zombie game or a digital

graphing calculator through the App Store, the product or service Apple provides is the

facilitation of their transaction. The market here is the market for distribution services that

facilitate consumers obtaining iOS apps and facilitate iOS app developers reaching consumers.

(Evans Trial Tr. 1707:2-17.) Those distribution services are the same for any and all apps.

               201.    The transactions Apple’s experts identify for their market are app

downloads, app updates and in-app purchases. (Lafontaine Trial Tr. 2057:14-17.) Although Dr.

Lafontaine testified that the market is defined by identifying substitute products (Lafontaine Trial

Tr. 2004:9-12), she conceded that only one of these three transactions—in-app purchases—can

be completed on a non-iOS device. (Lafontaine Trial Tr. 2057:18-2059:17.) Dr. Lafontaine

                                                110
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 119 of 644




agreed that “there is literally no competition” for downloading and updating iOS apps “other

than to [complete these transactions] on the iPhone”. (Lafontaine Trial Tr. 2059:4-7.)

               202.    Importantly, Apple’s experts’ narrow articulation of a market for “digital

game transactions” also led them to ignore crucial parts of Epic’s allegations, including those

relating to the entry of the Epic Games Store on iOS. (Hitt Trial Tr. 2191:20-23 (“Q: You

remember you told me in your deposition that you’ve personally not analyzed the allegations

related to the entry of the EGS? A: That’s correct.”).) In fact, Professor Hitt admitted at trial

that there are transactions implicated by Epic’s complaint and subject to Apple’s anticompetitive

conduct, such as when a user obtains a non-game app on the Epic Games Store, that are outside

of the Apple’s experts’ defined market. (Hitt Trial Tr. 2191:24-2192:2 (admitting when asked

whether a user obtaining a non-game app from the Epic Games Store are digital game

transactions, “It’s a digital transaction, but not a game transaction. So that would be no.”).)

               203.    According to Dr. Lafontaine, iOS users could substitute making digital

game transactions on their personal iOS devices with making digital game transactions on a

friend’s video game console. (Lafontaine Trial Tr. 2059:21-25.) She believes that “[i]n some

situations”, going to a friend’s house to purchase digital content on the friend’s video game

console would be a good substitute for purchasing digital content on a user’s own smartphone.

(Lafontaine Trial Tr. 2060:18-22.) Dr. Lafontaine presented no evidence about users’ ability or

willingness to engage in that kind (or any kind) of substitution.

               204.    Professor Hitt admitted that developers are “highly incentivized” to

encourage users to transact outside of the App Store because they would avoid Apple’s 30%

                                                111
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 120 of 644




commission. But he presented no evidence that any game developers were trying to encourage

substitution. (Hitt Trial Tr. 2195:15-2196:19.)

               205.    According to Professor Hitt, of the Top 25 iOS games by revenue and

download, at most four—or 16%—are also available on consoles. (Hitt Trial Tr. 2200:13-

2201:18.) Although Professor Hitt claimed in his written testimony that 72% of the Top 25 iOS

games by revenue and 88% of the Top 25 iOS game by download are available on PCs

(Ex. Expert 6 (Hitt) ¶ 31, Figure 3), those figures were shown in Court to be demonstrably false.

Once he took the stand and failed to reproduce his study during a live demonstration, Professor

Hitt admitted that the developers of at least eight of the games he had identified as available on

PC claim to be selling their games only on mobile platforms, and he was unable to show that any

of these games were available on PC from the same developer. (Hitt Trial Tr. 2207:6-2216:11.)

Professor Hitt suggested that perhaps “comparable” games from other developers were available

on PC. But he pointed to no such games in his reports or testimony, and he conceded that

“comparable games from a different developer” do not help the bona fide mobile developer

avoid Apple’s 30% commission. (Hitt Trial Tr. 2238:2-7.)

               206.    Following his cross examination, Apple struck Professor Hitt’s disproven

study from his written testimony. (Ex. Expert 6 (Hitt) ¶¶ 30-31.) In light of the fact that

Professor Hitt’s iOS app availability study was shown to be demonstrably false, Dr. Cragg’s

study on iOS app availability is the only legitimate study on this topic in the record. (Ex.

Expert 13 (Cragg) ¶ 79, Figure 10.)




                                                  112
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 121 of 644




               207.    Dr. Cragg’s analysis showed that the vast majority of the most popular

games on mobile platforms are typically available only on mobile platforms, while games

designed for consoles and PCs (“static platforms”) are available only on console or PC—not on

mobile devices. (Ex. Expert 13 (Cragg), Figure 10 (18 of the top 30 mobile games only available

on mobile).) Importantly, Dr. Cragg showed that only one game, Minecraft, was as available on

as many different platforms as Fortnite. (Ex. Expert 13 (Cragg), Figure 10.) Because Apple’s

experts focused on Fortnite, they used their easiest test case for finding actual substitution of

gaming transactions across platforms. That they presented no evidence of actual meaningful

substitution, even with respect to Fortnite, the easiest test case, makes substitution “unlikely to

hold true for the other games where the same type of play opportunity doesn’t exist”. (Cragg

Trial Tr. 2268:14-2269:6.)

               208.    Professor Hitt also failed in Court to verify his claim that iOS users can

make “direct purchases of content through a web browser on the iOS device”, such as the iOS

Safari web browser, “for content that can be accessed in an iOS app”. (Ex. Expert 6 (Hitt) ¶ 51.)

Professor Hitt conceded that only two games out of the top 25 iOS games by download offered

purchases through Safari on an iPhone, but claimed that he had identified eight games, out of the

populations of top 25 iOS games by revenue, where a user purportedly could make purchases on

the Safari browser and then use those purchases within the native iOS app. (Ex. Expert 6 (Hitt)

¶ 51, Figure 8.) That claim too was demonstrably false. When asked whether he could explain

how to make a purchase outside of several of these eight apps, Professor Hitt admitted that this

was something he had “not personally” attempted before appearing in Court, except for Fortnite.

                                                113
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 122 of 644




(Hitt Trial Tr. 2219:6-12.) A live demonstration revealed that Candy Crush, one of the games

Professor Hitt had identified as offering purchases through Safari on iOS, was available only

from the App Store or “on desktop”, not mobile, contrary to the representation in Professor Hitt’s

written testimony (Hitt Trial Tr. 2219:20-2221:2). Professor Hitt also conceded that the

developer of another game, Clash Royale, represents that purchases are only available through

the App Store. (Hitt Trial Tr. 2221:23-2222:19.) And Professor Hitt could not confirm under

oath that other games he had identified as offering portable purchases actually give consumers

the option to purchase content on a web browser on an iOS device and take those purchases back

to the iOS app. Professor Hitt was unable to provide the Court with “any logical explanation”

for his inability to demonstrate the availability of cross-platform purchases in the games he had

testified in writing as offering that functionality.5 (Hitt Trial Tr. 2228:18-2229:6.)6



    5
      In light of Professor Hitt’s demonstrably false testimony in this regard, on May 16, 2021,
Apple attempted to retroactively change Professor Hitt’s written direct testimony to say that the
eight apps he had identified offer users the ability to purchase currency through some web
browser, and not necessarily through a web browser on the iOS device. The Court denied
Apple’s request to change the testimony. But notably, this proposed revised testimony was
already proven to be false in court. For example, as noted above for Clash Royale, the developer
website makes clear that the developer, Supercell, “do[es] not store any credit card information
related to in-game purchases, as the payment transactions are completed through Apple’s App
Store or Google Play”, and not on any web browser. (Hitt Trial Tr. 2221:23-2222:19.)
    6
      Following Apple’s attempt to retroactively change Professor Hitt’s testimony about
purchasing game currency through web browsers, Apple attempted again to rehabilitate
Professor Hitt’s testimony by having a fact witness, Mike Schmid, testify to the ease of the
process with which a user could buy in-game currency on an iOS web browser. Mr. Schmid
attempted to do this via video demonstratives in court. Mr. Schmid’s demonstratives omitted
various steps associated with purchasing in-game currency—such as creating a developer
account, logging in to that account, and entering payment details—and Mr. Schmid admitted that
a user would have to give up Apple’s touted Sign In With Apple privacy and security protections

                                                 114
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 123 of 644




               209.    None of Apple’s three experts who testified on market definition in this

case conducted a hypothetical monopolist test or SSNIP test to disprove Epic’s market definition

or to prove an alternative market definition. (Schmalensee Trial Tr. 1929:3-22; Lafontaine Trial

Tr. 2050:12-2051:22; see also Lafontaine Trial Tr. 2019:17-20 (acknowledging that a SSNIP test

“can be a very informative piece of information” and that it “is a useful test to determine the

boundaries of the markets, obviously”); Hitt Trial Tr. 2185:18-2186:3.) While Professor

Schmalensee testified that Professor Lafontaine performed a hypothetical monopolist test,

Professor Lafontaine testified that she did not. (Compare Schmalensee Trial Tr. 1929:7-25 (Q.

[Y]our understanding is that [Professor Lafontaine] performed a hypothetical monopolist test;

correct? A. To the extent that the facts in the record permitted her to do that, she attempted to do

that.”), with Lafontaine Trial Tr. 2050:15:2051:13 (“Q. You also did not do a hypothetical

monopoly test either, correct? A. . . . I would say I did not.”)

               210.    Professor Lafontaine opined that “market definition is fundamentally

about demand substitution—whether customers are willing and able to substitute if terms of

trade worsen, including if quality decreases or price increases.” (Ex. Expert 7 (Lafontaine) ¶ 20).

In offering her opinions in this matter, Professor Lafontaine relied on the results of two surveys

conducted by Apple’s survey expert, Professor Hanssens. (Ex. Expert 7 (Lafontaine) ¶ 54). But

Professor Hanssens, who did not speak to Professor Lafontaine at all in connection with this



to accomplish what he had accomplished in the Candy Crush video. Mr. Schmid also admitted
that in order to purchase the currency on an iOS device web browser, a user would have to
activate a non-default setting on the iOS web browser that tricks a website into believing that it is
being accessed by a PC. (Schmid Trial Tr. 3266:16-3288:5.)
                                                 115
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 124 of 644




litigation and is not familiar with the market definition work that she did (Hanssens Trial Tr.

3549:24-3550:4), failed to conduct surveys relevant to Professor Lafontaine’s market definition

exercise.

                       a.     Specifically, despite Apple’s counsel’s attempted claims to the

                              contrary (Hanssens Trial Tr. 3594:5-3595:7), Professor Hanssens

                              admitted that his surveys “did not address substitution at all”

                              (Hanssens Trial Tr. 3551:22-23), including (1) “whether

                              respondents have the ability to make a substitution to other

                              electronic devices” (Hanssens Trial Tr. 3552:15-18) (emphasis

                              added), (2) “whether respondents are willing to use other electronic

                              devices” (Hanssens Trial Tr. 3554:1-3) (emphasis added),

                              (3) “whether respondents have the desire or the preference to

                              switch to another device” (Hanssens Trial Tr. 3554:4-6) (emphasis

                              added), or (4) “what respondents would do in response to any set

                              of circumstances”. (Hanssens Trial Tr. 3557:11-13.)

                       b.     In addition, despite asking respondents about devices available to

                              them to regularly use in the last 12 months, Professor Hanssens

                              “did not ask or try to ascertain the specific use for which that

                              device may or may not be available”, whether it is available for

                              “phone calls or [] any number of things you might do” with

                              electronic devices. (Hanssens Trial Tr. 3556:3-12.)

                                                116
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 125 of 644




                      c.      Moreover, Professor Hanssens’ surveys asked about device usage

                              over the last 12 months, which he admits “may include devices that

                              respondents [] do not currently use or have access to”. (Hanssens

                              Trial Tr. 3553:2-6.) This is relevant because “an individual cannot

                              substitute something for something else if they do not have that

                              something currently available to them”. (Hanssens Trial Tr.

                              3553:10-13.)

                      d.      Thus, Professor Hanssens’ surveys cannot be used to inform

                              Apple’s market definition.

               211.   Even if Professor Hanssens had attempted to inform Apple’s market

definition exercise, his survey questionnaires themselves also had several issues.

                      a.      Professor Hanssens performed a pretest of his surveys and received

                              numerous complaints that some of the questions and terms were

                              vague. In particular, he received feedback that “regular use was

                              vague” and “‘available to use’ was vague”. (Hanssens Trial Tr.

                              3568:12-24, 3572:25-3573:4.) Despite agreeing that “vague

                              wording can introduce error into [survey] responses” (Hanssens

                              Trial Tr. 3567:18-20), Professor Hanssens “did not revise [his]

                              questionnaire at all based on any of [his] pretest responses.” He

                              also did not explain in his surveys what was meant by “regularly”

                              (Hanssens Trial Tr. 3568:5-7, 3574:6-8). In fact, Professor

                                               117
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 126 of 644




                   Hanssens admitted it could have meant anything from “daily”, to

                   “weekly”, to “once a year they use the Xbox when their family

                   comes to visit” (Hanssens Trial Tr. 3567:7-11, 3570:15-3571:4).

             b.    While Professor Hanssens did provide respondents with an

                   example of what “available to regularly use” would be, it included

                   devices “of a member of your household or of a friend that you

                   could have regularly used, but that you did not regularly use in the

                   last 12 months.” (Hanssens Trial Tr. 3555:10-15 (emphasis

                   added).) Professor Hanssens admitted that in this example, the

                   phrase “‘available to regularly use’ includes devices that the

                   individual has never used”. (Hanssens Trial Tr. 3573:5-12

                   (emphasis added).) For example, he agreed that “an old model of a

                   phone sitting in a desk drawer that is not used would qualify as

                   available”, so long as “the phone works”. (Hanssens Trial Tr.

                   3573:13-16.)

             c.    Not surprisingly, Professor Hanssens’s faulty surveys generated

                   demonstrably unreliable responses. Specifically, 30-43% of

                   Professor Hanssens’s survey respondents self-reported regularly

                   using or having available to regularly use a Microsoft Windows

                   smartphone, a device that is no longer sold and in 2018, had a

                   market share of only 0.15%. (Hanssens Trial Tr. 3576:11-

                                    118
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 127 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 128 of 644




                   respondents were any less confused—Professor Hanssens

                   concluded that “[his] overall results and conclusions do not change

                   in any meaningful way”. (Ex. Expert 10 (Hanssens) ¶¶ 18-19;

                   Hanssens Trial Tr. 3581:15-21.)

             e.    Notably, Apple has continually misrepresented Professor

                   Hanssens’ survey findings to support its proposition that

                   consumers have access to multiple electronic devices that can be

                   used for gaming. For example, Professor Lafontaine testified that

                   Professor Hanssens’ surveys assessed device ownership.

                   (Lafontaine Trial Tr. 2056:21-2057:13). Apple’s own Conclusions

                   of Law state: “[a] survey conducted by one of Apple’s experts

                   revealed that many consumers of game apps do in fact own

                   multiple devices and have access to multiple game platforms that

                   are reasonably interchangeable”. (Apple’s May 21, 2021

                   Conclusions of Law ¶ 358) (emphasis added).) On the contrary,

                   Professor Hanssens has made clear that his surveys assessed device

                   usage, not ownership. (Hanssens Trial Tr. 3557:22-24).

                   Moreover, both Professor Lafontaine and Apple’s counsel

                   continually report Professor Hanssens’ survey results regarding

                   device usage in the present tense. (Ex. Expert 7 (Lafontaine) ¶ 54;

                   Hanssens Trial Tr. 3559:11-3562:22). This is misleading because

                                    120
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 129 of 644




                            Professor Hanssens asked respondents about devices they regularly

                            used or had available to regularly use over the last 12 months,

                            which he admits may include devices that respondents no longer

                            use or have available to use. (Hanssens Trial Tr. 3553:2-6).

              212.   Many apps available on smartphones are not available on game consoles.

(PX-1069.) More specifically, the “preponderance of” the top iOS games based on revenue and

downloads are “not available on game consoles”. (Evans Trial Tr. 1461:21-1462:3, 1462:11-21;

PX-1069; DX-3922.23; Ex. Expert 13 (Cragg), Figure 10.)

                     a.     An internal Apple App Store developer study conducted in May

                            2017, for example, revealed that just 3% of apps listed on the App

                            Store were also listed on game consoles in the United States. (DX-

                            3922.23.)

                     b.     Dr. Cragg conducted analysis showing that the most popular games

                            across each of the platforms are typically not available across the

                            mobile platforms (Android and iOS) and the “static” platforms

                            (consoles and PCs). (Ex. Expert 13 (Cragg), Figure 10.) Contrary

                            to the unsupported statements of Apple’s experts, the top games

                            developed for mobile are only available on mobile, and the top

                            games on each of the static platforms are only available on other

                            static platforms.




                                                121
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 130 of 644




             c.    Professor Hitt, one of Apple’s experts, took the position that

                   Fortnite user data demonstrates substitution between iOS and

                   Nintendo Switch. (Ex. Expert 6 (Hitt) ¶¶ 86-93.) Dr. Cragg

                   demonstrated that Professor Hitt’s analysis was flawed, and in fact

                   revealed that the two platforms are complementary—i.e., that users

                   who played Fortnite on iOS an then began playing also on the

                   Switch, increased both their overall playing time and their

                   playtime of Fortnite on iOS, rather than shifting playtime from

                   iOS to the Switch. (Cragg Trial Tr. 2266:4-2268:1; Ex. Expert 13

                   (Cragg) ¶¶ 25-33.)

             d.    Professor Schmalensee, Apple’s lead economist, agreed with

                   Dr. Cragg that Professor Hitt’s conclusion about substitution

                   between iOS and Nintendo Switch was unsupported by his

                   analysis. (Schmalensee Trial Tr. 1934:21-1935:10 (“I don’t think

                   the conclusion he reached about absolute play was supported by

                   the analysis in the text of his rebuttal report.”).) He also agreed

                   that “what Professor Hitt found was there was an overall increase

                   in play and an insufficient basis to find actual substitution from

                   one device to the other”. (Schmalensee Trial Tr. 1935:22-

                   1936:16.)




                                    122
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 131 of 644




             e.    The data show that only 0.3% of iOS Fortnite users even played on

                   the Switch when Fortnite first launched on that platform. (Hitt

                   Trial Tr. 2197:25-2198:5.) And as noted above, Dr. Cragg has

                   looked at the data and found that in fact, following the launch of

                   Fortnite on Switch, players who played Fortnite on both iOS and

                   the Switch actually increased their spend on iOS more than iOS

                   users who did not play on the Switch (“from about $1.75 to

                   [$]2.25, so a 50-cent increase”), again confirming

                   complementarity. (Cragg Trial Tr. 2280:15-23.)

             f.    Dr. Cragg explained that Professor Hitt reached the opposite result

                   erroneously, because he focuses on growth rate rather than actual

                   dollar growth in Fortnite spending on iOS, thereby obfuscating the

                   disparate amounts spent by Switch players and non-Switch players

                   both before and after the launch of the Switch. (Ex. Expert 13

                   (Cragg) ¶¶ 53-57.) In addition, Apple argues that Dr. Cragg

                   should have considered a longer period for his analysis, but that

                   goes directly against Prof. Hitt’s own testimony and analysis;

                   Professor Hitt testified that the relevant periods are the months

                   immediately before and after the launch of Switch. (Hitt Trial Tr.

                   2145:23-4147:17.)




                                    123
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 132 of 644




                  213.   Moreover, there is no industry standard definition of what constitutes a

“game”. (Weissinger Trial Tr. 1297:25-1298:2 (“Q. In your view, is there an industry standard

definition of what could be called a game? A. I don’t think so, no.”); Kosmynka Trial

Tr. 1012:1-3, 1015:7-1016:7, 1190:9-16 (“Your Honor, I don’t know if there is an industry word

for game. . . And so I think regardless of whether we say Roblox is a game or an app, the same

rules apply.”).

                         a.     Mike Schmid, Apple’s Head of Business Development for Games,

                                confirmed that Apple itself does not draw bright lines between

                                games and non-games. Mr. Schmid first conceded that the

                                “entertainment” category in the App Store and the “games”

                                category are both described by Apple using the words “entertain”,

                                “apps” and “interactive”. (Schmid Trial Tr. 3292:19-21.)

                         b.     Mr. Schmid then explained that Apple does not view “gamers” as a

                                distinct subset of individuals but, rather, just as “people who enjoy

                                games . . . [who] may also do other things with their phone and

                                have, you know, really important jobs, or they may just be killing

                                time on the bus. That's a gamer to me.” (Schmid Trial

                                Tr. 3351:3-8.)

                         c.     When asked what individuals Apple would put in the “gamer

                                category”, Mr. Schmid could only answer that it “depends on the

                                definition” of gamer and when further asked whether Apple does

                                                 124
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 133 of 644




                             any analysis whatsoever of user-level revenue from gamers, Mr.

                             Schmid conceded that “we don’t look at the user-level activity, like

                             what does the gamer on our platform generate. We don’t split our

                             users in that same way.” (Schmid Trial Tr. 3351:18-3352:15.)

       I.     The Geographic Market for iOS App Distribution Is Global Excluding
              China.

              214.    The geographic market for the distribution of iOS apps is global excluding

China. (Ex. Expert 1 (Evans) ¶ 145.)

                      a.     Apple treats app distribution as a global enterprise. The same iOS

                             apps appear in storefronts “throughout the world”. (Kosmynka

                             Trial Tr. 985:21-24.)

                      b.     In the words of Mr. Schmid, the App Store’s business development

                             team “engage[s] with hundreds of developers globally many times

                             a year”, as often as “weekly”. (Schmid Trial Tr. 3221:21-3222:2.)

                      c.     Apple’s developer rules and guidelines apply globally, to “all

                             storefronts”. (Kosmynka Trial Tr. 985:25-986:24.)

                      d.     The DPLA applies globally. A developer signs only one DPLA to

                             distribute apps across the world. (Grant Trial Tr. 723:25-724:4

                             (“Q. [W]as there a separate DPLA signed for each of these

                             territories? A. No. There was just a single agreement. Q. For a

                             global agreement? A. Yes.”).)



                                              125
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 134 of 644




               215.    Apple takes pride in the fact that its products are the same everywhere in

the world. As Mr. Cook testified: “We ship the same iPhone in China that we ship everywhere

else in the world. It has the same encryption on it. iMessage is the same. FaceTime is the same.

And so the product, other than the cloud piece [that is controlled by a Chinese company], is the

same.” (Cook Trial Tr. 3970:10-16; see also Cook Trial Tr. 3942:18-19, 22 (agreeing that “in

China, the iCloud service is operated by a Chinese company”).).

               216.    The App Store has country-specific storefronts, which restrict where

consumers can purchase apps and often what they can purchase. (Ex. Expert 7 (Lafontaine)

¶ 91.) But that restriction is imposed by Apple, rather than by market forces. (Schiller Trial

Tr. 2754:20-2755:9 (“It’s how we’ve been told we need to structure the stores.”).

               217.    As described above, China restricts developers’ ability to distribute apps

within the country, and consumers generally use apps exclusive to China. (Ex. Expert 1 (Evans)

¶ 145.) While Apple makes the App Store available in China, the rules imposed by the Chinese

government on Internet activity generally, and app distribution specifically, result in materially

different market dynamics in China than those prevailing in the rest of the world. (Ex. Expert 1

(Evans) ¶¶ 71, 108.)

       J.      The iOS App Distribution Market Is a Properly Defined Aftermarket.

               218.    The single-brand iOS App Distribution aftermarket is appropriate here due

to the “business realities” of the market: there is limited competition in the foremarket because

iOS and Android are a differentiated duopoly protected by barriers to entry, Android apps are not

a substitute for iOS apps, there are significant switching costs, the costs of app distribution are


                                                 126
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 135 of 644




low relative to the cost of smartphone devices, and consumers have difficulty assessing lifecycle

costs. (Evans Trial Tr. 1507:10-15:10-11, 1512:3-22.) Additionally, between the launch of the

App Store and the present, Apple has changed its practices, including by announcing that the

App Store commission would just cover the costs of running the App Store and then

subsequently reaping enormous profits from the App Store, (see Sections II.F and IV.C), and by

increasing the price of app distribution by imposing the IAP requirement, extending the IAP

requirement to subscriptions and introducing search ads, (see Sections II.F and IV.C).

                  219.   Apple’s conduct in the aftermarket is not constrained by competition in

the foremarket for smartphone operating systems. (Ex. Expert 1 (Evans) ¶¶ 116-118.) As

described above, the foremarket is a differentiated duopoly protected by barriers to entry. (See

Section III.F.)

                  220.   As explained above, once a consumer has chosen a smartphone with a

particular OS, he or she is substantially locked in to that OS. For example, there are switching

costs that a user would have to incur to switch to a smartphone with a different OS. (See

Section II.B.)

                  221.   In addition, competition in the foremarket does not constrain Apple in the

aftermarket because of the lack of information that consumers have concerning the restrictions

and costs associated with app distribution in the aftermarket when they make their choices in the

foremarket. That is, consumers commit to a product in the foremarket without a full

understanding of the costs and limitations of the aftermarket. (Evans Trial Tr. 1509:11-25; Ex.

Expert 1 (Evans) ¶ 118.)

                                                 127
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 136 of 644




                      a.      At the time consumers purchase a smartphone, they are unaware of

                              how much they will spend on app or in-app purchases over the full

                              lifespan of the device. Apple does not internally estimate the

                              amount of money a consumer spends on apps over the lifecycle of

                              an iPhone. Nor does it provide consumers with an estimate.

                              (Fischer Trial Tr. 872:7-19; Ex. Depo. 3 at 188:2-9, 188:11-13,

                              188:25-189:3, 189:5, 189:18-22 (Cue); Schiller Trial Tr. 3071:3-

                              7.)

                      b.      The price of app distribution is a small fraction of the price of the

                              smartphone itself. This means that even if consumers had better

                              information about lifecycle costs, they would be unlikely to factor

                              it in to their thinking about whether they want to purchase an iOS

                              or Android device. (Evans Trial Tr. 1508:15-1509:25; Ex.

                              Expert 1 (Evans) ¶ 118.)

               222.   Apple executives are unaware of any consumer that switched away from

an iPhone because of the increased cost of an app or the increased cost of an in-app item.

                      a.      Mr. Cue is not “aware of anyone who has switched from an iPhone

                              to an Android because they perceived there to be some difference

                              in the pricing of apps across the two platforms”. He is not even

                              aware of whether Apple has studied this. (Ex. Depo. 3 at

                              248:13-20 (Cue).)

                                               128
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 137 of 644




                        b.     Mr. Fischer is similarly not aware “of any instances in which the

                               increased cost of an app has resulted in a user leaving the iPhone

                               system and going to Android”. (Fischer Trial Tr. 870:25-871:3.)

                        c.     Mr. Fischer is also “not aware of any instance in which the

                               increased cost of an in-app purchase on iOS has resulted in a user

                               leaving the iOS world and instead switching to Android”. (Fischer

                               Trial Tr. 871:4-8.)

                        d.     Mr. Fischer is also unaware of Apple conducting any study on

                               these subjects. (Fischer Trial Tr. 871:9-872:3.)

               223.     Apple uses its power over developers to coerce them into accepting its app

distribution and in-app payment restrictions. (See Section IV.A and VI.D.)

               224.     In its study of the “foreign exchange equalization process”, Apple has

found that demand for apps is “highly inelastic” in the face of changes in price. This is because

consumers generally lack actionable information concerning the relative costs of apps and digital

content even at the time that they are purchasing that content. (PX-544; Ex. Depo. 12 at 308:13-

20, 309:6-11 (Gray).)

                        a.     Apple requires developers to choose a single “price tier” for each

                               app and in-app digital content; each tier includes both a U.S. price

                               (such as $.99, $1.99 or $2.99) and prices in foreign currency that

                               are intended to be equivalent to the U.S. price. (PX-2202; Ex.

                               Depo. 12 at 206:13-24, 208:6-9 (Gray).)

                                                129
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 138 of 644




             b.    Because of fluctuations in relative currency values, Apple, in its

                   sole discretion, occasionally recalibrates the non-U.S. prices in

                   each tier to more closely equate to the corresponding U.S. price,

                   which results in decreases or increases in the prices charged in

                   non-U.S. currencies. (Ex. Depo. 12 at 206:13-24 (Gray).)

             c.    Apple studied the effect of these price changes in various regions

                   and found that they are “highly inelastic” and do not affect the

                   amount of units sold; “both declines and increases have had

                   minimal impact on units and sizable impacts on billings/revenue”.

                   Apple saw “no material change” and “almost no change in unit

                   sales” even in response to changes as high as 11%. (PX-545.2;

                   (Ex. Depo. 12 at 308:13-20, 315:20-21 (Gray).)

             d.    Apple attributed that inelasticity to the fact that “there was not an

                   established price in the customer’s head” at the time digital content

                   was offered. “[D]ue to the diversity of the App Store and the lack

                   of established market expectations for app prices” and the fact that

                   “a customer was generally purchasing something once”, customers

                   lack sufficient information to adjust their purchasing behavior in

                   response to price changes. (PX-545.2; (Ex. Depo. 12 at 309:6-20

                   (Gray).)




                                    130
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 139 of 644




       K.      App Stores on Other Smartphone Operating Systems Are Not Substitutes for
               the App Store.

               225.   As noted above, there are effectively only two smartphone operating

systems: Google’s Android OS and Apple’s iOS, which account for nearly 100% of smartphone

OS revenue worldwide. (Evans Trial Tr. 1493:14-22; Ex. Expert 1 (Evans) ¶¶ 74, 118.)

               226.   Although Apple claims to face numerous competitors, an Apple

presentation from 2020 states otherwise: “I wanted to spend a minute talking about

COMPETITION for the APP STORE. In years past, we’ve talked about GOOGLE,

MICROSOFT, AMAZON, SAMSUNG, but no we really have ONLY ONE TRUE

COMPETITOR, and that’s GOOGLE, and their store, GOOGLE PLAY . . . .” (DX-4526.31.)

               227.   Android apps and iOS apps are not substitutes for each other. Android

apps do not run on iOS devices. (Ex. Depo. 3 at 63:5-6, 63:8-9 (Cue); Fischer Trial Tr. 873:6-8;

Grant Trial Tr. 669:22-24.) Nor do iOS apps run on Android devices. (Grant Trial Tr. 669:22-

24 (“Q. Do you know whether or not an app that is developed for iOS will run on the Android

platform? A. It will not, no.”).) Accordingly, no Android app is distributed through the Apple

App Store. (Fischer Trial Tr. 873:3-8.) Users therefore must switch devices in order to access

Android apps and app distribution channels, but as noted above, switching costs limit users’

ability to substitute between iOS and Android and observed switching rates between iOS and

Android are low. (See Section II.B above.)

               228.   This is a single-brand market because distribution channels for Android

apps do not provide a significant competitive constraint in the aftermarket or through the

foremarket. (Ex. Expert 1 (Evans) ¶ 119.) Even if one considered a two-brand market for iOS
                                               131
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 140 of 644




and Android app distribution, Apple would still have substantial market power for the same

reasons it has monopoly power in the iOS app distribution market: competition in the

foremarket does not constrain Apple’s conduct in the aftermarket, and the lack of technical

interoperability and the existence of significant sunk and switching costs mean that Android app

distribution channels are also not a constraint in the aftermarket. (Ex. Expert 1 (Evans) ¶ 120.)

       L.      Web App Distribution is Not a Substitute for Native App Distribution.

               229.   “Native apps” are those written for a particular platform and directly

downloaded onto a device. (Grant Trial Tr. 699:16-17 (“A native app would be an application

that’s created using the SDK for a platform.”); Kosmynka Trial Tr. 990:24-991:1 (“Q. So native

apps installed from the iOS App Store go directly to the home screen, right? A. Yes.”).) On

iOS, Apple prohibits consumers from downloading native apps through any channel except the

App Store. (Grant Trial Tr. 733:23-25 (“Q. And is sideloading allowed on iOS? A. There are

two narrow exceptions, neither of which are permitted for distribution of apps to consumers.”).)

               230.   A web app is an app that is available from a website and utilized on a

device through a browser. (Sweeney Trial Tr. 135:1-6.) Whereas native apps “go directly to the

home screen” of an iOS device, web apps can be accessed only within a web browser.

(Kosmynka Trial Tr. 990:24-991:6.) To get a web app to persist on the home screen on iOS, the

consumer would need to access the app through the browser, hit the “share” icon, and then add a

link to the web app to the home screen. (Kosmynka Trial Tr. 990:24-991:6.)

               231.   Web apps have limited functionality compared to native apps. According

to the testimony of Mr. Forstall, the Apple executive who led the development of iOS, the


                                               132
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 141 of 644




advantages of native apps over web apps are “voluminous”, including that native apps are

“faster”, “use less memory” and “can take advantage of native graphics libraries in a way that is

either not available or would have to be shoehorned in a web app or a different kind of

application”. (Ex. Depo. 4 at 81:17-24 (Forstall); see also Ex. Depo. 2 at 249:13-18

(Shoemaker).)

                232.   Web apps have memory limitations. Whereas native apps can use large

portions of an iPhone’s gigabytes of memory, web apps are limited to 50 MB of cache memory

on iOS. This restriction severely limits the size of web apps and requires information to be

overwritten frequently. (Grant Trial Tr. 705:13-707:7 (testifying that “[w]eb apps have very

little access to storage on a device”, and that cache memory is “temporary” because “if the user

were to go to a different web app or go to a different application, the OS would reclaim [the

cache memory] and it would be gone”).)

                233.   Browsers need to call on APIs to enable certain functionalities. The APIs

available through web browsers are different from, and more limited than, the APIs available to

native apps. (Kosmynka Trial Tr. 991:15-992:10; Sweeney Trial Tr. 135:7-12 (“A web app is

limited to a set of APIs available within a web browser, which are considerably more limited and

thus [less] powerful than the capability available to native apps”); Grant Trial Tr. 701:8-16.)

                       a.     Specifically, web apps cannot call Apple’s PushKit API, which is

                              Apple’s framework that enables push notifications. (Kosmynka

                              Trial Tr. 991:22-992:3; Wright Trial Tr. 578:9-15; Grant Trial Tr.

                              701:8-16.) Web apps also cannot call ARKit, Apple’s augmented

                                                133
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 142 of 644




                              reality framework. (Kosmynka Trial Tr. 992:4-10 (“Q. ARKit is

                              an augmented reality framework, correct? A. Yes. Q. [And]

                              ARKit is a native API available to native apps, right? A. That’s

                              right. Q. So ARKit cannot be used by a web app, right? A. That’s

                              right.”); Grant Trial Tr. 703:1-3 (“Q. So WebKit does not have

                              ARKit; is that right? A. It does not have ARKit or any other

                              means of creating AR applications.”).)

               234.    WebKit is Apple’s web browser engine for iOS. (Kosmynka Trial Tr.

991:7-8.) It is the only web browser engine Apple allows on iOS and is therefore the core

software component of all browsers available on iOS. (PX-56 § 2.5.6.) WebKit is responsible

for rendering websites and, therefore, web apps on iOS. (Grant Trial Tr. 700:15-17 (“A WebKit

is Apple’s set of libraries that they used to build the Safari browser on iOS and Mac.”).)

                       a.     Apple prohibits developers from modifying WebKit or from

                              adding features to WebKit to enable additional features.

                              (PX-56 § 4.7.)

                       b.     WebKit does not support certain web APIs available in other web

                              browser engines. Accordingly, web apps on iOS do not have

                              certain functionalities available in web apps on other OSs.

                              (Kosmynka Trial Tr. 991:15-992:10.) Ms. Wright of Microsoft

                              testified that WebKit “is well-understood to be lacking in some of

                              the features behind other browsers, but because on mobile phones

                                               134
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 143 of 644




                              you can only use WebKit, you don’t get the browser competition to

                              move things along”. (Wright Trial Tr. 577:24-578:8.)

                      c.      Apple’s Siri assistant does not recognize web apps, even if they are

                              saved on the user’s home screen. (Grant Trial Tr. 701:8-16 (“Q.

                              Are there any APIs that you are familiar with that one can access

                              in an iOS native environment that cannot be accessed through

                              WebKit? A. Yes, Access to things like push notifications, to Siri,

                              to health data. Advanced audio features or . . . just certain audio

                              features, ARKit would be another example. So those would be . . .

                              APIs available to native apps but web apps have no – no matching

                              access.”).)

                      d.      Apple’s witnesses praised the tools Apple provides to developers.

                              (See, e.g., Schiller Trial Tr. 2895:19-2898:3, 2926:13-16, 2927:13-

                              2930:12.) But many of these tools are not available for web

                              applications. (Schiller Trial Tr. 2935:6-8 (“Q. And the tools

                              you’ve talked about are not tools that by and large can be used for

                              web apps; correct? A. Correct. Most of these apply to native

                              applications.”).)

               235.   Further, web apps are slower than native apps. Software is composed of a

series of commands or code written in one of several languages by humans. The most basic

software for any app is referred to as its “source code”. (Grant Trial Tr. 676:16-18.)

                                                  135
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 144 of 644




             a.    For source code to be understood by machines, it must be

                   translated into “machine readable code”. (Grant Trial Tr. 683:7-14

                   (“Q. Are there any steps that have to be taken before code that is

                   in human readable form can be processed by an operating system?

                   A. Yes. It would have to be translated into a form that the

                   processor for the operating system recognizes. It is usually

                   referred to as compilation, and it takes the human readable version

                   and it crunches it down into an optimized form for the

                   processor.”); 683:19-24.).)

             b.    For purposes of this case, that translation can occur in one of two

                   ways: the human readable source code can be “compiled”, or it

                   can be “interpreted”. (Grant Trial Tr. 683:10-14.)

             c.    When source code is compiled, it is translated directly by the

                   operating system into the machine-readable language before the

                   app (or software program) is run. (Grant Trial Tr. 684:1-8 (“So to

                   write an app, you would need a means of authoring the human

                   readable code. . . . You would need a compiler that would turn

                   your human readable code into a machine optimized version. You

                   would need a way to put the piece of code that generated on a

                   device to execute it.”).)




                                    136
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 145 of 644




             d.    When source code is interpreted, it is not translated into machine

                   readable language directly but “into a form that is a close

                   approximation of the machine readable form”. (Grant Trial Tr.

                   708:3-20.)

             e.    When source code is interpreted, it takes significantly more time

                   for the operating system to execute a software program or app than

                   it does when the source code is compiled. (Grant Trial Tr. 708:25-

                   709:3 (“Because the human readable code is interpreted as the web

                   app runs; the version that’s produced will be construed as less

                   efficient than a compiler would do for a native app.”).)

             f.    Because web apps must send source code through a browser, the

                   code for web apps is interpreted, rather than compiled. (Grant

                   Trial Tr. 708:8-14 (“The human readable code will effectively be

                   provided to the web browser and the web browser or components

                   of the web browser will translate or interpret that code into a form

                   that is a close approximation of the machine readable form. It’s

                   closer to what the process would ideally like, but less efficient than

                   a version being compiled.”).)

             g.    The fact that the source code for web apps is interpreted causes

                   web apps to run slower than native apps. (Grant Trial Tr. 708:25-

                   709:6 (“Because the human readable code is interpreted as the web

                                    137
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 146 of 644




                             app runs; the version that’s produced will be construed as less

                             efficient than a compiler would do for a native app. The overhead

                             of doing interpretation itself may include additional latency that

                             results in the application performing less well.”).)

                      h.     As Mr. Forstall testified, “because of the architecture [of web

                             apps], [they] sit[] as an extra layer on top of the native layer”, and

                             therefore are “never going to be faster than the native layer”. (Ex.

                             Depo. 4 at 83:14-20 (Forstall).)

              236.    Apple limits the distribution of web apps on iOS. It does this by

preventing native apps from serving as a store or catalog of web apps. (PX-111.2 (“We do not

want apps that replace our store with web apps.”).) Apple enacted this policy because its

executives were concerned about the competitive threat of third parties—particularly other

technology companies such as Facebook, Google and Adobe—accelerating a move to web apps

on iOS that would not be subject to Apple’s control and commissions. (PX-886.2 (Schiller: “I

understand why FaceBook wants to create a market of 3rd party HTML 5 apps that users run

from a native FaceBook app on the iPad . . . . If Adobe comes in with an app that links to new

web apps that they promote we need to allow that ‘app store’ in, even worse Google could come

up with an app that runs all their 3rd party Chrome web apps and we would need to allow that in

too! I don’t see why we want to do that. All these apps won’t be native, they won’t have a

relationship or license with us, we won’t review them, they won’t use our APIs or tools, they

won’t use our stores, etc.”); see also PX-2325 (“[O]ur Facebook Gaming app was rejected on

                                              138
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 147 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 148 of 644




                       c.     A 2019 report of 10 countries found that native apps accounted for

                              between 86% and 96% of the time mobile users spent online with

                              only 4-14% coming from using a mobile browser. (PX-1074.)

               239.    Developers do not view web apps as adequate substitutes for native apps.

(Sweeney Trial Tr. 135:8-12 (“A web app is limited to a set of APIs available within a browser,

which are considerably more limited . . . than the capability available to native apps, and they

also have memory limitations and other constraints applied to them within this web browser

environment.”); Patel Trial Tr. 438:11-14; Wright Trial Tr. 577:9-14; Grant Trial Tr. 711:16-18

(“The performance and storage space that Fortnite needs and the graphic fidelity make the web

app completely unsuitable.”); Ex. Expert 1 (Evans) ¶¶ 60-61.)

                       a.     The ability to create and directly distribute web apps does not lead

                              developers to opt out of distributing native apps through the App

                              Store. (Sweeney Trial Tr. 135:16-17 (“Web apps are not nearly

                              powerful enough to run the modern 3D real-time experience such

                              as Fortnite.”).) Apple’s longtime VP of Developer Relations could

                              not name a single developer that “with[drew] their app from the

                              App Store because they [could substitute to distributing] a web

                              app”. (Ex. Depo. 7 at 277:19-22 (Okamoto).)

                       b.     Web apps have limitations and disadvantages that negatively affect

                              the user experience in a way that native apps do not. (Sweeney

                              Trial Tr. 135:8-12; Patel Trial Tr. 430:1-2 (“The native app would

                                                140
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 149 of 644




                     be a better experience for the user.”); Wright Trial Tr. 577:24-

                     578:15; Grant Trial Tr. 699:4-712:15.)

              c.     Epic, for example, does not make or distribute a web app version

                     of Fortnite because the performance would be materially worse

                     than that of a native application. (Grant Trial Tr. 711:16-18.)

              d.     Web apps cannot be located through the App Store search feature,

                     which makes discoverability more difficult as compared to native

                     apps. (PX-56 § 4.7; Patel Trial Tr. 430:4-9, 432:4-11.)

              e.     iOS developers that develop web apps must educate users on how

                     to obtain and install the web app, which is significantly more

                     challenging than instructing users to download an application from

                     an app marketplace. (Patel Trial Tr. 431:21-432:11 (“The browser

                     app is four or five steps, which is typically not something an

                     average user would do. . . . On an App Store experience, . . . it’s

                     one click and done.”).)

              f.     Support for peripherals—devices that can be attached to a user’s

                     gaming system, like a mouse or a controller—is inferior on web

                     apps as compared to on native apps. (Patel Trial Tr. 437:4-438:3.)

       240.   Certain apps cannot properly function in web browsers.

              a.     Tinder is famous for its “native swiping” user interface, which

                     Match Group invented. (Ex. Depo. 1 at 29:17-23 (Ong).)

                                      141
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 150 of 644




                   i.     Native swiping does not function smoothly (if at all) on

                          web browsers. (Ex. Depo. 1 at 28:24-29:23 (Ong).)

                   ii.    Other features of Tinder’s native app, such as push

                          notifications, location services, and other aspects of the

                          user interface are unavailable or do not work well on

                          browsers as compared to native apps. (Ex. Depo. 1 at

                          28:24-30:25 (Ong).)

                   iii.   Push notifications are particularly important to app

                          developers like Match Group because they increase user

                          activity and engagement within apps and serve as the main

                          mechanism to notify issuers of new messages and new

                          potential romantic matches. (Ex. Depo. 1 at 31:22-24,

                          32:1-7, 32:10-12 (Ong).)

                   iv.    Match Group, therefore, does not view web browser

                          experiences as a substitute for a native iOS app. (Ex.

                          Depo. 1 at 68:2-5 (Ong).)

             b.    Similarly for Nvidia’s game streaming service GeForce Now,

                   certain limitations of web browsers negatively affect how it

                   functions as a web app. (Patel Trial Tr. 427:9-428:6, 429:22-

                   430:2, 438:13-14 (“Native apps definitely provide us with more

                   control of the GeForce Now experience.”).)

                                   142
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 151 of 644




                   i.     For example, the browser bar that typically appears at the

                          top of a webpage may appear while playing a game on a

                          web app, or the game may not register a user’s clicks near

                          the edges of the phone screen. (Patel Trial Tr. 432:22-

                          433:12.)

                   ii.    Inconsistent frame rates—that is, the inconsistent sending

                          of images to a user’s device—on web apps also result in

                          poor user experience because the user will experience

                          “jitter or stutter where the movement is interrupted.” (Patel

                          Trial Tr. 436:15-17.) On native apps, developers have

                          more control to solve for inconsistent frame rates, which

                          results in a better user experience on native apps than on

                          web apps. (Patel Trial Tr. 436:24-435:3.)

                   iii.   Web apps also introduce additional latency—i.e., delays

                          experienced during gameplay—relative to native apps

                          because developers are unable to optimize the “decoder”

                          that converts the data streamed from the cloud to a user’s

                          device into video. (Patel Tr. 433:13-434:5.) When

                          programming a native application, Nvidia has a high degree

                          of control over the decoder and can “spend engineering

                          resources in creating our own algorithm and looking for

                                     143
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 152 of 644




                         packet losses . . . and optimizing the video stream”. (Patel

                         Trial Tr. 434:6-11.) Web apps offer “nowhere near the

                         level of control that a native applications has”. (Patel Trial

                         Tr. 434:12-15.) Users experiencing high latency can be at a

                         competitive disadvantage during gameplay. (Patel Trial Tr.

                         434:18-435:11.)

                   iv.   Given these deficiencies with web apps as compared to

                         native apps, Nvidia would prefer to distribute its GeForce

                         Now service as a native app on iOS than as a web app on

                         iOS; in other words, the “native app would be a better

                         experience for the user” and would provide Nvidia with

                         “more control” over the end user’s experience. (Patel Trial

                         Tr. 429:15-430:2, 438:13-14.) Instead, Nvidia currently

                         only offers its GeForce Now cloud gaming service as a web

                         app on iOS through the Safari web browser because Apple

                         would not approve its native app on iOS. (Patel Trial Tr.

                         428:1-6; 429:18-21; 530:24-531:17; Athey Trial Tr.

                         1874:18-19, 1874:24-1875:5; PX-2109.1 (“NVIDIA

                         GeForce NOW has been rejected by ERB”); PX-2280.1

                         (“We will reject the app now and let the developer know




                                  144
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 153 of 644




                          that they can do this on [S]afari and submit individual

                          games.”)

             c.    Microsoft also wanted to distribute its game streaming service as a

                   native app on iOS rather than as a web app because “[a] web

                   browser is a much more challenged experience, both to build and

                   to maintain than a native app, and it also lacks much of the

                   functionality and benefits that you get through a native app.”

                   (Wright Trial Tr. 577:9-14.) Microsoft now offers its cloud

                   gaming service only through the iOS Safari web browser because

                   Apple would not approve its native iOS app; a web app was

                   Microsoft’s “only outcome to reach mobile users on iOS”.

                   (Wright Trial Tr. 579:1-10.) Some of the limitations of web apps

                   that hamper Microsoft’s streaming service include that developers

                   must use Apple’s WebKit engine, which lacks “some of the

                   features behind other browsers” like push notifications. (Wright

                   Trial Tr. 577:9-578:15.)

             d.    Apple itself initially intended to distribute three of the iPhone’s

                   pre-installed apps—Weather, Stocksand Calculator—as web apps,

                   but those performed poorly, an so Apple replaced them with native

                   apps before they were launched. (Ex. Depo. 4 at 82:22-83:07,

                   83:21-25 (Forstall).)

                                     145
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 154 of 644




               241.    Given these many limitations, web apps are not substitutes for native apps.

(See supra Paragraphs ¶¶ Error! Reference source not found.-Error! Reference source not

found.; 238-240.)

       M.      Streaming Services Are Not Substitutes for Downloading Games Locally as
               Native Apps.

               242.    “App streaming” occurs when an app resides on a remote server (often

referred to as “the cloud”); a user accesses the server through an Internet connection and the

user’s commands on its local device are conveyed through the Internet to the remote server and

executed there. (Patel Trial Tr. 422:3-7; Grant Trial Tr. 712:22-24 (“A streaming app would be

an application where the [content] that the user is experiencing is delivered over the internet

from [a] server.”); Sweeney Trial Tr. 135:18-136:9.) The server that hosts the app then sends a

live video or audio stream to the device on which the user then views the stream. (Patel Trial Tr.

422:3-7 (“GeForce Now has servers in the data center. These are similar to what you would

have as PCs at home, but in the server class. And this is where the games are run, and then we

stream a video stream to the user so that he can see and enjoy the game.”); Grant Trial Tr.

712:22-24.) Before streaming services were developed, users were limited to playing video

games locally on their home consoles or PCs—i.e., they would have to “buy a PC, buy the

software, install it, and play.” (Patel Trial Tr. 422:16-20.)

               243.    Nvidia, Google, Amazon and Microsoft each offer streaming services.

(Sweeney Trial Tr. 178:7-10; Patel Trial Tr. 442:11-12.)

                       a.      Nvidia’s service is called GeForce Now. (Patel Trial Tr. 422:13-

                               15; see supra Paragraph L.240.b.)
                                                 146
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 155 of 644




                      b.      Google’s service is called Stadia. (Patel Trial Tr. 442:11-12;

                              Fischer Trial Tr. 901:19-21.)

                      c.      Microsoft’s service is called xCloud, or Xbox Cloud Gaming.

                              (Patel Trial Tr. 442:11-12; Wright Trial Tr. 565:23-566:1; Fischer

                              Trial Tr. 902:13-15.)

                      d.      Amazon’s service is called Luna. (Patel Trial Tr. 442:11-12.)

               244.   Users typically pay a separate fee to subscribe to these services. (Fischer

Trial Tr: 902:8-11, 902:22- 903:1, 903:8-13; Grant Trial Tr. 713:25-714:4.) For some services,

users must pay this fee in addition to purchasing individual games. (Patel Trial Tr. 425:4-8.) For

example, for Nvidia’s GeForce Now streaming service, although GeForce Now makes a set

catalog of games available for streaming to users, the users must separately own the games

independently of the GeForce Now service in order to stream them. (Patel Trial Tr. 425:4-8

(“We make those games available to users, but the users have to own them. They must have had

to purchase their games through either Steam, or Epic Games Store or Microsoft, and the games

that they have purchased are available for play.”).) Users cannot purchase a game—or any other

software—on GeForce Now. (Patel Trial Tr. 425:1-426:1.) Additionally, only a small subset of

games are available via streaming services. (Patel Trial Tr. 424:3-25.)

               245.   When a user requests an app to perform a particular function, such as

gameplay movements or playing or pausing a show or piece of music, the user input is

transmitted from the displaying device—the mobile phone, for instance—back to the server.

(Grant Trial Tr. 714:17-21 (“[W]hen the user performs an action on the device such as touching

                                               147
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 156 of 644




the screen, that data will be sent back . . . through the internet to the machine in the cloud, and

the machine will then execute the interaction as if the user had done it themselves.”); Patel Trial

Tr. 423:11-16 (“In cloud gaming, the hardware lives in the data center. So every time a user

presses a button, we send the button to the data center, feed it to the game running on the server

there. The game generates what we call a video frame. We take that video game, and through

engineering, compress it, send it to the user and show it to the user.”).)

               246.    This “round trip” for the video or audio feed and user input reacting to it

can lead to time delays, or “latency”. (Grant Trial Tr. 715:10-15 (“Any application, whether it’s

a high-performance graphic application or a low performance one, there will be time associated

with taking that picture, compressing it, sending it to the user, decompressing it, and then having

the user’s response sent back to the server.”); Patel Trial Tr. 433:16-17.) This inherent latency in

streaming results in higher latency when streaming a game as compared to playing a game

locally. (Patel Trial Tr. 442:24-443:3.)

                       a.      Latency can significantly impact the experience of the game. (See

                               Grant Trial Tr. 716:1-5 (“[B]ecause multiplayer games have an

                               element of competition, and both in terms of users wishing to

                               perform well and users wishing to outsmart each other, latency is

                               considered very problematic. High degrees of latency in

                               multiplayers are considered just bad.”).)

                       b.      Latency in games that are streamed (as compared to games played

                               locally) can result in delayed interaction, competitive

                                                 148
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 157 of 644




                              disadvantages and a poorer gaming experience. (Patel Trial Tr.

                              434:8-11, 434:20-23; Athey Trial Tr. 1786:12-20 (explaining that

                              app streaming services are “nascent,” and that “games today . . .

                              struggle with some latency challenges,” including “delays”).)

                      c.      For example, a user playing Fortnite Battle Royale through a web

                              app could be at a competitive disadvantage to someone playing on

                              a native application due to latency. (Patel Trial Tr. 435:21-24.)

                              Users have complained about this inherent competitive

                              disadvantage. (Patel Trial Tr. 435:25-436:4.)

               247.   Even under ideal conditions, streaming services have severe limitations

that make them poor substitutes to native apps.

                      a.      Streaming services require a fast Internet connection, which means

                              that they cannot be played anywhere and everywhere. (Patel Trial

                              Tr. 443:7-446:25.)

                      b.      As noted above, streaming services are vulnerable to latency issues

                              to a greater extent than software running locally on a device

                              because of the round trip that data must take from the device to the

                              server and back again. (Patel Trial Tr. 442:24-443:6.)

                      c.      Scalability is limited. Streaming services are not able to host all of

                              their users at one time due to limited server capacity; users who are

                              not able to access the service may need to wait seconds, minutes or

                                               149
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 158 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 159 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 160 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 161 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 162 of 644




               251.    In September 2020, Apple modified its App Store Review Guidelines to

allow game streaming apps, but only if each streamed app is made available as a separate app on

the App Store. (See PX-56 § 4.9.1. (“Each streaming game must be submitted to the App Store

as an individual app so that it has an App Store product page, appears in charts and search, has

user rating and review, can be managed with ScreenTime and other parental control apps,

appears on the user’s device, etc.”).)

               252.    Each of Nvidia, Microsoft and Google sought to launch their game-

streaming services as native iOS apps before Apple modified its Guidelines, but all three were

rejected by Apple. (Patel Trial Tr. 438:24-439:15; Wright Trial Tr. 534:18-535:8.) None of

these services chose to launch hundreds of separate iOS apps—one per streamed game—as

required by the new Apple Guidelines. (Patel Trial Tr. 440:25-441:4; Wright Trial Tr.

650:15-651:6; see also PX-2048.1 (“Stadia by Google has been rejected by ERB”); PX-2109.1

(“NVIDIA GeForce NOW has been rejected by ERB”).) Craig Federighi, Apple’s Senior Vice

President of Software Engineering, testified that there are currently no streaming apps on the

App Store. (Federighi Trial Tr. 3490:4-6.)

                       a.      Microsoft, for example, has developed a cloud gaming service that

                               operates like many other media and entertainment streaming

                               services already available as native iOS apps, but Apple has

                               prohibited Microsoft’s streaming app from being offered in the

                               App Store. (Wright Trial Tr. 652:1-7.)




                                               154
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 163 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 164 of 644




                          movie and run them as a separate streaming app”. (Wright

                          Trial Tr. 650:10-651:6.)

                   iii.   Microsoft chose not to do this because it would have been

                          “untenable”, “would fundamentally break the service”, and

                          was “not something [Microsoft] could reasonably do.”

                          (Wright Trial Tr. 650:20-651:6; see also PX-2311.)

                   iv.    Moreover, Apple’s requirement that each streamed game in

                          the subscription catalog be broken out as an individual app

                          would have created a “bad experience” for customers,

                          including because updates to the streaming technology

                          would be implemented across all of the individual apps at

                          once—so “all of your apps would just be constantly

                          spinning” with updates—and because any time a game left

                          the catalog “there would be a dead app sitting on the

                          phone”. (Wright Trial Tr. 570:11-23; see also PX-2311.)

             b.    Mr. Patel also testified that in order to comply with Apple’s

                   guidelines concerning game streaming services, Nvidia would have

                   had “to take [its] 850 games that [it] ha[s] a license for and create

                   individual App Store applications and submit them for approval.”

                   (Patel Trial Tr. 441:2-4.)




                                    156
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 165 of 644




                             i.      In other words, Apple required that Nvidia submit

                                     separately each game available in the GeForce Now catalog

                                     to Apple for approval, that Nvidia list separately each game

                                     available in the catalog on the App Store, and that users

                                     download separately an app for each game they want to

                                     stream on their iOS device. Breaking apart its catalog in

                                     this manner was not possible for Nvidia, which does not

                                     own the rights to the third-party games in its GeForce Now

                                     streaming catalog. (Patel Trial Tr. 441:6.)

                             ii.     Moreover, Apple did not inform Nvidia of any security

                                     basis for requiring the catalog to be broken apart such that

                                     each individual game would be submitted to the App Store

                                     for review and approval. (Patel Trial Tr. 442:2-4.) Apple

                                     imposes this requirement despite the fact that no game-

                                     specific software is ever actually downloaded onto a user’s

                                     device because it runs instead from the “cloud”. (Patel

                                     Trial Tr. 423:20-23.)

              253.    GeForce Now and xCloud are now both available on iOS through the

Safari web browser. (Patel Trial Tr. 430:10-12; Wright Trial Tr. 652:16-25.) This further

degrades the service because of the inherent latency and limitations of web apps discussed

above. (See Section III.L.) For both companies, releasing their streaming services through

                                              157
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 166 of 644




Safari was a last resort, because “[it] was [Microsoft’s] only outcome in order to reach mobile

users on iOS” (Wright Trial Tr. 579:1-10), and Nvidia “would have preferred a native

application” (Patel Trial Tr. 530:24-531:1).

               254.   Fortnite is available through Nvidia’s GeForce Now game streaming

service on PCs and Mac, but not on iOS. (Sweeney Trial Tr. 177:9-12; Patel Trial Tr.

476:20-22.)

               255.   Streaming services also cannot solve the switching and mixing matching

costs discussed above. As Dr. Athey explained, “[streaming services] are not big enough . . . one

of the big constraints has been bandwidth.” (Athey Trial Tr. 1787:14-18.)

               256.   Finally, Apple has shown an interest in stifling the growth of cloud

streaming in order to protect its native iOS distribution monopoly. In August 2017, Apple was

considering whether to purchase a cloud game streaming company, LiquidSky, and invest in that

new line of business. (PX-464.) Apple identified LiquidSky as a company that could support

“AAA games in the cloud”, which were “not available on iOS or MacOS” and that would

“require more computer horsepower than the client system (e.g., Pro apps on MacBook Air)”.

(PX-464.) LiquidSky also touted its technology as able to support non-game streaming apps.

(PX-464.) But Apple ultimately decided that “running AAA Windows game titles in the cloud is

[not] consistent with Apple’s business model” given that Apple should protect its core business

of providing products based on native computing power, i.e., apps that must pass through

Apple’s App Store. (PX-464.2.)




                                               158
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 167 of 644




IV.    APPLE HAS MONOPOLY POWER IN THE iOS APP DISTRIBUTION
       MARKET.

               257.   Professor Schmalensee, Apple’s lead economist, conceded that if the iOS

App Distribution market defined by Dr. Evans is a valid antitrust market, Apple is a monopolist,

and it has market power. (Schmalensee Trial Tr. 1895:19-1896:7.) Epic has submitted

substantial evidence demonstrating that Professor Schmalensee is correct on this point.

       A.      Apple Uses Its Control over iOS to Monopolize App Distribution Through
               Contractual Restrictions.

               258.   Apple conditions developers’ access to the billion iOS users on contractual

restrictions that cement Apple’s control over all iOS app distribution. (PX-2619 (DPLA);

Schiller Trial Tr. 2759:22-2760:9, 2760:16-21, 2761:15-20 (agreeing the terms are “standardized

for all developers” and non-negotiable); Sweeney Trial Tr. 152:8-9 (“My understanding is Epic

was under a contract of adhesion, a nonnegotiable contract.”).)

               259.   Any developer who wants to distribute a native iOS app to consumers

must do so through the App Store. (Sweeney Trial Tr. 133:22-23 (“The iOS App Store is the

general way of distributing apps to consumers.”); Cook Trial Tr. 3931:25-3932:13 (agreeing that

Apple “decide[s] for [consumers] that the only way they can get a native app is through [the]

App Store”); Kosmynka Trial Tr. 986:9-12 (“The only way to get a consumer app on the iPhone

is through the iOS App Store.”).)

               260.   To distribute an app through the App Store requires: (1) access to the

software tools that allow developers to write code that will work on iOS; and (2) access to the

App Store itself. (Schiller Trail Tr. 2760:22-2761:14; Grant Trial Tr. 669:2-8 (“A user who


                                               159
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 168 of 644




wishes to develop an app will pick a platform. They will download the SDK for that platform,

and then they will create the software using the tools that the SDK provides . . . .”), 674:25-675:7

(“Xcode would be the primary method of a developer who wished to create an app for iOS.”);

PX-2619 (DPLA) § 3.2(g).)

               261.    Apple controls both of these inputs through a series of non-negotiable

terms by which developers must abide. (PX-2618 (Developer Agreement); PX-2619 (DPLA);

PX-2622 (Xcode and Apple SDKs Agreement); Schiller Trial Tr. 2757:2-8, 2760:16-21; Ex.

Depo. 16 at 284:7-13, 284:15 (Okamoto); Simon Trial Tr. 353:24-354:4; 357:3-13; Sweeney

Trial Tr. 152:8-9.)

               262.    To obtain access to testing and distribution of apps on iOS, developers

must set up a Developer Program account with Apple and accept the Apple Developer

Agreement. (Grant Trial Tr. 719:6-18.)

                       a.     The Apple Developer Agreement establishes certain basic terms

                              governing the developer’s relationship with Apple. (PX-2618

                              (Developer Agreement).)

                       b.     A second agreement, the Developer Program License Agreement

                              (“DPLA”), governs the terms and conditions of distribution

                              through the App Store, and is governed by the laws of the United

                              States and the State of California. (PX-2619 (DPLA) § 14.10.)




                                                160
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 169 of 644




                      c.      To distribute a free app, a developer must enter into Schedule 1 of

                              the DPLA. (PX-2619.65 (Schedule 1); Joint Pretrial Conference

                              Statement ¶ 15.)

                      d.      To distribute a paid app or offer any in-app purchases, a developer

                              must enter into Schedule 2 of the DPLA. (PX-2943 (Schedule 2);

                              Schmid Trial Tr. 3307:13-3308:2; Joint Pretrial Conference

                              Statement ¶ 15.)

                      e.      Section 7.1 of Schedule 2 provides, among other things, that “[i]f

                              at any time Apple determines or suspects that [the signatory

                              developer] or any developers with which [the signatory developer

                              is] affiliated have engaged in, or encouraged or participated with

                              other developers to engage in, any suspicious, misleading,

                              fraudulent, improper, unlawful or dishonest act or omission, Apple

                              may withhold payments due to [the signatory developer] or such

                              other developers.” (PX-2943.9 (Schedule 2); Schmid Trial Tr.

                              3301:4-12.)

               263.   The Apple Developer Agreement and DPLA are “click-through”, or

“standardized” agreements; they are non-negotiable. (Ex. Depo. 16 at 284:7-13, 284:15

(Okamoto); Schiller Trial Tr. 2757:4-5, 2760:6-9; Sweeney Trial Tr. 152:8-9 (“My

understanding is Epic was under a contract of adhesion, a nonnegotiable contract.”).)




                                                 161
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 170 of 644




              264.    Through a number of unlawful provisions, the DPLA requires developers

to agree to make Apple’s App Store the only channel for commercially distributing their apps on

iOS. (PX-2619.)

                      a.     Section 3.2(g) of the DPLA provides that “Applications for iOS

                             Products . . . may be distributed only if selected by Apple (in its

                             sole discretion) for distribution via the App Store”. (PX-2619

                             (DPLA) § 3.2(g).)

                      b.     Section 3.3.2 of the DPLA provides that apps may not download or

                             run executable code that, among other things, “create[s] a store or

                             storefront for other code or applications”. (PX-2619 (DPLA)

                             § 3.3.2.)

                      c.     Section 7.6 of the DPLA provides that developers must “agree not

                             to distribute [their apps] for iOS Products . . . to third parties via

                             other distribution methods” than those expressly permitted under

                             the DPLA. (PX-2619 (DPLA) § 7.6.)

              265.    When developers sign the DPLA, they further agree to comply with the

App Store Review Guidelines. (PX-2619 (DPLA) § 6.1; PX-2619.70 (Schedule 1) § 6.3; PX-

2943 (Schedule 2) § 7.3; Simon Trial Tr. 361:14-16 (Q. Do you have to comply with these

guidelines as your products are available in the App Store? A. Yes.”); Wright Trial Tr. 602:6-8

(“Q. And you know that any app that seeks to be on the App Store must comply with the App

Store guidelines; right, ma’am? A. Yes.”).)

                                               162
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 171 of 644




              266.   Apple published its first set of App Store Review Guidelines in 2010.

(PX-56A; Schiller Trial Tr. 2833:25-2834:2 (“The first time [Apple] published them externally

was in 2010.”).)

                     a.       Prior to 2010, Apple did not make any guidelines available to

                              third-party developers to explain the criteria it used for app review.

                              (PX-2316.1; Schiller Trial Tr. 2833:25-2834:2.)

                     b.       The 2010 version of the Guidelines made it clear that Apple

                              anticipated making changes to the Guidelines from time to time.

                              (PX-56A.1 (“This is a living document, and . . . may result in new

                              rules at any time.”).)

                     c.       Apple periodically revises the App Store Review Guidelines. (PX-

                              56; PX-56A; PX-2790; Fischer Trial Tr. 947:6-14 (“We do change

                              the guidelines.”); Kosmynka Trial Tr. 984:14-16; Schiller Trial Tr.

                              2833:15-21 (“They are modified at least yearly, sometimes more

                              than once in a year.”).)

              267.   The Guidelines contain a number of prohibitions that constrain

competition and innovation.

                     a.       The Guidelines prevent developers from distributing would-be

                              competing third-party app stores through the App Store. (PX-2790

                              (App Store Review Guidelines) §§ 3.2.1(ii), 3.2.2(i); Fischer Trial

                              Tr. 900:14-16 (“Q. You would agree with me, sir, that app store

                                               163
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 172 of 644




                   review guidelines prohibit stores within stores? A. Yes.”);

                   Kosmynka Trial Tr. 1003:2-6) (agreeing that Guideline 3.2.2

                   “prohibits stores within stores”).) Section 3.2.1(ii) provides that

                   apps that display or recommend a collection of third-party apps

                   “should provide robust editorial content so that it doesn’t seem like

                   a mere storefront.” (PX-2790 (App Store Review Guidelines)

                   § 3.2.1(ii).) Section 3.2.2(i) provides that apps may not “create[e]

                   an interface for displaying third-party apps, extensions, or plug-ins

                   similar to the App Store or as a general-interest collection”. (PX-

                   2790.13 (App Store Review Guidelines) § 3.2.2(i).)

             b.    The Guidelines prohibit developers from integrating any

                   competing payment processing solution for processing in-app

                   payments for digital content in their iOS apps and prohibit

                   developers from “encouraging users to use a purchasing method

                   other than in-app purchase” “either within the app or through

                   communications sent to points of contact obtained from account

                   registration within the app.” (PX-2790 (App Store Review

                   Guidelines) §§ 3.1.1, 3.1.3.)

             c.    The Guidelines prevent cloud gaming services from offering their

                   games in a streaming catalog on iOS. (PX-2790 (App Store

                   Review Guidelines) § 4.9.)

                                    164
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 173 of 644




       268.   Apple also controls distribution of iOS apps through technological means.

              a.     With respect to consumers, Apple prevents direct downloading of

                     apps from developers’ websites. (Kosmynka Trial Tr. 986:9-12

                     (“The only way to get a consumer app on the iPhone is through the

                     iOS App Store.”), 986:17-25.)

              b.     With respect to developers, Apple requires that all third-party apps

                     be validated and signed using an Apple-issued certificate in order

                     to be distributed through the App Store. (DX-5492.98; Grant Trial

                     Tr. 716:13-717:7; Federighi Trial Tr. 3373:11-3374:2.)

              c.     “A certificate is a digital credential . . . that can be used to

                     authenticate that a piece of data came from a source.” (Grant Trial

                     Tr. 716:13-16.) Developers use their certificate to sign their app,

                     and Apple uses that signing information to verify that the identity

                     of the signer is the same as the identity of the account-holder.

                     (Grant Trial Tr. 716:17-717:1.)

              d.     If a developer is removed from the Apple Developer Program, then

                     previously held certificates are no longer valid. (Ex. Depo. 13 at

                     40:12-25 (Haun).) Instead, when a user launches such an app, the

                     operating system communicates “the state of the certificate” and

                     give “the customer . . . opportunities to either run or not run the

                     application.” (Ex. Depo. 13 at 40:12-25 (Haun).)

                                       165
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 174 of 644




             e.    Apple offers a special type of certificate for businesses seeking to

                   write and distribute in-house applications for use within their

                   organization. (Mickens Trial Tr. 2586:10-2587:9; Federighi Trial

                   Tr. 3411:21-3412:12; see also DX-5492.99.) Businesses apply to

                   the Apple Developer Enterprise Program for an enterprise signing

                   certificate. (Mickens Trial Tr. 2586:16-22 (“[T]he basic idea is

                   that the enterprise first has to go to Apple and has to register with

                   the Enterprise Program.”).) With the enterprise signing certificate,

                   the business is able to sign apps distributed and managed by that

                   enterprise for its employees. (Mickens Trial Tr. 2586:16-22 (“If

                   Apple agrees to let the enterprise into the program, then the

                   enterprise can then allow its own internal developers to create

                   apps, to sign apps, and these apps are going to be signed by the

                   enterprise developers, not by Apple.”); Federighi Trial Tr. 3434:9-

                   25.) Apps that are part of Apple’s Enterprise Program can be

                   distributed on iOS devices without going through the App Store.

                   (Mickens Trial Tr. 2586:23-2587:2; Federighi Trial Tr. 3434:9-25.)

             f.    Apple also makes available special types of certificates for the

                   purpose of developing and testing iOS apps prior to wider

                   distribution. (PX-2619.16 (DPLA) § 3.2(g).) Development or ad

                   hoc certificates allow a developer to distribute an iOS app to a

                                    166
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 175 of 644




                               limited number of pre-approved devices. (PX-2619.37 (DPLA)

                               § 7.3.) If the developer wishes to beta test its app with a larger

                               user base (up to 10,000 test devices), then it must use Apple’s

                               TestFlight service. (PX-2619.37 (DPLA) § 7.4; Simon Trial Tr.

                               407:5-8; Fischer Trial Tr. 948:22-949:10; Kosmynka Trial Tr.

                               986:17-22.)

       B.      Apple Has 100% Market Share in the Market for iOS App Distribution.

               269.   Apple has a nearly 100% share in the market for iOS app distribution.

(Kosmynka Trial Tr. 986:9-12 (“The only way to get a consumer app on the iPhone is through

the iOS App Store.”); Schiller Trial Tr. 2738:12-14 (Q. “[S]o from the outset, is it accurate that

the App Store was to be the only means to distribute apps on the iPhone?” A. Yes, it was.”);

Ex. Expert 1 (Evans) ¶ 146.)

                      a.       As both parties agree, Apple’s app distribution restrictions apply to

                               all apps. (Evans Trial Tr. 1453:12-18, 2448:5-2449:21; Ex.

                               Expert 16 (Evans) ¶ 39; Schmalensee Trial Tr. 1941:21-1942:3.)

                      b.       The App Store supplies distribution services to developers. (Evans

                               Trial Tr. 1454:11-16, 1707:2-17; Schmalensee Trial Tr. 1955:3-23;

                               Schiller Trial Tr. 2748:1-13.)

                      c.       The App Store supplies these services to developers of all types of

                               apps, regardless of what services those apps offer to consumers




                                                167
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 176 of 644




                                and whether those apps compete with each other. (Evans Trial Tr.

                                1457:10-1458:25.)

               270.      Apple has the power to set the price and control output in the market for

iOS app distribution. (See Sweeney Trial Tr. 322:19-323:2; Simon Trial Tr. 364:22-365:2;

Evans Trial Tr. 1563:18-1537:3.)

               271.      Apple does not license iOS to any other mobile device maker. (Schiller

Trial Tr. 2723:18-19.)

               272.      The App Store is preloaded onto the home screen of all iOS devices.

(Fischer Trial Tr. 857:10-15; Federighi Trial Tr. 3461:11-14.)

               273.      The only apps that come preinstalled on iPhones are Apple apps. (Fischer

Trial Tr. 872:24-873:2.)

               274.      With the exception of Developer Enterprise Program apps (see

Section XI.I below) or jailbroken iOS devices, the App Store is the exclusive means by which

iOS users download native iOS apps. (Kosmynka Trial Tr. 986:9-12 (“The only way to get a

consumer app on the iPhone is through the iOS App Store.”), 986:17-25 (agreeing that “other

than the enterprise program and things like Test Flight or testing, in order for a consumer to

obtain a native app on their phone, they need to have an app that has gone through the app

review process by the iOS App Store”); Schiller Trial Tr. 2729:19-24 (jailbreaking is “a way to

sideload software onto [an] iPhone”).)

               275.      Non-commercial and other distribution channels for iOS apps are not

reasonable substitutes for distribution through the App Store.

                                                 168
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 177 of 644




             a.    Apple allows limited distribution outside the App Store for testing

                   purposes (Test Flight) and for internal distribution within a firm or

                   institution (the Enterprise Program), but these distribution channels

                   cannot be used to reach the broad iOS user base. (Sweeney Trial

                   Tr. 133:20-134:1 (“The iOS App Store is the general way of

                   distributing apps to consumers. However, Apple makes a number

                   of other mechanism available for limited purpose distribution. For

                   example, to enterprise employees or to testers working on a

                   software development environment.”), 134:10-12 (“[The test

                   environment] is not available for general distribution [] to

                   consumers. If a particular consumer were participating in a small

                   scale test, you might be able to access it that way.”); Fischer Trial

                   Tr. 948:22-949:10; Kosmynka Trial Tr. 986:17-22; PX-72.40-41)

             b.    Apple phones are sometimes “jailbroken” by users, meaning that

                   users remove the protections within iOS against installation of

                   third party apps through channels other than the App Store.

                   (Ex. Depo. 20 at 509:13-25 (Shoemaker); PX-871.1; Schiller Trial

                   Tr. 2729:19-24.) Apple objects to jailbreaking of phones and

                   makes efforts to prevent it; jailbreaking also voids the warranty on

                   the device. (Ex. Depo. 16 at 278:7-12 (Okamoto); Schiller Trial

                   Tr. 2729:25-2730:17, 2733:15-22.)

                                    169
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 178 of 644




       C.     The App Store’s Profit Margins Are Extraordinarily High.

              276.    One indication of market power in the relevant market is the sustained

existence of higher profit margins than would exist in a competitive market. (Ex. Expert 16

(Evans) ¶¶ 40-43; Cragg Trial Tr. 2287:23-24 (recognizing “high and sustained margins” as

evidence of market power).) As Professor Schmalensee has maintained for 40 years, including at

trial, “persistently high economic profit is suggestive of market power”. (Schmalensee Trial Tr.

1984:2-1984:12.)

                      a.     High profit margins “provide evidence of market power

                             because . . . in a competitive environment . . . over time the

                             margins would have declined in the face of competition, either as a

                             result of prices falling or as a result of substantial investments . . .

                             that would improve . . . quality”. (Evans Trial Tr. 1545:3-14; see

                             also Cragg Trial Tr. 2287:22-2288:2.)

                      b.     In a competitive market, companies would vie for consumer

                             dollars through price competition. (Evans Trial Tr. 1545:3-14;

                             Ex. Expert 1 (Evans) ¶¶ 146-48.)

                      c.     In a market with robust price competition, prices trend downwards,

                             to a level closer to a firm’s costs. (Evans Trial Tr. 1545:3-14;

                             Ex. Expert 1 (Evans) ¶¶ 146-48.)




                                               170
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 179 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 180 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 181 of 644
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 182 of 644




               280.   Mr. Barnes was also retained to research and calculate the App Store’s

operating margin and operating margin percentage, and he conducted further analysis to account

for additional expenses associated with the App Store that were identified by Mark Rollins, a

corporate witness for Apple who “indicated that there were certain operating expenses or certain

expenses in general that had not been reflected in those profit and loss statements”. (Barnes

Trial Tr. 2460:2-11; Ex. Expert 2 (Barnes) ¶¶ 10-13; PX-756.2 (Apple letter designating

Mr. Rollins to provide testimony on, among other things, “any formal assessments of the

revenue, costs, expenses, and/or investment related to the Apple App Store”).) After taking the

additional costs identified by Mr. Rollins into account, Mr. Barnes reported margins for the App

Store of 79.6% for fiscal year 2018 and 79.6% for fiscal year 2019. (Ex. Expert 2 (Barnes) ¶¶ 2,

13; Barnes Trial Tr. 2459:5-10 (noting that his calculations of the App Store’s operating margin

percentages “were approximately 79 percent in both 2018 and 2019”).) Although Apple’s cross-

examination of Mr. Barnes implied that there could be other categories of expenses not included

in these calculations, Apple never sought to supplement the sworn testimony of its witness

designated pursuant to Federal Rule of Civil Procedure 30(b)(6) to identify such additional

categories of expenses. And, in any event, such criticisms are irrelevant because, as discussed

below, documents later produced by Apple contain Apple’s own calculations of its operating

margins, which are very similar to Mr. Barnes’s estimates. (PX-2385; PX-2393; Ex. Expert 2

(Barnes) ¶ 2; Barnes Trial Tr. 2460:12-2462:16.)

               281.   On the last day of fact discovery, Apple produced documents from

Mr. Cook’s files that were prepared by Apple’s Corporate Financial, Planning & Analysis

                                               174
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 183 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 184 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 185 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 186 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 187 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 188 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 189 of 644




whether the App Store was profitable); Cook Trial Tr. 3876:18-20 (“Q: Has Apple ever

attempted to determine the specific profitability of the App Store as a stand-alone business unit?

A: No.”), 3892:8-10 (agreeing that he testified that “Apple does not maintain a separate P&L for

the App Store”); PX-1677.47 (Kyle Andeer, Apple’s VP and Corporate Law & Chief

Compliance Officer: “[W]e don’t have a separate profit and loss statement for the App Store.”)),

Apple has routinely generated profitability calculations for the App Store: (1) estimates for

2016-2020 from Apple’s Corporate Finance, Planning & Analysis team produced from

Mr. Cook’s files (PX-2385.18); (2) App Store P&Ls in Apple’s internal App Store presentations

to executives at least annually from 2018-2020 (PX-602.154; PX-608.78); and (3) an App Store

P&L covering 2013-2015 sent to Eddy Cue and “requested [by Luca Maestri, Apple CFO] for

[his] organization”. (PX-609.1; PX-610.) Moreover, although Apple repeatedly claimed that it

does not allocate costs to specific products and services (see, e.g., Malackowski Trial Tr. 3662:2-

8; Cook Trial Tr. 3892:11-14, 3899:9-13), Mr. Cook admitted at trial that Apple has at least two

systematic ways of allocating operating expenses to particular business lines, and that it is

capable of updating those calculations as it did when the September 2019 profitability numbers

were revised for the December 2019 “quarterly P&L update”. (Cook Trial Tr. 3900:2-5 (“Q. So

your corporate financial planning and analysis group does have, I guess, at least two methods,

maybe more, for allocating operating expenses; correct? A. I assume so.”), 3909:11-23; PX-

2385.13-15, .24-25 (noting that allocations are being done “[b]ased on Method 2 for Allocation

Opex”); PX-2391.105-107 (same).)




                                                181
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 190 of 644




               287.    Professor Schmalensee opined that “operating margin is not a measure of

profitability”, relying on an example of “[t]wo factories producing the same product selling at

the same price in a competitive market”, one that has only one worker but has “invested a lot in

machinery”, while the other “really hasn’t made much . . . by way of investment and has a lot of

workers”. (Schmalensee Trial Tr. 1899:22-1900:3.) According to Professor Schmalensee, “the

mechanized factory is going to have lower operating costs so it’s going to show a higher

operating margin”. (Schmalensee Trial Tr. 1900:4-9.) Professor Schmalensee’s example does

not support his opinion. As Mr. Barnes—a certified public accountant with 25 years of practice

as a forensic accountant (Barnes Trial Tr. 2456:6-18)—testified, operating margin (or profit) is

“basically the income that is generated by a business or a business unit from its core business

activities” and is calculated by “the revenue less the expenses that are required to generate that

revenue”. (Barnes Trial Tr. 2457:13-16.) Mr. Barnes explained that Professor Schmalensee’s

factory example omits the “very real operating expense of depreciation that would be deducted

for the amortization of the equipment that had been purchased by the one factor[y] in his

example”. (Barnes Trial Tr. 2458:8-21.) Accordingly, the mechanized factory would not

necessarily have lower operating costs and thus a higher operating margin than the other factory.

(Barnes Trial Tr. 2458:8-11.)

               288.    While Professor Schmalensee testified that “having a high accounting rate

of return on investment doesn’t establish the existence of high economic profits” (Schmalensee

Trial Tr. 1899:19-21), he conceded that “there is no particular bias in which direction the

difference between” economic profitability and accounting profitability goes (Schmalensee Trial

                                                182
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 191 of 644




Tr. 1980:13-17; Schmalensee Trial Tr. 1980:17 (“It depends on a lot of things.”).) As Dr. Evans

testified, economists have the tools to figure out whether accounting profits are an appropriate

measure of monopoly power given the particular business at issue, and after reviewing “profit

and loss statements, together with the testimony and other information regarding those profits

and information regarding those profits and information regarding the existence of costs that

need to be allocated”, he was able to conclude that Apple’s profits in the App Store are relevant

and indicative of Apple’s market power. (Evans Trial Tr. 1723:20-1724:19.)

               289.    Professor Schmalensee included an exhibit in his written testimony that

was “intended to offer information about the operating margins of certain publicly-traded

companies that have online stores” and to “point[] out that Apple’s operating margin is not out of

line with other operating margins of companies large and small that are . . . among other things,

in the online store business”.7 (Schmalensee Trial Tr. 1984:23-1985:5, 1986:24-1987:2;

Ex. Expert 8 (Schmalensee) Exhibit 2.) However, the operating margins in that exhibit were all

calculated on a company-wide basis and Professor Schmalensee conceded at trial that the

comparison “doesn’t say anything about whether Apple does or does not have market power in

any individual line of business”. (Schmalensee Trial Tr. 1986:21-24.)

               290.    According to Professor Schmalensee, “R&D that affects all aspects of

Apple’s business can’t be allocated to individual lines of business or parts of a business in a way



    7
      Professor Schmalensee testified that he “took the list of companies from Mr. Barnes’ list of
people who operated stores” to generate Exhibit 2 in his written direct testimony. (Schmalensee
Trial Tr. 1985:3-5.) However, none of the online marketplaces identified by Mr. Barnes
(Ex. Expert 2 (Barnes) ¶ 22, Table 4) appear in Professor Schmalensee’s Exhibit 2.
                                                183
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 192 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 193 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 194 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 195 of 644




                       g.     The commissions charged by game consoles are not comparable

                              because of their “radically different” business model.

                              (Schmalensee Trial Tr. 1972:23-1973:4, 1971:25-1972:22

                              (testifying with respect to hardware that “that’s not where they

                              [console manufacturers] make their money” and “that has been the

                              general view for a long time”); Evans Trial Tr. 2441:16-23 (“I just

                              don’t view . . . the console game stores to be good comparisons . . .

                              because of the different business model. And the reason the

                              commission is being charged in that particular business, it’s just

                              different.”).)

                       h.     It is also important to contextualize Apple’s 30% commission,

                              which was initially inspired by the “wholesale-to-resale model”

                              where physical stores had to account for costs that aren’t present

                              with a digital store, such as theft and markdowns. (Allison Trial

                              Tr. 1196:2-18; see also Allison Trial Tr. 1203:10-1204:6 (noting

                              that Valve, the company that owns and operates Steam, was a first

                              mover in the digital PC game distribution market and adopted its

                              30% commission based on the physical retail markup).)

               292.    The absence of competition on the merits, including price competition, is

also evident in how Apple originally set the price for distribution of apps, and how it has

maintained it. (Ex. Expert 1 (Evans) ¶ 158.)

                                                187
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 196 of 644




                       a.      When the App Store launched in 2008, Apple established the

                               commission rate that developers would have to pay for sales of

                               apps through the App Store. (Ex. Depo. 3 at 135:8-136:2 (Cue).)

                       b.      The process for setting that price was an ad hoc one: Mr. Cue and

                               Mr. Jobs simply decided the rate. (Ex. Depo. 3 at 135:8-136:14

                               (Cue).)

                       c.      The commission rate was chosen without consideration of App

                               Store costs. (Ex. Depo. 3 at 136:3-14, 137:23-138:14 (Cue);

                               Schiller Trial Tr. 3105:12-3106:5.)

                       d.      The commission rate was set without regard to costs of providing

                               developers with software development tools. (Ex. Depo. 3 at

                               137:23-138:14 (Cue); Schiller Trial Tr. 3105:12-3106:5.)

               293.    In June 2011, the individual in charge of marketing the iPhone,

Mr. Schiller, stated that he did not think “that 70/30 will last . . . forever” because “someday we

will see enough challenge from another platform or web based solutions to want to adjust our

model”. (PX-417.1; Ex. Depo. 3 at 143:25-144:6, 145:6-13 (Cue).)

                       a.      The potential for App Store profits of over $1 billion annually

                               caused Mr. Schiller in 2011 to pose the question: “is that enough to

                               then think about a model where we ratchet down from 70/30 to

                               75/25 or even 80/20” if that would permit Apple to maintain a




                                                188
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 197 of 644
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 198 of 644




                             does not recall “any discussion about the costs associated with

                             running the App Store, the costs associated with processing IAP”

                             or “any cost component”, nor can he recall being “asked to do any

                             kind of financial analysis pertaining to costs on the App Store as it

                             relates to changes to the commission structure”. (Ex. Depo. 17 at

                             272:8-17, 280:5-23 (Oliver).)

              295.    After this lawsuit was filed, Apple lowered its commission structure for

“small business owners”. (Schiller Trial Tr. 2810:16-2811:5.)

                      a.     In late 2020, Apple announced the App Store Small Business

                             Program, which entitles qualifying developers—those earning no

                             more than $1 million in total proceeds across all of their apps

                             (sales net of Apple’s commission and certain taxes and

                             adjustments) during the 12 fiscal months occurring in the prior

                             calendar year—to “a reduced commission of 15%”. (PX-2943

                             (Schedule 2) § 3.4(b); Schiller Trial Tr. 2810:16-2811:5.)

                      b.     Developers whose proceeds exceed $1 million will be charged the

                             “standard commission” for the remainder of the calendar year, but

                             may re-qualify for the program in subsequent calendar years if they

                             fall below the $1 million threshold. (PX-2943 (Schedule 2)

                             § 3.4(b).)




                                              190
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 199 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 200 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 201 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 202 of 644




                      j.      Despite these decreases, Apple’s average effective commission

                              rate has remained near constant over time, and was 27.7% in 2019.

                              (PX-1050.)

               296.   Despite these nominal decreases in the commission rate, the real story of

Apple’s commission rate has been one of increases. Apple has raised its prices significantly at

least three times:

                      a.      First, in 2009, Apple imposed the requirement that all in-app

                              purchases of digital content be handled through Apple’s IAP

                              payment solution and that such purchases be subject to a 30%

                              commission. (DX-4192.3-4) For those developers that had been

                              offering in-app purchases prior to that date, this was an increase in

                              price. (PX-1813.3; PX-1815.2; PX-1709.1; PX-1703.1-2; Ex.

                              Depo. 4 at 252:06-13 (Forstall); Schmalensee Trial Tr. 1975:4-7).

                      b.      Second, in 2011, Apple decided to impose a new requirement that

                              developers that sold in-app subscriptions would have to use IAP

                              and pay a 30% commission. (DX-3060; see Section II.F above

                              (discussing price increase for subscriptions).) This was an

                              increase in the price of subscriptions. (PX-2162; PX-108.1;

                              Schmalensee Trial Tr. 1975:11-21.)

                      c.      Third, in 2016, Apple introduced paid search ads to the App Store.

                              This resulted in a de facto increase in price because developers

                                               194
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 203 of 644




                             needed to buy search ads in order for their apps to be discoverable

                             in the App Store. (Schiller Trial Tr. 2816:1-6; Cook Trial

                             Tr. 3890:8-20.)

              297.    Apple’s 30% commission is not akin to the commission charged by video

game consoles, which Professor Schmalensee testified “have a radically different business

model” than Apple does for the iPhone and iOS. (Schmalensee Trial Tr. 1972:23-1973:4.)

                      a.     As Professor Schmalensee testified at trial, iOS, like Windows,

                             macOS and Android, is a “general-purpose operating system”, or

                             “foundational platform that provide[s] a platform for app

                             developers and users to make all kinds of software”. (Schmalensee

                             Trial Tr. 1969:5-14; see also Ex. Expert 1 (Evans) ¶ 16; Evans

                             Trial Tr. 1475:16-1476:1 (game consoles are examples of “special

                             purpose operating systems” and “which follow a very, very

                             different business model”).) The iPhone, for example, “gets profit

                             both from the apps, both from developers, and from hardware”.

                             (Schmalensee Trial Tr. 1972:21-22.)

                      b.     Video game consoles, on the other hand, are not foundational

                             platforms in the sense that they are “designed and marketed

                             primarily for games” and are thus “more special or niche operating

                             systems”. (Schmalensee Trial Tr. 1969:24-1970:11, 1970:16-

                             1971:2.) While Apple “get[s] the bulk of [its] revenue from the

                                               195
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 204 of 644




                   sale of hardware” for its general-purpose operating systems, iOS

                   and macOS, “the universal view as to how the video game

                   consoles make their money and run their business” is that they

                   “make their money from the developers” and “sell their hardware

                   at a loss” (Schmalensee Trial Tr. 1904:23-1095:1, 1971:25-

                   1972:22; Wright Trial Tr. 551:24-552:10; DX-5523.31; see also

                   Sweeney Trial Tr. 143:24-10 (“The general bargain in the console

                   industry has long been the idea that console hardware is often sold

                   at or below its manufacturing cost in order to bring in the larger

                   user base.”).) They employ this “developer pays” model to ensure

                   that a sufficient number of consumers will purchase the console

                   and be reachable by developers, who in turn will make large

                   investments to write games for each platform. (Wright Trial Tr.

                   551:24-10, 623:15-19; Evans Trial Tr. 1476:4-8; Ex. Expert 1

                   (Evans) ¶ 16; Ex. Expert 13 (Cragg) ¶¶ 81-82.)

             c.    Console makers do this because game development for consoles is

                   often a lengthy and expensive process—far more expensive than

                   development for mobile platforms—and the console makers need

                   to try to assure developers that there will be a large enough user

                   base for it to be worth the developers’ investment in developing a

                   game for use on the console, which often takes years to complete.

                                    196
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 205 of 644




                   (Ex. Expert 13 (Cragg) ¶¶ 81-82; Cragg Trial Tr. 2255:20-

                   2258:14.)

             d.    The console makers’ commission rates, paid by developers through

                   royalties on the sale of games and in-game content, are then the

                   primary source of profit that they receive across the entire

                   ecosystem. (Ex. Expert 1 (Evans) ¶ 16; Wright Trial Tr. 553:1-4,

                   623:20-24.) As a result, console makers engage in a host of

                   negotiations with app developers regarding various terms and

                   conditions, resulting in negotiated contractual arrangements in

                   which a variety of terms factor into the overall value that the app

                   developer receives. (Sweeney Trial Tr. 310:1-17; Schmalensee

                   Trial Tr. 1958:1-3 (“It’s my understanding that the consoles are

                   more prone than, say, the App Store to negotiate special deals with

                   individual suppliers . . . .”).)

             e.    With respect to Microsoft, for example, the Xbox console business

                   relies on a subsidization model, through which Microsoft does not

                   earn a profit on the sale of its hardware but recoups its investment

                   through the sale of software and services. (Wright Trial Tr. 552:3-

                   10.) Because “[t]he hardware is critical to [Microsoft] delivering

                   that gaming experience”, “[t]here is a consideration that we have to

                   fund the console in order to produce the experience that we do for

                                      197
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 206 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 207 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 208 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 209 of 644




                   i.     This includes hardware bundles that pair “Fortnite

                          content . . . with a PlayStation or with an Xbox” to be sold

                          in brick and mortar stores. (Weissinger Trial Tr. 1332:4-9.)

             d.    Epic works with its console partners to create retail SKUs, which

                   are Fortnite codes packaged in boxes that look like “traditional

                   video game[s]”. (Weissinger Trial Tr. 1332:10-13.)

             e.    Microsoft has hosted a “Friday Fortnite series where every Friday,

                   [Microsoft] would host play sessions where people could come in

                   [to Microsoft’s retail stores within malls] and play Fortnite and

                   win and earn prizes”. Similarly, Sony has done in-person events,

                   too; it once set up a truck outside of the L.A. Coliseum during a

                   gaming exposition where players could play Fortnite within the

                   truck. (Weissinger Trial Tr. 1332:16-1333:8.)

             f.    The console partners also provide digital support. (Weissinger

                   Trial Tr. 1332:19-20.)

                   i.     The consoles use their “huge social channels” to promote

                          Fortnite. (Weissinger Trial Tr. 1333:9-14.)

                   ii.    The console partners feature Fortnite on their digital stores.

                          These features are particularly helpful because the consoles

                          offer Fortnite users the ability to make Fortnite purchases

                          directly on the store without having to open the Fortnite

                                    201
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 210 of 644




                          game. This featuring is presented to users who are in a

                          “purchasing mindset”. (Weissinger Trial Tr. 1334:3-12.)

             g.    Nintendo hosted the Fortnite Switch Cup in Japan, which at the

                   time led to the highest number of daily active users in Japan.

                   (Weissinger Trial Tr. 1335:19-24.)

             h.    Microsoft and Sony both allowed Epic to use their marquee

                   intellectual property—Master Chief from the Halo franchise for

                   Microsoft and Kratos from the God of War franchise for Sony—

                   within Fortnite. Microsoft and Sony both agreed to make their

                   coveted IP “purchasable” and “playable on the other platforms as

                   well.” (Weissinger Trial Tr. 1336:2-15.)

             i.    Apple’s support, by comparison, appeared “opportunistic”. Epic

                   felt that its relationship with Apple was “transactional” and

                   “impersonal”. The promotions Apple offered Epic would

                   sometimes come with “strings attached”, and they would often be

                   proposed at the last minute, which “cause[d] undue burden and

                   stress” at Epic. (Weissinger Trial Tr. 1338:6-16.) Further, Apple’s

                   social media support and featuring was not meaningful. Indeed,

                   Apple would ask Epic to re-tweet the App Store Twitter account,

                   leaving the impression at Epic that Apple wanted Epic’s support to

                   “gain traction” on social media. (Weissinger Trial Tr. 1340:13-

                                    202
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 211 of 644




                              24.) And unlike the console partners, Apple never ran a hardware

                              bundle with Epic and never hosted Fortnite events. (Weissinger

                              Trial Tr. 1345:18-24.)

       D.      Apple Does Not Track Relative Pricing of Apps on Non-iOS Platforms.

               302.   The pricing of apps on non-iOS platforms, including on Android,

websites, or consoles, does not affect or constrain the commission Apple charges in connection

with the distribution of iOS apps or in-app purchases.

                      a.      One of Apple’s top executives who has been involved in the App

                              Store since its launch, Eddy Cue, is not aware of “any studies as to

                              the relative pricing of apps on the App Store vis-à-vis the Google

                              Play Store”. (Ex. Depo. 3 at 247:15-20 (Cue).)

                      b.      Similarly, Mr. Fischer is not aware of any reports or studies that

                              track the relative pricing of apps or in-app purchases on Android

                              compared to iOS. (Fischer Trial Tr. 904:18-905:6.)

                      c.      Match Group has tried to offer its Tinder dating service on the web

                              in addition to as a native app, but the web version of Tinder has not

                              been successful—despite Match Group promoting the web version

                              and offering it at a lower price than the iOS mobile app version.

                              (Ex. Depo. 1 at 23:9-17, 24:17-25:5, 25:14-26:5, 28:9-29:2

                              (Ong).) Match Group has not seen meaningful switching from




                                               203
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 212 of 644




                             Tinder on mobile to Tinder on the web. (Ex. Depo. 1 at 28:9-22;

                             28:24-29:2 (Ong).)

                      d.     Down Dog offers subscriptions on its website at a cheaper price

                             than the same subscriptions offered through its iOS mobile app,

                             but approximately half of iOS users continue to purchase their

                             subscriptions at the higher price through the app because Apple

                             prevents Down Dog from informing them in the iOS app of

                             cheaper options available elsewhere. (Simon Trial Tr. 359:3-17.)

                             By contrast, on Android, where Down Dog informs its users that a

                             cheaper subscription price is available on the web and provides a

                             link to that subscription option, only about 10% of users choose the

                             in-app purchase option on Android. (Simon Trial Tr. 360:7-13.)

                             As a result, the average price that a user will pay for a subscription

                             on Down Dog’s Android app is 15% less than the average price

                             that a user will pay for a subscription on Down Dog’s iOS app

                             because Apple’s policies prohibit Down Dog from telling its users

                             about the cheaper website option within the iOS app, even though

                             Down Dog charges the same price on iOS and Android. (Simon

                             Trial Tr. 364:4-13.)

              303.    Apple isolates its App Store from competition from other platforms by

prohibiting app developers from informing iOS users, in the iOS app or on the App Store, of the

                                              204
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 213 of 644




availability of their app on other platforms. (See PX-56 § 2.3.10. (“[D]on’t include names, icons,

or imagery of other mobile platforms in your app or metadata, unless there is a specific,

approved interactive functionality.”); id. § 3.1.1 (“Apps and their metadata may not include

buttons, external links, or other calls to action that direct customers to purchasing mechanisms

other than in-app purchase.”); see also DX-3796.4 (“The entire app experience must be setup for

purchasing with IAP, and nothing the developer does in the app or outside the app is designed to

encourage purchases for use on iOS happening anywhere but on iOS.”); Ex. Depo. 2 at 117:1-22

(Shoemaker) (describing Apple’s policy wherein “apps [were] generally prohibited from

pointing to their availability on other platforms”); Ex. Depo. 1 at 158:4-159:14 (Ong) (describing

restrictions on Match Group’s ability to inform its iOS customers of the option to purchase

content outside of iOS app).)

                      a.        Apple has rejected Down Dog’s app for providing a link to its

                                website, on which users can purchase the same subscription for

                                cheaper. Down Dog continues to list a purchase link on its iOS

                                app when it has web sales because the customer service issues and

                                complaints are too severe otherwise given that Down Dog is not

                                able to issue refunds to resolve those issues and complaints relating

                                to purchases made in the iOS app. (Simon Trial Tr. 359:18-360:6,

                                415:11-23.)




                                                 205
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 214 of 644




V.     APPLE’S CONDUCT CAUSES ANTI-COMPETITIVE EFFECTS IN THE iOS
       APP DISTRIBUTION MARKET.

       A.      Apple’s Conduct Foreclosed All Manners of Distribution of Apps on iOS by
               Third Parties.

               304.   In order to determine whether Apple’s conduct has caused anti-

competitive effects in the iOS App Distribution Market, one must consider “the difference

between the but-for world and the actual world”. (Evans Trial Tr. 1721:12-18.) It is not possible

to measure the anticompetitive effects of conduct by solely looking at the growth that has

occurred in a market without comparing to the alternative where any restrictions are not present.

(Evans Trial Tr. 1721:7-11.)

               305.   Where OS developers did not limit third party distribution on their OS,

they saw entry by multiple online stores, which operated alongside direct distribution. (See, e.g.,

Allison Trial Tr. 1200:14-1201:14 (describing digital games stores operated by Valve, Microsoft,

Electronic Arts, Activision Blizzard, and Ubisoft, among others); Ex. Expert 1 (Evans) ¶ 107.)

               a.     In Windows, where Microsoft has not imposed limitations on app

                      distribution by third parties, multiple third-party app stores offer

                      distribution of apps, alongside direct distribution by multiple developers.

                      (Ex. Expert 1 (Evans) ¶¶ 106-07; Wright Trial Tr. 553:25-554:6; Allison

                      Trial Tr. 1200:14-1201:14.)

                               i.     Like iOS, Windows is a general purpose platform. (Wright

                                      Trial Tr. 555:16-18, 557:10-15.) But unlike iOS, Windows

                                      is an open platform, allowing third-party app stores and


                                               206
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 215 of 644




                          direct distribution by developers, while iOS is a closed

                          platform. (Wright Trial Tr. 658:1-7, 553:25-554:6.)

                   ii.    The availability of alternative distribution methods in open

                          platforms like Windows has significant impacts on how

                          profits are allocated between platform-holders and

                          developers. (DX-5523.) “Platform-holders in closed

                          device ecosystems & networks capture meaningful profit

                          share (39%-46%), while open ecosystems favor

                          publishers . . . .” (DX-5523.11.) On PC specifically,

                          platform-holders retain only 5% of the share of profit, with

                          95% of the profit going to publishers. (DX-5523.11.) And

                          on PC, direct-to-consumer distribution captured more than

                          83% of consumer spend, whereas PC platforms (such as the

                          Microsoft Store) generated only 15% of sales.

                          (DX-5523.17.)

                   iii.   While Microsoft does not allow direct app distribution by

                          third parties and generally does not allow third-party app

                          stores on its Xbox platform (with the exception of EA

                          Play), those restrictions on Xbox are necessary to support

                          the subsidization model described above. (Wright Trial Tr.

                          551:24-552:13, 552:19-553:4, 619:15-620:2, 620:14-25.)

                                   207
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 216 of 644




                                       Ms. Wright testified that those restrictions would not be fair

                                       if Microsoft imposed them on its Windows business—

                                       which, like iOS, is a large general purpose platform—given

                                       “how those devices are used and how many people they

                                       reach”. (Wright Trial Tr. 657:15-25.)

               b.      In macOS, where Apple itself has not imposed limitations on app

                       distribution by third parties, multiple third-party app stores offer

                       distribution of apps, alongside direct distribution by multiple developers.

                       (Ex. Expert 1 (Evans) ¶ 106; Sweeney Trial Tr. 95:23-96:1 (“However,

                       Apple also operates the Mac App Store. And the Epic Games Store is, to

                       some extent, in competition with the Mac App Store in that we both sell

                       products to the same game users.”), 134:21-22; Federighi Trial Tr. 3470:2-

                       4.)

               c.      Several app stores served older mobile operating systems, including

                       Symbian, Blackberry and Windows Mobile. (Ex. Expert 1 (Evans) ¶ 165.)

               d.      Dozens of app stores, alongside direct distribution, are used by developers

                       of Android apps in China, where there is no limitation on distribution of

                       Android apps. (Ex. Expert 1 (Evans) ¶ 108; PX-1084.1.)

               306.    Apple recognizes that given the option, many developers would prefer to

distribute their apps outside the App Store, either through other stores or directly.




                                                208
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 217 of 644




               a.     Many developers of Mac apps choose to distribute their apps outside the

                      Mac App Store, including major developers such as Microsoft and Adobe.

                      (Federighi Trial Tr. 3477:1-12 (explaining that Adobe Photoshop is not

                      available on the Mac App Store but is available from Adobe’s website and

                      that Microsoft Office is available from both the Mac App Store and from

                      Microsoft directly); PX-133.1 (containing what Apple employees

                      described as “a rather comprehensive list of items” Adobe provided in

                      response to Apple “ask[ing] them about their limited participation in the

                      Mac App Store”).) For this reason and others, Mr. Cook admitted that the

                      revenues of the iOS App Store are “a lot larger” than the revenues from

                      the Mac App Store. (Cook Trial Tr. 3902:2-7.)

               b.     Apple executives have recognized that the Mac App Store matters only for

                      distribution of Apple’s own software and the apps of developers that

                      cannot create their own download store, because big developers have

                      many other choices. (PX-2386.1.)

               c.     Notably, not a single developer testified on Apple’s behalf to suggest that

                      Apple’s iOS business model is good for developers.

               307.   Epic asked Apple to allow Epic to open EGS on iOS and distribute iOS

apps but Apple refused. (Sweeney Trial Tr. 151:9-23 (“My purpose in writing the letter was two

things: First of all, to ask permission for Epic to release a store and use our own payment service




                                               209
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 218 of 644




on iOS. And second, to express the hope that Apple would make these feature available to all

developers.”).)

                  308.   Nvidia and Microsoft both asked Apple to allow them to offer catalogs of

cloud-streamed games through a native iOS app, but Apple refused. (Patel Trial Tr. 429:11-21,

438:15-439:7; Wright Trial Tr. 568:13-571:8, 579:1-10.)

                  309.   Big Fish, a gaming app, asked Apple to allow it to distribute games within

its app under a subscription model, but Apple refused. (PX-113.1-2; PX-114.1; Ex. Depo. 2 at

180:22-182:01, 182:23-183:09, 184:7-185:22 (Shoemaker).)

                  a.     At the time Apple rejected Big Fish’s game subscription app, Apple did

                         not have any guidelines prohibiting apps from offering other apps for

                         distribution, leading Apple’s then-head of app review to declare the

                         rejection “chicken shit. We don’t have a guideline for this.” (PX-114.1;

                         Ex. Depo. 2 at 184:7-185:22 (Shoemaker).)

                  310.   Professor Schmalensee conceded that “direct distribution does compete

with online marketplaces” such as app stores, and this “doesn’t happen on the iOS platform

because Apple forbids it”. (Schmalensee Trial Tr. 1917:1-8.) Accordingly, but for Apple’s

conduct, therefore, competing app stores would have entered the iOS App Distribution Market,

alongside the option of direct distribution of apps, offering a competitive alternative to the App

Store. (Ex. Expert 1 (Evans) ¶¶ 160-168; Evans Trial Tr. 1510:24-1511:7 (“I concluded that in

the absence of the restrictions, there would be multiple alternative App Stores, as we see in other

environments where there are no restrictions or no meaningful restrictions on app distribution,

                                                 210
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 219 of 644




and that developers would use direct distribution to get apps into the hands of consumers”),

1537:8-17 (“[The aftermarket] includes third-party app stores, which would include the App

Store, and it includes direct distribution.”).)

                a.      Match Group, for example, would explore distributing its apps outside of

                        the App Store if it had the option to do so. (Ex. Depo. 1 at 33:8-16, 33:18-

                        34:7 (Ong).)

                b.      Down Dog would distribute directly from its website on iOS if possible.

                        (Simon Trial Tr. 392:6-18 (“Certainly if users could visit our website and

                        install directly from our website, we would support that.”).)

        B.      Apple’s Conduct Increases the Price of Apps to Consumers.

                311.    Competition resulting from the elimination of artificial barriers generally

results in increased productive efficiency and consumer welfare. (Evans Trial Tr. 1551:15-

1552:2 (“We know from economics, both theory but also practical experience, in situations

where there are barriers to competition and they’re removed that what typically happens and

what you would expect to happen is that once competition is possible and those barriers are

removed, that prices tend to fall [and] quality tends to improve.”).)

                312.    To examine the effect on competition in the iOS distribution market,

Dr. Evans modeled entry of two new stores, each capturing 25% of the market (with Apple

retaining a 50% market share). Under these assumptions of limited entry, and assuming the two

entrants, rather than competing vigorously over price, would earn a profit margin of over 45%,

Dr. Evans found that market-wide app store commissions would decline to a commission rate of


                                                  211
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 220 of 644




15.6%; the average price of apps (assuming a 50% pass-through rate) would decline by 6.5%;

and output would expand by 16%. (Ex. Expert 1 (Evans) ¶¶ 183-84.) Dr. Evans further found

that under his model, both the new entrants and Apple would be incentivized to spend

significantly more than Apple does today on improving the quality of app distribution. (Ex.

Expert 1 (Evans) ¶ 190.)

              313.    Epic’s EGS charges a 12% commission for app distribution, as well as a

12% commission for in-app purchases when the app developer chooses to use Epic direct

payment for in-app purchases. (Sweeney Trial Tr. 126:1-7.) Developers of apps distributed

through EGS can also choose to use a competing payment solution for in-app purchases.

(Allison Trial Tr. 1221:8-1223:10.)

              a.      Absent Apple’s restrictions, Epic would enter iOS and offer developers an

                      alternative distribution platform at the same 12% commission rate.

                      (Sweeney Trial Tr. 97:5-98:4 (“[O]ur Epic Games Store business is

                      harmed by Apple’s policies because we are barred from introducing a

                      version of our store for iOS.”); see also Allison Trial Tr. 1233:11-21.)

                      Developers may decide to pass on some of those savings to consumers.

                      (See Simon Trial Tr. 354:8-16, 355:14-356:7, 356:8-20 (explaining that

                      Down Dog normally sets the web price of a subscriptions to its app 33%

                      cheaper than the price of a subscription purchased on iOS due to Apple’s

                      commission, and it passes on Apple’s commission fee to customers).)




                                              212
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 221 of 644
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 222 of 644




              e.      In the open PC and Mac platforms, 30% is no longer the standard

                      commission for app distribution. (See Allison Trial Tr. 1249:3-6,

                      1249:22-25, 1283:7-24, 1284:22-1285:10.)

              314.    Developers pass on the cost of Apple’s commission to consumers. (Ex.

Expert 1 (Evans) ¶ 275; Simon Trial Tr. 356:8-17, 356:18-20 (“I would say that our customers”

“ultimately bear[] the cost of Apple’s 30 percent commission”.).) Specifically, some developers

currently charge consumers more on iOS than they charge through other distribution channels

unencumbered by Apple’s 30% commission, “to help offset the delta” of iOS’s 30% fee.

(PX-533.10 (Apple employees discussing how CBS priced its All Access subscriptions higher on

iOS (where it faced a 30% commission) than on Apple TV (where it faced a 15% commission));

Ex. Depo. 12 at 174:21-23, 175:7-10, 176:23-177:5, 177:10-13, 177:15-17, 177:19-178:2,

178:10-21, 179:5-9 (Gray); Fischer Trial Tr: 911:4-15.)

              a.      Match Group, for example, takes into account Apple’s commission when

                      it sets prices within its iOS apps. (Ex. Depo. 1 at 74:8-10, 74:12 (Ong).)

                      As a result, its customers face higher prices within its iOS apps. (Ex.

                      Depo. 1 at 34:19-35:10, 84:1-3, 84:5-6, 84:22-85:3, 85:5-7 (Ong).) For

                      example, a subscription to Tinder purchased through a web browser is 10-

                      20% cheaper than a subscription purchased through the app. (Ex. Depo. 1

                      at 182:20-183:25 (Ong).)

              b.      Down Dog also takes into consideration Apple’s commission when it sets

                      prices within its iOS apps. (Simon Trial Tr. 356:8-17.) For example,

                                              214
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 223 of 644




                     Down Dog prices its subscription purchased through a web browser at 33

                     percent cheaper than a subscription purchased through the iOS app.

                     (Simon Trial Tr. 355:17-356:7.) This means that a subscription purchased

                     through the iOS app is 50 percent higher than the same subscription

                     purchased through a web browser. (Simon Trial Tr. 356:10-17.)

                     Ultimately, Down Dog’s customers bear the cost of Apple’s 30 percent

                     commission on Down Dog’s iOS subscription payments. (Simon Trial Tr.

                     356:18-20.)

              c.     This price differential exists even between iOS and other Apple platforms.

                     For example, CBS All Access charges $6.99 on iOS, where Apple’s fee is

                     30%, but only $5.99 on Apple TV, where Apple’s fee is 15%.

                     (PX-533.10; Ex. Depo. 12 at 176:23-177:5, 177:10-13; 177:15-17, 177:19-

                     178:2, 178:10-21, 179:5-9 (Gray).)

       C.     Apple’s Conduct Harms Innovation.

              315.   Apple’s conduct harms innovation in both app distribution and app

development. (Sweeney Trial Tr. 97:10 (“Apple’s policies harm every facet of our business.”).)

              316.   Apple has recognized that the high costs it imposes on developers harm

innovation.

              a.     Many businesses— including small businesses—cannot afford to absorb

                     Apple’s commission rates, whether 30% or 15%, and cannot afford to pass




                                             215
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 224 of 644




                     the costs on to consumers without losing users. (Ex. Expert 1 (Evans)

                     ¶ 275.)

              b.     Apple recognized this reality since the early days of the App Store. In a

                     2011 email to Mr. Cue and Mr. Schiller, Mr. Jobs acknowledged that

                     paying Apple’s App Store commission “is prohibitive for many things.”

                     (PX-438.1 (Mr. Cue noting that “[t]he problem is many can afford 30%

                     but others will say they can’t”); Ex. Depo. 3 at 333:16-334:9 (Cue).)

              c.     When Apple ultimately announced the Small Business Program, Apple

                     stated that it expected the reduced commission would enhance innovation.

                     (DX-4096.1 (“Apple announces App Store Small Business Program”).)

              317.   Apple’s conduct further harms innovation by preventing new and

innovative distribution models on iOS that could benefit developers and consumers.

              a.     Apple blocked the entry of web app stores. (PX-111; Ex. Depo. 2 at

                     175:4-176:7 (Shoemaker).)

              b.     Apple blocked the entry of app streaming services as native apps, forcing

                     them to enter only as inferior web apps. (Patel Trial Tr. 430:10-434:17;

                     Wright Trial Tr. 579:1-10.)

              c.     Apple blocked various “store within a store” models, including apps from

                     Big Fish, Amazon, Tribe and others. (PX-115.1 (“Big Fish Unlimited is

                     seen as a game store within an app. This is not allowed. . . . We have no

                     clear guidelines around this.”); PX-301.1 (“This is an ERB ruling and the

                                             216
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 225 of 644




                        [Tribe] app will be hidden for being a store without our store. . . .

                        Unfortunately, the app has been live since 2015 so this is shocking for

                        them . . . .”); PX-191; Ex. Depo. 17 at 237:2-237:5 (Oliver).)

                d.      Apple blocked competing app stores, including EGS. (Sweeney Trial Tr.

                        97:24-98:4 (“[O]ur Epic Games Store business is harmed by Apple’s

                        policies because we are barred from introducing a version of our store for

                        iOS.”).) This has prevented the Epic Games Store from accessing a

                        market with over one billion users. (Allison Trial Tr. 1234:2-8 (noting

                        that although “[m]obile devices have billions of players at the end of the

                        screen” and that “[i]t’s an incredibly large total addressable market”, Epic

                        is “not able to go after that addressable market with the growth plan”

                        because of Apple’s restrictions).)

                e.      Apple prevents developers from offering iOS apps for download directly

                        from developer webpages. (Simon Trial Tr. 392:6-17 (noting that the

                        Down Dog app is only available through the App Store, but “if users could

                        visit our website and install directly from our website, we would support

                        that.”).)

                318.    Apple’s 30% commission harms innovation by limiting investment.

(Sweeney Trial Tr. 92:8-13 (“Apple is in possession of this 30-percent commission. In my

experience [it] is a really significant economic drag on the economics of the products, which

certainly impacted Epic’s pricing decisions and led to . . . the ability to . . . reinvest less in our

                                                  217
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 226 of 644




business than we otherwise would have been able to if the commission weren’t present.”); see

also Sweeney Trial Tr. 92:20-22 (“Apple’s policies had, in many ways, prevented us from

implementing the sorts of features that we wanted in Fortnite that we had been able to implement

on other platforms.”).)

               a.      This is especially true for game developers, whose mandated contributions

                       effectively subsidize all other developers who pay either lower or no

                       commissions to Apple. As Mr. Cook testified, the majority of App Store

                       revenue comes from games, and such games provide “some sort of

                       subsidy” to the remaining “bulk of the apps on the App Store[, which] are

                       free”. (Cook Trial Tr. 3987:9-10, 3988:15-24.)

               319.    Finally, Apple’s conduct harms innovation by insulating the App Store

from competitive pressures. As a result, Apple has been able to offer poor services to developers

with impunity. Several examples follow.

               320.    First, Apple claims that it “curates” the App Store. The volume of apps on

the App Store—1.8 million—undermines this claim. (Cook Trial Tr. 3926:3-3928:3.)

               321.    In light of the staggering number of apps available on the App Store,

developers are not satisfied with the search and discoverability functionality of the App Store, as

Apple has been slow to adopt innovations in search technologies. (Sweeney Trial Tr. 90:14-18

(“[O]ne of the things that made the biggest impression . . . was when Apple entered a search ad

so that . . . a user searching for Fortnite saw an ad for a third-party game come up above the

listing for Fortnite . . .”); Ex. Expert 1 (Evans) ¶¶ 191-92 (noting that a May 2017 Apple survey

                                               218
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 227 of 644




of iOS app developers found that only 36% of U.S. developers expressed satisfaction with

whether the App Store “[e]nables discovery of my apps”); Evans Trial Tr. 1557:2-4 (“Research

and development . . . generate[s] innovation.”), id. at 1559:4-8 (Apple documents reveal that

Apple has invested little in research and development); DX-3922.072 (May 2017 Apple survey

showing that only 36% of U.S. iOS app developers agree that the App Store “[e]nables discovery

of my apps”); DX-3800.077 (March 2015 Apple survey showing that only 34% of U.S. iOS app

developers agree that the App Store “[e]nables discovery of my apps”); DX-3781.54 (July 2010

Apple survey showing that only 31% of developers were satisfied with the “[v]isibility of your

app on the App Store”).)

               a.     Discoverability refers to the way in which users can find apps in the App

                      Store and how developers can make their apps known to, and discoverable

                      by, users. (Evans Trial Tr. 1560:17-25 (“[Search and discovery

                      technology is what enables consumers to find apps that they are interested

                      in and it’s the technology that developers rely on to make sure that

                      consumers can find their apps.”), id. at 1561:3-6 (“I concluded that . . .

                      developers perceived significant problems with search and discovery in

                      the App Store and that that set of problems has persisted really for the past

                      decade.”).) In 2017, Apple’s own developer surveys found that only 36%

                      of developers were somewhat or very satisfied with the App Store’s search

                      and discoverability features. (DX-3922.072.) The remaining roughly

                      two-thirds of developers were dissatisfied or neither satisfied nor

                                               219
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 228 of 644




             dissatisfied. (Evans Trial Tr. 1561:17-1562:4; DX-3922.072.) This

             survey is consistent with other years (DX-3800.077 (2015); DX-3781.54

             (2010)), and with the study of App Store R&D, which shows that Apple is

             not investing in “a core technology” of the App Store. (Evans Trial Tr.

             1562:5-18.)

       b.    One way for apps to be discovered on iOS is through Apple’s “charts”,

             which list the most popular apps in certain categories. (Fischer Trial Tr.

             934:4-16.)

       c.    “Chart gaming” refers to a form of fraud whereby developers can

             “manipulat[e] . . . inputs to the charting level for them to appear more

             popular”. (Ex. Depo. 6 at 137:11-17 (Friedman).)

       d.    Mr. Friedman, whose team was tasked with identifying instances of “chart

             gaming” in the App Store, stated that Apple’s discovery features do little

             to help users and developers, as such features are fraud-ridden: “[O]ur

             App Store charts aren’t really a discovery tool at all. Yes, they do drive

             some conversions, but that is (I suspect and haven’t verified) mostly the

             bots and/or humans responding to incentives from promotional

             companies”. (PX-254.1; Ex. Depo. 6 at 136:2-18, 141:12-142:3

             (Friedman).)

       e.    Another way by which apps are discovered is through search functionality.

             Developers, however, have been widely dissatisfied with the App Store’s

                                      220
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 229 of 644




              search functionality for years, as reflected in multiple surveys conducted

              by Apple over the years. (Evans Trial Tr. 1561:1-1562:2; DX-3922.072;

              PX-2284; DX-3800.077; PX-2062.1)

       f.     After Tim Cook acknowledged that Apple “need[ed] to do much more to

              improve discovery” in response to a developer complaint in 2015 (PX-

              0089.2), Apple subsequently introduced Search Ads in 2016. (Cook Trial

              Tr. 3889:16-3890:2.) But developers’ dissatisfaction with the search

              functionality was only enhanced by Apple’s introduction of paid search

              advertising on the App Store. Specifically, Apple sells ad space to

              competitors, such that when a user searches for “Tinder”, for example, he

              or she may first be presented with competing apps rather than the app they

              had searched for. (Ex. Depo. 1 at 59:14-16, 59:18-60:14 (Ong);

              PX-2062.1 (“Search in the app store is still really rough around the

              edges”; “App Store is plagued with low-quality apps that makes it harder

              for higher quality apps to get the exposure they need”; “Apple store needs

              to have a ‘smart search’ ability [as] [h]aving to require customers to spell

              names exactly correct in this age is ridiculous for a multi-billion dollar

              company.”)

       322.   Developers are likewise dissatisfied with Apple’s promotion of apps.

       a.     In Match Group’s experience, Apple’s App Store promotions do not drive

              a meaningful number of users to find its Tinder app; rather, users

                                       221
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 230 of 644
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 231 of 644




(March 2015 App Store Developers Profiling Research); PX-2284 (July 2016 US App Store

Developer Survey); DX-3922 (May 2017 Developer Study), DX-3513 (July 2018 Developer

Survey Results China, India, Japan, UK and US); PX-2062 (Summary of Developer Write-In’s

from July 2018 Survey).)

              324.    At trial, Apple’s witnesses attempted to distance themselves from Apple’s

own surveys of developers. While he claimed to not recognize or recall them (Fischer Trial Tr.

976:23-978:16-21), Matt Fischer was shown several Apple App Store developer surveys and

presentations that had been produced by Apple and by Apple’s counsel as exhibits to be used in

his examination. (DX-3781; DX-3800; DX-3922.) These surveys show the following:

              a.      Even as early as 2010, developers expressed dissatisfaction with both the

                      App review process and discoverability on the App Store. (DX-3781.59.)

                             i.     In 2015, the vast majority of survey respondents gave the

                                    App Store low ratings for profitability, discoverability and

                                    marketability. (DX-3800.74.)

                             ii.    A slide presentation for Phil Schiller summarized the 2016

                                    survey results: “Developers don’t believe that the App

                                    Store enables profitability of their apps, enables app

                                    discovery, or provides the tools to successfully market their

                                    apps.” (PX-2284.6.)

                             iii.   A May 2017 Apple survey of U.S. iOS app developers

                                    found that only 38% agreed that the App Store “[e]nables

                                              223
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 232 of 644




                                      profitability of my apps”; only 35% agreed that the App

                                      Store “provides the tools I need to successfully market

                                      apps”; and only 36% agreed that the App Store “[e]nables

                                      discovery of my apps”. (DX-3922.70, .72, .74.)

       D.       Apple Self-Preferences Its Own Apps.

                325.   Apple further harms competition by using its control over all iOS app

distribution to self-preference its own apps at the expense of competing apps. As Apple’s CEO

acknowledged, Apple is the only entity that can make recommendations or feature apps on the

App Store. (Cook Trial Tr. 3929:1-8.)

                326.   Apple’s excessive commissions raise the cost of rival apps and put such

rival apps at a competitive disadvantage vis-à-vis Apple. (PX-99.5-6; Ex. Depo. 2 at 75:14-76:5

(Shoemaker).)

                327.   Apple has self-preferenced its own apps through the app review process.

                a.     Through App Review, Apple has learned details regarding third-party

                       apps, which Apple has used to develop competing iOS apps. (Ex. Depo. 2

                       at 84:16-85:8, 480:7-480:15 (Shoemaker).)

                b.     In addition, “competing apps” or apps that “arguably . . . compete with

                       Apple in some way or another” have “faced a lot of barriers” to approval

                       during App Review. (Ex. Depo. 2 at 76:6-77:2 (Shoemaker); PX-119.99.)

                c.     Apple has used the App Store “as a weapon against competitors” (PX-

                       99.5; Ex. Depo. 2 at 75:14-76:5 (Shoemaker)) and has rejected or delayed


                                               224
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 233 of 644




              competing apps on “pretextual grounds” (Ex. Depo. 2 at 88:2-8

              (Shoemaker)). For example, Apple did not approve Google Voice—a

              calling app that Apple speculated could make “phone number[s]

              disappear”— for about a year after it initially went through the App

              Review process. (Ex. Depo. 2 at 76:13-25 (Shoemaker).) The delay in

              approval was attributed to internal concerns that the iPhone would

              “disappear . . . in [the] guise of a Google phone”. (Ex. Depo. 2 at 76:13-

              76:25 (Shoemaker).)

       d.     In another instance, an app that was compatible with a competitor to the

              Apple Watch was halted in App Review for several weeks. (Ex. Depo. 2

              at 490:13-491:7 (Shoemaker).)

       e.     Some app reviewers believed that Apple would not want to approve apps

              that compete against Apple. (Ex. Depo. 2 at 491:17-21 (Shoemaker).)

       f.     According to the former head of App Review, Apple’s senior executives

              would find pretextual reasons to remove apps from the App Store,

              particularly when those apps competed with Apple services. (Ex. Depo. 2

              at 230:03-25 (Shoemaker); PX-119.367.)

       328.   Apple has prioritized the discoverability of its own apps.

       a.     In May 2016, Apple employees considered featuring on the App Store

              certain “Google and Amazon apps” that were accessible to individuals

              with visual disabilities. Tanya Washburn, the App Store’s Director of

                                      225
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 234 of 644




             Operations, asked these Apple employees “to exclude [the Google and

             Amazon apps] from the [VoiceOver] lineup” because “[a]lthough they

             may be our best and the brightest apps, Matt [Fischer, Vice President of

             the App Store,] feels extremely strong about not featuring our competitors

             on the App Store”. (PX-58.1; DX-3419.3 (describing the VoiceOver

             feature as an “accessibility tool for the visually impaired”); Fischer Trial

             Tr. 837:3-838:3.)

       b.    In 2018, Apple prioritized its “Files” filesharing app over the competing

             “Dropbox” app. As a result, “Dropbox wasn’t even visible on the first

             page” of search results when a user searched specifically for “Dropbox” in

             the App Store. Instead, an Apple employee admitted that Apple had

             “manually boosted” its own Files app to “the top for the query

             ‘Dropbox’”. (PX-52.1-2.)

       c.    Although Apple contends that it “do[es] not allow search ads from

             Apple’s products” (Schiller Trial Tr. 2819:13-14), App Store searches for

             terms such as “books”, “music” and “news” return Apple’s apps as the

             first non-ad results. (See PX-1854 (Apple Books is the first non-ad

             result); PX-1855 (Apple Music is the first non-ad result); PX-1856 (Apple

             News is the first non-ad result).)




                                      226
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 235 of 644




              329.   Apple does not apply some of its own rules to its own apps.

              a.     For example, Mr. Simon of Down Dog testified that, although Apple

                     prevents third-party apps from using push notifications for marketing,

                     Apple itself uses push notifications to promote its Apple Fitness app.

                     (Simon Trial Tr. 388:18-24.)

              b.     In 2019, App Review rejected the LinkedIn app “for using the same

                     language on their subscription call to action button that Apple uses in our

                     own apps”. (PX-857.1.) In response to complaints by LinkedIn that it was

                     not permitted to engage in marketing that was seen for Apple’s own apps,

                     Shaan Pruden, Senior Director of Developer Relations, wrote,

                     “Developers (latest LinkedIn) cannot fathom why our apps are permitted

                     to do things they are not . . . .” (PX-858.2; Kosmynka Trial Tr. 1028:11-

                     1030:4.)

              c.     Amazon also “complain[ed] about this”. (PX-858.2; Kosmynka Trial Tr.

                     1029:20-23.)

              330.   Apple has historically rejected apps that provide “embedded games”

because they are “not allowed” under the Guidelines. (PX-112.1-2.)

              a.     In 2019, Apple announced Apple Arcade, a subscription games service,

                     which competes with other game stores. (Fischer Trial Tr. 901:7-11.)

                     Regarding this service, after his departure from Apple, Mr. Shoemaker

                     commented, “[w]ith the new Apple Arcade announcement, it is making

                                             227
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 236 of 644




                       available a type of app that Apple has consistently disallowed on the store.

                       But now it is OK for them to make this app available, even though it

                       violates the existing guidelines?” (PX-99.6.)

               b.      Apple also repeatedly rejects similar features and functionality in other

                       developers’ gaming apps.

                                  i.   In 2011, the ERB asked Mr. Shoemaker “to hide” and

                                       “remov[e]” an app called Big Fish Games and offered “no

                                       guideline” as the basis for doing so. (PX-113.1-2;

                                       Ex. Depo. 2 at 180:22-181:12 (Shoemaker).) The app was

                                       rejected for being a store within a store. (PX-113.1-2;

                                       Ex. Depo. 2 at 180:22-181:12 (Shoemaker).)

       E.      Apple Has Rejected ‘Store Within a Store’ Apps for Anti-competitive
               Reasons, Not Because of Security Concerns.

               331.    Despite Apple’s policies, there are several apps on iOS that do offer (or

have in the past offered) access to other apps, and thus constitute “stores within a store”.

Regardless of the reason Apple allows these apps on the store, these apps have not caused any

security issues. (Kosmynka Trial Tr. 1004:25-1005:2 (“Q. So That’s approximately three years

that the Tribe app was on the App Store before the ERB ruling, correct? A. Correct.”), id. at

1005:10-15 (“Q. While it was on the App Store before it was removed for being a violation of

the store-within-a-store guideline, you are not aware of any security issue arising with respect to

Tribe while it was available on the App Store, right? A. I’m not aware of any issues outside this

particular guideline issue.”).)
                                                228
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 237 of 644




               332.    Tribe is an app store that was available through the App Store for a three-

year period: 2015-2018. (PX-301.1; Kosmynka Trial Tr. 1004:25-1005:2 (“Q. So that’s

approximately three years that the Tribe app was on the App Store before the ERB ruling, right?

A. Correct.”).)

               a.      Tribe is described as a “live multiplayer games platform”. (PX-301.1.)

               b.      After being available for three years through the App Store, in 2018,

                       Apple informed Tribe that it would be “hidden-deleted” because it

                       violated Guidelines § 3.2.2 by being a store within a store. (PX-301.1.)

               c.      The founder of Tribe, Cyril Paglino, complained that Apple’s explanation

                       for removal was “vague” and that “Apple just changed its guidelines about

                       applications that have onboarded mini games inside”. (PX-301.2.)

               d.      There was no mention of security in either the message conveyed to Ms.

                       Paglino or the Apple employee’s description of the reasons for the app’s

                       removal. (PX-301.1-2.)

               e.      Apple has not identified any security issue posed by Tribe during the time

                       it was available on the App Store. (Kosmynka Trial Tr. 1005:24-1006:1

                       (“Q. So the answer is yes, you are no aware of any specific security issues

                       with Tribe? A. Yes.”).)

               333.    At present, Apple knowingly has at least one store-within-a-store on iOS:

Roblox. (Kosmynka Trial Tr. 1014:14-15 (“Q. And Roblox is still on the App Store today,

right? A. That’s right.”).)

                                                 229
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 238 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 239 of 644




                d.     Apple has “earned commissions from in-app purchases from” Roblox.

                       (Ex. Depo. 9 at 60:11-17 (Fischer).)

                e.     In December 2014, Roblox was escalated to the ERB for the same “store

                       within a store” issue. It was approved. (PX-305.1-2.)

                f.     Roblox was approved even though the ERB recognized that “[t]he app is

                       streaming games” that “don’t come into review”. (PX-305.1.)

                g.     Apple is unaware of security issues introduced onto iOS as a result of

                       Roblox. (Kosmynka Trial Tr. 1016:22-24 (“Q. You are not aware of any

                       guideline violations by Roblox that implicate security concerns, right? A.

                       Not at this time.”).)

                334.   In 2011, Apple rejected an app called “The Web Store” because it did “not

want apps that replace[d] [its] store with web apps”. (PX-111.2; Ex. Depo. 2 at 175:4-176:7

(Shoemaker).)

                335.   That same year, and then again in 2013, Apple rejected apps offering

game subscriptions developed by Big Fish, noting the Big Fish apps were “seen as a game store

within an app”. (PX-115.1; Ex. Depo. 2 at 186:1-15 (Shoemaker).)

                336.   Apple has also rejected an app called WeChat, “a social network

platform”, for being a store within a store. (Schiller Trial Tr. 3115:1-9.)

                337.   In fact, Apple has not conducted any studies of whether third-party app

stores increase the security risks to iOS users. (See, e.g., Kosmynka Trial Tr. 1007:9-17, 21-24




                                                231
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 240 of 644




(“You were not aware of any study that was done of any apps that were downloaded through the

Tribe store that related to security; isn’t that right? A. I’m not aware of any studies, no.”).)

               338.    Apple has acknowledged that rejections on this basis may be “anti-

competitive”. (PX-191.4.)

               a.      In April 2018, Amazon proposed offering a subscription service called

                       “Amazon FreeTime Unlimited”, which it marketed as “a subscription for

                       kids that offers unlimited access to over 10,000 kid-friendly videos, books

                       and apps/games”. (PX-191.3.)

               b.      In evaluating this app, individuals on Apple’s Business Management team

                       expressed concern that “[f]rom a business perspective, the launch of this

                       service raises strong concerns about the potential risk of cannibalization to

                       our existing Kids’ business, as well as the loss of control of curation and

                       discovery of our Kids catalog to FreeTime. This service may also pose a

                       competitive threat to Apple’s current or future first-party subscription

                       offerings”. (PX-191.5.)

               c.      An Apple employee, Mr. Tom Reyburn, who was a point of contact with

                       developers such as Amazon, acknowledged that these concerns “sound

                       anti-competitive” and that “[t]he developers who participate with HTML5

                       games in the FreeTime app have chosen to make those games available

                       through that app in addition to their direct app offerings. It’s up to

                       customers to decide how they want to consume that content.” (PX-191.4.)

                                                 232
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 241 of 644




                d.     Ultimately, the ERB rejected this app on a number of grounds, including

                       that it was considered a “[s]tore within a store”. (PX-2126.1.)

       F.       Apple’s Conduct Increases Barriers to Switching by Preventing the
                Development of Effective Middleware.

                339.   In economic terms, middleware is any technology that reduces the cost of

a user switching between operating system platforms, whether completely or by mixing-and-

matching devices with different operating systems, or that reduces the cost for developers of

developing apps compatible with multiple operating systems. (Athey Trial Tr. 1772:11-16

(“Middleware is a technology that facilitates users and developers interacting across

platforms . . . .”); Ex. Expert 4 (Athey) ¶ 47.)

                340.   Multi-platform app stores (i.e., app stores that are available across

multiple platforms, such as iOS and Android) could be an important form of middleware. (Athey

Trial Tr. 1773:17-1774:9; Ex. Expert 4 (Athey) ¶ 49; Ex. Depo. 2 at 66:1-24, 67:6-9

(Shoemaker).)

                a.     For example, a multi-platform store could recognize a user’s purchases

                       across platforms, which would allow the user to purchase an app once and

                       use it on all of the platforms that are compatible with the multi-platform

                       store. (Ex. Expert 4 (Athey) ¶¶ 50-51.)

                b.     A multi-platform store would also allow parents to set various parental

                       controls for different devices across several operating systems. (Athey

                       Trial Tr. 1764:1-10; Ex. Expert 4 (Athey) ¶¶ 31, 78; Schiller Trial

                       Tr. 2963:3-10.)
                                                   233
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 242 of 644




               c.     In turn, multi-platform stores could allow parents to purchase lower-cost

                      smartphones or tablets for their children outside of the operating system(s)

                      of the parents’ devices, because parents would be better able to interact

                      with their children’s devices even though they use a different operating

                      system than the parent’s devices. (Ex. Expert 4 (Athey) ¶ 33; PX-407.1

                      (Craig Federighi: “I am concerned the iMessage on Android would simply

                      serve to remove [an] obstacle to iPhone families giving their kids Android

                      phones.”); PX-892.2.)

               d.     A multi-platform store would reduce certain duplicative platform-specific

                      costs by allowing developers to: (i) manage a single store front; (ii)

                      manage customers in a coordinated way; and (iii) submit updates across

                      all platforms simultaneously (Ex. Expert 4 (Athey) ¶¶ 53, 61; Allison Trial

                      Tr. 1224:4-1225:7.)

               341.   Apple recognizes the threat of multi-platform stores and other types of

middleware and has taken active steps to prevent their emergence. Several examples follow.

               342.   By foreclosing all third-party app stores, Apple has prevented the

development of multi-platform app stores. (See, e.g., Sweeney Trial Tr. 97:24-98:4 (“[O]ur Epic

Games Store business is harmed by Apple’s policies because we are barred from introducing a

version of our store for iOS. So we can operate on PC and Mac, but we cannot, because of

Apple’s policies, distribute apps on iOS, and that locks us out of a very large worldwide business

we would love to be in.”); Athey Trial Tr. 1837:24-1838:1.)

                                               234
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 243 of 644




               343.    Apple has likewise foreclosed other multi-platform development

platforms. For example, Apple has declined to allow on the iPhone a multi-platform widget

engine that Yahoo sought to build for the iPhone in 2008, Sun Java, Adobe Flash, Microsoft

Silverlight and Qualcomm Brew, all of which are cross-platform developer tools. (PX-882.1;

Ex. Depo. 4 at 183:22-184:7, 192:23-194:8, 194:21-22, 195:1-10 (Forstall).) Mr. Schiller

summarized Apple’s decision not to support the Yahoo engine as follows: “we have a way to do

Widgets that competes with theirs, so who cares?” (PX-882.1; see also id. (“With one API

(ours) we can manage what is on our products and what is not. If we open it up then we don’t

sign all apps, we don’t distribute all apps, etc. Which is the same as throwing out the whole plan

we have in place.”); Ex. Depo. 4 at 192:23-194:8 (Forstall).)

Apple further banned the use of any and all cross-compilers (compilers that can be used to write

to multiple platforms at once) to write apps for iOS. (Ex. Depo. 4 at 196:4-7, 198:10-14

(Forstall).) At the time, an article in Business Insider noted: “We’re tempted to wonder if this

change will make its platform less popular with developers. But we won’t, because, for better or

worse, when a platform can present so many attractive users the way Apple’s iPhone can,

developers tend to get in line—no matter how much they don’t want to.” (PX-883; Ex. Depo. 4

at 196:12-24 (Forstall).)




                                               235
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 244 of 644




VI.    APPLE HAS AND EXERCISES MONOPOLY POWER IN THE MARKET FOR
       PAYMENT SOLUTIONS FOR ACCEPTING AND PROCESSING PAYMENTS
       FOR DIGITAL CONTENT PURCHASED WITHIN AN iOS APP.

       A.      There Is a Separate Aftermarket for Payment Solutions for Accepting and
               Processing Payments for Digital Content Purchased Within an iOS App
               (“iOS In-App Payment Solutions Market”).

               344.    In-app purchases permit app developers to offer extra content for purchase

by app users, such as an extra level in a game or enhanced features in a fitness app, without the

user having to leave the app to make the purchase. (Sweeney Trial Tr. 109:12-15 (“In-app

purchase refers to the capability of a user to spend money within an app without having to leave

the app and go to another place in order to get typically a benefit of some sort within the app.”);

Ex. Depo. 4 at 252:24-253:11 (Forstall).)

               345.    In-app payment solutions are not substitutable with payment solutions for

handling transactions outside of the app. (Sweeney Trial Tr. 110:15-18 (“In-app purchases are

far more convenient than out-of-app purchases.”), id. at 335:6-9 (“[W]e appreciate that there is a

huge amount of payment processing and customer friction associated with selling a user of an

app an item outside of that app.”); Evans Trial Tr. 1643:15-1644:5.)

               346.    The goal of in-app purchases is to offer users transactions that are as

frictionless and as easy as possible. (Sweeney Trial Tr. 109:12-15; Hitt Trial Tr. 2153:15-

2157:25 (discussing payment frictions and noting that developers want minimal purchase

friction); (Cook Trial Tr. 3911:3-15 (“And would you agree with me, then, that one of the

benefits of IAP for your customers is that it makes it easier for them to make purchases? A. It

would.”), id. at 3912:11-17 (“So fair to assume, sir, that Apple would prefer that people make


                                                236
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 245 of 644




their purchases in the app so that Apple can earn some revenue and there can be a good user

experience . . . rather than have people go outside of the app? . . . . A. Well, we try to make it as

easy as possible.”); Rubin Trial Tr. 4018:14-25 (“[O]ne of the benefits of IAP is that it provides

a frictionless experience; isn’t that right? A. Yes.”).)

               347.    Even where developers offer the same digital content for sale both in-app

and outside the app, completing such sales outside the app—whether through a web browser on

an iOS device or on a separate device—introduces substantial friction by requiring the user to go

through multiple steps, including: leaving the app; identifying the alternative platform where

relevant purchases can be made; navigating to the relevant website or app on that alternative

platform; logging in to the user’s account; locating the content the user is interested in

purchasing; entering payment credentials (typically required at least for an initial purchase);

logging out of the alternative platform; and going back into the app. (Sweeney Trial Tr. 110:18-

111:1 (“Users in Fortnite . . . [when] they see an interesting cosmetic item available, in-app

purchase makes it possible for them to buy it immediately with just a few taps on their screen;

whereas out-of-app purchase would require the player to leave Fortnite, perhaps open a web

browser, navigate to a web page, and separately make a purchase there. Perhaps have to log in

separately as well. So out-of-app purchase has far more friction than in-app purchase.”);

Weissinger Trial Tr. 1304:25-1305:21.)

               348.    Moreover, Apple could not prove that there was insignificant friction

associated with making game content purchases outside of a native app. When confronted in

court with some of the frictions associated with purchasing iOS game content on a web browser

                                                 237
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 246 of 644




on an iOS device, Apple’s expert Professor Hitt could not explain how to make one of the

“frictionless” web browser purchases he had testified about, instead stating that he would need to

consult his research team in order to do so. (Hitt Trial Tr. 2219:20-2220:23, 2228:18-2229:6.)

When pressed by the Court on the difficulty of completing game content transactions outside of

the iOS app that was evident from the demonstration, Professor Hitt could not provide “any

logical explanation” for the friction encountered in the demonstration. (Hitt Trial Tr. 2228:18-

2229:6.)

               349.    Apple also could not prove the availability of more than a few iOS games

that allow users to purchase content outside of the iOS app. Despite touting users’ supposed

ability to buy in-game content on an iOS web browser for 32% and 8% of the Top 25 iOS games

by revenues and by downloads respectively (see Ex. Expert 6 (Hitt) ¶ 51), Professor Hitt was

unable to back even these low numbers up in Court. Upon being shown a developer website that

stated explicitly that one of the games that supposedly supported his availability statistics games

did not support purchases outside of iOS and Android, Professor Hitt again could not explain the

discrepancy. (Hitt Trial Tr. 2221:23-2222:19.)

                       a.     Apple’s CEO also acknowledged that buying items on the web

                              “takes another click to leave the app” (Cook Trial Tr. 3914:2-6),

                              that IAP “makes it easier for [customers] to make purchases”

                              (Cook Trial Tr. 3911:12-15, 3912:19-21), and that it would be “a

                              negative user experience . . . if [customers] have to leave the app”

                              to make purchases for in-app goods (Cook Trial Tr. 3912:4-6).

                                                238
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 247 of 644




                      b.     Apple’s expert, Dr. Rubin, also admitted that one of the benefits of

                             IAP is that it provides a “frictionless experience” for customers.

                             Specifically, Dr. Rubin testified that a member of the Apple

                             engineering staff itself explained to him that IAP “minimizes the

                             amount of effort that a consumer has to put in in order to make a

                             purchase”. (Rubin Trial Tr. 4018:14-4019:5.)

                      c.     The friction involved with leaving the app is a real cost. For

                             example, Google pays Apple billions of dollars to be the default

                             search engine on iPhone’s Safari browser—a default that users can

                             change with a few taps. (See PX-2391.86; Cook Trial Tr. 3979:14-

                             3980:13.) The deal has value to Google because users are unlikely

                             to go out of their way by changing the default search engine on

                             their iPhone. (See Cook Trial Tr. 3915:17-3917:11.)

              350.    Accordingly, developers do not view payment processing solutions

outside of iOS apps as interchangeable with in-app payment processing solutions.

                      a.     Convenience is particularly important for in-app purchases, many

                             of which are small or time-sensitive. An extended delay may

                             cause the consumer to change their mind. Consumers are less

                             likely to make purchases if they have to leave the app to do so,

                             meaning in-app purchases lead to more transactions and more




                                              239
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 248 of 644




                              revenue for developers. (Sweeney Trial Tr. 109:12-15, 110:17-

                              111:1, 334:17-335:9; Cook Trial Tr. 3911:3-18.)

                      b.      Consumers are more likely to stop engaging with an app if they

                              have to leave the app to make a purchase. Therefore, developers

                              view being able to offer in-app purchases as essential. (Sweeney

                              Trial Tr. 336:25-337:3 (“Customer convenience is a huge factor in

                              [in app purchasing]. People are much more likely to make a

                              purchase if it is easy to make a purchase than if it’s very hard.”).)

                      c.      Despite claiming that app developers are highly incentivized to

                              avoid the Apple commission by encouraging users to execute

                              transactions outside of the native iOS app, Apple’s expert

                              Professor Hitt could not identify a single developer other than Epic

                              that encourages its users to transact outside of the App Store. (Hitt

                              Trial Tr. 2195:12-2196:19.)

               351.   At trial, Apple pointed to apps like Fortnite that support cross-progression,

which allows users to transfer digital content within an app across platforms, and cross-platform

currency, which allows users to transfer digital currency within an app across platforms.

(Sweeney Trial Tr. 299:9-25, 232:18-233:1.) Although users and developers can theoretically

bypass Apple’s IAP with these features (see id.), these features do not discipline Apple’s

conduct.




                                               240
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 249 of 644




             a.    Apple did not attempt to prove that many or most apps on iOS

                   support cross-progression or cross-platform currency.

             b.    Apple did not produce contemporaneous evidence that the

                   availability of cross-progression or cross-platform currency on iOS

                   caused Apple to consider changes to its IAP requirements.

             c.    As explained above, purchasing digital content outside of an app

                   entails significant friction. As a result, even for an app like

                   Fortnite that supports cross-progression and cross-platform

                   currency, the “large bulk” of purchases of digital content for

                   Fortnite come from buying within the app as opposed to

                   purchasing V-Bucks outside of Fortnite. (Weissinger Trial

                   Tr. 1302:16-21.)

             d.    Even where the same apps are available on iOS and a game

                   console, few view transactions on an iPhone as reasonably

                   interchangeable with transactions on a console. Ms. Wright of

                   Microsoft, for example, testified that the App Store does not

                   compete with the Xbox Store, and transactions in apps such as

                   Minecraft, Roblox and Fortnite on Xbox are not substitutes for

                   transactions in those same apps on iOS. (Wright Trial Tr. 548:24-

                   549:25.)




                                      241
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 250 of 644




               352.   Multiple third party payment solution providers offer in-app payment

processing solutions for app developers, including Stripe, Amazon Pay, Braintree, PayPal, Chase

Paymentech (“Chase”), Checkout.com, Adyen and Square. (Ko Trial Tr. 803:2-6; PX-2452.3;

Fischer Trial Tr. 907:4-12; Simon Trial Tr. 353:3-7.) These online payment solution providers

compete with each other along a number of dimensions, including their “technical

sophistications, user experiences, operational excellency, and their service level commitment”,

meaning “24 by 7, 365 days of operational working conditions”. (Ko Trial Tr. 806:14-21; PX-

2451.1, .25, .28, .30, .39; PX-2452.5-6.) They also compete on “conversion ratios”—the rate at

which legitimate transactions are successfully processed—as well as processing costs. (Ko Trial

Tr. 803:7-18, 807:10-16; PX-2452.5-6, .10.) Additionally, payment solution providers compete

on the basis of fraud and chargeback rates, meaning the percentage of transactions that are

reversed on the basis that the customer has asserted they were not authorized. (Ko Trial Tr.

804:18-805:17; PX-2451.33-34; PX-2452.3.)

               353.   Apple requires developers to use Apple’s payment processing interface,

known as the In-App Purchase (“IAP”) API, for all in-app purchases of digital goods within iOS

apps. (PX-56 (App Store Review Guidelines) § 3.1.1.)

               354.   Because transactions outside the app are poor substitutes for in-app

purchases, a hypothetical monopolist could profitably impose a SSNIP on fees for payment

processing solutions used to execute in-app purchases of digital content within iOS apps.

(Ex. Expert 1 (Evans) ¶ 263; Evans Trial Tr. 1602:23-1603-11, 1717:25-1718:13.)




                                               242
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 251 of 644




             a.    In fact, Apple is such a monopolist and profitably charges an order

                   of magnitude more for payment processing services for in-app

                   transactions on iOS involving digital goods than would competing

                   providers of payment solutions. (Ex. Expert 1 (Evans) ¶ 267;

                   Evans Trial Tr. 1605:7-11; cf. Ko Trial Tr. 806:25-806:9 (Epic

                   pays 3.5% average in the U.S. and 4.2% average worldwide).)

             b.    Dr. Evans performed a SSNIP test by considering a situation in

                   which Apple did not impose its payment processing restrictions,

                   and developers could choose between IAP and their own payment

                   processing solutions. (Ex. Expert 1 (Evans) ¶¶ 258-265; Evans

                   Trial Tr. 1607:7-25.)

             c.    Dr. Evans assumed a 5% average fee for non-IAP payment

                   processing solutions chosen by developers. He then considered

                   what would happen if developers accounting for just 20% of in-app

                   transactions would choose to use their own payment processing

                   solutions, with those accounting for the remaining 80% of in-app

                   transactions using IAP at Apple’s 27.7% effective commission

                   rate. That would decrease the average commission rate in the

                   market to 23.2% (the weighted average of 5% and 27.7%). (Ex.

                   Expert 1 (Evans) ¶ 261; Evans Trial Tr. 1607:7-1608:8.)




                                   243
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 252 of 644




                      d.      By eliminating that choice for developers, the hypothetical

                              monopolist would maintain its 27.7% average commission, which

                              is 19.4% higher—well above a SSNIP. (Ex. Expert 1 (Evans)

                              ¶ 262.)

                      e.      None of Apple’s experts performed a hypothetical monopolist test.

                              (See Lafontaine Trial Tr. 2051:7-13 (“Q: You also did not do a

                              conceptual hypothetical monopol[ist] test, correct? A: The

                              boundary between doing one of those in your head and kind of

                              thinking through it and not is a little bit fuzzy to me, so I have

                              difficulty being very—so I had—again, I’ll just say no.”);

                              Schmalensee Trial Tr. 1929:3-14; Hitt Trial Tr. 2185:23-2186:3.)

               355.   The relevant geographic market is global, with the exception of China.

(Ex. Expert 1 (Evans) ¶ 266.) To serve customers around the world, developers require payment

solutions to work in many countries. The payment processors they hire to help them do that

often provide services in many different countries, and country coverage is one of the

dimensions on which payment processors compete. (Ex. Expert 1 (Evans) ¶ 266.)

                      a.      Because of regulations imposed by the government, the Chinese

                              payment processing market is insular. Developers outside of

                              China do not use Chinese payment processors and China payment

                              companies typically only serve the Chinese market. (Ex. Expert 1

                              (Evans) ¶ 266.)

                                                244
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 253 of 644




          B.   There Is Separate Demand for In-App Payment Solutions.

               356.   To determine whether two products are separate, economists generally

assess whether there is separate demand for each. (Evans Trial Tr. 1597:2-8.)

                      a.      There is demand for in-app payment solutions that is separate from

                              app distribution. (Sweeney Trial Tr. 93:15-19 (“Epic is simply

                              seeking the ability for other payment systems to compete with . . .

                              iOS so that developers can choose freely among them.”); id. at

                              157:11-14 (“[S]ubsequent to the implementation of the hot fix . . .

                              users actually transacted [] business through Epic Direct Pay[.]”),

                              id. at 159:2-4; Ex. Depo. 1 at 45:1-46:10, 46:13-15, 46:17-47:7

                              (Ong).)

               357.   Developers, including Epic, wish to use their own payment processing

solutions over Apple’s IAP. (Sweeney Trial Tr. 128:14-17 (“Epic introduced Epic Direct

Payment into Fortnite on iOS. And it is a general service that we would like to make available

to other developers in the future if we were allowed to.”); Ex. Depo. 1 at 39:16-24, 41:12-42:9

(Ong).)

                      a.      Apple has rejected thousands of apps from distribution on iOS for

                              violating Guidelines § 3.1.1. (See Kosmynka Trial Tr. 1022:20-22

                              (“Q. In fact, there have been thousands of guidelines 3.1.1

                              rejections, right? A. That’s right.”); Schiller Trial Tr. 3109:5-9

                              (“And if those alternative payment processing methods related to


                                               245
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 254 of 644




                   an app that was selling digital consumable content, then the app

                   would be rejected, correct? A. If it’s content that’s digital and

                   consumed on our devices.”); PX-300.6 (2017 iOS Apps Reviewed

                   Summary); PX-2790 (App Store Review Guidelines) § 3.1.1;

                   Fischer Trial Tr. 905:22-906:4.)

             b.    Thousands of developers have been specifically terminated since

                   2017 on the basis of incorporating a third-party payment

                   mechanism into their app. (Kosmynka Trial Tr. 1026:15-21.)

             c.    In 2012, Microsoft requested to “handle signing up or

                   subscriptions for Office from within their iOS app” “[i]nstead of

                   using IAP” in order to “have a consistent experience for signing up

                   users”. (PX-46.1; Ex. Depo. 7 at 349:2-3, 349:8-10, 352:18-24

                   (Okamoto).) Microsoft offered to pay Apple the full 30%

                   commission Apple demands for using IAP, so that Apple would

                   “receive a portion of the revenue as . . . if [Microsoft] used IAP”.

                   (PX-46.1.) In response, Phil Schiller stated that there was not “any

                   chance” that Apple would agree because “[w]e run the store, we

                   collect the revenue”. (PX-46.1.)

             d.    Match Group developed its own payment processor for Tinder on

                   Android, which Match Group would use on iOS if it were

                   permitted to do so. (Ex. Depo. 1 at 41:12-42:9 (Ong); PX-865.2.)

                                    246
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 255 of 644




                              However, Match Group is “forced to use Apple’s in-app payment

                              system”, because its app “will not get approved” by Apple if

                              Match Group introduced its own payment system. (Ex. Depo. 1 at

                              37:25-38:11, 38:13-39:2, 39:16-24 (Ong).)

                      e.      Google has requested to opt out of IAP for Google Drive. (PX-

                              827.3.) Apple “rejected the Google Drive app (cloud storage) from

                              the App Store for not offering the purchase of additional storage

                              space through the app as they do through the Google website”.

                              (PX-827.3.)

                      f.      Apple rejected Epic’s Fortnite app and terminated Epic’s

                              developer account when Epic enabled Epic direct payment.

                              (Sweeney Trial Tr. 148:17-22, 156:24-157:4.)

                      g.      Apple rejected Basecamp’s Hey app for using a non-IAP billing

                              method. (Schiller Trial Tr. 3035:11-3036:14; PX-2338.1.)

               358.   Developers have many reasons for wishing to use alternative payment

solutions aside from the level of Apple’s commission, including the ability to offer specific

services precluded by Apple’s IAP. (Ex. Expert 1 (Evans) ¶¶ 282-283; Evans Trial Tr. 1567:24-

1568:19; Ex. Depo. 1 at 34:14-37:7, 39:16-39:24 (Ong).) Developers would benefit from

competition among payment processors and could solicit bids from various third parties that

provide unique services to match the developer’s own needs. (Evans Trial Tr. 1565:23-1566:8;

PX-2452.3.) For instance, customized risk management and fraud protection tools, more flexible

                                               247
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 256 of 644




pricing structures, access to relevant commerce and payments data, visibility into the developer’s

payments stream, and the ability to provide direct and comprehensive customer service, all could

be offered by alternative payment solutions. (PX-2452.5-7; Ex. Expert 1 (Evans) ¶¶ 267, 279,

282, 283; Evans Trial Tr. 1609:23-1610:6; Simon Trial Tr. 355:5-12; see also Sections VIII.C-

VIII.G below.)

                 359.   When given a choice, developers prefer using payment processing and

related services from third-party vendors rather than from Apple for in-app purchases on iOS

apps. (Simon Trial Tr. 376:17-23 (third-party vendors like Stripe and PayPal “provide[] a better

payment processing service” than Apple).)

                        a.     iOS apps offering in-app purchases of physical goods—such as

                               Uber, Lyft, and Postmates—utilize third-party payment processing

                               solutions and related services. (PX-2235.4 (Uber informing Apple

                               that a “30% fee on any physical good business has massive margin

                               impact and becomes impossible to sustain”); PX-201.1 (“[T]he

                               team has spoken to several developers [including Uber and Lyft]

                               and they’ve consistently pushed back on the 30%

                               commission . . . .”).) The Starbucks app, for example, can utilize

                               its own third-party payment processor instead of IAP. This also

                               allows full control over the relationship with the customer,

                               including providing customer service directly to the user where

                               issues arise. (Evans Trial Tr. 1569:20-1571:1.)

                                                248
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 257 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 258 of 644




                   In response, Matt Fischer, Vice President of the App Store,

                   conceded that “[u]nfortunately, IAP being ‘optional’ means that no

                   one will ever use it”. (PX-202.1.)

             d.    Under Apple’s Video Partner Program, iOS developers that offer

                   premium video entertainment apps on both iOS and tvOS are

                   permitted by Apple to integrate non-IAP payment solutions for

                   certain transactions, and many do so, including Prime Video,

                   Altice One, and Canal+. (DX-5335.16; Schiller Trial.

                   Tr. 2806:5-2807:21; Ex. Expert 1 (Evans) ¶ 235.)

             e.    Down Dog uses Stripe and PayPal to process subscription

                   payments through its website, and it would prefer to use those

                   services on iOS. (Simon Trial Tr. 374:2-6, 376:24-377:2.) These

                   payment processors provide better service and more features to

                   Down Dog—such as the ability to issue refunds, cancel and

                   manage subscriptions and provide direct customer service—and

                   charge approximately 10% of Apple’s commission. (Simon Trial

                   Tr. 374:22-375:9, 376:10-377:2.) Moreover, when using payment

                   processors like Stripe and PayPal, small developers like Down Dog

                   do not have to house sensitive consumer financial information

                   (such as credit card numbers) on their own servers—Stripe and

                   PayPal collect and manage this information directly and handle

                                   250
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 259 of 644
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 260 of 644




              361.   Many users, when given a choice, would and do use third-party payment

solutions over IAP for in-app purchases on iOS apps.

                     a.      Millions of iOS users use third-party payment solutions for in-app

                             purchases, in iOS apps, of non-digital goods and services.

                     b.      “Black market” app stores in China offer a variety of payment

                             options. (PX-256.2.)

                     c.      Black market app stores arose in China in part because IAP offered

                             particularly poor service to Chinese iOS users—specifically,

                             alternative stores offered consumers “better penetration . . . of

                             payment instruments that were popular with Chinese customers”.

                             (Ex. Depo. 6 at 148:24-149:15 (Friedman).)

                     d.      Black market app stores became so popular in China that, by 2014,

                             internal Apple employees observed that “[a]t this point, in China, it

                             appears that the Black Market is the market”. (PX-255.4; Ex.

                             Depo. 6 at 155:5-6, 157:4-158:8 (Friedman).)

                     e.      One black market app store in China, Tongbu, “explicitly

                             encourage[d] developers to upload their apps through

                             tongbu.com”, citing the ability to “enjoy more flexible payment

                             method[s], including AliPay (http://alipay.com), TenPay

                             (http://www.tenpay.com ) and many more” as one “advantage”.

                             (PX-256.2.)

                                              252
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 261 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 262 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 263 of 644
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 264 of 644




                         mechanisms other than the App Store”. (PX-2619.17 (DPLA)

                         § 3.3.3.)

                  b.     Section 3.1 of Schedule 2 provides that “Apple shall be solely

                         responsible for the collection of all prices payable by End-Users

                         for Licensed Applications acquired by those End-Users under this

                         Schedule 2”. (PX-2621.4 (Schedule 2) § 3.1.)

                  c.     Correspondingly, Section 3.4 of the DPLA forbids developers from

                         “issu[ing] any refunds to end-users”, instead providing that “Apple

                         may issue refunds to end-users in accordance with the terms of

                         Schedule 2”. (PX-2619.52 (DPLA) §3.4.)

           368.   The Guidelines likewise restrict developers’ in-app payment solution

options.

                  a.     Guideline § 3.1.1 contains the requirement that apps must use

                         Apple’s IAP—and no other payment processor—to process

                         payments for in-app purchases of digital content. It provides that

                         “[i]f you want to unlock features or functionality within your app,

                         (by way of example: subscriptions, in-game currencies, game

                         levels, access to premium content, or unlocking a full version), you

                         must use in-app purchase”. (PX-2790.10 (App Store Review

                         Guidelines) § 3.1.1.)




                                          256
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 265 of 644




                      b.     Apple also has and enforces an anti-steering rule within this

                             Guideline, which provides: “Apps and their metadata may not

                             include buttons, external links, or other calls to action that direct

                             customers to purchasing mechanisms other than in-app purchase.”

                             (PX-2790 (App Store Review Guidelines) § 3.1.1; see also

                             Schmalensee Trial Tr. 1890:2.5-6 (“[T]he App [S]tore has rules

                             to . . . avoid steering.”); Schmid Trial Tr. 3276:19-3277:6 (“Q. I’m

                             asking a yes or no question. It’s against Apple’s rules to tell users

                             that they can go outside of the app and go make purchases of in-

                             app currency, right? A. Correct . . . Q. Meaning if someone’s in the

                             native app, they cannot be told within that app that there’s

                             something they can do elsewhere to buy content. A. Correct.”).)9




9
  In Dr. Lafontaine’s written direct, she testified that “[n]othing in Apple’s license restricts
developers from offering transactions on other platforms or ‘steering’ consumers to other
platforms by charging less on these platforms or more on the App Store”. (Ex. Expert 7
(Lafontaine) ¶ 48; see also Lafontaine Trial Tr. 2055:12-2056:3.) At trial, however, she admitted
that “while developers can price differently on the App Store and other platforms, Apple does
not allow developers to tell users in the app that they have done so”. (Lafontaine Trial Tr.
2056:8-12.) She also admitted that Apple forbids developers from providing “any kind of link in
their iOS app to other platforms on which transactions can be had”, and that “Apple does not
allow targeted communications like email to inform people of that either”. (Lafontaine Trial Tr.
2056:13-20.) Professor Schmalensee similarly conceded that Apple’s rules “prohibit[] targeted
communications outside of the app to users, such as through email[s] that have been registered
through the app”. (Schmalensee Trial Tr. 1911:1-12.) Professor Hitt testified that he does not
know of any developer who “was actively trying or had actively tried to encourage users to make
purchases outside of their game”. (Hitt Trial Tr. 2195:24-2196:19.)

                                               257
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 266 of 644




                      c.      Importantly, the newest version of the Guidelines contains broad

                              anti-steering language that prohibits not only links within the app

                              and calls to action within the app (which were already prohibited

                              by the old Guidelines), but also imposes onerous newly concocted

                              restrictions on developers that offer multi-platform apps.

                              Specifically, these developers are prohibited from marketing non-

                              App Store alternatives to consumers using information that the

                              developer may obtain when the user creates an account for the

                              developer’s app on iOS. (PX-2790.11 (App Store Review

                              Guidelines) § 3.1.3 (prohibiting developers from “encourage[ing]

                              users to use a purchasing method other than in-app purchase”

                              “either within the app or through communications sent to points of

                              contact obtained from account registration within the app.”).) This

                              means that if a developer obtained a customer’s phone number or

                              email address when the customer signed up for the developer’s app

                              through the App Store, the developer is prohibited from marketing

                              non-IAP alternatives to its own customers using that information.

                              (PX-2790 (App Store Review Guidelines) § 3.1.3.).

               369.   Apple also requires developers using IAP to choose among Apple’s pre-

defined “price tiers”. (Ex. Depo. 9 at 266:12-15 (Fischer).)




                                               258
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 267 of 644




                     a.     The price tiers in U.S. dollars all end in $0.99; the highest tier is

                            $999.99. (PX-2202.2)

                     b.     When a developer selects a price tier for one currency, Apple

                            requires the developer to use the same tier for many foreign

                            currencies. (PX-2202.2.)

                     c.     Apple changes the foreign currency prices in each tier from time to

                            time at its sole discretion. (PX-545.1 (Mr. Cue: “as currencies

                            decrease or increase, developer have to wait for us to take action”);

                            Ex. Depo. 12 at 206:13-24, 206:25-207:18 (Gray) (“Q. Were the

                            various pricing tiers initially . . . in sync with respect to foreign

                            exchange rates in 2008 when they were first rolled out? A. Yes.

                            They were all . . . . And then when they go out of bounds from

                            time to time, that’s when we make a price change to move them

                            back within [a narrow] tolerance.”); PX-544.1-2.)

              370.   Consistent with these contractual restrictions, Apple has prevented the

implementation of other payment solutions.

                     a.     In 2009, PayPal asked to be added to the iPhone SDK so that

                            developers could easily choose to design apps that relied on PayPal

                            to provide payment processing services. (PX-47.2; Ex. Depo. 7

                            at 358:18-19, 358:24-359:1 (Okamoto).)




                                              259
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 268 of 644




                      b.      Mr. Schiller rejected this and threatened to remove any such

                              applications from the App Store: “If developers were to use an

                              alternate mechanism for enabling additional features or

                              functionality in their applications, such as via PayPal, they would

                              be in violation of our developer program terms and we would not

                              be able to distribute those applications in the App Store.”

                              (PX-47.1; Ex. Depo. 7 at 359:21-360:9 (Okamoto).)

                      c.      As noted, Apple has rejected thousands of apps for violations of

                              Guidelines § 3.1.1. (Kosmynka Trial Tr. 1022:20-22.)

               371.   Apple has set its 30% commission for in-app purchases without

consideration of costs. (Ex. Depo. 3 at 141:13-20, 141:22-142:9 (Cue); Schiller Trial Tr.

3105:13-18 (“Now let’s talk about the 30 percent commission for a moment. You would agree

with me that in connection with determining what that commission would be for in-app

purchases, Apple did not consider costs? A. Correct.”).)

                      a.      The competitive level of payment processing fees is around 3% in

                              the United States. (Ex. Expert 1 (Evans) ¶ 259; Ko Trial Tr.

                              807:4-6 (noting that “within the U.S.”, Epic has “an average cost

                              of . . . around 3.5 percent.”); Ex. Depo. 12 at 78:23-25, 79:3-8

                              (Gray) (“[T]he rates [that Apple pays to partners in the U.S. for

                              processing credit card transactions] are generally low.

                              Meaning . . . 1 to 2 percent”); Simon Trial Tr. 376:10-16 (Down

                                               260
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 269 of 644




                             Dog pays “30 cents per transaction, plus 2.9 percent” to Stripe and

                             PayPal for payment processing on the web version of its

                             subscription-based app).)

                      b.     Epic offers developers selling apps through EGS the option of

                             using Epic direct payment for their in-app purchases; Epic offers

                             this service for a commission of 12%. (Sweeney Trial Tr. 125:13-

                             16, 126:5-7.) This rate “is intended to cover all [of] Epic’s

                             variable operating costs”; that is, “[t]he cost of processing an

                             additional transaction”. (Sweeney Trial Tr. 126:5-11; see also

                             Sweeney Trial Tr. 126:14-18 (“Epic makes a gross profit on the

                             variable cost associated with a new purchase. We make more

                             money from the 12 percent than it typically costs us to cover the

                             cost of that additional purchase, but that does not account for all of

                             the storage costs, such as marketing and exclusive products.”).)

              372.    Finally, Apple’s updated Schedule 2 (as of March 2021) contains a

punitive provision that allows Apple to withhold funds due to developers and other developers

who are affiliated with a developer deemed to have been engaging in behavior considered by

Apple to be “improper” or “suspicious”, among other things.

                      a.     Specifically, Section 7.1 of the revised Schedule 2 provides,

                             among other things, that “[i]f at any time Apple determines or

                             suspects that [the signatory developer] or any developers with

                                              261
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 270 of 644




                       which [the signatory developer is] affiliated have engaged in, or

                       encouraged or participated with other developers to engage in, any

                       suspicious, misleading, fraudulent, improper, unlawful or dishonest

                       act or omission, Apple may withhold payments due to [the

                       signatory developer] or such other developers.” (PX-2943.9

                       (Schedule 2) § 7.1).

                 b.    “[U]nder these new terms, Apple can withhold payments due to

                       developers that were paid by consumers if Apple even suspects

                       that a developer with which a developer is affiliated has engaged in

                       suspicious behavior”. (Schmid Trial Tr. 3301:4-12.)

                 c.    On cross examination, Mr. Cook testified that he “had no idea that

                       this language was added to the document”. (Cook Trial Tr.

                       3924:7-19.) On re-direct, Apple’s counsel prompted Mr. Cook to

                       testify that “there was something in Japanese law that required it”.

                       (Cook Trial Tr. 3968:25-3969:10, 3979:3-13.) But that was “the

                       extent of [his] memory”. (Cook Trial Tr. 3986:14-22.) This

                       testimony was not credible.



.




                                        262
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 271 of 644




VII.    APPLE HAS TIED TOGETHER TWO DISTINCT PRODUCTS—ITS APP
        DISTRIBUTION SERVICES AND ITS IN-APP PAYMENT SOLUTIONS.

                373.    Apple is a monopolist in the market for iOS app distribution. (Evans Trial

Tr. 1603:7-11; see Part IV above.)

                374.    iOS app distribution is a separate product from payment solutions and

related services. (Ex. Expert 1 (Evans) ¶¶ 220, 234.) There are “dramatic functional

differences” between the two separate products. (Evans Trial Tr. 1596:8-13.) iOS app

distribution “involves the matching process between app users and app developers via search and

discovery, ultimately concluding with the ability of the user to download and then use an app”.

(Evans Trial Tr. 1596:18-21.) In-app purchase “is something that happens later and that involves

transactions that are between the app user. . . and the app developer who has supplied that app”.

(Evans Trial Tr. 1596:22-25.) These “transactions take place between those two parties after the

app has already been distributed.” (Evans Trial Tr. 1596:25-1597:1.) Both Apple and this Court

have acknowledged that in-app purchasing “is almost completely driven by our developers, and

the App Store does not participate in a meaningful way”. (PX-59.22; see Cook Trial Tr.

3990:20-23 (“[A]fter that first time, after that first interaction, the gamers are keeping the

customer with the games, that is, the developers of games are keeping their customers. Apple is

just profiting off that, it seems to me.”).)

                375.    But for Apple’s restrictions discussed above and below, developers of

apps offering in-app purchases of digital goods could and would utilize alternative payment

processing and related services from third parties, such as Stripe, Amazon Pay, Braintree,

Paypal, and Square, or develop their own payment solutions using such services, just as
                                                 263
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 272 of 644




developers of iOS apps offering in-app purchases of physical goods do today and which

developers currently use for purchases of digital goods made outside of the App Store. (Simon

Trial Tr. 353:2-7; Fischer Trial Tr. 907:4-12, 19-21; Ex. Expert 1 (Evans) ¶¶ 235-236; Evans

Trial Tr. 1600:5-13; see Section IV.257 above; see also, e.g., DX-3905.3 (listing “[l]eading

companies across the globe” that “trust Braintree with their payments”, including Airbnb, Uber,

Dropbox, Yelp, and StubHub, among others).)

                      a.      In fact, on platforms other than iOS, many app stores without

                              market power do not tie distribution services and payment

                              solutions. For example, EGS and several Android app stores all

                              allow developers to choose their own payment solutions.

                              (Ex. Expert 1 (Evans) ¶ 246.)

               376.   Apple has a 100% share of the iOS in-app payment processing solutions

market. (Evans Trial Tr. 1661:6-8.)

               377.   Apple uses its monopoly power in iOS app distribution to coerce

developers of iOS apps to use Apple’s payment solution, namely the IAP system, for all in-app

transactions involving digital goods. (See PX-2619 (DPLA) § 3.3.3; PX-2790 (App Store

Review Guidelines) § 3.1.1; Ex. Expert 1 (Evans) ¶¶ 286-287.)

               378.   Apple contractually ties together app distribution and payment solutions

for in-app purchases of digital goods through the DPLA and App Store Review Guidelines,

which condition distribution through the App Store on the use of Apple’s IAP. (PX-2619

(DPLA) § 3.3.3; PX-2790 (App Store Review Guidelines) § 3.1.1; see also Sweeney Trial Tr.

                                               264
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 273 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 274 of 644




ability and access to its APIs to continue developing the Unreal Engine for iOS and Mac

devices . . . .”), 157:25-158:3 (“Apple also sent Epic a letter saying that they would remove our

access to Apple platforms, . . . which would of course deprive us of the ability to develop

software on that platform.”); PX-197.8 (“Do we want to take any punitive measures in response

to the test (for example[], pulling all global featuring during the test period)? If so, how should

those punitive measures be communicated to Netflix?”).)

                       a.       For example, in 2018, Netflix “ran a series of experiments to

                               determine whether or not IAP was, in fact, increasing the number

                               of subscribers it was obtaining in various geographies”.

                               (Ex. Depo. 3 at 154:7-12, 190:4-191:1 (Cue); PX-420.1;

                               PX-421.1-2.)

                       b.      Netflix wanted to conduct this test because it understood that “IAP

                               customers had much shorter subscription lives due to voluntary

                               churn than non-IAP customers”. (Ex. Depo. 3 at 154:25-155:3,

                               155:5 (Cue).) In response to Netflix conducting this test, Apple

                               took what it called “punitive measures”. (PX-197.8.)

                       c.      Apple “pull[ed] all marketing for [Netflix] in their test markets”,

                               both “on Store and off Store”, because Apple “want[ed] them to

                               feel the pain”. (PX-198.3.)

               383.    On August 13, 2020, after Epic activated its own Epic direct payment

option within Fortnite on iOS, which Epic offered to users side by side with Apple’s IAP, Apple

                                                266
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 275 of 644




threatened and ultimately did remove Fortnite from the App Store and indicated that it would

take action against other Epic apps as well. (Sweeney Trial Tr. 148:18-149:7.)




                                              267
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 276 of 644




VIII. APPLE’S CONDUCT CAUSES ANTI-COMPETITIVE EFFECTS IN THE
      MARKET FOR iOS IN-APP PAYMENT SOLUTIONS.

       A.      Apple’s Conduct Raises the Price of In-App Purchases of Digital Goods
               Within iOS apps.

               384.    IAP is the mechanism by which Apple imposes and collects its 30%

commission on in-app transactions between developers and their customers. (PX-2619.17

(DPLA) § 3.3.3; PX-2790.10 (App Store Review Guidelines) § 3.1.1.)

               385.    Apple is well aware that the 30% fee it charges for in-app purchases is far

above market rates for comparable services. In December 2017, an Apple employee noted that

through IAP “Apple creates a better experience for developers to engage users and offer

promotions. It would have to be a LOT better to overcome the 30% hit however. It would also

have to meet the need fulfilled by social media platforms for engagement, namely viral reach

across friends. This is not something we’ve ever succeeded with . . . .” (PX-257.1.)

               386.    For this very reason, Apple acknowledged that where IAP is “‘optional’

[that] means that no one will ever use it”. (PX-202.1.)

               387.    Because Apple charges for IAP a fee reflecting its market power, rather

than market rates or the value Apple provides, and for the reasons discussed previously (see Part

VII above), Apple’s tying of IAP to app distribution leads to higher prices for iOS in-app

purchases of digital content.

               388.    For example, Down Dog charges 50% more for subscriptions purchased

within its iOS app as compared to subscriptions purchased on a web browser “because of the 30

percent commission that Apple takes”. (Simon Trial Tr. 356:2-17.)


                                               268
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 277 of 644




               389.   Because developers typically pass on these fees, consumers are harmed by

IAP. (Evans Trial Tr. 1609:13-1610:6.)

        B.     Many Developers Cannot Afford to Pay Apple’s 30% Commission for
               In-App Purchases of Digital Content.

               390.   Developers “have complained about the 30 percent commission for digital

in-app purchases”. (Fischer Trial Tr. 911:4-11 (agreeing that “developers [have] indicated to

Apple their view that the 30 percent commission is too high”); see also Schiller Trial Tr. 3111:7-

14.)

               391.   Developers have expressed concern that “the 30% cut using [Apple’s] In

App purchase . . . would mean [they are] losing money on every transaction”—except apparently

for the “outliers” not required to use IAP. (PX-57.1; see Fischer Trial Tr. 835:22-836:11.)

               392.   When Apple attempted to impose the IAP requirement on iOS developers

who sell physical goods and services, these providers informed Apple that they operate on “slim

margins” and thus would “likely need to pass the 30% along to the consumer”. (PX-422.1;

see also Evans Trial Tr. 1609:13-22.)

               393.   Some small businesses cannot afford to absorb Apple’s commission rates

and cannot afford to pass the costs on to consumers without losing users. For example, Down

Dog’s Mr. Simon testified that when Down Dog ran pricing experiments, it generally “los[t] . . .

the percentage of users equivalent to the increased subscription price”. (Simon Trial Tr. 354:17-

355:1 (“[W]e found that around our current pricing, if we increase the price by X percent, we get

roughly an X percent decrease in subscribers”).) Mr. Simon further testified that when Down

Dog ran an experiment within its Android app in which it removed a link informing customers of
                                               269
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 278 of 644




an option to subscribe online for roughly 33% cheaper, it observed a 28% reduction in the

number of subscribers, either on the app or on the web, showing that Apple’s policies, including

its anti-steering restriction, cost Down Dog subscribers. (Simon Trial Tr. 365:3-367:5.)

               394.   Developers pass on the cost of Apple’s commission to consumers

(See, e.g., PX-438.1 (“The problem is many can afford 30% but others will say they can’t.”);

Simon Trial Tr. 354:11-16 (“At a high level, we have always discounted the website subscription

by at least the 30 percent that Apple takes, passing on those savings to our customers.”).)

       C.      By Standing as a Middleman in Every In-App Purchase of Digital Content,
               Apple Interferes with Developers’ Ability to Provide Effective Customer
               Service.

               395.   In executing transactions through IAP, Apple uses the iOS user’s Apple

ID credentials and associated payment credentials the user gave to Apple when signing on to an

Apple device. The developer, by contrast, cannot refund the purchase if the consumer requests a

refund. (Ex. Depo. 12 at 126:6-11 (Gray).) As a result, the developer selling in-app digital

content in an iOS app is not privy to the payment process, which is performed entirely by Apple

on the basis of information to which the app developer has no access. (Simon Trial Tr. 367:14-

368:24.)

               396.   Hence, if the transaction raises any issue such as a payment dispute, a

request for a refund, etc., both the developer and the user must rely on Apple to communicate

with the user and resolve the issue. (Sweeney Trial Tr. 91:24-92:7 (“Apple’s required use of

In-App Purchase reduces the quality of the support that we can provide to customers. Epic

doesn’t have the ability to issue refunds to customers, and so if a customer has a problem, we


                                               270
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 279 of 644




can’t service them directly. We have to refer them directly to Apple, to talk to Apple instead.”);

Simon Trial Tr. 368:20-369:2.)

               397.    Developers cannot initiate a refund to customers for App Store IAP

purchases, and customers are required to contact Apple for a refund. (Sweeney Trial Tr. 91:24-

92:7; Simon Trial Tr. 368:20-369:2.) Apple, in turn, “just provides [to the developer] the

transaction ID and the fact that the transaction ID has been refunded” after the fact (Ex. Depo. 12

at 147:8-12 (Gray).) Even in the event the customer receives a refund, “Apple ha[s] the right to

retain the commission” when it offers such refunds. (Ex. Depo. 12 at 134:20-22, 134:24-135:1

(Gray).) The DPLA still gives Apple this right today. (PX-2621.6, .8 (DPLA) §§ 3.8(c), 6.3.)

               398.    Developers are dissatisfied with the App Store’s refund process.

(Ex. Depo. 12 at 128:8-13, 128:15-25 (Gray); Simon Trial Tr. 372:9-373:3; PX-2062.1, .7

(reproducing a “selection of verbatim responses related to the App Store from the FY18

[developer] survey”, including: “ALLOW DEVELOPERS TO ISSUE REFUNDS. This is

beyond frustrating for us. Your awful policies make us look bad and it’s painful to have to direct

users to you”); see also PX-2365.) While Apple controls the payment solution for the

transaction and all post-purchase interactions with the customer, Apple employees have

acknowledged that “we have almost no insight into the complex IAP issues that customers

present to us.” (PX-2189.1) For example, Apple “cannot verify . . . claims” by customers that

errors in apps render their in-app purchases obsolete, and “[a]s a result, AppleCare is forced to

employ blanket rules for refunds” that “cause[] some customers to be treated unfairly while also

allowing for fraudulent claims to be refunded”. (PX-2189.1.)

                                                271
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 280 of 644




               399.    When Epic has to tell its Fortnite users to “go to Apple to request a

refund”, those users experience “confusion” and have “a poor experience”. (See Weissinger

Trial Tr. 1302:22-1303:17 (discussing Apple interfering with Epic’s ability to provide customer

support to Fortnite users).) Epic could avoid this issue if it were able to offer its own payment

processor on iOS, like it does within the Epic Games Store. (Weissinger Trial Tr. 1303:13-17.)

               400.    Developers are best situated to deal with issues raised by their own

customers with respect to issues arising within their own apps; Epic’s support team, for example,

is best situated to explain what, if anything, has gone wrong with a purchase, how to use a

newly-acquired tool, skin, or weapon, etc. Apple, by contrast, has only one decision to make—

whether to refund or not the price of a purchase. (See PX-2189.1 (“[W]e have almost no insight

into the complex IAP issues that customers present to us. As a result, AppleCare is forced to

employ blanket rules for refunds.”).) In Epic’s own experience, the disconnect between

customer service and transaction servicing, and between Epic and its own customers over in-app

transactions, has led to confusion and complaints from customers, who contact Epic hoping to

rectify disputes over payments—and blame Epic for sending them to Apple about a transaction

users rightfully view as a transaction between them and Epic. (Sweeney Trial Tr. 128:18-129:4

(“When a customer contacts us for support, if we process that customer’s payment directly, we

have far more knowledge about the details of the payment and far more control over issuing

refunds or partial refunds or investigating anything that went wrong because we have that direct

access to our payment service; whereas with Apple’s In-App Purchase system, we have no way




                                               272
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 281 of 644




to help a customer if we need to refund them. We simply have to tell them to go talk to

Apple.”).)

               401.    Match Group, for example, has noted that Apple’s IAP system interferes

with its relationship with its iOS customers because “it’s extremely strange and abnormal for

customers to have to reach out to the main company for all general customer inquiries, and then

have to reach out to another company as it pertains to . . . their paid experience”. (Ex. Depo. 1 at

34:14-37:7 (Ong).) Match Group’s iOS customers contact Match with billing and refund issues

that Match cannot handle and must refer to Apple. (Ex. Depo. 1 at 34:14-37:7, 48:4-10 (Ong).)

Match has no visibility into Apple’s refund policy, and Apple, when it considers whether to offer

a user a refund does not have the ability to assess whether and how a user accessed Match’s

apps. (Ex. Depo. 1 at 48:17-19, 48:21-51:06, 162:03-22 (Ong).) Match Group is dissatisfied

with this arrangement because it has led to Match’s customers having poor experiences with

Match’s products and brands because of Apple’s conduct that is beyond Match’s ability to

control. (Ex. Depo. 1 at 34:14-37:7, 167:1-4, 167:6-20 (Ong).)

               402.    Down Dog, for example, has experienced significant customer service

issues as a result of being required to use Apple’s IAP. Because transactions on its native iOS

app are processed by Apple, Down Dog “can’t issue refunds, or even cancel the subscriptions of

users who subscribe via in-app purchases”. (Simon Trial Tr. 355:2-12.) Instead, Down Dog

must direct its customers to Apple for issues related to subscriptions and billing because “only

the Apple customer service team can issue them a refund if they purchased using in-app

purchases.” (Simon Trial Tr. 368:20-369:2.) When it is able to manage its own customer

                                                273
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 282 of 644




service experiences, Down Dog applies a lenient refund policy that ordinarily permits consumers

to obtain refunds within a week of a monthly subscription payment or a month of an annual

subscription payment. (Simon Trial Tr. 370:2-12.) By contrast, Apple generally does not issue

refunds of iOS purchases unless they are requested within 24 hours of payment. (Simon Trial Tr.

370:13-371:3.) Because Down Dog must pass the cost of Apple’s 30% commission on to

consumers, it frequently experiences complaints from customers who have paid more for an IAP

subscription than they would have for a web subscription. (Simon Trial Tr. 371:18-372:14.)

This causes customer service issues because Down Dog cannot remedy these customer service

issues other than by directing the users to Apple. (Simon Trial Tr. 372:9-373:3.)

               403.   Developers have complained that “[t]he App Store takes parts of our job

that we’re already extremely good at—like customer support, quick updates, easy refunds—and

makes them all more stressful and difficult, in exchange for giving Apple 30% of our revenue”.

(PX-744.2-3; see also Ex. Depo 1 at 162:3-22 (Ong); Simon Trial Tr. 355:2-12 (Apple’s

prevention of developers from using their own payment processing creates a “substantial

customer service issue” because developers “can’t remedy” customer complaints, “can’t issue

refunds, or even cancel the subscriptions of users who subscribe via in-app purchases”);

Ex. Depo. 2 at 136:15-138:3 (Shoemaker).)

       D.      Apple’s Management of IAP Refunds Increases Risk of Fraud.

               404.   Apple distinguishes in-app purchases of “consumables” from “non-

consumables”. “Consumables” are digital items such as lives in a game or app-specific

currency—items that are consumed by the user until they are depleted, at which point the user


                                               274
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 283 of 644




can purchase them again. Non-consumable items, like “skins”, weapons, etc., or an upgrade to

the premium version of an app, are purchased once and do not expire after the initial purchase.

(PX-2790.10 (Guidelines) § 3.1.1; ; PX-2619.52 (DPLA) § 2.6.).)

                405.   Prior to the summer of 2020, when a consumer would request Apple for a

refund for a non-consumable product, Apple did not provide a developer “access at that level of

detail where they can remove the non-consumable” that was refunded. (Ex. Depo. 12 at

146:18-20, id. at 146:22-147:6 (Gray).) This attracted refund fraud, which occurs “when the

customer buys and enjoys or resells the content and then requests a refund even though they have

actually utilized it, therefore providing inaccurate information in their request for refund”. (Ex.

Depo. 12 at 146:9-13 (Gray).) It is widely believed in the app industry that the most effective

tool against refund fraud is the reversal of the purchase at issue; by contrast, the ability to obtain

a refund and retain the non-consumable content incentivizes fraud by rewarding it. Once

developers were given access to this “refund API”, Apple saw “improved refund rates” and

lower amounts of fraud. (Ex. Depo. 12 at 150:15-18, 150:20-23, 150:25-151:05 (Gray).)

                406.   Apple’s efforts to combat payment fraud appear to have been

unsuccessful. In 2016, Apple identified that only “45 to 55” percent of billings are from

“trusted accounts”. (PX-2190.2; Fischer Trial Tr. 897:14-18.)

       E.       Apple Does Not Provide Developers Access to Key Analytics About Their
                Customers, Which They Could Use to Improve Their Offerings.

                407.   Apple’s IAP payment solution provides limited reporting on customer

transactions.



                                                 275
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 284 of 644




                      a.     The reporting features do not provide detailed data on payments

                             transactions, including all of the data elements carried in the

                             authorization and settlement messages. Developers, for example,

                             are unable to reconcile their transactions and revenue from the

                             reporting provided by Apple. (See PX-0864.2 (“We need to ensure

                             we have a way to reconcile the transactions we see [on] our end

                             and payments you make to us . . . . As discussed, our figures from

                             Apple for just our Tinder business can be off as much as ~$1M at

                             any time during the year which is a concern . . . .”).)

                      b.     When Epic has requested that Apple provide additional detail on

                             payment processing for example, fraud behavior and patterns or

                             authorization rates broken down by country and payment

                             method—Apple did not respond. (PX-2362.3.)

              408.    As a result of having to use IAP, Epic has also been prevented from

forming a direct link between the customer ID in its system and the customer ID in Apple’s

system. (Sweeney Trial Tr. 128:18-129:4 (“[I]f we process [a] customer’s payment directly, we

have far more knowledge about the details of the payment.”).)

                      a.     Epic cannot readily identify the customers of its apps in the IAP

                             payment transaction details. (Sweeney Trial Tr. 128:18-129:4.)

                             This lack of information harms Epic’s ability to provide better

                             service to customers on the basis of payments activity, as it is able

                                              276
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 285 of 644




                              to do in payment services with other payment processors.

                              (Sweeney Trial Tr. 128:18-129:4.)

                       b.     Other payment processors that Epic works with, such as Braintree,

                              provide a complete database of transactions and customer

                              information that allows Epic to track customer data.

                              (PX-2451.3-6.)

                       c.     This information would allow Epic to obtain real-time reporting

                              about its customers’ spending behavior and identify potential areas

                              of improvement in its offerings. (PX-2451.3-6.)

               409.    The ability to identify the transacting user could allow developers to better

identify their users, which could be important for developers for a host of reasons—from better

marketing to better safety protocols.

               410.    For example, on platforms where Match Group has the ability to process

customer payments directly, it uses customer billing information to run registered sex offender

checks, so as to improve the safety of its service. (Ex. Depo. 1 at 34:14-23, 36:24-37:7,

47:15-48:1, 169:24-170:8, 170:10-19 (Ong).)

               411.    Match Group has asked Apple to share user billing data to permit Match

Group to conduct sex offender and age verification screening, but Apple has not permitted Match

Group to access this billing data. (Ex. Depo. 1 at 171:14-172:16, 172:18-173:6 (Ong).)




                                                277
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 286 of 644




       F.      Apple’s Price Tiers Interfere with Developers’ Pricing in Foreign Markets.

               412.    “Since 2010, the price for in-app purchases must either be free or . . . some

number with .99 at the end”. (Ex. Depo. 9 at 266:12-15 (Fischer).)

               413.    “[A]t least since 2010, [Apple has] been asked from time to time by

developers to have more flexibility to charge different prices for in-app purchases”, but “to date

the answer has been no”. (Ex. Depo. 9 at 266:16-24 (Fischer).)

               414.    To use IAP for purchases, developers must submit the items they are

going to sell using a template provided by Apple and select prices for each product from a list of

“price tiers” provided by Apple. (Ex. Depo. 12 at 195:15-196:14, 206:13-24 (Gray).) Each tier

includes a fixed price for every international currency supported by Apple. (PX-2202.2) Apple

can and does change the foreign currency prices in each price tier from time to time, at Apple’s

discretion and without input or choice from developers. (Ex. Depo. 12 at 206:13-24 (Gray).)

                       a.     Because each foreign price tier must have a corresponding U.S.

                              price tier, developers are prevented from pricing their in-app

                              purchases flexibly to take account of local demand and local

                              preferences. (PX-2202.2; Ex. Depo. 12 at 195:15-23, 206:13-24

                              (Gray).)

               415.    The price points prescribed by IAP are expressed in U.S. dollars to

developers, and Apple then determines the final price for local markets in local currency.

(Ex. Depo. 12 at 208:6-9 (Gray).)




                                                278
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 287 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 288 of 644




preventing developers from offering content at a discount outside of their iOS apps, developers

are barred from informing consumers of such discounts from within their apps or using email

addresses provided by their users through the app. (Lafontaine Trial Tr. 2056:13-20 (agreeing

that “Apple does not allow developers to tell users in the app that they have” priced differently

on other platforms, and “Apple does not allow targeted communications like email to inform

people of that either”); see also Schmalensee Trial Tr. 1911:1-12.)

                       a.     Dr. Evans described the issue: “[T]he problem here is . . .

                              requiring Epic to use the IAP in the iOS Fortnite app, in

                              combination with also putting a whole set of barriers that doesn’t

                              make it impossible, but that makes it much more difficult for

                              Epic to communicate to the iOS app user that they have

                              another alternative to go to.” (Evans Trial Tr. 1715:11-16)

                              (emphasis added). Apple’s “anti-steering provisions . . . are

                              preventing a way to bypass . . . a tie” that requires developers to

                              use Apple’s IAP API. (Evans Trial Tr. 1726:16-18.) “[A]t a 30-

                              percent commission, developers have an incentive to direct

                              consumers . . . not to purchase on . . . the App Store”. But Apple’s

                              “anti-steering restrictions . . . prevent the developer from informing

                              the consumer that there is another alternative available to them.”

                              (Evans Trial Tr. 2408:20-2409:5.)




                                               280
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 289 of 644




                       b.     While other platforms also have anti-steering provisions, an

                              important distinction is that these platforms do not have market

                              power. (Evans Trial Tr. 2432:18-2433:19.) As Dr. Evans

                              explained, a firm with market power—such as Apple—might

                              impose anti-steering rules “to prevent customers from . . .

                              seeking . . . other alternatives.” (Evans Trial Tr. 2436:5-6.)

                       c.     Although Dr. Schmalensee tried to analogize Apple’s anti-steering

                              provision to American Express’s (Schmalensee Trial Tr.

                              1890:16-1891:12, 1992:19-1993:13), the Court pointed out that

                              “when you go into a store, you can see the sign that says, [‘]Visa,

                              Mastercard, Discover,[]AmEx’ . . . Those visual indications of

                              options don’t exist [on iOS].” (Schmalensee Trial Tr. 1891:13-15,

                              1891:17-19.) Dr. Evans explained that the American Express

                              situation is “much more narrow”, as it involved a situation where a

                              consumer was about to use her American Express card but was

                              encouraged not to by a merchant who had held itself out as

                              accepting payment from American Express. (Evans Trial Tr.

                              2403:19-2404:5.)

               420.    Contrary to Apple’s repeated arguments that the anti-steering provisions

only apply right after a developer signs up a new user (e.g., Schiller Trial Tr. 2823:16-20) there

is no such limitation in the rule itself. (See PX-2790.10 (App Store Review Guidelines) § 3.1.1.)

                                                281
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 290 of 644




               421.     While Apple contends that developers just need to obtain the user’s email

from Apple (Cook Trial Tr. 3864:12-16) such information is not readily available, given Apple’s

Sign in with Apple feature, which “must also [be] offer[ed]” for “all apps that want to offer any

other third-party log-in option . . . .” (Schmid Trial Tr. 3267: 21-24.) Through Sign in With

Apple, a “user can hide their email from the third-party developer”. (Schmid Trial Tr. 3267:1-3.)

       I.      Apple’s Pro-Competitive Justifications for Its Anti-Steering Provision Fail.

               422.    According to Apple, the “key idea” with the anti-steering provision is

preventing developers from targeting users who are being acquired from the App Store. (Schiller

Trial Tr. 2823:13-15.) According to Mr. Schiller, Apple’s concern is “just the targeting of the

brand-new user that we helped them get.” (Schiller Trial Tr. 2826:6-7.) Yet as developers such

as Epic and Match Group have testified, Apple is doing little to help acquire these users; instead,

it is the developers’ products that bring users into the App Store in the first place. (Ex. Depo. 1

at 58:20-59:13, 152:4-152:23 (Ong); see also Weissinger Trial Tr. 1314:11-22.) And as the

Court observed, after the “first interaction, the gamers are keeping the customer with the games”,

and “Apple is just profiting off that”. (Cook Trial Tr. 3990:12-25.)




                                                282
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 291 of 644




IX.    EPIC IS INJURED BY APPLE’S CONDUCT.

       A.      Background

               423.    Epic has been—and continues to be—seriously harmed by Apple’s

conduct. (Sweeney Trial Tr. 91:20-92:22 (“Apple’s required use of In-App Purchase reduces the

quality of the support that we can provide to customers. Epic doesn’t have the ability to issue

refunds to customers, and so if a customer has a problem, we can’t service them directly. We

have to refer them directly to Apple, to talk to Apple instead. . . . And Apple has also imposed a

myriad of policies on individual features of our products, which have restricted them from

achieving the sort of vision that we originally had for them, and in some cases prevented us from

doing things which we did on other platforms with great success that were loved by customers.

Apple’s policies had, in many ways, prevented us from implementing the sorts of features that

we wanted in Fortnite that we had been able to implement on other platforms.”), id. at 97:24-

98:4 (explaining the harm to the Epic Games Store.); Allison Trial Tr. 1234:4-8 (“Mobile

devices have billions of players at the end of the screen. It’s an incredibly large total addressable

market. We are [a ]company that is aggressive in going after growth sectors. We are not able to

go after that addressable market with the growth plan.”).)

               424.    Tim Sweeney founded the company that eventually became Epic in 1991.

(Sweeney Trial Tr. 89:19.)

               425.    Epic is headquartered in Cary, North Carolina and has more than 3,200

employees in offices around the world. (Sweeney Trial Tr. 112:18-113:14.)




                                                283
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 292 of 644




               426.    What started as a game company has evolved into much more. Epic now

has a number of different lines of business. It is a distributor, publisher and developer of game

and non-game apps. (Sweeney Trial Tr. 93:22-94:9 (“Epic is in a variety of businesses all tied to

the common theme of building and supporting real-time 3D content, both through consumer

products and to developers, and . . . other services that socially connect users together.”).)

               427.    Epic also makes and distributes tools used by developers for a wide

variety of graphic applications in many different industries. (Sweeney Trial Tr. 116:18-22 (“The

Unreal Engine is a development tool aimed at 3D content creators rather than consumers. It

contains content creation tools, real-time 3D graphics, capabilities, and real-time physics and

simulation technology that is used by a wide variety of industries to make a variety of 3D

content.”).) And Epic provides the Unreal Marketplace, a store for pre-created two-dimensional

and three-dimensional assets for purchase by Unreal developers. (Ko Trial Tr. 799:18-21.)

                       a.      Epic develops and distributes on iOS apps that work in conjunction

                               with Unreal Engine, including Unreal Remote and Live Link Face.

                               (Grant Trial Tr. 664:21-665:17.) These apps “provide[] a means

                               for people who work in the movie or TV industry to capture

                               performances and view them on Unreal Engine”. (Grant Trial

                               Tr. 664.24-665:3.) They do not include competitive game play.

                               (See Sweeney Trial Tr. 304:25-305:2 (noting there is no

                               competitive gameplay associated with Unreal Engine).)




                                                 284
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 293 of 644




               428.    Epic is a would-be competitor of Apple in the distribution of apps.

(Sweeney Trial Tr. 95:16-20; see also Allison Trial Tr. 1233:8-17 (explaining that Epic has not

launched the Epic Games Store on iOS due to Apple’s current policies).)

               429.    Epic runs the Epic Games Store (“EGS”), an app store available on PCs

and Mac computers. (Sweeney Trial Tr. 94:7-9 (“And we also operate a digital store that

connects developers with PC and Mac games to consumers on the PC and Mac platform called

the Epic Games Store.”); Allison Trial Tr. 1198:19-20 (“The Epic Games Store is a digital

distribution platform for games and apps for PC and Mac.”).)

               430.    EGS carries hundreds of games, such as Epic’s Fortnite and many

third-party titles. (Sweeney Trial Tr. 261:24-25; see also Allison Trial Tr. 1210:20-23.) It also

carries non-game apps, such as the Spotify music app, the Brave web browser, the KenShape

creation tool for artists and Itch.io, a third-party store. (Sweeney Trial Tr. 124:22-125:8; Allison

Trial Tr. 1199:13-14.) Since its inception, EGS hosted Unreal Engine and Epic had plans to

include different types of apps. (Sweeney Trial Tr. 123:15-124:5, 262:19-24; Allison Trial Tr.

1199:15-1200:1 (“Q. When did Epic first start having conversations around offering nongame

apps on the store? A. We announced the store in December of 2018. Pretty quickly, after the

announcement, we had a bunch of inbound for both gaming and nongaming app companies

wanting to know more about the store and how they could bring their products to market with us.

Q. Could you identify any nongaming app companies that reached out at that time? A. We spoke

with Twitch. We spoke with Discord. We spoke with a lot of smaller game development or

game adjacent companies as well.”).)

                                                285
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 294 of 644




                431.   Epic is not aware of any security issues that EGS has introduced onto any

Mac devices on which EGS has been downloaded. (Sweeney Trial Tr. 122:12-19; Allison Trial

Tr. 1228:3-5 (“Q. Have there ever been any known instances of malware on the Epic Games

Store? A. Not to my knowledge.”).)

                432.   Absent the restrictions imposed by Apple, Epic would operate a mobile

version of the Epic Games Store on iOS that would compete with the Apple App Store.

(Sweeney Trial Tr. 97:24-98:4 (“[O]ur Epic Games Store business is harmed by Apple’s policies

because we are barred from introducing a version of our store for iOS. So we can operate on PC

and Mac, but we cannot, because of Apple’s policies, distribute apps on iOS, and that locks us

out of a very large worldwide business we would love to be in.”); see also Allison Trial Tr.

1233:8-17 (explaining that Epic has not launched the Epic Games Store on iOS due to Apple’s

current policies).)

                433.   Epic and Apple also compete as developers. (Sweeney Trial Tr. 95:3-15.)

                       a.     Epic develops a variety of apps, including Fortnite and games such

                              as Rocket League and Fall Guys. (Sweeney Trial Tr. 116:8-10

                              (“[W]e have several games that we’re actively developing,

                              including Rocket League, a game about cars playing soccer; and

                              Fall Guys, which is a virtual 3D game show.”).)

                       b.     Epic also develops the social media app Houseparty. Houseparty

                              is available to download on the App Store. (Sweeney Trial Tr.

                              116:10-12 (“[W]e make Houseparty, which is a social video

                                               286
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 295 of 644




                               application, sort of like a version of Zoom that’s for friends.”), id.

                               at 117:8-12, 305:14-21.)

                       c.      Apple operates Apple Arcade, “a subscription game service, which

                               to some extent competes with Epic’s products”. (Sweeney Trial

                               Tr. 95:11-12; Fischer Trial Tr. 900:24-901:14.)

                       d.      Apple “provides SDKs of various sorts, such as [S]ign in with

                               Apple, which to some extent competes with Epic’s account

                               system”. (Sweeney Trial Tr. 95:13-15.)

                       e.      Apple also operates the Mac App Store, which competes to some

                               extent with the Epic Games Store. (Sweeney Trial Tr. 95:23-96:1

                               (“[T]he Epic Games Store is, to some extent, in competition with

                               the Mac App Store in that we both sell products to the same game

                               users.”).)

                       f.      Apple develops its own apps in competition with Epic and other

                               third-party apps. (Ex. Expert 1 (Evans) ¶ 209.)

               434.    As a software developer, Epic develops tools that it licenses to third

parties. (Sweeney Trial Tr. 94:5-7 (Epic’s businesses include software development “directed at

developers which enable[s] them to develop their own apps or games, such as Unreal Engine and

Epic Online Services”), id. at 229:3-5 (“[Epic’s] tools are used in . . . helping those with third-

party games . . . .”); Grant Trial Tr. 662:8-11 (“We develop software libraries that developers can

incorporate into their applications to provide additional functionality. Epic Online Services

                                                 287
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 296 of 644




would be the best example of that.”), id. at 667:3-7 (Epic has “end user license agreements that a

developer would agree to when they download Unreal Engine”), id. at 667:8-11 (“Epic is able to

obtain compensation in connection with the distribution of apps made using the Unreal

Engine.”).)

                      a.      Epic develops and distributes the Unreal Engine, a software suite

                              that allows developers to create three-dimensional and immersive

                              digital content. (Sweeney Trial Tr. 116:18-22 (“The Unreal

                              Engine is a development tool aimed at 3D content creators rather

                              than consumers. It contains content creation tools, real-time 3D

                              graphics, capabilities, and real-time physics and simulation

                              technology that is used by a wide variety of industries to make a

                              variety of 3D content.”).)

               435.   Developers typically release apps on a global basis. Epic, for example,

has distributed the mobile versions of its apps—for both Android and iOS—in any country

around the world which can connect to the Epic website. (See Sweeney Trial Tr. 129:5-16.)

                      a.      Epic’s distribution for Fortnite, its other apps (for instance,

                              Houseparty), and Unreal Engine, is generally worldwide.

                              (Sweeney Trial Tr. 129:14-20.)

               436.   Epic also offers third-party developers a suite of back-end online gaming

services through Epic Online Services (“EOS”). (Sweeney Trial Tr. 120:7-8 (“Epic Online

Services is a software development kit that we make available to other game developers . . .”).)

                                               288
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 297 of 644




                      a.      These services include matchmaking, Epic’s friends system, voice

                              system and others. (Sweeney Trial Tr. 120:7-14 (“Epic Online

                              Services . . . provides many of the social features that we built for

                              Fortnite and makes them available to other companies, such as

                              Epic’s account system, Epic’s matchmaking system, to put players

                              together into a shared game session. It includes Epic’s friends

                              system. And we’re soon to release the Epic Games voice system

                              for voice chat.”).)

                      b.      Epic Online Services are “available everywhere in the world that is

                              not subject to certain U.S. export restrictions”. (Sweeney Trial Tr.

                              129:23-130:2.)

       B.      Fortnite.

               437.   Fortnite is Epic’s most popular app. (Sweeney Trial Tr. 99:5-6.)

                      a.      Fortnite has had more than 400 hundred million registered users

                              worldwide. (Sweeney Trial Tr. 100:5-7.)

               438.   Fortnite is a social entertainment experience that includes a variety of

gaming experiences and nongaming experiences within it. (Sweeney Trial Tr. 98:6-8.)

               439.   Since its initial launch in 2017, Fortnite has evolved into more than a

game. (Sweeney Trial Tr. 98:6-8 (“Fortnite is a phenomena that transcends gaming. It’s a social

entertainment experience. It includes a variety of gaming experiences and also nongaming

experiences within it.”); Weissinger Trial Tr. 1296:11 (Fortnite is “more than a game”.).)


                                                289
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 298 of 644




             a.    In addition to gameplay, Fortnite enables users to watch movies or

                   TV shows, attend concerts and participate in global cultural events

                   within the app itself. (Sweeney Trial Tr. 98:12-99:3.)

             b.    The development of this array of functionality is a stepping stone

                   towards the creation of a Fortnite-based “metaverse”. (Sweeney

                   Trial Tr. 99:11-100:4 (“In the metaverse, and in experiences like

                   Fortnite, participants . . . can go together and have a purely social

                   experience, watch a concert or just hang out and chat.”).)

             c.    A metaverse is a virtual world in which a user can experience

                   many different things—consume content, transact, interact with

                   friends and family, as well as play. (Sweeney Trial Tr. 99:17-22;

                   Weissinger Trial Tr. 1295:10-11 (describing a metaverse as a

                   “social place where people can experience events together and

                   hang out together”); Kosmynka Trial Tr. 1127:18-23 (“So my

                   understanding of the Metaverse is a . . . virtual world where you go

                   with your particular character and are with players that you know,

                   players you may not know, and you navigate around that

                   Metaverse, which could include additional worlds in various

                   experiences.”).)

             d.    Gameplay need not be a part of a user’s metaverse experience.

                   (Sweeney Trial Tr. 99:23-25.)

                                      290
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 299 of 644




               440.   Fortnite is free to download and use. (Sweeney Trial Tr. 108:14-16.)

                      a.      Users have the opportunity (but not the requirement) to purchase

                              digital content within the app—referred to as “in-app purchases”.

                              (Sweeney Trial Tr. 108:18-20 (“Epic sells cosmetics within the

                              game[,] which players can optionally purchase to enhance their

                              appearance in the world of Fortnite.”), 109:19 (“Epic sells many

                              outfits through in-app purchase.”).)

               441.   In-app purchases do not buy game play advantages in Fortnite’s most

popular game mode, Battle Royale. (Sweeney Trial Tr. 110:5-10 (“One of the key principles of

Fortnite Battle Royale is you can never gain an advantage over another human by purchasing

any sort of item in the game. All players participate on a level-playing field, and the money they

spend only determines how they appear or what dances they can do, not how fast they can

run.”).)

                      a.      Users can make in-app purchases of different items that function as

                              forms of self-expression. These include cosmetic enhancements,

                              or “skins” (i.e., in-game costumes), dance moves known as

                              “emotes” and more. (Sweeney Trial Tr. 108:23-109:3 (“A

                              cosmetic item is an item that changes your avatar’s appearance in

                              the world, such as an outfit. . . . Fortnite cosmetics also include

                              emotes such as dances, or gestures that you can make your

                              animated character in the world, and other . . . fashion

                                               291
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 300 of 644




                              accessories.”); see Weissinger Trial Tr. 1299:6-8 (“Fortnite sells

                              digital items, primarily . . . cosmetics.”).)

               442.   In Fortnite’s Battle Royale and Creative modes, there are two categories

of in-app purchases: (1) purchases of V-Bucks, Fortnite’s in-app currency that can be redeemed

for in-game content, such as each new season’s “Battle Pass” (a feature that provides access to

challenges and unlockable content) or cosmetic upgrades (Sweeney Trial Tr. 108:17-109:3,

188:13-189:11), and (2) direct purchases of Fortnite content (Weissinger Trial Tr. 1300:3-7

(“[W]e have these things called Real Money Transactions . . . that you purchase for a real dollar

amount inside of the game.”).)

                      a.      “[N]early half of the players coming into [Fortnite] on a daily

                              basis”—around 15 million users—“are playing Creative and Party

                              Royale Modes”. (Weissinger Trial Tr. 1296:5-8.)

                      b.      Epic also offers access to Fortnite’s Save the World game mode.

                              (Weissinger Trial Tr. 1354:23-24.) Save the World is not—and

                              was never—available on iOS. (Weissinger Trial Tr. 1354:14-18.)

               443.   As of December 2020, players can subscribe to Fortnite Crew, which

provides users with the Battle Pass for each new Battle Royale season, a monthly allotment of

1,000 V-Bucks and exclusive cosmetics. (Weissinger Trial Tr. 1301:15-21 (“[I]n December of

2020, we launched Fortnite [Crew], which is a subscription offering, and in that subscription

offering, you pay $12 a month, and you receive a thousand V-Bucks each month. You receive . .




                                                292
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 301 of 644




. an exclusive cosmetic pack, and you receive the Battle Pass as well, in addition to some other

stuff that we throw in every month.”).)

                444.    Without being able to sell in-app content, Epic would have no viable way

of monetizing Fortnite. (Weissinger Trial Tr. 1303:18-1306:7 (explaining why “[i]t would be

devastating” if Epic “could not offer in-app purchases within Fortnite”: “[T]he Fortnite game

client itself is the best way to actually present and show what you are purchasing. . . . [T]his is

the kind of ‘try before you buy.’ . . . [T]he way I would describe it is the difference is almost

going to Macy’s and actually putting on an outfit and getting in front of a mirror and being able

to turn around and look at it and go, ‘Oh, this looks nice’ versus trying to purchase something

through like a mail-order catalog and just seeing the single static image and kind of being like,

‘Well, I hope it works’ or ‘I hope it fits.’”).)

                445.    Alternative methods of monetization, such as those used by some other

games, would fundamentally change the Fortnite experience. (Weissinger Trial Tr. 1305:22-

1306:7 (“Philosophically we just would never [offer paid in-app advertising]. Ads are a terrible

experience. . . .”).)

                        a.      Fortnite’s success depends on its being available to a large number

                                of users, many of whom play the game entirely for free. A pay-to-

                                download model would deter many of these users from

                                downloading the app and make Fortnite less attractive to users

                                who spend money in the app and require a large population of

                                players to enjoy the game. (Sweeney Trial Tr. 188:2-3 (“I attribute

                                                   293
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 302 of 644




                   a lot of our success to our early decision to make Fortnite Battle

                   Royale available for free.”); Weissinger Trial Tr. 1298:20-24 (“We

                   want as many people to be able to [engage with Fortnite]. There

                   should just be no [price] barrier to those connections and those

                   experiences”).)

             b.    Buying V-Bucks through the Epic website is not an attractive

                   options for consumers. (Sweeney Trial Tr. 334:21-335:9 (“The

                   time that people want to buy V-Bucks in Fortnite is when they see

                   a new cool item in the Fortnite outfit shop. And at that point in

                   time they are in Fortnite on some platform. And to set Fortnite

                   aside, and pull out some device, go to the website, log in, and then

                   make a transaction there is extremely inconvenient, versus a few

                   taps on the screen using in-app purchase. So generally we . . .

                   appreciate that there is a huge amount of payment processing and

                   customer friction associated with selling a user of an app an item

                   outside of that app.”); Weissinger Trial Tr. 1305:2-21 (“If

                   suddenly you then have to leave that experience, you're totally

                   breaking the immersion of it. . . . It's just like a totally disjointed

                   experience, and it's like absolutely, absolutely everything that we

                   don't want people to do. We don't want you to leave the game

                   when you're trying to make a purchase.”); see also Cook Trial Tr.

                                     294
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 303 of 644




                               3912:4-6 (agreeing that “it’s a negative user experience . . . if they

                               have to leave the app” to make a purchase), id. at 3914:5

                               (acknowledging that “[i]t takes another click to leave the app”), id.

                               at 3987:9-13 (noting that “[t]he majority of the revenue on the App

                               Store comes from [in-app purchases within] games”).)

                        c.     If Epic relied on in-game advertising to monetize Fortnite, the user

                               experience would be greatly diminished, and many users would be

                               deterred from playing the game. (Weissinger Trial Tr. 1305:22-

                               1306:7 (“The ad[-]free experience is superior.”).)

               446.     Epic has developed and distributed versions of Fortnite for Microsoft

Windows, macOS, Nintendo Switch, PlayStation consoles, Xbox consoles, iOS and Android.

(Sweeney Trial Tr. 133:5-11.)

               447.     A beta version of Fortnite was released on iOS in March 2018 ahead of

the full release in April 2018. (Sweeney Trial Tr. 111:10-12; Grant Trial Tr. 741:2.) A version

of Fortnite for the Android mobile operating system was first released in August 2018. (Ko

Trial Tr. 798:15-16.)

               448.     Fortnite added 32 million new players in the second quarter of 2020 alone,

the highest quarterly addition of new players since the third quarter of 2018. (PX-2455.3.)

Although Fortnite’s monthly and daily active users have fluctuated over time, Fortnite remains

hugely popular. (See PX-2456.1; PX-2463.8; Sweeney Trial Tr. 101:4-9 (“Fortnite was

generally growing” between January 2020 and August 2020).)

                                                295
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 304 of 644




               449.   Epic promotes in-app purchases in Fortnite through a number of channels.

(See Weissinger Trial Tr. 1306:19-1308:19 (describing the various ways in which Epic markets

Fortnite, including how it markets in-app purchases, specifically); 1310:6-25 (describing the in-

app messaging tools Epic uses to promote in-app purchases); 1311:7-1312:1 (describing the out-

of-app marketing Epic does to promote Fortnite).)

                      a.      First, Epic runs a “Message of the Day” that appears in the game

                              when players first log in and alerts them to new items in the

                              Fortnite item shop that day. (Weissinger Trial Tr. 1310:10-14.)

                      b.      Second, Epic has “over a hundred million” followers of its

                              accounts across different social media platforms. (Weissinger

                              Trial Tr. 1312:6-9.) Epic has accounts on Twitch, Instagram,

                              Twitter, YouTube and Facebook, and Epic uses these channels to

                              market Fortnite. (Weissinger Trial Tr. 1311:7-9, 15-18; PX-

                              2463.1; DX-3399.4.)

                      c.      Third, Epic partners with popular brands, such as Disney, Star

                              Wars, Marvel and others, to create new, cool in-game content

                              available for purchase. (Weissinger Trial Tr. 1307:23-1308:6; PX-

                              2783 (video showing a Star Wars-related promotion).)

               450.   Epic, which spends over $300 million each year and has spent over

$1 billion in total marketing Fortnite (Weissinger Trial Tr. 1314:5-10), has been responsible for

the vast majority of promotional activity that drives in-app Fortnite purchases across its many

                                               296
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 305 of 644




platforms (Weissinger Trial Tr. 1314:11-23 (noting that Epic drove “Fortnite’s financial

success”).)

               451.    When Fortnite was released on iOS in 2018, it was “a cultural

phenomenon”. (Weissinger Trial Tr. 1337:16-21.)

               452.    When Fortnite was available on iOS, Apple often requested to use

Fortnite to promote “another part of [Apple’s] business”. (Weissinger Trial Tr. 1340:5-8.)

               453.    Being featured in the App Store or through Apple’s social media channels

had limited marketing value for Epic. (Weissinger Trial Tr. 1340:25-1341:19 (comparing

featuring on the App Store to featuring on the consoles’ stores), id. at 1340:11-24 (explaining

why Apple’s social media promotions did not benefit Fortnite); see also PX-634.2 (Apple’s “tear

sheet” business snapshot for Epic showed that 69% of Fortnite downloads in the studied period

were a result of users searching for Fortnite in the App Store rather than a result of Apple’s

featuring); Schmid Trial Tr. 3329:7-3330:19 (explaining the “tear sheet”).)

               454.    Apple’s marketing team created numerous problems for Epic. For

example, “[i]n multiple instances, Apple actually leaked [Epic’s] promotional content [for

Fortnite] ahead of [Epic’s] promotional” schedule. (Weissinger Trial Tr. 1342:10-15.)

                       a.     In December 2018, Apple leaked a Fortnite skin a day before it

                              was supposed to be released to the public. (Weissinger Trial Tr.

                              1342:17-21 (“Apple leaked the Battle Pass key art content, so all

                              the characters that were coming with the new season leaked in

                              advance of the official Fortnite reveal.”).)

                                                297
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 306 of 644




             b.    In February 2019, Epic hosted its first virtual concert in Fortnite,

                   which featured DJ Marshmello. (Sweeney Trial Tr. 101:24; 324:2-

                   4.) Several weeks prior to the concert, Apple asked Epic if it could

                   use the event as an opportunity to market Apple Music.

                   (Weissinger Trial Tr. 1342:23-24.) As Epic’s head of marketing

                   noted, Apple’s marketing support “always felt . . . opportunistic”.

                   (Weissinger Trial Tr. 1338:6, 1339:2-12.) Apple then leaked the

                   DJ Marshmello set list prior to the event going live in Fortnite.

                   (Weissinger Trial Tr. 1342:22-1343:1.) An internal Apple App

                   Store presentation recognized the reach of the concert, noting that

                   “10M people watched the Marshmello concert live in-game, and

                   that doesn’t even include viewers on Twitch, YouTube and other

                   platforms”. (DX-4094.26.)

             c.    In October 2019, Mike Schmid, Apple’s business development

                   manager responsible for Fortnite, reached out to Mark Rein, Epic’s

                   Vice President, requesting assets in advance to support a

                   promotion for Fortnite’s upcoming launch of Chapter 2, the largest

                   update to the game since its original launch. (PX-2435.1.)

                   Because Epic was planning a surprise release of Chapter 2, Schmid

                   repeatedly assured Epic that he would take “personal

                   responsibility” for ensuring that Apple did not leak details of the

                                    298
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 307 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 308 of 644




gameplay, on a weekly basis. These updates ensure that users can enjoy new and surprising in-

game experiences each time they open the app. Having a purely static environment without

these updates would materially degrade the user experience. (Sweeney Trial Tr. 105:21-106:2

(“Fortnite evolves through a series of seasons, and several seasons have ended in major

cinematic events.”), id. at 106:6-7 (“We generally make a major update to Fortnite every two

weeks.”), id. at 106:10-14 (“[T]he world of Fortnite is constantly evolving. There are new faces

appearing in the world, new forms of game play and other behavior constantly coming in every

time. And these updates are critical for Epic to deliver all this new functionality to . . . Fortnite

participants.”).)

                456.   Another feature of Fortnite is cross-play. Cross-play is the ability to play

with users on different platforms located anywhere in the world. (Sweeney Trial Tr. 106:18-22,

196:8-22.)

                       a.      Since September 2018, cross-platform play for Fortnite has been

                               available on Sony’s PlayStation, Microsoft’s Xbox, the Nintendo

                               Switch, Windows PCs, Mac computers, certain Android and (until

                               recently) certain iOS mobile devices. (Sweeney Trial Tr. 107:2-10

                               (noting that “every Fortnite player on all seven different platforms

                               was able to play together in that time frame”), id. at 237:15-18.)

                       b.      Epic pioneered cross-platform play for the gaming industry. It

                               persuaded Sony and Microsoft to erase the artificial barriers

                               between players on their console platforms, making Fortnite the

                                                 300
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 309 of 644




                               first game to achieve full cross-play functionality across those

                               devices, as well as PCs and mobile devices. (Sweeney Trial Tr.

                               106:25-107:10 (“Epic went through a series of negotiations with

                               Microsoft and with Sony over the period of 2018 -- throughout

                               2018, which resulted in both Microsoft and Sony opening up to

                               enable cross-play between their consoles and between every other

                               platform, with the effect that every Fortnite player on all seven

                               different platforms was able to play together in that time frame.”),

                               id. at 198:22-199:6.)

                457.    For Fortnite users to play together online, they must have the same

“version” of Fortnite software. (Sweeney Trial Tr. 158:17-19 (“All Fortnite users in a session

need to be on the same version of Fortnite so they have the latest version of the Fortnite world

and the latest content.”).)

                458.    Apple delisted Fortnite from the App Store on August 13, 2020.

(Sweeney Trial Tr. 148:17-22.)

                        a.     When Apple delisted Fortnite, it prevented Epic from further

                               updating the iOS version of the game. (Grant Trial Tr. 737:23-25

                               (“If you had not updated Fortnite by the 13th because it was no

                               [longer] in the App Store, you could not get an update. . . .”).)

                        b.     This cut off iOS users from being able to play with users on other

                               platforms once Epic released its next content update. (Sweeney

                                                301
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 310 of 644




                   Trial Tr. 158:19-23 (“And so when Apple removed Fortnite’s

                   ability to update Fortnite, and Epic had issued the next season

                   launch for Fortnite, all the players on other platforms could get the

                   latest version and moved on while the iOS players were left behind

                   on the old version.”); Grant Trial Tr. 738:1-6 (“The larger impact

                   was approximately two weeks later when we released Fortnite

                   season 14. At that point, because Apple [was] blocking updates,

                   we submitted version 14 and they declined to take it. It meant that

                   users on iOS were no longer able to play with other platforms, and

                   did not have access to the Season 14 con[t]ent or Fortnite

                   experiences.”); see also Weissinger Trial Tr. 1347:19-1348:2

                   (noting “there were . . . severed friend connections” and less

                   playtime after Fortnite was removed from iOS).)

             c.    By removing Fortnite from iOS, Apple has hindered Epic’s access

                   to the key area of growth for Fortnite: mobile. (Weissinger Trial

                   Tr. 1308:23-1309:5 (explaining that a mobile user base is different

                   from Epic’s existing Fortnite user base), id. at 1311:1-4 (noting

                   that Fortnite has “reached a pretty significant penetration on

                   console” of “80, maybe 90” percent and has therefore been

                   “specifically focusing on partnerships or collaborations that have

                   wide social reach and inherently also wide mobile reach”); DX-

                                    302
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 311 of 644




                               3233.8 (indicating there is a particular growth opportunity on

                               mobile for new female users).) Mobile is particularly attractive to

                               Epic’s growth plan because people take their smartphones

                               everywhere they go. (Weissinger Trial Tr. 1347:7-18.)

        C.     Fortnite Game Modes.

               459.    Most gameplay in Fortnite is multiplayer and requires an internet

connection. People can play Fortnite online with friends and family, with teams or with other

gamers of similar skill levels with whom they are matched. (Sweeney Trial Tr. 107:12-18 (“In a

social game like Fortnite, players typically play[] together with other friends . . . [a]nd they are

often playing socially or with voice chat.”).)

               460.    Fortnite includes three main game modes: (i) Save the World, (ii) Battle

Royale, and (iii) Creative. (Sweeney Trial Tr. 99:5-10, 328:4-8; Weissinger Trial Tr. 1354:23-

24.)

               461.    Fortnite: Save the World was the original game mode launched in July

2017. Save the World is a cooperative campaign where squads of up to four players team up to

build forts and fight non-playable, computer monsters. (DX-5536.4.) Save the World is not

available on mobile platforms or on the Nintendo Switch. (Weissinger Trial Tr. 1354:18 (“Save

the World was not available on iOS”), id. at 1354:21 (“Save the World is also not available on

Switch.”).)

               462.    Fortnite: Battle Royale is a player-versus-player elimination and survival

match involving up to 100 players. (DX-5536.1-2) Battle Royale is the most popular Fortnite


                                                 303
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 312 of 644




gameplay mode with storylines and gameplay that evolve over time, as new chapters and seasons

are released. (Sweeney Trial Tr. 99:5-10 (“Our most popular gaming experience in Fortnite is

Fortnite’s Battle Royale mode. This is a 100-player experience where lone players or duos or

squad drop into the island together and fight, using fairly traditional gaming mechanics within

the world of Fortnite until one team prevails at the end of the match.”), id. at 105:21 (“Fortnite

evolves through a series of seasons . . . .”).)

                        a.      Epic also offers users a “sit out” feature, which permits them to

                                observe Battle Royale matches instead of competing. (Weissinger

                                Trial Tr. 1296:14-1297:5.)

                        b.      A season typically lasts around 10 weeks and is a subset of a larger

                                chapter. (Weissinger Trial Tr. 1393:14-19.)

                        c.      Although the Battle Royale gameplay mode is available to

                                download and play free of charge, users can make a range of in-

                                app purchases for digital content. (Sweeney Trial Tr. 108:15-16,

                                108:18-20.) In-app purchases include special and limited edition

                                digital avatars, costumes, dance moves and other cosmetic items.

                                (Sweeney Trial Tr. 108:23-109:3.)

                463.    Fortnite: Creative mode allows users to create their own content in

Fortnite. (Sweeney Trial Tr. 328:4-8 (“Within Fortnite, Creative—this is just a tool for creating

your own Fortnite island.”).) Creative mode is further described on Epic’s website: “Included

free with Battle Royale, Fortnite Creative puts you in charge of your own Island . . . Creative is

                                                  304
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 313 of 644




also a great place for just creating your own scenery. Make your Island how you want it to look

and enjoy it with your friends!” (DX-5536.3.)

       D.      Fortnite as a Social Space.

               464.    Fortnite connects players from around the world in a social experience

that, for many, could not be replicated outside the app. (Sweeney Trial Tr. 107:14-18 (“So the

magic of Fortnite is the ability to play together with people you know in the real world and have

a shared social experience, even if you are in different places and on different devices.”)

Fortnite’s capacity to bring people together has been particularly important during the COVID-

19 pandemic. (See Weissinger Trial Tr. 1295:8-16 (explaining that Fortnite allowed people “to

stay socially connected to each other” while “locked down” due to the pandemic).)

               465.    Fortnite has several features that enable social interactions outside of

gameplay. (Sweeney Trial Tr. 120:7-12 (“[W]e built . . . Epic’s friends system . . . for

Fortnite.”), id. at 98:6-7: (“Fortnite has a mode called Fortnite Party Island, which includes a

variety of entertainment experiences.”).)

               466.    Fortnite is one of the world’s largest event venues. Users can see movies,

watch concerts or attend cultural events with their friends within the app. (Sweeney Trial Tr.

98:16-99:1 (“Fortnite Party Island . . . includes a variety of entertainment experiences. Some

are gaming but others are not gaming related at all. We have held concerts[,] . . . showed several

feature-length films . . . [and played] a prerecorded social dialogue that players can visit and

listen to and also talk about socially . . .”).) These in-game social events do not involve

competitive game play. (Sweeney Trial Tr. 102:18-22, 103:24-104:1, 105:14-16.)


                                                305
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 314 of 644




                      a.     Travis Scott’s in-game concert in April 2020 drew 12.3 million

                             concurrent users, including 2 million iOS users. (Weissinger Trial

                             Tr. 1294:10-22.)

                      b.     Three of Christopher Nolan’s feature-length films—The Dark

                             Knight, Inception and The Prestige—were virtually screened

                             within in June 2020 Fortnite. (Sweeney Trial Tr. 103:12-16;

                             Weissinger Trial Tr. 1289:8-25.)

                      c.     Exclusive episodes of ESPN’s The Ocho and the Discovery

                             Channel’s Tiger Shark King aired within Fortnite. (Sweeney Trial

                             Tr. 104:16-24.) More than two million users viewed The Ocho,

                             while over 900,000 users viewed Tiger Shark King. (Weissinger

                             Trial Tr. 1290:5-7, 1290:16-23.)

                      d.     Epic has aired We the People, a series of discussions on “racial

                             equality and voter suppression in the United States”, within

                             Fortnite. (Sweeney Trial Tr. 105:5-7.) There were 1.5 million

                             viewers. (Weissinger Trial Tr. 1291:5-11.)

                      e.     In March 2021, the DJ Kaskade hosted a virtual concert on

                             Fortnite. (Weissinger Trial Tr. 1293:25-1294:1.)

              467.    Fortnite continues to evolve from a social game into a more immersive

and varied social space that competes not only with gaming companies but also with other social

media companies such as Facebook and Netflix. (Sweeney Trial Tr. 94:4-7 (“In the area of our

                                                306
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 315 of 644




consumer apps, our competitors range from other social ecosystem companies, such as Facebook

and Roblox, to other game developers such as Activision or Electronic Arts.”), id. at 98:16-99:3

(describing Fortnite Party Island as “a real-time 3D social session where you're watching

something like a Netflix movie”).)

       E.      Cross-Progression Enhances the Complementary, Not Substitutable, Nature
               of Other Platforms.

               468.   Fortnite supports cross-progression, which means Fortnite users can

access Fortnite across multiple platforms using the same account. This feature allows users to

access the same in-game content, and maintain their progress, regardless of the platform on

which they play. For users who play Fortnite on multiple platforms, cross-progression is an

important feature. (Sweeney Trial Tr. 108:3-11 (“Cross-progression refers to people who have—

a user who owns multi devices to connect with Fortnite on different—on these different

platforms, and to have the same progression or state [of] ownership of virtual items on all

different platforms; meaning that if you go into Fortnite on iOS, for a time Fortnite outfits you

owned on iOS and Fortnite record of progress that you had, would be carried over if you left iOS

and went over to Xbox, or if you left Xbox and came back to iOS.”).)

               469.   Fortnite is best experienced on a PC or console, where players can take

advantage of a large screen and dedicated game controllers. (Sweeney Trial Tr. 139:15-23,

146:8-17; Grant Trial Tr. 692:8-693:1, 698:15-699:3.)

               470.   Fortnite users generally cannot access a PC or console while on the go,

such as when they’re riding a subway or waiting for an appointment. (Grant Trial Tr. 689:14,

693:11-18.)
                                               307
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 316 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 317 of 644




       F.      Epic Games Store.

               473.    Epic launched the Epic Games Store—also known as EGS—in December

of 2018. (Sweeney Trial Tr. 123:10-13; Allison Trial Tr. 1199:17.)

               474.    EGS both publishes and distributes apps. (Sweeney Trial Tr. 124:2-5;

Allison Trial Tr. 1198:19-20, 1218:22-1219:10.) A publisher “typically funds most or all of the

expenses associated with the entire product, including development and marketing; whereas, a

distributor typically only pays the cost associated with direct distribution, such as in the

digital . . . bandwidth and payment with processing fees”. (Sweeney Trial Tr. 96:24-97:4.) EGS

offers developers an 88/12 split of all revenues from the sale of their games through EGS. For

distribution services, EGS also provides developers the choice of using Epic direct payment for

in-app purchases within their apps, an optional service it also offers for a 12% commission on

sales. (Sweeney Trial Tr. 126:1-8; 307:15-17 (“Services of Epic Games Store [a]s a digital

distributor are entirely different than the services Epic provides and has offered to developers as

a publisher.”).)

                       a.      EGS’s primary competitor is the digital PC store, Steam, operated

                               by Valve Corp. (Sweeney Trial Tr. 94:22-25 (“And with respect to

                               the Epic Games Store and the PC and Mac market, our competitors

                               include stores that publish games for many publishers. Stores that

                               distribute games for many publishers, such as Steam . . . .”); see

                               also Allison Trial Tr. 1202:2-4 (describing Steam’s “dominant”

                               market share).)


                                                 309
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 318 of 644




             b.    Steam, as the incumbent, is the source for a substantial share of all

                   game downloads on PC computers. (Allison Trial Tr. 1202:2-4;

                   1212:21-23; 1285:4-6; see also Patel Trial Tr. 424:12-13

                   (“Steam . . . had approximately 30,000 games on their service.”).)

             c.    Originally launched in 2003, Steam had historically charged

                   developers a 30% commission. (Sweeney Trial Tr. 174:4-5,

                   174:10-14.)

             d.    In November 2018, just days before Epic launched EGS with a

                   12% commission, Steam announced that it was implementing a

                   tiered commission structure whereby it would charge developers

                   30% on the first $10 million in sales for an app, 25% on sales

                   between $10 million and $50 million, and 20% on all sales above

                   $50 million. (Allison Trial Tr. 1209:16-1210:1.)

             e.    More recently, Microsoft announced that it was lowering its

                   commission on the Windows Store to the same 88/12 split as EGS.

                   (Allison Trial Tr. 1275:24-1276:5.)

             f.    Neither Apple nor Google lowered its 30% commission rates in

                   response to the decisions by Epic and Steam. (Schmalensee Trial

                   Tr. 1957:23-1958:12.) When asked whether Apple felt any

                   pressure to respond when Steam reduced its price, Mr. Cook

                   testified that he was not even “familiar with Steam” despite

                                    310
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 319 of 644




                                Apple’s argument that it faces “huge competition for developers”.

                                (Cook Trial Tr. 3993:2-8.) And in fact, Apple’s economists cannot

                                point to “any evidence of platforms responding to pricing or other

                                term changes made by gaming transaction platforms that are used

                                on other devices”. (Schmalensee Trial Tr. 1958:13-1959:8.)

               475.   In terms of digital game sales on PCs and Macs, the Epic Games Store is

“[a] clear and strong number two” behind Steam. (Allison Trial Tr. 1221:4-7.) It currently has

more than 500 titles, more than 100 developers, 50 million monthly active users and 180 million

accounts. (Allison Trial Tr. 1220:8-25.)

               476.   Epic has had discussions about expanding EGS’s offerings to include

mobile apps. (Allison Trial Tr. 1233:8-10, 1233:22-1234:8.)

               477.   Currently, Apple prevents users from downloading EGS onto iOS.

(Sweeney Trial Tr. 127:10-11 (“Apple does not allow third parties to distribute stores for iOS.”);

Allison Trial Tr. 1233:8-17.)

                      a.        Users cannot download and install EGS on their iPhones directly

                                from Epic’s servers. (Sweeney Trial Tr. 127:10-11; see Allison

                                Trial Tr. 1233:11-14.)

                      b.        EGS’s inability to achieve distribution on iOS prevents it from

                                obtaining the scale that would enable further innovations and

                                consumer offerings. (Sweeney Trial Tr. 97:24-98:4 (“[O]ur Epic

                                Games Store business is harmed by Apple’s policies because we

                                                311
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 320 of 644




                              are barred from introducing a version of our store for iOS. So we

                              can operate on PC and Mac, but we cannot, because of Apple’s

                              policies, distribute apps on iOS, and that locks us out of a very

                              large worldwide business we would love to be in.”); Allison Trial

                              Tr. 1234:2-8.)

       G.      Distribution of EGS.

               478.   At present, EGS is available for direct download onto PCs and Mac

computers through Epic’s website. (Allison Trial Tr. 1198:18-20.)

               479.   Epic would like to make EGS available on iOS. (Sweeney Trial Tr.

97:24-98:4; Allison Trial Tr. 1233:8-10.)

               480.   Apple has prevented Epic from offering EGS to iPhone users by enforcing

restrictive policies that forbid third parties from competing with the App Store to reach over one

billion users on iOS devices. (Sweeney Trial Tr. 98:1-4, 112:13-17; Allison Trial Tr. 1233:11-17

(“Current policies around content delivery, networks, delivering code and using payments would

preclude us from spinning up an effort [on iOS]”).)

               481.   Today, EGS has over 180 million registered accounts and more than 50

million monthly active users. (Allison Trial Tr. 1220:21-25.)

               482.   EGS supports more than 100 third-party app developers and publishes

over 400 of their apps. (Allison Trial Tr. 1220:18-20.)




                                               312
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 321 of 644




               483.     To create a positive user experience on EGS, Epic has invested substantial

resources into acquiring distribution rights for popular games, as well as developing new store

features. (See Allison Trial Tr. 1214:1-8, 1217:14-22, 1218:18-1220:7.)

                        a.     Over the past year, Epic has added multiple new features to EGS.

                               For example, “in December 2019, we only supported 10 different

                               currencies. Now we are supporting 42 local currencies.” (Ko Trial

                               Tr. 801:4-6.)

                        b.     EGS gives away different free games to users each week and also

                               runs seasonal events. (Sweeney Trial Tr. 262:4-6 (“There are

                               several free games that are always free. And then each week we

                               offer a new game free for just that week.”); Allison Trial Tr.

                               1219:19-1220:7, 1225:6-7.)

               484.     EGS operates a single storefront across multiple geographies. (Sweeney

Trial Tr. 129:10-13.)

               485.     Epic expects EGS to become profitable within “three or four years”.

(Sweeney Trial Tr. 127:4-6; see also Allison Trial Tr. 1232:14-22 (noting the Epic Games Store

expects distribution of its third-party content to “first turn a profit” in 2024 and that, when Epic’s

first-party content is included, EGS will turn a profit in either 2022 or 2023); PX-2469.7 (Epic

Games Store projected Profit and Loss statement).)      It is currently outperforming its projected

business plan by “about 15 percent”, and its first-party and third-party businesses are up 113%

and 100%, respectively. (Allison Trial Tr. 1233:2-7.)

                                                 313
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 322 of 644




             a.    EGS is not yet profitable at its current scale and stage of

                   development because it has front-loaded its marketing and user-

                   acquisition costs to gain market share. (Sweeney Trial Tr. 126:19-

                   23 (“When you consider all of the costs of the Epic Games Store,

                   it’s hundreds of millions of dollars short of being profitable

                   because of the upfront investments we’ve made in the store.”);

                   Allison Trial Tr. 1214:1-1215:6 (explaining EGS up-front

                   investments in recoupable minimum guarantee deals to acquire

                   content), id. at 1230:5-10 (noting that the EGS is not yet profitable

                   as it is “in a period of growth and investment”).)

             b.    EGS’s 12% transaction fee is sufficient to cover the variable costs

                   of running EGS, including payment processing, customer service

                   and bandwidth. (Sweeney Trial Tr. 126:9-10 (“12 percent is

                   intended to cover all Epic’s variable operating costs.”); 126:14-18

                   (“Epic makes a gross profit on the variable cost associated with a

                   new purchase. We make more money from the 12 percent than it

                   typically costs us to cover the cost of that additional purchase, but

                   that does not account for all of the storage costs, such as marketing

                   and exclusive products.”).)

             c.    Epic expects EGS to recover its up front investments in content

                   over the long term. (Allison Trial Tr. 1230:5-10.) This includes

                                    314
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 323 of 644




                              the investments it has made in acquiring content for the

                              store. (Allison Trial Tr. 1232:22-1233:1.)

               486.   “[Epic] process[es] transactions either directly or through a payment

processing partner in at least a hundred different countries.” (Sweeney Trial Tr. 130:3-7.)

       H.      Epic’s Financial Arrangements with Developers Distributing Through EGS.

               487.   Epic enters into a variety of financial arrangements with third-party

developers to distribute their apps through EGS. (See, e.g., Allison Trial Tr. 1214:1-8

(explaining minimum guarantees), id. at 1223:8-13 (noting that some developers have chosen not

to use Epic’s payment processor).)

               488.   Epic does not require any developer to use its payment processing system,

called Epic direct payment, for in-app purchases. (Sweeney Trial Tr. 125:23-25 (“[T]here is a

commission on in-app purchases, which is only charged when a developer uses our payment

processing method.”); Ko Trial Tr. 800:4-14 (explaining that developers have the option to use

Epic’s payment solutions); Allison Trial Tr. 1221:21-1222:12 (same).)

                      a.      Developers who do not use Epic direct payment do not pay Epic

                              anything for in-app purchases. (Sweeney Trial Tr. 125:23-25.)

                      b.      Several app developers have elected to use their own payment and

                              purchase functionality for in-app purchases. For instance, the

                              developers Ubisoft and Wizards of the Coast use their own

                              payment processing system for in-app purchases in their games

                              distributed through EGS. (Allison Trial Tr. 1223:8-20.)


                                               315
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 324 of 644




               489.    To date, third party developers have made about $500 million in revenue

through the Epic Games Store. (Allison Trial Tr. 1223:22-25.)

               490.    Prior to deciding on the 12% revenue share, EGS considered its own costs

and revenues and considered the revenue shares of competing distributors of PC games. (See

Allison Trial Tr. 1208:5-1209:8, 1210:14-23.)

                       a.     Epic decided to charge developers a 12% revenue share after it

                              concluded that 12% would be competitive, sufficient to cover its

                              costs of distribution and allow for further innovation and

                              investment in EGS. (Sweeney Trial Tr. 126:9-10 (“12 percent is

                              intended to cover all Epic’s variable operating costs.”); Allison

                              Trial Tr. 1210:14-23.)

                       b.     Epic also wanted to help developers get as close to self-publishing

                              costs as possible because it understood that many developers had

                              grown dissatisfied with Steam’s 30% commission. (Allison Trial

                              Tr. 1205:17-12:09:12.)

               491.    For PC and Mac apps developed using Unreal Engine, Epic waives the

Unreal Engine licensing fee for sales made through EGS. (Apple Ex. Depo. 2 at 242:18-24

(Kreiner).)

               492.    In exchange for its commission, EGS offers app developers several

services: (1) distribution services (i.e., hosting their games), (2) payment processing services




                                                316
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 325 of 644




(i.e., facilitating sales of their games and other digital products) and (3) merchandising services

(i.e., promoting and advertising their game). (Allison Trial Tr. 1224:4-1225:7.)

                       a.      Epic also maintains a developer portal for EGS where developers

                               can publish their games, upload new builds and marketing assets,

                               and access sales and financial data. (Allison Trial Tr. 1224:4-13.)

                       b.      Developers who distribute their games through EGS benefit from

                               access to the platform’s substantial, growing user base. (Allison

                               Trial Tr. 1220:18-25.)

       I.      EGS Security.

               493.    Epic has developed EGS with security in mind. (See Allison Trial Tr.

1225:8-1227:18.)

                       a.      EGS utilizes email verification when new users create store

                               accounts. (Allison Trial Tr. 1225:15-18.)

                       b.      EGS requires multi-factor authentication and account ownership

                               verification. (Allison Trial Tr. 1225:23-1226:2.)

                       c.      EGS employs tools to detect, and protect users against, automated

                               login requests. (Allison Trial Tr. 1225:19-22, 1226:3-7.)

                       d.      EGS has never had any instances of known malware or digitally

                               pirated content on the store. (Allison Trial Tr. 1228:3-8.) It runs

                               “malicious software scans” to look for malware. This scan also

                               detects pornographic imagery, which Epic does not permit on its


                                                317
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 326 of 644




                               store. (Allison Trial Tr. 1227:22-1228:2; see also Allison Trial Tr.

                               1256:11-13.)

               494.    Epic continues to take security seriously because “[i]t’s really hard to

successfully run a digital business if you don’t have strong security for your partner and your

players”. (Allison Trial Tr. 1229:22-1230:2.)

               495.    Like any digital storefront, EGS has experienced instances of payment

fraud. (Allison Trial Tr. 1228:9-11; see also Ko Trial Tr. 805:11-17.)

               496.    In the first few months EGS was in operation, there was one particular

incident where “a group of bad actors” exploited Epic’s “dual entitlement” program with Ubisoft

which generated a large volume of fraudulent transactions. As soon as Epic learned about the

exploit, it halted sales of Ubisoft titles until the exploit could be corrected. Epic has not had any

issues with its dual entitlement program with Ubisoft since. (Allison Trial Tr. 1228:12-1229:14.)

               497.    Epic and Ubisoft—not EGS users—were the victims of the fraudulent

activity, and Epic in the end “paid Ubisoft for every unit that was fraudulently refunded”.

(Allison Trial Tr. 1229:15-19.)

       J.      Epic Online Services (“EOS”).

               498.    Epic offers game developers EOS, an SDK containing a suite of tools.

(Sweeney Trial Tr. 120:7-10.)

               499.    EOS includes tools to set up matchmaking, allow users to see when their

friends are online and enable voice chat. (Sweeney Trial Tr. 120:11-14.)




                                                 318
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 327 of 644




               500.    EOS gives developers the option to use Epic’s user account system for

their own games, although they are not required to do so. (Sweeney Trial Tr. 120:7-10 (“Epic

Online Services is a software development kit that we make available to other game developers

that provides many of the social features that we built for Fortnite and makes them available to

other companies, such as Epic’s account system . . . .”).)

               501.    EOS is compatible with multiple platforms and software engines including

Windows, Mac, Linux, PlayStation, Xbox, Nintendo Switch, iOS and Android. The EOS SDK

also can be integrated with an app that uses any graphics engine, including both Unreal Engine

and a popular competitor called Unity. (Sweeney Trial Tr. 120:19-21 (“They support iOS,

Android, Windows, Mac, Linux, Xbox, PlayStation, and Nintendo Switch.”), id. at 121:1-4 (“[I]t

is available on the variety of programming languages and can be used in the Unity engine, the

open source Godot engine, or in-house engines . . . created by developers.”).)

               502.    EOS is free. (Sweeney Trial Tr. 121:8-9.)

       K.      iOS is an Important Distribution Channel for Fortnite.

               503.    Because apps are specific to an operating system, Epic had to build

separate versions of Fortnite for each platform on which it chooses to offer Fortnite. (Grant

Trial Tr. 691:5-10 (“Q. Is the version of Fortnite that Epic has written for the PC the same or

different from that written for the mobile device? A. They share many common aspects of code,

the business logic that I referred to earlier, but they have very distinct code, for example, to

handle input.”).)




                                                 319
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 328 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 329 of 644




             a.    the discovery of “bugs in iOS that we believed were in Apple’s

                   software and not ours” (Grant Trial Tr. 731:11-13);

             b.    memory usage and bugs affecting Epic’s ability to implement and

                   support iOS and macOS features (Grant Trial Tr. 730:22-731-13;

                   PX-856 (noting the iOS 12 memory issue); PX-452 (noting the

                   “significant amount of engineering time” that Epic invested in

                   “reducing the memory footprint” of Fortnite));

             c.    investigation into rendering issues in Fortnite caused by Apple’s

                   Metal software (Apple Ex. Depo. 5 at 95:19-96:3, 244:3-15

                   (Penwarden); Schmid Trial Tr. 3310:1-10 (“Q. Do you recall that

                   the issue was associated with iOS 11 that had certain memory

                   allocations issues? A. I do recall, yes. Q. So -- and in iOS 12,

                   there was a change in those allocations. Do you remember that? A.

                   I do. Q. And that's what caused these memory issues with certain

                   developers? A. It functionally reduced the amount of available

                   memory for a developer to leverage in certain circumstances.”); id.

                   at 3335:13-18 (noting that Epic had eight full-time engineers

                   working to address the issue as compared with only one full-time

                   engineer dedicated by Apple)); and

             d.    Epic’s testing and providing feedback on Apple developer tools

                   (Grant Trial Tr. 731:7-10 (“[W]e would often provide Apple with

                                    321
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 330 of 644




                              feedback, things we observed in the tools, perhaps suggestions

                              how functionality could be improved based on either our

                              experience or our knowledge of other platforms.”).).

               509.   Epic also spent nearly a year working to implement Apple’s “Sign in with

Apple” service after it was made a mandatory. (Grant Trial Tr. 730:14-21 (“Two of the more

memorable ones were [S]ign-in with Apple where Apple required any app that supports common

accounts for authentication such as being able to use your Google account to sign in for your

Facebook account; you would sign in with Apple, Apple required that you then also support their

new system. That was probably—that was months of work for many people, Epic probably, you

know, a couple of man years of work.”); see also Schmid Trial Tr. 3268:3-5 (recalling that Epic

had to work through issues with Sign in with Apple); DX-4270.49 (noting “Apple’s new login

process for Apps” was an “[o]utstanding [c]hallenge” for Epic’s mobile business.)

               510.   Epic officers and employees, including Mr. Sweeney himself, were invited

several times to Apple’s Worldwide Developers Conference to showcase Apple’s hardware and

graphics APIs through demonstrations of how those could be used by Unreal Engine. (Schiller

Trial Tr. 2899:14-2900:10; DX-3462.)

       M.      Epic’s Experience on iOS.

               511.   Epic had a Developer Program account with Apple. (See Grant Trial Tr.

721:14-722:1; PX-2619.)

                      a.      Epic first opened its Developer Program account in September

                              2010. (Sweeney Trial Tr. 89:20-90:2.)


                                              322
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 331 of 644




               512.   As of August 28, 2020, Epic’s Developer Program account was associated

with multiple apps distributed through the App Store: Fortnite, Battle Breakers and Spyjinx.

(Grant Trial Tr. 664:13-15; DX-4322.)

               513.   Epic owns and operates a number of subsidiaries that relate to different

parts of its business. (Sweeney Trial Tr. 304:14-16 (“Q. [D]oes the entity that sued Apple have

any financial interest in the entity that owns the Unreal Engine? A. Yes. It’s all 100 percent

owned.”), id. at 305:14-16 (“Q. Does the entity that sued [Apple] have an interest in the

subsidiary that owns Houseparty? A. Yes.”).)

               514.   Five of Epic’s subsidiaries have separate Developer Program and/or

Developer Enterprise Program accounts pursuant to separate agreements with Apple. (Grant

Trial Tr. 724:8-725:21.)

               515.   Epic’s subsidiary Epic Games International S.à r.l. (“Epic International”)

has a Developer Program account with Apple. (Grant Trial Tr. 724:11-16, 725:19-21.)

                      a.      Epic International’s Developer Program account is currently

                              associated with apps distributed through the App Store including

                              non-game apps such as Unreal Remote and Live Link Face. (Grant

                              Trial Tr. 724:11-16; 664:21-665.)

                      b.      Epic International has entered into a Developer Agreement and

                              Developer Program License Agreement with Apple for its account.

                              These agreements are separate from Epic’s agreements. (Grant

                              Trial Tr. 724:8-25, 725:19-21.)

                                               323
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 332 of 644




              516.   Epic’s subsidiary Life on Air has a Developer Program account with

Apple. (Grant Trial Tr. 724:17-22, 725:19-21.)

                     a.      Life on Air’s Developer Program account is associated with the

                             Houseparty app for iOS and macOS. (Grant Trial Tr. 724:19-20.)

                     b.      Life on Air has entered into a developer agreement with Apple.

                             The Life on Air agreement is separate from Epic’s other entities’

                             agreements. (Grant Trial Tr. 724:17-22, 725:19-21.)

              517.   Epic’s subsidiary Ka-Ra S.A.S. has a Developer Program account with

Apple. (Grant Trial Tr. 725:1-7, 725:19-21.)

                     a.      There are currently no apps distributed through the App Store

                             associated with the Ka-Ra S.A.S. Developer Program account.

                             (Grant Trial Tr. 724:8-725:21.)

                     b.      Ka-Ra S.A.S. has entered into a developer agreement with Apple.

                             This agreement is separate from Epic’s other entities’ agreements.

                             (Grant Trial Tr. 725:1-7, 13-14, 19-21.)

              518.   Epic’s subsidiary Psyonix has a Developer Program account with Apple.

                     a.      There are currently no apps distributed through the App Store

                             associated with Psyonix’s Developer Program account. (Grant

                             Trial Tr. 725:8-16; 724:8-725:21.)




                                               324
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 333 of 644




                      b.     Psyonix has entered into a developer agreement with Apple. This

                             agreement is separate from Epic’s other entities’ agreements.

                             (Grant Trial Tr. 725:8-9, 15-16, 19:21.)

               519.   Epic’s subsidiary Games Sweden Scanning AB (“Epic Sweden”),

formerly Quixel AB, has a Developer Program account with Apple. (Grant Trial Tr. 725:10-12,

17-21.)

                      a.     There are currently no apps distributed through the App Store

                             associated with Epic Sweden’s Developer Program Account.

                             (Grant Trial Tr. 724:8-725:21.)

                      b.     Epic Sweden has entered into a developer agreement with Apple.

                             This agreement is separate from Epic’s other entities’ agreements.

                             (Grant Trial Tr. 725:10-12, 17-21.)

          N.   Epic Has Disagreed with Apple’s Policies for Years.

               520.   Mr. Sweeney has long been outspoken regarding his view that Apple

should open up iOS to competing app distribution and payment processing solutions. (Sweeney

Trial Tr. 88:8-17.)

               521.   In June 2015, Mr. Sweeney emailed Mr. Cook urging Apple to consider

“separating iOS App Store curation from compliance review and app distribution”. He noted

that “it doesn’t seem tenable for Apple to be the sole arbiter of expression and commerce over an

app platform approaching a billion users.” (PX-2374.1.)




                                              325
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 334 of 644




               522.    In January 2018, Mr. Sweeney sought a meeting with Apple through Mark

Rein, Epic’s Vice President, “to talk about the potential for iOS and future Apple things to

operate as open platforms” and discuss how Epic has “a PC and Mac software store and would

love to eventually support it on iOS”. He added: “If the App Store we[re] merely the premier

way for consumers to install software, and not the sole way, then Apple could curate higher

quality software overall, without acting as a censor on free expression and commerce on the

platform . . . .” (PX-2421.1.)

               523.    In September 2018, an Apple representative contacted Epic to inform Epic

that the Vietnamese Authority of Broadcasting and Electronic Information (“ABEI”) had

contacted Apple and demanded that it remove Fortnite from the App Store in Vietnam unless

Epic obtained a license from ABEI. (PX-1667.3.) Apple asked Epic to obtain such a license.

(Id.) Mr. Sweeney responded that Epic “cannot in good conscience obtain the Vietnam ABEI

license as Apple asks” because Vietnamese law would “compel Epic to maintain data about

Vietnamese users, including their communications, physically in Vietnam. Vietnamese

authorities have broad investigative and enforcement powers, sufficient to force seizure or

censorship of such data or, even more troublingly, to force Epic to collaborate with the

Vietnamese government in investigating and acting upon outlawed forms of speech.” (PX-

1667.2.)

                       a.        Mr. Sweeney noted: “There are deep perils in Apple operating the

                                 only allowed software distribution facility on iOS, as it allows

                                 repressive regimes to demand developer participation in their

                                                  326
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 335 of 644




                             surveillance and censorship programs, using Apple as a proxy for

                             enforcement. This peril does not exist on other general computing

                             platforms such as Android, Windows, Mac, and Linux, in which

                             users have the freedom to install software directly from sources of

                             their own choosing.” (PX-1667.2.)

                      b.     In response, Apple stated that it “follows the law in all countries

                             that it operates in, and Apple may be required to take appropriate

                             action”. (PX-1667.1.)

              524.    On June 30, 2020, Mr. Sweeney wrote to Apple’s senior leadership

team—Messrs. Cook, Schiller, Federighi and Fischer—asking for Apple to allow Epic to provide

a competing app store and competing payment processing, and he expressed the wish that Apple

“also make these options equally available to all iOS developers in order to make software sales

and distribution on the iOS platform as open and competitive as it is on personal computers”.

Mr. Sweeney explained that providing these options to iOS device users would allow consumers

“an opportunity to pay less for digital products and developers would earn more from their

sales”. (DX-4477.1; see also Sweeney Trial Tr. 88:1-17.)

              525.    In July 2020, Mr. Sweeney received a reply in which all of his requests

were rejected. (Sweeney Trial Tr. 88:13-16.)

              526.    On July 17, 2020, Mr. Sweeney wrote back to Apple, expressing his

continued disagreement with Apple’s policies and practices. He wrote: “Epic is in a state of




                                               327
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 336 of 644




substantial disagreement with Apple’s policy and practices, and we will continue to pursue this”.

Apple did not respond. (PX-2458.1.)

                527.    Given Apple’s continued refusal to change its policies, Epic chose to take

a stand against Apple and demonstrate through Epic’s own actions that competition for payment

solutions could exist on iOS, and that consumers would welcome and benefit from such

competition. (Sweeney Trial Tr. 88:4-17.)

                528.    On August 13, 2020, Mr. Sweeney informed Apple that in the Fortnite

app on iOS, Epic was launching Epic direct payment, which was based on the payment system

Epic uses to process transactions on PC, Mac and Android for Fortnite and EGS. (Sweeney

Trial Tr. 127:12-20; 294:14-16 (“Q. And you notified Apple around 2:00 a.m. Pacific Time on

August 13th, correct? A. Yes.”); see also PX-2450.)

                529.    That same day, Epic announced the Fortnite “Mega Drop”, a permanent

price reduction of up to 20% for Fortnite in-app purchases on PC, Mac, Xbox, PlayStation,

Switch and certain Android storefronts. (Sweeney Trial Tr. 156:7-11 (“At the same time we

introduced this hot fix [on] iOS, we introduced a different hot fix on other platforms

implementing what we called the Fortnite Mega Drop, which represented an approximately 20

percent price drop in the price of Fortnite items offered to users . . . .”).)

                530.    On iOS, Fortnite users were given the option to choose which payment

processor to use. Players could continue to make their purchases using Apple’s IAP, in which

case they would continue to pay the pre-Mega Drop prices, or they could use Epic direct

payment option and pay the new price, which was 20% less. (Sweeney Trial Tr. 156:11-16.)

                                                  328
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 337 of 644




                       a.      Epic believed this approach of lowering prices would have a

                               positive effect on the Fortnite community while also ensuring that

                               any differential pricing would demonstrate in full public view how

                               Apple’s IAP requirement imposes a real cost to consumers relative

                               to other payment methods. (Sweeney Trial Tr. 160:6-8 (“[W]e

                               wanted to demonstrate to smartphone owners that removing the

                               platform fees resulted in savings to them.”).)

               531.    Epic understood that Apple might respond to the introduction of a

competing payment solution by removing Fortnite from the App Store. (Sweeney Trial Tr.

171:12-15 (“I wasn’t certain [Epic would be removed from the developer program]. I was very

aware of the possibility of it, and even the likelihood of it, but I was not completely certain that

Apple would respond by removing Fortnite.”).) But Epic also viewed it as critical to

demonstrate through public action that competition for payment solutions could exist on iOS,

and that there would be strong demand from consumers for such competing options. (Sweeney

Trial Tr. 160:6-8.)

               532.    Epic is not seeking a special deal from Apple; it is seeking industry

change. (Sweeney Trial Tr. 93:3-7 (“A. Is Epic seeking a special deal from Apple in connection

with the filing of this lawsuit? A. No. The remedies . . . that we are seeking here are the

changes to Apple’s behavior that would affect the entire market, and all participants in it.”).)

Epic did not sue for damages for this reason. (Sweeney Trial Tr. 92:23-25 (“Q. Is Epic seeking

damages in this lawsuit? A. No. Epic is solely seeking changes to Apple’s future behavior.”).)

                                                 329
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 338 of 644




       O.      The Hotfix.

               533.    The technical manner in which Epic enabled Epic direct payment on

August 13, 2020, was via a “hotfix”. (Sweeney Trial Tr. 153:14-15, 154:25; Grant Trial Tr.

736:11-15 (“On the 13th of August, we made a hotfix to our servers that informed iOS clients

that they now have access to . . . two payment methods, Apple’s in-app purchases and Epic

Direct Play.”).)

               534.    Hotfixes work by coding an app to check for new content that is available

on the developer’s server or new instructions on how to configure settings in the app. (Grant

Trial Tr. 734:10-13 (“[W]e use that term [“hotfix”] to mean making a change on our servers that

alter[s] the availability or even behavior of a function in our applications without requiring that

the user download an update to the application.”).)

               535.    A developer can use hotfixes to activate content or features in an app that

are in the code but are not initially available to users. The content or feature is accessible only

after the app checks the developer’s server and is “notified” by the server to display the new

content or feature. (Grant Trial Tr. 734:22-735:9 (“It would be changing a configuration on a

server to cause it to report to applications that[] slightly different behavior was being requested.

It could be as simple as making something available or unavailable. It’s how we might allow

users in Fortnite to have access to a specific type of game for a period of time or a specific

cosmetic. It can also be used to change the behavior[,] [i]f we see something that could be

improved. Fortnite is a competitive game, and there are many aspects of the game that are




                                                 330
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 339 of 644




balanced against each other. If we see that certain type[s] of game play or a certain weapon is

overly powerful, we can make a hotfix change to reduce its effectiveness.”).)

               536.    Across all platforms where Fortnite is available, including iOS, Epic has

used hotfixes to enable hundreds of new features and content elements and correct configuration

issues since Fortnite was first added to the App Store. (Grant Trial Tr. 735:15-19 (“It would be

like a weekly occasion. We would rotate different types of game notes in and out. If there was a

big event . . . taking place during the season, that would be hotfixed on at the appropriate time so

users could experience it.”).)For example, Epic uses hotfixes to implement its highly popular in-

game events in Fortnite. (Grant Trial Tr. 735:15-19.)

               537.    On August 13, 2020, Epic used a hotfix to activate the Epic direct

payment option within the Fortnite iOS app. (Grant Trial Tr. 736:11-15.)

       P.      Epic Direct Payment.

               538.    Developers selling digital content, such as Epic, require some way to

enable consumers to seamlessly and efficiently make purchases in their apps. (See Sweeney

Trial Tr. 110:17-111:1 (explaining why in-app purchases are more seamless than out-of-app

purchases.)

               539.    The online payments industry has grown over the last two decades to

provide specialized and innovative solutions for handling payments online. There are a number

of third-party payment processors such as Stripe, Adyen, Amazon Pay, Braintree, PayPal, Chase,

Checkout.com and Square. (Ko Trial Tr. 803:2-6; PX-2452.3; Fischer Trial Tr. 907:4-12; Simon

Trial Tr. 353:3-7.)


                                                331
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 340 of 644




               540.   When free to do so, an app developer like Epic can select the payment

processor (or combination of payment processors) that best enhances the user experience and

helps facilitate seamless, cost-effective and efficient payment solutions within an app. (Ko Trial

Tr. 806:11-21; PX-2452.3.)

               541.   Epic has worked with a number of third-party payment companies to offer

its own payment solution for its apps distributed directly on Android devices and via the Epic

Games Store on PCs and Macs. (Ko Trial Tr. 799:8-25; 800:4-14; 803:2-6; 803:25-804:5.) Prior

to August 2020, Epic had processed over $1 billion of financial transactions through its own

payment solution. (Sweeney Trial Tr. 128:3-8.)

               542.   In 2020, the average fee Epic paid for processing payments for its own

U.S. and international ecommerce outside of iOS was 4.2%. (Ko Trial Tr. 806:22-807:3.)

               543.   As early as 2019, Epic considered “whether Epic ought to eventually offer

payment processing as one of the Epic Online Services” so that Epic would be “ready to go the

moment Google and Apple ecosystems are opened up to third-party payment services”. (DX-

4496.2.) Recognizing that there was no “truly comprehensive solution” outside of Apple and

Google’s products, Epic set out to develop a world-class payment solution, adding currencies to

reach users all over the world, including in developing countries, holding a competitive request

for proposal (“RFP”) process to select and improve its payment service providers, and beginning

development on features to benefit customers and developers who used its solution. (Ko Trial

Tr. 801:1-18; 801:23-802:20; 807:14-808:4; 818:5-15; see also DX4496.1-2.)




                                               332
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 341 of 644




                       a.      “The purpose of the RFP was to bring healthy competition[] in

                               payment service[s] . . . in Epic ecosystems”. (Ko Trial Tr. 813:6-

                               7.) When they learned about the RFP process, many existing

                               service providers “reduced their fees”. (Ko Trial Tr. 813:12-14.)

               544.    In early 2020, Epic solicited competitive bids from five global payment

processors: Adyen, Worldpay, Braintree, Checkout.com and Stripe. These firms submitted

responses to over 100 questions covering 14 different categories, including product, engineering,

finance, user interface, fraud and coverage. After an extensive review, Epic selected Adyen for

integration in China and Europe, and Braintree for Latin America. (See PX-2451 (email from

PayPal responding to the payment processor questionnaire); PX-2452; see also Ko Trial Tr.

807:14-21.)

               545.    The Epic direct payment solution includes a variety of features such as

regional pricing and payment support in 42 different currencies, combined with outsourced

payment processing from providers like Chase, PayPal and Adyen. (Ko Trial Tr. 800:19-801:6;

Sweeney Trial Tr. 130:3-7 (“We process transactions either directly or through a payment

processing partner in at least a hundred different countries.”).)

               546.    The Epic direct payment option that Epic implemented in the iOS version

of Fortnite is a safe and secure payment system. (Ko Trial Tr. 804:18-806:10.)

                       a.      The Payment Card Industry Data Security Standard (PCI-DSS) sets

                               rigorous security requirements to prevent cardholder data loss as

                               well as general requirements for the prevention, detection and

                                                333
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 342 of 644




                               response to security incidents for all organizations accepting and/or

                               processing payments. (Ko Trial Tr. 805:18-23.)

                        b.     Epic’s eCommerce system is PCI-DSS-compliant, though Epic is

                               not actually required to maintain compliance with the standard.

                               (Ko Trial Tr. 805:23-806:10.)

               547.     Epic never stores customers’ credit card numbers on its systems. (Ko

Trial Tr. 803:19-22.)

                        a.     Epic’s customers’ payment details are stored with the payment

                               service provider such as PayPal or Chase Payments. (Ko Trial Tr.

                               803:23-24.)

               548.     Any issues discovered are remediated with the appropriate teams and

verified by Epic’s security team. (See Ko Trial Tr. 820:5-7 (noting that there is an Information

Security Services team that handles customer data privacy).)

               549.     Neither Epic nor Apple is aware of any security or privacy issues that

resulted from the introduction of Epic direct payment into Fortnite on iOS. (Sweeney Trial Tr.

128:9-12; Fischer Trial Tr. 909:19-910:1; Schiller Trial Tr. 3108:20-24.)

       Q.      Unreal Engine.

               550.     First created in 1998, Unreal Engine is a software suite available to third-

party developers to create three-dimensional and immersive digital content for use in games and

other applications. (Sweeney Trial Tr. 116:18-22 (“The Unreal Engine is a development tool

aimed at 3D content creators rather than consumers. It contains content creation tools, real-time


                                                 334
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 343 of 644




3D graphics, capabilities, and real-time physics and simulation technology that is used by a wide

variety of industries to make a variety of 3D content.”).)

               551.      Epic also offers the Unreal Engine Marketplace, an e-commerce platform

through which developers can create and sell art, animation, textures, and other assets to use with

Unreal Engine projects. (DX-4002.8.)

               552.      Millions of developers use Unreal Engine. (Sweeney Trial Tr. 118:10-12

(“We’ve had more than 7 million users install the software over a lifetime, and we have roughly

500,000 monthly active users.”).) Hundreds of millions of users use apps built with the Unreal

Engine. (Sweeney Trial Tr. 119:24-120:1.)

               553.      Popular videogames that rely on Unreal Engine include Fortnite,

PlayerUnknown’s Battlegrounds (“PUBG”) and Rocket League, among others. (Sweeney Trial

Tr. 118:13-18, 163:7.)

                         a.     These games are played by hundreds of millions of people around

                                the world. PUBG alone has hundreds of millions of users on

                                Android and iOS mobile devices. (Sweeney Trial Tr. 119:15-17.)

               554.      Unreal Engine is used far beyond the realm of videogames.

                         a.     Developers use Unreal Engine to make digital content for a wide

                                range of commercial uses, including architecture projects, film and

                                television production, medical training, fashion, and more.

                                (Sweeney Trial Tr. 116:19-22.)




                                                335
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 344 of 644




               555.    Unreal Engine is uniquely valuable to developers given the breadth of its

cross-platform capabilities. (Sweeney Trial Tr. 118:10-12 (“We’ve had more than 7 million

users install [Unreal Engine] over a lifetime, and we have roughly 500,000 monthly active

users.”), 117:21-22 (“Unreal Engine supports the creation of apps, which can run on at least

eight different platforms.”).)

               556.    In 2010, Epic expanded Unreal Engine’s capabilities to support the iOS

and Android platforms, allowing developers to offer their Unreal-powered applications on

players’ smartphones and tablet devices. (Grant Trial Tr. 681:8-12.)

                       a.        Epic International distributes several free iOS apps that developers

                                 can use to assist with development using Unreal Engine. (See

                                 Section IX.M above.)

                       b.        Developers can use Unreal Engine to develop game and non-game

                                 apps alike for iOS. (Sweeney Trial Tr. 118:16-20 (“The list

                                 includes games such as PlayerUnknown’s Battlegrounds, Rocket

                                 League, literally thousands of other games. It also includes

                                 architectural creation apps built by third parties. It includes video

                                 production apps used in television production.”).) Epic may be

                                 entitled to a royalty for these apps. (Sweeney Trial Tr. 119:4-5,

                                 9-12 (“We have a business model that enables anybody to

                                 download and begin using the Unreal Engine for free. And then




                                                  336
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 345 of 644




                              we have a variety of business terms under which users may

                              distribute commercial products.”).)

               557.    Since 2010, Epic has continued to develop and expand Unreal Engine’s

platform offerings. (Sweeney Trial Tr. 89:20-24.)

               558.    Today, developers can use Unreal Engine to develop games and other

software for Windows PCs, PlayStation 4, PlayStation 5, Xbox One, Xbox Series X, Nintendo

Switch, Mac computers, iOS mobile devices and Android OS mobile devices. (Sweeney Trial

Tr. 117:21-22 (“Unreal Engine supports the creation of apps, which can run on at least eight

different platforms.”); Grant Trial Tr. 681:8-12.)

               559.    Many game developers rely on engines like Unreal Engine to develop

commercially successful games that will run across a wide range of platforms, and over many

generations and new versions of the game. (Grant Trial Tr. 665:21-23 (“There is a large number

of gaming apps [that rely on Unreal Engine]. We could look at things like PUBG, Batman, Days

Gone, [Gears] of War. . . . I mean, there would be hundreds.”).) In addition, “[d]evelopers who

wish to have sophisticated realtime graphics will often rely on Unreal Engine to provide those

even though it may not be in a gaming context.” (Grant Trial Tr. 666:3-5.)

                       a.     An engine that cannot support Apple’s platforms, for example,

                              would not be a viable option for any developer that wants to offer

                              its software to the more than one billion active iOS and macOS

                              users. (Grant Trial Tr. 671:11-18 (“All of the platforms you listed,

                              they are only available to a subset of the users we might wish to

                                                337
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 346 of 644




                            make apps available to. So, for example, on PC we have a version

                            on Unreal Engine and that is great for users who have a PC, but if

                            we wish it to be available to Mac users, we have to rewrite portions

                            of Unreal Engine that use platform APIs for Mac. It’s the only

                            way we can access a hundred percent of [a platform’s] users or at

                            least have the option of accessing a hundred percent of that market.

                            And that applies for game consoles, mobile devices, and personal

                            computers.”).)

              560.   Open access to Unreal Engine is a core part of Epic’s business

philosophy.

                     a.     Unreal Engine is free to use for non-commercial purposes.

                            Anyone can download Unreal Engine and learn to create their own

                            projects. (Sweeney Trial Tr. 119:9-10 (“We have a business model

                            that enables anybody to download and begin using the Unreal

                            Engine for free.”); Grant Trial Tr. 681:3-7.)

                     b.     For developers who use Unreal Engine to develop and sell their

                            games or other projects commercially, Epic typically collects a 5%

                            royalty after the developer reaches $1 million in gross sales.

                            Developers then submit a royalty report and pay any royalties due

                            to Epic on a quarterly basis. (Grant Trial Tr. 681:3-7; DX-4022.)




                                             338
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 347 of 644




                       c.     Alternatively, Epic has a variety of business terms under which

                              users may distribute commercial products using Unreal Engine.

                              (Sweeney Trial Tr. 119:9-12 (“We have a business model that

                              enables anybody to download and begin using the Unreal Engine

                              for free. And then we have a variety of business terms under

                              which users may distribute commercial products using the Unreal

                              Engine.”).)

               561.    This model of open access increases game output and competition among

game developers, benefitting Apple and other platform makers by leading to the creation of more

and higher quality apps for their platforms.

                       a.     Apple has credited Epic and Unreal Engine for “introduc[ing]

                              sever[al] breakthrough technologies” for game developers. (PX-

                              43.2; Ex. Depo. 16 at 325:19-20, 326:1-5, 327:11-14 (Okamoto).)

               562.    For this reason, platform owners, including Apple do not charge for

Unreal Engine to create software development tools for their platforms. Instead, they welcome

and encourage the use of Unreal Engine.

                       a.     For example, Apple has invited Epic engineers to travel to Apple’s

                              campus to work on integrating new augmented reality functionality

                              called ARKit into Unreal Engine for iOS developers to use. (PX-

                              855; Ex. Depo. 18 at 361:23-25, 362:10-13 (Pruden).)




                                               339
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 348 of 644




                      b.     Epic was chosen to present this technology because Apple believed

                             “it would allow developers using their engine to adopt new ARKit

                             functionality”, which Apple could use for marketing new Apple

                             devices “that support ARKit”. (Ex. Depo. 18 at 364:23-365:6,

                             365:8, 365:10-14, 365:16-17 (Pruden).)

              563.    In connection with Apple’s revocation of Epic’s Apple developer account,

Apple has threatened to terminate all of Epic’s and Epic’s affiliates’ Apple Developer Program

accounts and revoke Epic’s access to tools necessary to improve hardware and software

performance of Unreal Engine on Mac and iOS hardware. (Sweeney Trial Tr. 97:17-19 (“Apple

has threatened to remove Epic’s ability and access to its APIs to continue developing the Unreal

Engine for iOS and Mac devices.”).)

                      a.     Apple’s retaliation would disrupt and impede Epic’s ability to

                             continue supporting Unreal Engine for Apple devices and for

                             Epic’s engineers to continue providing support to developers

                             working on iOS and macOS projects. (Sweeney Trial Tr. 97:20-23

                             (“[I]f we could no longer develop [Unreal Engine], then it would,

                             you know, become obsolete relatively quickly and we couldn’t

                             provide proper support to our customers, and our customers would

                             no longer rely on us as the supplier of that software.”).)

                      b.     The loss of Unreal Engine’s ability to support these important

                             platforms would cause irreparable harm to Epic’s product

                                              340
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 349 of 644




                   offerings, as many developers would select a competing engine for

                   their new projects or for the next versions of their games.

                   (Sweeney Trial Tr. 97:20-23.)

             c.    Third-party developers who rely on Epic’s engine and support

                   would be in jeopardy of losing the long-term support of Epic and

                   its Unreal Engine tools for use in connection with Apple devices.

                   (Sweeney Trial Tr. 97:20-23.)




                                    341
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 350 of 644




X.     INTELLECTUAL PROPERTY JUSTIFICATIONS FOR APPLE’S RESTRAINTS
       ON APP DISTRIBUTION ARE PRETEXTUAL.

               564.    Apple contends that its restrictions on iOS app distribution have legitimate

intellectual property (“IP”) justifications. However, this Court can reject this justification as

pretext if there is no evidence that Apple’s restrictive conduct was actually motivated to protect

its IP. (See Malackowski Trial Tr. 3699:25-3700:10.)

               565.    Apple has put forth no evidence demonstrating that its prohibition of the

“stores within a store” model is tied to protecting its IP or to prevent free-riding on its IP.

(Malackowski Trial Tr. 3692:18-21 (“Q. You have not offered any evidence or cited any

evidence that demonstrates that the reason why Apple prohibits stores within a store was tied to

protecting its IP; right? A. I think that’s true.”), 3693:18-22, 3694:11-13, 3695:25-3696:4.)

               566.    When asked directly for the business reasons that Apple decided that it

would only distribute third-party native apps on its App Store, Mr. Schiller did not mention IP.

(Schiller Trial Tr. 2738:15-24 (“Q. And what were the business reasons that Apple decided that

it would only distribute third-party native apps on its App Store? A. Well, we’ve covered a

number of the important reasons to us. Maintaining the quality of iPhone, maintaining the

security and privacy of our users were all critical to the idea of opening it up for native apps.

Q. And have those priorities for privacy, security, and reliability ever changed? A. No.”).)

               567.    Apple’s IP expert witness, James Malackowski, admitted that documents

and testimony he reviewed confirmed that the specific costs of development of Apple’s IP was

not the basis for selecting the 30 percent commission for the App Store. (Malackowski Trial Tr.

3662:13-17.)
                                                 342
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 351 of 644




               568.   The DPLA, the agreement through which Apple purports to license its IP,

is missing key features of typical IP licensing agreements.

                      a.      The DPLA does not list a single patent that it purports to license.

                              (Malackowski Trial Tr. 3666:16-3667:6.) Mr. Malackowski

                              testified that no one at Apple gave him a list of patents licensed by

                              the DPLA and he’s “not aware of any such list”. (Malackowski

                              Trial Tr. 3667:18-3668:7, 3668:10-18 (agreeing that, “generally

                              speaking, licensing agreements should clearly define what is being

                              licensed and the specific rights that the licensor is granting to the

                              license[e]”).)

                      b.      A developer examining the DPLA would have no way to ascertain

                              what IP is licensed under the agreement. (Malackowski Trial Tr.

                              3669:22-3670:7.)

                              i.      For example, Mr. Malackowski could not say if private

                                      APIs were licensed through the DPLA and did not even

                                      check to see if they were subject to IP protection.

                                      (Malackowski Trial Tr. 3670:24-3671:5.)

                              ii.     Instead, it is “[o]nly through identification of the particular

                                      technologies at issue” can one know which IP is licensed, a

                                      process that is “not in the DPLA”. (Malackowski Trial Tr.

                                      3669:22-3670:7.)

                                               343
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 352 of 644




             c.    The DPLA does not refer to Apple’s commission as a royalty and

                   does not use the word “royalty”. (Malackowski Trial Tr.

                   3697:12-18.)

             d.    There is no temporal restraint in the DPLA regarding the length of

                   time during which Apple should receive commissions.

                   (Malackowski Trial Tr. 3699:3-5.)

             e.    Schedule 2 specifically says that the commission is for Apple’s

                   services as agent; it’s not for Apple’s IP.

                   i.     Section 1.1(c) of Schedule 2 states the term “Licensed

                          Application” “shall include any content, functionality,

                          extensions, stickers, or services offered in the software

                          application.” (PX-2943.1.)

                   ii.    Section 1.1 makes Apple “Your agent [and/or

                          commissionaire] for the marketing and delivery of the

                          Licensed Applications to End-Users.” (PX-2943.1.)

                   iii.   The lead-in language to Section 3.4 states: “Apple shall be

                          entitled to the following commissions in consideration for

                          its services as Your agent and/or commissionaire under

                          this Schedule 2”. (PX-2943.3 (emphasis added).)

                   iv.    Sections 3.4(a) and (b) then provide that Apple is entitled

                          to a 30% commission “[f]or sales of Licensed Applications

                                    344
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 353 of 644




                          to End-Users”, and 15% “for auto-renewing subscription

                          purchases made by customers who have accrued greater

                          than one year of paid subscription service within a

                          Subscription Group”. (PX-2943.4.)

             f.    The DPLA does not license a discrete set of IP rights; rather, it is

                   about getting access to the iOS platform, which involves Apple’s

                   IP, third-party IP, and technology that is not protected by any IP at

                   all.

             g.    The DPLA does not provide a license to Apple’s trademarks. (See

                   PX-2619.12 (DPLA) § 2.6 (“This Agreement does not grant You

                   any rights to use any trademarks, logos or service marks belonging

                   to Apple”).)

                   i.     Despite testifying that Apple has “approximately 1500

                          trademarks” related to iOS (Malackowski Trial Tr.

                          3622:5-7), Mr. Malackowski conceded that these

                          trademarks are not necessarily licensed through the DPLA.

                          He could not determine any trademarks licensed through

                          the DPLA and did not “conduct an inventory of the subset

                          of trademarks that were specifically licensed to

                          developers”. (Malackowski Trial Tr. 3685:8 3687:15.)




                                    345
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 354 of 644




                569.    Neither Apple nor Mr. Malackowski disaggregates the portions of Apple’s

IP that are: (i) protected versus not protected; (ii) proprietary versus non-proprietary; or (iii) at

issue versus not at issue.

                        a.      Apple admits that it utilizes open source software in connection

                                with its innovations (Schiller Trial Tr. 2939:18-2940 10; PX-1891;

                                PX-1893), but Apple does not separate out this software from its

                                IP. Indeed, Mr. Malackowski confirmed that open-source software

                                was “obviously, utilized, as well, but [his] summaries are based

                                only on the proprietary Apple IP.” (Malackowski Trial Tr.

                                3619:17-23.) He made no qualitative distinction between the

                                open-source portions versus the proprietary portions.

                                (Malackowski Trial Tr. 3689:20-23.)

                        b.      Mr. Malackowski acknowledged that Supreme Court precedent

                                holds that not every piece of code or API software is protectable

                                under the IP laws. (Malackowski Trial Tr. 3690:16-18, 3691:8-

                                18.) Mr. Malackowski is aware, for example, that the protection of

                                some code might be subject to the fair use doctrine. (Malackowski

                                Trial Tr. 3690:10-3691:7.) Yet he did no analysis to determine

                                whether any of the APIs that Apple has and may or may not

                                license to developers are, in fact, subject to fair use. (Malackowski

                                Trial Tr. 3691:24-3692:3.)

                                                  346
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 355 of 644




                     c.      Mr. Malackowski thought it appropriate to include all IP, even IP

                             associated with accessories, in his analysis even though the focus

                             in this matter is on app distribution and iOS. (Malackowski Trial

                             Tr. 3660:7-11.)

              570.   Mr. Malackowski lacks credibility, has provided inconsistent testimony,

performed an incomplete R&D analysis, and used a patent search process prone to errors.

                     a.      Epic presented at least six different occasions on which courts have

                             excluded Mr. Malackowski, either in whole or in part, based on a

                             faulty analysis. (Malackowski Trial Tr. 3647:3-3657:14.)

                             i.     In many of these cases Mr. Malackowski failed to properly

                                    apportion or disaggregate—a primary flaw in his analysis

                                    here. (Malackowski Trial Tr. 3647:3-3657:14.)

                     b.      Separately, Mr. Malackowski has provided inconsistent and

                             confusing testimony in a number of areas.

                             i.     For example, Mr. Malackowski testified that across “about

                                    a million” developers that have executed the DPLA, Apple

                                    has “been consistent” in the way it licenses its IP.

                                    (Malackowski Trial Tr. 3642:16-20.) Indeed, Apple boasts

                                    that the DPLA is non-negotiable and that all developers

                                    receive the same treatment. (See, e.g., Schiller Trial Tr.

                                    2757:4-5, 2760:6-8.) However, when it comes to

                                               347
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 356 of 644




                         determining the specific IP that is licensed through the

                         DPLA, Mr. Malackowski testified that it is variable,

                         “depend[ing] upon the need of the developer”.

                         (Malackowski Trial Tr. 3698:21-3699:2.)

                   ii.   And because Malackowski’s “focus was [only] on Epic”—

                         only one of thousands of iOS developers—he had not

                         considered what IP rights would supposedly be licensed to

                         other developers under the DPLA. (Malackowski Trial Tr.

                         3688:11-20, 3686:24-3687:5.)

             c.    Mr. Malackowski’s R&D analysis is misleading and incomplete.

                   i.    For his R&D analysis, Mr. Malackowski simply totaled the

                         amount Apple spent on R&D over the years and presented

                         it in chart form. (Malackowski Trial Tr. 3612:19-3613:9.)

                         Mr. Malackowski did not chart Apple’s R&D spend

                         relative to its revenue, profits, market capitalization, total

                         assets, or relative to any comparable companies.

                         (Malackowski Trial Tr. 3658:21-3659:12.)

                   ii.   Moreover, Mr. Malackowski did not disaggregate Apple’s

                         R&D expenditure to its various business lines

                         (Malackowski Trial Tr. 3659:13-17), nor did he quantify

                         the amount of Apple’s investment in IP assets specifically

                                   348
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 357 of 644




                          associated with the App Store. (Malackowski Trial Tr.

                          3661:13-15.)

                   iii.   Mr. Malackowski did not quantify the amount of Apple’s

                          investment in innovations that specifically relate to APIs

                          (Malackowski Trial Tr. 3661:16-20) and presented no

                          evidence of a dollar amount on any single piece or

                          collection of its IP. (Malackowski Trial Tr. 3658:10-12.)

             d.    Although he claims to have quantitatively studied Apple’s

                   investments, Mr. Malackowski did not quantitatively study

                   Apple’s return, thus, presenting an incomplete analysis.

                   (Malackowski Trial Tr. 3665:19-21.) This is true even though Mr.

                   Malackowski agreed, that as “an integrated platform”, Apple

                   currently monetizes its IP across the entirety of its business,

                   including “placing applications with customers”, “selling devices”

                   and “all that it does”. (Malackowski Trial Tr. 3663:5-9.)

                   i.     This monetization also includes Apple’s profits on the sales

                          of iOS devices, which are clearly part of Apple’s return on

                          its investment in the iOS ecosystem. (Malackowski Trial

                          Tr. 3664:4-7.)

                   ii.    This monetization includes developer fees, which, taken

                          together across developers, “provide[] a return for

                                    349
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 358 of 644




                          [Apple’s] business generally . . , including [its] IP”.

                          (Malackowski Trial Tr. 3663:22-3664:3.)

             e.    Mr. Malackowski’s patent search process is prone to errors.

                   i.     As part of his analysis, Mr. Malackowski testified that

                          Apple has approximately 3200 patents and patent

                          applications relating to app distribution and development.

                          (Malackowski Trial Tr. 3667:7-11.) To identify these

                          patents, Mr. Malackowski used various search criteria and

                          “manually reviewed” the patents to determine their

                          relevance. (Malackowski Trial Tr. 3616:24-3617:3.)

                          However, as explained below, Mr. Malackowski’s search

                          was flawed.

                   ii.    For example, using the term “app store”, Mr. Malackowski

                          testified that he found “165 granted patents and 91 patent

                          applications” that “relate specifically to the App Store”.

                          (Malackowski Trial Tr. 3621:8-13 (emphasis added),

                          but see 3673:6-13 (testifying that these patents and patent

                          applications “relate to terms that include the App Store”).)

                          Mr. Malackowski acknowledged his search could be

                          overinclusive, and, as relevant here, he agreed that it was

                          “technically possible” that a patent containing the word

                                   350
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 359 of 644




                          “App Store” (as the term used in a query) may actually

                          have nothing to do with the App Store or even the DPLA.

                          (Malackowski Trial Tr. 3675:5-10.)

                   iii.   By way of example, Mr. Malackowski included PX-1183

                          on this list of patents related to the App Store.

                          (Malackowski Trial Tr. 3681:14-3682:8.) The patent’s sole

                          reference to the App Store is as follows: “This App is

                          publicly available in the Apple iOS App Store”.

                          (PX-1183.12.) When asked if the patent relates specifically

                          to the App Store, Mr. Malackowski attempted—and

                          failed—to rectify the misfit by testifying that the patent

                          relates to the tools that are made available to developers;

                          i.e. not the App Store. (Malackowski Trial Tr. 3684:7-13.)

                   iv.    Similarly, PX-1182 is a design patent that had one

                          reference to the App Store: “The App Store trademark on

                          the bottom of the figures is the property of Apple, Inc.”

                          (PX-1182.1.) When asked if the patent related specifically

                          to the App Store, Mr. Malackowski could only say that it

                          “relates to the iOS ecosystem in particular as it relates to

                          the design and display of apps on the iPhone”.




                                   351
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 360 of 644




                                       (Malackowski Trial Tr. 3680:1-3681:12.) In other words, it

                                       was not specifically related to the App Store.

               571.    Separately, although Mr. Malackowski included the design patent in his

analysis as related to the App Store, he repeated three times that this patent would generally not

be used by any developer. (Malackowski Trial Tr. 3676:3-4 (“[G]enerally, the app developers

are not using Apple’s design patents. Generally, those are used by Apple.”), 3677:15-16 (“So as

a design patent, I would not expect it to be utilized by a developer.”), 3678:20-22 (“I don’t

believe that [developers] would be utilizing this patent. This is a patent Apple would be utilizing

as reflects a design on their phone.”).)




                                                352
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 361 of 644




XI.    SECURITY JUSTIFICATIONS FOR APPLE’S RESTRAINTS ON APP
       DISTRIBUTION ARE PRETEXTUAL.

               572.    iOS security is not provided by an app store. It is provided by a variety of

on- and off-device security mechanisms each of which can be implemented independent of the

official App Store. (See Section XI.E below.)

               573.    iOS was designed based on macOS; it inherited many of the core macOS

architectural features and improved on some of them. Apple, and over a hundred million macOS

users, consider the macOS system to be secure even while permitting users to download apps

from sources other than Apple’s official Mac App Store. (See Sections XI.A, D below.)

               574.    Apple’s decision to depart from the macOS model by excluding third-

party app distribution on iPhones was a commercial policy decision, not one driven by technical

security considerations. (See Section XI.C below.)

               575.    The most important security protections for iOS devices are provided by

iOS itself. This “on-device” security is independent of the app distribution channel. (See

Section XI.E below.)

               576.    Importantly, even the “off-device” security layers established for iOS do

not require the distribution of apps through a single centralized store. As the macOS

Notarization model makes clear, and as Craig Federighi, Apple’s Senior Vice President of

Software Engineering, testified at trial, Apple is capable of separating the review and signing of

apps, on the one hand, from the sale and distribution of apps to users on the other. (See Sections

XI.C, D below.)



                                                353
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 362 of 644




               577.    Apple’s App Review process is cursory and provides minimal security

benefits beyond the on-device security that is already provided by iOS. To the extent that App

Review does increase security, it does so through automated mechanisms that Apple can employ

for apps distributed by third parties (as it does for macOS) and that are replicable (and potentially

could be improved upon) by parties other than Apple. (See Sections XI.F-H below.)

               578.    This is all evidenced by the fact that “rogue” third-party app stores have

historically existed on iOS with no known adverse security ramifications. (See Section Error!

Reference source not found. above.)

         A.    iOS Was Modeled on macOS and Inherited its Core Architectural Features.

               579.    macOS and iOS are built using the same OS “kernel”. (Ex. Depo. 4 at

64:19-21 (Forstall); Mickens Trial Tr. 2596:8-9 (“It’s because iOS and MacOS share the same

kernel and a lot of their middleware.”); Federighi Trial Tr. 3358:12-14.) The “kernel” is the part

of an operating system that implements the most basic activities performed by the OS. (Mickens

Trial Tr. 2594:16-22.) The kernel is “the lowest layer of the operating system” and “the ultimate

determinant of what happens on the machine, what happens on the hardware”. (Mickens Trial

Tr. 2563:9-13.)

               580.    Scott Forstall, the top Apple executive tasked with the development of

iOS,10 testified that the iPhone was “released with an operating system that[] [was] based on

macOS X”. (Ex. Depo. 4 at 64:19-21 (Forstall); PX-2756, at ‘20:50-21:00.)


    10
      Mr. Federighi confirmed that he was not employed at Apple from 1999-2009, and that
when he returned to Apple in 2009 he worked on engineering macOS. (Federighi Trial Tr.

                                                354
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 363 of 644




               581.    Mr. Forstall pushed for, and ultimately succeeded in, convincing Mr. Jobs

and other Apple decisionmakers to use macOS X as the basis for the iPhone operating system.

(Ex. Depo. 4 at 57:2-5, 64:19-21 (Forstall).)

               582.    Mr. Forstall testified that there were many advantages to using macOS as

the base of iOS, including that Apple “built macOS X specifically to be a modern operating

system” with “exactly the modern operating system facilities we would want to use in any

project”. (Ex. Depo. 4 at 58:7-17 (Forstall).)

               583.    As a result, iOS and macOS share several core architectural features,

including a number of macOS security features. (PX-2756, at ‘20:50-23:03; Ex. Depo. 4 at

64:19-21 (Forstall); Mickens Trial Tr. 2592:16-17 (“iOS and macOS share critical infrastructure,

critical plumbing.”), 2594:16-25.)

                       a.     As Mr. Forstall explained in a presentation to the public during an

                              iPhone Software Roadmap Event in 2008, “macOS X is comprised

                              of four architectural layers” and “to build the iPhone OS, we

                              started by taking the bottom three layers of macOS X and moved

                              them straight across, to form the basis of the iPhone OS.” (PX-

                              2756, at ’20:35-21:00.)




3436:2-13.) Therefore, he had “no firsthand knowledge” of the launch of the iPhone, the launch
of the App Store or any security threat modeling. He agreed, however, that Mr. Forstall was in
charge of security when iOS launched. (Federighi Trial Tr. 3437:4-3438:3.)
                                                 355
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 364 of 644




        B.      Apple Has Failed to Demonstrate that macOS and iOS Have a Meaningfully
                Different “Threat Model” in the Context of App Distribution.

                584.    Apple claims that iOS presents a different threat model than macOS, and

that this nuance makes Apple’s App Review process critical to ensuring security on iOS. (Apple

Opening Statement Trial Tr. 77:20-78:14.) For instance, Apple argues that there are more

iPhones than Macs (Apple Opening Statement Trial Tr. 78:7-8), and that iPhone users are more

prone to download apps than Mac or PC users (Federighi Trial Tr. 3362:9-11). These

justifications are pretextual.

                        a.       First, Apple has not offered any studies or statistical evidence to

                                 support its claim about the number of apps that iOS users are prone

                                 to download vis-à-vis macOS users.

                        b.       Second, when developing the iPhone and the appropriate security

                                 model for the device, Apple was not aware (and Apple has not

                                 shown otherwise) that iPhones would achieve the level of sales that

                                 it has today. For example, in the first year alone, Apple “blew”

                                 through its “aggressive and public goal” of selling 10 million

                                 iPhones in the first calendar year. (DX-4192.001; Schiller Trial

                                 Tr. 2786:14-23.)

                        c.       Third, in evaluating the security implications of opening up third-

                                 party apps on iOS devices, Apple similarly had no idea that app

                                 downloads would be popular amongst users. (PX-2060.18 (“Mr.

                                 Jobs: [The number of 200 million downloads in the last 30 days]
                                                    356
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 365 of 644




                              says the App Store is much larger than we ever imagined . . . We

                              didn’t expect it to be this big.”); Schiller Trial Tr. 2744:9-21 (“Q.

                              Was it a risk for Apple to launch the App Store? A. A huge risk.

                              Q. How so? A. Well, we’re in the first year here of the

                              iPhone . . . We’re taking our hot, new product and putting

                              something we have never done before on it, and we have no apps

                              yet so we have no idea how this is going to do.”).)

               585.   Apple also claims that iOS has a heightened threat model because of

certain hardware features (a camera, microphone and GPS hardware) that “follow[] users nearly

everywhere they go”. (Ex. Expert 11 (Rubin) ¶ 23.) However, Apple’s technical expert, Dr.

Aviel Rubin, concedes that macOS devices also have built-in cameras and microphones, and that

Macs could also be used in a number of private moments. (Rubin Trial Tr. 3801:2-13, 3802:10-

21.) Dr. Rubin admits that Macs can also detect the device’s location to a general

approximation. (Rubin Trial Tr. 3807:2-5.)

               586.   Apple further claims that iOS has a different threat model because iPhones

hold highly sensitive personal information. Dr. Rubin admits that whether Macs store the same

or similar information as iPhones would be a factor he would consider in comparing their

respective threat models; he also concedes that he has not conducted any empirical study to

compare the types of information that people keep on their iPhones versus Macs. (Rubin Trial

Tr. 3803:14-24.)




                                               357
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 366 of 644




               587.    Dr. Rubin further acknowledges that Apple users can sync information

between their Macs and their iPhones, such as photos, calendar information, contact information,

passwords and credit card information. (Rubin Trial Tr. 3804:1-23.) For information that Dr.

Rubin considers to be “most sensitive”, namely biometric information such as “Touch ID” and

“Face ID”, payment information used for Apple Pay, and device location history, he claims that

such information cannot be synced; instead, this information is stored in a secure location on the

device referred to as the Secure Enclave. (Rubin Trial Tr. 3805:7-3806:4; DX-5492.011.)

However, Dr. Rubin concedes that some Mac computers sold today also offer Touch ID and

Apple Pay, and also have a Secure Enclave that stores this same biometric information. (Rubin

Trial Tr. 3806:8-3806:22; DX-5492.011.)

               588.    In summary, the reasons provided by Apple to distinguish the iOS and

macOS threat models are pretextual and unsupported by any contemporaneous, pre-litigation

documentation; instead, they are based entirely on self-serving testimony by Apple’s own

witnesses and/or Dr. Rubin’s evaluations which can only be described as incomplete for its

failure to account for similarities that are shared between iOS and macOS devices.

       C.      Apple’s Decision to Forbid Third-Party Distribution Outside the App Store
               Was a Policy Decision, Not a Security Requirement.

               589.    Apple’s desire to review apps for malware or other harmful content does

not require those apps, after review, to be distributed exclusively through the App Store. When

Apple permitted third-party developers to create apps for iOS, the decision to restrict third party

app distribution to the App Store was a policy decision, not a security requirement. When Apple

permitted third-party developers to create apps for iOS, Apple’s security team developed a model
                                                358
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 367 of 644




that was predicated on Apple signing each piece of code that would ultimately run on an iPhone,

but intentionally separated this signing process from app distribution. (PX-877.3.) In other

words, apps were required to be sent to Apple for signing, but then could either be distributed

through the App Store or sent back to the developer for distribution through other means.

(PX-877.3.) The security team specifically acknowledged that the decision whether or not to

allow third party distribution was one of “policy”, not of security. (PX-877.3.)

               590.   In 2007, Apple’s security team prepared an internal white paper to assess

the implications of distributing third-party apps on the iOS platform. (PX-875.1; PX-877.1; Ex.

Depo. 4 at 108:22-24, 109:12-23 (Forstall).) The white paper was titled “Third Party

Applications on Mac OS X Embedded”, noting the fact that the iPhone OS was built on the basis

of the then-existing Mac OS X operating system, and was provided to Mr. Forstall, among

others. (Id.; Federighi Trial Tr. 3442:13-15 (“Q. And you understand that in this context,

‘macOS 10 embedded’ refers to the iPhone operating system? A. I believe it does.”.).)

                      a.      The white paper introduced three pillars of iOS security: strict

                              signing by Apple of all code, strict sandboxing of all apps, and a

                              system of app-specific entitlements. (PX-877.2; Federighi Trial

                              Tr. 3446:3-7; DX-5492.98-100.) Code signing allows Apple to

                              identify the source of code, attribute it to a specific developer, and

                              revoke an app’s ability to run on iOS devices should they be

                              identified as unsafe. (PX-877.2; PX-5492.98; Federighi Trial Tr.

                              3451:11-3452:6.) “Sandboxing” restricts app access to the files of

                                               359
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 368 of 644




                   any other apps and from making changes to the device. (DX-

                   5492.100; Federighi Trial Tr. 3444:10-19.)

             b.    The security team’s white paper was a “technical document from a

                   technical team . . . building the security infrastructure” that would

                   allow Apple to securely open up the iPhone for third party

                   applications. Importantly, the white paper explicitly contemplates

                   the possibility of distribution outside the App Store, and assumes

                   that “the technical infrastructure [they were] building w[ould]

                   allow for other distribution mechanisms” beyond the App Store.

                   (Ex. Depo. 4 at 129:8-24; 130:5-19 (Forstall).)

             c.    For example, the white paper states that Apple “will distribute

                   third party applications through the iTunes Music Store. However,

                   our model will allow for third parties to distribute their own

                   applications and for enterprise customers to deploy to their own

                   devices”. (PX-877.3; Ex. Depo. 4 at 125:12-15, 127:3-8, 129:8-18

                   (Forstall).)

             d.    That same whitepaper goes on to state that “[s]igning does not

                   imply a specific distribution method, and it’s left as a policy

                   decision as to whether Apple signed applications are posted to the

                   online store or we allow developers to distribute on their own”.




                                    360
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 369 of 644




                               (PX-877.3; Ex. Depo. 4 at 130:22-131:7 (Forstall); Federighi Trial

                               Tr. 3447:7-16.)

                       e.      The same white paper then contemplates several distribution

                               scenarios, all of which separate the signing process—which is done

                               by Apple—from the ultimate distribution of the app. For example,

                               the paper discusses the distribution choices available to a “guy in

                               his basement” or to a large developer such as Electronic Arts; in

                               both cases, the security team contemplated that once the binary has

                               been signed by Apple, the developer would then “get signed image

                               and deploy as you wish”. (PX-877.6; Ex. Depo. 4 at 118:25-

                               119:17, 119:19-24 (Forstall); Federighi Trial Tr. 3448:9-3449:9.)

               591.    The model contemplated by this white paper required Apple to be

involved in signing all apps for use on iOS; but the signing of an app was separate from its

distribution. (Federighi Trial Tr. 3449:5-9 (“Q. And so the model contemplated in this white

paper requires Apple involvement in the form of signing, but separates that signing by Apple

from distribution; correct? A. It has that option, envisions the possibility of that option.”).)

               592.    Code signing would allow Apple to “shut off the spigot” if it turned out

that an app was misbehaving—regardless of whether the app was distributed through the App

Store or not. (Federighi Trial Tr. 3451:19-3452:6 (“Q. And so what the team is saying here is

that their model contemplates allowing Apple to so-called shut off the spigot if it turns out that

an app is misbehaving; correct? A. I didn't see it say ‘shut off the spigot.’ Is that your phrasing?

                                                 361
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 370 of 644




Q. Those are my words. I'm just saying -- A. Oh, okay. Q. -- that's the idea that's contemplated

here, that Apple can revoke -- A. Yeah. Q. -- the signature and, essentially, stop the distribution

of an app if it goes bad; correct? A. That is -- that is one capability that signing provides.”).)

               593.    Thus, while Apple has the ability to review and sign apps, there is no

technical requirement that those reviewed and signed apps be distributed through the Apple App

Store, as Mr. Federighi acknowledged:

                Q.     Sir, at the end of app review as it is currently constituted,
                       Apple has a binary that is fully reviewed and vetted;
                       correct?

                A.     It's been through our review process, yes.

                Q.     And it's fully reviewed and vetted by Apple; correct?

                A.     What -- I don't know what ‘fully’ means, but it is reviewed
                       according to our process, yes.

                Q.     And then whether to send it to the App Store or back to the
                       distributor is entirely Apple's choice; correct? That's a yes-
                       or-no question. It's entirely Apple's choice; correct?

                A.     Yes.

               (Federighi Trial Tr. 3510:5-15.)

               594.    Even after the “policy” decision contemplated in the white paper was

made, and the launch of the App Store and the SDKs were announced, Apple was still

contemplating whether to allow for third party app distribution outside of the App Store. (PX-

881.1 (May 17, 2008 email chain between S. Forstall and S. Jobs discussing alerts for when users

run applications not distributed through the App Store for the first time); Ex. Depo. 10 at 178:12,

183:5-183:6, 183:16-18, 183:20 (Forstall).) In fact, the internal policy discussion continued

                                                 362
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 371 of 644




within Apple at least until late 2009. (PX-2316 (November 20, 2009 email chain between P.

Schiller and S. Jobs with Mr. .Schiller stating that “[i]n the end it all really comes down to

whether we will ever open up the iPhone for developers to distribute apps on their own,

bypassing our store.).)

          D.   Apple Separates Notarization from Distribution on macOS, Creating a
               Secure Yet Open Distribution Model on macOS.

               595.       In macOS, Apple adopted an open distribution model where developers

have the ability to choose whether to distribute their apps through the Mac App Store or,

alternatively, have their apps scanned and “notarized” by Apple but then distributed by the

developer through other means—a model that is very reminiscent of the model contemplated by

the security team for use in iOS in the 2007 white paper. Notably, even though macOS is less

strict than iOS in implementing some of the security pillars contemplated in the 2007 white

papers—and is therefore less secure than iOS would be had Apple allowed third-party

distribution on that platform—Apple still considers and touts macOS as a safe and secure

platform, even for young schoolchildren. (Ex. Depo. 7 at 273:15-18, 274:02-274:04 (Okamoto);

PX-741.1 (“We design Mac hardware and software with advanced technologies that work

together to run apps more securely, protect your data, and help keep you safe on the web.”); PX-

2882.).

               596.       From the beginning, the Mac device has been part of a generation of

systems where users can expect to download software from any distribution channel. (Federighi

Trial Tr. 3393: 10-13.)



                                                 363
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 372 of 644




               597.   Apple has successfully instituted a number of security features to help

protect the macOS platform against malware—“software which deceives an end user as to its

function”—and against viruses. (Ex. Depo. 6 at 57:20-58:9 (Friedman).) This protection

extends to “app downloaded from the internet”, with Apple informing its customers that macOS

security “consists of a number of overlapping layers”, which “ensure[s] that apps downloaded

from the internet are free of known malware”. (DX-5492.103.) Further, MacOS “offers

technologies to detect and remove malware, and offers additional protections designed to prevent

untrusted apps from accessing user data.” (DX-5492.103.) In addition to these hardware

protections, “[s]ervices from Apple such as Notarization and XProtect and MRT updates are

designed to prevent malware installation and, when necessary, to provide for a quick and

efficient detect-and respond process to block and remove any malware that may have at first

avoided detection.” (DX-5492.103.)

               598.   On macOS, Apple provides users with information and choices to enable

them to determine whether to install and run apps from alternative sources, and also provides

security scanning and protections to apps that are not distributed through the Mac App Store.

Apple notes to its users that they always “have the option to allow only software installed from

the App Store”. (DX-5492.104.)

                      a.      First, apps can be downloaded and installed via the Apple-

                              managed Mac App Store, which is in many ways analogous to the

                              iOS App Store. In order to distribute apps in this fashion, a

                              developer must register with Apple’s Developer Program, submit

                                               364
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 373 of 644




                   their app to the Mac App Store’s app review process and agree to

                   the terms and conditions of being listed on the store. (Mickens

                   Trial Tr. 2589:18-2590:1; PX-2557 § 6.1.) Any user has “the

                   option to run only signed and trusted apps from the App Store”.

                   (DX-5492.103.) That same option would be open to users of iOS

                   should Apple allow for third-party distribution on that platform,

                   and a user choosing to do so would enjoy the same protections

                   offered by the App Store today. (Federighi Trial Tr. 3457:21-

                   3458:1.)

             b.    Second, a developer that is registered with Apple’s Developer

                   Program can submit its apps for “notarization” by Apple. The

                   “notarization” model tracks the model contemplated by the

                   security team in the 2007 white paper, namely one where the

                   scanning and signing of the app by Apple is separate from

                   distribution. (Federighi Trial Tr. 3463:9-3464:9.) As explained

                   below, notarization involves an automated scan for malicious

                   content conducted by Apple, and certain apps are also manually

                   reviewed. At the end of the notarization process, Apple signs the

                   app (or “notarizes” it) and returns the signed binary to the

                   developer for distribution by the developer itself or through a third

                   party online store. (Federighi Trial Tr. 3463:21-25.) When a user

                                    365
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 374 of 644




                   attempts to download such an app, a macOS feature called

                   Gatekeeper will confirm the app has been notarized by Apple.

                   (Ex. Expert 5 (Mickens) ¶ 86; Mickens Trial Tr. 2599:5-13; DX-

                   5492.104.)

             c.    Third, a developer who chooses not to register with Apple’s

                   Developer Program can attempt to distribute unsigned, unnotarized

                   apps through third-party app stores and websites. Importantly,

                   such distribution is unlikely to appeal to general users, as Apple

                   takes significant measures to deter general users from downloading

                   and installing unsigned applications. (Federighi Trial Tr. 3482:12-

                   15.) Should a macOS user attempt to open such an unsigned,

                   unnotarized app, the Gatekeeper technology in macOS will prevent

                   the user from installing or opening the app and display a warning

                   screen. The user will then need to go through several steps to

                   override this warning and install and open an unsigned,

                   unnotarized app by overriding several of the user’s security

                   settings. (Mickens Trial Tr. 2592:1-9; DX-5492.103 (“Ultimately,

                   macOS users are free to operate within the security model that

                   makes sense for them—including running completely unsigned

                   and untrusted code.”); PX-2531.1.)




                                    366
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 375 of 644




               599.    Ultimately, the “application security” on “macOS consists of a number of

overlapping layers” that give its users choices, “the first of which is the option to run only signed

and trusted apps from the [Mac] App Store” or, alternatively, to download either software that

has been signed by the App Store or software notarized by Apple. (DX-5492.103-104.)

               600.    Six notable security features utilized on macOS include: (1) signatures and

certificates; (2) notarizations; (3) Gatekeeper; (4) Sandboxing; (5) XProtect; and (6) Malware

Removal Tool (MRT). Critically, all of these security features can be implemented on iOS with

minimal engineering effort. (Federighi Trial Tr. 3473:2-4; Mickens Trial Tr. 2596:24-2597:7.)

               601.    First, signatures, or “code-signing”, are used in apps in order to ensure

that an identifiable developer created the application and will vouch for its content.

                       a.      This enables attribution (verifying that only the person or entity

                               identified as the developer could have produced the signature and

                               therefore the app) and integrity (verifying that the binary has not

                               been modified after the developer signed it). (Mickens Trial Tr.

                               2571:9-16; see also DX-5492.098-099.)

                       b.      Put differently, the signature process ensures that signed apps

                               “haven’t been tampered [with] or altered”. (DX-5492.103.)

                       c.      Requiring code signatures enables Apple to stop distribution of an

                               app if it is found to be malicious. (Federighi Trial Tr. 3451:19-

                               3452: 6.)




                                                367
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 376 of 644




              602.   Second, Apple’s notarization process is an automated system that scans

developers’ software for malware known to Apple and generates a signed message if no such

malware is found. (Ex. Expert 5 (Mickens) ¶ 86; Mickens Trial Tr. 2590:10-15; DX-5492.104.)

              603.   Beginning in macOS 10.15, all apps with an associated Developer ID

must be either notarized by Apple or distributed through the App Store. (DX-5492.103.)

                     a.      If Apple’s notarization service does not detect any issues with the

                             app, then it returns a ticket for the developer to include with the

                             app. (Ex. Expert 5 (Mickens) ¶ 86; Mickens Trial Tr. 2590:10-15;

                             DX-5492.105.) Apple also publishes the ticket online in a location

                             where its Gatekeeper program can locate it (see below). When a

                             user downloads the app from a source outside of the Mac App

                             Store, Gatekeeper checks the ticket to confirm that the app has

                             been notarized. (Ex. Expert 5 (Mickens) ¶ 86; Mickens Trial Tr.

                             2599:3-13.) Any apps notarized by Apple are then able to run

                             under the default Gatekeeper settings on Macs. (DX-5492.103.)

                     b.      A manual review is sometimes involved in the process of

                             notarization. (PX-2557 § 5.3 (“Notarized Applications for

                             macOS” states, among other things, that “in limited cases, a

                             manual, technical investigation of [an] Application by Apple” for

                             [security] purposes”.).)




                                              368
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 377 of 644




             c.    Even after an app has been notarized, Apple can revoke a ticket for

                   malware—and macOS regularly checks for revocation tickets to

                   quickly block malware. (DX-5492.105; Rubin Trial Tr. 3794:14-

                   3795:8.)

             d.    Apple can also hold developers accountable by disabling the

                   accounts of those developers associated with any malware. (Rubin

                   Trial Tr. 3794:14-3795:8.)

             e.    For example, when Apple learned that a notarized app distributed

                   on macOS devices contained adware, Apple “revoked the

                   identified variant, disabled the developer account, and revoked the

                   associated certificates”. (Rubin Trial Tr. 3794:14-3795:8.)

             f.    The notarization feature on macOS demonstrates that Apple is

                   capable of reviewing and signing apps without requiring that those

                   apps be distributed through an official Apple app store. (Federighi

                   Trial Tr. 3464:1-5 (“Q. And so in notarization, there’s a separation

                   between the scanning and notarizing that Apple performs and the

                   distribution, which the developer can do in whichever way she

                   wants; correct? A. Correct.”).)

             g.    Finally, the scope and depth of the malware scans performed by

                   Apple during notarization are determined entirely by Apple; Apple




                                    369
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 378 of 644




                              could apply more comprehensive scanning if it believed it to be

                              necessary or useful. (Federighi Trial Tr. 3464:23-3465:1.)

               604.   Third, Gatekeeper is a system that Apple introduced to block the

installation of suspected malware on the Mac, and it “ensures that, by default, only trusted

software runs on a user’s Mac”. (Federighi Trial Tr. 3471:6-14; DX-5492.104.)

                      a.      Gatekeeper assures that “when a user downloads and opens an

                              app. . . from outside the App Store, Gatekeeper verifies that the

                              software is from an identified developer, is notarized by Apple to

                              be free of known malicious content, and hasn’t been altered”.

                              (DX-5492.104.)

                      b.      And Gatekeeper, by default, further assures that “all software in

                              macOS is checked for known malicious content the first time it’s

                              opened, regardless of how it arrived on the Mac.” (DX-5492.104.)

                      c.      Gatekeeper also will be able to show if an application or plug-in

                              installer is notarized by Apple, and will notify a user if something

                              they are attempting to install was not signed with a developer

                              certificate and notarized. (Mickens Trial Tr. 2599:3-18; Federighi

                              Trial Tr. 3381:5-8 (explaining that “the app is notarized and . . .

                              when the user subsequently downloads that software and tries to

                              run it, the operating system will say, oh, look, this software has

                              been notarized by Apple”.).)

                                               370
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 379 of 644




                       d.      Gatekeeper can be set to ensure that macOS users can only install

                               and run apps from the Mac App Store, excluding even notarized

                               software from other sources. (Federighi Trial Tr. 3472:1-5.) Thus,

                               a parent can limit her child to purchasing apps only from the App

                               Store by setting Gatekeeper to block all other apps. (Id.)

                       e.      One function of Gatekeeper is to make it difficult for a user to

                               install unsigned code inadvertently or by mistake. (Federighi Trial

                               Tr. 3482:12-18.)

               605.    Fourth, as noted above, sandboxing places software within a “container”,

thereby restricting how it can interact with entities outside the container, such as the OS, the

local hardware, and other apps. (Ex. Expert 5 (Mickens) ¶ 63; Federighi Trial Tr. 3375:11-13,

3375:20-22, 3375:23-3376:3 (explaining sandboxing as a mechanism that “contain[s] software to

execute in the manner that the operating system is attempting to authorize”).)

                       a.      Sandboxing restricts apps from accessing files stored by other apps

                               or from making changes to the device. This prevents apps from

                               gathering or modifying information stored by other apps. (Ex.

                               Expert 5 (Mickens) ¶¶ 26-28.) And if a third-party app needs to

                               access information other than its own, it does so only by using

                               services explicitly provided by the operating system. (Ex. Expert 5

                               (Mickens) ¶¶ 26-28; Mickens Trial Tr. 2570:22-24 (“A. So, yes,

                               so that is the purpose of the sandbox layer. It is to restrict the types

                                                  371
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 380 of 644




                             of interaction that an application can have with the rest of the

                             system.”); Kosmynka Trial Tr. 997:21-23 (“Q. In other words,

                             [sandboxing] restricts apps from accessing files stored by other

                             apps or making changes to the device, correct? A. Yes.”).)

                      b.     Notably, sandboxing is not strictly enforced on macOS. (Federighi

                             Trial Tr. 3480:18-22.) By contrast, all apps on iOS must be

                             sandboxed. (Federighi Trial Tr. 3481:8-12.) In that sense, iOS

                             offers a more secure model than does macOS. (Federighi Trial Tr.

                             3481:16-19 (agreeing that “the developer community on iOS,

                             unlike on macOS, is used to implementing complete sandboxing

                             on all the apps that it writes”).) Apple could easily continue to

                             enforce tight sandboxing in iOS were it required to allow third

                             party distribution. (Federighi Trial Tr. 3481:20-23.)

              606.    Fifth, macOS has another device-level malware-scanning feature, called

XProtect, which “checks, when a piece of software is run, whether it matches a set of known

signatures for malware”. (Federighi Trial Tr. 3381:14-17; DX-5492.105.)

              607.    Sixth, Malware Removal Tool (MRT) is another macOS tool used for

malware removal if any piece of malware has evaded the mechanisms noted above. (Federighi

Trial Tr. 3394:9-15 (“We have another mechanism called MRT, the Malware Removal Tool. As

we become aware of malware through our own scans, as well as from reports from third-party

antivirus and security companies, we remove that malware. We block that malware and we

                                              372
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 381 of 644




remove that malware.”).) MRT “remediates infections based on updates automatically delivered

from Apple”, and “removes malware upon receiving updated information, and it continues to

check for infections on restart and login”. (DX-5492.106.)

               608.    Some of these features, such as sandboxing and code signing, are already

implemented on iOS. (DX-5492.098, .100.) All of the other features can be implemented on

iOS with minimal engineering effort because iOS and macOS share the same kernel—the two

platforms share much of the same plumbing to enable the same security protections. (Mickens

Trial Tr. 2596:24-2597:7.) Dr. Rubin’s claim that malware scanning is untenable on iOS (Ex.

Expert 11 (Rubin) ¶ 74) is belied by Mr. Federighi’s testimony that the reason why iOS has not

implemented an on-device malware removal tool is simply because it has “never needed one”

(Federighi Trial Tr. 3394:20-24) and that it is technically feasible to implement all of the security

mechanisms that are currently in macOS (including its on-device malware scanning and removal

features) on iOS. (Federighi Trial Tr. 3473:2-4.)

               609.    Apple disagrees that “it’s unsafe to use a Mac”, believing instead that

“using a Mac is not insecure”. (Ex. Depo. 7 at 273:15-18, 274:2-4 (Okamoto).) Contrary to the

litigation-driven trial testimony of Mr. Federighi (Federighi Trial Tr. 3389:21-25, 3390:1-8),

Apple does not state, internally or externally, that macOS is less secure than iOS. (Ex. Depo. 7

at 279:7-9 (Okamoto); PX-741.1.)

               610.    Apple publicly touts the security of macOS, promising Mac users that they

can enjoy “Security. Built right in.” (PX-741.1) and can “[d]ownload apps safely from the Mac

App Store. And the internet” (PX-741.5.).

                                                373
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 382 of 644




             a.    Apple further ensures Mac users that “apps from both the App

                   Store and the internet can be installed worry-free”, claiming that

                   “[i]f there’s ever a problem with an app, Apple can quickly stop

                   new installations and even block the app from launching again”.

                   (PX-741.5 (emphasis added).)

             b.    Apple has also claimed that it “design[s] Mac hardware and

                   software with advanced technologies that work together to run

                   apps more securely, protect your data, and help keep you safe on

                   the web”. (PX-741.1.)

             c.    Apple devotes an entire section of its Apple.com website touting

                   the benefits of macOS for school children in kindergarten through

                   twelfth grade. (See PX-2882.) Specifically, Apple uses those

                   pages to market the Mac alongside the iOS-based iPad as ideal

                   devices for use by schoolchildren. Nowhere in these pages does

                   Apple raise security concerns or suggest that consumers seeking

                   added security should purchase the iPad rather than a Mac. (PX-

                   2882; Federighi Trial Tr. 3478:1-5 (“Q. But you agree with me that

                   nothing in this page suggests that security is a vector that children

                   or their parents or their schools should consider when choosing

                   between a Mac and an iPad; correct? A. Not on these pages, no.”).)




                                    374
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 383 of 644




               611.    Macs serve millions of Apple customers—there are over a hundred million

active Macs currently in existence. (Federighi Trial Tr. 3473:16-19.)

               612.    Finally, Apple allows iPhones to synchronize data with macOS devices

belonging to the same user, which implies that Apple is comfortable with the current security

level on macOS devices. (Ex. Expert 5 (Mickens) ¶ 96; see also Section XI.B.)

               613.    Ultimately, the macOS model follows in many ways the model first laid

out by Apple’s own security team back in 2007, for use in iOS. A similar model, with whatever

additional scans Apple may deem fit, could be implemented by Apple for iOS. As Mr. Federighi

acknowledged, just like the 2007 white paper contemplated, and just like the notarization process

entails today, at the end of Apple’s current App Review process, Apple obtains a signed, fully-

vetted app that is ready for distribution, and it is entirely Apple’s choice whether to send it for

distribution through the App Store or instead send it back to the developer for distribution

through other means. (Federighi Trial Tr. 3510:5-15.) That choice is the same “policy” choice

noted by Apple’s security team back in 2007; it is not a choice guided by security considerations.

(PX-877.3.

       E.      Security, Including for the iPhone, is Ensured First and Foremost by the OS
               and Hardware.

               614.    Most essential security functions for mobile devices are performed “on-

device” by the OS. (Mickens Trial Tr. 2559:5-7.) This is because the OS is uniquely situated to

see malicious behavior on mobile devices. (Mickens Trial Tr. 2565:6-10.) This security layer is

independent of the app distribution channel.



                                                 375
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 384 of 644




                615.    There are a number of security features that iOS provides at the operating

system level. (Mickens Trial Tr. 2557:9-12; Rubin Trial Tr. 3773:8-13.) These operating

system-level protections are the most important security layers on a mobile device. (Mickens

Trial Tr. 2559:5-12 (“Now in my opinion, it's that middle layer of security mechanisms, the ones

enforced by the on-device operating system that are the most important. And the reason is that

the operating system is responsible for configuring or managing many of these security

properties provided by the hardware level. And furthermore, there are security properties that

the operating [sic] itself is really uniquely situated to provide.”).)

                        a.      These include features such as: (1) sandboxing; (2) address space

                                layout randomization (ASLR); (3) W^X memory; and (4) secure

                                booting. (Ex. Expert 5 (Mickens) ¶¶ 23-41.)

                616.    First, in order to enforce sandboxing, the OS only needs to know what

kind of sandbox restrictions to apply to an app—which is “totally unrelated to the app review

process.” (Ex. Expert 5 (Mickens) ¶ 68; Mickens Trial Tr. 2570:11-19 (“So if you look at how

sandboxing works, sandboxing, and in fact, all of these security mechanisms, are agnostic as to

the means by which an application gets on a device like a phone, for example. So even if there

is, let's say, a third party app store that delivers a malicious app, or in fact if there was a

malicious app that comes through a first-party app store -- that does happen -- the OS can still

sandbox that app and restrict the kind of damage that it can perform.”).)




                                                  376
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 385 of 644




                     a.      According to Dr. Rubin, sandboxing “is one of the greatest

                             contributions in recent computer security” and “has affected the

                             lives of many people”. (Rubin Trial Tr. 3773:17-23.)

              617.   Second, “address space layout randomization (ASLR) thwarts attacks on

memory secrecy. A memory secrecy attack tricks a process into revealing memory data to the

attacker.” (Ex. Expert 5 (Mickens) ¶ 35; DX-5492.100.)

                     a.      Every computer application will have “instructions and data

                             [loaded] into hardware called random access memory (RAM)”,

                             which will then perform the desired application tasks. (Ex. Expert

                             5 (Mickens) ¶ 19.)

                     b.      ASLR makes it “harder for attackers to profitably exploit program

                             bugs involving memory access.” (Ex. Expert 5 (Mickens) ¶ 35.)

                     c.      Modern OSs support ASLR. (Ex. Expert 5 (Mickens) ¶ 36.)

              618.   Third, “code integrity” protections, like write exclusive-or execute

memory (W^X memory, also referred to as “Execute Never”), prohibit attackers from writing too

much memory (which may allow attackers to get the program to execute code of their choosing)

and do not allow new code to be written into a process. (Ex. Expert 5 (Mickens) ¶¶ 33-35; DX-

5492.100.)

                     a.      W^X memory does this by conditionally designating each memory

                             location as either writable or executable, but not both; this leads

                             CPUs to refuse to execute instruction in memory locations marked

                                              377
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 386 of 644




                               as writeable but non-executable, and to refuse to allow an update to

                               a memory address that has been marked as executable but non-

                               writeable. (Ex. Expert 5 (Mickens) ¶ 34.)

                619.   Fourth, secure booting “allows a computing device to detect if attackers

have tampered with an OS” when the device is turned on. (Ex. Expert 5 (Mickens) ¶¶ 38-41;

DX-5492.30.)

                620.   As a result of these security features—and primarily because of the tight

sandboxing iOS enforces—iOS generally has no viruses. (Ex. Depo. 2 at 484:20-485:17

(Shoemaker).)

                621.   These OS-level security measures are all independent of the app review

process. (Mickens Trial Tr. 2571:24-2572:5; Ex. Expert 5 (Mickens) ¶ 47.)

         F.     Apple’s App Review Is Cursory, Is Opaque and Yields Poor Results.

                622.   All apps commercially distributed on iOS undergo Apple’s App Review

process. (Kosmynka Trial Tr. 877:9-12; Schiller Trial Tr. 2830:15-21.)

                623.   App Review provides minimal security benefits beyond the on-device

security that is already provided by the iOS operating system. (Ex. Expert 5 (Mickens) ¶ 77.11)


    11
       Apple claims that Dr. Mickens did not have any direct evidence about the tools Apple
uses for App Review and did not review any documentation about the training process for App
Review. However, as Dr. Mickens testified at trial, security researchers in the field of mobile
security are “oftentimes . . . asked to evaluate the security of a system that is partially or totally
closed source.” In fact, “[t]he security community has designed a variety of techniques to allow
sound analyses in the absence of information about closed source systems” and “[t]his is an
accepted technique in the community”. Moreover, this practice of security researchers
evaluating closed source systems is “accepted by Apple who runs a Bug Bounty Program . . . that

                                                378
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 387 of 644




The security properties that the iOS operating system cannot enforce, such as legal compliance,

are also difficult for App Review to screen for. (Ex. Expert 5 (Mickens) ¶ 77.) This is supported

by evidence documenting the number of fraudulent, scam and copycat apps that have passed

Apple’s App Review process. (See Sections XI.F, H.)

                624.   Apple’s App Review process involves both automated and manual

screening. (Kosmynka Trial Tr. 992:11-15, 993:20-22, 994:13-15; 1099:4-5; 1102:18-21; Rubin

Trial Tr. 3772:19-20, 3773:2-4.)

                625.   Apple’s App Review process screens for both security and non-security

issues. (See e.g., Kosmynka Trial Tr. 994:13-15, 1089:14-24; Rubin Trial Tr: 3808:21-23

(“[S]ome of the App Review Guidelines have a primary focus on something other than

security.”).)

                       a.     The majority of app rejections are for non-security issues. (See,

                              e.g., PX-300.6 (listing top 10 reasons for app rejection); DX-

                              4374.007 (same).)

                       b.     Mr. Federighi, whose “job responsibilities cover the security of

                              macOS and iOS” (Federighi Trial Tr. 3357:22-24), is not involved

                              in the app review process (Federighi Trial Tr. 3484:7-18).

                626.   Apple does not recruit reviewers with sophisticated technical

backgrounds. (Ex. Depo. 2 at 35:22-36:3; 37:24-38:7 (Shoemaker).)



allows outsides, people who don’t work for Apple[,] to analyze Apple’s partially closed source
software and hardware and find errors in it.” (Mickens Trial Tr. 2705:14-2706:5.)
                                               379
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 388 of 644




                      a.      Historically, Apple has only required applicants to have familiarity

                              with, but not expertise in, Apple’s products and brand image. (Ex.

                              Depo. 2 at 37:24-38:7 (Shoemaker).)

                      b.      When the App Store first began, applicants were considered

                              qualified if they “understood how to use a Mac”, “understood how

                              to use an iPhone”, “understood a little about the Apple brand”,

                              “could breathe . . . could think”. (Ex. Depo. 2 at 35:22-36:3;

                              37:24-38:7 (Shoemaker).)

               627.   From its inception, the “guiding principle in App Review” is that it

“review[s] . . . not test[s]” apps. (PX-140; Ex. Depo. 5 at 238:7-10, 239:5-8 (Haun).)

                      a.      “‘Test[ing]’ implies or outright infers that the individual providing

                              [the] test has done a comprehensive use of the application,

                              exercising most if not all of the functionality of an application, and

                              not only testing all the functionality of the application, but [also]

                              testing certainly much of the application under different conditions

                              with . . . different data and by attempting to induce failure

                              modes . . . and see[ing] how the application fares under a test like

                              that.” (Ex. Depo. 5 at 239:24-240:10 (Haun))

                      b.      The App Review team does not perform such “comprehensive

                              test[s]”. (Ex. Depo. 5 at 240:12-16 (Haun).)




                                               380
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 389 of 644




               628.   When an app is assigned to a reviewer during App Review, the reviewer is

provided certain information about the app that Apple tools have collected or that has been

provided by the developer. (Kosmynka Trial Tr. 1095:19-22 (developers “submit an iOS

package” when they submit their apps for review).)

                      a.      The reviewer will read the marketing text, screen shots, and video

                              trailers that were provided with the app. (Ex. Depo. 13 at 43:19-

                              44:2 (Haun).)

                      b.      The reviewer may scan the information provided by Apple’s

                              automated tools and examine the application based on the results

                              of that scanning. (Kosmynka Trial Tr. 1106:2-7 (human reviewers

                              “inspect the metadata and the app history” and “orchestrate the

                              installation and actual app review itself on these peripheral iOS

                              devices and tvOS devices”).)

               629.   Because of Apple’s requirements that all apps on iOS be distributed

exclusively through the App Store—and that all apps on the App Store undergo App Review—

the volume of apps submitted does not permit robust review.

                      a.      There are approximately 100,000 average iOS App Store

                              submissions per week that are reviewed by approximately 500 App

                              Reviewers. (Kosmynka Trial Tr. 1083:12-15.)

                      b.      On average, App Reviewers spend six to twelve minutes reviewing

                              an app. (Kosmynka Trial Tr. 1001:22-24.) Mr. Kosmynka stated

                                               381
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 390 of 644




                   that the last time he reviewed an app, he did not spend more than

                   five minutes. (Kosmynka Trial Tr. 1002:2-4.)

             c.    App Reviewers typically review between 50 to 100 apps per day,

                   and productivity is tracked internally. (PX-6; Kosmynka Trial Tr.

                   998:12-14.)

             d.    In certain instances, reviewers took less than a minute to review

                   apps. (PX-131.)

             e.    The app review error rate was approximately 15%, resulting in at

                   least 15,000 apps erroneously rejected or erroneously approved per

                   week. (Ex. Depo. 2 at 134:8-10 (Shoemaker).)

             f.    Apple has acknowledged that the volume of apps that need to be

                   funneled through App Review presents a problem. (PX-335.5

                   (“Here’s the problem, the volume is immense and continues to

                   grow. The complexity is insane . . . 155 countries and 910

                   different types rejections reasons today. They are looked at

                   manually every time starting from scratch and by different people

                   (inconsistent). And all of this results in an SLA longer than

                   developers should expect and even worse creates a great deal of

                   anxiety and ill will between Apple and developers.”).)

             g.    App reviewers wrongfully reject apps because they test them

                   incorrectly. For example, Down Dog has had its apps rejected

                                     382
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 391 of 644




                              twice because Apple reviewers claimed that they were unable

                              locate the app’s integrated Apple Health features. (Simon Trial Tr.

                              384:7-385:5.) After Down Dog inquired about the rejections, it

                              became apparent that the reviewers could not locate the advertised

                              Apple Health features because they were reviewing the app on

                              iPads—forcing Down Dog to have to “explain to Apple’s own

                              reviewers that Apple has decided not to support Apple Health on

                              iPads”. (Simon Trial Tr. 384:17-385:5.) These arbitrary delays

                              slowed the release of Down Dog’s updates. (Simon Trial Tr.

                              385:6-8; see generally Fischer Trial Tr. 888:14-889:4.)

                      h.      In an open distribution model where Apple is no longer the only

                              party reviewing all iOS apps distributed on the platform, third

                              parties could dedicate more time to review apps; third parties could

                              also innovate and utilize different techniques for screening apps,

                              all of which would improve security on the iOS platform.

               630.   App reviewers can also escalate certain submissions to the Executive

Review Board (“ERB”). (Fischer Trial Tr. 876:22-877:2; Kosmynka Trial Tr. 983:25-984:3

(“There are escalations of apps to ERB . . . .”).) The ERB has a history of rejecting apps for

pretextual reasons and prohibiting apps that are competitive with Apple’s own products.

                      a.      The ERB is a group of individuals who “set[] the policy for the

                              App Store” and make the ultimate decisions as to what is or is not

                                               383
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 392 of 644




                   allowed into the App Store. (Kosmynka Trial Tr. 983:23-984:3,

                   1013:22-1014:1 (“ERB sets policy and handles escalations for

                   precedent-setting issues”); see also Fischer Trial Tr. 876:22-

                   877:2.)

             b.    The ERB also determines exceptions to policies or Guidelines.

                   (Kosmynka Trial Tr. 1013:22-1014:1; Fischer Trial Tr. 877:3-8

                   (ERB “discusses potential changes to the App Review Guidelines”

                   and “determines whether a different business model could be

                   utilized within the App Store”).)

             c.    “If there was anything that was truly major going on in the App

                   Store, you would expect that the executives on the ERB would be

                   made aware of the fact . . . .” (Fischer Trial Tr. 961:13-16.)

             d.    Phil Schiller, Eddy Cue, Matt Fischer, Ron Okamoto, Trystan

                   Kosmynka, C.K. Haun, Greg Joswiak, Ann Thai, Josh Shaffer,

                   Sean Cameron and Scott Forstall have all been members of the

                   ERB. (Ex. Depo. 20 at 114:6-8 (Shoemaker); Fischer Trial Tr.

                   876:4-10; PX-2333; PX-146.)

             e.    Mr. Schiller and Mr. Cue have been on the ERB since the App

                   Store was first launched, which is when the ERB came into

                   existence. (Fischer Trial Tr. 875:20-23, 876:14-16 (Mr. Schiller




                                    384
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 393 of 644




                   and Mr. Cue have been on the ERB at least since 2010); Schiller

                   Trial Tr. 2832:16-24.)

             f.    Mr. Schiller is considered the head of the ERB. (Fischer Trial Tr.

                   876:17-21.)

             g.    “[I]n the beginning”, Mr. Schiller, Mr. Cue and Mr. Forstall

                   “had veto power”, meaning that if they instructed others not to

                   approve an app, that app would not be approved. (Ex. Depo. 20 at

                   113:15-20; 114:6-8 (Shoemaker).)

             h.    “[C]ompeting apps sometimes faced issues at the ERB because of

                   positions taken by” its leaders. (Ex. Depo. 2 at 490:21-24

                   (Shoemaker).)

             i.    Such apps were delayed or rejected for “pretextual” reasons. For

                   example, certain apps that may have competed with Apple’s apps

                   or features, such as Google Voice, were “rejected on pretextual

                   grounds”. (Ex. Depo. 2 at 76:6-77:2; 88:6-8 (Shoemaker).)

             j.    ERB meeting notes also make clear that a priority was to prevent

                   entry of “apps that replace” the App Store. (PX-111; Ex. Depo. 2

                   at 175:4-176:7 (Shoemaker).)

             k.    In 2013, an app from the developer Big Fish was “remov[ed]”

                   “immediately” because Mr. Schiller and Mr. Cue were “adamant”

                   about its removal, despite Mr. Shoemaker’s “protest[s]” that there

                                   385
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 394 of 644




                             was no clear justification for doing so under the App Store Review

                             Guidelines. (PX-115.)

              631.    Apple also receives “inbound emails notifying Apple about issues with

apps that are found by the public or third parties on the iOS App Store.” (Kosmynka Trial Tr.

1007:25-1008.3.) When a customer, developers or the press informed Apple about issues with

apps, for a period of time Apple referred to that as “throwing an app under the bus”, or “the UTB

process”. (Kosmynka Trial Tr. 1010:11-15, 1010:24-1011:11.) This process has since been

renamed to “App Review Compliance”, or “ARC”. (Kosmynka Trial Tr. 1009:10-14;

Kosmynka Trial Tr. 1121:1-2.)

              632.    As part of content moderation, Apple purports to review apps for fake

“copycat” apps, or apps that may purport to be another trademarked app. (Kosmynka Trial Tr.

1089:14-24.) This has not succeeded. Apps that are “obvious rip off(s)” of other apps have

made it through App Review multiple times.

                      a.     An app called “Temple Jump” that was “a rip off of a top selling

                             game”, Temple Run, was approved for distribution on the App

                             Store. (PX-60.1 (Phil Schiller: “Is no one reviewing these apps? Is

                             no one minding the store?”)

                      b.     In January 2016, “a fake Minecraft app”, “passing itself off as a

                             $6.99 official sequel”, “reached the Top 5 in the US Paid charts

                             with the press picking up on it”. Apple removed the app from the

                             App Store, but three months later had “another fake Minecraft

                                              386
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 395 of 644




                              Pocket Edition 2 live on the store”, which at the time was

                              “currently No. 2 in the UK Paid iPad chart”. (PX-61.1-2.)

                      c.      In November of 2016, the CEO of Headspace emailed Apple to

                              complain of “repeated egregious theft of our IP in the Apple App

                              Store” from submissions of paid apps to the App Store “called

                              ‘Headspace’ with imagery, description, branding etc[.] identical to

                              ours”. The CEO complained that “[s]hockingly, Apple [is]

                              approving these apps, and when the users buy the apps they are left

                              with nothing but some scammy chat rooms in the background,”

                              that this sequence of events has occurred “four separate times” in

                              the span of a month, and that the CEO had “proof that consumers

                              are confused by this because users have left negative comments on

                              our social channels as a result”. (PX-364.3.)

                      d.      Copycat apps still make it through App Review. (Schiller Trial Tr.

                              3131:14-16.) For example, Minecraft, “a very popular building

                              game”, has several copycat apps in the App Store, including apps

                              titled “BoomCraft”, “Block Craft” and “MultiCraft”. (PX-1883.1-

                              3.)

               633.   Apple also purports to review apps for “[o]bjectionable content”, which

includes “overtly sexual or pornographic material”, as well as “illegal or reckless use of weapons

and dangerous objects”. (PX-2790 § 1.1.)

                                               387
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 396 of 644




             a.    However, apps in violation of these Guidelines make it past app

                   review, sometimes because an app reviewer can spend as little as

                   “32 seconds” reviewing an app. (PX-131.1; Ex. Depo. 5 at 146:3-

                   5 (Haun).)

             b.    Pursuant to this 32-second review, a “school shooting game”—an

                   app that described itself as providing “the newest high school

                   terrorist attack where criminals have bombarded the compound and

                   are making students hostages”— passed App Review a mere two

                   weeks after the massacre at Stoneman Douglas High School in

                   Parkland, Florida; this app and others like it were not removed

                   until after a 14-year-old app developer alerted Apple to the fact

                   they were listed in the App Store. (PX-131.1-3; Ex. Depo. 5 at

                   142:20-23, 143:7-13 (Haun).) In response to this, Mr. Kosmynka

                   wrote, “I’m dumbfounded with how this could be missed.”

                   (PX-131.1)

             c.    Apple had not enforced certain controls, such as requiring

                   developers to use an “ask to chat” feature for under-13 accounts.

                   As a result, in 2020, Apple employees estimated that Apple is “the

                   greatest platform for distributing child porn, etc.”, noting that

                   “there is a lot of this in our ecosystem”. (PX-276.17-18; Ex. Depo.

                   6 at 100:14-15, 346:19-24, 347:6-11 (Friedman).)

                                    388
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 397 of 644




                      d.        There have been other instances of shooting games on the App

                                Store, such as an app where the entire premise was shooting

                                canons at protestors. (PX-2371; Kosmynka Trial Tr. 1173:18-24.)

               634.   Dr. Rubin claims that reviewing for objectionable content can contribute

to security because such content, like pornography, is frequently associated with malware. (Ex.

Expert 11 (Rubin) ¶ 21.) More generally, Apple contends that centralized distribution is

necessary to prevent third-party app stores on EGS, such as itch.io, from offering sexually

explicit or other pornographic sites for download (Apple Findings of Fact (May 19, 2021

submission) ¶ 118.2; see also

                                                           However, such claims are belied by the

content on Apple’s own App Store, where apps such as “Obedience: BDSM habit training” (PX-

1937.3), apps purporting to allow users to browse for escorts (PX-1938.1-2), apps offering

“Kink, Fetish & Fet Hookup Life” (PX-1939.1) and apps featuring pornography (PX-1940) and

other sexual content (PX-1941) are available.

                      a.        Other apps within the App Store, such as Instagram, TikTok and

                                Reddit also offer pornographic content within the app itself. (See,

                                e.g., PX-1895.3 (Instagram page listing “Pornhub”); see also PX-

                                1894; PX-1949; PX-1948; PX-1947; PX-1950.)

                      b.        Apple also allows certain pornographic content to be monetized

                                through in-app purchases on various apps hosted on the App Store.




                                                 389
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 398 of 644




                            (PX-1937; PX-1938; PX-1939; PX-1940; PX-1941; Schiller Trial

                            Tr. 3003:3-3009:22.)

                     c.     Consumers can moderate such content through parental controls.

                            (Schiller Trial Tr. 3016:3-5.) EGS offers this option to its users.

                            (PX-1890.) And of course, Apple itself allows objectionable

                            content on the phone through the Safari browser. Apple’s concern

                            with content it finds objectionable is not with its availability on the

                            phone, but rather with its association with Apple’s own App

                            Store—a problem that simply will not exist with respect to third-

                            party app stores. (PX-2316 (Mr. Schiller noting that App Review

                            is necessary “as long as we have a store” because “we can’t just let

                            anything on an app store that has Apple’s name on it”); Ex. Depo.

                            2 at 73:21-74:5 (Shoemaker) (noting Apple’s concern is with

                            objectionable content that bears the imprimatur of Apple’s own

                            store).)

              635.   The App Store Review Guidelines are often arbitrary and arguable. (PX-

98.3; Ex. Depo. 2 at 69:20-70:3 (Shoemaker).)

                     a.     Third-party developers have complained to Apple that Apple’s

                            apps are permitted to do things that third-party apps are not

                            permitted to do on iOS. (Kosmynka Trial Tr. 1028:11-15.) One

                            reason is that many first party apps are integrated into the

                                                390
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 399 of 644




                   operating system as a feature of the iPhone and not subject to the

                   App Review process. (Kosmynka Trial Tr. 1032:10-14.)

             b.    Apple has failed to provide meaningful guidance concerning

                   whether and how developers’ apps and/or features could meet

                   Apple’s approval. (Simon Trial Tr. 383:14-384:12.)

             c.    Match Group views the app review process as a hindrance, rather

                   than a benefit. (Ex. Depo. 1 at 63:2-3, 63:5-7 (Ong).)

             d.    Apple’s inconsistent App Review process slows down innovation,

                   and has forced Match Group to waste resources. (Ex. Depo. 1 at

                   65:15-17, 65:19-66:4 (Ong).)

             e.    In Match Group’s experience, the App Review process is

                   inconsistent, and requires developers to spend development

                   resources on apps and updates that were initially approved but are

                   ultimately rejected. (Ex. Depo. 1 at 62:15-16; 62:18-63:1; 63:8-

                   64:16; 65:1-14 (Ong).)

             f.    “[O]ne person’s hatred of a product is going to make it so it’s

                   never available in the App Store.” (Ex. Depo. 20 at 70:17-20

                   (Shoemaker).)

             g.    Consequently, “developers read [the Guidelines] one way”, and

                   spend time and money to build and submit an app, only to have




                                    391
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 400 of 644




                              Apple reject it because it “interpret[s] that line [of the Guidelines]

                              differently”. (Ex. Depo. 2 at 72:1-12 (Shoemaker).)

                      h.      As a result, developers “complain about Apple’s criteria being

                              unclear” “every day”. (Ex. Depo. 2 at 126:20-23 (Shoemaker).)

               636.   Relatedly, Apple maintains a “set of whitelisted developers” (PX-64.1),

“who get to do things that other developers don’t get to do” (Fischer Trial Tr. 900:9-13).

               637.   In addition, the App Review team “always” carries a backlog in app

submissions for review. (Kosmynka Trial Tr. 1002:5-7.)

                      a.      Complaints regarding delays persist to the present. (Kosmynka

                              Trial Tr. 1002:11-14 (“Q. [D]evelopers have complained to Apple

                              about the length of time that it has taken for their apps to undergo

                              [A]pp [R]eview, right?” A. Yes.”); Simon Trial Tr. 415:1-6.)

               638.   Epic and other developers have experienced harmful delays in Apple’s

App Review process. (Grant Trial Tr. 728:25-730:7.)

                      a.      The requirement that users run the same version of Fortnite is

                              critical to enable cross-platform play. That combined with the

                              regular release of new content and updates through new versions or

                              builds make it vitally important that new builds launch on all

                              platforms at the same time. (Grant Trial Tr. 729:22-730:4

                              (“[B]ecause Fortnite requires all users to have the same version of

                              an app, we would pass app review, say, okay, great we are good to

                                               392
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 401 of 644




                   go early in the morning of the release date, we would press the

                   buttons on the Apple developer site and the Sony developer site to

                   release the app. They would all go out to users, but users in iOS

                   would not be able to get the new version of Fortnite which meant

                   for a period of time they weren’t able to play the game.”).)

             b.    While on iOS, cross-platform launch required Epic to request that

                   Apple expedite the review of new Fortnite builds, as Apple’s

                   review process lagged behind the review process on all other

                   platforms. (Grant Trial Tr. 727:9-10, 729:22-730:4.)

             c.    Apple understood that App Review could detrimentally affect

                   Epic’s goal of “aligning releases across all platforms”, as “[i]t can

                   take hours . . . for App Review to even receive an app”. (PX-

                   442.1; Schmid Trial Tr. 3339:23-3340:13.)

             d.    On a handful of occasions, Epic also needed to submit expedited

                   propagation requests because new Fortnite builds that had already

                   been approved by Apple’s review process were for some unknown

                   reason not made available to users through the App Store in a

                   timely manner. (Grant Trial Tr. 729:14-21, 730:5-7.)

             e.    Apple’s App Review could take up to 48 hours and, after that,

                   propagation to users could take up to 24 hours, which was

                   significantly slower than the seconds or minutes that it took

                                    393
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 402 of 644




                                 consoles to propagate Fortnite updates. (Schmid Trial Tr.

                                 3341:16-3343:10.)

                       f.        Because of these propagation differences, Epic sometimes had to

                                 decide whether to offer the update across all platforms or wait for

                                 Apple. (Schmid Trial Tr. 3343:7-10.)

               639.    The delay in Apple’s review process was not typically caused by any rigor

in the manual review process itself. (Grant Trial Tr. 729:5-13.)

                       a.        Apple’s developer portal would often show that new builds would

                                 be in review or waiting for review for days. (Grant Trial Tr.

                                 727:2-3 (“[The app review process] . . . was very variable. It could

                                 be under an hour. It could be multiple business days.”).)

                       b.        Once in review, however, the actual process would take as little as

                                 a few minutes. (Grant Trial Tr. 726:25-727:3; Kosmynka Trial Tr.

                                 1001:17-24.)

       G.      Apple Has Historically Lagged Behind Other Platforms in the Use of
               Automated Tools for App Review.

               640.    Automated tools for app review are commercially available. (Kosmynka

Trial Tr. 996:7-19, 997:4-14.)

               641.    Apple has historically lagged behind Google in its use of automated tools

for App Review. (PX-137.1 (Mr. Shoemaker noting that Google has implemented a dynamic

analyzer which “allows [G]oogle to keep the play store free of API abuse without involving

people”, while Apple uses only a “static analyzer that rejects apps at the door, but it only catches
                                                  394
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 403 of 644




the easy ones”; and that “[G]oogle tools do a very good job of analyzing the text in the marketing

text . . .[that] help to speed up the review process”, while “iOS App Review has only

rudimentary tools to handle [text analysis]”).)

               642.    Around 2015, Apple recognized that Google used automated tools since

launching its app store. (PX-137.)

                       a.     Google’s tools included dynamic analysis (as opposed to Apple’s

                              then-static code analysis), automated text analysis (for “issues like

                              bad words, misleading text, defamatory speech, etc.”), automated

                              pornography screening, an automated “test harness” (a program

                              that simulates running the program) and others. (PX-137.)

                       b.     Apple did not have these tools at the time. (PX-144; PX-146; Ex.

                              Depo. 5 at 289:21-22; 291:16-20 (Haun).)

                       c.     Apple has since recognized the effectiveness of using automated

                              tools from third party providers as part of App Review. (PX-2052;

                              Kosmynka Trial Tr. 995:13-25, 996:3-19.)

               643.    SourceDNA is a company that used static analysis and API detection

capabilities to detect thousands of compromised apps that Apple’s App Review failed to detect.

(Kosmynka Trial Tr. 995:23-996:2 (“Q. It was a serious event, correct? A. It was a serious

event . . . .”); id. at 996:3-6 (“Q. You said that in this email that SourceDNA would have flagged

that issue, right? A. It’s going to take a moment to review the email. Yes.”).)




                                                  395
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 404 of 644




                       a.     Unable to replicate SourceDNA’s capabilities internally, Apple

                              became interested in acquiring SourceDNA, and completed the

                              acquisition in 2016. (PX-2052; Kosmynka Trial Tr. 996:7-12

                              (“Q. And, in fact, this email discusses acquiring or potentially

                              acquiring SourceDNA to use their software to counteract threats in

                              the future. A. Yes. Q. And Apple, in fact, did acquire

                              SourceDNA in 2016? A. We did.”).)

                       b.     SourceDNA “built technology at Apple, which is named App

                              Transparency” and does a combination of static and dynamic

                              analysis. (Kosmynka Trial Tr. 996:13-19; see also PX-465.)

       H.      App Review Does Not Ensure Security or Quality.

               644.    While claiming that Apple’s App Review constitutes a “critical

component” of the iOS security model (Ex. Expert 11 (Rubin) ¶ 35), Dr. Rubin concedes that he

has not performed any empirical analysis of the security, privacy or reliability of apps that are

actually distributed through the App Store. (Rubin Trial Tr. 3809:10-24.)

               645.    Empirically speaking, Apple’s ability to detect malicious apps during the

App Review process is limited. (Ex. Depo. 6 at 94:9-23 (Friedman).) Apple executives have

acknowledged that the App Store has had “all kinds of security and privacy issues,” including

“apps in the store that have defrauded customers” or “that have potentially taken their data” (Ex.

Depo. 3 at 169:1-4, 169:6-9 (Cue)), and that such customer claims have occurred since the

beginning of the App Store. (Ex. Depo. 3 at 168:7-18 (Cue).)


                                                396
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 405 of 644




               646.   For example, App Review has limited to no ability to detect attacks by

“Jekyll” apps that alter their behavior after App Review. (PX-465; PX-146; Federighi Trial Tr.

3508:24-3509:4; PX-251.1 (Mr. Friedman describing App Review’s key performance indicator

as “how many apps can we get through the pipe” and not “what exotic exploits can we detect”).).

               647.   Apple’s FEAR (Fraud Engineering Algorithms and Risk) team is

responsible for detecting and deterring fraud and abuse in the App Store, and tasked with

“preventing illicit distribution” on iOS, meaning “distribution outside of the App Store”. (Ex.

Depo. 6 at 57:24-58:9; 59:10-59:19 (Friedman).) The leader of the FEAR team believed that

App Review would not “accomplish anything that would deter a sophisticated attacker”. (PX-

251.1; Ex. Depo. 6 at 94:9-19 (Friedman).)

                      a.      The FEAR team further believed that “App Review is bringing a

                              plastic butter knife to a gun fight”, that the process amounts to “a

                              wetware [i.e., a human-led] rate limiting service and nothing

                              more”, and that Apple had not invested sufficient resources to

                              detect and prevent the abuse. (Ex. Depo. 6 at 82:22-83:3

                              (Friedman); PX-250.1; PX-251.)

                      b.      In late 2017, even after Apple had acquired certain automated

                              tools, the FEAR team still estimated that App Review was more

                              “like the pretty lady who greets you with a lei at the Hawaiian

                              airport than the drug sniffing dog”. (PX-252.1; Ex. Depo. 6 at

                              100:7-15 (Friedman).) FEAR likened App Review to TSA

                                               397
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 406 of 644




                           employees, “under pressure to move people through” and “not able

                           to deflect sophisticated attackers”. (Ex. Depo. 6 at 97:20-98:9

                           (Friedman).) FEAR believed App Review is judged by, and

                           therefore is focused on, “‘how my apps can we get through the

                           pipe’ and not ‘what exotic exploits can we detect?.’” (PX-251.1.)

             648.   Numerous malicious apps have been approved by App Review. (Ex.

Depo. 2 at 214:23-214:25 (Shoemaker).)

                    a.     Apple has been informed that “[t]here is an epidemic of fraudulent

                           apps at the App Store that attempt to defraud users of large sums of

                           money”. (Fischer Trial Tr. 839:3-15.) Mr. Fischer agrees that

                           “there are several forms of fraud associated with some apps that

                           had been listed in the App Store”, including “financial fraud”,

                           “fraud relating to customer ratings”, and “fraud relating to

                           customer reviews”. (Fischer Trial Tr. 892:15-893:4.)

                    b.     By 2018, fraud was having such “a big impact for both developers

                           and consumers” on the App Store that Mr. Fischer asked an Apple

                           employee to “take leadership regarding what’s going on with all

                           forms of fraud on the App Store”. (PX-66.1; Fischer Trial Tr.

                           892:5-11.)

                    c.     In some cases, fraudulent apps evade Apple’s screening even after

                           multiple rounds of App Review.

                                            398
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 407 of 644




             d.    For example, in 2017, Apple conducted a “case study” of an app

                   fraudulently offering virus scanning. (PX-253.5; Ex. Depo. 6 at

                   115:5-6, 115:15-18 (Friedman).) After being rejected twice, the

                   app was accepted because the reviewers did not know about the

                   prior rejections. (PX-253.) When released on the App Store, the

                   app began fraudulently and aggressively offering weekly renewing

                   subscriptions to non-existent “virus scanning” services for $99.99

                   through IAP. (PX-253.) Eventually the app became one of the

                   “Top Grossing” apps in the App Store. (PX-253.8; Ex. Depo. 6 at

                   123:8-23 (Friedman).)

             e.    In 2019, Apple was notified that a security firm called Wandera

                   identified 17 apps on the App Store that fraudulently collected ad

                   revenue through a “Trojan attack”, which allowed apps to

                   continuously open web pages in the background or click links

                   without any user interaction. (PX-2084.2.) Apple removed these

                   apps after Wandera reported its findings, but the developers of one

                   of the malicious apps, “EMI Calculator & Loan Planner”,

                   resubmitted their app for review without removing the malicious

                   behavior. (PX-2084.1.) Apple approved it again, later

                   acknowledging it is “making critical errors” during App Review.

                   (PX-2084.1.)

                                    399
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 408 of 644




             f.    Another user described an experience with a TouchID scam:

                   “[T]he app launched a pop-up asking, ‘Enable TouchID access to

                   photos?’, I tapped ‘Yes’ and then it merely prompted me to place

                   my finger on the home button. As soon as that happened, it

                   darkened the screen’s brightness to zero (so hardly anything could

                   be read) and an in-app notification to purchase premium

                   membership (no description whatsoever about its content) for

                   $89.99 appeared. As the App Store purchases were Touch ID

                   enabled, this authorized the transaction and I was charged $89.99”.

                   (PX-372.1.)

             g.    In January 2018, Apple received a slide deck summarizing how

                   one app called “Ringtones Z Premium” and its “sister apps” were

                   “reaping in hundreds of thousands of dollars a month from

                   unwitting customers through fraudulent and misleading practices”.

                   (PX-2029.1.) Users had posted “dozens of complaints” in the app

                   reviews, which Apple found to be “shocking”. (PX-2029.1.)

             h.    In addition to monetary losses, fraudulent apps on the App Store

                   could have other grave consequences. In early 2019, for example,

                   Apple approved an app that claimed “to detect blood pressure

                   using the camera from a finger tip”, a technology not available at

                   the time. A customer complaint described the app as “highly

                                    400
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 409 of 644




                   dangerous” as it could lead “users with high blood pressure to

                   believ[e] that the blood pressure readings from the app are

                   accurate”. (PX-371.1.) Apple ultimately determined that the app

                   was “nonsense” and “should not be on the store”. (PX-371.1.)

             i.    Various types of payment fraud occur in the App Store, including

                   refund fraud—“when a customer buys and enjoys or resells the

                   content and then requests a refund”. (Ex. Depo. 12 at 146:9-13

                   (Gray).) In addition, Apple is aware that apps can be used for

                   money laundering purposes. (PX-63.1.) Developers also raised

                   concerns to Apple regarding fraud. (PX-67.1.)

             j.    These apps persist in spite of Apple’s efforts to remove such apps

                   as part of App Store Improvements Initiative (“ASI”), which was

                   started approximately five years ago. (PX-326.1; Kosmynka Trial

                   Tr. 1135:10-11.) One year into this initiative, Apple “had removed

                   400,000 or more apps” from the App Store. (DX-4399.064;

                   Kosmynka Trial Tr. 1137:19-24 (“Q. And so already one year in,

                   Apple had removed 400,000 or more apps as part of the App Store

                   Improvement Program? A. Yes. Q. And those were all apps that

                   had made it through app review and were currently on the App

                   Store? A. Yes.”); see also Schiller Trial Tr. 2847:22-24




                                    401
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 410 of 644




                              (cumulatively, over 2 million apps have been removed pursuant to

                              this program).)

                      k.      Notwithstanding these efforts, the head of App Review testified

                              that certain apps with objectionable content under Apple’s

                              Guidelines remain on the App Store, notwithstanding the fact that

                              he became aware of them months earlier in his deposition. (PX-

                              315, Kosmynka Trial Tr. 1176:10-22 (“Q. After your deposition,

                              did you go back – back to the office, so to speak, and tell your

                              team about these apps to look into them? A. We’ve recently

                              looked into these apps, yes. Q. They are all still fine? A. I

                              believe the Waffle, offensive, not safe for work [app] is a

                              candidate for App Store cleanup . . . .”).)

               649.   Apple has not commissioned any studies that evaluate whether apps

downloaded to devices through Apple’s Enterprise Program—and that do not undergo App

Review—are more or less secure than apps downloaded from the App Store. (Ex. Depo. 9 at

143:19-144:4, 144:6-7 (Fischer).)

               650.   Ultimately, App Review adds little if anything to security proper. As

noted above, according to Mr. Federighi, apps can easily circumvent App Review security

scanning by changing their behavior after the review has been completed, and there is simply

“nothing that app review could do in advance to prevent this kind of attack”. (Federighi Trial Tr.

3487:24-3488:21.) In fact, Mr. Federighi acknowledged that Apple’s best way to fight such

                                                402
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 411 of 644




attacks is by monitoring malicious behavior “in the wild”—on the devices of consumers—and

then use the very same signature mechanism identified by the security team in the 2007 white

paper to block such apps. (Federighi Trial Tr. 3487:24-3488:21.) That process, as noted in the

white paper, can be done regardless of the method of distributing the app. (PX-877.2-3.)

       I.      Even if Apple Ended Its Prohibition on Third-Party Distribution, App
               Review’s Security Protections Could Be Maintained by Apple or Replicated
               by Third Parties.

               651.   As noted above, neither iOS’s on-device security features nor its off-

device security features require iOS apps to be distributed through the App Store. iOS’s on-

device security features are enforced primarily through its operating system, and are agnostic to

the issue of how a particular app arrived on a particular phone. (See Section X.E.) Apple’s off-

device security features consist primarily of App Review and code signing. But, as Mr.

Federighi acknowledged, once an app has been reviewed and signed by Apple, there is no

technical requirement that it be distributed exclusively through the App Store. (See Section X.D;

see also Federighi Trial Tr. 3510:5-15 (acknowledging that once an app has been vetted and

signed by Apple, the question of whether to send it back to the developer for distribution or

whether to distribute it through the App Store “is entirely Apple’s choice”).)

               652.   As discussed above and below, Apple can implement security features on

iOS without restricting app distribution to the App Store. (Ex. Expert 5 (Mickens) ¶ 90-93.) Mr.

Federighi testified that at the end of App Review, it is entirely Apple’s choice whether to send

the reviewed app to the App Store or back to the distributor. (Federighi Trial Tr. 3510:12-15.)




                                               403
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 412 of 644




                      a.      The success of security on the macOS demonstrates that Apple can

                              achieve a secure product without restricting app distribution

                              exclusively to the App Store. (Mickens Trial Tr. 2591:14-16 (“Q.

                              Is iOS more secure than Mac OS? A. I would not say it is

                              meaningfully more secure”), 2604:3-6 (“Q. Professor Mickens,

                              would implementing any of these alternative distribution channels

                              on iOS make the iPhone any less secure than the Mac OS, in your

                              opinion? A. I don't believe so, no.”).) As noted above, iOS

                              already has stricter sandboxing, suggesting it would be even more

                              secure than macOS if it were opened up for third party distribution.

                      b.      “There are a variety of different application [distribution] models

                              which . . . allow for various degrees of Apple to have editorial

                              control or the ability to implement malware scanning.” (Mickens

                              Trial Tr. 2704:22-25.) And as noted above, one such model was

                              recommended by Apple’s own security team back in 2007. (PX-

                              877.)

               653.   In addition to the system-level protections already built into iOS, Apple

could also implement the same security features it uses on the Mac to further secure iOS.

(Mickens Trial Tr. 2588:20-24, 2597:1-7 (“So if we go to the next demonstrative, what we show

here are some of the features that are currently unique to Mac OS -- (Demonstrative published.)

THE WITNESS: -- although I believe that they could be implemented on iOS with minimal

                                               404
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 413 of 644




engineering effort because there's so much shared plumbing between the two platforms.”),

2598:6-14 (“So if we look at this demonstrative, what it's showing is that on the left, I believe

that you could actually take these models and move them to the iOS. And so if you look at that

green part, at the bottom, you see that there are components that are on macOS, like Gatekeeper,

like malware scanners, like the Notarization, that I’m showing sort of having these arrows

coming to preexisting green parts, those are the pieces of technical plumbing that I think would

allow those features from Mac OS to be brought over to iOS.”).)

               654.    Apple’s signature process for macOS applications is already substantially

similar to the process used for iOS. (Ex. Depo. 5 at 25:1-6 (Haun).)

               655.    Apple could also use a notarization system in iOS as it does in macOS.

(Ex. Depo. 5 at 37:5-13 (Haun); Mickens Trial Tr. 2598:6-14 (“[T]here are components that are

on Mac OS . . . like the Notarization, that I'm showing sort of having these arrows coming to

preexisting green parts, those are the pieces of technical plumbing that I think would allow those

features from Mac OS to be brought over to iOS.”).) And if Apple truly believed that additional

scans are necessary for iOS that are not currently implemented as part of notarization, Apple

could implement such additional scans; “the scope and depth” of the scans performed by Apple

during notarization are entirely Apple’s choice. (Federighi Trial Tr. 3464:23-3465:1.)

               656.    In addition, third parties can also perform app review. (Ex. Depo. 2 at

204:2-204:10 (Shoemaker) (“Q: Was there anything about the App Review process that was not

susceptible to replication by another App Store should another App Store decide to do it? A:




                                                405
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 414 of 644




No, I don’t think so.”); Kosmynka Trial Tr. 996:7-19, 997:4-14, 1187:21-1188:11; Rubin Trial

Tr. 3811:24-3812:3, 3812:15-19.)

              657.    Apple’s App Review is comprised of automated and manual reviews.

(Rubin Trial Tr. 3811:17-22.)

              658.    The automated portion of App Review includes static and dynamic

analyses, which are common techniques in computer security. (Rubin Trial Tr. 3811:24-3812:3

(“Q: Let’s talk about the automated portion of app review now. That includes static and

dynamic analysis, right? A. Right. Q: Those are common techniques in computer security,

right? A: Yes.”).)

                      a.        Static analysis looks at the code of the app and searches for

                                patterns or instructions in order to determine what the app may or

                                may not do. (Kosmynka Trial Tr. 994:1-7.)

                      b.        Dynamic analysis executes the code, or runs the app, as if the

                                operating system would run the app to understand and observe how

                                it would act in real life. (Kosmynka Trial Tr. 994:8-12.)

                      c.        Apple scans for malware using automated tools, including static

                                and dynamic analyzers. (Kosmynka Trial Tr. 994:13-21.)

              659.    Static and dynamic analyses have an enormous impact on the security of a

system; however, they are negligible in terms of time and cost needed to use them. (Rubin Trial

Tr. 3812:7-13.)




                                                 406
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 415 of 644




               660.     There are third parties that build similar tools and focus on similar

problems as Apple’s App Review process. In fact, Apple has acquired such third parties in the

past, such as Source DNA. (Kosmynka Trial Tr. 996:3-12, 996:20-23.) Mr. Kosmynka testified

that at the time Apple acquired Source DNA, it had developed functionality that Apple did not

yet have. (Kosmynka Trial Tr. 1187:25-118:11)

               661.     Third parties could also perform a manual review. (Rubin Trial Tr.

3812:15-19 (“Q. With respect to manual review, other app stores could implement a manual

review, right? A. They can’t do Apple’s but they could do one. Q. Okay. They could do a

manual review. A. Yes.”).)

               662.     Apple has no evidence that App Review screens for security issues better

than other methods of app distribution. (Kosmynka Trial Tr. 1187:25-118:11 (“Q. Is there

anybody out there who is doing it better or differently than Apple? A. I couldn’t comment on

better, but certainly there’s companies that do things differently all the time. And I can’t, I

guess, presume how they are doing it. But I can say from my own experience, Your Honor, with

the [sic] SourceDNA and AppThority, when we were looking to acquire those potential

companies, there was an element of what they were doing that we were not doing yet.”); Fischer

Trial Tr. 851:12-21.)

               663.     Apple uses human review and automated tools to perform a variety of

steps that screen for security-related properties during App Review, including (1) SDK version

compliance; (2) private API usage; (3) malware screening; (4) access to entitlements; (5) user

consent for private data access; and (6) bandwidth testing.

                                                 407
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 416 of 644




              664.    First, Apple automatically scans each app to ensure that it meets Apple’s

standards regarding the use of up-to-date SDK versions. (Kosmynka Trial Tr. 993:11-13 (“Q.

So part of the process, the automated process screens for out-of-date SDKs? A. Yes.”).)

                      a.     “App [R]eview does not perform tests for sandbox compliance in

                             all cases” and “performs such tests only when there is a reason to

                             suspect that an app has done something to maliciously try to

                             escape that sandbox”. (Kosmynka Trial Tr. 997:24-998:5.)

                      b.     Apple’s requirements for a minimum SDK version are published

                             on its website and can be verified by third-parties. (Kosmynka

                             992:24-993:1 (Q. And so to that end, Apple publishes on its

                             website its requirements for SDK versions, right? A. Yes.”), ,

                             996:7-12.)

              665.    Second, Apple uses automated tools to screen apps for usage of private

APIs. (Kosmynka Trial Tr. 993:20-22 (“Q. When apps get uploaded to the app review process,

Apple scans using automated tools for private APIs, correct? A. Yes.”).)

                      a.     To screen for usage of private APIs, Apple uses both static and

                             dynamic analyzers (PX-137; Ex. Depo. 13 at 206:20-21, 207:3-5

                             (Haun); Kosmynka Trial Tr. 993:23-25 (“Q. And to scan for those

                             private APIs, Apple does both the combination of static and

                             dynamic analysis; is that right? A. That’s right.”).)




                                              408
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 417 of 644




             b.    A static analyzer is a program that flags violations of simply

                   syntactic rules in binary code, meaning that they compare the

                   content of app binaries to a set of syntactic rules or strings.

                   (Kosmynka Trial Tr. 994:1-7.)

             c.    A dynamic analyzer is a program that executes a program and

                   monitors the execution to detect vulnerabilities, such as

                   unauthorized use of Apple’s private APIs. (Kosmynka Trial Tr.

                   994:8-12.)

             d.    Third-party static analyzers have been created and are publicly

                   available. (Kosmynka Trial Tr. 996:13-19, 997:7-14.)

             e.    They have also already been built for iOS, including by Source

                   DNA. (Kosmynka Trial Tr. 996:13-19.)

             f.    In addition to SourceDNA, which Apple acquired and already

                   uses, there are several other third-party companies that perform

                   static and dynamic analysis for iOS, including Data Theorem and

                   AppThority. (Kosmynka Trial Tr. 997:4-14.)

             g.    In 2015, XcodeGhost malware “fooled [Apple’s] tool chain into

                   including an inaccurate modified version of some SDK” into apps

                   developed using Apple’s XCode developer software. (PX-144; Ex.

                   Depo. 5 at 289:21-22, 290:11-291:7, 291:16-20 (Haun).)

                   XcodeGhost malware impacted “128 million customers based on

                                     409
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 418 of 644




                               the 2500+ apps”. (PX-2197.2; Fischer Trial Tr. 896:2-8.) At the

                               time, SourceDNA used static analysis and API detection

                               capabilities to detect compromised apps that Apple’s App Review

                               failed to detect. (PX-2052.1.)

               666.    Third, Apple screens for malware using both human and automated tools.

                       a.      Human review consists of easily replicable “common sense”

                               checks. (Kosmynka Trial Tr. 1103:8-11 (“[I]f the [HealthKit]

                               entitlement is present in an app that is conceptually likely not

                               doing good things with HealthKit, this could be a signal to [Apple]

                               that there’s potential abuse in the future.”).)

                       b.      Third party commercial tools to detect malware exist, such as

                               Norton iAntivirus and ClamXAV, and Apple uses these tools. (Ex.

                               Depo. 2 at 452:21-25 (Shoemaker).)

                       c.      Third parties can also create static analyzers to detect malware.

                               (PX-2052.1.)

               667.    Fourth, Apple checks to confirm that the entitlements used by a particular

app are appropriate under the circumstances. (Kosmynka Trial Tr. 1102:14-21 (“[A]n

entitlement gives an app a particular permission to a set of resources or APIs . . . on the user’s

device. Q. And is there a look for potential entitlement issues during the static and dynamic

analysis phase? A. Yeah. In both, and then in the human review phase as well.”).) For

example, “[a]n app reviewer can . . . look at the purpose of [an] app and the entitlements the

                                                 410
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 419 of 644




author is asking for and say why is this calculator asking for permission to ask for health

information”. (Federighi Trial Tr. 3386:20-23.) This sort of common sense analysis can readily

be replicated by third-parties, and Apple can identify no evidence in the record to the contrary.

               668.    Fifth, app reviewers consider an app’s supplementary documentation such

as privacy policies, to review user consent for private data access. (Ex. Depo. 13 at 44:10-12

(Haun).) Here again, Apple has adduced no evidence at trial in any way suggesting that third

parties would somehow lack the ability to conduct such a review.

               669.    Sixth,

                                                       . (PX-101.241-245.) Here again, Apple

has adduced no evidence at trial in any way suggesting that third parties would somehow lack the

ability to conduct such a review.

               670.    Third parties can also screen for non-security properties, such as content

moderation and quality assurance, and Apple has not demonstrated otherwise. (Mickens Trial

Tr. 2696:25-2697:4. (“Q. Professor Mickens, is content moderation something that third parties

are capable of doing outside of the iOS app store? A. I believe that it is and you do see that on

other third-party app stores in some cases.”).) Indeed, at trial Steve Allison, Vice President and

General Manager of the Epic Games Store, testified that the EGS prohibits objectionable content

on its store and conducts automated screening for pornographic imagery. (Allison Trial Tr.

1227:19-1228:2 (“Q. Does the Epic Games Store permit objectionable content on the store? A.

No. Q. How does the Epic Games Store ensure that objectionable content does not make it onto

the store? A. Part of the malicious software scan is looking for using AI pornographic imagery.

                                                411
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 420 of 644




In addition to that, if we had any complaints, our moderation team, which is part of the InfoSec

team, would be reactive and doing takedowns.”).)

               671.    Apple is already comfortable outsourcing the role of content moderation to

third-party developers. (Federighi Trial Tr. 3469:16-340:1.) Mr. Federighi acknowledged that

there is nothing that would prevent Apple from requiring third-party stores to perform their own

content moderation. (Federighi Trial Tr. 3470:5-8.) Furthermore, even if Apple opened up app

distribution on iOS, Apple will continue to control the on-device operating system, meaning that

“Apple, if it so desired, could fundamentally turn off the spigot . . . on a particular piece of

obviously objectionable content”. (Mickens Trial Tr. 2697:22-2698:12.)

               672.    Third-party app stores could also take steps to “educate people about what

steps they were taking to protect people”, including publishing statistics about the number of bad

apps they distribute compared to others. (Rubin Trial Tr. 3818:1-10.)

               673.    Third party app stores on iOS would not lead to an increase in

pornographic or objectionable content not already allowed on the iPhone. While Apple claims

the prohibition on alternative app stores ensures that objectionable content does not seep onto the

iPhone, this content is already readily available to consumers. For example, consumers may

access pornography through the Safari browser or apps already distributed through the App

Store, such as Facebook. (Evans Trial Tr. 2418:14-2419:1; PX-1940; Schiller Trial Tr. 3007:11-

3008:4).)




                                                 412
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 421 of 644




               674.    If some objectionable content did make its way onto an iOS device, Apple

has technical tools to facilitate the removal of such content. (Mickens Trial Tr. 2697:22-

2698:12.)

               675.    Apple also touts other measures, such as a recently introduced privacy

nutrition label concept, which Apple argues evidences its strong stance on privacy. However,

Apple’s nutrition labels simply ask developers to describe certain data policies, which is

“fundamentally a representation from the developer, not a representation from Apple”; and

Apple does not take any steps to verify these labels for their accuracy or completeness.

(Federighi Trial Tr. 3507:19-3508:4; PX-1220.)

               676.    More broadly, despite Apple’s assertion that Apple has a unique ability to

safeguard privacy, Apple’s “record [on privacy] is not perfect” (Cook Trial Tr. 3939:2-4.) For

example, Apple stores data of Chinese users with a Chinese state-owned entity (PX-1678, Cook

Trial Tr. 3944:5-12), and collects information about user searches, views, and downloads. (DX-

4400.1, Cook Trial Tr. 3940:21-3941:2; PX-1978.6-12. ) Moreover, only two to three percent of

the total number of app rejections are for privacy guideline violations, which can include

administrative missteps such as a failure to include a link to their privacy policy (as opposed to,

for example, an app that is trying to maliciously steal private user data). (Kosmynka Trial Tr.

1142:14-21, 1143:17-1144:4.)

               677.    If permitted on iOS, competing app stores could be more protective of

users such as by choosing not to collect information about what content a user searches for and

the content that users view and download. (Cook Trial Tr. 3941:22-3942:3.) For instance, when

                                                413
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 422 of 644




evaluating whether to make Fortnite available in Vietnam, Epic has refused to “take actions [that

would] violat[e] the basic human rights of [its] users and [which] would impose censorship”

(PX-1667.1).

               678.   Third-party app stores, like the EGS, take security seriously and have

taken measures to protect users on the platform. (Allison Trial Tr. 1229:22-23.)

                      a.     For instance, Epic validates user accounts by using technologies

                             like Captcha which are designed to prevent bots from getting

                             through onto the platform. Epic also provides users with an option

                             for multi-factor authentication for added security. Epic also has an

                             InfoSec team, it’s information security team, that looks after the

                             EGS ecosystem security. The InfoSec team is in “defensive mode

                             all the time, monitoring the ecosystem for unusual transactional

                             activity”. (Allison Trial Tr. 1225:8-1226:7.)

                      b.     Epic also provides parent control settings which allow parents to

                             set up a pin-based system to block out other users from purchasing

                             games or accessing certain content. (Allison Trial Tr. 1226:20-

                             1227:1.)

                      c.     In order to protect consumers from harmful, malicious software,

                             every app or app update that is uploaded to the EGS is run through

                             a malicious software virus scan. (Allison Trial Tr. 1227:2-8.) This

                             includes looking for objectionable content, including pornographic

                                              414
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 423 of 644




                               imagery. Furthermore, if upon receiving complaints about

                               objectionable content on its platform, Epic engages in takedowns.

                               (Allison Trial Tr. 1227:19-1228:2.)

                       d.      Mr. Allison of Epic testified that he is not aware of any known

                               instances of malware or digitally-pirated content appearing on the

                               EGS. (Allison Trial Tr. 1228:3-8.)

       J.      iOS Already Natively Supports Direct Downloading of Unreviewed Third-
               Party Apps Through the Enterprise and Ad Hoc Distribution Programs.

               679.    The existence of the Enterprise Program and Ad Hoc distribution channels

today further demonstrate that iOS is technically capable of supporting third-party distribution

models. (Mickens Trial Tr. 2585:25-2586:6, 2586:10-12, 2587:10-16 (describing Ad Hoc

distribution), 2587:21-22, 2588:1-4, 2588:11-22.)

               680.    Apple allows some controlled direct downloading of third-party apps onto

the iPhone through the Enterprise Program. (Sweeney Trial Tr. 147:19-23 (“The Apple

Enterprise Program is an Apple program enabling corporations to develop software for iOS and

to distribute their iOS software directly to their employees . . . .”); Mickens Trial Tr. 2586:16-22

(“[T]he basic idea is that the enterprise first has to go Apple and has to register with the

Enterprise Program. If Apple agrees to let the enterprise into the program, then the enterprise

can then allow its own internal developers to create apps, to sign apps, and these apps are going

to be signed by the enterprise developers, not by Apple. That's a difference between this

program and the app store program.”); Schiller Trial Tr. 3131:2-11 (the Enterprise Program



                                                 415
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 424 of 644




allows “third-party downloads directly on to an iPhone” and “doesn’t require going through the

App Store”).)

                681.   When a developer enrolls in the enterprise developer program, Apple

permits it to generate certificates and distribute apps outside the iOS App Store using those

certificates. (Ex. Expert 5 (Mickens) ¶¶ 57-58.)

                       a.     The Vice President of the App Store, Matt Fischer, testified that he

                              is not “aware of any studies within Apple that have looked at any

                              security issues created on an iOS device[] as a result of the

                              download of an enterprise app”. (Ex. Depo. 9 at 143:19-23

                              (Fischer).)

                       b.     Mr. Fischer also testified that he is not “aware of any

                              instance . . . [where] any enterprise app downloaded on to an

                              iPhone has created a security issue beyond a single iPhone”. (Ex.

                              Depo. 9 at 143:24-144:4, 144:6-7 (Fischer).)

                       c.     Similarly, Mr. Schiller testified that he was “not aware of any

                              exact security issues” arising from direct download of enterprise

                              apps. (Schiller Trial Tr. 3131:15-21.)

                682.   The significance of the Enterprise Program is that “iPhone[s] already

possess[] the ability to decouple the downloading of an app from the Apple-operated App Store

and the verification of the signature on an app. In other words, iOS’s signature verification does

not intrinsically require the associated app to originate from the Apple-operated App Store. The

                                               416
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 425 of 644




iOS kernel code and process-based middleware that implement signature checking are already

capable of being configured to accept third-party signatures (like an enterprise signature) as

trustworthy.” (Ex. Expert 5 (Mickens) ¶ 58; Mickens Trial Tr 2601:15-22 (explaining that the

various distribution channels currently available on iOS and macOS show a diversity in the

implementation of signatures: “In some cases, apps are signed by Apple. In some cases, they’re

signed by enterprise developers. In some cases, by third party developers. Or not at all in some

cases.”).)

               683.    Dr. Rubin claims that there have been several well-known problematic

apps distributed through the Enterprise and Ad Hoc Distribution programs, and suggests that

such apps got through because there was no review process in place. (Ex. Expert 11 (Rubin)

¶¶ 62-66.) However, despite Dr. Rubin’s observations, Apple continues to tout the safety of app

distribution through the Enterprise program, claiming to provide “comprehensive methods [that]

help protect corporate data in an enterprise environment”. (DX-5492.009.)

        K.     Apple’s Comparison of Security on iOS vs. Other Platforms is Incomplete
               and Misleading.

               684.    Apple argues that, if app distribution on iOS were permitted, the platform

would resemble Android from a security perspective. That argument fails for a variety of

reasons.

               685.    Most importantly, Apple ignores a far more appropriate comparison:

macOS. As Professor Mickens testified, “if you look at Mac OS and iOS, these are two

operating systems, although they share important pieces of functionality, but these are two



                                                417
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 426 of 644




operating systems which Apple itself has written, which Apple itself has advertised as being

extremely secure”. (Mickens Trial Tr. 2604:16-20.)

               686.   Mr. Federighi’s claim that Apple has a “significant larger malware

problem on the Mac” (Federighi Trial Tr. 3394:4-7) is a litigation-driven argument. Apple has

not cited to any pre-litigation studies or documents demonstrating such a “malware problem” on

macOS devices. The only data that Apple has identified about the relative prevalence of

malware on macOS was generated after Mr. Federighi was deposed in this case. (See Federighi

Trial Tr. 3433:12-3434:4 (testifying that at the time of his deposition, Mr. Federighi admitted not

having any data on the “prevalence of malware in signed, notarized applications downloaded

from third-party stores”.).) In fact, even though it owns the macOS platform, Apple has not

produced any hard data demonstrating that notarized apps are a significant source of malware on

macOS.

               687.   Dr. Rubin does not provide any data concerning the relative security of

macOS—focusing instead on Android. For instance, Dr. Rubin claims that there is a higher

incidence of Common Vulnerabilities and Exposures (“CVEs”) on iOS vs. Android. (Ex. Expert

11 (Rubin) ¶¶ 45-46.) However, Dr. Rubin acknowledges that CVEs are not specific to security

vulnerabilities associated with apps. (Rubin Trial Tr. 3780:14-3781:1.) Dr. Rubin confirmed

that his evaluation failed to address the proportion of CVEs that relate solely to apps. (Rubin

Trial Tr. 3781:2-4.) Dr. Rubin also conceded that there might be more CVEs reported for

Android due to the open-source nature of the Android platform, which would make it easier for

members of the public to identify and report CVEs. (Rubin Trial Tr. 3784:15-3785:2.)

                                               418
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 427 of 644




              688.    Dr. Rubin also points to the 2020 Nokia Threat Intelligence Report and his

case study on the Chinese Android market to demonstrate a higher incidence of Android infected

devices vis-à-vis iOS. (Ex. Expert 11 (Rubin) ¶ 47.). However, Dr. Rubin fails to take account

of a number of factors that may contribute to a higher incidence of malware on Android devices,

including on Chinese Android devices, but are nevertheless unrelated to an open distribution

model.

                      a.     First, Dr. Rubin concedes that fragmentation of the operating

                             system due to a fragmented Android device market could make

                             Android devices more attractive targets for malware. (Rubin Trial

                             Tr. 3776:7-25.)

                      b.     Second, Dr. Rubin claims that Android devices have less secure

                             runtime protections, such as weaker sandboxing mechanisms. He

                             further acknowledges that weaker sandboxing measures could

                             contribute to security weaknesses on Android devices. (Rubin

                             Trial Tr. 3774:3-17.) For example, Dr. Rubin mentions the Man-

                             in-the-Disk vulnerability associated with Epic’s launch of the

                             Fortnite Installer on Android devices in August 2018, an attack

                             that allowed an intruder to hijack the app installation process and

                             install arbitrary apps in the background of a user’s device. (Ex.

                             Expert 11 (Rubin) ¶ 117.) However, Dr. Rubin conceded that this

                             attack was the result from the use of external storage on Android

                                               419
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 428 of 644




                               which, at the time of the attack, was not sandboxed. (Rubin Trial

                               Tr. 3774:24-3775:6.) Dr. Rubin further admitted that he had not

                               assessed whether that vulnerability could happen on iOS (Rubin

                               Trial Tr. 3775:10-13), which may have different sandboxing rules

                               applied to external storage.

                        c.     Third, Dr. Rubin claims that Google Play, a first-party app store on

                               Android devices, has a less stringent and comprehensive review

                               process than Apple. He further opines that this could lead to more

                               malware on the Android platform vs. on iOS. (Rubin Trial Tr.

                               3777:10-16.)

               689.     Apple has not commissioned any studies regarding security issues

stemming from side-loading apps on Android phones. (Kosmynka Trial Tr. 1018:1-10; Fischer

Trial Tr. 851:12-16.)

                        a.     In fact, iPhones are not significantly more secure than Android

                               phones, even though the Android operating system nominally

                               permits third-party distribution of apps. (Mickens Trial Tr.

                               2559:15-2560:8.)

               690.     Apple also has not commissioned any studies regarding the security of

other app stores—including the Google Play Store, the Tencent Store, the Huawei Store or the

Epic Games Store—compared to Apple’s App Store. (Kosmynka Trial Tr. 1016:25-1017:2;

1017:8-25.)

                                                420
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 429 of 644




               691.    For the reasons above, Apple has failed to demonstrate that the

comparative security of the iOS platform can be attributed to its centralized distribution model.

Moreover, there is rough parity in the security offered by commodity operating systems for the

following reasons: (1) when looking at the engineering cultures for all of the large-scale

software vendors, not just Apple but also Microsoft and Google, they try to create a culture of

security; and (2) when observing the security techniques that have been implemented by all of

the commodity operating systems (iOS, macOS, Windows, Android) over the last few years, the

industry appears to have come to similar conclusions as to what security protections make a

system secure. (Mickens Trial Tr. 2610:6-23.) This conclusion is supported by the fact that

according to the 2020 Nokia Threat Intelligence Report, the average monthly rate of mobile

devices infected, including all Android and iOS devices, was 0.23 percent in 2020, and has not

exceeded 0.5% over the course of the last few years. (DX-4975.007.)

       L.      Enabling Third-Party App Distribution Would Not Meaningfully Impact
               Security on the iOS Platform.

               692.    For all of the reasons discussed above, enabling third-party ap distribution

would not sure in a meaningful difference on the security experience of iPhone users. (Mickens

Trial Tr. 2600:17-21.) This is, in large part, due to the fact that security on iOS is mainly

enforced by the iOS operating system. (See Section XI.E.)

               693.    Notably, if Apple were to open up iOS to third-party app stores, “that

would not, for example, prevent users from using the regular app store”; nor would this, in any

way, encroach on Apple’s ability to perform reviews for apps that are distributed through its

first-party App Store. (Mickens Trial Tr. 2603:5-10.) Both third-party app stores and Apple’s
                                                421
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 430 of 644




centralized App Store can coexist, and “users can choose which channel or channels they want to

use to download and install apps”. (Mickens Trial Tr. 2603:11-13.)

               694.     App distribution on macOS serves as a real-life example of how third-

party app distribution and Apple’s centralized app distribution can co-exist on a platform, all

without compromising security on a platform. (Mickens Trial Tr. 2604:3-6 (“Q. Professor

Mickens, would implementing any of these alternative distribution channels on iOS make the

iPhone any less secure than the Mac OS, in your opinion? A. I don’t believe so, no”.).)

               695.     There are a number of additional security features on macOS that enable a

more open distribution model. (See Section XI.D.) These features can be implemented on iOS

with minimal engineering effort—i.e., the amount of code that would have to be written to

implement the new features would be “quite minimal”. (Mickens Trial Tr. 2597:22-23; see

Section XI.D.) Furthermore, scalability issues with respect to Apple’s App Review process (see

Section XI.F) could be addressed by allowing third-party app stores on the iOS platform, which

would spur more competition in the area of providing secure app distribution services. (Mickens

Trial Tr. 2702:5-15.)

               696.     Dr. Rubin claims that enabling third-party app stores on iOS diminish

Apple’s ability to adjust its custom-written malware scanners with new malware detected on the

iOS platform, which it is currently able to do because Apple controls all aspects of its platform.

(Ex. Expert 11 (Rubin) ¶ 88.) However, Dr. Rubin ignores the fact that Apple is already

accustomed to relying upon malware identified by third parties into its malware tools used on

macOS. (Federighi Trial Tr. 3394:9-15 (“A. So we, on the Mac, combat malware actively. We

                                                422
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 431 of 644




have – I mentioned XProtect earlier. We have another mechanism called MRT, the Malware

Removal Tool. As we become aware of malware through our own scans, as well as from reports

from third-party antivirus and security companies, we remove that malware. We block that

malware and we remove that malware.”).) Furthermore, as noted above, Apple has implemented

a Apple Security Bounty program that rewards third parties for the work they do to uncover

vulnerabilities on Apple’s platforms. (DX-5492.009.) This shows that Apple can, and currently

does, learn about malware through a variety of sources, and that third parties are willing to

provide such feedback to Apple to improve iOS security.

               697.    Dr. Rubin also claims that in an open distribution market, if a third-party

app store provides exclusive content that is only available on its platform, users might have no

choice but to use that store regardless of whether it is secure or reliable. (Ex. Expert 11 (Rubin)

¶ 99.) However, this claim is speculative at best—Dr. Rubin has not presented any empirical

evidence that this has happened on other open distribution platforms, including on macOS.

               698.    Finally, nothing in the evidence or testimony offered by Apple establishes

why Apple’s blanket ban on third-party app stores is justified or reasonable. Even if Apple were

correct that there may be some third-party app stores that host unsafe and/or insecure apps,

Apple fails to explain why its foreclosure of the app distribution market must extend to third-

party app stores that are known to be secure and safe. For example, the following facts are not in

dispute: (i) there have been zero instances of known malware on the EGS; (ii) Epic has no

knowledge of any digitally-pirated content on the EGS; and (iii) the EGS engages in content




                                                423
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 432 of 644




moderation and ensures that objectionable content is taken down from its platform. (Allison

Trial Tr. 1227:19-1228:8.)

               699.    Apple has never explained why its ban on third-party app stores extends to

stores that are known to be safe. When asked why Apple could not allow stores to operate on

iOS that are known to be safe and trusted, Mr. Federighi had no satisfactory answer. Instead,

Mr. Federighi responded with open-ended questions, asking “does Apple get to pick who the

trusted stores are?” and “who would validate that they are trusted?” (Federighi Trial Tr.

3416:17-25.) Apple makes millions of decisions every year about the safety and trustworthiness

of third-party apps—and claims to have a high degree of expertise in running a trustworthy app

store. The idea that Apple lacks the ability to determine whether a third-party app store is safe

for the iOS platform makes no sense.

               700.    Simply put, Apple has failed to provide a sufficient procompetitive

justification for disallowing third-party app stores, like the Epic Games Store, that are capable of

providing an equally secure and safe experience as Apple’s first-party App Store.




                                                424
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 433 of 644




XII.    SECURITY JUSTIFICATIONS FOR APPLE’S REQUIREMENT FOR IN-APP
        PURCHASE ARE PRETEXTUAL.

               701.    There were no widespread or significant security issues regarding payment

with the App Store prior to the introductions of IAP or the requirement that apps selling

subscriptions use IAP rather than alternate payment solutions, nor evidence that IAP is far

superior to third-party payment alternatives with respect to security.

               702.    As IAP post-dated the App Store, there was a period of time starting with

the launch of the App Store where Apple did not require iOS apps to use IAP. (Fischer Trial Tr.

857:3-9; Ex. Depo. 4 at 252:6-13 (Forstall); Ex Depo. 10 at 278:17-21, 279:7-12, 279:17-19

(Forstall); PX-898.)

               703.    Apple has conducted no “study which looked at the relative safety and

security of the App Store in 2008”, in the period of little over a year when IAP was not required

in the App Store. (Ex. Depo. 9 at 201:23-202:5 (Fischer).)

               704.    Similarly, Apple has not conducted “any studies that have compared

Apple payment services to any third party service”. (Fischer Trial Tr. 910:9-12; 910:2-5 (“not

aware of any studies that demonstrate that Apple’s payment processing methods are more secure

than Stripe”); 910:6-8 (same for PayPal)).

               705.    Apple also has not conducted “any security study. . . which looks at

whether or not any of the major credit cards have security issues with regard to payment

processing”. (Fischer Trial Tr. 908:20-24.)

               706.    Apple’s iOS also already offers developers the use of its “most secure

methodology for authenticating” users, which is “separate from IAP”.
                                                425
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 434 of 644




               707.    Apple already allows payment processing solutions from third parties for

apps that provide real-world goods and services on iOS and are therefore not subject to Apple’s

IAP requirement.

                                                          Rubin Trial Tr. 4016:14-16.). Moreover,

the amount of revenue earned by developers of apps that sell physical goods on the iOS platform

was estimated to be over $400 billion as of 2019. (Schiller Trial Tr. 2769:7-16.)

               708.    Apple itself utilizes third-party payment processing to clear transactions

performed through IAP. (Schiller Trial Tr. 3108:11-13 (“Q. Apple uses PayPal as part of its

back end, correct? A. That's right”.).)

               709.    There is no contemporaneous evidence in this case showing that Apple

requires developers to use IAP due to security reasons.

       A.      Apple Has Not Identified Security Vulnerabilities Created by Third-Party
               Direct Payment Mechanisms that Are Used on iOS Devices.

               710.    App Store leaders acknowledge “that there are third party companies

which also have . . . safe and secure ways to purchase goods within apps”, including PayPal,

Amazon Pay, Braintree, Square, and Epic’s payment processing system. (Fischer Trial

Tr. 906:20-907:18; Ex. Depo. 12 at 75:12-19 (Gray).)

               711.    Payment systems that accept, transmit or store cardholder data are

governed by strict industry security standards, including the Payment Card Industry Data
                                                426
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 435 of 644




Security Standard (“PCI DSS”). (Ko Trial Tr. 805:18-23; Rubin Trial Tr. 4018:10-13 (“PCI

standard provides a uniform baseline for how payment information is protected by these payment

systems”.).)

               712.      Secure third-party mobile payment systems already exist on iOS. IAP is

not required for the sale of physical goods not delivered or consumed in the app. (Evans Trial

Tr. 1598:23-1599:6; Rubin Trial Tr. 4016:9-4017:19.) Similarly, apps that sell “person to

person” experiences, “may utilize payment methods other than IAP”. (Fischer Trial Tr. 912:18-

23.)

               713.      In addition, Apple already permits non-IAP payment methods for

“Multiplatform Services”, “Enterprise Services”, “Person-to-Person Services”, “app[s that]

enable[] people to purchase physical goods or services that will be consumed outside of the app”

and “Free Stand-alone Apps”. (PX-2790 (App Store Review Guidelines) § 3.1.3; PX-2558

(Guidelines) § 3.1.3.)

               714.      The use of credit card platforms other than IAP has not led to any

“particular security vulnerabilities onto the iPhone hardware”. (Ex. Depo 3 at 171:23-172:1;

172:3-4 (Cue).).

               715.      Apple has conducted no studies indicating that any of the alternative

payment processing methods used for the sale of goods and services or in person to person

transactions on iOS were less safe and secure than IAP. (Fischer Trial Tr. 912:24-913:3 (“Q.

[Y]ou are not aware of any study that indicates that any of the alternative payment processing

methods used by any of those person-to-person experience apps are less safe or secure than IAP,

                                                 427
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 436 of 644




correct? A. Again, I haven’t seen any studies along those lines”.); Rubin Trial Tr. 4017:20-

4018:2.) And Dr. Rubin testified that he has “not evaluated other payment systems and whether

they might cause friction when customers make transactions using them”. (Rubin Trial Tr.

4019:6-9.)

               716.    Apple has not identified any security vulnerabilities associated with the

introduction by Epic of Epic direct payment into the Fortnite iOS app. (Ex. Depo. 3 at 164:15-

19, 164:21 (Cue); Ex. Depo. 11 at 127:6-9 (Friedman); Ex. Depo. 13 at 174:6-12 (Haun); Rubin

Trial Tr. 4018:3-5.)

               717.    Dr. Rubin claims that IAP’s fraud protection is enhanced by the very fact

that it is a centralized system for the entire iOS ecosystem, because fraud detection learning

techniques are more accurate when more data points are available. (Ex. Expert 11 (Rubin)

¶ 128.) However, Dr. Rubin has not compared the relative transaction volume of other payment

processors, like Paypal, which processes transactions for physical goods and also for purchases

that take place outside of the iOS ecosystem. (Rubin Trial Tr. 4016:18-4017:19.)

               718.    Dr. Rubin claims that Apple’s IAP functionality maintains the integrity

and traceability of digital transactions such as by confirming developer’s receipt of the

transaction and ensuring the delivery of digital goods to appropriate customers. (Ex. Expert 11

(Rubin) ¶ 128.) However, Dr. Rubin fails to account for the fact that separate and apart from

relying on a developer’s confirmation that a digital purchase has been delivered,

                                                                                            . (Ex.

Depo. 12 at                                           (Gray).

                                                428
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 437 of 644




                                                     Conclusions of Law


Note: (i) Yellow highlighting quotes or reproduces materials that the Court has ordered sealed
in a prior order or that are subject to a sealing request; (ii) blue highlighting indicates materials
that are subject to the pending motions at Dkt. Nos. 602, 657 or 721; and (iii) green highlighting
reflects materials that are subject to both (i) and (ii).


I.      OVERVIEW OF EPIC’S CLAIMS ................................................................................ 1

II.     SECTION 2 OF THE SHERMAN ACT: APPLE’S MONOPOLY
        MAINTENANCE OF THE IOS APP DISTRIBUTION MARKET (COUNT 1)............. 3

        A.        Apple possesses monopoly power in the iOS App Distribution Market. .............10

        B.        Apple willfully maintains its monopoly power. ..................................................53

        C.        Apple’s conduct caused antitrust injury to Epic. .................................................72

        D.        Epic should not be denied relief based on Apple’s meritless affirmative
                  defenses. ............................................................................................................74

III.    SECTION 2 OF THE SHERMAN ACT: APPLE’S DENIAL OF AN
        ESSENTIAL FACILITY IN THE IOS APP DISTRIBUTION MARKET
        (COUNT 2). ..................................................................................................................90

        A.        Apple is a monopolist in control of an essential facility—the iOS platform. .......91

        B.        Epic is unable to reasonably or practically duplicate the iOS platform. ...............94

        C.        Apple has refused to provide Epic—as an app distributor—access to the
                  iOS platform. .....................................................................................................95

        D.        It is feasible for Apple to provide access to the iOS platform..............................96

        E.        Epic has standing, as a potential competitor, to bring its essential facility
                  claim. .................................................................................................................97

IV.     SECTION 2 OF THE SHERMAN ACT: APPLE’S MONOPOLY
        MAINTENANCE OF THE IOS IN-APP PAYMENT SOLUTIONS MARKET
        (COUNT 4). ..................................................................................................................99



                                                                   i
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 438 of 644




        A.        Apple possesses monopoly power in the iOS In-App Payment Solutions
                  Market. ............................................................................................................ 100

        B.        Apple willfully maintains its monopoly power. ................................................ 111

        C.        Apple’s conduct caused antitrust injury to Epic. ............................................... 128

V.      SECTION 1 OF THE SHERMAN ACT: APPLE’S UNREASONABLE
        RESTRAINT OF TRADE IN THE IOS APP DISTRIBUTION MARKET
        (COUNT 3). ................................................................................................................ 130

VI.     SECTION 1 OF THE SHERMAN ACT: APPLE’S UNREASONABLE
        RESTRAINT OF TRADE IN THE IOS IN-APP PAYMENT SOLUTIONS
        MARKET (COUNT 5). ............................................................................................... 133

VII.    SECTION 1 OF THE SHERMAN ACT: APPLE’S TIE OF APP
        DISTRIBUTION AND PAYMENT PROCESSING (COUNT 6). ............................... 134

        A.        Apple ties together the sale of two distinct products—app distribution and
                  payment solutions. ........................................................................................... 136

        B.        Apple coerces developers into using IAP.......................................................... 144

        C.        Apple’s tie affects a not insubstantial volume of commerce. ............................. 145

        D.        Apple has no legitimate business justification for tying app distribution
                  and in-app payment processing. ....................................................................... 146

        E.        In the alternative, Apple’s tie violates the rule of reason. .................................. 146

VIII.   CALIFORNIA’S CARTWRIGHT ACT: APPLE’S UNREASONABLE
        RESTRAINT OF TRADE IN THE IOS APP DISTRIBUTION MARKET
        (COUNT 7). ................................................................................................................ 148

IX.     CALIFORNIA’S CARTWRIGHT ACT: APPLE’S UNREASONABLE
        RESTRAINT OF TRADE IN THE IOS IN-APP PAYMENT SOLUTIONS
        MARKET (COUNT 8). ............................................................................................... 150

X.      CALIFORNIA’S CARTWRIGHT ACT: APPLE’S TIE OF APP
        DISTRIBUTION AND PAYMENT PROCESSING (COUNT 9). ............................... 150

XI.     CALIFORNIA’S UNFAIR COMPETITION LAW: APPLE’S UNFAIR
        COMPETITION IN THE IOS APP DISTRIBUTION MARKET AND IOS IN-
        APP PAYMENT SOLUTIONS MARKET (COUNT 10). ........................................... 152

                                                                  ii
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 439 of 644




        A.        Apple’s conduct in the iOS App Distribution Market and iOS In-App
                  Payment Solutions Market is unlawful and/or unfair. ....................................... 152

        B.        Epic has statutory standing to bring its UCL claim. .......................................... 157

XII.    EPIC IS ENTITLED TO A PERMANENT INJUNCTION IN THE IOS APP
        DISTRIBUTION MARKET AND IOS IN-APP PAYMENT SOLUTIONS
        MARKET. ................................................................................................................... 161

        A.        Epic is entitled to a permanent injunction for its federal claims. ....................... 163

        B.        Epic is entitled to a permanent injunction for its California law claims. ............ 181

XIII.   APPLE IS NOT ENTITLED TO RELIEF ON ITS COUNTERCLAIMS. ................... 184

        A.        Apple is not entitled to relief because the challenged provisions of the
                  DPLA and Schedule 2 are unlawful, void as against public policy, and
                  unconscionable (Count 1). ................................................................................ 184

        B.        Apple’s implied covenant claim entitles Apple to no more than Apple’s
                  breach of contract claim (Count 2). .................................................................. 192

        C.        Apple is not entitled to recover on its quasi-contract / unjust enrichment
                  claim (Count 3). ............................................................................................... 193

        D.        Because the Court upholds Epic’s antitrust claims, Apple’s declaratory
                  judgment claim fails (Count 6). ........................................................................ 195

        E.        Apple is not entitled to indemnification for actions between the
                  contracting parties (Count 7). ........................................................................... 196

XIV. APPENDIX 1: SPECIFIC RELIEF.............................................................................. 200




                                                                iii
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 440 of 644




  I.       OVERVIEW OF EPIC’S CLAIMS

                 1.    The key question before this Court is whether Apple, the company that

developed the operating system powering a billion iPhones, known as iOS, violates the antitrust

laws when it uses its control of iOS to determine how apps are distributed and in-app payments

are processed. Epic’s claims urge this Court to find that Apple’s requirements that all iOS apps

be distributed through the Apple App Store and all in-app purchases of digital content go through

Apple’s In-App Purchase (“IAP”) system violate antitrust law. Apple urges the Court to find

otherwise. The Court rejects Apple’s arguments as unsupported by law or the factual record.

                 2.    Apple’s core argument, to which it returns repeatedly, is that neither the

law nor facts supports defining markets downstream from a single brand—here, Apple’s iOS.

This is factually incorrect and misstates the law. In Eastman Kodak Co. v. Image Tech. Servs.,

Inc., the Supreme Court recognized that, while cases of such single-brand product markets may

not be common, they do indeed occur. 504 U.S. 451, 481-82 (1992). The Court finds they are

present here.1

                 3.    Apple is a uniquely powerful company and it exerts unique control over

iOS devices, their users, and the developers that develop the apps running on them—control that



       1
      The Court notes that the term “single-brand product market” is somewhat of a misnomer.
While the aftermarket at issue is focused on the distribution of apps written for a single operating
system (iOS), neither the foremarket nor the aftermarket at issue are limited to a single brand.
As detailed below, the foremarket here is a duopoly, consisting of two brands—Apple’s iOS and
Google’s Android operating systems. And while the aftermarket currently consists of a single
player—Apple itself—that is not pre-ordained, but instead is the result of Apple’s anti-
competitive restrictions on iOS app distribution by others. Absent these restrictions, the Court
expects the aftermarket would support multiple brands—including Apple’s own App Store, other
stores that would offer iOS apps, and independent developers directly distributing their own
apps.
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 441 of 644




it does not exert over its Mac computers, their users, or the developers developing apps for them.

Apple is the largest company in the world by market capitalization and has unparalleled reach

and strength. Epic has proffered significant, credible evidence that Apple has controlled iOS in

myriad ways that support this Court’s conclusion that this is the unusual case in which it is

consistent with commercial realities to define a single-brand product aftermarket.

               4.      Once product markets have been defined, the remainder of the facts are

largely not in dispute: Apple does not deny that it exercises exclusive control over the

distribution of apps on the iOS platform, that it exercises unilateral discretion to reject apps for

distribution, that it requires all apps to use its payment solution for all in-app purchases of digital

content, and that it prohibits all developers from encouraging or even informing users about

alternative channels for making purchases. Apple does not deny that its restrictions are

implemented through contractual requirements, unilateral rules, and technical means.

               5.      As a result of this conduct, consumers and developers have suffered—and

unless Apple is enjoined will continue to suffer—higher prices, increased costs, and reduced

innovation and output. Accordingly, as set forth below, the Court enjoins Apple from continuing

conduct that violates the antitrust laws. The Court is cognizant that to remedy the extensive

harm caused by Apple, broad relief is necessary. But in ordering such relief, the Court is not

sailing in uncharted water, as Apple suggests. Rather, the Court follows the well-trodden path

set forth by cases in this and other Districts finding that where an antitrust violation has been

found, it is incumbent upon the Court to issue injunctive relief that is broad enough to “cure the

ill effects of the illegal conduct, and assure the public freedom from its continuance”, In re Data

General Corp. Antitrust Litigation, 1986 WL 10899 at *4 (N.D. Cal.) (quoting United States v.
                                                   2
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 442 of 644




United States Gypsum Co., 340 U.S. 76, 88-89 (1950)), whether the case is brought by a

government regulator or a private plaintiff. Id. (collecting cases.) That Apple’s conduct has

far-reaching implications is not a reason to leave it be; to the contrary, it is a reason to ensure real

change in the marketplace.

 II.    SECTION 2 OF THE SHERMAN ACT: APPLE’S MONOPOLY
        MAINTENANCE OF THE IOS APP DISTRIBUTION MARKET (COUNT 1).

                6.      Section 2 of the Sherman Act prohibits persons from “monopoliz[ing], or

attempt[ing] to monopolize, or combin[ing] or conspir[ing] with any other person or persons, to

monopolize any part of the trade or commerce among the several States, or with foreign

nations”. 15 U.S.C. § 2.

                7.      Epic alleges that Apple has engaged in unlawful monopoly maintenance of

iOS app distribution. In sum, Epic alleges that Apple constructed the iOS ecosystem, using a

combination of technical and contractual means, to restrict distribution of iOS apps, foreclosing

competition, harming the competitive process, and harming consumers. The Court agrees.

                8.      As explained below, at several different points early in the history of the

iPhone, Apple made business decisions to construct iOS and design the iOS platform in ways

that restricted access to third parties to further an exclusionary goal of total control over iOS app

distribution.

                9.      When the iPhone was initially launched in 2007, it included only a small

group of apps written by Apple. (Findings of Fact ¶ 86.) Third parties had neither software tools

nor access necessary to write apps for iOS and have them distributed on the iPhone. (Findings of




                                                   3
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 443 of 644




Fact ¶ 88) In 2008, that changed: Apple made available a software development kit (“SDK”) for

third parties to write apps that could run on iOS, and it also launched the App Store. (Id.)

               10.     Although Apple’s security team had devised a security model that allowed

for distribution by third parties, Apple chose to make the App Store the exclusive means of

distribution of apps on iOS. (Findings of Fact ¶ 92.) This decision was made as a matter of

“policy”, not safety or security (Findings of Fact ¶¶ 589-594.), and is the core of the anti-

competitive structure that Apple has created.

               11.     With the opening of the iOS platform to third-party developers, app

developers began writing useful, fun and innovative apps for the iOS platform, and consumers

were able to download them onto their devices. (Findings of Fact § II.E.) As noted above,

Apple could have followed the access model of personal computers (including its own macOS)

and allowed open access to the iOS ecosystem directly from app developers’ websites and

Internet-based app stores, and its security team developed a security model that could

accommodate that model. (Findings of Fact § XI.D.) Instead, Apple made the choice to block

such app downloads from the Internet and limit iOS device owners to apps purchased through

Apple via its wholly controlled App Store. (Findings of Fact ¶ 92.) Apple could also have

allowed competing app stores on iOS to give consumers a choice of where to get their apps and

to give developers a choice on how to reach consumers. Instead, as noted, Apple made the App

Store the exclusive means for consumers to obtain, and for developers to distribute, the apps that

made the iPhone useful and fun. (Findings of Fact ¶ 92.)

               12.     Understanding that its exclusive distribution model breaks from traditional

models adopted by other general computing devices, Apple publicly offered developers
                                                  4
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 444 of 644




assurances intended to assuage their concerns. Specifically, when Apple launched the App

Store, Apple’s CEO Steve Jobs announced that the store’s commission was designed only to

cover its costs. (PX-880.21, 27.) Mr. Jobs was asked at the time whether the exclusive nature of

the App Store would raise any antitrust concerns, and he assured the public—including,

importantly, prospective app developers—that the App Store was not intended as a profit center

for Apple but instead as a means to facilitate third-party apps that would make the iPhone more

attractive to consumers. (PX-880.27.) Mr. Jobs made clear that Apple stood to gain greatly from

the App Store regardless of whether the store itself made or lost money, because “We don’t

expect this to be a big profit generator. We expect it to add value to the iPhone. We’ll sell more

iPhones because of it.” (PX-2060.6.) Accordingly, Mr. Jobs went so far as to assure developers

that “we are basically giving all the money to the developers here”. (PX-880.27.) As it turns

out, that representation was not true.

               13.     As intended, the App Store succeeded in attracting developers to write

apps for iOS. Those apps made the iPhone more fun and useful, and increased its appeal for

consumers, a fact that was touted by Apple itself, which in early 2009 coined the phrase “There’s

an app for that” in a series of commercials for its iPhone. (PX-2065.1.) As more consumers

purchased iPhones, writing iOS apps became a more and more attractive proposition for

developers. (Findings of Fact ¶¶ 101-112.)

               14.     Indeed, distributing apps on iOS soon became a virtual necessity for any

developer seeking to maintain a successful business. Not only did Apple amass an extraordinary

number of consumers who used its iOS devices, but those consumers cannot and do not readily

switch to use devices that run Android, which is the only real competing mobile operating
                                                5
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 445 of 644




system. (Findings of Fact ¶¶ 98, 175.) Only a tiny sliver of consumers use both iOS and

Android smartphones at the same time. (Findings of Fact ¶ 175.) The consumers who use iOS

face material switching costs in leaving the iOS ecosystem that Apple has constructed. (Findings

of Fact § II.B.) As a result, there is a very large set of consumers—north of a billion—that are

substantially locked in to iOS mobile devices, and app developers have no choice but to continue

writing iOS apps and devoting resources to promoting those apps to iOS users. Otherwise,

developers would be unable to reach approximately one billion potential customers, who form

the most lucrative part of the available smartphone customer base. (Findings of Fact ¶ 47.)

               15.     Because the App Store is the exclusive means for developers to reach iOS

users, Apple has absolute control over the content of apps and over the terms of trade between

developers and users. Apple uses that control to dictate or prohibit various features of apps, and

it extracts a non-negotiable “commission” from the sale of apps and in-app purchases of digital

content. Among its various restrictions, Apple does not permit any competing means for

developers to distribute apps to users, and Apple requires all in-app purchases to flow through its

IAP system. Apple even prohibits app developers from informing iOS users that Apple’s

monopoly is costing them more for each app they purchase or from informing iOS users of

alternative ways to make purchases. (Findings of Fact ¶ 368.)

               16.     The fact that Apple created a product that users liked and wanted is not a

violation of the antitrust laws. But when Apple carefully constructed and enforced contractual

and technical restrictions to create and maintain a monopoly in app distribution, a series of anti-

competitive effects have followed: Apple causes prices to increase, raises costs for consumers

and developers, reduces innovation, and lowers output. (Findings of Fact § V.)
                                                 6
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 446 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 447 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 448 of 644




and will continue to keep consumers safe, just as it does for macOS users. Indeed, macOS today

follows a model similar to the one Apple’s security contemplated for iOS back in 2007—one that

does not require exclusive distribution.

               21.     Below, the Court sets forth the legal standard for monopoly maintenance

and the facts supporting the Court’s determination that Apple has engaged in such conduct here.

               22.     A claim for unlawful monopolization under Section 2 of the Sherman Act

requires that a plaintiff show: “(a) the possession of monopoly power in the relevant market;

(b) the willful acquisition or maintenance of that power; and (c) causal antitrust injury”. FTC v.

Qualcomm Inc., 969 F.3d 974, 989-90 (9th Cir. 2020) (internal quotation marks omitted).

               23.     Defining the relevant markets is a “threshold step in any antitrust case.”

Id. at 992. “The relevant market is the field in which meaningful competition is said to exist.”

Image Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1202 (9th Cir. 1997); see also

Ohio v. Am. Express Co., 138 S. Ct. 2274, 2285 (2018) (the relevant market is “the area of

effective competition”).

               24.     There are two components of a market for purposes of antitrust analysis:

the products in the market and its geographic scope. The Court will begin with the product

market and then turn to the geographic market.

               25.     There is a relevant market for iOS app distribution, and Apple possesses

monopoly power in that market (§ II.A); Apple has willfully maintained its monopoly power in

that market (§ II.B); and Epic, as well as other developers, app distributors and consumers, have

all been injured by Apple’s conduct (§ II.C). Finally, the Court explains why Apple’s

affirmative defenses are unavailing. (§ II.D.)
                                                 9
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 449 of 644




       A.      Apple possesses monopoly power in the iOS App Distribution Market.

               26.     Apps provide functionality to an electronic device. A native app is an app

written for a particular operating system and installed onto a device. (Kosmynka Trial Tr.

990:1-3; Grant Trial Tr. 699:16-17 (“A native app would be an application that’s created using

the SDK for a platform.”).)

               27.     Native apps are operating system-specific, an iOS device is only capable

of running iOS apps. Apps written for other software platforms such as Android simply do not

work on iOS. (Findings of Fact ¶ 227.)

               28.     The first step in determining the relevant market in which to assess the

effects of Apple’s conduct is to take account of the key choice that consumers make in deciding

which smartphone to buy, which is a choice between the iOS ecosystem and the Android

ecosystem. Developers make the same choice when writing their apps. In the language of

antitrust law, this is the “foremarket” or “primary market”. The next step is to define the scope

of the downstream market for app distribution on iOS devices, which is an “aftermarket” or

“derivative market”. The iOS app distribution market is said to “derive” from the operating

system market because without the operating system (in this case, iOS), there would be no app

distribution on iOS.

               29.     In this Section, the Court first defines the relevant antitrust foremarket for

smartphone operating systems, the “Smartphone Operating System Market” (§ II.A.i), and

demonstrates that Apple has substantial market power in that market (§ II.A.ii). Next, the Court

defines the relevant aftermarket for app distribution on iOS, the “iOS App Distribution Market”

(§ II.A.iii), explains why this market is a valid single-brand market (§ II.A.iv), and rejects
                                                 10
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 450 of 644




Apple’s proposed digital games transaction market (§ II.A.v). Finally, the Court shows that

Apple has substantial monopoly power in the iOS App Distribution Market. (§ II.A.vi).

               i.      There is a relevant market for smartphone operating systems.

               30.     The starting point for the analysis of market definition for Epic’s Section 2

claims is the conduct alleged by Epic. Specifically, Epic alleges that Apple uses its control of

the iOS operating system to monopolize the distribution of apps on that platform. The Court

therefore begins its analysis with the iOS operating system, which Apple bundles with its iPhone.

Apple distributes the iOS operating system in the Smartphone Operating System Market, which

is the relevant antitrust foremarket in which consumers purchase smartphones that have a pre-

installed operating system. (Findings of Fact § III.A.)

                       a.     The first relevant product market is “Smartphone Operating
                              Systems”.

               31.     To define the product market, the Court must determine which products or

services are in “the area of effective competition”. Am. Express, 138 S. Ct. at 2285; Thurman

Indus., Inc. v. Pay ‘N Pak Stores, Inc., 875 F.2d 1369, 1374 (9th Cir. 1989) (“For antitrust

purposes, defining the product market involves identification of the field of competition: the

group or groups of sellers or producers who have actual or potential ability to deprive each other

of significant levels of business.”). The relevant product market “must encompass the product at

issue as well as all economic substitutes for the product.” Newcal Indus., Inc. v. Ikon Office Sol.,

513 F.3d 1038, 1045 (9th Cir. 2008). “The consumers do not define the boundaries of the

market; the products or producers do.” Id. (citing Brown Shoe v. United States, 370 U.S. 294,

325 (1962)). “Economic substitutes have a ‘reasonable interchangeability of use’ or sufficient


                                                11
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 451 of 644




‘cross-elasticity of demand’ with the relevant product.” Hicks v. PGA Tour, Inc., 897 F.3d 1109,

1120 (9th Cir. 2018) (quoting Newcal, 513 F.3d at 1045); see also Brown Shoe, 370 U.S. at 325;

United States v. E. I. du Pont de Nemours & Co., 351 U.S. 377, 404 (1956). A key aspect of all

of these cases is the Court’s focus on the defendant’s product—what other products compete

with that product and may therefore constrain the defendant’s market power; it is the availability

of such competitive products that defines the metes and bounds of how the seller’s power to raise

price or control output is determined.

               32.     Thus, the law requires that close substitutes to the defendant’s product be

included in the definition of the market. In some instances, there may be no close substitutes to

the defendant’s product, either because of the nature of the market or, as in this case, because the

conduct of the defendant has prevented entry. This fact does not indicate a flaw in the market

definition; it means that the defendant is a monopolist in the market.

               33.     Many markets are referred to as single-sided markets. In single-sided

markets, sellers sell products or services to one group of buyers. For instance, grocery stores sell

groceries to consumers. Some markets, however, are referred to as two-sided markets. In two-

sided markets, a seller “offers different products or services to two different groups who both

depend on the platform to intermediate between them”. Am. Express, 138 S. Ct. at 2280. In the

now classic example, credit card companies sell credit card services to both merchants and

cardholders, standing between the two to process transactions between the merchant and the

cardholder. See id. at 2279-80.

               34.     As Professor Schmalensee testified, “a two-sided analysis of [a] business

is neither pro-defendant nor pro-plaintiff”. (Schmalensee Trial Tr. 1915:4-8.) Rather, in
                                                 12
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 452 of 644




defining the relevant market for a “two-sided platform”, the Court must undertake additional

considerations. A two-sided platform typically experiences “indirect network effects”, which

means that the value of the platform to one side depends heavily on the number of users on the

other side. Although “it is not always necessary to consider both sides of a two-sided platform”,

in the situation where indirect network effects are “more pronounced”, “courts must include both

sides of the platform . . . when defining the . . . market”. Am. Express, 138 S. Ct. at 2286.

                35.    Here, smartphone operating systems are two-sided platforms with

significant indirect network effects. (Ex. Expert 1 (Evans) ¶43.) That is, a smartphone operating

system is significantly more valuable to users if there are many developers developing apps for

the operating system; in turn, the operating system is significantly more valuable to developers if

there are many users to use their apps. Therefore, in assessing whether there is a valid antitrust

market for smartphone operating systems, the analysis must consider both sides of the

platform—the consumer-facing side and the developer-facing side.

                36.    The Court has considered whether potential substitutes for smartphones

(and therefore smartphone operating systems) such as feature phones, personal computers, and

gaming consoles are adequate substitutes for either consumers or developers. The evidence

demonstrates they are not.

                37.    Consumers do not view other electronic devices as substitutes for

smartphones because smartphones have a unique configuration of features, including multi-

functionality, portability, the ability to access to the Internet, and cellular connectivity. (Findings

of Fact § III.C.)



                                                  13
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 453 of 644




               38.     Feature phones are reminiscent of early generation cell phones, typically

with dial buttons. They allow consumers to make phone calls and take pictures, but lack many

other qualities of smartphones, including a convenient way to access the Internet. Consumers

therefore do not consider feature phones to be reasonable substitutes for smartphones. (Findings

of Fact ¶ 155; see Google LLC v. Oracle Am., Inc., 141 S. Ct. 1183, 1207 (2021) (ruling in the

fair use context that “Google’s Android platform was part of a distinct (and more advanced)

market than Java software” because “the broader industry distinguished between smartphones

and simpler ‘feature phones’, including based on the “lack[ of] a touchscreen”).)

               39.     Personal computers, including desktop computers and laptops, are not

nearly as portable as smartphones and typically rely on a WiFi connection for Internet access.

Consumers therefore do not consider personal computers, including both desktop computers and

laptops, to be reasonable substitutes for smartphones. (Findings of Fact ¶ 156; see Google,

141 S. Ct. at 1191 (“Google tailored the Android platform to smartphone technology, which

differs from desktop and laptop computers in important ways. A smartphone, for instance, may

run on a more limited battery or take advantage of GPS technology.”); id. at 1207 (“And because

there are two markets at issue, programmers learning the Java language to work in one market

(smartphones) are then able to bring those talents to the other market (laptops).”).)

               40.     Because Apple has attempted to make this case about a so-called digital

game transactions market, it has spent significant time on efforts to persuade the Court that

dedicated home gaming consoles should be included within the group of products substitutable

for mobile general computing smartphones. Apple’s argument does not conform to commercial

reality.
                                                 14
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 454 of 644




                  41.   The factual record demonstrates that consoles are not substitutable for

smartphones. Dedicated gaming consoles, such as Microsoft’s Xbox or Sony’s PlayStation, are

single-purpose devices—i.e., their purpose is to play games—and do not include general

computing features like smartphones. Further, most gaming consoles are not as portable as

smartphones; they often require access to electrical outlets; they must access WiFi to support

online play; and they lack typical smartphone functions, such as a camera and a GPS. (Findings

of Fact ¶ 157.)

                  42.   Thus, from a consumer perspective, none of these devices is a substitute

for smartphones, and none of their operating systems is a substitute for smartphone operating

systems. See Cmty. Publishers, Inc. v. Donrey Corp., 892 F. Supp. 1146, 1155 (W.D. Ark. 1995)

(excluding television and radio news from product market because, among other reasons, these

devices are “not portable and convenient like newspapers”), aff’d sub nom. Cmty. Publishers,

Inc. v. DR Partners, 139 F.3d 1180 (8th Cir. 1998).

                  43.   Likewise, developers do not view other electronic devices as substitutes

for smartphones. Because of the different use cases for smartphones, as opposed to other mobile

devices, there are many apps that cannot effectively be used on those other devices. Just by way

of example, apps such as ride-share apps that depend on portability, cellular connectivity, and

GPS positioning cannot effectively be used on non-portable devices. (Findings of Fact ¶ 157.)

Similarly, the vast majority of mobile games are unavailable on consoles or other types of

devices. (Findings of Fact ¶ 205.) To take another example, Match Group, which makes dating

apps including Tinder, does not make apps for electronic devices such as consoles because those



                                                 15
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 455 of 644




devices do not offer the same set of features as smartphones and, therefore, are not adequate

substitutes. (Ex. Depo. 1 at 12:24-13:25, 120:12-13, 120:16-21, 120:24-25, 121:2-4 (Ong).)

               44.    For those apps that can be used effectively on multiple devices, devices

other than smartphones are still not a substitute for smartphones. Developers typically try to

reach as many consumers as possible, and to engage with them in as many circumstances as

possible, which generally requires that they develop apps for as many platforms as possible. As

a result, they are unlikely to abandon or substitute away from smartphones, which would cause

them to lose the substantial percentage of users who do not access apps on other platforms (and

even for those users who do access apps on multiple platforms, to lose a substantial percentage

of those users’ time on the app). (Ex. Depo. 1 at 12:24-13:25, 120:12-13, 120:16-21, 120:24-25,

121:2-4 (Ong); Ex. Expert 1 (Evans) ¶¶ 58-61; Evans Trial Tr. 1460:10-16, 1489:19-1490:8.)

               45.    Smartphones are critical platforms for developers. Almost everyone has a

smartphone with an operating system on it that supports a diverse set of applications. (Findings

of Fact § III.A.) And smartphones are often the only device available to consumers when they

are away from home. (Findings of Fact ¶ 153.) If developers did not make smartphone apps,

then they would not be able to reach consumers who are on the go or who lack alternative

devices. (Ex. Expert 1 (Evans) ¶¶ 58-61; Evans Trial Tr. 1460:10-16, 1489:19-1490:8.)

               46.    Epic’s experience is consistent with this dynamic. Epic launched Fortnite

for smartphones with the express purpose of reaching new users and giving its existing users new

opportunities to play. (Sweeney Trial Tr. 111:20-112:1 (“[W]e realized it would be incredibly

valuable to open up Fortnite to a much wider audience than the PC or console audience that we

had so far reached. Smartphones, both iOS and Android, reached a far larger audience than
                                                16
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 456 of 644




consoles, and so we really wanted to enable Fortnite players to be able to play with all of their

friends across all devices that they might own.”).) Epic’s effort paid off: as of August 13, 2020,

roughly 64% of the Fortnite players who ever played Fortnite on an iOS device—more than 70

million users—only ever played Fortnite on iOS devices, and on no other devices. (Findings of

Fact ¶ 471.) After Apple removed Fortnite from the App Store, mobile Fortnite users shifted

only a small fraction of their playtime to Fortnite on other devices. (Ex. Expert 1 (Evans) ¶ 129;

Evans Trial Tr. 1524:20-1525:7.)

               47.     Empirical economic analysis also establishes that the Smartphone

Operating System Market is properly defined. An antitrust product market may be defined as a

product or group of products such that “a hypothetical profit-maximizing firm, not subject to

price regulation, that was the only present and future seller of those products (‘hypothetical

monopolist’) likely would impose at least a small but significant and non-transitory increase in

price (‘SSNIP’) on at least one product in the market.” U.S. Dep’t of Justice & Fed. Trade

Comm’n, Horizontal Merger Guidelines § 4.1.1 (2010); see also Saint Alphonsus Med. Ctr.-

Nampa Inc. v. St. Luke’s Health Sys., Ltd., 778 F.3d 775, 784 (9th Cir. 2015) (stating that a

SSNIP is a “common method” for defining the relevant market); Theme Promotions, Inc. v.

News Am. Mktg FSI, 546 F.3d 991, 1002 (9th Cir. 2008) (“Determining the relevant market can

involve a complicated economic analysis, including . . . ‘small but significant nontransitory

increase in price’ (‘SSNIP’) analysis.”); Coastal Fuels of Puerto Rico, Inc. v. Caribbean

Petroleum Corp., 79 F.3d 182, 198 (1st Cir. 1996) (“The touchstone of market definition is

whether a hypothetical monopolist could raise prices.” (citing Rebel Oil Co. v. Atl. Richfield Co.,

51 F.3d 1421, 1434 (9th Cir. 1995)). A SSNIP is typically considered to be five to ten percent of
                                                17
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 457 of 644




the price paid by consumers for the relevant product or service. U.S. Dep’t of Justice & Fed.

Trade Comm’n, Horizontal Merger Guidelines § 4.1.2 (2010).

               48.     Epic’s principal economic expert, Dr. David Evans, presented economic

evidence that a hypothetical monopolist of smartphone operating systems would be able to

increase the price of smartphone operating systems to both users and developers by at least 10%

and still increase its profits. (Ex. Expert 1(Evans) ¶¶ 66-69; Evans Trial Tr. 1491:2-8.) This is

strong evidence in favor of Epic’s market definition. See Saint Alphonsus, 778 F.3d at 784-85

(affirming district court’s determination of the relevant market based on SSNIP test). Apple’s

economic experts, meanwhile, did not attempt a SSNIP test concerning Epic’s proposed

Smartphone Operating System Market (or concerning their proposed alternative market).2

               49.     Instead of performing a SSNIP test, Apple asserts that “the viability of the

SSNIP test in the context of two-sided transaction platforms is unsettled”. (Joint Submission

Regarding Trial Elements, Legal Framework and Remedies (“Legal Framework”) (ECF

No. 276) at 12 (citing United States v. Sabre Corp., 452 F. Supp. 3d 97, 138 (D. Del. 2020).)

The sole case Apple cites—Sabre—is distinguishable. There, the court acknowledged that a

SSNIP is, in fact, a “common method” for defining the relevant product; however, based on the

specific facts that indicated the test before it was based on faulty assumptions, it rejected it. See



    2
      In its Proposed Findings of Fact and Conclusions of Law, Apple argued that “Dr. Evans’
application of the hypothetical monopolist test does not satisfy the standard for reliability of
expert evidence under Federal Rule of Evidence 702”, and that “any testimony from Epic’s
experts [about Apple’s experts’ failure to perform a hypothetical monopolist test] is inadmissible
as both unreliable and irrelevant pursuant to the Daubert standard”. (Apple’s 5/21/21 COL
¶¶ 129, 136.) Apple did not pursue this argument at trial, and the Court finds it unpersuasive in
any event.
                                                 18
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 458 of 644




Sabre, 452 F. Supp. at 142. Moreover, Sabre has been vacated on appeal. United States v. Sabre

Corp., No. 20-1767, 2020 WL 4915824 (3rd Cir. July 20, 2020).

               50.     Apple also argues that the Smartphone Operating System Market is not a

cognizable market because operating systems are bundled with smartphones themselves, and

neither major mobile operating system (iOS or Android) is sold or licensed at a positive price.

(See, e.g., Schmalensee Trial Tr. 1959:16-19; but see Schmalensee Trial Tr. 1959:20-1960:9,

1960:17-1961:9 (conceding that “there was a market”, “an ordinary market”, for computer

operating systems, as he testified in a different matter); Schmalensee Trial Tr. 1961:22-1962:2

(acknowledging having previously written that “few would dispute that Microsoft has a short-run

monopoly over PC software platforms even though consumers could opt for Apple computers

and the macOS”).) But as Professor Schmalensee testified, Android is sold at “a zero price in

terms of a cash outlay, but there are a number of obligations that OEMs [original equipment

manufacturers] take on when they agree to license the Android operating system”, such as

“giv[ing] preferential treatment to certain Google services, to Google Play, [and] to certain

Google apps . . . as part of the [Android] license agreement]”. (Schmalensee Trial Tr. 1962:14-

1963:13.) This argument looks at the market only from the consumer side; it is clear that

developers make decisions to write apps or otherwise devote resources to a particular operating

system (or, more typically, to both operating systems). (Findings of Fact § III.C.) Even from the

consumer side, a choice between ecosystems, and thus operating systems, is often the first

decision a consumer makes before deciding which device running that operating system to buy.

(Ex. Expert 1 (Evans) ¶ 41.) A simple thought experiment proves the point—what would happen

if Apple, as owner of iOS, were to attempt to buy the Android operating system from its owner,
                                                19
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 459 of 644




Google? That would lead to a near-total monopoly on smartphone operating systems that would

never pass antitrust scrutiny, showing that the smartphone operating systems themselves form a

relevant market.

                       b.     The relevant geographic market is global, excluding China.

               51.     As noted, in addition to determining which products fall within the

relevant market, the Court must also determine the geographic scope of the market. See Hicks,

897 F.3d at 1120 (“The relevant market must include both a geographic market and a product

market.”). “The criteria to be used in determining the appropriate geographic market are

essentially similar to those used to determine the relevant product market.” Brown Shoe, 370

U.S. at 336. “A geographic market is an area of effective competition where buyers can turn for

alternate sources of supply.” Morgan, Strand, Wheeler & Biggs v. Radiology, Ltd., 924 F.2d

1484, 1490 (9th Cir. 1991) (internal quotation marks and alterations omitted).

               52.     The Smartphone Operating System Market is global excluding China.

The major original equipment manufacturers (“OEMs”), including Apple and the major Android

OEMs such as Samsung, market and sell their devices to consumers in virtually all countries

where there is sufficient demand for smartphones.

               53.     China, however, is not part of the Smartphone Operating System Market.

(Findings of Fact § III.B.) Due to government regulations, Android OEMs distribute different

versions of their devices, running different versions of Android with different sets of pre-

installed apps, inside and outside of China. Government regulations, as well as other factors

unique to China, also have resulted in the broader digital economy in China being dominated by

domestic firms. Most consumers outside China would not consider buying a Chinese
                                                20
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 460 of 644




smartphone, along with its operating system, because they would not be able to use many

relevant apps. (Ex. Expert 1 (Evans) ¶ 71; Evans Trial Tr. 1491:9-15.) Likewise, most

developers would not be able to substitute to Chinese smartphones, and their operating systems,

for writing apps because they would not be able to reach most consumers outside of China. (Ex.

Expert 1 (Evans) ¶ 71; Evans Trial Tr. 1491:9-15.) As a result, China represents a separate

geographic market for smartphone operating systems.

                54.     Apple contends that the relevant antitrust markets in this case should be

limited to the United States. There is no legal or economic basis for this position. The Google

Android and iOS ecosystems dominate the world over (except in China). As described above,

the major OEMs distribute their smartphones, with the same iOS or Google Android operating

systems, to consumers around the world, meaning consumers make their purchasing decisions

from among globally available options. And most developers, including Epic, distribute their

apps to consumers around the world. (Ex. Expert 1. (Evans) ¶¶ 70, 145; Evans Trial Tr. 1491:9-

15, 1537:18-20; Sweeney Trial Tr. 129:7.) Moreover, with respect to the aftermarkets described

in more detail below, the Apple conduct at issue applies to consumers and developers globally.

(Findings of Fact § III.I.)

                55.     Apple also contends that the market should be confined to the United

States because the U.S. antitrust laws are primarily concerned with U.S. consumer welfare. But

that is irrelevant for market definition purposes. See Morgan, Strand, Wheeler & Biggs,

924 F.2d at 1490 (focusing on “area of effective competition where buyers can turn for alternate

sources of supply”). The fact that Apple has raised a defense to Epic’s claims based on the

Foreign Trade Antitrust Improvements Act, 15 U.S.C. § 6a, does not impact the market
                                                 21
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 461 of 644




definition inquiry, which is a question about the area of effective competition, not the reach of

U.S. antitrust laws. U.S. courts regularly recognize global markets in antitrust cases. See, e.g.,

United States v. Microsoft Corp., 253 F.3d 34, 52 (D.C. Cir. 2001) (upholding relevant

geographic market encompassing “the licensing of all Intel-compatible PC operating systems

worldwide”); United States v. Eastman Kodak Co., 63 F.3d 95, 108 (2d Cir. 1995) (upholding

worldwide geographic market for film). Moreover, the U.S. antitrust laws are also concerned

with U.S. businesses, such as Epic, that are harmed by anti-competitive conduct, including harm

that such U.S. businesses suffer relating to their transactions with foreign consumers. See

15 U.S.C. § 6a (Sherman Act generally applies to conduct affecting “export trade”).

               56.     For the foregoing reasons, there is a valid antitrust foremarket for

smartphone operating systems, which is a two-sided market that provides a platform for users

and developers alike. The market is global, excluding China.

               ii.     Apple has substantial market power in the Smartphone Operating System
                       Market.

               57.     “Market power is the ability to raise prices above those that would be

charged in a competitive market”. Nat’l Collegiate Athletic Ass’n v. Bd. of Regents of Univ. of

Okla., 468 U.S. 85, 109 n.38 (1984); Jefferson Parish Hosp. Dist No. 2 v. Hyde, 466 U.S. 2, 21

n.46 (1984), abrogated on other grounds by Ill. Tool Works Inc. v. Indep. Ink, Inc., 547 U.S. 27

(2006) (“As an economic matter, market power exists whenever prices can be raised above the

levels that would be charged in a competitive market.”).

               58.     Within the Smartphone Operating System Market, Apple is one of just two

meaningful competitors and possesses substantial market power over consumers and developers


                                                22
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 462 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 463 of 644




consumers available to reach. This “chicken and egg” problem is known as the applications

barrier to entry. See Microsoft, 253 F.3d at 55. As a result, there has not been a successful new

entrant to the Smartphone Operating System Market since 2008. Well-funded entrants like

Microsoft have tried and failed, and any prospective new entrant would be (at best) years away

from challenging the position of either Apple or Google. (Findings of Fact ¶ 170.)

               62.     As a practical matter, Google’s Android operating system does not act as a

meaningful competitive constraint or a check on Apple’s market power because there is limited

switching and high switching costs for consumers between Android and iOS. (Findings of Fact

§ II.B.) “Switching costs” refer to the expenses and obstacles consumers incur when moving

from one operating system to another, including the cost of purchasing a new smartphone,

replacing their old apps, losing certain functionalities, losing certain data, and learning a new

operating system, among other costs. Further, as detailed by Dr. Evans and Dr. Athey,

consumers face significant “mixing-and-matching” costs when they use devices from more than

one platform. (Expert 1 (Evans) ¶¶ 83-88; Athey Trial Tr. 1754:19-20; Ex. Expert 4 (Athey)

¶ 26; PX-407; PX-416.) Users incur mixing-and-matching costs when their devices do not

operate and synchronize well across platforms, such as when a user begins drafting a document

on his or her laptop but then cannot easily access that document on his or her smartphone, or

when a user cannot use his or her phone to set parental controls for his or her children’s devices

because they are not on the same operating system.

               63.     Apple is well aware of these costs and, in fact, views increasing consumer

switching costs and consumer mixing-and-matching costs as an important feature of its business

model. (Findings of Fact § II.B.) For example, Eddy Cue, an Apple executive, acknowledged
                                                 24
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 464 of 644




that “[t]he more people use our stores the more likely they are to buy additional Apple products

and upgrade to the latest versions. Who’s going to buy a Samsung phone if they have apps,

movies, etc already purchased? They now need to spend hundreds more to get to where they are

today”. (PX-404.1.) He added “[g]etting customers using our stores (iTunes, App and iBook

store) is one of the best things we can do is get people hooked to the ecosystem”. (Id.) The term

“ecosystem” is used by Apple to describe the set of devices and features that work to lock

consumers into iOS devices. Apple knows that once consumers choose iOS, they tend not to

switch to Android, even in the face of higher prices.

                64.   Developers also recognize this fact. As noted above, rather than miss out

on either operating system’s substantial user base, most developers incur the additional costs of

writing the same apps for both Android and iOS. (Findings of Fact § III.D.) For example,

according to Apple, “of the top 100 game apps by estimated revenue, ninety-nine appear on both

platforms”. (Apple’s 5/21/21 Conclusions of Law (“COL”) ¶ 46.) The evidence demonstrates

that it is not economically viable for developers to abandon a smartphone operating system when

confronted with higher prices or restrictive platform policies. (Ex. Depo. 2 at 79:24-80:10

(Shoemaker).)

                65.   iOS presents a particularly important marketing channel for developers.

Not only are there more than one billion active iPhones (Findings of Fact ¶ 48), but developers

have found that “users spent more money on the iOS application than they did on the Android

application”. (Ex. Depo. 7 at 320:4-10, 14-22 (Okamoto).) In Epic’s own experience, iOS users

spend approximately double what Android users spend in Fortnite. This further enhances

Apple’s already substantial market power in the Smartphone Operating System Market.
                                                25
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 465 of 644




               66.      This evidence is more than enough to prove Apple’s substantial market

power in the foremarket. See Bristol Tech., Inc. v. Microsoft Corp., 42 F. Supp. 2d 153, 169 (D.

Conn. 1998) (noting that market characteristics of less than 50% market share and high barriers

to entry due to network effects could support a finding of monopoly power); N.M. Oncology &

Hematology Consultants, Ltd. v. Presbyterian Healthcare Servs., 418 F. Supp. 3d 826, 840 (N.D.

Tex. 2014) (similar).

               iii.     There is an aftermarket for app distribution on iOS.

               67.      There is an aftermarket to the Smartphone Operating System Market for

the distribution of compatible apps for the iOS operating system: the iOS App Distribution

Market. In theory, this market could include both two-sided platforms (such as the App Store

and third-party app stores) as well as one-sided transactions (such as downloading apps directly

from developers’ websites). Both structures are ways for users and developers to connect, and

from both users’ and developers’ perspectives, a transaction on the App Store, a transaction on a

third-party app store, and a direct download from a developer’s website would all be substitutes.

In practice, however, Apple has foreclosed all participants in the iOS App Distribution Market

other than its own App Store.

               68.      As noted, app stores developed for other operating systems—principally,

Android—are not substitutes for app stores that carry iOS apps. The evidence is uncontradicted

that apps are written for, and only work on, a specific operating system. iOS apps do not run on

Android devices and vice versa. The evidence shows that the Apple App Store does not

distribute Android apps, nor do the Android stores distribute iOS apps. Moreover, the iOS App



                                                 26
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 466 of 644




Store is itself an iOS app that can run only on the iOS operating system, and other app stores

cannot run on iOS. (Findings of Fact ¶ 227.)

               69.     The evidence shows that users and developers do not consider distribution

of apps on other platforms to be an adequate substitute for distribution of apps on iOS. To begin

with, as discussed above in connection with defining the foremarket for smartphone operating

systems, users cannot in most instances turn to an app on a PC or a gaming console as a

substitute for using an app on a smartphone. Even if the smartphone app were available on the

other platform (which is often not the case), the user still would not be able to use it during many

times and places when she would use the app on a smartphone. Because developers need to

reach consumers when the consumers want to use an app, developers likewise cannot rely on

PCs or gaming consoles as substitutes.

               70.     Further, Epic’s experts have shown that a hypothetical monopolist of the

iOS App Distribution Market could profitably raise distribution prices by a SSNIP on iOS app

users, on iOS app developers or even on both sides of the market.

               71.     First, as to iOS app users, Epic expert Professor Peter Rossi “conducted a

survey to elicit reactions of U.S. consumers to a permanent five percent increase in the price of

in-app purchases and subscriptions when purchased from within iOS apps (‘at-issue purchases’).

The goal of the survey was to measure how consumers would react to a specific price change in

their individual spending on “at-issue purchases”. (Ex. Expert 3 (Rossi) ¶ 2; Rossi Trial Tr.

2506:9-12; Findings of Fact ¶ 189.) Based on this survey data, Dr. Evans determined that 74%

of spending-weighted respondents would not have changed their spending behavior at all, while



                                                27
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 467 of 644




just 1.4% of consumers would have switched to a non-iOS device.3 (Expert 1 (Evans) ¶ 137;

Findings of Fact ¶ 190.) These results demonstrate that consumers have “inelastic demand” for

iOS app distribution, meaning that they are not very responsive to an increase in price. (Ex.

Expert 1 (Evans) ¶ 137.)

               72.    Dr. Evans then determined whether, holding app supply constant, such a

5% increase in consumer prices would be profitable for Apple. To do that, Dr. Evans first

determined how much the App Store commission would need to increase in order to cause a 5%

increase in consumer prices—and he found that to be a 29.6% increase in the commission. (Ex.

Expert 1 (Evans) ¶¶ 136-144.) He arrived at that percentage increase by starting with Apple’s

“effective” commission rate across all transaction types, which he calculated using transaction

data provided by Apple, as reported in U.S. dollars. (Ex. Expert 1 (Evans) ¶¶ 157, 256.) The

effective commission rate for 2019 was 27.7%. (Ex. Expert 1 (Evans) ¶¶ 157, 256.) Dr. Evans

then conservatively assumed that if the App Store increased its commission, developers would

bear half of the increase, and consumers would bear the other half. (Expert 1 (Evans) ¶ 141.)

Under this assumption, a consumer price increase of 5% would require an increase in the App

Store’s effective commission of 29.6% (from 27.7% up to 35.9%), which is far more than the

typical increase for a SSNIP test. (Findings of Fact ¶ 191; Ex. Expert 1 (Evans) ¶¶ 136-37.)




    3
      Dr. Evans and Professor Rossi report slightly different numbers because Dr. Evans based
his analyses on only the survey respondents who (1) completed the survey and had positive at-
issue spending, and (2) provided valid answers to the survey questions relevant to his analysis.
(Ex. Expert 1 (Evans) ¶ 136.) For respondents who would have switched devices, Dr. Evans
reports the spending-weighted shares of respondents. (Ex. Expert 1 (Evans) ¶ 137; PX-1078.)
                                                28
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 468 of 644




               73.     Dr. Evans then concluded that, taking into account the inelastic demand

reflected in Professor Rossi’s survey, such a significant increase in price still would not cause

consumers to switch away from iOS or reduce their iOS purchases enough to make the price

increase unprofitable. (Ex. Expert 1 (Evans) ¶ 141; PX-1078.1.) To the contrary, Apple could

have increased its profits by nearly $825 million in 2019 by increasing the effective commission

rate to developers by 29.6%, with a resulting increase in price to consumers of 5%. (Expert 1

(Evans) ¶ 141.) In other words, a hypothetical monopolist of iOS App Distribution—or, in this

case, an actual monopolist—could profitably impose a SSNIP on consumers.4

               74.     Second, Dr. Evans also considered the developer side of the market,

assessing whether developers would substitute away from iOS—i.e., by ceasing to develop for

the platform—in the face of a SSNIP of 10%. For developers, the question is whether it would

be profitable to continue distributing on iOS even while paying higher fees or to cease

distributing on iOS and recapture revenues from iOS app users switching to other distribution

channels. (Ex. Expert 1 (Evans) ¶ 131.)

               75.     To answer this question, Dr. Evans analyzed spending patterns by Fortnite

users before and after Apple de-listed Fortnite from the App Store. Fortnite is a conservative

test case because Fortnite is already available on multiple platforms; most other mobile apps are

not available on other platforms, and therefore not all iOS developers could expect to recapture



    4
      The SSNIP test assumes that the pre-SSNIP price is at a competitive level. While the
parties disagree whether the existing commission rate is competitive, Apple asserts that it is, so
Dr. Evans’s decision to use it for his SSNIP test was conservative. If the competitive level is less
than the existing commission rate, a monopolist’s ability to impose a SSNIP over the iOS App
Distribution Market would be even clearer.
                                                 29
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 469 of 644




iOS revenue at the rate Epic can. (Ex. Expert 1 (Evans) ¶ 131.) Dr. Evans’s analysis of Fortnite

showed that at most 50% of Fortnite’s iOS revenue was replaced by Fortnite users shifting their

spending to other platforms. (Ex. Expert 1 (Evans) ¶¶ 131-35.) Dr. Evans then calculated Epic’s

average profit margin. (Ex. Expert 1 (Evans) ¶ 133.) Using these inputs, Dr. Evans concluded

that Epic would find it more profitable to pay a 10% increase in the effective commission rate for

the iOS version of Fortnite rather than to stop distributing Fortnite in the App Store altogether,

even if Epic did not pass through any of the increased commission to consumers. (Ex. Expert 1

(Evans) ¶ 133.) Further, he concluded that most iOS developers, who do not have the same

opportunities as Epic to shift their iOS revenue to other platforms, would find it even more

unprofitable to cease distributing their apps through the App Store in the face of a SSNIP. (Ex.

Expert 1 (Evans) ¶ 131.)

               76.     Third, these analyses show that a hypothetical monopolist of iOS app

distribution could raise the commission without responses by either side of the market—

consumers or developers—being sufficient to make that increase unprofitable. Given the

switching costs that face consumers and consumers’ demonstrably inelastic demand, a SSNIP in

the commission would not result in a material decline in iOS app users, meaning that the iOS

platform would not become less attractive to developers and demand by developers would not

decline from indirect network effects. Accordingly, the SSNIP in the commission would not

cause a decline in the supply of apps, so the iOS platform would not become less attractive to

consumers and demand by consumers would not decline as a result of indirect network effects.

In sum, a hypothetical (or actual) monopolist of iOS app distribution could profitably impose a

SSNIP on both sides of the market simultaneously. See Saint Alphonsus, 778 F.3d at 784-85.
                                                30
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 470 of 644




               77.     Apple has argued that if there is a market for the distribution of apps, it

must include the distribution of web apps and streaming apps through Internet browsers. The

evidence does not support this position. A web app is one available from a website and is

utilized on a device (such as an iOS device) though a web browser. (Sweeney Trial Tr. 135:1-3

(“A web app is an application written to run within a web browser”.) Native apps are “faster”,

“use less memory”, and “can take advantage of native graphics, libraries, in a way that is either

not available or would have to be shoehorned in for a web app or a different kind of application”.

(Ex. Depo. 4 at 81:17-24 (Forstall).) These limitations, among others, make web apps less

attractive to both consumers and developers. (Findings of Fact § III.L.) Indeed, Apple itself

initially intended to release several of its pre-installed iPhone apps as web apps, but changed

course due to low performance of those apps. (Findings of Fact § II.D; Ex. Depo. 4 at 77:16-20,

77:24-78:12, 78:16-79:6, 81:2-84:6 (Forstall).) And Epic does not make or distribute a web app

version of Fortnite because the performance would be materially worse than that of a native

application. (Grant Trial Tr. 711:13-18.)

               78.     Because web iOS apps are not functionally interchangeable with native

iOS apps, they are properly excluded from the relevant aftermarket for app distribution on iOS.

See United States v. Grinnell Corp., 384 U.S. 563, 574 (1966) (property-protection services that

differed in their “utility, efficiency, reliability, responsiveness, and continuity” were not

sufficiently interchangeable with central station property-protection services and thus properly

excluded from the relevant product market); Microsoft, 253 F.3d at 52 (explaining that “non-PC

based competitors” such as “portal websites that host server[-]based software applications” were

properly excluded from the relevant product market of Intel-compatible PC operating systems
                                                  31
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 471 of 644




because they “fall far short of performing all of the functions of a PC”); id. (excluding Apple’s

Macintosh operating system, macOS, from the relevant product market because it was “less

appealing to consumers” due in part to the fact that it “supports fewer applications”); Fed. Trade

Comm’n v. Sysco Corp., 113 F. Supp. 3d 1, 25-29 (D.D.C. 2015) (finding other modes of

foodservice distribution “not functionally interchangeable” with the relevant product market of

broadline foodservice distribution in part due to the “inferior . . . quality” and lack of

“comparable value-added services” of those other distribution channels); Fed. Trade Comm’n v.

CCC Holdings Inc., 605 F. Supp. 2d 26, 41-43 (D.D.C. 2009) (finding the “peculiar

characteristics” of certain total loss valuation software, such as “especially accurate, up-to-date

valuations, speed, reliance and defensibility, and ability to interface with estimating products”, to

support conclusion that other less accurate and less up-to-date total loss valuation methods were

properly excluded from the relevant product market); see also Datel Holdings Ltd. v. Microsoft

Corp., 712 F. Supp. 2d 974, 997 (N.D. Cal. 2010) (concluding at the pleading stage that

“appropriate differentiations” such as “distinct core functionality” were sufficient to demonstrate

that there was no “reasonable interchangeability between the Xbox 360 and the Play[S]tation 3

on the one hand, and the Wii, Play[S]tation 2 and personal computers on the other hand”).

               79.     For similar reasons, cloud gaming and streaming services are also not

substitutes for native iOS apps. Cloud gaming or app streaming occurs when an app runs on a

remote server that the user accesses. The server that hosts the app sends a live video or audio

stream to the device on which the user then views the stream. Epic has made Fortnite for PC

available through streaming services such as Nvidia’s GeForce Now, but it recognizes that cloud

streaming offers a materially worse experience than running a game on a native app, and that this
                                                  32
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 472 of 644




would particularly be the case on iOS where Apple forces users to access the streaming service

through an Internet browser. (Grant Trial Tr. 711:4-6 (“[A web app version of Fortnite] would

just be frustrating, a very poor experience for users, and it would compare extremely badly to

other native apps.”).) Not only is the streamed version of Fortnite for PC subject to the

technological limitations noted above, but there is also the additional cost to users in the form a

subscription to the applicable streaming service. (Grant Trial Tr. 713:25-714:10 (“[S]treaming

apps, because they are running on a machine in a data center . . . they’re occupying physical

hardware and usually there has to be some sort of fee associated with that, so you may have to

join a membership program to have access to streaming apps. The nature of that relationship and

the fact that those machines have to be even higher power than a typical web server means that

there’s often contention [for] access. So you may regularly find when you go to play a cloud

gaming app, that you have to wait in a queue or pay a fee to be . . . a premium member of the

service.”).) Streaming apps also cannot be used offline while native apps often can be used

without a live WiFi or cellular data connection. (Findings of Fact ¶ 242.) For the foregoing

reasons, the distribution of streaming apps should be excluded from the iOS App Distribution

Market. See Grinnell, 384 U.S. at 574; Sysco, 113 F. Supp. 3d at 25-29; CCC Holdings, 605 F.

Supp. 2d at 41-43; see also Microsoft, 253 F.3d at 52 (accepting district court’s finding that

macOS was “less appealing to consumers because it costs considerably more” and thus properly

excluded from the relevant product market).

               80.     The geographic scope of the iOS App Distribution Market is global,

excluding China, for reasons similar to those discussed above with respect to the foremarket at

issue. (Ex. Expert 1 (Evans) ¶ 145.) The App Store distributes apps in 175 countries and regions
                                                 33
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 473 of 644




(Fischer Trial Tr. 931:11-12), but government regulations make China different. (Findings of

Fact § III.I.)

                 81.   Moreover, developers typically release apps on a global basis. Epic, for

example, has distributed the mobile versions of its apps—for both Android and iOS—in more

than 150 countries around the world. (Findings of Fact ¶ 435.) Epic distribution for Fortnite, its

other apps (for instance, Houseparty), and Unreal Engine, is generally worldwide. (Findings of

Fact ¶435.)

                 82.   While Apple claims that only distribution of iOS apps to U.S. consumers

should be in the geographic market, that argument fails. Apple bases its position on the fact that

the App Store has country-specific storefronts, which restrict where consumers can purchase

apps. But this condition is the result of the very Apple policies that are at issue in this case. In

the absence of Apple’s policies, U.S. consumers would be free to shift their purchasing activity

to non-U.S. app stores or direct distribution from developers in the face of a price increase in the

United States. This is consistent with a global market. Furthermore, Apple’s argument ignores

direct distribution from developers’ websites, which would be unaffected by country-specific

storefronts and is another distribution channel in the iOS App Distribution Market (although

entirely foreclosed by Apple).

                 83.   Apple’s contention that the geographic market should be limited to U.S.

consumers on the theory that the U.S. antitrust laws focus on U.S. consumers is without merit for

the reasons stated above regarding the geographic scope of the foremarket.




                                                  34
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 474 of 644




               iv.     The iOS App Distribution Market is a valid single-brand market.

               84.     In its landmark Kodak decision, the U.S. Supreme Court recognized that

“in some instances one brand of a product can constitute a separate market”. Kodak , 504 U.S.

at 482; see also Newcal, 513 F.3d at 1048 (“[T]he law permits an antitrust claimant to restrict the

relevant market to a single brand of the product at issue.”). In such instances, the market is

known as a “single-brand market”. Determining whether a single-brand market is proper

requires “a factual inquiry into the ‘commercial realities’ faced by consumers”. Kodak, 504 U.S.

482 (quoting Grinnell, 384 U.S. at 572).

               85.     Under the Ninth Circuit’s seminal decision in Newcal, courts in the Ninth

Circuit typically consider four aspects of the alleged market to determine if it is a properly

defined single-brand aftermarket. See Newcal, 513 F.3d at 1049-50. The first indicator of an

aftermarket is that the market is “wholly derivative from and dependent on the primary market”.

Id. at 1049. The second indicator is that the “illegal restraints of trade and illegal monopolization

relate only to the aftermarket, not to the initial market.” Id. at 1050. The third indicator is that

the defendant’s market power “flows from its relationship with its consumers” and the defendant

did “not achieve market power in the aftermarket through contractual provisions that it obtains in

the initial market”. Id. The fourth indicator is that “[c]ompetition in the initial market . . . does

not necessarily suffice to discipline anticompetitive practices in the aftermarket”. Id.

               86.     The iOS App Distribution Market satisfies all four aspects for a valid

single-brand market.




                                                  35
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 475 of 644




               87.     First, the iOS App Distribution Market is “wholly derivative from and

dependent on” the Smartphone Operating System Market. See Newcal, 513 F.3d at 1049.

Without iOS, there would be no market for app distribution on iOS.

               88.     Second, the “illegal restraints of trade and illegal monopolization relate

only to the aftermarket, not to the initial market”. Id. at 1050. Epic is not challenging Apple’s

practices with respect to the sale of smartphone operating systems and the devices in which they

are bundled. Rather, the restraints at issue apply only to the aftermarket—specifically, Apple’s

technical and contractual restrictions on the distribution of iOS apps.

               89.     Third, Apple’s market power “flows from its relationship with its

consumers” and Apple did “not achieve market power in the aftermarket through contractual

provisions that it obtains in the initial market”. Id. at 1050. Consumers do not contractually

agree to obtain apps only through the App Store when they purchase an iPhone. Instead,

consumers’ limited access is enforced through technical restrictions (such as preventing

consumers from downloading apps directly from websites) on the device and contractual

restrictions on the developers (such as requiring distribution through Apple’s App Store).

               90.     Apple forces developers to forego other distribution channels—such as a

non-Apple app store on iOS, or direct downloads onto the iOS platform—as a condition of

access to iOS. Apple’s total control over iOS gives it “special access to its consumers” that

enables it to ensure that consumers have no other choice. Newcal, 513 F.3d at 1050.

               91.     Fourth, “[c]ompetition in the initial market . . . does not necessarily

suffice to discipline [Apple’s] anticompetitive practices in the aftermarket.” Id. As discussed

above, Apple possesses substantial market power in the Smartphone Operating Systems Market.
                                                 36
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 476 of 644




This is due in large part to the significant switching and “mixing-and-matching” costs faced by

consumers when they try to change operating systems, and which are an express part of Apple’s

business model of locking consumers into the iOS ecosystem. (Findings of Fact § II.B.)

               92.     Additionally, consumers face significant information costs that prevent

them from considering Apple’s anti-competitive practices in the iOS App Distribution Market

when making their decision in the foremarket. Information costs refer to costs incurred by

consumers in obtaining complete information relevant to their decision-making. Most

consumers are not aware of Apple’s restrictions in the iOS App Distribution Market or their

corresponding effect on app distribution costs. Moreover, even those consumers who know the

facts about Apple’s practices in the iOS App Distribution Market typically do not or cannot

effectively take those facts into account when choosing a smartphone and operating system.

This is because the cost of distributing apps is low compared to the overall cost of a smartphone

and because it is difficult to calculate and compare the lifecycle costs of smartphones between

smartphone operating systems. (Evans Trial Tr. 1508:15-1509:25.) The “lifecycle costs” of a

smartphone refers to all costs incurred with respect to a device over its expected lifespan,

including the purchase price of the device and all apps that the consumer downloads onto the

device, among other costs. (Evans Trial Tr. 1509:13-17); Kodak, 504 U.S. at 473.

               93.     Apple intentionally increases information costs. It expressly prevents

developers from informing consumers of the availability of alternative purchase options and

rejects apps from the App Store for disclosing the fact of Apple’s 30% commission. (Findings of

Fact ¶¶ 368, 419.) Apple does not internally estimate the average consumer’s lifetime spend on



                                                 37
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 477 of 644




apps and, therefore, does not provide that information to consumers when they are choosing a

smartphone operating system. (Findings of Fact ¶ 221.)

               94.     Apple argues that at least developers “knowingly and voluntarily signed

the DPLA in which they agreed to bind themselves to Apple’s policies”. (Apple’s 5/21/21 COL

¶ 106 (internal quotation marks and alterations omitted).) But developers cannot discipline

Apple’s conduct for the reasons explained above. They must be on iOS to access the one billion

iOS users. (See Findings of Fact ¶ 84.)

               95.     Apple also argues that “‘[a]n antitrust plaintiff cannot succeed on a

Kodak-type theory when the defendant has not changed its policy after locking-in some of its

customers’”. (Legal Framework (ECF No. 276) at 15 (quoting PSI Repair Servs., Inc. v.

Honeywell, Inc., 104 F.3d 811, 820 (6th Cir. 1997)).) But that is not what either Kodak or

Newcal require. In Teradata Corp. v. SAP SE, No. 18-cv-03670-WHO, 2018 WL 6528009

(N.D. Cal. Dec. 12, 2018), the court recognized that a change in policy was one possible way of

satisfying Newcal’s fourth factor, but not the only way. See id. at *17 (fourth factor takes into

account whether “‘market imperfections . . . prevent consumers from realizing that their choice

in the initial market will impact their freedom to shop in the aftermarket’” (quoting Newcal,

513 F.3d at 1050)). Although a post-lock-in change in policy can give rise to a valid single-

brand market, whether the policy was put in place before or after consumers made their selection

in the foremarket is not determinative. Instead, Epic only must show that “market imperfections

. . . prevent consumers from realizing that their choice in the initial market will impact their

freedom to shop in the aftermarket”. Newcal, 513 F.3d at 1050; see also Red Lion Med. Safety,

Inc. v. Ohmeda, Inc., 63 F. Supp. 2d 1218, 1231 (E.D. Cal. 1999) (“Information costs may be
                                                 38
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 478 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 479 of 644




become “locked in” to the iOS ecosystem—and after the platform has reached a tipping point,

becoming a “must have” platform for developers.

               97.     Moreover, contrary to its claims, Apple has repeatedly increased prices

after developers and consumers were locked in, including by requiring use of Apple’s IAP to

process payments for in-app digital content (2009); requiring IAP for subscriptions (2011);

instituting anti-steering rules (2011); and charging developers for search ads (2016). (Findings

of Fact § IV.C )5

               v.      The relevant market is not digital game transactions.

               98.     Apple has centered its defense on an alternative antitrust market defined in

terms of “digital game transactions” on what Apple refers to as gaming transaction platforms.

This theory misapplies longstanding antitrust principles and does not fit the facts of the case.

               99.     To construct its “digital game transactions” market, Apple starts with a

clear legal error: looking at the business Epic purportedly is in rather than the conduct at issue in

Epic’s claims. Apple argues that Epic is a developer of gaming apps, and that it is therefore

proper to start by assessing a market relating to transactions in gaming apps, on the theory that




    5
       Apple urges the Court to disregard Epic’s market definition because Epic did not allege in
its Complaint the existence of a foremarket for operating systems and an aftermarket for app
distribution services. (Apple’s 5/21/21 COL ¶¶ 82-83.) The Court declines to do so and finds
that this argument elevates form over substance. While it did not use the terms “foremarket” and
“aftermarket” in its Complaint, Epic detailed at length how competition in the foremarket cannot
discipline Apple’s conduct in the aftermarkets. (See ECF No. 1 at ¶¶ 156-83.) Epic was under a
duty to allege the relevant facts, which it did; it was under no duty to explain in detail its legal
theory. The Court also addressed this issue in its preliminary injunction opinion, Epic Games,
Inc. v. Apple Inc., 493 F. Supp. 3d 817, 835-38 (N.D. Cal. 2020), so Apple has long been on
notice of it.
                                                 40
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 480 of 644




they are the product at the center of the case. This is simply not the legal standard, as noted

below. Setting aside the legal error underlying this argument, it simply does not square with the

evidence. As Apple’s own economic experts testified, the App Store sells a single product:

transactions. “[T]he transaction services provided by the App Store are the same services

whether the developer sells games or music or coffee or crocheting materials.” (Schmalensee

Trial Tr. 1955:3-8, 1954:17-1955:1 (agreeing that “that transaction service . . . has nothing

whatsoever to do with the content that the developer then provides to the user”).) There is no

difference between the transactions Apple sells to Epic and the transactions Apple sells to any

other app developer. Moreover, Epic is not just a developer of gaming apps. Aside from

developing products like Fortnite (which is in fact not simply a game but also a forum for social

activities like concerts and movies), Epic also develops and distributes on iOS the social

networking app Houseparty. (Sweeney Trial Tr. 305:14-23; Grant Trial Tr. 664:15-16; Fischer

Trial Tr. 971:25-972:3; PX-2951.) Apple concedes that Houseparty is not a game. (Fischer

Trial Tr. 972:5-6 (“I believe Houseparty is considered a social networking app.”); Schmid Trial

Tr. 3289:12-15; PX-2951.) The category of Houseparty on the App Store proves that the app is

not a game, notwithstanding the fact that Apple permits the developer to “assign . . . categories to

[its] app”, because “[c]hoosing categories that are not appropriate for [an] app is against the App

Store Review Guidelines”. (DX-5552.1.)

               100.    Additionally, Epic develops one of the most prominent three-dimensional

environment building tools (Unreal Engine), and numerous “middleware” tools and assets used

by third parties for a wide range of software products. Epic develops and distributes on iOS non-

gaming apps that work in conjunction with Unreal Engine including Unreal Remote and Live
                                                 41
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 481 of 644




Link Face. (Grant Trial Tr. 664:21-665:17; see also Sweeney Trial Tr. 117:2-4.) These apps

“provide a means for people who work in the movie or TV industry to capture performances and

view them on Unreal Engine”. (Grant Trial Tr. 664:24-665:5.) Apple concedes that Unreal

Remote and Live Link Face are not games. (Fischer Trial Tr. 972:14-974:11; PX-2952;

PX-2953.)

               101.    Moreover, “[d]evelopers who wish to have sophisticated realtime graphics

will often rely on Unreal Engine to provide those even though it may not be in a gaming

context.” (Grant Trial Tr. 666:3-5.) For example, a number of real estate mobile apps such as

Goldfields, Comstock Homes, and HomeByMe rely on Unreal Engine. (Grant Trial Tr. 666:6-

15; see also Grant Trial Tr. 666:12-15 (“McLaren used Unreal Engine as part of their car

configuration for high-end sports cars. Apple themselves used Unreal Engine to build an AR

experience for the Apple Park Visitor Center.”).)

               102.    Epic is also a third-party PC app publisher, and a distributor of third-party

apps through its own PC app store. Epic would offer its app store to compete with Apple’s App

Store if Apple’s restrictions were lifted. (Findings of Fact ¶ 313.) Apple’s attempt to define a

market on the premise that Epic’s interest and claims are limited to gaming apps is not just legal

error but factually incorrect.

               103.    Apple responds that “[i]t is legally irrelevant to market definition that

Epic’s affiliates offer products and services other than game apps (or a game app store).”

(Apple’s 5/21/21 COL ¶ 71.) But Apple’s cited cases are not about market definition. See Sun

Microsystems Inc. v. Hynix Semiconductor Inc., 608 F. Supp. 2d 1166 (N.D. Cal. 2009)

(FTAIA); In re Domestic Drywall Antitrust Litig., 2019 WL 3098913 (E.D. Pa. July 15, 2019)
                                                 42
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 482 of 644




(Article III standing). And in any event, Epic is not asserting claims on behalf of its affiliates.

The point is that the record includes evidence of how Apple’s conduct impacts non-game apps,

including Epic’s non-game apps.

               104.      Apple is also wrong on the law regarding how markets are defined. As

stated above, a basic principle of antitrust law is that relevant product markets are defined as a

tool to understand the nature of the competition that could constrain the defendant’s allegedly

unlawful conduct. Since the earliest cases, e.g., Brown Shoe, 370 U.S. at 325-26, the Supreme

Court has instructed courts to anchor this analysis to the potential economic substitutes for the

defendant’s product that is the subject of the allegedly anticompetitive conduct. Looking at the

plaintiff’s characteristics is not part of the analysis. See, e.g., Newcal, 513 F.3d at 1045 (“The

consumers do not define the boundaries of the market; the products or producers do.”); Lockheed

Martin Corp. v. Boeing Co., 314 F. Supp. 2d 1198, 1228 (M.D. Fla. 2004) (“Determining which

products make up the market is the first step. Purchasers are relevant at this initial stage only

insofar as their demands govern cross-elasticity, which determines whether and which substitutes

are relevant products.”); Soap Opera Now, Inc. v. Network Publ’g Corp., 737 F. Supp. 1338,

1345 (S.D.N.Y. 1990) (“Although it is proper to identify the ultimate consumer of the product in

order to make a determination as to whether two products are reasonable substitutes for one

another[,] . . . a definition of the market itself which consists of consumers or potential

consumers may, as here, obfuscate the issues of monopoly power and reasonable

interchangeability.”).

               105.      Apple cited only one case, Ohio v. Am. Express Co., 138 S. Ct. 2274

(2018), in support of its position that market definition should depend on the identity of the
                                                 43
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 483 of 644




plaintiff. (Apple’s 5/21/21 COL ¶ 70.) But the Court in Amex did not define the market based

on the identifies of the plaintiffs; it could not have, given that the plaintiffs were “the United

States and several States”. Am. Express, 138 S. Ct. at 2283.

               106.    The ultimate question is what products constrain the ability of the alleged

monopolist to raise price or reduce output with regard to the market it is alleged to have

monopolized. See Newcal, 513 F.3d at 1045 (“the market must encompass the product at issue

as well as all economic substitutes for the product” and “include the group or groups of sellers or

producers who have actual or potential ability to deprive each other of significant levels of

business” (internal quotation marks omitted)); (Ex. Expert 1 (Evans) ¶¶ 34-35). Here, for this

Section 2 claim alleging conduct that affects the distribution of all iOS apps, that market is iOS

app distribution. Apps on other platforms would only enter the analysis to the extent consumers

and developers could reasonably turn to them in the face of worsening terms (a price increase or

a decrease in quality) and here, as noted above, they cannot.

               107.    Apple’s focus on the identity of the plaintiff leads it to a proposed market

that is, in one respect, too narrow. The challenged conduct is not specific to Epic or to game

apps. Apple’s restrictions on alternative iOS distribution channels apply to all app developers,

no matter the type of app they develop, and to all potential app distributors, no matter the type of

apps they would distribute. Likewise, as discussed below, Apple’s restrictions on payment

processing apply to all in-app transactions for digital content, not just digital game transactions.

(Ex. Expert 16 (Evans) ¶ 37; Ex. Expert 13 (Cragg) ¶ 15.)

               108.    While Apple argues that the competitive conditions facing the distribution

of gaming apps are different from the competitive conditions facing other apps, that is both
                                                  44
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 484 of 644




irrelevant and imprecise. It is irrelevant because, as noted, the Apple conduct at issue extends to

a wide variety of apps, and neither Epic’s claims nor Epic’s business is limited to gaming apps.

It is imprecise because the logical conclusion of Apple’s position would be to fragment the

market even further. The substitution possibilities facing iOS players of an immersive multi-

player game like Fortnite that is available on several platforms are different from the substitution

possibilities facing iOS players of games that depend on GPS positioning like Pokémon Go

(which are available only on mobile devices) or of simple and casual games like Words With

Friends (which are better suited for mobile device play and typically not available on devices

like gaming consoles). If Apple’s market definition analysis were correct, it would suggest an

even narrower market for immersive multi-platform games, but even Apple recognizes that is not

a tenable position.

               109.    In another respect, Apple’s proposed market is far too broad. Apple

contends that its “digital game transactions” market extends outside iOS to all other platforms on

which game transactions can occur. But it has not shown that iOS users could or would

substitute their gameplay or game transactions to other platforms in sufficient numbers to make a

SSNIP on iOS game distribution unprofitable. Instead, all that Apple has shown is that it is

possible for consumers to play games on platforms other than iOS and for developers to develop

games for those platforms. This point is not in dispute. What Apple’s economic experts do not

show is whether the existence of these other platforms constrains Apple’s conduct, because they

have not tested whether consumers or developers would shift their purchasing activity to these

platforms in response to a SSNIP. (Ex. Expert 16 (Evans) ¶¶ 11, 15-17; Ex. Expert 13 (Cragg)

¶ 18.) Nor do they contend with the fact that most iOS games are not even available on many
                                                45
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 485 of 644




other platforms, such that substitution would be impossible. (Ex. Expert 13 (Cragg) ¶¶ 52, 79,

84.)

               110.    Further, Apple never contends with the fact that, even if an app is

available on more than one platform, and even if a user can make purchases on more than one

platform, there is still no substitute for downloading the app on an iOS device. A user cannot

watch Netflix on her iPhone unless she has downloaded the Netflix app onto her iPhone;

downloading the app onto her PC is not a substitute. Thus, distribution of the app on the PC is

not an economic substitute for distribution of the app on the iPhone unless use of the app on the

PC would be a substitute for use of the app on the iPhone—and for all the reasons stated above

regarding the unique features of a smartphone, it is not.

               111.    Epic’s experts have explained the myriad ways the evidence upon which

Apple’s experts rely is unreliable. For example, Dr. Cragg demonstrates how Professor Hitt’s

analysis purporting to show a degree of substitution in Fortnite between iOS and Nintendo

Switch, a game console, in fact shows that the platforms are complementary. (Ex. Expert 13

(Cragg) ¶¶ 58-64.) That is, consumers tend to increase their play of Fortnite on iOS if they

begin to also play on the Switch, rather than switching hours from one platform to the other.

Even Professor Schmalensee, has agreed that Professor Hitt’s analysis was “[un]supported by the

analysis in his report”. (Schmalensee Trial Tr. 1933:24-1935:13.) And moreover, the two

platforms could not be substitutes because, as Professor Hitt admitted, at most 0.3% or 0.4% of

the iOS Fortnite user population actually began playing on the Switch when Fortnite was

released on that platform, and the number of Switch consoles is a fraction of the number of iOS

devices. (Hitt Trial Tr. 2197:18-2198:5.)
                                                46
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 486 of 644




               112.    Dr. Hitt’s analysis of a so-called “retention rate” following the delisting of

Fortnite from the App Store also fails to measure accurately the rate of substitution between iOS

and non-iOS users of Fortnite. (Evans Trial Tr. 2372:19-22.) Dr. Hitt’s study of Fortnite user

data did not exclude consumer spending that remained unchanged on other platforms before and

after Fortnite was removed from iOS, and that was unaffected by the termination of Fortnite

from the App Store. Instead, this spending was included in his calculation of substitution even

though the consumer made no changes. (Evans Trial Tr. 2372:23-2374:4.) An accurate measure

of substitution would require looking at the portion of iOS revenue that was subject to the change

in circumstances and was replaced, as Dr. Evans did. (Ex. Expert 1 (Evans) ¶¶ 127-30;

PX-1080.)

               113.    As noted above, a valid market definition considers the potential economic

substitutes for the defendant’s product that is the subject of the allegedly anticompetitive

conduct, not the plaintiff’s product. To accept Apple’s theory of market definition based on the

plaintiff’s business would lead to odd results—two cases involving the same conduct by the

same defendant and the same set of facts nevertheless could result in different product markets

and different results depending on the identity of the plaintiff. (Ex. Expert 16 (Evans) ¶¶ 11-13.)

For instance, Professor Hitt agreed that if the same allegations were made by Spotify, the market

definition would be different. (Hitt Trial Tr. 2189:17-22.) To take another example, it is unclear

how Apple would attempt to define the market in the related class actions or if a government

enforcer brought suit. Professor Schmalensee admitted that if a large group of app developers

that make different types of apps brought this lawsuit, he would have to reconsider his opinions

on market definition because there might be no alternative but to consider all apps in the relevant
                                                 47
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 487 of 644




market. (Schmalensee Trial Tr. 1944:14-20.) Professor Schmalensee also conceded that if the

Department of Justice challenged the same conduct by Apple at issue in this case, he would also

have to consider whether the relevant market would encompass the broader app market.

(Schmalensee Trial Tr. 1944:21-1945:5.) Another of Apple’s economists, Dr. Lafontaine, had

never heard of Houseparty, a social networking app developed by Epic, or reviewed a complete

list of apps developed by Epic. (Lafontaine Trial Tr. 2046:16-2047:9.) Professor Schmalensee

conceded that if Epic offered a portfolio of game and non-game apps—which it does—that

would affect his market definition analysis; and if Epic were “suing in its capacity as a

distributor of apps”—which it is—“the relevant market would be . . . the market for being an app

store”. (Schmalensee Trial Tr. 1945:9-15, 1946:6-10.) In fact, Apple itself has argued that “the

‘crux’ of Epic’s complaint is that Apple’s conduct has unfairly injured its economic interest in

that it may not distribute iOS apps through EGS or use Epic direct payment to process

transactions on its apps”. (Apple’s 5/21/21 COL ¶ 624.)

               114.    Finally, Apple argues that in defining the iOS App Distribution Market,

Epic is improperly attempting to “cluster” two distinct product markets—game and non-game

digital transactions. (Apple’s 5/21/21 COL ¶¶ 75-77.) Epic is not “clustering” anything. In FTC

v. Staples, Inc., 190 F. Supp. 3d 100, 123 (D.D.C. 2016), the primary case on which Apple relies,

the question was whether office supplies such as “pens, file folders, Post-it notes, binder clips,

and paper for copiers and printers” comprised a cluster market. Id. at 117. The situation here is

not analogous. The App Store sells only one product—transactions—to users and developers of

gaming and non-gaming apps alike. Whether those apps compete with each other in some



                                                 48
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 488 of 644




downstream market is irrelevant to determining the substitutes to the transactions provided by

the App Store.

                 vi.    Apple has monopoly power in the iOS App Distribution Market.

                 115.   Monopoly power is “the power to control prices or exclude competition”.

Grinnell, 384 U.S. at 571 (internal quotation marks omitted). “More precisely, a firm is a

monopolist if it can profitably raise prices substantially above the competitive level”, Microsoft,

253 F.3d at 51, “without inducing so rapid and great an expansion of output from competing

firms as to make the supra-competitive price untenable”, Harrison Aire, Inc. v. Aerostar Int’l,

Inc., 423 F.3d 374, 380 (3d Cir. 2005) (internal quotation marks omitted). “Monopoly power

under § 2 requires, of course, something greater than market power under § 1.” Kodak, 504 U.S.

at 481.

                 116.   Epic submitted substantial evidence demonstrating Apple’s monopoly

power in the iOS App Distribution Market. In addition, Apple’s lead economist, Professor

Schmalensee, conceded that if Dr. Evans’s market definition is correct (which the Court finds it

is), Apple would be a monopolist. (Schmalensee Trial Tr. 1895:19-1896:7.)

                 117.   It is uncontested that if the market is iOS app distribution, Apple possesses

essentially a 100% share. There are more than one billion iPhones around the world, and the

only effective way for owners of those devices to obtain apps is through Apple itself. Apple

preloads the App Store onto the home screen of all iOS devices (Fischer Trial Tr. 857:13-15),

and through both technical and contractual restrictions, Apple prevents all alternative distribution

channels. (Findings of Fact § IV.A.) Apple’s Developer Enterprise Program, which permits

distribution outside the App Store to employees of large organizations, is not a meaningful
                                                 49
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 489 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 490 of 644
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 491 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 492 of 644




review. (Findings of Fact ¶ 264, § XI.F.) Finally, Apple has used the App Store “as a weapon

against competitors” (PX-99.5; Ex. Depo. 2 at 75:14-16 (Shoemaker)), rejecting or delaying apps

that compete with its own products on “pretextual grounds”. (Ex. Depo. 2 at 88:2-8

(Shoemaker).)

        B.      Apple willfully maintains its monopoly power.

                125.    The Court has found that Epic’s market definitions are proper, and that

Apple has monopoly power in the iOS App Distribution Market. The next step of the analysis is

to consider whether Apple has engaged in anti-competitive conduct to maintain its monopoly.

                126.    Unilateral conduct, that is, conduct by one firm as opposed to a

combination of firms, is evaluated under the “rule of reason.” Qualcomm, 969 F.3d at 991.

“Regardless of whether the alleged antitrust violation involves concerted anticompetitive conduct

under § 1 or independent anticompetitive conduct under § 2, the three-part burden-shifting test

under the rule of reason is essentially the same. . . . The similarity of the burden-shifting tests

under §§ 1 and 2 means that courts often review claims under each section simultaneously.” Id.;

accord Microsoft, 253 F.3d at 59 (“[I]t is clear . . . that the analysis under section 2 is similar to

that under section 1 regardless whether the rule of reason label is applied.” (internal quotation

marks omitted) (quoting Mid-Texas Commc’ns Sys., Inc. v. Am. Tel. & Tel. Co., 615 F.2d 1372,

1389 n.13 (5th Cir. 1980))); see also Standard Oil Co. v. United States, 221 U.S. 1, 61-62 (1911)

(“[W]hen the [second] section [of the Sherman Act] is thus harmonized with . . . the [first], it

becomes obvious that the criteria to be resorted to in any given case for the purpose of

ascertaining whether violations of the section have been committed is the rule of reason guided

by the established law . . . .”).
                                                  53
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 493 of 644




                127.    Apple argues that the rule of reason is inapplicable to its conduct in this

case and that a “more specific” rule should apply, such as the duty to deal doctrine. (Legal

Framework (ECF No. 276) at 57-58.) The law in this Circuit is clear, however, that Section 2

claims use “essentially the same” three-part burden-shifting test under the rule of reason as

Section 1 claims. See Qualcomm, 969 F.3d at 991.6

                128.    One of the bases on which Apple argues for a different analytical

framework is to urge the Court to view this case as a so-called “refusal to deal” case. (See Legal

Framework (ECF No. 276) at 57.)

                129.    In a refusal to deal case, a plaintiff seeks to establish liability because of a

firm’s refusal to engage in a transaction with the plaintiff. For example, in the paradigmatic

refusal to deal case, Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585 (1985), a

ski resort operator refused to participate with the plaintiff in selling a joint lift ticket package that

covered its mountains and the plaintiff’s mountain. But the refusal to deal case law that Apple

invokes applies only to unconditional refusals to deal, such as the ski resort operator’s flat

refusal to sell a joint ticket. Such unconditional refusals to deal give rise to liability only in very

narrow cases. Verizon Commc’ns Inc. v. L. Offs. of Curtis V. Trinko, LLP, 540 U.S. 398, 409

(2004); Qualcomm, 969 F.3d at 994.

                130.    If a defendant engages in a conditional refusal to deal, however, the

“refusal to deal” framework does not apply. Kodak, 504 U.S. at 463 & n.8; Lorain J. Co. v.

United States, 342 U.S. 143, 155 (1951); Microsoft, 253 F.3d at 70-73; United States v. Dentsply



    6
        The Court discusses Section 1 in greater detail below. (See § V below.)
                                                   54
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 494 of 644




Int’l, Inc., 399 F.3d 181, 188-90 (3d Cir. 2005). In a conditional refusal to deal case, courts will

examine the specific conditions that the defendant imposes and the effects that those conditions

have on competition.

                131.    Here, the unconditional refusal to deal framework does not apply. Apple

willingly dealt with Epic for years, and Apple willingly deals with countless other app

developers. Epic’s claims center on conditions that Apple places on its willingness to deal. In

particular, Apple conditions developers’ access to the iOS platform on developers’ agreement to

abide by Apple’s rules, such as the rule prohibiting apps that act as storefronts and thus could

compete with Apple on app distribution, the rule prohibiting apps that stream games, and (as

discussed further below) the rule requiring Apple’s IAP system to be used for in-app purchases

of digital content. In essence, like countless other monopolists, Apple conditions its willingness

to deal on developers’ agreement to preserve Apple’s exclusivity in certain markets. These

allegations do not invoke the unique circumstances applicable to unconditional refusal to deal

cases like Aspen Skiing. See Kodak, 504 U.S. at 463 n.8 (holding that defendant’s willingness to

deal with third parties only on condition that they do not deal with its competitors is not analyzed

as a “unilateral refusal to deal”).

                132.    Therefore, the Court analyzes Apple’s conduct under the rule of reason.

                133.    Under the rule of reason, the plaintiff has the initial burden to

“demonstrat[e the] anticompetitive effect” of the monopolist’s conduct. Qualcomm, 969 F.3d

at 991 (internal quotation marks omitted). If the plaintiff meets this burden, “then the

monopolist may proffer a procompetitive justification for its conduct. If the monopolist asserts a

procompetitive justification . . . then the burden shifts back to the plaintiff to rebut that claim. If
                                                  55
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 495 of 644




the plaintiff cannot rebut the monopolist’s procompetitive justification, then the plaintiff must

demonstrate that the anticompetitive harm of the conduct outweighs the procompetitive benefit.”

Id. (internal quotation marks and citations omitted).

                134.    The Court concludes that Apple has engaged in conduct with significant

anti-competitive effects (see § I.B.i below); Apple’s pro-competitive justifications are pretextual

(see § I.B.ii below); and the anti-competitive effects of Apple’s conduct outweigh its

procompetitive justifications (see § I.B.iii below).

                i.      Apple has engaged in conduct with significant anti-competitive effects.

                135.    “[T]he possession of monopoly power will not be found unlawful [under

Section 2] unless it is accompanied by an element of anticompetitive conduct.” Verizon

Commc’ns v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 407 (2004); Qualcomm,

969 F.3d at 990; see also Grinnell, 384 U.S. at 570-71 (requiring “the willful acquisition or

maintenance of that power as distinguished from growth or development as a consequence of a

superior product, business acumen, or historic accident” for a Section 2 monopolization claim).

The plaintiff must show “anticompetitive abuse or leverage of monopoly power, or a predatory

or exclusionary means of attempting to monopolize the relevant market.” Qualcomm, 969 F.3d

at 990 (internal quotation marks omitted).

                136.    An antitrust plaintiff need not “present direct proof that a defendant’s

continued monopoly power is precisely attributable to its anticompetitive conduct”. Microsoft,

253 F.3d at 79. “To require that § 2 liability turn on a plaintiff’s ability or inability to reconstruct

the hypothetical marketplace absent a defendant’s anticompetitive conduct would only encourage

monopolists to take more and earlier anticompetitive action.” Id. Because “neither plaintiffs nor
                                                  56
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 496 of 644




the court can confidently reconstruct a product’s hypothetical technological development in a

world absent the defendant’s exclusionary conduct”, “‘the defendant is made to suffer the

uncertain consequences of its own undesirable conduct’”. Id. In this case, Epic proved that

Apple “engaged in anticompetitive conduct that reasonably appears capable of making a

significant contribution to maintaining monopoly power”; that is all that is required for the

“court[] to infer ‘causation’”. See id. (internal quotation marks omitted).

               137.      As discussed above, Apple uses its near total control over the iOS App

Distribution Market to entrench the App Store as the only distribution option and block all

potential competitors.

               138.      The App Store is the only permitted channel for developers to deliver their

iOS apps to the consumer. (Findings of Fact ¶¶ 259, 264.) Apple preinstalls the App Store on

the home screen of every iPhone. (Findings of Fact ¶ 272.) Apple does not pre-install, or

otherwise allow, any other competing app stores on iOS devices. (Findings of Fact ¶273.)

               139.      Apple’s contracts with developers prohibit the distribution of competing

app stores as well as apps that have similar functions (i.e., game streaming services). (Findings

of Fact ¶ 264.) As part of its App Review process, Apple rejects and refuses to distribute apps

that do not comply with these prohibitions. (Findings of Fact § V.E.) Further, Apple’s “FEAR

team” has been tasked with preventing “illicit” distribution. (Findings of Fact ¶ 647.) Apple

removes competing app stores from the iOS platform. (Findings of Fact § V.E.)

               140.      Contrary to Apple’s suggestion, the fact that some of Apple’s restrictions

appear in contracts where Apple licenses intellectual property does not immunize the restrictions

from antitrust scrutiny. “[N]either patent nor copyright holders are immune from antitrust
                                                  57
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 497 of 644




liability”. Image Technical Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1215 (9th Cir.

1997); see New York ex rel. Schneiderman v. Actavis PLC, 787 F.3d 638, 660 (2d Cir. 2015)

(“[I]ntellectual property rights do not confer a privilege to violate the antitrust laws”. (internal

quotation marks omitted)); U.S. Department of Justice and Federal Trade Commission, Antitrust

Guidelines for the Licensing of Intellectual Property § 2.1 (2017) (“As with other forms of

private property, certain types of conduct with respect to intellectual property may have

anticompetitive effects against which the antitrust laws can and do protect.”).

               141.    Courts analyze anti-competitive effects where, as here, an intellectual

property owner conditions access to its intellectual property on terms that discriminate against its

competitors. See, e.g., Microsoft, 253 F.3d at 60-62 (ruling that conditions on which Microsoft

licensed Windows to original equipment manufacturers were anti-competitive because they

“reduced rival browsers’ usage share not by improving its own product but, rather, by preventing

OEMs from taking actions that could increase rivals’ share of usage”); Qualcomm, 969 F.3d

at 1002 (“If Qualcomm were to refuse to license its [standard essential patents] to OEMs unless

they first agreed to purchase Qualcomm’s chips (‘no chips, no license’), then rival chip suppliers

indeed might have an antitrust claim under both §§ 1 and 2 of the Sherman Act based on

exclusionary conduct.”).

               142.    Apple also has designed technical restrictions into iOS that prevent the

distribution of apps and app stores outside of the App Store. To install or run on iOS, all third-

party apps must be validated and signed using an Apple-issued certificate, and Apple controls the

way in which third-party developers obtain their code signing certificates. (Findings of Fact

¶ 268.)
                                                  58
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 498 of 644




               143.    Citing Allied Orthopedic Appliances Inc. v. Tyco Health Care Grp. LP,

592 F.3d 991 (9th Cir. 2010), Apple argues that these technical restrictions are product

innovations, and therefore exempt from antitrust liability. (Apple’s 5/21/21 COL ¶ 252.)

Apple’s argument conflates the security innovation of code signing with the policy decision of

distribution exclusivity. Apple’s security experts recognized that code signing does not imply

any particular method of distribution; instead, Apple made a policy decision to use code signing

as a means to enforce its distribution monopoly. (Findings of Fact ¶ 590.) Although “product

improvement by itself does not violate Section 2”, a policy decision like Apple’s is a clear

example of “the monopolist abus[ing] or leverag[ing] its monopoly power in some other way

when introducing the product”, which may give rise to Section 2 liability. See Allied

Orthopedic, 592 F.3d at 999-1000.

               144.    Epic alleges that the foregoing conduct has significant anti-competitive

effects. The Court agrees.

               145.    Anti-competitive effects are those that “harm the competitive process and

thereby harm consumers. In contrast, harm to one or more competitors will not suffice.”

Qualcomm, 969 F.3d at 990 (internal quotation marks and citation omitted).

               146.    A plaintiff can prove anticompetitive effects directly and/or indirectly.

Am. Express, 138 S. Ct. at 2284. “Direct evidence of anticompetitive effects would be proof of

actual detrimental effects on competition, such as reduced output, increased prices, or decreased

quality in the relevant market.” Id. (internal quotation marks, alterations and citations omitted).

“Indirect evidence would be proof of market power plus some evidence that the challenged

restraint harms competition.” Id. (citations omitted).
                                                 59
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 499 of 644




               147.    Courts consider the combined anti-competitive effects of a defendant’s

conduct. City of Anaheim v. S. Cal. Edison Co., 955 F.2d 1373, 1376 (9th Cir. 1992) (“[I]t

would not be proper to focus on specific individual acts of an accused monopolist while refusing

to consider their overall combined effect.”). In a two-sided market, courts must take into

consideration the effects of the defendant’s conduct on both sides of the market. Am. Express,

138 S. Ct. at 2287.

               148.    “[S]ingle-sided businesses can compete . . . with a two-sided platform in a

single market”. (Schmalensee Trial Tr. 1916:15-1917:5.) According to Professor Schmalensee,

direct distribution, which is single-sided, competes with distribution through app stores as part of

the same market where the platform owner does not forbid direct distribution. (Schmalensee

Trial Tr. 1916:15-1917:5.)

               149.    There is strong evidence in the record that the technical and contractual

restrictions that Apple imposes to prevent all competing app distribution on iOS devices have

harmed the competitive process. On operating systems that do not have such restrictions—

Windows, macOS, and Android in China—there is vigorous competition among multiple app

distribution channels, including both two-sided app stores and single-sided direct distribution of

apps from developer websites. If Apple did not totally foreclose competition on iOS, app

distributors would similarly compete on iOS—as shown by these other operating systems and by

various efforts to achieve competing distribution on iOS over the years, such as through

streaming games. (Ex. Expert 1 (Evans) § VI.E.) For all these reasons, according to Professor

Schmalensee, “the market at issue here” is “a hybrid market, consisting of both two-sided

businesses or two-sided platforms and single-sided businesses”. (Schmalensee Trial Tr.
                                                60
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 500 of 644




1916:15-1917:20.) Because “[t]he market in [Ohio v. American Express, 138 S. Ct. 2274

(2018)] was clearly composed of two-sided platforms”, the market here is different “as an

economic matter”. (Schmalensee Trial Tr. 1916:15-1917:20.)

               150.    In the absence of competition for app distribution on iOS, Apple has

behaved like a “sleepy monopolist” with respect to that aspect of its business. While Apple touts

the innovation it has displayed over the years in various other areas, it has been slow to adapt or

improve the App Store; it has invested little in the App Store; and it has provided limited

distribution services and largely kept prices constant (or, in some cases, raised them) while

earning more and more profits. (Evans Trial Tr. 1559:1-1563:12; Ex. Expert 1 (Evans) ¶¶ 186-

198.) As a result, both consumers and developers in the iOS App Distribution Market have

suffered anti-competitive effects.

               151.    Specifically, there is substantial evidence in the record of anti-competitive

effects on consumers in the iOS App Distribution Market, including: (1) fewer app stores with

fewer innovative features and less choice (Findings of Fact § V.A); (2) higher prices due to

developers passing on Apple’s supra-competitive commission to consumers (Findings of Fact

§ V.B); (3) fewer apps and less innovative apps (Findings of Fact § V.C); and (4) increased

consumer switching and “mixing-and-matching costs” from a lack of “middleware” (Athey Trial

Tr. 1754:19-20; Ex. Expert 4 (Athey) ¶¶ 48-50; PX-407; PX-416; Findings of Fact § V.F).

               152.    There also is substantial evidence of anti-competitive effects on

developers, including: (1) reduced output and less innovation due to Apple’s supra-competitive

commission (Findings of Fact § V.C); (2) inferior store features as compared to potential

alternatives (Findings of Fact § V.C); (3) higher costs due to slow app review and arbitrary
                                                 61
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 501 of 644




decisions and errors (Findings of Fact § XI.F); (4) lack of exposure for apps created by smaller

developers (Findings of Fact § V.C); (5) poor customer service (Findings of Fact § VIII.C.);

(6) the suppression of tools that would make it easier for developers to persuade consumers to

switch to a competing platform, such as a multi-platform app store (Ex. Expert 4 (Athey) ¶¶ 55,

56, 58; Findings of Fact § V.F); and (7) Apple preferencing its own apps over competing third-

party apps (Findings of Fact § V.D).

               153.    The Court finds that this evidence, discussed in more detail in the Findings

of Fact, is strong evidence of substantial anti-competitive effects.

               154.    During trial, Apple repeatedly asserted that “Apple has never increased its

commission level”. (See, e.g., Schiller Trial Tr. 2804:18-20.) This assertion is incorrect

because, as explained above, Apple has increased prices by expanding the scope of transactions

to which its commission applies. (Findings of Fact ¶ 296.) Moreover, the fact that Apple has

never increased its headline commission above 30% is more likely due to the intense and

continuous litigation, regulatory and legislative pressure on the App Store business model than

competitive constraints, which are minimal to nonexistent. (See Findings of Fact ¶ 131;

Schmalensee Trial Tr. 1978:4-1980:8.)

               ii.     Apple’s procompetitive justifications are pretextual.

               155.    “[I]f a plaintiff successfully establishes a prima facie case under § 2 by

demonstrating anticompetitive effect[s], then the monopolist may proffer a ‘procompetitive

justification’ for its conduct.” Qualcomm, 969 F.3d at 991 (internal quotation marks omitted)

(quoting Microsoft, 253 F.3d at 59). A procompetitive justification is “a nonpretextual claim that



                                                 62
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 502 of 644




[the defendant’s] conduct is indeed a form of competition on the merits because it involves, for

example, greater efficiency or enhanced consumer appeal.” Id.

               156.   Apple justifies its prohibition on alternative app distribution channels on

iOS primarily by pointing to the supposed security benefits of funneling all apps through the App

Review process. This is a pretext.

               157.   Apple’s own security experts, when tasked with creating a model that

would allow Apple to safely and securely allow third-party apps on the iPhone, created a model

that separates app signing and scanning from app distribution and expressly contemplated the

possibility of distribution through channels other than the App Store. (Findings of Fact ¶¶

590-591.)

               158.   Apple implements a similar model today on macOS; alongside the Mac

App Store, Apple offers notarization—a process whereby Apple signs and scans apps for

malicious content, but then sends the scanned app back to the developer for distribution through

channels other than the App Store. Under this model, Apple considers macOS to be a secure

platform, even though, as noted above, Apple does not prevent third-party distribution of apps on

macOS like it does on iOS. The same model could be implemented on iOS; as Craig Federighi

acknowledged, at the end of Apple’s current App Review process, Apple possesses a fully vetted

app, and it is entirely Apple’s choice whether to propagate that app to its own App Store or send

it back to the developer for distribution through another channel. (Findings of Fact ¶ 593.)

               159.   The evidence further shows that most security features for the iPhone are

located at the operating system level. For example, Apple requires sandboxing on iOS, which

creates restrictions for how an app can interact with the operating system, the device, and other
                                                63
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 503 of 644




apps. Apple could continue to enforce such security mechanisms even if apps were distributed

outside of the App Store. (Mickens Trial Tr. 2570:11-19; Federighi Trial Tr. 3481:20-23.)

Other essential security functions performed at the operating system level include (1) address

space layout randomization (“ASLR”); (2) W^X memory; and (3) secure booting. (Ex. Expert 5

(Mickens) §§ V.D, V.E.) These features are separate from App Review. (Ex. Expert 5

(Mickens) ¶ 47.) Thus, restricting app distribution is not necessary to achieve these security

measures.

               160.    With respect to the App Review process specifically, the process is not an

effective method of detecting security issues or preventing the distribution of malicious software.

Legions of bad apps make their way into the App Store. They always have and always will.

Many are described above in the Findings of Fact. (Findings of Fact § XI.H.) Apple’s App

Review has no “secret sauce”. Instead, the manual portion of the App Review relies on a cursory

review by human reviewers with no special qualifications. The automated portion of the App

Review relies on automated tools, most of which are publicly available and well understood by

the security community. (Findings of Fact § XI.I.) Apple could continue to utilize these tools

even if it allowed distribution outside the App Store, as it does today through the notarization

process on macOS. And if it chooses not to, the evidence shows that third parties could replicate

(and potentially improve upon) both the human and automated features of Apple’s process.

(Kosmynka Trial Tr. 1187:21-1188:11.)

               161.    Apple permits limited exceptions to its no “store within a store” policy and

is not aware of any security issues introduced through these stores. (See, e.g., PX-301; PX-305.)

For example, the app Roblox allows consumers access to multiple user-generated games within
                                                64
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 504 of 644




the Roblox world, none of which are reviewed by Apple. (Findings of Fact § V.E.) Between

2015 and 2018, another app store, Tribe, was available on iOS. (Findings of Fact ¶ 332.)

Although Apple ultimately removed Tribe from iOS, that decision was not the result of any

security issues with Tribe. (Findings of Fact ¶ 332.) In fact, Apple has not conducted any

studies of whether third-party app stores increase the security risks to iOS users. (Findings of

Fact ¶ 337.)

               162.    To the contrary, security could be a vector on which alternative app stores

compete if they were allowed on iOS. Apple is not the only company capable of protecting

users. Indeed, alternative app stores could very well achieve better security results on iOS than

Apple alone. (Kosmynka Trial Tr. 1187:21-1188:11.) The evidence shows that due to the

tremendous number of apps the App Store must ingest each week, reviewers spend little time

reviewing each app; at the very least, a more highly-curated store could have reviewers spend

more time on examining the ins and outs of a given app. (Findings of Fact ¶ 629.)

               163.    Apple also claims that its anti-competitive conduct is justified by its desire

to protect its intellectual property and prevent free-riding. (Apple’s 5/21/21 COL ¶¶ 313-17.)

While this goal can be a legitimate business justification, it can be rebutted if it is pretextual. See

Image Technical Servs., 125 F.3d at 1219 (“Neither the aims of intellectual property law, nor the

antitrust laws justify allowing a monopolist to rely upon a pretextual business justification to

mask anticompetitive conduct.”); (Malackowski Trial Tr. 3699:25-3700:10).

               164.    Here, Apple’s intellectual property justification is pretextual. (See

Findings of Fact § X.) Apple’s expert on intellectual property conceded that he had “not offered

any evidence or cited any evidence that demonstrates that the reason why Apple prohibits stores
                                                  65
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 505 of 644




within a store was tied to protecting its IP”. (Malackowski Trial Tr. 3692:18-21; see

Malackowski Trial Tr. 3694:11-13.) That is because the evidence undermines this proposition.

When the App Store was announced, Mr. Jobs explained that the 30% commission was to “pay

for running the App Store”—not to compensate Apple for its intellectual property. (PX-880.21.)

Apple’s decision to charge the 30% commission was untethered to the costs of intellectual

property. (See Ex. Depo. 3 at 137:23-138:14, 140:10-15, 140:17-21, 140:24-141:3, 141:5-7

(Cue); Malackowski Trial Tr. 3662:13-17.) The agreement that requires developers to pay the

30% commission does not refer to the commission as a royalty (PX-2621.4-5 (Schedule 2)

§ 3.4), and Apple’s intellectual property expert agreed “it’s not a royalty” (Malackowski Trial

Tr. 3697:12-18). Apple does not even know what intellectual property it licenses. For instance,

the DPLA does not disclose this information, and no one at Apple told Apple’s intellectual

property expert this information. (See Malackowski Trial Tr. 3666:23-3667:6, 3667:18-24,

3669:19-3670:7.) To take another example, Mr. Schiller acknowledged that “Apple has utilized

a lot of open source software” to power innovations for which it claims credit, but he had no idea

“which [innovations] specifically”. (Schiller Trial Tr. 2940:3-10; see generally Schiller Trial

Tr. 2939:8-2950:23.) Further, Apple allows access to its intellectual property without payment

in a variety of circumstances. For example, sellers of physical goods and services such as Uber

and Lyft can access Apple’s platform without paying a 30% commission. (PX-201.2-5; PX-

2790.12 (Guidelines) § 3.1.3(e).) In addition, under the Video Partner Program, iOS developers

such as Amazon Prime Video, Altice One and Canal + can use third-party payment processors

instead of IAP. (Ex. Expert 1 (Evans) ¶ 235.)



                                                66
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 506 of 644




               165.    These facts prove that Apple’s professed concern for protecting its

intellectual property is pretextual. See Image Technical Servs., 125 F.3d at 1219-20 (rejecting

Kodak’s intellectual property justification because “Kodak’s parts manager testified that patents

‘did not cross [his] mind’ at the time Kodak began the parts policy” and “Kodak did not

differentiate between patented and nonpatented parts”); Microsoft, 253 F.3d at 63-64 (rejecting

one of Microsoft’s intellectual property justification because Microsoft “never substantiates this

claim”).

               166.    Finally, Apple asserts that its conduct (1) maintains quality and improves

ease of access, (2) broadens consumer choice and increases output, and (3) enhances interbrand

competition. (Apple’s 5/21/21 COL ¶¶ 307-31.) These justifications are pretextual because

Apple has not proved that its exclusive control over app distribution on iOS furthers these

purported benefits. As an initial matter, there is ample evidence in the record that the App Store

provides poor services and therefore does not further these benefits at all. (See, e.g., Findings of

Fact § V.C.) But more importantly, Apple’s justifications demonstrate—at most—only that

Apple believes its method of app distribution is superior to alternative methods, not why it

should be the only method. These proffered benefits are all bases on which Apple could

compete with alternative app distribution methods. As its CEO acknowledged, if consumers had

choice, Apple would “have to differentiate in some way”. (Cook Trial Tr. 3935:1.) Nothing

would stop consumers and developers from choosing the App Store if Apple competed on the

merits.

               167.    For the foregoing reasons, the Court concludes that Apple’s

procompetitive justifications are pretextual. Although the Court could conclude its analysis here
                                                 67
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 507 of 644




and find in Epic’s favor, the Court will move on to the next step of the analysis assuming, for the

sake of argument, that Apple’s procompetitive justification is not pretextual.

               iii.   The anti-competitive effects of Apple’s conduct outweigh its
                      procompetitive justifications.

               168.   There is one more step of the rule of reason analysis. “If the plaintiff

cannot rebut the monopolist’s procompetitive justification, ‘then the plaintiff must demonstrate

that the anticompetitive harm of the conduct outweighs the procompetitive benefit.’” Qualcomm,

969 F.3d at 991 (quoting Microsoft, 253 F.3d at 59). If “the monopolist’s conduct on balance

harms competition”, it is “condemned as exclusionary for purposes of § 2”. Microsoft, 253 F.3d

at 59.

               169.   Apple argues that this is not the law. Instead, Apple claims that balancing

is inapplicable in a Section 2 case and that Epic’s only option is to show that the procompetitive

justifications for Apple’s conduct are entirely pretextual. (Legal Framework (ECF No. 276)

at 66.) Apple is wrong. The Ninth Circuit—and many other courts—have held that it is

appropriate to balance procompetitive benefits against anti-competitive harms under Section 2.

See Qualcomm, 969 F.3d at 991 (quoted above); Microsoft, 253 F.3d at 59 (quoted above);

Actavis, 787 F.3d at 658 (“[The plaintiff] has shown that whatever procompetitive benefits exist

are outweighed by the anticompetitive harms.”); Viamedia, Inc. v. Comcast Corp., 951 F.3d 429,

480 (7th Cir. 2020) (“The trier of fact must first evaluate the evidence and determine whether

Comcast’s procompetitive justifications outweigh the anticompetitive harms from its conduct.”).

The cases upon which Apple relies do not stand for a contrary proposition. See Behrend v.

Comcast Corp., No. CIV.A. 03-6604, 2012 WL 1231794, at *19 n.31 (E.D. Pa. Apr. 12, 2012)


                                                68
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 508 of 644




(acknowledging the balancing test but concluding that plaintiffs had waived their ability to rely

on it); Morris Commc’ns Corp. v. PGA Tour, Inc., 364 F.3d 1288, 1295 (11th Cir. 2004) (failing

to address whether the balancing test applied); ACT, Inc. v. Sylvan Learning Sys., Inc., 296 F.3d

657, 670 (8th Cir. 2002) (same). This Court follows the Ninth Circuit’s caselaw and will,

therefore, apply the balancing test.

               170.    When balancing Apple’s procompetitive justifications, the Court also

considers whether Apple’s conduct achieves those benefits “in an unnecessarily restrictive way”.

See Cascade Health Sols. v. PeaceHealth, 515 F.3d 883, 894 (9th Cir. 2008) (“Anticompetitive

conduct is behavior that tends to impair the opportunities of rivals and either does not further

competition on the merits or does so in an unnecessarily restrictive way.” ). Apple argues that

there is no “less restrictive alternative” requirement in Section 2 cases. (Legal Framework (ECF

No. 276) at 65 (citing Image Tech. Serv. v. Eastman Kodak Co., 903 F.2d 612, 620 (9th Cir.

1990).) Focusing on whether or not there is a separate “less restrictive alternative” step in

Section 2 cases elevates form over substance. Regardless of how the analysis is labeled, it makes

no sense to credit Apple in the balancing step for the full scope of its procompetitive

justifications when Apple has alternatives. Otherwise, trivial business justifications providing

marginal benefit easily obtainable without harming competition could be argued to cleanse anti-

competitive conduct harming millions or, in this case, billions of consumers, simply because they

do not rise to the level of absolute pretext. Therefore, the Court will weigh Apple’s

procompetitive justifications in light of Apple’s alternatives.

               171.    Apple does have less restrictive alternatives to achieve its alleged

procompetitive benefit of security. Apple’s experience with macOS, where it does not restrict
                                                 69
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 509 of 644




app distribution exclusively to the App Store, confirms that less restrictive alternatives exist.

Apple believes that macOS is secure. Apple prominently advertises on its website that Mac

users enjoy “Security. Built right in.” and “[d]ownload apps safely from the Mac App Store.

And the internet.” And can do so “worry-free”. (PX-741.1, 5.) iOS and macOS are built using

the same OS kernel, iOS includes many of the security functions that are part of macOS, and

improves on some, most notably sandboxing. (Findings of Fact § XI.A.) Other macOS security

features, including signing and certification, Gatekeeper, Xprotect and MRT, can be

implemented on iPhones today. (Findings of Fact § XI.D.)

               172.    Apple will not be unduly burdened by Epic’s requested relief. In fact,

Apple already allows for third-party app stores on macOS. As Mr. Federighi testified, Apple

could in fact implement all the security mechanism in macOS on iOS. (Federighi Trial

Tr. 3473:2-4.) Further, iOS was designed to allow alternative distribution mechanisms outside

the App Store. As an internal Apple 2007 security white paper explains, “our model will allow

for third parties to distribute their own applications”; it is “a policy decision as to whether Apple

signed applications are posted to the online store, or we allow developers to distribute on their

own”. (PX-877.3.)

               173.    The incremental security benefits of subjecting all iOS apps to Apple’s

App Review are minimal. Epic’s computer science experts have demonstrated that the most

important security mechanisms for iOS—sandboxing, ASLR, W^X memory and secure

booting—are enforced by the operating system or device itself, rather than Apple’s App Review

process. (Ex. Expert 5 (Mickens) ¶¶ 23-41.) At most, App Review provides an additional layer

of security by filtering out obviously malicious or otherwise dangerous apps. (See Ex. Expert 5
                                                 70
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 510 of 644




(Mickens) ¶ 77.) But the record is replete with evidence that App Review regularly fails in this

function too, and all manner of bad and malicious apps make it through App Review and into the

App Store for consumers to download. (Findings of Fact § XI.H.) Further, the automated

portions of Apple’s App Review could be retained as part of notarization, as on macOS. Finally,

the limited security benefits provided by App Review could easily be replicated by third-parties

(Apple itself acquired a third party to perform some of these functions). Apple’s App Reviewers

do not have any special qualifications and typically spend only six to twelve minutes reviewing

an app; and Apple’s automated tools, such as static and dynamic analyzers, are well-understood

and frequently used by security professionals outside of Apple. (Findings of Fact ¶¶ 629,

658-660.)

               174.    Therefore, the Court gives Apple little credit in the balancing for its

procompetitive security justifications.

               175.    To the extent that there is any residual procompetitive benefit to Apple’s

conduct that cannot be captured by less restrictive alternatives, the anti-competitive effects of

Apple’s conduct clearly outweigh those benefits. Epic has detailed at great length the many

harms caused by Apple’s complete foreclosure of the iOS App Distribution Market. For

example, Apple’s conduct results in higher prices for consumers; it reduces output and

innovation by forcing developers to pay supra-competitive commissions and subjecting

developers to the arbitrary and error-prone App Review process. (Findings of Fact § V.B, V.C.)

This in turn reduces consumers’ choice of apps and app features. To take another example,

Apple preferences its own apps over third-party developers’ apps in numerous ways, including

by using App Review to block competitor apps and by programming the App Store search
                                                 71
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 511 of 644




function to prioritize Apple apps. (Findings of Fact § V.D.) Again, both developers and

consumers are harmed because Apple’s practices make it harder for developers to deliver their

apps to consumers. The list goes on. By contrast, Apple has offered nothing but the

unsupported, entirely theoretical concern that opening up iOS to third-party distribution may

result in marginally more bad apps than already exist on the App Store (see § II.B.ii above).

       C.      Apple’s conduct caused antitrust injury to Epic.

               176.    The third and final element of Epic’s Section 2 claim requires that Epic

prove that Apple’s anti-competitive conduct caused Epic injury. The Court concludes that it did.

               177.    “[C]ausal antitrust injury is a substantive element of an antitrust claim”.

Somers v. Apple, Inc., 729 F.3d 953, 963 (9th Cir. 2013). “The four requirements for antitrust

injury are ‘(1) unlawful conduct, (2) causing an injury to the plaintiff, (3) that flows from that

which makes the conduct unlawful, and (4) that is of the type the antitrust laws were intended to

prevent.’” Feitelson v. Google Inc., 80 F. Supp. 3d 1019, 1027 (N.D. Cal. 2015) (quoting Am.

Ad Mgmt., Inc. v. Gen. Tel. Co. of Cal., 190 F. 3d 1051, 1055 (9th Cir. 1999)).

               178.    Epic has been injured as a would-be competing app distributor on iOS.

Epic currently distributes apps on PCs and Macs through a curated app store called the Epic

Games Store (“EGS”). (Sweeney Trial Tr. 121:23-25; Allison Trial Tr. 1198:18-20.) If EGS

were permitted on iOS, Epic would compete with Apple in the iOS App Distribution Market.

(Sweeney Trial Tr. 97:24-98:4 (“And finally our Epic Games Store business is harmed by

Apple’s policies because we are barred from introducing a version of our store for iOS. So we

can operate on PC and Mac, but we cannot, because of Apple’s policies, distribute apps on iOS,

and that locks us out of a very large worldwide business we would love to be in.”).) This would
                                                 72
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 512 of 644




allow Epic to earn revenue from the distribution of third-party apps as well as to grow the EGS

userbase to make it a more desirable storefront for consumers and developers alike. (Sweeney

Trial Tr. 97:24-98:4, 274:8 (“We aspire to have a store on many platforms.”), 330:19-24 (“You

can’t purchase a game on the Epic Games Store and then go to iOS, and if the game assist is also

available on iOS—you won’t own the game on iOS. You’d have to buy it again through Apple’s

store. So there is no cross-platform competition in many product categories because Apple

prohibits it.”).) Due to Apple’s restrictions, however, Epic has been denied these benefits and

has suffered antitrust injury. See Am. Ad Mgmt., Inc. v. Gen. Telephone Co., 190 F.3d 1051,

1057 (9th Cir. 1999) (recognizing “potential entrants” as market participants that can suffer

antitrust injury).

                179.   In addition, Epic has been injured as an app developer. Up until

August 13, 2020, Epic distributed Fortnite and certain other apps to iOS user through Apple’s

App Store. (Sweeney Trial Tr. 148:18-22.) Epic still distributes other game and non-game apps,

such as Houseparty, through the App Store. (Sweeney Trial Tr. 116:8-14.) Absent Apple’s

rules, Epic would distribute its apps through many different means, including from its website

like it does on PCs, Macs, and Android, through EGS like it does on PCs and Macs, and through

third-party iOS app stores. (Sweeney Trial Tr. 127:7-11.) By distributing its apps exclusively

through the App Store, Epic has paid supra-competitive commissions and received worse service

than it would receive in a competitive market. (Findings of Fact ¶ 39.)




                                                73
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 513 of 644




        D.     Epic should not be denied relief based on Apple’s meritless affirmative
               defenses.

               180.    The analysis is not quite yet over. A defendant is permitted to plead

affirmative defenses, which if proved shield the defendant from liability, even if the plaintiff has

proved each element of its claim.

               181.    Apple has alleged a kitchen sink of affirmative defenses—27 in total. It

has offered little to the Court by way of individualized explanation. (Apple’s Answer (ECF

No. 66) at pp. 36-41.) None justifies denying Epic relief.7

               i.      Unclean hands is not an affirmative defense to an antitrust action
                       (Affirmative Defense 12).

               182.    Apple has alleged that Epic’s “claims for injunctive relief are barred, in

whole or in part, by the doctrine of unclean hands”. (Apple’s Answer (ECF No. 66) at p. 40.)

               183.    “‘Unclean hands’ has not been recognized as a defense to an antitrust

action for many years”. Memorex Corp. v. Int’l Bus. Mach. Corp., 555 F.2d 1379, 1381 (9th Cir.

1977); see Broadcom Corp. v. Qualcomm Inc., 2009 WL 650576, at *11 (S.D. Cal. Mar. 11,

2009) (“The defense of unclean hands does not apply to antitrust claims.”); see also McMullen v.

Hoffman, 174 U.S. 639, 654 (1899); Cont’l Wall Paper Co. v. Louis Voight & Sons Co., 212 U.S.

227, 262 (1909); Perma Life Mufflers, Inc. v. Int’l Parts. Corp., 392 U.S. 134, 139 (1968);

Kaiser Steel Corp. v. Mullins, 455 U.S. 72, 77 (1982). Thus, the Court denies Apple’s unclean

hands defense as a matter of law.




    7
     Only certain of Apple’s many affirmative defenses are addressed here. Those that are not
addressed were not seriously urged at trial and/or can be rejected without meaningful discussion.
                                                 74
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 514 of 644




               184.    Even if the doctrine of unclean hands could bar antitrust claims (which it

cannot), Apple has not established the defense here on the facts.

               185.    To prevail on a defense of unclean hands, a defendant must prove by clear

and convincing evidence that (1) “the plaintiff’s conduct is inequitable”, and (2) “the conduct

relates to the subject matter of [the plaintiff’s] claims”. Fuddruckers, Inc. v. Doc’s B.R. Others,

Inc., 826 F.2d 837, 847 (9th Cir. 1987); see TrafficSchool.com, Inc. v. Edriver, Inc., 653 F.3d

820, 833 (9th Cir. 2011).

               186.    “[D]etermining whether the doctrine of unclean hands precludes relief

requires balancing the alleged wrongdoing of the plaintiff against that of the defendant, and

‘weigh[ing] the substance of the right asserted by [the] plaintiff against the transgression which,

it is contended, serves to foreclose that right.’” Northbay Wellness Grp., Inc. v. Bayries,

789 F.3d 956, 960 (9th Cir. 2015).

               187.    Here, while it is true that Epic implemented direct payment without

disclosing to Apple that it was doing so, Epic did so only because Epic knew that Apple would

use its monopoly power to reject this version of Fortnite if Apple knew that it contained a

payment processing interface that could provide users with more than one option for processing

in-app payments. (Findings of Fact § IX.N.) The Court has found that Apple’s conduct is

unlawful, and Epic’s efforts to gather facts to support its claims and challenge that unlawful

conduct does not rise to the level of unclean hands.




                                                 75
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 515 of 644




               ii.    Epic’s claims are not barred by the FTAIA or international comity
                      (Affirmative Defenses 6 and 7).

               188.   Apple has alleged two affirmative defenses based on the geographic scope

of Epic’s claims. Both defenses fail.

                      a.      The FTAIA does not bar Epic’s claims.

               189.   Apple has alleged that Epic’s “claims are barred, in whole or in part, by

the Foreign Trade Antitrust Improvements Act, 15 U.S.C. § 6a, insofar as Plaintiff makes claims

concerning transactions or alleged conduct involving trade or commerce with foreign nations

outside U.S. jurisdiction”. (Apple’s Answer (ECF No. 66) at p. 37.)

               190.   Apple’s conduct does “involve trade or commerce [with] . . . foreign

nations” to the extent that the scope of that conduct is worldwide. Apple requires developers to

sign its primary developer agreement—the Apple Developer Program License Agreement (the

“DPLA”)—worldwide; Apple applies the rules for its app review process, called the App Store

Review Guidelines (the “Guidelines”), worldwide; and Apple blocks direct downloading of apps

and app stores worldwide. (Findings of Fact ¶ 264, 268.)

               191.   But Apple is incorrect that the Foreign Trade Antitrust Improvements Act

(“FTAIA”) bars Epic’s claims in whole or in part.

               192.   The FTAIA provides in full:

               “Sections 1 to 7 of [the Sherman Act] shall not apply to conduct
               involving trade or commerce (other than import trade or import
               commerce) foreign nations unless—

               (1) such conduct has a direct, substantial, and reasonably
               foreseeable effect—



                                                76
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 516 of 644




                      (A) on trade or commerce which is not trade or commerce
                      with foreign nations, or on import trade or import
                      commerce with foreign nations; or

                      (B) on export trade or export commerce with foreign
                      nations, of a person engaged in such trade or commerce in
                      the United States; and

               (2) such effect gives rise to a claim under the provisions of sections
               1 to 7 of [the Sherman Act], other than this section.

               If sections 1 to 7 of [the Sherman Act] apply to such conduct only
               because of the operation of paragraph (1)(B), then sections 1 to 7
               of this title shall apply to such conduct only for injury to export
               business in the United States.” 15 U.S.C. § 6a.

               193.   The statute establishes a general proposition that the Sherman Act does

not apply to conduct involving foreign trade but provides two broad exceptions that, when boiled

down, demonstrate that the Sherman Act generally applies except to conduct that “adversely

affect[s] only foreign markets”. F. Hoffmann-La Roche Ltd. v. Empagran S.A., 542 U.S. 155,

161 (2004) (emphasis added); see also id. at 158 (explaining that the FTAIA “excludes from the

Sherman Act’s reach much anticompetitive conduct that causes only foreign injury” (emphasis

added)).

               194.   The FTAIA does not bar Epic’s claims for two independent reasons.

First, Apple’s conduct falls within the exception contained in paragraphs (1)(A) and (2).

Second, Apple’s conduct falls within the exception contained in paragraphs (1)(B) and (2).

               195.   Paragraphs (1)(A) and (2): Paragraph (1)(A) removes the general bar on

conduct involving foreign trade where the “conduct has a direct, substantial, and reasonably

foreseeable effect” on “trade or commerce which is not trade or commerce with foreign nations,

or on import trade or import commerce with foreign nations”. 15 U.S.C. § 6a(1)(A).

                                                77
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 517 of 644




               196.    A direct effect “follows as an immediate consequence of the defendant’s

activity”, “without deviation or interruption”. United States v. LSL Biotechnologies, 379 F.3d

672, 680 (9th Cir. 2004). An effect is substantial if it “involves a sufficient volume of U.S.

commerce” and is not “a mere ‘spillover effect’”. Sun Microsystems Inc. v. Hynix

Semiconductor Inc., 534 F. Supp. 2d 1101, 1110 (N.D. Cal. 2007). An effect is reasonably

foreseeable if it would “have been evident to a reasonable person making practical business

judgments”. Animal Sci. Prods., Inc. v. China Minmetals Corp., 654 F.3d 462, 471 (3d Cir.

2011).

               197.    Here, as a result of Apple’s restrictions, Epic cannot offer its distribution

services on iOS to other developers, whether foreign or domestic; distribute its apps on

alternative app stores created by app distributors, whether foreign or domestic; or engage the

services of in-app payment processors, whether foreign or domestic.8 The effect of this conduct

is direct, as Apple’s conduct expressly prohibits alternative app stores and non-IAP payment

methods. (Findings of Fact ¶¶ 264, 267, 353, 357.) The effect is also substantial, given the size

of the app economy, the relevant markets, and Epic’s userbase. (Findings of Fact ¶ 437.)

Finally, the effect is reasonably foreseeable, as Apple intends to foreclose alternative app stores

and non-IAP payment methods, both domestic and foreign. (Findings of Fact ¶¶ 264, 267, 353,

357.)




    8
      The Court discusses Apple’s payment processing restrictions in more detail below (see
§§ IV, V, VII), but references those restrictions here in the interest of not repeating the FTAIA
analysis.
                                                 78
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 518 of 644




               198.    Paragraph (2) requires that the “effect gives rise to a claim under the

provisions of sections 1 to 7 of [the Sherman Act]”. 15 U.S.C. § 6a. To show that an “effect

‘gives rise’ to the plaintiff’s injury”, courts apply a “proximate causation standard”, which means

that causation must be sufficiently direct. United States v. Hui Hsiung, 778 F.3d 738, 758-59

(9th Cir. 2015) (quoting In re Dynamic Random Access Memory (DRAM) Antitrust Litig.,

546 F.3d 981, 987 (9th Cir. 2008)).

               199.    Under paragraph (2), the effect “gives rise to a claim under the provisions

of sections 1 to 7 of [the Sherman Act]” because Epic’s claims arise in part from the fact that it

cannot distribute its apps on alternative app stores or use non-IAP payment methods, whether

foreign or domestic. (See §§ II.C, IV.B.iii.)

               200.    Because paragraphs (1)(A) and (2) of the FTAIA are satisfied, the statute

does not bar Epic’s claims.

               201.    Paragraphs (1)(B) and (2): Even if Epic could not satisfy

paragraphs (1)(A) and (2) (which it can), the FTAIA still would not bar Epic’s claim if Epic

could satisfy Paragraphs (1)(B) and (2). Epic can satisfy these paragraphs as well.

               202.    Under paragraph (1)(B), Apple’s conduct “has a direct, substantial, and

reasonably foreseeable effect . . . on export trade or export commerce with foreign nations, of a

person engaged in such trade or commerce in the United States”. 15 U.S.C. § 6a(1)(B).

               203.    Epic exports apps worldwide on iOS and sells in-app content to foreign

consumers, and, absent Apple’s anti-competitive conduct, would provide app distribution and in-

app payment processing services worldwide on iOS. Therefore, Epic is engaged in export

commerce. See TI Inv. Servs., LLC v. Microsoft Corp., 23 F. Supp. 3d 451, 469 (D.N.J. 2014)
                                                79
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 519 of 644




(holding that U.S. defendant’s sales of VoIP services to consumers in India constitute export

commerce under the FTAIA).

               204.    Apple prevents Epic from exporting Epic’s apps and selling in-app content

to foreign consumers through the channels of Epic’s choice, and prevents Epic from providing

any app distribution and in-app payment processing services worldwide on iOS. (Findings of

Fact §§ V.A, VI.D.) The effect of Apple’s conduct on export trade or commerce is direct, as

Apple’s conduct expressly forecloses alternative app stores and non-IAP payment methods.

(Findings of Fact §§ V.A, VI.D.) The effect is substantial, given the size of the app economy,

the relevant markets, and Epic’s userbase. (Findings of Fact ¶ 437.) Finally, the effect is

reasonably foreseeable, Apple intends to foreclose alternative app stores and non-IAP payment

methods. (Findings of Fact §§ V.A, VI.D.)

               205.    Under paragraph (2), the effect “gives rise to a claim under the provisions

of sections 1 to 7 of [the Sherman Act]” because Epic’s claim arises in part from the fact that

Epic cannot export its apps or sell in-app content to foreign consumers through the channels of

its choice, or provide any app distribution and in-app payment processing services worldwide on

iOS. (See §§ II.C, IV.B.iii.)

               206.    Because paragraphs (1)(B) and (2) of the FTAIA are satisfied, the statute

does not bar Epic’s claims.

                       b.       The doctrine of international comity does not bar Epic’s claims.

               207.    International comity refers to the respect owed by one sovereign to

another. Apple has alleged that Epic’s “claims are barred, in whole or in part, by the doctrine of



                                                 80
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 520 of 644




international comity, insofar as Plaintiff seeks injunctive relief affecting transactions and conduct

occurring outside U.S. jurisdiction”. (Apple’s Answer (ECF No. 66) at p. 37.) Apple is wrong.

                208.    The Sherman Act may reach overseas to protect against domestic antitrust

injury. “No one denies that America’s antitrust laws, when applied to foreign conduct, can

interfere with a foreign nation’s ability independently to regulate its own commercial affairs.

But our courts have long held that application of our antitrust laws to foreign anticompetitive

conduct is nonetheless reasonable, and hence consistent with principles of prescriptive comity,

insofar as they reflect a legislative effort to redress domestic antitrust injury that foreign

anticompetitive conduct has caused.” Hoffmann-La Roche, 542 U.S. at 165.

                209.    Courts in the Ninth Circuit consider a variety of factors when deciding

how much deference to give foreign interests. “The elements to be weighed include the degree

of conflict with foreign law or policy, the nationality or allegiance of the parties and the locations

or principal places of businesses or corporations, the extent to which enforcement by either state

can be expected to achieve compliance, the relative significance of effects on the United States

as compared with those elsewhere, the extent to which there is explicit purpose to harm or affect

American commerce, the foreseeability of such effect, and the relative importance to the

violations charged of conduct within the United States as compared with conduct abroad.”

Timberlane Lumber Co. v. Bank of Am., N.T. & S.A., 549 F.2d 597, 614 (9th Cir. 1976),

superseded by the FTAIA on other grounds.

                210.    The United States’ interests in this action are significant. Epic and Apple

are both incorporated and headquartered in the United States (Findings of Fact ¶¶ 42, 425), and



                                                  81
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 521 of 644




the DPLA is governed by “the laws of the United States and the State of California”. (PX-2619

(DPLA) § 14.10.)

                211.    By contrast, Apple has not pointed to any conflict between Epic’s

requested injunction and any foreign interests, much less provided evidence on the relative

importance of such interests. Apple has not proved this defense.

                iii.    Epic has not failed to join an indispensable party (Affirmative
                        Defense 11).

                212.    Apple has alleged that Epic “has failed to join all parties necessary for a

just adjudication of their purported claims”. (Apple’s Answer (ECF No. 66) at p. 38.) Although

it is not clear which parties Apple alleges are necessary, the Court understands that Apple alleges

that Epic’s corporate affiliates are necessary parties. This is incorrect.

                213.    Federal Rule of Civil Procedure 19 “establishes two broad categories of

required parties”. Ward v. Apple Inc., 791 F.3d 1041, 1048 (9th Cir. 2015). First, “a party is

‘required’ if, ‘in that person’s absence, the court cannot accord complete relief among existing

parties’”. Id. (quoting Fed. R. Civ. P. 19(a)(1)(A)). Second, a “party is required if: that person

claims an interest relating to the subject of the action and is so situated that disposing of the

action in the person’s absence may: (i) as a practical matter impair or impede the person’s ability

to protect the interest; or (ii) leave an existing party subject to a substantial risk of incurring

double, multiple, or otherwise inconsistent obligations because of the interest”. Id. (quoting Fed.

R. Civ. P. 19(a)(1)(B)).




                                                   82
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 522 of 644




                214.    The party asserting the absence of a necessary party bears the burden of

persuasion. Makah Indian Tribe v. Verity, 910 F.2d 555, 558 (9th Cir. 1990). Apple has not met

its burden.

                215.    Epic’s affiliates are not necessary parties under the first category. Epic’s

requested injunction restrains Apple, which is a party. The fact that Epic’s affiliates may be

benefited by the injunction does not make them necessary parties. As explained below, the

Court can grant injunctive relief that affects persons beyond the parties. (See Error! Reference

source not found. below.)

                216.    Further, Epic’s affiliates are not necessary parties under the second

category. Apple cannot be concerned that Epic’s affiliates’ absence will “as a practical matter

impair or impede [their] ability to protect the[ir] interest”. Fed. R. Civ. P. 19(a)(1)(B)(i). Nor

will Apple be “subject to a substantial risk of incurring double, multiple, or otherwise

inconsistent obligations” based on Epic’s affiliates’ absence. Fed. R. Civ. P. 19(a)(1)(B)(ii).

Epic is not seeking any monetary damages in this case, and the injunctive relief it is seeking is

the same as it would be if all of its affiliates were also plaintiffs here.

                iv.     Epic has not waived, and is not estopped from asserting, any claims
                        (Affirmative Defenses 18 and 19).

                217.    Apple alleges that “claims are barred, in whole or in part, by the doctrine

of waiver [and estoppel], including because Plaintiff renewed the term of the License Agreement

on June 30, 2020—the same day that its CEO Tim Sweeney contacted Apple to request a ‘side

letter’ exempting Plaintiff from certain obligations under the License Agreement. Apple denied

the request, and Plaintiff continued to enjoy the benefits of the License Agreement. Thus, the


                                                   83
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 523 of 644




doctrine of waiver bars Plaintiff’s claims, in whole or in part.” (Apple’s Answer (ECF No. 66) at

pp. 39-40.) Neither defense applies here.

                       a.      Waiver

               218.    “‘[W]aiver’ means the intentional relinquishment or abandonment of a

known right. Waiver requires an existing right, the waiving party’s knowledge of that right, and

the party’s actual intention to relinquish the right.” Lynch v. Cal. Coastal Comm’n, 3 Cal. 5th

470, 475 (2017) (citations and quotation marks omitted). “Waiver always rests upon intent. The

intention may be express, based on the waiving party’s words, or implied, based on conduct that

is so inconsistent with an intent to enforce the right as to induce a reasonable belief that such

right has been relinquished.” Id. (citations and quotation marks omitted).

               219.    Epic did not waive its claims. On June 30, 2020, Epic asked Apple to

permit alternative app stores and non-IAP payment methods on iOS. (PX-2457.1.) Apple

subsequently rejected Epic’s requests. (Sweeney Trial Tr. 88:1-17.) On July 17, 2020, Epic

responded that “Epic is in a state of substantial disagreement with Apple’s policy and practices,

and we will continue to pursue this”. (PX-2458.1.) Epic entered into a renewal of the DPLA on

June 30, 2020—before Apple rejected Epic’s requests and only because Apple required it in

order for Epic to continue in the Developer Program. Apple’s argument that Epic intended to

waive its claims against Apple is without evidentiary support.

                       b.      Equitable estoppel.

               220.    “Equitable estoppel precludes a party from claiming the benefits of a

contract while simultaneously attempting to avoid the burdens that contract imposes.” Comer v.



                                                 84
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 524 of 644




Micor, Inc., 436 F.3d 1098, 1101 (9th Cir. 2006) (quotation marks omitted); accord Kramer v.

Toyota Motor Corp., 705 F.3d 1122, 1128 (9th Cir. 2013).

               221.    To establish an equitable estoppel defense, Apple must prove that

“(1) [Epic] was aware of the true facts; (2) [Epic] intended its representation to be acted on or

acted such that [Apple] had a right to believe it so intended; (3) [Apple was] ignorant of the true

facts; and (4) [Apple] relied on [Epic’s] representation to [its] detriment.” Acri v. Int’l Ass’n of

Machinists & Aerospace Workers, 781 F.2d 1393, 1398 (9th Cir. 1986); accord Strong v. Cty. of

Santa Cruz, 15 Cal. 3d. 720, 725 (1975). Equitable estoppel applies “where the conduct of one

side has induced the other to take such a position that it would be injured if the first should be

permitted to repudiate its acts.” Old Republic Ins. Co. v. FSR Brokerage, Inc., 80 Cal. App. 4th

666, 678 (2000).

               222.    Apple’s argument that Epic should be equitably estopped from asserting

its claims against Apple fails for similar reasons as waiver. Epic did not “intend[] its

representation to be acted on” and Apple was not “ignorant of the true facts”, Acri, 781 F.2d

at 1398, because Epic made no representation that it would not pursue its claims. Instead, Epic

wrote the opposite: “Epic is in a state of substantial disagreement with Apple’s policy and

practices, and we will continue to pursue this”. (PX-2458.1.) Further, Apple has not pointed to

any evidence that it “relied on” the exchange in the summer of 2020 “to [its] detriment”. Acri,

781 F.2d at 1398.




                                                 85
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 525 of 644




               v.        Epic did not ratify, agree to, acquiesce in, or consent to Apple’s conduct
                         (Affirmative Defense 8).

               223.      Apple alleges that Epic’s “claims are barred, in whole or in part, because

of Plaintiff’s ratification, agreement, acquiescence, authorization, or consent to Apple’s alleged

conduct, including by renewing the term of the License Agreement on June 30, 2020—the same

day that its CEO Tim Sweeney contacted Apple to request a ‘side letter’ exempting Plaintiff

from certain obligations under the License Agreement. Apple denied the request, and Plaintiff

continued to enjoy the benefits of the License Agreement, thereby ratifying, agreeing to,

acquiescing, authorizing, and/or consenting to Apple’s alleged conduct.” (Apple’s Answer (ECF

No. 66) at pp. 39-40.)

               224.      It is unclear which doctrine Apple seeks to apply here, and Apple states

that “[r]atification, agreement, acquiescence, and consent are alternative formulations of waiver

and estoppel”. (Apple’s 5/21/21 COL ¶ 542.8.) Regardless, the Court rejects this affirmative

defense because Epic did not ratify, agree to, acquiesce in, or consent to Apple’s conduct. In

June 2020, Epic entered into a renewal of the DPLA because Apple required it. (Grant Trial Tr.

721:24-722:1.) There is no evidence that Epic intended to ratify, agree to, acquiesce in, or

consent to Apple’s conduct by this renewal. Nor is there any evidence that Apple understood

Epic to have ratified, agreed to, acquiesced in, or consented to Apple’s conduct by this renewal.

To the contrary, Epic explained within weeks that “Epic is in a state of substantial disagreement

with Apple’s policy and practices, and we will continue to pursue this”. (PX-2458.1.)

               225.      The Court rejects these affirmative defenses.




                                                  86
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 526 of 644




               vi.     The Noerr-Pennington doctrine does not apply here (Affirmative
                       Defense 14).

               226.    Apple has alleged that Epic’s “claims are barred, in whole or in part,

insofar as they challenge the exercise of rights protected by the First Amendment of the United

States Constitution, by Article I, Section 3 of the California Constitution, and by the Noerr-

Pennington doctrine”. (Apple’s Answer (ECF No. 66) at pp. 40-41.)

               227.    The Noerr-Pennington doctrine allows private citizens to exercise their

First Amendment rights to petition the government without fear of antitrust liability. See Eastern

R.R. Presidents Conference v. Noerr Motor Freight, Inc., 365 U.S. 127 (1961); United Mine

Workers of Am. v. Pennington, 381 U.S. 657 (1965).

               228.    As discussed in more detail below (see § XIII.D below), Apple seeks a

declaration that the Developer Agreement and DPLA are lawful contracts, that Apple’s

terminations of the Developer Agreement and DPLA with Epic were lawful, and that Apple has

the contractual right to terminate the Developer Agreements and DPLAs with Epic’s affiliates.

(Legal Framework, App’x A (ECF No. 276-1) at 8-9; see also Apple’s Answer (ECF No. 66) at

p. 65.) Apple argues that this request for a declaration is protected by the Noerr-Pennington

doctrine.

               229.    The Noerr-Pennington doctrine does not apply here because Epic does not

argue that Apple’s request for this declaration violates the antitrust laws. Instead, Epic argues

that Apple’s termination or threatened termination of these contracts (i.e., Apple’s retaliation

against Epic for implementing Epic direct payment) violates the antitrust laws. That Apple has

sought a declaration does not immunize Apple’s underlying conduct from liability.


                                                 87
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 527 of 644




                vii.    Epic’s claims are not barred by the statute of limitations nor the equitable
                        doctrine of laches (Affirmative Defenses 9 and 17).

                230.    Apple alleges that Epic’s “claims are barred in whole or in part by the

statute of limitations applicable to its respective claims”, or “by the doctrine of laches”. (Apple’s

Answer (ECF No. 66) at pp. 38-39.) The Court concludes otherwise.

                        a.      Epic’s claims are not barred by any statutes of limitations.

                231.    Epic’s claims are not barred by any statutes of limitations.

                232.    Statutes of limitations refer to the time period during which a claim must

be brought. “Unlike damages claims under section 4 [of the Clayton Act], which are subject to

section 4B’s four-year statute of limitations, there is no statute of limitations for injunctive relief

claims under section 16.” Oliver v. SD-3C LLC, 751 F.3d 1081, 1085 (9th Cir. 2014).

                233.    Therefore, Epic’s Section 2 claim is not barred by any statute of

limitations because no such statute applies to them. See id.

                        b.      Epic’s claims are not barred by laches.

                234.    “Laches is an equitable defense that prevents a plaintiff, who with full

knowledge of the facts, acquiesces in a transaction and sleeps upon his rights.” Danjaq LLC v.

Sony Corp., 263 F.3d 942, 950-51 (9th Cir. 2001). A defendant must prove that (1) the plaintiff

delayed in initiating the lawsuit; (2) the delay was unreasonable; and (3) the delay resulted in

prejudice to the defendant. Id.

                235.    “Claims for injunctive relief . . . [under the Clayton Act] are subject to the

equitable defense of laches”. Oliver, 751 F.3d at 1085. “[I]n computing the laches period,




                                                  88
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 528 of 644




section 4B’s four-year statute of limitation is used as a guideline”. Id. at 1086 (internal quotation

marks omitted).

               236.    Epic did not unreasonably delay pursuing its claims—there is simply no

basis for an assertion of laches. Nearly all of the actions involving Epic in this case have

occurred within the last four years. Fortnite launched on iOS in April 2018; EGS launched in

December 2018; Epic entered into a renewal of the DPLA in June 2020; Epic launched Epic

direct payment on iOS in August 2020; and Apple removed Fortnite from the App Store in

August 2020. (Findings of Fact ¶¶ 447, 458, 528; Grant Trial Tr. 721:24-722:1.) Because Epic

was “injured within the four-year limitations period”, “laches does not bar [its] federal antitrust

claim”. Oliver, 751 F.3d at 1087.

               237.    Further, even if Epic had unreasonably delayed (which it did not), Apple

suffered no prejudice. Citing no evidence, Apple asserts that “Epic induced Apple to continue to

make significant investments in the App Store . . . for the past ten years”. (Apple’s 4/21/21 COL

¶ 574.) Apple pressed forward with the App Store busines model because it was minting

money—not because it believed that Epic (one of millions of developers) was content. In any

event, Apple has been engaged in continuous litigation over the App Store since at least 2011,

when a putative class of consumer plaintiffs filed suit in a related action. (Pepper v. Apple Inc.,

Case No. 4:11-cv-06714-YGR-TSH (N.D. Cal.), ECF No. 1.) Any alleged delay by Epic in

suing over related conduct could not have prejudiced Apple.

                                          *      *       *




                                                 89
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 529 of 644




                238.    For the foregoing reasons, the Court does not sustain any of Apple’s

affirmative defenses, and finds Apple liable for unlawfully maintaining its monopoly in the iOS

App Distribution Market.

III.    SECTION 2 OF THE SHERMAN ACT: APPLE’S DENIAL OF AN ESSENTIAL
        FACILITY IN THE IOS APP DISTRIBUTION MARKET (COUNT 2).

                239.    Epic alleges that Apple is a monopolist in an essential facility—the iOS

operating system. According to Epic, access to iOS is necessary for app distributors to distribute

apps on iOS, and Apple denies access to all distributors, thereby foreclosing competition in the

iOS App Distribution Market. The Court agrees with Epic. This claim, a so-called “essential

facility” claim, is an independent basis for Apple’s liability under Section 2.

                240.    The Ninth Circuit has consistently recognized essential facility claims

under Section 2 of the Sherman Act. Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171,

1185 (9th Cir. 2016); MetroNet Servs. Corp. v. Qwest Corp., 383 F.3d 1124, 1128-29 (9th Cir.

2004); City of Anaheim v. S. Cal. Edison Co., 955 F.2d 1373, 1379 (9th Cir. 1992).

                241.    The legal elements of an essential facility claim under governing Ninth

Circuit precedent are undisputed. (Legal Framework (ECF No. 276) at 68.) To establish such a

claim, a plaintiff must show that (1) the defendant is “a monopolist in control of an essential

facility”; (2) the plaintiff “is unable reasonably or practically to duplicate the facility”; (3) the

defendant “has refused to provide [the plaintiff] access to the facility”; and (4) “it is feasible for

[the defendant] to provide such access”. Aerotec, 836 F.3d at 1185; Metronet, 383 F.3d at 1128-

29; Alaska Airlines, Inc. v. United Airlines, Inc., 948 F.2d 536, 542-46 (9th Cir. 1991). Epic has

met its burden on each of these elements.


                                                   90
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 530 of 644




                242.    Epic has proved that (1) Apple is a monopolist in control of the iOS

platform, which is an essential facility in the iOS App Distribution Market (§ III.A); (2) it is not

possible for Epic reasonably or practicably to duplicate the iOS platform (§ III.B); (3) Apple has

refused to give Epic access to the iOS platform in Epic’s capacity as a potential app distributor

(§ III.C); and (4) Apple could feasibly provide Epic with access to the iOS platform for the

purpose of distributing apps (§ III.D).

                243.    Epic, as a potential competitor of Apple with respect to the essential

facility at issue here, has standing to bring this essential facility claim against Apple (§ III.E).

        A.      Apple is a monopolist in control of an essential facility—the iOS platform.

                244.    “Essential facility” is a term of art under the antitrust laws. “[W]hat

makes a facility essential is not the nature of the facility itself, but the effect upon competition

that withholding the facility might have.” City of Anaheim, 955 F.2d at 1380.

                245.    “A facility that is controlled by a single firm will be considered ‘essential’

only if control of the facility carries with it the power to eliminate competition in the downstream

market.” Alaska Airlines, 948 F.2d at 544; see also Aerotec, 836 F.3d at 1184 (an essential

facility is “critical[ ] to competition”).

                246.    Here, Apple plainly exercises complete control over the iOS platform.

See MCI Commc’ns Corp. v. Am. Tel. & Tel. Co., 708 F.2d 1081, 1133 (7th Cir. 1983) (affirming

jury verdict on essential facilities claim where defendant “had complete control” over the

necessary facilities). Apple develops iOS. (DX-4581.004; Findings of Fact ¶¶ 45-46.) Apple

installs iOS on only Apple devices, and does not license iOS to other original equipment

manufacturers. (Schiller Trial Tr. 3107:12-13; Cook Trial Tr. 3885:17-18; Findings of Fact
                                                  91
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 531 of 644




¶ 166.) Apple establishes the terms and conditions upon which consumers and developers

interact with iOS. (Findings of Fact § II.A.)

               247.    It is indisputable that Apple has the power to eliminate competition

downstream—and that it in fact does eliminate competition downstream. Apple offers myriad

downstream services such as Apple Music, Apple TV+, as well as app distribution; Apple

currently uses its control over the iOS platform to eliminate competition in the downstream iOS

App Distribution Market, but that is no different from Apple decreeing that it will not allow

Spotify or Netflix on iOS because those apps compete with its own. According to Apple, that is

exactly what Apple has not only the power to do, but the right under the law to do. That is not

so.

               248.    Apple technologically blocks consumers from downloading native apps

through any channel except the App Store. (Findings of Fact ¶ 259.) App distributors cannot

compete by making apps available to consumers through a website. (Findings of Fact ¶ 268.)

Apple also conditions all app developers’ access to iOS on the developers’ agreement to

distribute their apps solely through the App Store. (Findings of Fact § IV.A.) Thus, developers

with access to iOS are contractually prohibited from competing with Apple as app distributors.

               249.    Apple has intentionally created an ecosystem that rendered the iOS

platform an essential facility: it has locked in consumers as well as developers, and it has

eliminated all competitive options for downstream iOS App Distribution Market. Because app

distributors cannot compete in the iOS App Distribution Market without access to iOS, iOS is an

essential facility. See Sumotext Corp. v. Zoove, Inc., Case No. 16-cv-01370-BLF, 2020 WL

127671, at *10 (N.D. Cal. Jan. 10, 2020) (denying summary judgment and allowing essential
                                                92
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 532 of 644




facilities claim to proceed to trial where access to the facility was essential to compete in the

market).

               250.    Apple has argued that its ownership of intellectual property, such as

Apple’s patents, copyrights, or trademarks related to iOS prevent this Court from finding that

iOS is an essential facility. This argument is without merit.

               251.    Intellectual property rights provide their owner with the right to exclude

others; nothing more. See Siemens Med. Sol. U.S., Inc. v. St.-Gobain Ceramics & Plastics, Inc.,

647 F.3d 1373, 1374-75 (Fed. Cir. 2011) (Lourie, J. concurring) (“As we have long recognized,

however, each patent grants only a right to exclude.”). It is now axiomatic, however, that “a

patent does not necessarily confer market power upon the patentee”. Ill. Tool Works Inc. v.

Indep. Ink, Inc., 547 U.S. 28, 46 (2006). Where there is no market power, conduct related to

patents raises no antitrust concerns. Where a firm does have market power, however, the fact

that it also has intellectual property rights does not give it free rein to misuse that power to harm

competition. As this Court found at the preliminary injunction stage, “intellectual property rights

do not confer a privilege to violate the antitrust laws”. Epic, 493 F. Supp. 3d at 837 n.17

(internal quotation marks omitted). Indeed, the law is full of examples where courts condemn

the misuse of market power over products or technologies that are protected by intellectual

property rights. See, e.g., Microsoft, 253 F.3d at 63 (rejecting as “border[ing] upon the

frivolous” Microsoft’s argument that it had “an absolute and unfettered right to use its

intellectual property as it wishes”); Actavis, 787 F.3d at 660 (affirming order granting

preliminary injunction in antitrust case and rejecting defendant’s argument that its patent gave it

an “absolute and unfettered right to use its intellectual property as it wishes” (internal quotation
                                                 93
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 533 of 644




marks omitted)). Apple’s intellectual property gave Apple the right to prevent all third parties

from writing apps for use on iOS. Apple chose not to exercise that right, but instead to make its

intellectual property widely available to developers—as long as they commit not to compete with

it on iOS app distribution. As a result, an aftermarket emerged in which Apple has monopoly

power. Apple cannot escape the ramifications of its decision to open iOS and the market

realities that decision created.

                252.    In sum, there is no legal principle that exempts iOS from the essential

facility doctrine so long as all of the other elements have been met. See Bellsouth Advert. &

Publ’g Corp. v. Donnelley Info. Publ’g, Inc., 719 F. Supp. 1551, 1566 (S.D. Fla. 1988), rev’d on

other grounds, 999 F.2d 1436 (11th Cir. 1993) (“Although the doctrine of essential facilities has

been applied predominantly to tangible assets, there is no reason why it could not apply, as in

this case, to information wrongfully withheld” because the “effect in both situations is the same:

a party is prevented from sharing in something essential to compete”.).

                253.    Therefore, the Court concludes that Apple is a monopolist in control of an

essential facility.

        B.      Epic is unable to reasonably or practically duplicate the iOS platform.

                254.    The second element of an essential facility claim relates to the plaintiff’s

ability to duplicate the facility. “A facility is ‘essential’ only if it is ‘otherwise unavailable and

cannot be reasonably or practically replicated.’” MetroNet Servs., 383 F.3d at 1129-30.

                255.    Epic cannot possibly duplicate the iOS platform. If Epic did go to the

enormous lengths necessary to develop a competing smartphone operating system, by definition,

it would give rise to an entirely different platform. Thus, doing so would not permit competition
                                                  94
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 534 of 644




in the iOS App Distribution Market because, as noted, apps developed for one operating system

do not work on other operating systems. Apple is the sole gatekeeper for the iOS platform and

without its permission, Epic cannot compete in the iOS App Distribution Market.

       C.      Apple has refused to provide Epic—as an app distributor—access to the iOS
               platform.

               256.   The third element requires that a plaintiff show that the defendant denied

access to the alleged essential facility. MetroNet Servs., 383 F.3d at 1129; Aerotec, 836 F.3d

at 1185.

               257.   Here, Apple denies potential app distributors like Epic access to iOS

outright. As explained above, Apple technologically blocks app distributors from making apps

or app stores available on websites for download by consumers. (Findings of Fact ¶ 268.)

Apple’s “FEAR team” has been tasked with preventing “illicit” distribution. (Findings of Fact

¶ 647.) When Epic requested that Apple permit Epic to distribute a mobile version of EGS that

would distribute iOS apps to consumers, Apple refused. (Findings of Fact ¶¶ 524-525.)

               258.   Apple, of course, has provided Epic access to the iOS platform in Epic’s

capacity as an app developer. But that is not the focus of Epic’s essential facility claim. Apple

argues elsewhere that “the ‘crux’ of Epic’s complaint is that Apple’s conduct has unfairly injured

its economic interest in that it may not distribute iOS apps through EGS”. (Apple’s 5/21/21

COL ¶ 624.) As noted, Apple conditions access to the App Store, and thus to iOS users, on the

requirement that developers not compete with Apple in the downstream iOS App Distribution

Market. (PX-2619 (DPLA) §§ 3.2(g), 3.3.2, 7.6; PX-2790 (Guidelines) § 3.2.2(i).) Apple

vigorously enforces these agreements and removes apps from iOS that operate as app stores.


                                                95
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 535 of 644




(Finding of Fact § V.E.) The fact that Epic is able to access the iOS platform as a developer,

then, does not change the fact that Epic is not permitted to access the iOS platform as a

competing app distributor.

               259.    Accordingly, Apple denies Epic access to the iOS platform.

       D.      It is feasible for Apple to provide access to the iOS platform.

               260.    For denial of access to give rise to liability, it must be technically and

practicably feasible for the monopolist to give competitors access to its essential facility. MCI,

708 F.2d at 1133; see also Hecht v. Pro-Football, Inc., 570 F.2d 982, 992-93 (D.C. Cir. 1977).

               261.    The Court finds that it is both technically and practically feasible for

Apple to allow access. iOS already has the capability to permit third parties to make apps

available to users directly, rather than the App Store. Apple’s Developer Enterprise Program

permits employers to distribute apps directly to their employee, without going through the App

Store or Apple’s App Review. (Findings of Fact ¶ 268.)

               262.    Again here, macOS is instructive. Apple allows app distributors to

distribute apps to consumers outside of the Mac App Store on macOS. (Findings of Fact ¶ 305)

Scott Forstall, the architect of iOS, testified that iOS was based on macOS (Ex. Depo. 4 at 57:2-

5, 64:19-21 (Forstall)), and that while “the technical infrastructure . . . will allow for other

distribution mechanisms”, it is not Apple’s “policy . . . to allow that” (Ex. Depo. 4 at 129:8-24,

130:5-12 (Forstall)). There is no evidence that it would be infeasible to change that policy now.

               263.    Finally, contrary to Apple’s previous assertion (see Legal Framework

(ECF No. 276) at 81), there is no requirement that, to prove feasibility, a plaintiff must prove that

the defendant provided access to others in the ordinary course of business. The Ninth Circuit has
                                                  96
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 536 of 644




never adopted such a requirement. See, e.g., City of Anaheim, 955 F.2d at 1380 (discussing

feasibility requirement without mentioning the monopolist’s “ordinary course of business”).

Moreover, the out of circuit case on which Apple relies, Laurel Sand & Gravel, Inc. v. CSX

Transp., Inc., 924 F.2d 539 (4th Cir. 1991), did not establish such a rule but instead looked to the

defendant’s prior practices as support for finding that the defendant “ha[d] articulated a number

of legitimate business reasons for refusing” access. Id. at 545.

               264.    In any event, as described above, Apple does provide third parties access

to the iOS platform through the Developer Enterprise Program in the ordinary course—albeit on

the condition that they agree not to compete with Apple by distributing apps to consumers. (See

Federighi Trial Tr. 3411:21-3412:12; PX-2519.1.)9

        E.     Epic has standing, as a potential competitor, to bring its essential facility
               claim.

               265.    Finally, the Court addresses Epic’s standing to bring an essential facility

claim. Standing essentially asks the question of whether this plaintiff is the right type of plaintiff

to bring the claim. The Court finds that Epic has standing.

               266.    Both current and potential competitors have standing to bring an essential

facility claim. Apple itself acknowledged this principle in a related case. See Pistacchio v.

Apple Inc., Case No. 4:20-cv-07034-YGR (N.D. Cal.), ECF No. 37 at 18 (“Only actual or




    9
      Courts have noted that the fourth element of an essential facility claim “basically raises the
familiar question of whether there is a legitimate business justification for the refusal to provide
the facility”. City of Anaheim, 955 F.2d at 1380 (citations omitted). As explained above, Apple
has no legitimate business justification for its refusal to provide Epic and other app distributors
access to the iOS platform. (See § II.B.ii above.)
                                                 97
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 537 of 644




potential competitors of the defendant may claim access to an essential facility.” (internal

quotation marks and citation omitted)).

                267.    Potential competitor standing furthers the purpose of the essential facility

doctrine, which is to prevent the monopolist from “extend[ing] monopoly power from one stage

of production to another, and from one market into another”. City of Anaheim, 955 F.2d at 1379

(internal quotation marks and citation omitted). Where, as here, the monopolist has foreclosed

all competition in the downstream market, only potential competitors can further this purpose.

                268.    Accordingly, the courts of appeals regularly explain the doctrine in terms

of both actual and potential competitors. See, e.g., Ferguson v. Greater Pocatello Chamber of

Com., Inc., 848 F.2d 976, 983 (9th Cir. 1988); MCI, 708 F.2d at 1147 n.100.

                269.    Here, Epic is a potential competitor of Apple in the iOS App Distribution

Market. Epic has an app store—EGS—on both PCs and Macs, and would bring EGS to iOS but

for Apple’s refusal of access to iOS. (Findings of Fact ¶¶ 524-525.) Therefore, Epic has

standing as a potential competitor to bring its essential facility claim. See Ferguson, 848 F.2d

at 983; MCI, 708 F.2d at 1147 n.100.

                270.    For the foregoing reasons, the Court holds that Apple has denied access to

an essential facility in violation of Section 2.10




    10
       To the extent that Apple asserts as affirmative defenses to Count 2 the same affirmative
defenses addressed above in the context of Count 1 (monopoly maintenance in the iOS App
Distribution Market), the Court denies those affirmative defenses with respect to Count 2 (denial
of essential facility in the iOS App Distribution Market) for the same reasons. (See § II.D
above.)
                                                     98
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 538 of 644




IV.    SECTION 2 OF THE SHERMAN ACT: APPLE’S MONOPOLY
       MAINTENANCE OF THE IOS IN-APP PAYMENT SOLUTIONS MARKET
       (COUNT 4).

               271.    After the App Store launched in 2008, certain developers followed a

business model that would come to dominate the App Store. They made their apps available for

free or for a modest fee, and then charged users for additional content available in their apps

(“in-app purchases”). (Findings of Fact ¶ 116.) To manage these payments, developers were

free to design their own user interface, select a payment processor, establish their own payment

solution, and own all aspects of that interaction with their customer. (Findings of Fact ¶116.)

               272.    In 2009, Apple eliminated this flexibility and mandated that all developers

offering in-app purchases of digital content use Apple’s own payment processing system, known

as In-App Purchase (“IAP”). (Findings of Fact ¶¶ 119, 127, 296.) The IAP mandate usurped

developers’ direct relationships with their customers and diverted all payments by consumers

through Apple, which extracts a 30% commission, before passing on the remainder to the

developer. (Findings of Fact ¶¶ 119, 127, 278, 296.) Developers—who had previously handled

transactions in a variety of ways and for a fraction of the 30% that Apple now charged (Findings

of Fact ¶ 116)—had two choices: accept Apple’s terms, or change their business model (either

by ceasing to offer in-app purchases or by getting off iOS).

               273.    Apple’s enforcement of IAP is contractual. The evidence at trial

demonstrated that it is not technically necessary. (Findings of Fact ¶ 367, § XII.) Indeed, the

fact that the App Store was launched and opened to third parties before IAP was introduced

demonstrates that developers had a way of completing in-app purchases before IAP existed.

(Findings of Fact ¶¶116, 702.) Moreover, to this day, apps that sell physical goods and services,
                                                99
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 539 of 644




such as clothing or ride shares, continue to manage payments outside the IAP system, using

payment solutions of their choice.

                274.   The IAP requirement is an express provision of the DPLA, which specifies

that, subject to exceptions not relevant here, no app may “provide, unlock or enable additional

features or functionality” other than through IAP. (PX-2619 (DPLA) § 3.3.3.) The result of this

prohibition is that developers are prohibited from using competing payment solutions for in-app

purchases of digital content. To police this requirement, the “App Store Review Guidelines”

make clear that apps will be rejected if they contain a competing payment solution for such

purchases. (PX-2790 (App Store Review Guidelines) § 3.1.1; PX-2558 § 3.1.1.)

                275.   Epic alleges that by the foregoing actions, Apple has monopolized a

separate aftermarket on the iOS platform—the iOS In-App Payment Solutions Market. The

Court agrees.

                276.   The elements for a Section 2 claim are discussed above: monopoly power

in a relevant market; willful maintenance of that monopoly; and injury to the plaintiff. (See § II

above.) Epic has established each of these elements for its claim that Apple unlawfully

maintains its monopoly in the iOS In-App Payment Solutions Market. (See §§ IV.A-C below.)

       A.       Apple possesses monopoly power in the iOS In-App Payment Solutions
                Market.

                277.   Epic has established that there is an aftermarket for solutions for accepting

and processing payments for the purchase of digital content (the “iOS In-App Payment Solutions

Market”) (§ IV.A.i below), and that Apple has monopoly power in this market (§ IV.A.ii below).




                                                100
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 540 of 644




               i.     There is an aftermarket for solutions for accepting and processing
                      payments for the purchase of digital content within iOS apps.

               278.   The legal standard for market definition is discussed above; it considers

potential substitutes for the products at issue and the geographic scope of competition. (See

§ II.A.i above.)

               279.   The Court finds that the iOS In-App Payment Solutions Market is a

properly defined market.

               280.   As noted, many developers monetize their apps by offering in-app

purchases, and many consumers desire the additional content available for purchase within apps.

Therefore, both consumers and developers demand seamless and convenient solutions for

accepting and processing payments for digital content in apps. (Findings of Fact § VI.A.)

               281.   The evidence at trial demonstrated that the possibility of purchasing digital

content outside of an app is not a substitute for in-app purchasing. In-app purchases are more

convenient. Leaving the app to make a purchase generally takes additional time and requires

additional steps, and so users prefer not to leave the app. Convenience is particularly important

for in-app purchases, many of which are small or time-sensitive. An extended delay may cause

the consumer to second-guess and no longer make the purchase, costing the developer sales.

(Findings of Fact § VI.A.) As a result, in-app payment processing solutions are the only

effective alternative for in-app purchases. Other solutions involve too much friction.

               282.   This type of friction also explains why the possibility of users purchasing

in-app content on an iOS web browser or on other platforms, and transferring that content to iOS

apps, does not discipline Apple. At trial, Apple offered evidence of a handful of apps that allow


                                               101
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 541 of 644




such cross-platform functionality. Apple did not prove that the number of apps offering this

functionality is significant, or point to any contemporaneous evidence that, when making

decisions about IAP, Apple considers how users or developers might substitute to this

functionality.

                 283.   While it is true that Apple does not impose its IAP requirement on all app

developers—and indeed requires developers that sell physical goods and services on iOS to use

payment solutions other than IAP—that does not defeat Epic’s proposed market for payment

solutions relating to digital content purchased within an app. That is because Apple targets

developers who offer in-app purchases of digital content and is able to raise the price on those

customers above a competitive level without causing sufficient substitution to make that price

increase unprofitable. Developers of other apps, such as those that sell physical goods and

services, are not a source of customers whose substitution would constrain the price increase. As

the Department of Justice and Federal Trade Commission have explained in their Horizontal

Merger Guidelines, “[i]f a hypothetical monopolist could profitably target a subset of customers

for price increases”, then relevant markets can be “defined around those targeted customers, to

whom a hypothetical monopolist would profitably and separately impose at least a SSNIP”. U.S.

Dep’t of Justice & Fed. Trade Comm’n, Horizontal Merger Guidelines § 4.1.4 (2010).

                 284.   The “targeted customers” here are developers who offer digital content for

in-app purchase; for such developers, other forms of earning revenue from their apps are not

sufficient substitutes to discipline a price increase. As noted, directing customers to make

purchases outside the app would be a qualitatively different experience that would substantially

decrease the volume of purchases. In any event, Apple expressly forbids app developers from
                                                102
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 542 of 644




informing customers that making purchases of digital content outside the app is even an option.

(PX-2790 (App Store Review Guidelines) § 3.1.1; PX-2558 § 3.1.1.) Likewise, ceasing to offer

in-app purchases and moving to an advertising-based model would entail material changes to the

app experience. To use Fortnite as an example, putting advertisements inside the game would

fundamentally alter gameplay, dilute the immersive nature of the app and force changes on the

game’s aesthetic. (Weissinger Trial Tr. 1305:22-1306:7 (“Philosophically we just would never

[offer in-app advertising]. Ads are a terrible experience”.).) Very few developers would find it

an appropriate substitute to make such radical changes to their business model in response to a

SSNIP on the price of payment solutions for in-app purchases. (Evans Trial Tr. 1603:19-1604:6;

see also Weissinger Trial Tr. 1305:25-1306:7 (“This one is pretty easy to understand. If you

have ever . . . watched a movie on cable and you’ve got an ad in your face every . . . ten minutes

. . . versus just streaming something on Netflix from start to finish, I think it’s pretty easy to see

that that is a superior experience. The ad free experience is superior. That is Fortnite to the tee.

We do not want that.”).) Changing their business model to the sale of physical goods and

services would of course be an even larger tectonic shift in their business, unlikely to occur in

sufficient numbers to make a SSNIP unprofitable. Indeed, the fact that many developers utilize

IAP today, even though under Apple’s current guidelines an advertising-based business model

could save them Apple’s 30% commission, demonstrates that for the developers Apple targets, a

wholesale shift of their business model is not a viable option.

                285.    Epic presented empirical economic evidence to establish the contours of

the iOS In-App Payment Solutions Market. Here again, and unlike Apple, Epic’s expert

economist, Dr. Evans, performed a SSNIP test. Dr. Evans considered a situation in which Apple
                                                 103
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 543 of 644




did not impose its payment processing restrictions, and developers could choose between IAP

and their own payment processing solutions. He assumed a 5% average fee for non-IAP

payment processing solutions chosen by developers. He then considered what would happen if

developers accounting for just 20% of in-app transactions would choose to use their own

payment processing solutions, with those accounting for the remaining 80% of in-app

transactions using IAP at Apple’s 27.7% effective commission rate. That would decrease the

average commission rate in the market to 23.2% (the weighted average of 5% and 27.7%). By

eliminating that choice for developers, the hypothetical monopolist would maintain its 27.7%

average commission, which is 19.4% higher—well above a SSNIP. The evidence showed that it

is likely that developers accounting for far more than 20% of in-app digital content transactions

would choose an alternative payment solution. (Ex. Expert 1 (Evans) ¶¶ 256-265.) After all,

only the top 22 revenue-generating app developers would need to change payment solutions to

hit 20% of transactions. (PX-1056.1.) If even more developers would switch in the absence of

the IAP requirement, then a hypothetical monopolist of online payment solutions for iOS digital

content apps would be able to increase the commission rate by even more than 19.4%. (Ex.

Expert 1 (Evans) ¶ 262.) If just 30% of developers would otherwise switch, the effective price

increase from the IAP requirement would rise to 32.5%. (PX-1056.1)

               286.   Apple contests Epic’s proposed market definition by arguing that IAP is

more than just a “payment processor”, meaning that it is inappropriate to lump IAP into a mere

“payment processing” market. (See, e.g., Ex. Expert 8 (Schmalensee) ¶ 162.) Apple argues that

IAP provides a host of other services besides just payment processing. (Ex. Expert 8

(Schmalensee) ¶ 149-154.) The Court finds that Apple is elevating nomenclature over substance.
                                               104
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 544 of 644




Epic has shown that, absent the IAP requirement that Apple imposes, app developers would

create or select alternative payment solutions, including but not limited to core payment

processing functionality (which developers may very well outsource, as indeed Apple does for

IAP). These solutions would compete on price, fraud and security controls, parental controls,

ease of integration, speed, flexibility in payment credential (e.g., credit card, debit card, carrier

billing, proprietary services like AliPay, cryptocurrency), and so on. (Findings of Fact ¶¶ 352,

358-360.) To the extent that Apple contends that IAP can perform more functions or perform

them better, that is a basis on which Apple can and should compete in a competitive market,

rather than a basis to deny the existence of a relevant market.

               287.    Apple has demonstrated monopoly power in the iOS In-App Payment

Solutions Market based in part on its demonstrated ability to raise the prices it charges

developers. Apple’s ability to profitably raise prices shows that the iOS In-App Payment

Solutions Market is properly defined. See U.S. Anchor Mfg., Inc. v. Rule Indus., Inc., 7 F.3d 986,

998-99 (11th Cir. 1993) (finding that “the ability to discriminate against a distinct group of

customers by charging higher prices for otherwise similar products demonstrates the existence of

market power with respect to that group”); State of Ill. ex rel. Hartigan v. Panhandle E. Pipe

Line Co., 730 F. Supp. 826, 900 (C.D. Ill. 1990), aff’d, 935 F.2d 1469 (7th Cir. 1991) (defining

market “by reference to the capabilities of different types of end-users [of oil and gas]” to resist

the exercise of monopoly power, leading to price discrimination).

               288.    The evidence at trial demonstrates that Apple’s IAP commission far

exceeds the levels charged by other payment solutions, including even payment solutions

employed by iOS apps that sell physical goods and services, which average 5% or even less.
                                                 105
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 545 of 644




Moreover, Apple has in fact raised prices to developers: first, with the 2009 imposition of a 30%

commission on in-app purchases, and again with the 2011 imposition of that commission on

subscriptions (that previously had not been subject to a commission). (Findings of Fact

¶¶ 115-120, 128.) As discussed above, these prices have allowed Apple to generate a

persistently high margin over a sustained period of time, further demonstrating its market power.

(See § II.A.vi above.)

               289.      It is significant to the Court that Apple’s own executives are unaware of

price increases in IAP causing any switching at all. Eddy Cue (one of Apple’s highest

executives, present from the earliest days of the App Store and in charge of it for a number of

years) and Matt Fischer (the head of the App Store) were unaware of any instances or studies

showing that the increased cost of in-app purchases resulted in consumers switching from iOS to

Android. (Findings of Fact ¶ 222.)

               290.      Finally, the iOS In-App Payment Solutions Market is a proper aftermarket

of the Smartphone Operating System Market for the same reasons that the iOS App Distribution

Market is a proper aftermarket. Without iOS, there would be no market for in-app payment

processing solutions on iOS. And the restraints at issue apply only to the aftermarket, not the

initial market for smartphone operating systems. Consumers do not contractually agree to obtain

payment processing for in-app digital purchases only through IAP when they purchase an

iPhone, and competition in the foremarket does not discipline Apple’s anti-competitive practices

in the aftermarket. (See § II.A.iv above.)

               291.      Like the Smartphone Operating System and iOS App Distribution

Markets, the iOS In-App Payment Solutions Market is worldwide except for China. When
                                                 106
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 546 of 644




permitted to obtain their own payment processing services, developers, including Apple,

generally contract with payment processors to provide service in many countries, which suggests

that competition is worldwide. (Findings of Fact ¶ 355.) Moreover, IAP processes payments

worldwide, and Apple’s IAP requirements in the DPLA and Guidelines apply worldwide.

(Findings of Fact ¶¶ 214-216.) China, however, is different because restrictions imposed by the

Chinese government limit both payment processors’ and developers’ abilities to operate in China

and have created an insular market. (Findings of Fact ¶¶ 217, 335.)

               292.    For the foregoing reasons, the Court concludes that the iOS In-App

Payment Solutions Market is a properly defined aftermarket. It is worldwide, excluding China.

               ii.     Apple has monopoly power in the iOS In-App Payment Solutions Market.

               293.    The legal standard for monopoly power is discussed above. It is the

ability to raise prices above those that would be charged in a competitive market. (See § II.A.v.)

               294.    Many pieces of evidence establish that Apple has monopoly power in the

iOS In-App Payment Solutions Market.

               295.    First, Apple has a 100% market share, and imposes impenetrable barriers

to entry by contractually prohibiting all alternative payment solutions for digital content.

(Findings of Fact ¶¶ 367-370, 376.) “Monopoly power may be inferred from a firm’s possession

of a dominant share of a relevant market that is protected by entry barriers.” Microsoft, 253 F.3d

at 51.

               296.    Second, Apple charges supra-competitive prices in the iOS In-App

Payment Solutions Market. Apple’s commission is 30%, while the competitive level for Epic is



                                                107
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 547 of 644




about 3%-5%. (Findings of Fact ¶ 371.) A firm’s ability to “profitably raise prices substantially

above the competitive level” is also evidence of monopoly power. Microsoft, 253 F.3d at 51.

               297.   As noted above, even Apple’s Phil Schiller did not believe “that 70/30 will

last that unchanged forever” because “someday we will see enough challenge from another

platform or web based solutions to want to adjust our model”. (PX-417.1.) It is difficult to

imagine a clearer admission of supra-competitive pricing.

               298.   Relatedly, Apple enjoys the freedom to price without any connection to

costs. (Findings of Fact ¶ 371.) This, too, is evidence of monopoly power. See, e.g., In re IBM

Peripheral EDP Devices Antitrust Litig., 481 F. Supp. 965, 977 (N.D. Cal. 1979) (recognizing

that a firm’s ability to “disregard cost” and “choose among a range of price options in order to

achieve its profit goals” is indicative of monopoly power).

               299.   Apple’s assertion that its IAP commission is not supra-competitive

because comparable commissions are charged by game console makers is unpersuasive. There

are a number of reasons why this argument is without merit. To begin with, the Court has not

been asked to—and does not—address the competitive situation relating to payment solutions

used by developers of apps for gaming consoles and thus expresses no opinion, one way or the

other, on whether those commissions are an appropriate benchmark for iOS commissions.

               300.   Importantly, Apple’s attempt to analogize itself to console makers

wrongly conflates two radically different business models. As noted above, Apple launched the

App Store not in order to make money from the distribution of apps (or from providing payment

processing solutions for in-app purchases), but to maximize its sales of iPhones, which are the

core of Apple’s business model and its main source of revenue and profits to this day. Gaming
                                               108
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 548 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 549 of 644




that the relationship with console makers has more give and take, a balancing of power.

Negotiated contractual arrangements result in terms that collectively need to be considered in

order to determine value and real costs. The 30% commission paid to console makers cannot be

assumed as an apples to apples comparison to what Apple charges.11

               302.   Third, for reasons stated elsewhere, Apple’s treatment of developers

further demonstrates Apple’s monopoly power. (See ¶ 122 above); see also Microsoft, 253 F.3d

at 57-58 (finding aspects of Microsoft’s behavior “difficult to explain unless Windows is a

monopoly product” and noting that its “pattern of exclusionary conduct could only be rational if

the firm knew that it possessed monopoly power”). Apple itself acknowledges that in-app

purchasing “is almost completely driven by our developers, and the App Store does not

participate in a meaningful way”. (PX-59.22.) But Apple still takes its 30%.

               303.   Apple argues that it “lacks monopoly power because it competes with

companies like PayPal, Stripe, and Square, and occupies only a small fraction of the market”.

(Apple’s 5/21/21 COL ¶ 336.) This argument fails because consumers and developers cannot

turn to “companies like PayPal, Stripe, and Square” for the transactions at issue. The fact that

Apple is able to exclude them from the relevant market with its contractual terms is further

evidence of Apple’s monopoly power.




    11
       For these and other reasons, Apple’s stated concern that this Court’s ruling in favor of
Epic will doom the closed ecosystems of the major game consoles is misplaced. Notably, the
only individual presently employed by a game console manufacturer to testify in this case—Lori
Wright, Vice President of Business Development for Gaming, Media, and Entertainment at
Microsoft—did not suggest that ruling in Epic’s favor would undermine Microsoft’s Xbox
model.
                                               110
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 550 of 644




               304.    The Court concludes that Apple has monopoly power in the iOS In-App

Payment Solutions Market.

       B.      Apple willfully maintains its monopoly power.

               305.    The Court has found that Epic’s market definition is proper, and that

Apple has monopoly power in the iOS In-App Payment Solutions Market. As discussed above,

the next step of the analysis is to consider whether Apple has engaged in anti-competitive

conduct to maintain its monopoly. The Court analyzes this question under the rule of reason.

               306.    When the significant evidentiary record is placed against the legal

standard, the Court concludes that Apple’s conduct violates the rule of reason. Apple’s conduct

has significant anti-competitive effects on developers and consumers (§ VI.B.i below); Apple’s

procompetitive justifications are pretextual (§ VI.B.ii below); and the anti-competitive effects of

Apple’s conduct outweigh any alleged benefits (§ VI.B.iii below).

               i.      Apple’s IAP requirement has significant anti-competitive effects.

               307.    Apple concedes that Section 3.3.3 of the DPLA and Guideline 3.1.1

require exclusive use of IAP for in-app payment processing of digital content. (Findings of

Fact ¶¶ 367-368.)

               308.    These contractual restrictions are enforced by Apple’s App Review

process. During App Review, Apple rejects apps that do not comply with its IAP requirement.

Since 2017, Apple has terminated thousands of developer accounts for introduction of non-IAP

payment methods. (Findings of Fact ¶¶ 357, 370.)

               309.    Apple has used its monopoly power to retaliate against developers who

have included an alternative payment processing system in their apps. Epic’s August 2020

                                                111
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 551 of 644




“hotfix” provided the Court with an example of this. Epic first sought permission to include its

own payment processing system and when that request was denied (PX-2457.1; PX-2458.1; DX-

4477.1; Sweeney Trial Tr. 88:1-17), enabled Epic direct payment in Fortnite on iOS without

Apple’s permission. Not only did Apple remove Fortnite from the App Store, Apple threatened

to terminate all of Epic’s and Epic’s affiliates’ Apple Developer Program accounts and revoke

Epic’s access to tools necessary “to improve hardware and software performance of Unreal

Engine on Mac and iOS hardware”. (DX-3460.003; Sweeney Trial Tr. 97:5-98:4 (“Apple has

threatened to remove Epic’s ability and access to its APIs to continue developing the Unreal

Engine for iOS and Mac devices, which would mean if we could no longer develop our software,

then it would . . . become obsolete relatively quickly and we couldn’t provide proper support to

our customers, and our customers would no longer rely on us as the supplier of that software”.).)

               310.    Epic is not the only developer Apple has retaliated against in relation to

the IAP requirement. In 2018, Netflix chose to evaluate the value that IAP conferred. It

conducted tests to determine whether IAP was negatively impacting its business; it tested

different geographies, some with IAP and some without; Apple responded with “punitive

measures” intended to make Netflix “feel the pain”. (Findings of Fact ¶ 382.)

               311.    The legal standard for anti-competitive effects is discussed above. The

Court looks to direct evidence, such as increased prices, reduced output, and reduced quality, as

well as indirect evidence, which consists of market power plus some evidence that the

challenged restraint harms competition. (See § II.B.i above.) There is both strong direct and

indirect evidence in this case.



                                                112
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 552 of 644




               312.    Apple has monopoly power, and expressly prohibits entry by any

competing in-app payment processors for digital content on iOS. As a result, developers and

consumers must use Apple’s one-size-fits-all IAP, must pay Apple’s supra-competitive

commission, and cannot enjoy the benefits of innovation by other payment solutions. (Findings

of Fact § VI.D.) This alone is sufficient indirect evidence to prove anti-competitive effects on

developers and consumers. See Microsoft, 253 F.3d at 62 (finding anticompetitive effects where

Microsoft “reduced rival browsers’ usage share not by improving its own product but, rather, by

preventing OEMs from taking actions that could increase rivals’ share of usage”); Macquarie

Grp. Ltd. v. Pac. Corp. Grp. Ltd., No. 08-cv-2113-IEG-WMC, 2009 WL 539928, at *8 (S.D.

Cal. Mar. 2, 2009) (“The exclusion of competitors from the market place has the anticompetitive

effect of allowing defendant to charge supra-competitive prices and, additionally, reduces

consumer options.”); United States v. Visa U.S.A., Inc., 163 F. Supp. 2d 322, 408 (S.D.N.Y.

2001) (finding “defendants’ exclusionary rules restrict competition between networks and harm

consumers by denying them innovative and varied products”); see also In re Nat’l Collegiate

Athletic Ass’n Athletic Grant-in-Aid Cap Antitrust Litig., 958 F.3d 1239, 1256-57 (9th Cir. 2020)

(concluding district court properly found “significant anticompetitive effects in the relevant

market” where “elite student-athletes lack any viable alternatives to [D1], they are forced to

accept, to the extent they want to attend college and play sports at an elite level after high school,

whatever compensation is offered to them by [D1] schools, regardless of whether any such

compensation is an accurate reflection of the competitive value of their athletic services”

(quoting In re Nat’l Collegiate Athletic Ass’n Athletic Grant-in-Aid Cap Antitrust Litig., 375 F.

Supp. 3d 1058, 1070 (N.D. Cal. 2019))).
                                                 113
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 553 of 644




                313.    There is also substantial direct evidence of anti-competitive effects.

                314.    As an initial matter, Apple has increased prices for in-app payment

processing over time. In 2009, Apple began requiring IAP; prior to that time, developers could

use other payment solutions for in-app purchases. (Findings of Fact ¶¶ 115-119.) At the time,

Apple allowed book sellers to avoid IAP by offering users links to online stores where they could

purchase books. (Findings of Fact ¶ 116.) In 2011, Apple extended its IAP requirements to

subscriptions and eliminated book sellers’ ability to include a “Buy” button in the app linking

users to online stores, again expanding the reach of IAP and eliminating alternative payment

solutions. (Findings of Fact ¶ 128.) There is also evidence that developers pass on Apple’s

commission to consumers, resulting in increased prices to consumers. (Findings of Fact ¶¶

338-39, 394.) Increased prices are classic direct evidence of the injurious exercise of market

power. As the Supreme Court found in a related case, “A claim that a monopolistic retailer

(here, Apple) has used its monopoly to overcharge consumers is a classic antitrust claim.” Apple

Inc. v. Pepper, 139 S. Ct. 1514, 1519 (2019); see also Wilk v. Am. Med. Ass’n, 895 F.2d 352,

360-62 (7th Cir. 1990) (finding that impeding consumers’ free choice and raising costs were

anti-competitive effects).

                315.    Apple argues that “[u]sing third-party payment processors would be more

expensive for developers because they would have to pay” “both those processor fees and

Apple’s commission”. (Apple’s 5/21/21 COL ¶ 348; see also id. ¶ 457.) Apple misunderstands

Epic’s requested remedy, which the Court adopts below. Although Apple may charge a royalty

for its intellectual property, Apple may not “impos[e] a financial penalty . . . on . . . iOS apps . . .

that use payment processing solutions other than or in addition to Apple’s IAP”. (App’x 1.)
                                                  114
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 554 of 644




Because Apple will be unable to use its royalty to discriminate based on a developer’s choice of

payment solutions, Apple will have to charge a separate price for use of its payment solution.

See Qualcomm, 969 F.3d at 997 (finding no antitrust violation where “Qualcomm’s current

royalty rates . . . are based on the patent portfolio chosen by the OEM customer regardless of

where the OEM sources its chips”). As a result, Apple will have to compete on the merits,

including price, against other providers of payment solutions.

               316.   There is evidence that Apple’s IAP requirements have resulted in

decreased output. Some small businesses cannot afford to absorb Apple’s commission rate, and

cannot afford to pass the costs on to consumers without losing users. (Findings of Fact

¶¶ 390-393.) As Steve Jobs, Apple’s founder, acknowledged in an email about enforcing the

IAP requirement, Apple’s commission “is prohibitive for many things”. (PX-438.)

               317.   Finally, there is significant evidence of decreased quality.

               318.   First, Apple’s IAP requirement prevents developers from controlling their

relationships with their customers and must rely on Apple to resolve any payment disputes over

transactions. This disconnect between customers and developers leads to confusion and

complaints. (See Findings of Fact § VIII.C.)

               319.   Second, Apple’s IAP requirement deprives developers of access to key

payment analytics, such as fraud reports or authorization rates broken down by payment method

and country. Access to such information would allow developers to improve user experiences

and safety. (See Findings of Fact § VIII.E.)




                                               115
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 555 of 644




               320.    Third, Apple’s IAP requirement prevents developers from setting

different prices across different countries. Instead, developers are required to select prices for

products from a list of “price tiers” provided by Apple. (Findings of Fact § VIII.F.)

               321.    Fourth, Apple’s IAP requirement prevents consumers from having more

flexible payment options. For example, the App Store permits carrier billing only in certain

countries or regions and through certain carriers and their partners. Yet, many consumers find

carrier billing to be a convenient way to pay because, among other reasons, it does not required a

credit card. (Findings of Fact § VIII.G.)

               322.    Fifth, Apple’s IAP requirement results in consumers experiencing

difficulty in obtaining refunds, as developers cannot directly refund consumers for purchases of

digital content. (Findings of Fact §§ VIII.C-D.)

               323.    Sixth and finally, Apple’s IAP requirement prevents consumers from

taking advantage of multi-platform payment processors. Multi-platform payment processors

would provide many benefits to consumers, including persistent parental control settings and

saved payment credentials, which consumers can use across different platforms, reducing

switching costs between iOS and Android. (Findings of Fact § VIII.G.) For example, when

Apple tried to require apps that provide “Membership Subscriptions” to use IAP, the developer

of one such app, Uber, informed Apple that it did not understand how IAP could fit “in the

context of [its] business model”. (PX-2235.4.) Uber explained, among other things, that IAP

would be “impossible to sustain” because of the commission, would “create additional burden”

due to the multi-platform nature of the Uber app, would result in a “poor user experience” given

the fact that Uber already has a global in-house customer service support network and would
                                                116
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 556 of 644




have to inform riders of a “unique customer support policy for iOS”, and “could create security

risks” as Uber would have to share data with a third party. (PX-2235.4.)

               324.    Even Apple’s own employees recognize that IAP is not worth the 30%

commission. In the words of one Apple employee conducting an assessment of developers who

attempted to use non-IAP payment methods, IAP “would have to be a LOT better [than non-IAP

payment methods] to overcome the 30% hit”. (PX-0257.1.)

               ii.     Apple’s procompetitive justifications are pretextual.

               325.    As discussed above, after the plaintiff proves anti-competitive effects, the

burden shifts to the defendant to put forth procompetitive justifications. (See § II.B.ii above.)

               326.    Apple has asserted four procompetitive justifications for its IAP

requirement: security, compensation for its investments, providing better service to consumers,

and improving product quality for developers. All are pretextual.

                       a.      Security justifications are pretextual.

               327.    Apple asserts that an important benefit of the IAP structure is the

protection of security and privacy, including fraud detection. (Ex. Expert 11 (Rubin) ¶¶ 125-29;

Ex. Expert 8 (Schmalensee) ¶ 149.) The evidence does not support this assertion.

               328.    Apple already permits non-IAP payment solutions for “Multiplatform

Services”, “Enterprise Services,” “Person-to-Person Services”, “app[s] that enable[] people to

purchase physical goods or services that will be consumed outside of the app”, and “Free Stand-

Alone Apps”. (PX-2790 (Guidelines) § 3.1.3.) There is no evidence that the alternative payment

solutions in these apps have caused security issues. (Findings of Fact § XII.A.) There is no



                                                117
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 557 of 644




evidence that allowing alternative payment solutions for apps that currently fall outside of these

Apple-created exceptions would in fact result in meaningful security issues.

               329.    Indeed, before Apple imposed its IAP requirement in 2009, non-IAP

payment solutions were used by developers to service payments for digital content. There is no

evidence that using those methods for those apps created any security issues. (Findings of Fact

¶¶ 115-119, 707.)

               330.    Apple itself relies on the security of third-party payment service providers,

including PayPal and Chase. (Findings of Fact ¶¶ 31, 708.) If allowed to provide these same

services to app developers or competing iOS app stores, these same providers or developers

themselves could perform the other functions that Apple’s IAP system currently performs (e.g.,

providing refunds to consumers) for purchases of digital products, just as they do today for

physical goods and services. The fact that Apple contracts with third-party payment settlement

providers suggests Apple itself trusts the security they provide. Thousands of companies—

including Grubhub, Wish, StubHub, Uber, DoorDash, Lyft, Instacart, Postmates, Amazon

Shopping, Walmart, eBay, Amazon Prime Video, Altice One, and Canal+—already trust third-

party payment systems such as Square and Stripe to securely process transactions on iOS.

(Findings of Fact ¶ 359.)

               331.    Further, having Apple stand in the middle of developers and payment

processors through IAP does not ensure security. Money laundering, refund fraud, and payment

fraud are all prevalent issues with IAP. (Fischer Trial Tr. 897: 25-898:19; Findings of Fact

¶ 648) Matt Fischer, Vice President of the App Store, acknowledged that the App Store has seen



                                                118
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 558 of 644




fraudulent refunds relating to app or in-app purchases even through 2019. (Fischer Trial

Tr. 898:16-19; see Findings of Fact ¶ 648.)

               332.    Apple has not conducted any studies comparing the security or privacy of

non-IAP payment solutions to IAP or the security or privacy of third-party payment processors in

general. Nor has Apple conducted studies regarding potential security issues that would arise

were Apple to allow developers to alternative payment solutions. (Findings of Fact ¶ 715.)

               333.    In fact, third-party payment processors may provide better security than

Apple. Apple has failed to consider that third party payment solution providers, like PayPal,

may have better fraud detection techniques by virtue of having more data points from a broader

set of transactions processed, including purchases of physical goods as well as purchases that

take place outside of the iOS ecosystem. (Findings of Fact ¶¶ 715, 717.)

               334.    Further evidence that Apple’s justification is pretextual is evident in the

record with regard to Epic direct payment. Epic direct payment is Epic’s own payment

processing service. It has been used for a number of years for in-app purchases on other

platforms (for instance, on PCs). It is a proven, safe and secure system that complies with

appropriate payment industry standards. To safeguard customers’ payment credentials, Epic

stores the details with its third-party payment partners, and internal Epic teams conduct security

checks of the infrastructure. (Findings of Fact ¶¶ 547-548.) In August 2020, Epic turned on the

Epic direct payment functionality within iOS. The Fortnite app on iOS has had Epic direct

payment as a payment option ever since, and it is undisputed that Apple has not found any

security issues in Epic direct payment. It is reasonable to assume Apple looked very hard to find

some. Moreover, there is no evidence in the record that the introduction of Epic direct payment
                                                119
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 559 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 560 of 644




IAP requirement, Apple would still command substantially higher profit margins than other

online platforms. (Ex. Expert 16 (Evans) ¶ 72 (describing how Apple could still compete “on the

merits” in the absence of these restrictions).)

               339.    The evidence also demonstrates that an elimination of the IAP requirement

would not eliminate Apple’s incentives to continue to invest in the iOS ecosystem. All

successful platform providers make developer tools widely available to attract third-party

developers. (Findings of Fact ¶ 99; Apple Ex. Depo. 5 at 99:29-100:5 (Penwarden).) Apple has

acknowledged that “[a]n ecosystem including third party apps made our products more

attractive”. (PX-314.5.) Apple’s desire to sell iPhones provides sufficient incentive to continue

to invest in iOS. (Findings of Fact § II.E.)

               340.    The Supreme Court recently recognized that Google faces a similar

incentive with respect to Android:

               “Google envisioned an Android platform that was free and open,
               such that software developers could use the tools found there free
               of charge. Its idea was that more and more developers using its
               Android platform would develop ever more Android-based
               applications, all of which would make Google’s Android-based
               smartphones more attractive to ultimate consumers. Consumers
               would then buy and use ever more of those phones. That vision
               required attracting a sizeable number of skilled programmers.”
               Google, 141 S. Ct. at 1190 (citation omitted).

               341.    Moreover, eliminating the IAP requirement would not foreclose Apple

from continuing to make money through app distribution and in-app purchases. Apple could

continue to offer IAP to developers and charge for its use, but it would face competition in doing

so and therefore need to provide a service that is competitive in terms of both quality and price.



                                                  121
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 561 of 644




               342.    Apple’s experts provide no evidence that Apple’s restrictions are

necessary to eliminate free-riding or achieve any other benefits. (Ex. Expert 16 (Evans) ¶¶ 72-

74.) Free-riding can occur when people use a resource in a way that denies the owners of the

resource the intended benefit of such use, thereby relying on the investments of such owners

without compensating them. Dr. Evans demonstrates that, as an economic matter, free-riding is

not present here. Instead, both Apple and developers benefit from the indirect network effects

that result from their engaging in joint behavior that provides value to the iOS platform.

(Findings of Fact § II.E; Ex. Expert 16 (Evans) ¶¶ 73-74.) Apps that offer in-app purchases of

digital content would no more be “free-riding” than apps that are currently exempt from the IAP

requirement, such as apps that sell physical goods and services and apps that earn money from

advertising. As noted above, Apple opened up the iPhone to third party app developers not to

profit from the commissions paid by such developers, but to “sell more iPhones”. (Findings of

Fact ¶¶ 86-94, 103.)

               343.    Apple also asserts that the IAP requirement is justified as a convenient

means for Apple to collect its commission. This argument begs the question whether Apple is

entitled to a commission in this particular form and amount, which is a matter that should be

determined by a competitive market rather than by Apple’s exercise of market power. To be

clear, Epic does not claim, and the Court does not find, that the use of IAP is inefficient or

improper in any circumstances; indeed, Apple compels the use of IAP in the Mac App Store, and

Epic raises no claim of impropriety in that regard. The issue here is simply that the compelled

use of IAP is anti-competitive given Apple’s market power in the iOS App Distribution Market;

absent that market power, Apple’s use of IAP for transactions on the App Store would
                                                122
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 562 of 644




presumably be competitively benign, as developers who wished to avoid IAP could simply elect

to distribute their apps through other channels.

               344.    Finally, the benefits of the iOS ecosystem asserted by Apple must be

viewed in a broader context. It is true that the iPhone has brought many benefits to consumers

and developers. But Apple has not shown that the success of the app economy resulted from

Apple’s monopoly over app distribution or its IAP requirement. Apple has no doubt contributed

to the app economy. But so have countless others, including developers like Epic that are

harmed by Apple’s conduct. The question at issue in this case is not whether Apple has

generally provided benefits to consumers and developers, but rather whether the specific conduct

at issue provides such benefits or, instead, harms competition. On that question, the Court sides

with Epic.

               345.    This is not the first time that Apple has tried to defend anti-competitive

conduct by pointing to unrelated innovations. In the ebooks litigation (Findings of Fact ¶ 65),

Apple argued that “iPad’s backlit touchscreen, audio and video capabilities, and ability to offer

consumers a number of services on a single device revolutionized tablet computing”. United

States v. Apple, Inc., 791 F.3d 290, 335 (2d Cir. 2015) (Livingston, J. concurring). After Apple

appealed a loss of that case, the Second Circuit affirmed. Id. at 298. Judge Livingston declined

to find that these features justified Apple’s conduct, stating that they were “unrelated to Apple’s

[anti-competitive conduct]”, and that the district court “was correct not to score these hardware

innovations as procompetitive benefits” because “Apple was not the only entity that could use

the iPad’s new features to enhance the ebook experience—other retailers, or the publishers

themselves, could have designed and launched ebook applications on the platform”. Id. at 335
                                                   123
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 563 of 644




(Livingston, J. concurring). Here too, just as other firms could distribute apps on the iOS

platform, other firms could provide payment solutions for in-app purchases of digital content in

iOS apps.

               346.    For the foregoing reasons, the Court concludes that Apple’s “investment”

procompetitive justification is pretextual. See Areeda & Hovenkamp, Antitrust Law ¶ 1764a (4th

ed. 2020 Supp.) (explaining that the “Recovery of investment” defense to tying is unpersuasive

because “[i]f the defendant cannot recover its investment in an unrestrained market, the market

presumably tells us that its product is not worthwhile”). Here, it is clear that Apple would

continue to make hefty profits without the IAP requirement and would indeed continue to have a

significant incentive to invest in the iOS ecosystem.

                       c.      Apple’s additional justifications are pretextual.

               347.    Apple offers two additional justifications: (1) providing better service to

consumers, and (2) improving product quality for developers. (Apple’s 5/21/21 COL ¶¶ 363-

67.) These are not procompetitive justifications for excluding alternative in-app payment

solutions; these are merely reasons why Apple believes its solution is superior. As an initial

matter, there is significant evidence in the record that Apple’s solution is, in fact, inferior. (See,

e.g., Findings of Fact §§ VIII.C-G.) More importantly, while these justifications may be reasons

why consumers and developers could choose to use IAP on the merits, they do not justify

making IAP the exclusive payment solution for digital content on iOS.

               iii.    The anti-competitive effects of Apple’s conduct outweigh any benefits.

               348.    Apple’s procompetitive justifications are pretextual. The Court may stop

there and find liability. However, even if Apple’s actions were not pretextual, Epic would

                                                 124
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 564 of 644




nonetheless prevail on the basis that the anti-competitive effects of Apple’s conduct outweigh

any benefits.

                349.   As noted above (see § II.B.iii above), the Court considers Apple’s

procompetitive justifications in light of its less restrictive alternatives. With respect to security,

the evidence demonstrates that Apple could require that all payment solutions on iOS maintain

minimum security features. Any uniform, minimum standards would ensure that rogue payment

processors that may jeopardize users’ data are not allowed. For example, Apple could require

compliance with the Payment Card Industry Data Security Standard (PCI-DSS), which sets

rigorous security requirements to prevent cardholder data loss as well as general requirements for

the prevention, detection, and response to security incidents for all organizations accepting

and/or processing payments. (Findings of Fact ¶ 546.) Epic’s eCommerce system, as well as

third-party payment systems such as Square and Stripe are all Level 1 PCI-DSS compliant,

meaning they are required to adhere to the strictest security standards and are subject to audits of

their security systems. (Ko Trial Tr. 805:18-25; Findings of Fact ¶ 546.)

                350.   With respect to compensation for its investments, as discussed above,

there are a number of alternatives to requiring the use of Apple’s IAP that would still allow

Apple a profit. See Image Tech. Serv., Inc. v. Eastman Kodak Co., 903 F.2d 612, 619 (9th Cir.

1990), aff’d sub nom. Eastman Kodak, 504 U.S. 451 (“[I]t is a less restrictive alternative for [the

defendant] to structure its prices for equipment, parts, and service so that the price for which [the

defendant] sells each of these reflects [its] investment costs in that area.” (citations omitted)).

Apple gets paid in a variety of ways already. (See Findings of Fact § II.A.) To the extent Apple

is concerned about not receiving the same level of compensation if the IAP requirement is
                                                 125
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 565 of 644




removed, that is no defense—if Apple cannot obtain the same price in a competitive market, that

is just further proof of its illegal conduct.

                351.    Apple has pointed to protection of its intellectual property rights as a

defense of the IAP requirement. As the Court has explained above, intellectual property rights

do not confer any immunity from the antitrust laws. (See ¶ 138 above.) An intellectual property

holder cannot license its products on anti-competitive terms. See Digidyne Corp. v. Data Gen.

Corp., 734 F.2d 1336, 1338, 1343-44 (9th Cir. 1984) (rejecting defendant’s argument that its

refusal to license its operating system except to purchasers of its CPUs was justified by the need

“to recover its substantial investment in software research and development” because “defendant

must recover the cost of [the operating system] development by pricing [the operating system]

appropriately, not by tying it to a separate product” (citation omitted)); Microsoft, 253 F.3d at 63

(“Intellectual property rights do not confer a privilege to violate the antitrust laws.” (internal

quotation marks omitted)).

                352.    The Supreme Court’s decision in Google is also instructive here. In that

case, Oracle sued Google for incorporating some of Oracle’s copyrighted Java programming

language into Google’s Android operating system. Google, 141 S. Ct. at 1190. The Court held

that Google’s conduct was protected by the fair use doctrine. Id. The Court reasoned in part that

“Android’s profitability has much to do with third parties’ (say, programmers’) investment in

Sun Java programs. It has correspondingly less to do with Sun’s investment in creating the Sun

Java API.” Id. at 1208. Accordingly, the Supreme Court cautioned against allowing Oracle’s

intellectual property to stifle the innovation of these third parties:



                                                  126
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 566 of 644




               “[G]iven programmers’ investment in learning the Sun Java API,
               to allow enforcement of Oracle’s copyright here would risk harm
               to the public. Given the costs and difficulties of producing
               alternative APIs with similar appeal to programmers, allowing
               enforcement here would make of the Sun Java API’s declaring
               code a lock limiting the future creativity of new programs. Oracle
               alone would hold the key. The result could well prove highly
               profitable to Oracle (or other firms holding a copyright in
               computer interfaces). But those profits could well flow from
               creative improvements, new applications, and new uses developed
               by users who have learned to work with that interface. To that
               extent, the lock would interfere with, not further, copyright’s basic
               creativity objectives.” Id.

               353.    So too here. The effort and creativity of third-party developers has

contributed significantly to the value of iOS. The Court should not allow Apple to use its

intellectual property to “monopolize the market by making it impossible for others to compete”.

Id. (internal quotation marks omitted).

               354.    For the foregoing reasons, the Court gives little weight to Apple’s

competitive justifications. To the extent that there are any procompetitive benefits to Apple’s

conduct that cannot be achieved by other means that do not harm competition, the anti-

competitive effects of Apple’s conduct outweigh these procompetitive benefits. See Microsoft,

253 F.3d at 64; Actavis, 787 F.3d at 659. Epic has detailed the many harms caused by Apple’s

conditioning of access to app distribution on the use of Apple’s IAP, while Apple has nothing

but theoretical concerns that it claims might arise in the absence of its restrictions. (See Evans

Trial Tr. 1559:1-1563:12; Ex. Expert 1 (Evans) ¶¶ 269-285.)

               355.    The Court concludes that Apple’s conduct is anti-competitive.




                                                127
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 567 of 644




       C.      Apple’s conduct caused antitrust injury to Epic.

               356.   The final element of a Section 2 claim is antitrust injury. As explained

above, the legal standard requires unlawful conduct causing an injury to the plaintiff that flows

from that which makes the conduct unlawful, and that is of the type the antitrust laws were

intended to prevent. (See § II.C above.)

               357.   Epic has been injured as a would-be provider of a competing payment

solution. Epic offers a payment solution through Epic direct payment to apps distributed by EGS

on PCs and Macs that choose to use Epic’s solution. (Sweeney Trial Tr. 127:15-20 (“It’s used as

the default payment method in the Epic Games Store for Windows and Mac . . . .”), 128:13-17

(“Epic introduced Epic Direct Payment into Fortnite on iOS. And it is a general service that we

would like to make available to other developers in the future if we were allowed to.”); Ko Trial

Tr. 799:22-25.) After recognizing that Apple and Google “had such dominance” in their

respective markets, Epic sought to develop a world-class payment solution, adding currencies to

reach users all over the world holding a competitive RFP process, and beginning development on

innovative payment features for the benefits of consumers and developers. (Ko Trial Tr. 801:1-

18; 801:23-802:20; 807:14-808:4; 818:5-15; see also Findings of Fact § IX.P.) Developers of

apps distributed through EGS can also choose to use a competing payment solution. (Findings of

Fact ¶ 488.) The Epic direct payment solution includes a variety of features like supporting

regional pricing and accepting payments in 42 different currencies, combined with outsourced

payment processing from providers like Chase, PayPal, and Adyen. (Findings of Fact ¶ 545.) If

EGS were permitted on iOS and Apple did not require use of IAP, Epic would offer Epic direct

payment to apps distributed by EGS on iOS, including both Epic’s own apps and third-party
                                               128
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 568 of 644




apps. Because Apple prohibits alternative payment processing solutions for digital content, Epic

has lost revenue and the ability to compete with IAP. Epic, therefore, has suffered antitrust

injury as a competitor to Apple. See Am. Ad Mgmt., Inc. v. Gen. Telephone Co., 190 F.3d 1051,

1057 (9th Cir. 1999) (recognizing “potential entrants” as a market participant that can suffer

antitrust injury).

                358.   In addition, Epic has been injured as an app developer. Epic self-supplies

Epic direct payment to its own apps on PCs, Macs, and Android. (Findings of Fact ¶ 541.) As

Epic’s actions on August 13, 2020 made abundantly clear, if Apple did not require use of IAP,

Epic would not use IAP exclusively. (Sweeney Trial Tr. 128:14-15 (“So Epic introduced Epic

Direct Payment into Fortnite on iOS.”), 158:7-8 (“So at the time we introduced the hot fix, we

offered both Apple’s payment service and Epic’s side by side.”); Ko Trial Tr. 804:12-17 (Project

Liberty was “an attempt to provide developer choices for payment solutions and bring that

benefit to the customers in a platform where [that] choice is not available.”).) Epic would self-

supply Epic direct payment on iOS, just as it currently uses it in first-party games on PC and

sideloaded Fortnite on Android and used it during Project Liberty. (Ko Trial Tr. 799:22-25;

804:2-7; Sweeney Trial Tr. 128:14-15, 158:7-8.) By having to use IAP, Epic has paid supra-

competitive prices, suffered from impaired customer relationships, and lost the benefits of choice

and innovation that competition among third-party payment processors would bring.

(See Findings of Fact §§ VIII.A, C, E, G & IX.P; Evans Trial Tr. 1609:16-1610:6.) As the Ninth

Circuit has recognized, “[c]onsumers in the market where trade is allegedly restrained are

presumptively proper plaintiffs to allege antitrust injury”. Glen Holly Ent., Inc. v. Tektronix,

Inc., 352 F.3d 367, 372 (9th Cir. 2003) (internal quotation marks omitted).
                                                129
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 569 of 644




                359.   Therefore, the Court finds that Apple is liable for unlawful monopoly

maintenance in the iOS In-App Payment Solutions Market in violation of Section 2 of the

Sherman Act.12

 V.        SECTION 1 OF THE SHERMAN ACT: APPLE’S UNREASONABLE
           RESTRAINT OF TRADE IN THE IOS APP DISTRIBUTION MARKET
           (COUNT 3).

                360.   So far, the Court’s opinion has addressed Apple’s unilateral conduct under

Section 2 of the Sherman Act. The Sherman Act also prohibits conduct involving two or more

persons that unreasonably retrains trade. The Court now turns to this conduct.

                361.   Section 1 of the Sherman Act prohibits “[e]very contract, combination in

the form of trust or otherwise, or conspiracy, in restraint of trade or commerce among the several

States, or with foreign nations”. 15 U.S.C. § 1. “To establish liability under § 1, a plaintiff must

prove (1) the existence of an agreement, and (2) that the agreement was in unreasonable restraint

of trade”. Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1178 (9th Cir. 2016).

                362.   “Restraints can be unreasonable in one of two ways. A small group of

restraints are unreasonable per se because they always or almost always tend to restrict

competition and decrease output. Typically only ‘horizontal’ restraints—restraints ‘imposed by

agreement between competitors’—qualify as unreasonable per se. Restraints that are not

unreasonable per se are judged under the ‘rule of reason’”, which “requires courts to conduct a



      12
       To the extent that Apple asserts as affirmative defenses to Court 4 the same affirmative
defenses addressed above in the context of Count 1 (monopoly maintenance in the iOS App
Distribution Market), the Court denies those affirmative defenses with respect to Count 4
(monopoly maintenance in the iOS In-App Payment Solutions Market) for the same reasons.
(See § II.D above.)
                                                130
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 570 of 644




fact-specific assessment of market power and market structure . . . to assess the [restraint]’s

actual effect on competition”. Am. Express, 138 S. Ct. at 2283-84 (alteration in original)

(citations omitted). “The existence of market power is a significant finding that casts an

anticompetitive shadow over a party’s practices in a rule-of-reason case.” Hahn v. Oregon

Physicians’ Serv., 868 F.2d 1022, 1026 (9th Cir. 1988).

               363.    Applying Section 1, the DPLA is an agreement that unreasonably restrains

trade for purposes of Section 1.

               364.    The DPLA is an agreement between Apple and Epic. Apple also has

DPLAs with hundreds of thousands, if not millions, of other developers.

               365.    The parties agree that “express ‘agreements’ are ‘direct evidence of

concerted activity’ and satisfy the first element of a Section 1 claim”. (Legal Framework (ECF

No. 276) at 23 (quoting Paladin Assocs., Inc. v. Montana Power Co., 328 F.3d 1145, 1153 (9th

Cir. 2003)); see Sun Microsystems Inc. v. Hynix Semiconductor Inc., 608 F. Supp. 2d 1166, 1192

(N.D. Cal. 2009) (“One way of proving concerted action is by express agreement.”).). “A

plaintiff ‘need not prove intent to control prices or destroy competition to demonstrate the

element of an agreement among two or more entities.” (Id. (quoting Paladin, 328 F.3d

at 1153-54 (internal quotation marks and alterations omitted)).)

               366.    An agreement can give rise to Section 1 liability even if it does not

advance the interests of all parties and instead involves some form of coercion. See, e.g.,

Datagate, Inc. v. Hewlett-Packard Co., 60 F.3d 1421, 1427 (9th Cir. 1995) (“A showing that the

buyer of the tied product was coerced by the tying arrangement into making the purchase is

sufficient to show that the buyer was not merely ‘acting independently.’”); Cargill Inc. v.
                                                131
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 571 of 644




Budine, No. CV-F-07-349-LJO-SMS, 2007 WL 4207908, at *3 (E.D. Cal. Nov. 27, 2007);

Packaging Sys., Inc. v. PRC-Desoto Int’l, Inc., 268 F. Supp. 3d 1071, 1085 (C.D. Cal. 2017).

The DPLA is an agreement within the meaning of Section 1. Apple cites cases supposedly to the

contrary, but they involve challenges to policies adopted by one party, rather than contracts

between two or more parties, like the DPLA. (See Apple’s 5/21/21 COL ¶¶ 489-501.)

               367.    Further, the provisions of the DPLA requiring distribution of iOS apps

through Apple’s App Store and prohibiting alternative app stores—Sections 3.2(g), 3.3.2,

and 7.6—constitute an unreasonable restraint of trade.

               368.    As noted above, the rule of reason requires the Court to consider the

defendant’s market power. The parties agree that “[m]arket power under Section 1 requires a

lesser showing than monopoly power under Section 2”. (Legal Framework (ECF No. 276) at 26

(citing Kodak, 504 U.S. at 481.)

               369.    The Court has already found that the iOS App Distribution Market is a

relevant antitrust market. Consumers and developers have no substitutes for app distribution on

iOS because, among other reasons, apps and app stores developed for other operating systems do

not work on iOS. (See § II.A.iii above.) The Court also found that Apple possesses monopoly

power in the iOS App Distribution Market because, among other reasons, Apple has a 100%

market share, high profit margins, and the ability to foreclose all competitors. (See § II.A.vi

above).

               370.    Because the rule of reason analysis under Section 1 is “essentially the

same” as the rule of reason analysis under Section 2, the Court will not repeat the analysis here.



                                                132
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 572 of 644




See Qualcomm, 969 F.3d at 991.13 The Court previously found that Sections 3.2(g), 3.3.2,

and 7.6 of the DPLA form one part of Apple’s unlawful conduct under Section 2. For the same

reasons, those provisions an unreasonable restraint of trade under Section 1. (See § II above.)

Therefore, the Court finds Apple liable for unreasonably restraining trade in the iOS App

Distribution Market.14

VI.        SECTION 1 OF THE SHERMAN ACT: APPLE’S UNREASONABLE
           RESTRAINT OF TRADE IN THE IOS IN-APP PAYMENT SOLUTIONS
           MARKET (COUNT 5).

                371.     Next, the Court applies Section 1 to the iOS In-App Payment Solutions

Market.

                372.     As noted, Section 1 requires an agreement that constitutes an unreasonable

restraint of trade. (See § V above.) A violation of Section 1 requires a showing that Apple’s

conduct violates the rule of reason, which is evaluated under substantially the same standard

described above. (See § II.B above.)




      13
       Apple disputes that the rule of reason test is applied in the same way under Sections 1
and 2 of the Sherman Act. For example, it contends that there is no “less restrictive alternative”
component to the third step of the rule of reason under Section 2. Because all of the ways in
which Apple contends the analysis differs make it less demanding to prove a Section 1 violation,
the analysis above with respect to Section 2 necessarily means that Epic has shown a violation of
the rule of reason under Section 1 as well. To the extent that any elements of the rule of reason
analysis discussed above apply only to Section 1, the Court considers them as part of this
Section 1 analysis and incorporates herein the discussion of those issues that appears above.
      14
       To the extent that Apple asserts as affirmative defenses to Count 3 the same affirmative
defenses addressed above in the context of Count 1 (monopoly maintenance in the iOS App
Distribution Market), the Court denies those affirmative defenses with respect to Count 3
(unreasonable restraint of trade in the iOS App Distribution Market) for the same reasons. (See
§ II.D above.)
                                                 133
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 573 of 644




                 373.   The Court has found that the DPLA is an agreement for purposes of

Section 1 (see § V above); that Apple has market power in the iOS In-App Payment Solutions

Market (see § IV.A above); and that the DPLA’s requirement that developers use Apple’s IAP to

the exclusion of all other payment processors for digital content violates the rule of reason (see

§ IV.B above).

                 374.   Therefore, the Court concludes that Apple is liable for unreasonably

restraining trade in the iOS In-App Payment Solutions Market.15

VII.        SECTION 1 OF THE SHERMAN ACT: APPLE’S TIE OF APP DISTRIBUTION
            AND PAYMENT PROCESSING (COUNT 6).

                 375.   Conduct may be per se unlawful under the antitrust laws when

experience shows that the conduct is always or nearly always anti-competitive.

                 376.   Tying can be an example of such conduct. Tying involves the linking of

two separate products from two separate product markets. Jefferson Parish Hosp. Dist. No. 2 v.

Hyde, 466 U.S. 2, 21 (1984), abrogated on other grounds by Ill. Tool Works Inc. v. Indep. Ink,

Inc., 547 U.S. 28 (2006).

                 377.   Epic alleges that Apple’s IAP requirement is a classic contractual tie.

Apple conditions access to iOS app distribution on developers’ agreement to use only Apple’s

IAP for in-app purchases of digital content. The Court agrees.




       15
       To the extent that Apple asserts as affirmative defenses to Count 5 the same affirmative
defenses addressed above in the context of Count 1 (monopoly maintenance in the iOS App
Distribution Market), the Court denies those affirmative defenses with respect to Count 5
(unreasonable restraint of trade in the iOS In-App Payment Solutions Market) for the same
reasons. (See § II.D above.)
                                                134
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 574 of 644




               378.     “For a tying claim to suffer per se condemnation, a plaintiff must prove:

(1) that the defendant tied together the sale of two distinct products or services; (2) that the

defendant possesses enough economic power in the tying product market to coerce its customers

into purchasing the tied product; and (3) that the tying arrangement affects a not insubstantial

volume of commerce in the tied product market.” Cascade Health Sols. v. PeaceHealth, 15 F.3d

883, 913 (9th Cir. 2008) (citation omitted); see also Jefferson Parish, 466 U.S. at 12-18; Kodak,

504 U.S. at 461-62.16

               379.     Apple has argued that the rule of reason, rather than per se analysis,

should govern in tying cases where the tied good is “physically and technologically integrated



    16
        Apple has argued that there is a fourth element—a “pernicious effect” on competition in
the tied market—for per se tying claims. (Legal Framework (ECF No. 276) at 46.) But Ninth
Circuit precedent establishes that “the per se rule relieves plaintiff of the burden of
demonstrating an anticompetitive effect, which is assumed”. Newman v. Universal Pictures,
813 F.2d 1519, 1522-23 (9th Cir. 1987); Hirsh v. Martindale-Hubbell, Inc., 674 F.2d 1343, 1347
(9th Cir. 1982) (Once [the three per se tying] elements are established, a tying arrangement is
presumptively illegal and will be prohibited without a specific showing of anticompetitive
purpose or effect.”); Betaseed, Inc. v. U and I Inc., 681 F.2d 1203, 1215 (9th Cir. 1982) (“Once
[the per se tying elements] are demonstrated, no specific showing of unreasonable
anticompetitive effect is needed.”); see also Fortner Enters., Inc. v. U.S. Steel Corp., 394 U.S.
495, 498 (1969) (“[A]t least when certain prerequisites are met, arrangements of this kind are
illegal in and of themselves, and no specific showing of unreasonable anticompetitive effect is
required.”). Although certain district courts have considered whether tying conduct has a
“pernicious effect on competition” in the tied product market, Apple has not identified any Ninth
Circuit case adopting the “pernicious effect” requirement. That phrase derives from the Supreme
Court’s decision in Northern Pac. R. Co. v. United States, 356 U.S. 1 (1958), which emphatically
endorsed the per se treatment of tying, finding it to be among the “practices which because of
their pernicious effect on competition and lack of any redeeming virtue are conclusively
presumed to be unreasonable and therefore illegal without elaborate inquiry as to the precise
harm they have caused”. Id. at 5. Even if there were a separate “pernicious effect” requirement
for per se tying (which there is not), Apple’s tie meets that requirement because Epic has proven
substantial anti-competitive effects in the iOS In-App Payment Solutions Market. (See § IV.B
above.)
                                                 135
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 575 of 644




with the tying good”. (Legal Framework (ECF No. 276) at 35 (quoting Microsoft, 253 F.3d at

90).) In Microsoft, the defendant technologically integrated its operating system with its web

browser, and the court declined to condemn this technologically integrated product as per se

unlawful for fear of chilling product innovation. Id. at 89-95. Microsoft is distinguishable for at

least two reasons. First, as explained below, the App Store and IAP are not technologically

integrated as Microsoft’s operating system was with its web browser. The tie here is a

contractual one, and the Microsoft court did not question the line of “Supreme Court tying cases”

that apply the per se standard to “contractual ties”. See id. at 90.

               380.      Apple’s conditioning of access to the App Store on developers’ use of IAP

for in-app purchases of digital content meets each element of per se tying. (§§ VII.A-D below.)

In the alternative, Apple’s conduct violates the rule of reason. (§ VII.E below.)

       A.      Apple ties together the sale of two distinct products—app distribution and
               payment solutions.

               381.      As noted, the first element of a per se tying claim requires that the plaintiff

prove that the defendant ties two separate products together. Here, app distribution and payment

solutions for in-app purchases are separate products (§ VII.A.i) that Apple has contractually tied

together (§ VII.A.ii).

               i.        App distribution and in-app payment processing solutions are separate
                         products.

               382.      “[T]he answer to the question whether one or two products are involved

turns not on the functional relation between them, but rather on the character of the demand for

the two items.” Jefferson Parish, 466 U.S. at 19; see also Rick-Mik Enters., Inc. v. Equilon

Enters. LLC, 532 F.3d 963, 975 (9th Cir. 2008). There must be “sufficient demand for the

                                                  136
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 576 of 644




purchase of [the tied product] separate from [the tying product] to identify a distinct product

market in which it is efficient to offer [the tied product] separately from [the tying product]”.

Jefferson Parish, 466 U.S. at 21-22; see also Rick-Mik, 532 F.3d at 975.

               383.    “[T]he ‘purchaser demand’ test of Jefferson Parish examines direct and

indirect evidence of consumer demand for the tied product separate from the tying product.

Direct evidence addresses the question whether, when given a choice, consumers purchase the

tied good from the tying good maker, or from other firms. Indirect evidence includes the

behavior of firms without market power in the tying good market, presumably on the notion that

(competitive) supply follows demand”. Rick-Mik, 532 F.3d at 975 (citations and internal

quotation marks omitted).

               384.    Apple asserts that IAP and the App Store are an integrated product, and

that app distribution cannot be separated from the solution that is used to handle subsequent in-

app purchases. (Defendant Apple Inc.’s Opposition to Epic Games, Inc.’s Motion for a

Preliminary Injunction (ECF No. 73) at 18-20.) The record does not support this position.

Instead, the evidence shows demand for alternative payment solutions on iOS separate from the

demand for app distribution on iOS.

               385.    Apple’s position suggests an organic, integrated development—that as the

App Store developed, so too did IAP. This is contradicted by several facts in the trial record.

During the time between the launch of the App Store in 2008 and the introduction of IAP in

2009, in-app payment processing and app distribution were entirely separate and iOS developers

were monetizing their apps with purchase solutions that were self-provided. (Findings of Fact

¶¶ 115-119, 127.)
                                                137
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 577 of 644




                386.    The history of IAP undercuts Apple’s claim of a necessarily integrated

product, as other aspects of the evidentiary record further support the independence of these two

products.

                387.    First, Apple provides both app distribution without payment solutions, and

payment solutions without app distribution.

                388.    Apple provides distribution services through the App Store without

requiring use of IAP for “Multiplatform Services”, “Enterprise Services,” “Person-to-Person

Experiences”, “app[s] [that] enable[] people to purchase physical goods or services that will be

consumed outside of the app”, and “Free Stand-Alone Apps”. (PX-56 (Guidelines) § 3.1.3;

Findings of Fact ¶ 713.)

                389.    The evidence shows that for categories of apps for which Apple does not

require the use of IAP, developers offer their own payment methods. Many of the most

significant apps, including Grubhub, Wish, StubHub, Uber, DoorDash, Lyft, Instacart,

Postmates, Amazon Shopping, Walmart, eBay, Amazon Prime Video, Altice One, and Canal+,

procure payment processing services from sources other than Apple, i.e., separately from the

distribution services they are forced to obtain from the App Store. (Findings of Fact ¶¶ 31, 359.)

And when Apple decided to give IAP as an option instead of a requirement for certain

membership subscriptions, the head of the App Store conceded that “[u]nfortunately, IAP being

‘optional’ means that no one will ever use it”. (PX-202.1.) This is strong evidence of two

separate products. See Kodak, 504 U.S. at 462 (finding “[e]vidence in the record indicat[ing]

that service and parts . . . still are sold separately” to cast doubt on the defendant’s claim of a

“unified market” for services and parts).
                                                 138
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 578 of 644




               390.   Conversely, Apple provides payment solutions outside of the App Store

using the same payment systems as IAP. The payment systems Apple uses for IAP “are also

used for other products outside of the App Store”, including “the iTunes Store on iOS, Apple

Music, and iCloud or Cloud services”. (Findings of Fact ¶ 365.) Therefore, IAP is clearly not an

integrated part of the App Store—it is simply a payment system Apple uses with many of its

services.

               391.   Second, many developers, from the largest to the smallest and across

industries, including Epic, Microsoft, Match Group, Google, and Basecamp, have requested to

use non-IAP payment solutions to handle in-app purchases of digital content on iOS. Apple has

denied these requests. Apple has also rejected or removed thousands of apps for including non-

IAP payment methods. (Findings of Fact ¶ 357.)

               392.   Developers have a number of reasons for seeking to use alternative

payment solutions. While the level of Apple’s commission is one reason, others include the

ability to offer specific services precluded by Apple’s IAP. For instance, customized risk

management and fraud protection tools, more flexible pricing structures, access to relevant

commerce and payments data, visibility into the developer’s payments stream, and the ability to

provide direct and comprehensive customer service, all could be offered by alternative payment

solutions. (Findings of Fact ¶ 358.) Among other evidence (Findings of Fact§ VI.B), the Court

heard directly from a number of these developers at trial about their reasons for desiring

alternative payment solutions. (Findings of Fact §§ VIII.A-G.)




                                               139
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 579 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 580 of 644




evidence at trial shows several developers that distribute their games through EGS have elected

to use their own solutions for in-app transactions. (Findings of Fact ¶ 488.)

               398.    Fifth, the in-app payment processing industry has grown substantially over

the last two decades. A number of third-party payment processors, such as Chase Paymentech,

Adyen, Worldpay, PayPal, Inc., Checkout.com, and Stripe, compete with each other along a

number of dimensions, including their ability to accommodate varying consumer payment

preferences, service multiple geographies, improve user interfaces, and deliver insights from data

on payment processing to provide business insights. (Findings of Fact ¶¶ 538-545.) The vibrant

competition among payment processors outside of iOS is strong evidence of separate demand.

See Kodak, 504 U.S. at 462 (reasoning that “the development of the entire high-technology

service industry is evidence of the efficiency of a separate market for service”).

               399.    Citing Amex, Apple argues that the App Store and IAP are not separate

products because IAP is an “input[] into transactions” provided by the App Store. (Ex. Expert 8

(Schmalensee) ¶ 34.) This argument is unpersuasive. While Amex instructs that two-sided

transaction platforms like the App Store “facilitate a single, simultaneous transaction between

participants”, the Court made this observation in the context of explaining why it was necessary

to “[e]valuat[e] both sides of a two-sided transaction platform . . . to accurately assess

competition” (with “both sides” referring to cardholders and merchants in that case). Am.

Express, 138 S. Ct. at 2286-87. Here, the two sides of the App Store are consumers and

developers, and the Court has considered both sides in defining the relevant markets, assessing

market power, and considering market effects—and has therefore followed this instruction from

Amex. Apple reads Amex to say that not only must the two sides of the platform be considered,
                                                 141
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 581 of 644




but also that products and services that are downstream from a two-sided transaction platform

(like payment solutions for subsequent in-app purchases) must also be considered part of that

platform. But Amex says no such thing. For example, Amex says nothing about the market in

which providers of credit card terminals compete, even though such terminals are clearly an

“input” without which credit card transactions would not be possible. Amex does not address the

question of separate demand for tying purposes. That question is not resolved merely by calling

a market two-sided; it instead depends on the “purchaser demand” test from Jefferson Parish

described above.

                400.    Apple has argued that even when separate demand exists for tied products,

courts “should” also require “proof of [a] seller[‘s] ability to unbundle” those products. (Legal

Framework (ECF No. 276) at 41 (internal quotation marks omitted).) Apple has not identified

any court that has adopted such a rule. In Jefferson Parish, 466 U.S. at 21, the Supreme Court

established the “purchaser demand” test. Under that test, a plaintiff need not prove that a

defendant can unbundle the tied and tying products in order to carry its burden of showing that

the two products are separate and distinct. Applied here, Epic has carried its burden and more.

The evidence demonstrates not only separable demand for the App Store and IAP, but also that

there is no real technical reason why they need be integrated at all. Apple’s tie is not

technological, it is contractual.

                401.    The Court concludes that app distribution and payment processing are

separate products.




                                                142
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 582 of 644




               ii.     Apple ties app distribution and in-app payment solutions.

               402.    A tie exists where “sale of the desired (‘tying’) product is conditioned on

purchase of another (‘tied’) product”. Aerotec, 836 F.3d at 1178 (citation omitted). “[T]he

essential characteristic of an invalid tying arrangement lies in the seller’s exploitation of its

control over the tying product to force the buyer into the purchase of a tied product that the buyer

either did not want at all, or might have preferred to purchase elsewhere on different terms.”

Jefferson Parish, 466 U.S. at 12.

               403.    As explained above, Apple does not dispute that it conditions app

distribution on the exclusive use of Apple’s IAP for purchases of digital content under § 3.3.3 of

the DPLA and Guideline 3.1.1. (See § IV above.)

               404.    Apple argues, however, that even if payment solutions and app

distribution are separate products, they have not been tied because offering in-app purchases of

digital content or charging for an app are only two of the many options offered to developers to

monetize their apps in the App Store. (Ex. Expert 8 (Schmalensee) ¶ 132.) This argument

misses the point. The purpose of the tying doctrine is to prevent a defendant from foreclosing

competition for the tied product. If some developers choose not to offer in-app purchases

because of Apple’s IAP requirement, that proves only that Apple’s IAP requirement restricts

output in the iOS In-App Payment Solutions Market. It does not vindicate Apple’s tie.

Independently, the factual premise of Apple’s argument is incorrect, as many apps cannot—as a

practical matter—take advantage of other ways to monetize. (Evans Trial Tr. 1603:19-1604:6.)

For example, in-game advertising would create a poor experience for users and is not a viable

substitute for selling digital content in Fortnite. (Findings of Fact ¶ 445.)
                                                 143
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 583 of 644




               405.    The Court concludes that Apple ties app distribution and payment

processing.

       B.      Apple coerces developers into using IAP.

               406.    Next, the Court assesses whether Apple has sufficient market power in the

tying product market—that is, the iOS App Distribution Market. “[T]he Supreme Court has

condemned tying arrangements when the seller has the market power to force a purchaser to do

something that he would not do in a competitive market.” Cascade, 515 F.3d at 915.

               407.    “[W]hat is required in a per se case is not power over the whole market for

the tying product, but only . . . a ‘type of market power [that] has sometimes been referred to as

leverage defined here as a supplier’s ability to induce his customers for one product to buy a

second product from him that would not be purchased solely on the merit of that second

product.’” Digidyne Corp. v. Data Gen. Corp., 734 F.2d at 1341 (quoting Jefferson Parish, 466

U.S. at 14 n.20); see also Cty. of Toulumne v. Sonora Cmty. Hosp., 236 F.3d 1148, 1157 (9th Cir.

2001) (requiring for a per se violation “such power in the tying product or service market that the

existence of forcing is probable” (internal quotation marks omitted)).

               408.    Apple has a 100% monopoly in the iOS App Distribution Market, and

employs this power to coerce developers into using IAP. (See § II.A above); CollegeNet, Inc. v.

Common Application, Inc., 355 F. Supp. 3d 926, 955 (D. Or. 2018) (“[F]orcing (or coercion) is

likely if the seller has power in the tying product market” (quoting Robert’s Waikiki U-Drive,

Inc. v. Budget Rent-a-Car Sys., Inc., 732 F.2d 1403, 1407 (9th Cir. 1984))). In fact, developers

are prohibited from using alternatives to IAP for purchases of digital content, and if developers

resist the tie, they lose access to more than one billion iOS users.
                                                 144
Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 584 of 644
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 585 of 644




       D.      Apple has no legitimate business justification for tying app distribution and
               in-app payment processing.

               414.    Apple has sought to excuse its conduct on the basis that “at all times its

conduct was reasonable and that its actions were undertaken in good faith to advance legitimate

business interests and had the effect of promoting, encouraging, and increasing competition”.

(Apple’s Answer (ECF No. 66) at p. 36 (Affirmative Defense 2).) The Court finds this defense

unavailing.

               415.    While the Ninth Circuit has “recognized that antitrust defendants may

demonstrate a business justification for an otherwise per se illegal tying arrangement”, “[t]he

defendant bears the burden of showing that the case falls within the contours of this affirmative

defense”. Mozart Co. v. Mercedes-Benz of N. Am., Inc., 833 F.2d 1342, 1348-49 (9th Cir. 1987).

               416.    For the same reasons that Apple is unable to show any procompetitive

justifications for its unlawful monopoly maintenance under the rule of reason framework (see

§ IV.B above), its legitimate business justifications defense fails here as well.

               417.    The Court concludes that Apple is liable for per se tying under Section 1.

       E.      In the alternative, Apple’s tie violates the rule of reason.

               418.    Even if the Court had determined that Epic had not proven the elements of

per se tying or that the per se standard did not apply, Apple would still be liable for a Section 1

tying violation.

               419.    Apple has argued that “[t]o prevail under the rule of reason, a plaintiff

initially must prove the first three requirements of a per se tying claim”. (Legal Framework

(ECF No. 276) at 49.) This is incorrect. The per se elements “are necessary only to bring into


                                                146
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 586 of 644




play the doctrine of per se illegality”. Fortner Enters., 394 U.S. at 499-500. If a plaintiff fails to

establish per se liability, a plaintiff “can still prevail on the merits”, id. at 500, by demonstrating

that a defendant “violated the Sherman Act because it unreasonably restrained competition”

under the rule of reason, Jefferson Parish, 466 U.S. at 29; Microsoft Corp., 253 F.3d at 95-97;

Epic Games, 2020 WL 5993222, at *16 n.28 (citing Microsoft and noting that “Epic Games may

be able to prove anticompetitive effects even if it cannot show separate products”).

                420.    Under the rule of reason, Epic “can prove, on the basis of a more thorough

examination of the purposes and effects of the practices involved, that the general standards of

the Sherman Act have been violated”. Fortner Enters., 394 U.S. at 500.

                421.    For rule of reason tying, Epic must show “an actual adverse effect on

competition caused by the tying arrangement”. Brantley v. NBC Universal, Inc., 675 F.3d 1192,

1200 (9th Cir. 2012) (citation and internal quotation marks omitted). Courts conduct this

analysis using the familiar three-part burden-shifting framework. See id. at 1197-1200; (§ V

above).

                422.    Application of the burden-shifting analysis for Epic’s tying claim is the

same as for its more general Section 1 claim relating to the iOS In-App Payment Solutions

Market. For the reasons stated above (see § VI above), Epic has proven its claim under that

framework.17




    17
       To the extent that Apple asserts as affirmative defenses to Count 6 the same affirmative
defenses addressed above in the context of Count 1 (monopoly maintenance in the iOS App
Distribution Market), the Court denies those affirmative defenses with respect to Count 6 (tie of
app distribution and payment processing) for the same reasons. (See § I.D above.)
                                                  147
        Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 587 of 644




VIII.    CALIFORNIA’S CARTWRIGHT ACT: APPLE’S UNREASONABLE
         RESTRAINT OF TRADE IN THE IOS APP DISTRIBUTION MARKET
         (COUNT 7).

                423.    Epic brings suit not only under the federal antitrust laws, but also under

 the California antitrust and unfair competition laws. Although these laws largely track federal

 law, they are broader in important ways.

                424.    The Cartwright Act makes “unlawful, against public policy and void”

 “every trust”, defined as “a combination of capital, skill, or acts by two or more persons . . . [t]o

 create or carry out restrictions in trade or commerce”. Cal. Bus. & Prof. Code §§ 16720, 16726.

                425.    “Interpretations of federal antitrust law are at most instructive, not

 conclusive, when construing the Cartwright Act, given that the Cartwright Act was modeled not

 on federal antitrust statutes but instead on statutes enacted by California’s sister states around the

 turn of the 20th century.” Aryeh v. Canon Bus. Sols., Inc., 55 Cal. 4th 1185, 1195 (2013)

 (citation omitted). “The Ninth Circuit has recognized after Aryeh it ‘is no longer the law in

 California’ that the Cartwright Act is ‘coextensive with the Sherman Act.’” In re Lithium Ion

 Batteries Antitrust Litig., No. 13-MD-2420, 2014 WL 4955377, at *10 (N.D. Cal. Oct. 2, 2014)

 (quoting Samsung Elecs. Co. v. Panasonic Corp., 747 F.3d 1199, 1205 n.4 (9th Cir. 2014)).

                426.    As recognized by the California Supreme Court, “[t]he Cartwright Act is

 broader in range and deeper in reach than the Sherman Act”. In re Cipro Cases I & II, 61 Cal.

 4th 116, 160-161 (2015) (quoting Cianci v. Super. Ct., 40 Cal. 3d 903, 920 (1985)). It “reaches

 beyond the Sherman Act to threats to competition in their incipiency—much like section 7 of the

 Clayton Act, which prohibits mergers that ‘may . . . substantially . . . lessen competition, or . . .

 tend to create a monopoly—and thereby goes beyond clear-cut menaces to competition in order
                                                  148
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 588 of 644




to deal with merely ephemeral possibilities.” Cianci, 40 Cal. 3d at 918 (citations and internal

quotation marks omitted).

               427.    Epic’s claim that Apple unreasonably restrains trade in the iOS App

Distribution Market in violation of the Cartwright Act (Count 7) includes the same conduct as

Epic’s claim that Apple unreasonably restrains trade in the iOS App Distribution Market in

violation of Section 1 of the Sherman Act (Count 3). Accordingly, because Epic has prevailed

on Count 3 (see § V above), the Court also finds in Epic’s favor on Count 7.

               428.    Finally, to the extent that Apple alleges the affirmative defenses addressed

above in the context of Count 1 (monopoly maintenance in the iOS App Distribution Market),

the Court should deny those affirmative defenses with respect to Count 6 (unreasonable restraint

of trade in the iOS App Distribution Market) for the same reasons (see § II.D above), except as

to two of the affirmative defenses, which are rejected for different reasons discussed below.

               429.    First, with respect to Apple’s FTAIA affirmative defense, the FTAIA

applies to only “Sections 1 to 7 of this title”—that is, the Sherman Act. 11 U.S.C. § 6a.

Therefore, it does not limit the scope of California statutes, such as the Cartwright Act (or UCL,

which is discussed below).

               430.    Second, with respect to Apple’s statute of limitations defense, a statute of

limitations does not apply to Epic’s federal claims, but a statute of limitations does apply to

Epic’s California claims. “The statute of limitations under the Cartwright Act and UCL is four

years.” Bartlett v. BP W. Coast Prods. LLC, No. 18-CV-01374, 2019 WL 2177655, at *2 (S.D.

Cal. May 17, 2019) (citing Cal. Bus. & Prof. Code §§ 16750.1, 17208); see also Garrison v.

Oracle Corp., 159 F. Supp. 3d 1044, 1062 (N.D. Cal. 2016) (same). Because Epic brought suit
                                                149
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 589 of 644




within four years of suffering injury (see § II.D.v.b above), Epic’s claims are timely under the

these statutes of limitations.

                431.    Accordingly, the Court finds that Apple has violated the Cartwright Act in

the iOS App Distribution Market.

IX.        CALIFORNIA’S CARTWRIGHT ACT: APPLE’S UNREASONABLE
           RESTRAINT OF TRADE IN THE IOS IN-APP PAYMENT SOLUTIONS
           MARKET (COUNT 8).

                432.    Epic also alleges that Apple violated the Cartwright Act by unreasonably

restraining trade in the iOS In-App Payment Solutions Market. This claim is based on the same

conduct as Epic’s claim that Apple unreasonably restrained trade in the iOS In-App Payment

Solutions Market in violation of Section 1 of the Sherman Act (Count 5). Accordingly, because

Epic has prevailed on Count 5 (see § VI above ), it also prevails on Count 8.18

 X.        CALIFORNIA’S CARTWRIGHT ACT: APPLE’S TIE OF APP DISTRIBUTION
           AND PAYMENT PROCESSING (COUNT 9).

                433.    As explained above, Apple has tied app distribution and payment

processing in violation of Section 1 of the Sherman Act. (See § VII above.) This conduct also

violates the Cartwright Act.

                434.    To establish a per se tying claim under § 16720 of the Cartwright Act, the

plaintiff must show “(1) a tying agreement, arrangement or condition [] whereby the sale of the

tying product [or service] was linked to the sale of the tied product or service; (2) the party had


      18
        To the extent that Apple asserts as affirmative defenses to Count 8 the same affirmative
addressed above in the context of Count 1 (monopoly maintenance in the iOS App Distribution
Market) and/or Count 7 (unreasonable restraint of trade in the iOS App Distribution Market), the
Court denies those affirmative defenses with respect to Count 8 (unreasonable restraint of trade
in the iOS In-App Payment Solutions Market) for the same reasons. (See §§ II.D, VIII above.)
                                                150
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 590 of 644




sufficient economic power in the tying market to coerce the purchase of the tied product; (3) a

substantial amount of sale was effected in the tied product; and (4) the complaining party

sustained pecuniary loss as a consequence of the unlawful act”. UAS Mgmt., Inc. v. Mater

Misericordiae Hosp., 169 Cal. App. 4th 357, 369 (2008) (alternation adding “or service” in

original) (quoting Classen v. Weller, 145 Cal. App. 3d 27, 37-38 (Ct. App. 1983)). In addition, a

tie, even if not per se illegal, may still be an “unreasonable restraint[] of trade” under the

Cartwright Act. Kim v. Servosnax, Inc., 10 Cal. App. 4th 1346, 1361 (1992).

               435.    Epic’s claim that Apple unlawfully ties app distribution to in-app payment

solutions in the iOS In-App Payment Solutions Market in violation of the Cartwright Act is

based on the same conduct as Epic’s claim that Apple unlawfully ties app distribution to in-app

payment solutions in the iOS In-App Payment Solutions Market in violation of Section 1 of the

Sherman Act (Count 6). If Apple’s conduct violates Section 1 of the Sherman Act, it also

necessarily violates the Cartwright Act. Accordingly, because Epic has prevailed on Count 6

(see § VII above), it also prevails on Count 9.

               436.    By tying app distribution and in-app payment solutions in the iOS In-App

Payment Solutions Market, Apple has violated the Cartwright Act.19




    19
       To the extent that Apple asserts as affirmative defenses to Count 9 the same affirmative
defenses addressed above in the context of Count 1 (monopoly maintenance in the iOS App
Distribution Market), Count 6 (tie of app distribution and payment processing), and/or Count 7
(unreasonable restraint of trade in the iOS App Distribution Market), the Court denies those
affirmative defenses with respect to Count 9 (tie of app distribution and payment processing) for
the same reasons. (See §§ II.D, VII.D, VIII above.)
                                                  151
      Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 591 of 644




XI.    CALIFORNIA’S UNFAIR COMPETITION LAW: APPLE’S UNFAIR
       COMPETITION IN THE IOS APP DISTRIBUTION MARKET AND IOS IN-APP
       PAYMENT SOLUTIONS MARKET (COUNT 10).

               437.   Epic alleges that Apple has violated one other California statute.

California’s Unfair Competition Law (“UCL”) prohibits business practices that constitute “unfair

competition”, which is defined, in relevant part, as “any unlawful, unfair or fraudulent business

act or practice”. Cal. Bus. & Prof. Code § 17200. Claims under the UCL are available to both

business competitor and consumer plaintiffs. Cel-Tech Commc’ns, Inc. v. L.A. Cellular Tel. Co.,

20 Cal. 4th 163, 186-87 & n.12 (1999).

               438.   Epic brings its UCL claim both as an app distributor that competes with

Apple and as a consumer of Apple’s app distribution and IAP services.

               439.   As explained below, Apple’s conduct in the iOS App Distribution Market

and iOS In-App Payment Solutions Market is unlawful and/or unfair. (See § XI.A.) Further,

Epic has statutory standing both as a competitor and consumer to bring its UCL claim. (See

§ XI.B.)

               440.   For the reasons explained below, the Court finds that Apple has violated

the UCL.

       A.      Apple’s conduct in the iOS App Distribution Market and iOS In-App
               Payment Solutions Market is unlawful and/or unfair.

               441.   Apple’s conduct is both unlawful (see § XI.A.i) and unfair (see § XI.A.ii)

under the UCL.




                                               152
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 592 of 644




               i.     Apple’s conduct is unlawful under the UCL.

               442.   The UCL “permits violations of other laws to be treated as unfair

competition that is independently actionable”. AngioScore, Inc. v. TriReme Med., LLC, 70 F.

Supp. 3d 951, 961 (N.D. Cal. 2014) (citation omitted). The law covers any conduct that “can

properly be called a business practice and that at the same time is forbidden by law”. Korea

Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1143 (2003) (citation omitted).

“Virtually any law—federal, state or local—can serve as a predicate for an action under Business

and Professions Code section 17200.” Durell v. Sharp Healthcare, 183 Cal. App. 4th 1350,

1361 (2010) (citation omitted).

               443.   Thus, in order to be found to be “unlawful” for purposes of Epic’s UCL

claim, the Court must find that Apple also has violated the Sherman Act or Cartwright Act. See,

e.g., Aleksick v. 7-Eleven, Inc., 205 Cal. 4th 1176, 1185 (Ct. App. 2012); Cascades Comput.

Innovation LLC v. RPX Corp., No. 12-CV-01143-YGR, 2013 WL 316023, at *15 (N.D. Cal. Jan.

24, 2013); Datel Holdings Ltd. v. Microsoft Corp., 712 F. Supp. 2d 974, 999 (N.D. Cal. 2010).

               444.   As discussed above, Epic has established that Apple’s conduct in the iOS

App Distribution Market and iOS In-App Payment Solutions Market violates the Sherman Act

and Cartwright Act. (See §§ II-VII above.) Accordingly, Apple’s conduct is also unlawful under

the UCL.

               ii.    Apple’s conduct is unfair under the UCL.

               445.   Conduct that violates the antitrust laws is also unfair under the UCL. See

Cel-Tech, 20 Cal. 4th at 187 (for business competitor claim, Cel-Tech test is satisfied by a

violation of the antitrust law); Drum v. San Fernando Valley Bar Ass’n, 182 Cal. App. 4th 247,

                                               153
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 593 of 644




256 (2010) (for consumer claim under tethering test, analysis mirrors Cel-Tech test); id. (for

consumer claim under balancing test, conduct is unlawful if it is “substantially injurious to

consumers” and the conduct’s harm outweighs its utility).

               446.    While a violation of antitrust law may be sufficient, it is not necessary;

conduct may be actionable as unfair under the UCL even if it does not violate an antitrust law.

Cel-Tech, 20 Cal. 4th at 180 (“[A] practice may be deemed unfair even if not specifically

proscribed by some other law.”); Chavez v. Whirlpool Co., 93 Cal. App. 4th 363, 375 (2001)

(California courts “do not hold that in all circumstances an ‘unfair’ business act or practice must

violate an antitrust law to be actionable under the unfair competition law”); Korea Kumho

Petrochemical v. Flexsys Am. LP, No. C07-01057, 2008 WL 686834, at *9 (N.D. Cal. Mar. 11,

2008) (dismissing Sherman Act and Cartwright Act claims, but declining to dismiss UCL claim,

finding that although plaintiff had not pled an antitrust violation, defendant’s alleged threats

against plaintiff’s customers and attempts to organize boycotts directed at its customers

constituted an “unfair” practice).

               447.    As a competitor and a consumer with respect to Apple (see § XI.B below),

Epic has shown that Apple’s conduct is unfair for purposes of the UCL.

               448.    When the plaintiff is a business competitor, it must show that the alleged

conduct “threatens an incipient violation of an antitrust law, or violates the policy or spirit of one

of those laws because its effects are comparable to or the same as a violation of the law, or

otherwise significantly threatens or harms competition”. Cel-Tech, 20 Cal. 4th at 187. The

business competitor plaintiff must show that “any finding of unfairness to competitors under [the

UCL] [is] tethered to some legislatively declared policy or proof of some actual or threatened
                                                 154
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 594 of 644




impact on competition”. Id. at 186-87; see also People’s Choice Wireless, Inc. v. Verizon

Wireless, 131 Cal. App. 4th 656, 662 (2005) (conduct violates the policy or spirit of antitrust

laws if the “effect of the conduct is comparable to or the same as a violation of the antitrust

laws”).

               449.    Here, as discussed in detail above, Epic has sufficiently demonstrated that

Apple’s conduct in the iOS App Distribution Market and iOS In-App Payment Solutions Market

“threatens or harms competition” and is thus unfair for purposes of a UCL claim brought by a

business competitor. Cel-Tech, 20 Cal. 4th at 187; (see §§ II-X above).

               450.    When UCL claims are brought by consumers of the defendant’s products

or services, California law is unsettled with regard to the correct standard to apply. Lozano v. AT

& T Wireless Servs., Inc., 504 F.3d 718, 735-36 (9th Cir. 2007). California courts have applied

three tests to evaluate claims by consumers of unfairness the UCL: (1) the “tethering test”,

(2) the “balancing test”, and (3) the FTC test. Drum v. San Fernando Valley Bar Ass’n, 182 Cal.

App. 4th 247, 257 (2010); In re Adobe Sys., Inc. Privacy Litig., 66 F. Supp. 3d 1197, 1226 (N.D.

Cal. 2014); Camacho v. Auto. Club of S. Cal., 142 Cal. App. 4th 1394, 1403 (2006). However,

the Ninth Circuit has “decline[d] to apply the FTC standard in the absence of a clear holding

from the California Supreme Court”. Lozano, 504 F.3d at 736. Therefore, “[t]he remaining

options . . . are to apply Cel-Tech to this case and require that the unfairness be tied to a

legislatively declared policy or to adhere to the former balancing test”. Id. (internal quotation

marks and citation omitted); In re Adobe, 66 F. Supp. 3d at 1226 (for consumer claims under the

unfairness prong of the UCL, “there are at least two possible tests: (1) the ‘tethering test’, . . .

and (2) the ‘balancing test’”).
                                                 155
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 595 of 644




               451.   The “tethering test” mirrors the Cel-Tech test that is applied in the context

of business competitor claims, as discussed above. Adobe, 66 F. Supp. 3d at 1226-27 (citing

Cel-Tech while analyzing the consumer plaintiff’s UCL claim under the “tethering test”). Epic

has sufficiently demonstrated that Apple’s conduct in the iOS App Distribution Market and iOS

In-App Payment Solutions Market “threatens or harms competition” in the iOS App Distribution

Market and thus violates the UCL under the tethering test. (See §§ II-X above.)

               452.   The “balancing test” requires a consumer plaintiff to show that (1) a

defendant’s conduct “is immoral, unethical, oppressive, unscrupulous or substantially injurious

to consumers” and (2) “the utility of the defendant’s conduct” is outweighed by “the gravity of

the harm to the alleged victim”. Drum, 182 Cal. App. 4th at 257 (citation and internal quotation

marks omitted).

               453.   Apple has argued that “a balancing test is inappropriate for consumer

claims”. (Legal Framework (ECF No. 276) at 97.) This is incorrect. The balancing test remains

good law after Cel-Tech for claims brought by consumers because “the [Cel-Tech] court

expressly limited its new test to actions by competitors”. Davis v. HSBC Bank Nev., N.A., 691

F.3d 1152, 1170 (9th Cir. 2012); see Cel-Tech, 20 Cal. 4th at 187 n.12.

               454.   Epic has demonstrated that the balancing test is satisfied with respect to

Apple’s conduct in the iOS App Distribution Market and iOS In-App Payment Solutions Market.

Apple’s anti-competitive conduct with respect to iOS app distribution harms consumers, who are

denied choice and innovation in app distribution channels and are forced to pay higher prices and

suffer inferior customer service from Apple, the unwelcome middleman. Similarly, Apple’s

anti-competitive conduct with respect to payment processing harms consumers, who are denied
                                               156
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 596 of 644




choice and innovation in payment processing solutions and are forced to pay higher prices and

lose control of their relationships with their users. (See §§ II.B, IV.B above.)

       B.      Epic has statutory standing to bring its UCL claim.

               455.    To file suit under the UCL, a plaintiff must demonstrate it has standing .

The UCL permits claims to be brought by any “person”, which includes “natural persons,

corporations, firms, partnerships, joint stock companies, associations and other organizations of

persons”. Cal. Bus. & Prof. Code §§ 17201, 17204. To bring a claim under the UCL, a plaintiff

must “(1) establish a loss or deprivation of money or property sufficient to quantify as injury in

fact, i.e., economic injury, and (2) show that the economic injury was the result of, i.e., caused

by, the unfair business practice”. Kwikset Corp. v. Super. Ct., 51 Cal. 4th 310, 322 (2011); see

also Cal. Bus. & Prof. Code § 17204.

               456.    The injury-in-fact requirement “incorporate[s] the established federal

meaning” for federal standing under Article III. Kwikset Corp., 51 Cal. 4th at 322. Accordingly,

an injury in fact must be “concrete and particularized . . . and actual or imminent, not conjectural

or hypothetical”. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992) (citations and internal

quotation marks omitted); see also Juliana v. United States, 947 F.3d 1159, 1168 (9th Cir. 2020).

               457.    The UCL requires the plaintiff to “demonstrate some form of economic

injury”. Kwikset Corp., 51 Cal. 4th at 323. For example, “[a] plaintiff may (1) surrender in a

transaction more, or acquire in a transaction less, than he or she otherwise would have; (2) have a

present or future property interest diminished; (3) be deprived of money or property to which he

or she has a cognizable claim; or (4) be required to enter into a transaction, costing money or

property, that would otherwise have been unnecessary”. Id. (citation omitted). If the plaintiff
                                                157
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 597 of 644




proves “a personal, individualized loss of money or property in any nontrivial amount, he or she

has also . . . proven injury in fact”. Id. at 325.

                458.    To satisfy the causation requirement, a plaintiff must show “a causal

connection” between the defendant’s conduct and alleged injury. Id. at 326. This “imposes a

requirement that a violation must cause or result in some sort of damage”. Id. (citations, internal

quotation marks, and alterations omitted).

                459.    Epic meets each of these requirements and has statutory standing. Epic

has standing under the UCL both as a potential competitor of Apple in the iOS App Distribution

Market and iOS In-App Payment Solutions Market (see § XI.B.i below), and as a customer of

Apple in the iOS App Distribution Market and iOS In-App Payment Solutions Market (see

XI.B.ii below).

                i.      Epic has standing as a potential competitor of Apple.

                460.    Injury in fact. With respect to the iOS App Distribution Market, Epic has

been injured as a would-be competing app distributor. Epic already distributes apps on PCs and

Macs through EGS. If EGS were permitted on iOS, Epic would compete directly with Apple in

the iOS App Distribution Market. (Findings of Fact ¶¶ 429, 432.)

                461.    With respect to the iOS In-App Payment Solutions Market, Epic has been

injured as a would-be competing payment solution provider. Epic offers payment solutions

through Epic direct payment to apps distributed by EGS on PCs and Macs. If EGS were

permitted on iOS and Apple did not require use of IAP, Epic would offer Epic direct payment to

apps distributed by EGS on iOS. (Findings of Fact ¶ 362.)



                                                     158
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 598 of 644




               462.   Lost money or property. With respect to the iOS App Distribution

Market, if EGS were permitted on iOS, Epic would earn revenue from the distribution of third-

party games as well as grow the EGS userbase to make it a more desirable storefront for

consumers and developers alike—but for Apple’s complete foreclosure of alternative means of

app distribution on iOS. (Findings of Fact ¶¶ 307, 313.)

               463.   With respect to the iOS In-App Payment Solutions Market, Epic would

earn revenue from developers using its payment solution on apps distributed by EGS—but for

Apple’s IAP requirement. (Findings of Fact ¶ 362.)

               464.   Causation. With respect to the iOS App Distribution Market, Apple’s

conduct expressly prohibits Epic from distributing apps for iOS and has thus caused the injuries

described above. (Findings of Fact ¶¶ 307, 308, 313, 432, 476, 477, 479.)

               465.   With respect to the iOS In-App Payment Solutions Market, Apple’s

conduct expressly prohibits Epic from handling in-app payments for digital content on iOS and

has thus caused the injuries described above. (Findings of Fact ¶ 362.)

               ii.    Epic has standing as a customer of Apple in the iOS App Distribution
                      Market and iOS In-App Payment Solutions Market.

               466.   Apple has disputed that Epic can bring a claim under the consumer

standard. (Legal Framework (ECF No. 276) at 88.) However, a “consumer” under the UCL may

include a business consumer or client. See Copart, Inc. v. Sparta Consulting, Inc., 339 F. Supp.

3d 959, 992 (E.D. Cal. 2018) (in an action by Copart, a global used car auction company, against

Sparta, which was hired to design and build a new business management system for Copart, the

court evaluated Copart’s UCL claim against Sparta in the consumer context, finding that “Copart


                                              159
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 599 of 644




was Sparta’s consumer or client, not a competitor”). As an app developer, Epic is a business

consumer of Apple. Apple distributes Epic’s apps and handles in-app purchases on Epic’s

behalf.

               467.    Injury in fact. Epic has been injured as a customer of Apple. With

respect to the iOS App Distribution Market, Epic been foreclosed from using methods of app

distribution other than Apple’s App Store on iOS. Up until August 13, 2020, Epic distributed

Fortnite and certain other apps to iOS users through Apple’s App Store. Epic still distributes

other apps, such as Houseparty, through the App Store. Absent Apple’s rules, Epic would not

distribute its apps through the App Store. Instead, Epic would directly distribute its apps to users

like it currently does on PC, Mac, and Android, and/or distribute them through EGS on iOS.

(Findings of Fact ¶¶ 307, 477.)

               468.    With respect to the iOS In-App Payment Solutions Market, Epic has been

foreclosed from using non-IAP payment methods. Epic self-supplies Epic direct payment to its

own apps on PC, Mac, and Android. If Apple did not require use of IAP, Epic would not use

IAP exclusively. Epic would self-supply Epic direct payment. (Findings of Fact ¶ 362.)

               469.    Lost money or property. With respect to both the iOS App Distribution

Market and In-App Payment Solutions Market, Epic has paid supra-competitive commissions for

in-app payment processing solutions that it would not have paid in the absence of Apple

requiring that developers use the App Store and IAP. (Findings of Fact § VIII.A.)

               470.    Causation. With respect to both the iOS App Distribution Market and In-

App Payment Solutions Market, Apple’s conduct expressly prohibits Epic from distributing apps



                                                160
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 600 of 644




for iOS or from using non-IAP payment methods and has thus caused the injuries described

above. (Findings of Fact, §§ IV.A, V.I.D., IX)

                 471.   For the foregoing reasons, the Court finds that Apple has violated the

UCL.20

XII.        EPIC IS ENTITLED TO A PERMANENT INJUNCTION IN THE IOS APP
            DISTRIBUTION MARKET AND IOS IN-APP PAYMENT SOLUTIONS
            MARKET.

                 472.   To remedy Apple’s misconduct, Epic seeks a permanent injunction in a

form described in Appendix A of the parties’ joint Legal Framework (ECF No. 276-1). The

Court attaches that document as Appendix 1 hereto.

                 473.   Epic’s requested injunction would not require substantial changes to the

iOS platform: Apple could continue bundling the App Store with iOS devices; it could continue

scanning apps for, and taking other steps to prevent distribution of, malware; it could continue

moderating the content that appears on the App Store in whatever manner it chooses; and it could

continue offering IAP as a payment solution. (Sweeney Trial Tr. 93:8-19 (“Q. Is there any

portion of the remedy that Epic is seeking that is asking for app review to go away? A. No.

With respect to apps distributed through the iOS App Store, I’m a supporter of Apple’s freedom

to review apps. Q. And is there any portion of the remedy that Epic is seeking to have Apple’s



       20
       To the extent that Apple asserts as affirmative defenses to Count 10 the same affirmative
defenses addressed above in the context of Count 1 (monopoly maintenance in the iOS App
Distribution Market), Count 6 (tie of app distribution and payment processing), and/or Count 7
(unreasonable restraint of trade in the iOS App Distribution Market), the Court denies those
affirmative defenses with respect to Count 10 (unfair competition in the iOS App Distribution
Market and iOS In-App Payment Solutions Market) for the same reasons. (See §§ II.D, VII.D,
VIII above.)
                                                161
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 601 of 644




In-App Purchase functionality go away? A. No. I support Apple’s right to offer a purchasing

system to developers that they may use with consumers.”); see also Federighi Trial Tr. 3456:7-

22 (agreeing that iOS users can continue to choose to use Apple’s App Store even if they had

additional options to download apps from other sources); Schiller Trial Tr. 2994:9-15 (agreeing

that App Review and IAP “could continue to exist”).) What Apple would be unable to do is

preference its own App Store or payment solution by prohibiting or discriminating against

competitors on iOS.

               474.   Apple presents the Court with a parade of horribles, suggesting on the one

hand the demise of iOS as a secure platform and on the other the need by the Court to

micromanage Apple’s every step going forward. Neither argument is persuasive. It will be up to

Apple to adopt a model that maintains the security iOS users value while abiding by the

requirement that it not discriminate against third party distribution and payment solutions. Apple

is an innovative company that is up to this task; indeed, as noted above, Apple’s own security

team seems to have laid out the contours of such a model back in 2007, and Apple has

implemented what the evidence suggests is an acceptable model for macOS.21

               475.   Epic is entitled to this injunction under federal law (see § XII.A below)

and California law (see § XII.B below).



    21
       In Microsoft, Microsoft claimed that allowing users and OEMs to modify the Windows
desktop and remove Internet Explorer from Windows would harm the “stability” and
“consistency” of Windows. The court rejected these business justifications as pretextual.
Microsoft, 253 F.3d at 64-65. With the advantage of hindsight, the Court is unaware of any
evidence or study suggesting the remedies imposed on Microsoft harmed the stability or
consistency of Windows. Those remedies, however, did arguably contribute to the proliferation
of other platforms, including mobile platforms such as iOS.
                                               162
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 602 of 644




       A.      Epic is entitled to a permanent injunction for its federal claims.

               476.    Under Section 16 of the Clayton Act, “[a]ny person, firm, corporation, or

association shall be entitled to sue for and have injunctive relief, in any court of the United States

having jurisdiction over the parties, against threatened loss or damage by a violation of the

antitrust laws . . . , when and under the same conditions and principles as injunctive relief against

threatened conduct that will cause loss or damage is granted by courts of equity, under the rules

governing such proceedings”. 15 U.S.C. § 26.

               477.    Section 16, “which was enacted by the Congress to make available

equitable remedies previously denied private parties, invokes traditional principles of equity and

authorizes injunctive relief upon the demonstration of ‘threatened’ injury. . . . Moreover, the

purpose of giving private parties treble-damage and injunctive remedies was not merely to

provide private relief, but was to serve as well the high purpose of enforcing the antitrust laws.

Section 16 should be construed and applied with this purpose in mind, and with the knowledge

that the remedy it affords, like other equitable remedies, is flexible and capable of nice

‘adjustment and reconciliation between the public interest and private needs as well as between

competing private claims.’ Its availability should be ‘conditioned by the necessities of the public

interest which Congress has sought to protect.’” Zenith, 395 U.S. at 130-31 (footnote and

citations omitted).

               478.    Epic is entitled to a permanent injunction under Section 16 because Epic

has antitrust standing to seek such relief (see § XII.A.i below); the traditional equitable factors

for a permanent injunction are satisfied (see § XII.A.ii below); and the scope of Epic’s requested

injunction is proper (see § XII.A.iii below).
                                                 163
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 603 of 644




               i.      Epic has antitrust standing to seek a permanent injunction.

               479.    The elements of antitrust standing are undisputed. (Legal Framework

(ECF No. 276) at 132.)

               480.    “‘[A]ntitrust standing’ is a threshold requirement that every plaintiff must

satisfy to bring a private suit under the federal antitrust laws”. Lorenzo v. Qualcomm Inc.,

603 F. Supp. 2d 1291, 1300 (S.D. Cal. 2009). “To have standing [to seek injunctive relief] under

§ 16 [of the Clayton Act], a plaintiff must show (1) a threatened loss or injury cognizable in

equity (2) proximately resulting from the alleged antitrust violation”. City of Rohnert Park v.

Harris, 601 F.2d 1040, 1044 (9th Cir. 1979). As discussed previously, Epic has satisfied the

standard for antitrust injury and shown that Apple proximately caused its injuries.

               481.    In the iOS App Distribution Market, Epic has been injured as a consumer

of app distribution because it is unable to distribute its iOS apps through any distribution channel

other than the App Store. (See § II.C above.) Epic also has been harmed as an app distributor

because Apple has prohibited Epic from offering EGS on iOS. (See § II.C above.)

               482.    Similarly, in the iOS In-App Payment Solutions Market, Apple has

harmed Epic as an app developer because Epic cannot enjoy a choice of payment processing

solutions, is denied the benefits of innovation in in-app payment processing, and is forced to pay

a supra-competitive rate for using Apple’s IAP. (See § IV.C above.) Apple has also harmed

Epic as a provider of competing in-app payment solutions because Epic cannot make Epic direct

payment available as an option for apps that would be distributed by EGS on iOS. (See § IV.C

above.)



                                                164
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 604 of 644




               483.    Therefore, Epic has antitrust standing for Epic’s claims in both markets to

seek a permanent injunction.

               ii.     The traditional equitable factors for a permanent injunction are satisfied.

               484.    In general, “a plaintiff seeking a permanent injunction must satisfy a four-

factor test before a court may grant such relief. A plaintiff must demonstrate: (1) that it has

suffered an irreparable injury; (2) that remedies available at law, such as monetary damages, are

inadequate to compensate for that injury; (3) that, considering the balance of hardships between

the plaintiff and defendant, a remedy in equity is warranted; and (4) that the public interest

would not be disserved by a permanent injunction”. eBay Inc. v. MercExchange, L.L.C.,

547 U.S. 388, 391 (2006). At least one court in the Ninth Circuit has held that the Sherman Act

does not impose any additional requirements on plaintiffs before a court may grant a permanent

injunction. See O’Bannon v. Nat’l Collegiate Athletic Ass’n, 7 F. Supp. 3d 955, 1007 (N.D. Cal.

2014), aff’d in part, vacated in part on other grounds, 802 F.3d 1049 (9th Cir. 2015). But if the

equitable factors apply here, Epic has satisfied them.

               485.    First, Epic has suffered irreparable harm. Irreparable harm is harm “for

which there is no adequate legal remedy”. Ariz. Dream Act Coal. v. Brewer, 757 F.3d 1053,

1068 (9th Cir. 2014). “A lessening of competition constitutes an irreparable injury under [Ninth

Circuit] case law”. Boardman v. Pac. Seafood Grp., 822 F.3d 1011, 1023, 1025 (9th Cir. 2016)

(affirming preliminary injunction); see also Optronic Techs., Inc. v. Ningbo Sunny Elec. Co.,

No. 5:16-CV-06370-EJD, 2020 WL 1812257, at *3, *5 (N.D. Cal. Apr. 9, 2020) (permanently

enjoining defendant and finding irreparable injury where antitrust violations “caused structural



                                                165
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 605 of 644




harm” to the relevant market and “created a reasonable likelihood of substantially lessening

competition”), appeal docketed, No. 20-15837 (9th Cir.).

               486.   As noted above, Apple has foreclosed competition in the iOS App

Distribution Market. (See § II.B above.) Apple’s negative impact on competition has injured

Epic in its capacity as an app developer and as a competing distributor. (See § II.C above.)

These harms are irreparable. See Boardman, 822 F.3d at 1023; Optronic, 2020 WL 1812257,

at *3.

               487.   Further, as explained above, Apple’s conduct has foreclosed competition

in the iOS In-App Payment Solutions Market. The lack of competition injures Epic as an app

developer and as a competing provider of payment solutions. (See § IV.C above.) Such harm is

irreparable. See Ariz. Dream Act Coal., 757 F.3d at 1068.

               488.   A plaintiff can also prove irreparable harm by showing that “remedies

available at law, such as monetary damages, are inadequate to compensate for the injury”, Herb

Reed Enters., LLC v. Fla. Entm’t Mgmt., Inc., 736 F.3d 1239, 1249-50 (9th Cir. 2013), or “where

‘[t]he nature of the plaintiff’s loss may make damages very difficult to calculate’”, Cornucopia

Prods., LLC v. Dyson Inc., No. CV 12-00234-PHX-NVW, 2012 WL 3094955, at *9 (D. Ariz.

July 27, 2012) (quoting Roland Machinery Co. v. Dresser Indus., Inc., 749 F.2d 380, 386 (7th

Cir. 1984)).

               489.   It is impossible to quantify the harm that Epic has suffered as a developer

unable to use non-IAP payment solutions or to distribute apps to the roughly one billion iOS

users except through the App Store. The evidence at trial demonstrated that Epic’s inability to

process refunds has generated a constant stream of customer complaints, impairing Epic’s
                                               166
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 606 of 644




goodwill. See Stuhlbarg Int’l Sales Co. v. John D. Brush & Co., 240 F.3d 832, 841 (9th Cir.

2001) (“loss of prospective customers or goodwill certainly supports a finding of . . . irreparable

harm”). As Apple recognizes, “[d]amage to a business’[s] goodwill is typically an irreparable

injury because it is difficult to calculate.” (Apple’s 5/21/21 COL ¶ 668 (quoting

Optinrealbig.com, LLC v. Ironport Sys., Inc., 323 F. Supp. 2d 1037, 1050 (N.D. Cal. 2004)).)

Similarly, how successful EGS or Epic direct payment could be on iOS but for Apple’s

foreclosure of competition is unknown. See Cornucopia, 2012 WL 3094955, at *9 (finding

irreparable harm where “it is difficult to predict Dyson’s damages”). Monetary damages cannot

be calculated for the additional reason that, because Apple’s unlawful conduct continues, the

harm to Epic is ongoing. See MGM Studios, Inc. v. Grokster, Ltd., 518 F. Supp. 2d 1197, 1219

(C.D. Cal. 2007) (finding irreparable injury where the defendant’s conduct “has and will

continue to irreparably harm Plaintiffs’ [legal interests]” and “Plaintiffs cannot possibly recover

all damages . . . as a consequence of the [defendant’s conduct]”).

               490.    Second, damages would be inadequate. “‘The necessary prerequisite’ for

a court to award equitable remedies is ‘the absence of an adequate remedy at law.’” Barranco v.

3D Sys. Corp., 952 F.3d 1122, 1129 (9th Cir. 2020) (quoting Dairy Queen, Inc. v. Wood, 369

U.S. 469, 478 (1962)). Whether remedies available at law are inadequate to compensate for the

injury “inevitably overlaps” with the first prong of the injunctive relief analysis. MGM, 518 F.

Supp. 2d at 1219. As explained above, it is impossible to quantify the harm that Epic has

suffered. Moreover, no monetary award would enable Epic to freely compete in the iOS App

Distribution Market or iOS In-App Payment Solutions Market, and Epic has not even sought

such an award. Absent injunctive relief, Apple will continue harming Epic into the future. See
                                                167
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 607 of 644




id. at 1220 (no adequate remedy at law where “[t]he only realistic method for remedying . . .

future harm . . . is by way of a permanent injunction”).

               491.    Third, the balance of hardships tips in Epic’s favor. In considering the

balance of hardships between the plaintiff and defendant, the Court “must consider the effect on

each party of the granting or withholding of the requested relief”. Klein v. City of San Clemente,

584 F.3d 1196, 1199-1200 (9th Cir. 2009) (internal quotation marks omitted) (quoting Winter v.

Nat’l Res. Def. Council, Inc., 555 U.S. 7, 24 (2008)). The balance of hardships favors the

plaintiff where “an injunction will merely prohibit [d]efendants from engaging in future unlawful

activity”. Entrepreneur Media, Inc. v. Dye, No. SA CV 18-0341-DOC, 2018 WL 6118443, at *8

(C.D. Cal. Sept. 11, 2018). “There is no hardship to a defendant when a permanent injunction

would merely require the defendant to comply with the law”. Id. (quoting Deckers Outdoor

Corp. v. Ozwear Connection Pty Ltd., No. CV 14-2307, 2014 WL 4679001, at *13 (C.D. Cal.

Sept. 18, 2014)).

               492.    Epic is asking only that Apple be required to follow the law and cease its

unlawful conduct in the iOS App Distribution Market and iOS In-App Payment Solutions

Market. Contrary to Apple’s contention, Epic does not seek a compulsory license without

compensation for Apple. Moreover, Apple already has the technological capability to permit

secure third-party app distribution. (See § III.D above.) Apple can also de-couple app

distribution from payment processing by simply eliminating certain contractual restrictions.

(Findings of Fact § VII.) Because the Court has found that Apple’s conduct is unlawful, the

injunction will cause no hardship to Apple. See Entrepreneur Media, 2018 WL 6118443, at *8;

Deckers, 2014 WL 4679001, at *13.
                                                168
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 608 of 644




               493.    Apple has complained that Epic’s requested remedy would

“fundamentally alter the way in which Apple interacts with developers and consumers”, and

“require Apple to rework its business operations” and to provide continuing technical support to

Epic. (Apple’s 5/21/21 COL ¶¶ 646, 683.) But Apple did not prove this complaint at trial.

Apple’s fact witnesses do not even know what Epic’s requested remedy is. (Schiller Trial

Tr. 3185:11-13 (“Q. So you don’t actually know what request [Epic has] made to this Court,

correct? A. I do not.”); Federighi Trial Tr. 3456:6 (“I actually don’t know what remedy Epic is

proposing.”).) Two of Apple’s experts opined generally that Epic’s requested remedy would

increase Apple’s costs, but neither made any effort to describe in detail or quantify these costs.

(See Ex. Expert 12 (Malackowski) ¶¶ 68, 70; Malackowski Trial Tr. 3644:1-23, 3645:21-25; Ex.

Expert 8 (Schmalensee) ¶ 145.) Because Apple did not prove any burden, the Court gives its

complaint little weight.

               494.    Apple has argued that “misconduct by the plaintiff may be taken into

account when a court is asked to impose an equitable remedy”. (Legal Framework (ECF

No. 276) at 140 (citing Heldman v. U.S. Lawn Tennis Ass’n, 354 F. Supp. 1241, 1249

(S.D.N.Y. 1973)).) But as explained above (see § II.D.i above), “‘[u]nclean hands’ has not been

recognized as a defense to an antitrust action for many years”. Memorex, 555 F.2d at 1381.

Because the restrictions that Epic challenged through its implementation of Epic direct payment

in August 2020 were unlawful, Epic’s actions do not disentitle it to a remedy. Apple has

proffered one dated and out-of-circuit district court case, which ruled only that unclean hands

might apply at the preliminary injunction stage because “as of now, no violation of law by

defendants has been tried, established or decided”. Heldman, 354 F. Supp. at 1249. Denying a
                                                169
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 609 of 644




permanent injunction that would prohibit an adjudicated antitrust violator from violating the

laws would clearly undermine Congressional policy in favor of enforcing the antitrust laws.

                495.    Even if unclean hands were applicable in determining the scope of the

remedy, it does not apply here. The core of Apple’s unclean hands defense is centered on

Project Liberty, through which Epic brought its direct pay option to the iOS platform. While

Epic did not disclose Project Liberty to Apple, Epic could not have disclosed it without causing

Apple to reject Version 13.40 of Fortnite pursuant to Apple’s anti-competitive restrictions. Epic

did not behave inequitably by launching the direct pay option, let alone at a level that would

deny it relief. See Kaiser Steel, 455 U.S. at 77 (“our cases leave no doubt that illegal promises

will not be enforced in cases controlled by the federal law”); Perma Life Mufflers, 392 U.S. at

139 (“[T]he purposes of the antitrust laws are best served by insuring that the private action will

be an ever-present threat to deter anyone contemplating business behavior in violation of the

antitrust laws.”); (see § II.D.i above.)

                496.    Fourth, the public interest is served by injunctive relief that calls an end to

Apple’s anti-competitive conduct. “[T]he public interest inquiry primarily addresses impact on

non-parties rather than parties and takes into consideration” the “public consequences” of the

injunction. hiQ Labs, Inc. v. LinkedIn Corp., 938 F.3d 985, 1004 (9th Cir. 2019) (quotation

marks omitted). The public interest favors enforcement of the antitrust laws. See, e.g.,

California v. Am. Stores Co., 495 U.S. 271, 284 (1990); Optronic Techs. v. Ningbo Sunny Elec.

Co., No. 5:16-cv-06370-EJD, 2020 WL 1812257, at *4, *8 (N.D. Cal. Apr. 9, 2020). Requiring

Apple to allow competition in the iOS App Distribution Market and iOS In-App Payment

Solutions Market will not impair the security, privacy or reliability of iOS devices. (See
                                                 170
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 610 of 644




§§ II.B.ii, IV.B.ii.a above); see Am. Stores Co., 495 U.S. at 284; Optronic Techs., 2020 WL

1812257, at *4, *8.

               iii.    The scope of Epic’s requested injunction is proper.

               497.    Although this is a private action rather than a government enforcement

action, that does not mean the Court is unable to afford proper relief. “Broad equitable remedies

have received the same approval in private antitrust actions.” In re Data Gen. Corp., 1986 WL

10899, at *4 (collecting cases). “Once plaintiffs establish they are entitled to injunctive relief,

the district court has broad discretion in fashioning a remedy.” Orantes-Hernandez v.

Thornburgh, 919 F.2d 549, 558 (9th Cir. 1990). The relief ordered should be based “on some

clear ‘indication of a significant causal connection between the conduct enjoined or mandated

and the violation found directed toward the remedial goal intended’”. Microsoft, 253 F.3d at 105

(quoting 3 Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law ¶ 653(b), at 91-92 (1996)).

“An injunction in an antitrust case need not be limited to the acts described at trial but may

extend even to acts that would be entirely legal if considered in a vacuum.” Data Gen., 1986

WL 10899, at *4 (citing United States v. U.S. Gypsum Co., 340 U.S. 76, 88-89 (1950)).

               498.    An order granting an injunction must “state the reasons why it issued,”

“state its terms specifically,” and “describe in reasonable detail—and not by referring to the

complaint or other document— the act or acts restrained or required”. Fed. R. Civ. P. 65(d)(1);

see also United States v. Holtzman, 762 F.2d 720, 726 (9th Cir. 1985) (an injunction must be

“reasonably clear so that ordinary persons will know precisely what action is proscribed”).




                                                 171
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 611 of 644




               499.     Epic’s requested injunction is appropriately tailored with respect to the

conduct enjoined (see § XII.A.iii.a below), the persons affected (see § XII.A.iii.b below) and its

geographic reach (see § XII.A.iii.c below).

                        a.     Conduct enjoined.

               500.     An injunctive order should represent “a reasonable method of eliminating

the consequences of the illegal conduct”. Nat’l Soc’y of Prof’l Engineers v. United States,

435 U.S. 679, 698 (1978). Pursuant to their broad discretionary powers, district courts are

empowered to frame relief that is both suitable and necessary to address the anti-competitive

effects of a defendant’s illegal conduct. See Besser Mfg. Co. v. United States, 343 U.S. 444, 449

(1952); United States v. E. I. du Pont de Nemours & Co., 366 U.S. 316, 322-23 (1961); Data

Gen., 1986 WL 10899, at *5 (“The injunction should be adequate to ‘cure the ill effects of the

illegal conduct, and assure the public freedom from its continuance.’” (quoting Gypsum,

340 U.S. at 88)).

               501.     iOS App Distribution Market. Because Epic has prevailed on Counts 1,

2, and 3 of its Complaint, Epic is entitled to an order enjoining Apple from undertaking the four

specific types of conduct described below; an anti-circumvention order; and an anti-retaliation

order. (See App’x 1.)

               502.     First, the Court hereby “[e]njoin[s] Apple from further violations of

Section 1 and/or Section 2 of the Sherman Act, the Cartwright Act and/or the California Unfair

Competition Law with respect to the iOS App Distribution Market and/or the App Store on the

iOS platform”. (App’x 1.) This relief is appropriate because a court may enter an order that

“den[ies] to the defendant the fruits of its statutory violation, and ensure[s] that there remain no
                                                 172
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 612 of 644




practices likely to result in monopolization in the future”. Microsoft, 253 F.3d at 103 (quoting

United States v. United Shoe Mach. Corp., 391 U.S. 244, 250 (1968)). Similarly, a court may

enjoin “acts [of the defendant] which are of the same type or class as unlawful acts which the

court has found to have been committed or whose commission in the future unless enjoined, may

fairly be anticipated from the defendant’s conduct in the past”. Zenith Radio Corp. v. Hazeltine

Research, Inc., 395 U.S. 100, 132 (1969). If Apple could continue to violate the antitrust laws

after being found liable in this case, Epic’s victory would be hollow.

               503.   Second, the Court hereby “[e]njoin[s] Apple from restricting, prohibiting,

impeding or deterring the distribution of iOS apps through a distribution channel other than the

App Store”. (App’x 1 (footnote omitted).) A court may enjoin a defendant from “us[ing] its

monopoly to destroy threatened competition”. Lorain Journal Co. v. United States, 342 U.S.

143, 154 (1951). Similarly, a court may enjoin a defendant from preventing market participants

from “exercis[ing] new-found freedoms offered by the remedy in [an antitrust] case”. New York

v. Microsoft Corp., 224 F. Supp. 2d 76, 163 (D.D.C. 2002), aff’d sub nom. Massachusetts v.

Microsoft Corp., 373 F.3d 1199 (D.C. Cir. 2004); see also id. at 266-77 (Appendix B Final

Judgment). This relief is central to remedying Apple’s anti-competitive conduct because it will

open up the iOS App Distribution Market to competition.

               504.   Third, the Court hereby “[e]njoin[s] Apple from discriminating against or

disadvantaging iOS app distribution through channels other than the App Store”. (App’x 1.)

This relief is appropriate because a court may enjoin a defendant from engaging in

discriminatory practices that are “designed to operate as, and do[] operate as, a method of

excluding” competitors from the market. United States v. United Shoe Mach. Corp., 110 F.
                                               173
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 613 of 644




Supp. 295, 321, 352 (D. Mass. 1953), aff’d, 347 U.S. 521 (1954). Similarly, a court may enter

an order that requires a defendant to offer market participants “nondiscriminatory terms and

prices”. Kodak, 125 F.3d at 1201, 1225. If alternative methods of app distribution are permitted

on iOS but Apple can discriminate against them in favor of its own App Store, then consumers

and developers are unlikely to realize the benefits of competition.

               505.    Fourth, the Court hereby “grant[s] the following time-limited relief, which

shall be effective from the date of this Order for a period of three (3) years”. The Court

“[e]njoin[s] Apple from enforcing contractual provisions, guidelines or policies, or imposing

technical restrictions, that restrict, prohibit, impede or deter distribution of iOS app stores

through the App Store”. (App’x 1.) This relief is appropriate to remedy Apple’s past

misconduct and its anti-competitive effects in the iOS App Distribution Market and other

relevant markets, and in order to restore competition in the iOS App Distribution Market. A

court may enter an order that “eliminat[es] the consequences of the [defendant’s] illegal

conduct”. Nat’l Soc’y of Prof’l Eng’rs v. United States, 435 U.S. 679, 698 (1978). Given

Apple’s longstanding restrictions on the iOS App Distribution Market, the App Store has an

extraordinary lead over other app stores, which is all the more meaningful because competing

app stores will need to overcome the “chicken and egg” problem associated with indirect

network effects. Permitting new app stores to be distributed on Apple’s App Store for three

years (roughly the lifespan of a smartphone), will give new app stores a reasonable period of

time to gain exposure and an opportunity to become real competitive threats to Apple’s App

Store.



                                                 174
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 614 of 644




               506.    Fifth, the Court hereby “enjoin[s] Apple from circumventing th[e] Order

by taking steps that violate the purpose, if not the terms, of th[e] Order, including by imposing

disincentives or providing incentives that are designed to, and have the effect of, making real

competition in the iOS App Distribution Market and/or the iOS In-App Payment Solutions

Market impracticable”. (App’x 1.) Anti-circumvention orders like this are common features of

antitrust injunctions. See, e.g., Nat’l Soc. of Pro. Eng’rs, 435 U.S. at 698 (“While [the

injunction] goes beyond a simple proscription against the precise conduct previously pursued[,]

that is entirely appropriate.”); Microsoft, 224 F. Supp. 2d at 163 (“Given the power wielded by a

monopolist like Microsoft, in the absence of protection against retaliation and threats of

retaliation, industry participants whose survival hinges on their relationship with such a

monopolist will be reluctant to exercise the new-found freedoms offered by the remedy in this

case.”). Epic and the Court cannot foresee all possible steps that Apple may take to undermine

the purpose of Epic’s requested injunction. Thus, Apple should be prohibited from violating

both the letter and purpose of the injunction.

               507.    Sixth, the Court hereby “permanently enjoin[s] Apple from taking any

retaliatory actions against Epic or any of its affiliates in connection with or based on Epic’s filing

of this Action, the August 2020 enablement of a direct payment option in Fortnite, or the steps

Epic took to enable that option (‘Prior Epic Actions’). For the avoidance of doubt, prohibited

retaliatory actions include conduct by Apple that denies Fortnite access to Apple’s App Store on

the basis of such Prior Epic Actions.” (App’x 1.) Epic undertook the Prior Epic Actions to

enforce the antitrust laws. In retaliation against Epic for the Prior Epic Actions, Apple has

terminated Epic’s Developer Program account, removed Fortnite from the App Store, and
                                                 175
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 615 of 644




threatened to revoke access to iOS and macOS developer tools necessary to support Unreal

Engine and to terminate Epic’s affiliates’ Developer Program accounts. If courts fail to protect

successful plaintiffs from retaliation by adjudicated antitrust violators, then the Congressional

policy in favor of enforcing antitrust laws will be chilled. See, e.g., Acquaire, 24 F.3d at 411-12

(affirming injunction prohibiting defendant beverage company from retaliating against

distributors that defied its unlawful policy); Milsen Co. v. Southland Corp., 454 F.2d 363, 369

(7th Cir. 1971) (reversing denial of preliminary injunction because courts “have refused to

permit a party to benefit from contractual rights when the contract is an instrument of restraint of

trade”); Microsoft, 224 F. Supp. 2d at 162-63.

               508.    iOS In-App Payment Solutions Market. Because Epic has prevailed on

Counts 4, 5, and 6 of its Complaint, Epic is entitled to an order enjoining Apple from

undertaking the four specific types of conduct described below; an anti-circumvention order; and

an anti-retaliation order. (See App’x 1.)22

               509.    First, the Court hereby “[e]njoin[s] Apple from further violations of

Section 1 and/or Section 2 of the Sherman Act, the Cartwright Act and/or the California Unfair

Competition Law with respect to the iOS In-App Payment Solutions Market”. (App’x 1.) As

explained above (see ¶¶ 502-507), this type of injunction is a common remedy to prevent

repetition of antitrust violations. See Microsoft, 253 F.3d at 103; Zenith, 395 U.S. at 132.




    22
      In the interest of brevity, the Court will not repeat its discussion of the anti-circumvention
and anti-retaliation orders in the prior section.
                                                 176
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 616 of 644




               510.    Second, the Court hereby “[e]njoin[s] Apple from restricting, prohibiting,

impeding or deterring the use of in-app payment processors other than Apple’s IAP”. (App’x 1.)

This remedy is the core relief necessary to open up competition in the iOS In-App Payment

Solutions Market. See Microsoft, 224 F. Supp. 2d at 163.

               511.    Third, the Court hereby “[e]njoin[s] Apple from discriminating against

payment processors other than Apple’s IAP, iOS developers that use payment processors other

than Apple’s IAP, or iOS apps or app stores that use payment processors other than Apple’s

IAP”. (App’x 1.) As explained above (see ¶¶ 502-507), such non-discrimination injunctions are

an appropriate way of preventing the defendant from undermining the core relief. See United

Shoe, 110 F. Supp. at 321, 352; Eastman Kodak, 125 F.3d at 1201, 1225-26.

               512.    Fourth, the Court hereby “[e]njoin[s] Apple from imposing a financial

penalty or technical limitation on access to the iOS platform by iOS apps (including iOS app

stores) that use payment processing solutions other than or in addition to Apple’s IAP”.

(App’x 1.) This injunction is also necessary to prevent Apple from tilting the playing field in its

favor by penalizing developers or app distributors for choosing alternative payment solutions.

See Nat’l Soc’y of Prof’l Eng’rs, 435 U.S. at 698.

                                               ***

               513.    Apple argues that Epic has “made no evidentiary presentation to defend its

proposed injunction”. (Apple’s 5/21/21 COL ¶ 649.1.) The Court disagrees. Epic presented

evidence that on platforms unburdened by the restrictions imposed by Apple on iOS, there is

vigorous competition and innovation for app distribution and payment solutions. (Ex. Expert 1

(Evans) ¶¶ 165, 167, 246; Findings of Fact ¶¶ 305, 306, 352, 359, 361.) The Court infers that
                                                177
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 617 of 644




users and developers on iOS will experience similar benefits after Apple’s restrictions are

enjoined. Epic also presented evidence that macOS is a secure and open platform (Findings of

Fact §XI.D), and that Apple could implement the same security protections from macOS on iOS

(Federighi Trial Tr. 3473:2-4). And Epic presented evidence that Apple makes money hand over

fist from iOS, and will continue to do so even without monopolies on app distribution and

payment solutions. (Findings of Fact § II.F.) Although Apple faults Epic’s experts for not

answering certain questions about the scope of Epic’s remedy (see Apple’s 5/21/21 COL

¶ 649.1), those questions called for legal opinions. Epic’s remedy is well-grounded in the

evidence.

                       b.      Persons affected.

               514.    In private antitrust actions, courts “possess[] broad power to fashion the

equitable relief necessary to halt conduct in violation of the Sherman Act. . . . Antitrust relief

should unfetter a market from anticompetitive conduct and pry open to competition a market that

has been closed by illegal restraints.” Gen. Atomic Co. v. Exxon Nuclear Co., No. 78-223-E,

1979 WL 1708, at *3 (S.D. Cal. Sept. 6, 1979); see Data Gen., 1986 WL 10899, at *4

(recognizing approval by courts of “[b]road equitable remedies . . . in private antitrust actions”).

For that reason, the relief “should not myopically focus solely on [plaintiff]’s harm”. Cont’l

Airlines, Inc. v. United Air Lines, Inc., 136 F. Supp. 2d 542, 550 (E.D. Va. 2001), vacated on

other grounds, 277 F.3d 499 (4th Cir. 2002) (quotation marks omitted). “There is no general

requirement that an injunction affect only the parties in the suit.” Bresgal v. Brock, 843 F.2d

1163, 1169 (9th Cir. 1987). “[A]n injunction is not necessarily made over-broad by extending

benefit or protection to persons other than prevailing parties in the lawsuit—even if it is not a
                                                 178
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 618 of 644




class action—if such breadth is necessary to give prevailing parties the relief to which they are

entitled”. Id. at 1170-71 (emphasis in original); see also, e.g., Kodak, 125 F.3d at 1226

(affirming injunction as to non-party market participants affected by illegal tying arrangement as

“proper under these circumstances” (citing Hawaii v. Standard Oil Co., 405 U.S. 251, 261

(1971) (“While . . . any individual threatened with injury by an antitrust violation may . . .sue for

injunctive relief . . . one injunction is as effective as 100”.))). The Court should not limit the

injunction to apply only to Epic because remedying Epic’s harm requires open competition in the

iOS App Distribution Market and iOS In-App Payment Solutions Market.

               515.    The injunction opens iOS to alternative app stores—not just EGS. As a

developer, Epic will benefit from having multiple channels to distribute its apps on iOS and to

enjoy the benefits of innovation from competition on iOS. Epic could not enjoy these benefits if

the only options are self-distribution or Apple’s App Store. For similar reasons, the injunction

requires Apple to permit all developers—not just Epic—to directly distribute their apps to users

on iOS. Direct distribution on iOS will place competitive pressure on app stores, from which

Epic will benefit as a developer.

               516.    The injunction is not limited to permitting only Epic to use or provide

non-IAP payment solutions. Alternative providers will be far less likely to enter the iOS In-App

Payment Solutions Market and invest in innovation if their only potential customer is Epic. The

market has to be freed for Epic to enjoy the benefits of competition.

               517.    The Court has previously raised concerns about whether there is precedent

for such an injunction in a private antitrust action, but such precedent does exist. For example, in

In re Data General Corp. Antitrust Litigation, following a decision by the Ninth Circuit that the
                                                 179
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 619 of 644




defendant’s refusal to license its computer operating system software except to purchasers of its

central processing units was an unlawful tying arrangement, the district court found a broad

equitable remedy appropriate and issued a permanent injunction requiring, among other things,

that the defendant allow all of its customers (not just the private plaintiffs who had brought the

suit) to use its operating system software with any central processing unit, whether or not sold by

the defendant. See Data Gen., 1986 WL 10899, at *8-10. The scope of commerce at stake under

that injunction was significant; the plaintiffs had established that the defendant “sold and shipped

approximately 52,700 [central processing units] between 1970 and 1978, and that in 1977 alone

its shipments were valued at $254,000,000”. In re Data Gen. Corp. Antitrust Litigation, 529 F.

Supp. 801, 807 (N.D. Cal. 1981), rev’d in part, 724 F.2d 1336 (9th Cir. 1984).

                       c.      Geographic reach.

               518.    The injunction applies globally, excluding China. The Court has the

ability to order Apple, located here in the United States, to take the necessary actions to

effectuate this order. The global reach of the injunction is consistent with the geographic scope

of the markets and conduct at issue. The U.S. Supreme Court has interpreted Section 16 of the

Clayton Act to permit global injunctions. See Zenith, 395 U.S. at 132-33 (upholding an

injunction “barr[ing defendant] from conspiring with others to restrict or prevent [plaintiff] from

entering any . . . foreign market” where plaintiff was “interested in expanding its foreign

commerce and . . . suffered at the hands of [defendant]”).

               519.    If Epic were able to operate EGS on iOS, it would distribute apps globally

and make Epic direct payment available to apps distributed by EGS globally, just as it does on

PC and Macs. (Findings of Fact ¶¶ 435, 477, 479, 480, 484, 541.) Similarly, as a developer,
                                                180
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 620 of 644




Epic wishes to make its own apps available globally and to sell in-app purchases globally. (Id.)

Only a global injunction will allow Epic to compete where it intends and to reach the consumers

it needs. See Zenith Radio, 395 U.S. at 132-33.

               520.    Apple has argued that “[t]he FTAIA on its face limits the geographic reach

of any injunction”. (Legal Framework (ECF No. 276) at 149.) This is wrong. The FTAIA says

nothing about injunctions on its face. See 15 U.S.C. § 6a. To the contrary, “[t]he FTAIA does

not limit the power of the federal courts; rather, it provides substantive elements under the

Sherman Act in cases involving nonimport trade with foreign nations”. United States v. Hui

Hsiung, 778 F.3d 738, 753 (9th Cir. 2015). Thus, the FTAIA does not limit the scope of the

injunctive relief the Court has the power to order.

       B.      Epic is entitled to a permanent injunction for its California law claims.

               521.    Epic is also entitled to a permanent injunction under the Cartwright Act

(see § XII.B.i below), and the UCL (see § XII.B.ii below).

               i.      California Cartwright Act.

               522.    Under the Cartwright Act, “[a]ny person who is injured in his or her

business or property by reason of anything forbidden or declared unlawful by this chapter, may

sue therefor” to obtain “preliminary or permanent injunctive relief when and under the same

conditions and principles as injunctive relief is granted by courts generally under the laws of this

state and the rules governing these proceedings”. Cal. Bus. & Prof. Code § 16750(a).

               523.    As explained above, “[t]he Cartwright Act is broader in range and deeper

in reach than the Sherman Act”. In re Cipro Cases, 61 Cal. 4th at 161 (quoting Cianci, 40 Cal.

3d at 920) (internal quotation marks omitted); (see §§ VIII-X above).

                                                181
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 621 of 644




                524.    There are no material differences between federal antitrust law and the

Cartwright Act that would limit the scope of Epic’s requested injunction under the Cartwright

Act. Therefore, because Epic has prevailed on Counts 7, 8, and 9, Epic is entitled to the same

injunction under the Cartwright Act to which it is entitled under the Clayton Act. (See § XII.A

above.)

                525.    Apple has argued that “[i]njunctive relief obtained under the Cartwright

Act may not extend outside of California”. (Legal Framework (ECF No. 276) at 151 (citing

Healy v. Beer Inst., Inc., 491 U.S. 324, 336 (1989)).) This is contrary to the California Supreme

Court’s holding in Younger v. Jensen, which applied the Cartwright Act to “interstate and intra-

California aspects” of an investigation when the interstate aspects “significantly affect[ed]”

California’s interests. 26 Cal. 3d 397, 405-06 (1980); see also id. at 405 (“Obviously there is an

overlap between coverages of the Sherman Act and state antitrust laws that prohibit substantially

the same conduct, such as California’s Cartwright Act. Neither the Sherman Act nor the federal

prohibition of undue burdens on interstate commerce prevents those state laws from reaching

transactions that have interstate aspects but significantly affect state interests” (citations

omitted)). Apple’s interstate conduct significantly affects California’s interests because Apple’s

foreclosure of the iOS App Distribution Market harms many developers and consumers in

California. Moreover, Apple’s cited authority addressed the application of state law to

“commerce that takes place wholly outside of the State’s borders”. Healy, 491 U.S. at 336. But

California is Apple’s principal place of business and state of incorporation. (DX-4581.001.)

And California law governs the DPLA (PX-2619 (DPLA) § 14.10)—one of the central contracts

in this case. The commerce at issue in this case clearly takes place at least in part in California.
                                                  182
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 622 of 644




                ii.     California UCL.

                526.    Under the UCL, “[a]ny person who engages, has engaged, or proposes to

engage in unfair competition may be enjoined in any court of competent jurisdiction. The court

may make such orders or judgments, including the appointment of a receiver, as may be

necessary to prevent the use or employment by any person of any practice which constitutes

unfair competition, as defined in this chapter, or as may be necessary to restore to any person in

interest any money or property, real or personal, which may have been acquired by means of

such unfair competition”. Cal. Bus. & Prof. Code § 17203.

                527.    “[T]he primary form of relief available under the UCL to protect

consumers from unfair business practices is an injunction”. In re Tobacco II Cases, 46 Cal. 4th

298, 319 (2009). A private party seeking injunctive relief under the UCL may request “public

injunctive relief”, McGill v. Citibank, N.A., 2 Cal. 5th 945, 954 (2017), which is “relief that by

and large benefits the general public and that benefits the plaintiff, if at all, only incidentally

and/or as a member of the general public”, id. at 955 (citations, quotation marks and alterations

omitted). Thus, the Court has even greater authority to extend an injunction under the UCL to

third parties that are also affected by Apple’s unlawful conduct than under federal law.

                528.    There are no material differences between federal antitrust law and the

UCL that would limit the scope of Epic’s requested injunction under the UCL. Therefore,

because Epic has prevailed on Count 10, Epic is entitled to the same injunction under the UCL to

which it is entitled under the Clayton Act. (See § XII.A above.)

                529.    Apple argues that “[a] plaintiff seeking equitable relief from a federal

court under state law must meet two requirements”. (Legal Framework (ECF No. 276) at 152-
                                                  183
        Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 623 of 644




 53.) The first purported requirement is that the plaintiff must show “that no adequate remedy at

 law exists”. Id. Epic has satisfied this requirement. (See § XII.A.ii above.) The second

 purported requirement is that “the plaintiff must ‘disprove[]’ the adequacy of an alternative

 remedy”. (Legal Framework (ECF No. 276) at 152-53.) This is not a requirement. Apple’s

 cited cases simply involved situations where the plaintiffs sought damages in addition to

 equitable relief, and Epic does not seek damages. See Anderson v. Apple Inc., No. 20-CV-2328,

 2020 WL 6710101, at *7 (N.D. Cal. Nov. 16, 2020) (“Because [the plaintiffs] also request

 money damages, it is possible their legal remedy is sufficient; on this record, they have not yet

 disproven that”.); Bird v. First Alert, Inc., No. C 14-3585 PJH, 2014 WL 7248734, at *5 (N.D.

 Cal. Dec. 19, 2014) (finding, where “plaintiff is seeking damages under the CLRA”, that

 damages were an adequate remedy at law).

XIII.    APPLE IS NOT ENTITLED TO RELIEF ON ITS COUNTERCLAIMS.

                530.    Finally, the Court addresses the five counterclaims alleged by Apple

 against Epic. (See §§ XIII.A-E below.) The Court denies relief on each.

         A.     Apple is not entitled to relief because the challenged provisions of the DPLA
                and Schedule 2 are unlawful, void as against public policy, and
                unconscionable (Count 1).

                531.    Apple alleges that Epic breached five provisions of the DPLA (§§ 3.2(f),

 3.3.2, 3.3.3, 3.3.25, 6.1) and one provision of Schedule 2 (§ 3.4), and seeks “[a]n award of

 compensatory damages in the amounts Epic contractually agreed to pay to Apple under the

 Apple Developer Program License Agreement, including 30% of in-app purchases made by iOS

 end users via Epic Direct Payment”. (See Legal Framework, App’x A (ECF No. 276-1) at 8; see

 also Apple’s Answer (ECF No. 66) at pp. 56-57.)

                                                 184
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 624 of 644




               532.    The DPLA is “governed by and construed in accordance with the laws of

the United States and the State of California”. (PX-2619 (DPLA) § 14.10.) Under California

law, “the elements of a cause of action for breach of contract are (1) the existence of the contract,

(2) plaintiff’s performance or excuse for nonperformance, (3) defendant’s breach, and (4) the

resulting damages to the plaintiff”. Oasis W. Realty, LLC v. Goldman, 51 Cal. 4th 811, 821

(2011); see CACI No. 303 (2020).

               533.    Epic does not contest that it breached the DPLA and Schedule 2. Nor

does Epic contest that if the Court finds the breached provisions enforceable against Epic in this

matter, then Epic would be liable to Apple for breach of contract in an amount equal to 30% of

in-app purchases made by end users on the Fortnite iOS app via Epic direct payment.

               534.    But because these contracts are not lawful, Apple is entitled to nothing.

The Court upholds Epic’s defenses that the challenged provisions of the DPLA and Schedule 2

are unenforceable under the doctrine of illegality (see § XIII.A.i below); void as against public

policy (see § XIII.A.ii below); and unconscionable (see § XIII.A.iii below).

               i.      The challenged provisions of the DPLA and Schedule 2 are illegal under
                       the antitrust laws (Affirmative Defenses 1 and 2).

               535.    Epic has pleaded that Apple’s claims are barred in whole or in part

because the contractual provisions on which they are based are unlawful under Sections 1 and 2

of the Sherman Act, the Cartwright Act, and the UCL. (Epic’s Answer (ECF No. 106) at p. 17

(Affirmative Defenses 1 and 2).)

               536.    Federal Law. “The authorities from the earliest time to the present

unanimously hold that no court will lend its assistance in any way towards carrying out the terms


                                                185
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 625 of 644




of an illegal contract.” McMullen, 174 U.S. at 654. “In such cases the aid of the court is denied,

not for the benefit of the [non-complying party], but because public policy demands that it

should be denied.” Cont’l Wall Paper, 212 U.S. at 262; see also Kaiser Steel, 455 U.S. at 77

(“our cases leave no doubt that illegal promises will not be enforced in cases controlled by the

federal law”).

                 537.   “[T]he illegality defense should be entertained in those circumstances

where its rejection would be to enforce conduct that the antitrust laws forbid.” Kaiser Steel, 455

U.S. at 81-82. Courts decline to enforce a contract as in violation of the Sherman Act if “the

judgment of the Court would itself be enforcing the precise conduct made unlawful by [the

antitrust laws]”. Kelly v. Kosuga, 358 U.S. 516, 520 (1959); see also Bassidji v. Goe, 413 F.3d

928, 936 (9th Cir. 2005) (“Both federal law and California law begin from the core proposition

that whatever flexibility may otherwise exist with regard to the enforcement of ‘illegal’

contracts, courts will not order a party to a contract to perform an act that is in direct violation of

a positive law directive, even if that party has agreed, for consideration, to perform that act.”).

                 538.   California Law. “The object of a contract must be lawful when the

contract is made.” Cal. Civ. Code § 1596. Among other possibilities, a contract is unlawful if it

is (1) “[c]ontrary to an express provision of law,” (2) “[c]ontrary to the policy of express law,

though not expressly prohibited,” or (3) “[o]therwise contrary to good morals”. Cal. Civ. Code

§ 1667.

                 539.   “There is no doubt that the general rule requires the courts to withhold

relief under the terms of an illegal contract or agreement which is violative of public policy.”

Tri-Q, Inc. v. Sta-Hi Corp., 63 Cal. 2d 199, 218 (1965); see Tiedje v. Aluminum Taper Milling
                                                 186
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 626 of 644




Co., 46 Cal. 2d 450, 453-54 (1956) (“A contract made contrary to public policy or against the

express mandate of a statute may not serve as the foundation of any action, either in law or in

equity.”). “These rules are intended to prevent the guilty party from reaping the benefit of his

wrongful conduct, or to protect the public from the future consequences of an illegal contract.”

Tri-Q, 63 Cal. 2d at 218.

               540.    “The burden ordinarily rests upon the party asserting the invalidity of the

contract to show how and why it is unlawful.” Rock River Commc’ns, Inc. v. Universal Music

Grp., Inc., 745 F.3d 343, 350 (9th Cir. 2014) (quoting Morey v. Paladini, 187 Cal. 727, 734

(1922)).

               541.    Application. The challenged provisions of the DPLA and Schedule 2 are

unlawful under federal and California law. Those provisions are non-negotiable terms in

contracts of adhesion into which Apple forces developers to enter by means of its market power.

(Findings of Fact § IV.A.) Those provisions reinforce Apple’s market power in the iOS App

Distribution Market and iOS In-App Payment Solutions Market by requiring the exclusive use of

Apple’s App Store and Apple’s IAP, prohibiting all alternative app stores and all non-IAP

payment solutions, and imposing Apple’s supra-competitive 30% commission. These provisions

are unlawful for the reasons previously explained. (See §§ II-XI above.)

               542.    Apple responds that “[t]here is no serious question that the 30%

commission Epic is obligated to pay Apple represents a ‘fair price’”, and that “Epic’s affirmative

defense of illegality” does not defeat liability for Epic “not remitting the commission to Apple”.

(Apple’s 5/21/21 COL ¶¶ 783-87.) But the Court has already concluded that Apple’s 30%

commission is distinguishable from the 30% commissions charged by some other platforms, and
                                               187
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 627 of 644




is the result of Apple’s monopoly power. (See Findings of Fact § IV.C.) Apple made no effort

to value its intellectual property other than by comparing itself to these other platforms. (See

Malackowski Trial Tr. 3658:10-12 (“Q. . . . You did not do any work to try to put a dollar

amount on any single or collection of Apple’s IP, right? A. Correct.”). Therefore, “to give

judgment for the excessive . . . price . . . in favor of [Apple] would be to make the courts a party

to the carrying out of one of the very restraints forbidden by the Sherman Act”. See Kelly, 358

U.S. at 520.

               543.    Because enforcing the challenged provisions of the DPLA and Schedule 2

would further Apple’s anti-competitive conduct, the Court denies Apple’s breach of contract

counterclaim. See McMullen, 174 U.S. at 654; Cont’l Wall Paper, 212 U.S. at 262; Kaiser Steel,

455 U.S. at 77.

               ii.     The challenged provisions of the DPLA and Schedule 2 are void as against
                       public policy (Affirmative Defense 3).

               544.    Epic has pleaded that Apple’s claims are barred in whole or in part

because the contractual provisions on which they are based are void as against public policy.

(Epic’s Answer (ECF No. 106) at p. 17 (Affirmative Defense 3).)

               545.    “That is not lawful which is . . . [c]ontrary to the policy of express law,

though not expressly prohibited.” Cal. Civ. Code § 1667(2); see also Kelton v. Stravinski,

138 Cal. App. 4th 941, 949 (2006) (“In general, a contract contrary to public policy will not be

enforced.”); Altschul v. Sayble, 83 Cal. App. 3d 153, 162 (1978) (“There is no requirement that a

contract violate an express mandate of a statute before it may be declared void as contrary to

public policy.”).


                                                188
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 628 of 644




               546.    “The authorities all agree that a contract is not void as against public

policy unless it is injurious to the interests of the public as a whole or contravenes some

established interest of society.” Rosenberg v. Raskin, 80 Cal. App. 2d 335, 338 (1947).

“California has a settled public policy in favor of open competition.” Kelton, 138 Cal. App. 4th

at 946; see also Margolin v. Shemaria, 85 Cal. App. 4th 891, 901 (2000) (“Both legislative

enactments and administrative regulations can be utilized to further this state’s public policy of

protecting consumers in the marketplace of goods and services.”). A provision in a contract that

obligates a party to the contract to violate the antitrust laws is void as against public policy. See

Foley v. Interactive Data Corp., 47 Cal. 3d 654, 713 n.12 (1988) (citing Tameny v. Atlantic

Richfield Co., 27 Cal. 3d 167 (1980)).

               547.    The challenged provisions of the DPLA and Schedule 2 are void as against

public policy for reasons similar to why they are illegal. Apple uses its market power to force

developers to enter into those provisions; they foreclose all alternative app stores and non-IAP

payment solutions in the iOS App Distribution Market and iOS In-App Payment Solutions

Market, respectively; and they facilitate the imposition of Apple’s supra-competitive 30%

commission. (See § XIII.A.i above.) The Court denies Apple’s breach of contract claim because

the contractual provisions on which it is based undermine the public policy in favor of

competitive markets.




                                                 189
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 629 of 644




               iii.    The challenged provisions of the DPLA and Schedule 2 are
                       unconscionable (Affirmative Defense 4).

               548.    Epic has pleaded Apple’s claims are barred in whole or in part because the

challenged provisions of the DPLA and Schedule 2 are unconscionable. (Epic’s Answer (ECF

No. 106) at pp. 17-18 (Affirmative Defense 4).)

               549.    “[A] contract or provision, even if consistent with the reasonable

expectations of the parties, will be denied enforcement if, considered in its context, it is unduly

oppressive or ‘unconscionable.’” Graham v. Scissor-Tail, Inc., 28 Cal. 3d 807, 820 (1981).

“Unconscionability has generally been recognized to include an absence of meaningful choice on

the part of one of the parties together with contract terms which are unreasonably favorable to

the other party. Phrased another way, unconscionability has both a ‘procedural’ and a

‘substantive’ element. . . . [B]oth the procedural and substantive elements must be met before a

contract or term will be deemed unconscionable. Both, however, need not be present to the same

degree. A sliding scale is applied so that ‘the more substantively oppressive the contract term,

the less evidence of procedural unconscionability is required to come to the conclusion that the

term is unenforceable, and vice versa.’” Lhotka v. Geographic Expeditions, Inc., 181 Cal. App.

4th 816, 821 (2010) (internal quotation marks and citations omitted). “If the court as a matter of

law finds the contract or any clause of the contract to have been unconscionable at the time it

was made the court may refuse to enforce the contract, or it may enforce the remainder of the

contract without the unconscionable clause, or it may so limit the application of any

unconscionable clause as to avoid any unconscionable result.” Cal. Civil Code § 1670.5(a);




                                                190
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 630 of 644




Graham, 28 Cal. 3d at 820 n.19 (citing Cal. Civil Code § 1670.5) (“The judicially developed

concept of unconscionability has recently become a part of our statutory law.”).

               550.   “The procedural element of the unconscionability analysis concerns the

manner in which the contract was negotiated and the circumstances of the parties at that time.

The element focuses on oppression or surprise. Oppression arises from an inequality of

bargaining power that results in no real negotiation and an absence of meaningful choice.

Surprise is defined as the extent to which the supposedly agreed-upon terms of the bargain are

hidden in the prolix printed form drafted by the party seeking to enforce the disputed terms.”

Gatton v. T-Mobile USA, Inc., 152 Cal. App. 4th 571, 581 (2007) (internal quotation marks and

citations omitted)). “Unconscionability analysis begins with an inquiry into whether the contract

is one of adhesion. The term contract of adhesion signifies a standardized contract, which,

imposed and drafted by the party of superior bargaining strength, relegates to the subscribing

party only the opportunity to adhere to the contract or reject it.” Armendariz v. Found. Health

Psychcare Servs., Inc., 24 Cal. 4th 83, 113 (2000) (quotation marks and alterations omitted).

               551.   “The substantive element of the unconscionability analysis focuses on

overly harsh or one-sided results,” Gatton, 152 Cal. App. 4th at 586, or “whether a contractual

provision reallocates risks in an objectively unreasonable or unexpected manner,” Lhotka,

181 Cal. App. 4th at 821. Substantive unconscionability “traditionally involves contract terms

that are so one-sided as to ‘shock the conscience,’ or that impose harsh or oppressive terms”.

Wherry v. Award, Inc., 192 Cal. App. 4th 1242, 1248 (2011).

               552.   The challenged provisions of the DPLA and Schedule 2 are

unconscionable for reasons similar to why they are illegal and void as against public policy.
                                               191
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 631 of 644




They are procedurally unconscionable because they are non-negotiable terms in contracts of

adhesion. Apple does not negotiate these terms, and developers, who have to be on iOS to

monetize their apps, have no choice but to enter into them. (Findings of Fact § IV.A.) The

challenged provisions of the DPLA and Schedule 2 are also substantively unconscionable

because they foreclose all alternative app stores and non-IAP payment solutions in the iOS App

Distribution Market and iOS In-App Payment Solutions Market, respectively, and they facilitate

the imposition of Apple’s supra-competitive 30% commission. (See § XIII.A.i above.) The

Court denies Apple’s breach of contract claim because the contract provisions on which it is

based are unconscionable.

        B.     Apple’s implied covenant claim entitles Apple to no more than Apple’s
               breach of contract claim (Count 2).

               553.    Apple has alleged an implied covenant claim against Epic based on the

same conduct and seeking the same damages as Apple’s breach of contract claim. (See Legal

Framework, App’x A (ECF No. 276-1) at 8; see also Apple’s Answer (ECF No. 66) at pp. 56-

58.)

               554.    “In California, the factual elements necessary to establish a breach of the

covenant of good faith and fair dealing are: (1) the parties entered into a contract; (2) the plaintiff

fulfilled his obligations under the contract; (3) any conditions precedent to the defendant’s

performance occurred; (4) the defendant unfairly interfered with the plaintiff’s rights to receive

the benefits of the contract; and (5) the plaintiff was harmed by the defendant’s conduct.”

Rosenfeld v. JPMorgan Chase Bank, N.A., 732 F. Supp. 2d 952, 968 (N.D. Cal. 2010) (citing

CACI No. 325 (2020)).


                                                 192
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 632 of 644




               555.    Apple’s implied covenant claim fails because the contractual provisions

on which it is based are unlawful. Toce v. Rentch, No. 17-cv-0603-AJB-BLM, 2018 WL

5994598, at *12 (S.D. Cal. Nov. 15, 2018) (granting summary judgment against implied

covenant claim because “the terms of the Campaign Agreement are illegal”).

               556.    Further, even if the contractual provisions were lawful (which they are

not), Apple still would not be entitled to double recovery for its implied covenant claim. Both

causes of action “are limited to contract damages”. Applied Equip. Corp. v. Litton Saudi Arabia

Ltd., 7 Cal. 4th 503, 516 (1994) (internal quotation marks and citation omitted).

               557.    Because the Court has found that the challenged provisions of the DPLA

and Schedule 2 are unlawful, Apple cannot recover on an implied covenant claim arising from

the same provisions. The Court denies relief on Count 2.

       C.      Apple is not entitled to recover on its quasi-contract / unjust enrichment
               claim (Count 3).

               558.    Apple alleges an unjust enrichment claim “[i]n the alternative”, seeking

the same damages as its breach of contract claim. (Apple’s Answer (ECF No. 66) at p. 58; Legal

Framework, App’x A (ECF No. 276-1) at 8.)

               559.    “The elements of unjust enrichment are ‘receipt of a benefit and unjust

retention of the benefit at the expense of another.’” Berger v. Home Depot USA, Inc., 741 F.3d

1061, 1070 (9th Cir. 2014), abrogated on other grounds by Microsoft Corp. v. Baker, 137 S. Ct.

1702 (2017) (quoting Lectrodryer v. SeoulBank, 77 Cal. App. 4th 723, 726 (2000)). “The person

receiving the benefit is required to make restitution only if the circumstances are such that, as

between the two individuals, it is unjust for the person to retain it.” Doe I v. Wal-Mart Stores,


                                                193
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 633 of 644




Inc., 572 F.3d 677, 684 (9th Cir. 2009) (internal quotation marks and citation omitted) (emphasis

in original).

                560.   Apple is not entitled to recover on its unjust enrichment claim.

                561.   As an initial matter, it is not unjust for Epic to retain the alleged benefits

that it received. As explained above, Apple benefited greatly from Epic’s presence on iOS.

(Findings of Fact ¶¶ 108-112.) “Exchanges where both parties benefit do not constitute unjust

enrichment.” Howard v. Gap, Inc., No. C 06-06773 WHA, 2007 WL 164322, at *4 (N.D. Cal.

Jan. 19, 2007) (New York law).

                562.   Independently, permitting Apple to recover on an unjust enrichment claim

would undermine Congressional policy just as much as permitting Apple to recover on the

express provisions of the DPLA and Schedule 2. (See § XIII.A.i above.) “As a general rule . . .

a guilty party to an illegal contract cannot recover in quasi contract for the benefit conferred.”

Ryan v. Mike-Ron Corp., 226 Cal. App. 2d 71, 75 (1964); see also Toce, 2018 WL 5994598, at

*4 (“a party may not recover for that which cannot be recovered on a contract”); Restatement

(Third) of Restitution and Unjust Enrichment § 32 (2011) (“Restitution will also be allowed, as

necessary to prevent unjust enrichment, if the allowance of restitution will not defeat or frustrate

the policy of the underlying prohibition.”).

                563.   Further, even if the contractual provisions were lawful (which they are

not), Apple still would not be entitled to double recovery for its unjust enrichment claim, as

“restitution under an unjust enrichment pleading” are available “in lieu of contract damages”.

See JPMorgan Chase Bank, N.A. v. Lewis, No. 12-CV-2971-H-RBB, 2014 WL 12531091, at *7

(S.D. Cal. June 27, 2014).
                                                 194
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 634 of 644




                564.      Because the Court has found that the challenged provisions of the DPLA

and Schedule 2 are unlawful, Apple cannot recover on its related unjust enrichment claim either.

The Court denies relief on Count 3.

        D.      Because the Court upholds Epic’s antitrust claims, Apple’s declaratory
                judgment claim fails (Count 6).

                565.      Apple seeks a declaration that the Developer Agreement and DPLA are

lawful contracts, that Apple’s terminations of the Developer Agreement and DPLA with Epic

were lawful, and that Apple has the contractual right to terminate the Developer Agreements and

DPLAs with Epic’s affiliates. (Legal Framework, App’x A (ECF No. 276-1) at 8-9; see also

Apple’s Answer (ECF No. 66) at pp. 61-63.)

                566.      Because Epic prevailed on its claims, Apple is not entitled to this

declaration. Epic contends that the challenged provisions of the DPLA are unlawful. Because

the Court agrees, Apple is not entitled to a declaration that the DPLA is lawful.

                567.      Similarly, Epic contends that Apple terminated the Developer Agreement

and DPLA with Epic, and threatened to terminate the Developer Agreements and DPLAs with

Epic’s affiliates, in retaliation against Epic’s decision to take a stand against Apple’s

monopolies. Because the Court agrees that this retaliation is unlawful, Apple is not entitled to a

declaration that Apple’s terminations of the Developer Agreement and DPLA with Epic were

lawful or that Apple has the contractual right to terminate the Developer Agreements and DPLAs

with Epic’s affiliates.

                568.      The Court declines to grant the declaratory relief requested in Count 6.




                                                   195
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 635 of 644




       E.      Apple is not entitled to indemnification for actions between the contracting
               parties (Count 7).

               569.    Finally, based on Section 10 of the DPLA, Apple alleges that it “is entitled

to indemnification from Epic, including recovery of attorneys’ fees and costs of defending this

litigation and pursuing these Counterclaims”. (Apple’s Answer (ECF No. 66) at pp. 63-64.)

               570.    Section 10 of the DPLA provides that:

               “To the extent permitted by applicable law, [Epic] agree[s] to
               indemnify and hold harmless, and upon Apple’s request, defend,
               Apple, its directors, officers, employees, independent contractors
               and agents (each an ‘Apple Indemnified Party’) from any and all
               claims, losses, liabilities, damages, taxes, expenses and costs,
               including without limitation, attorneys’ fees and court costs
               (collectively, ‘Losses’), incurred by an Apple Indemnified Party
               and arising from or related to any of the following . . . :
               (i) [Epic’s] breach of any certification, covenant, obligation,
               representation or warranty in this Agreement, including Schedule 2
               and Schedule 3 (if applicable); . . . or (vi) [Epic’s] use (including
               [Epic’s] Authorized Developers’ use) of the Apple Software or
               services, [Epic’s] Licensed Application Information, Pass
               Information, metadata, [Epic’s] Authorized Test Units, [Epic’s]
               Registered Devices, [Epic’s] Covered Products, or [Epic’s]
               development and distribution of any of the foregoing.” (PX-2619
               (DPLA) § 10.)

               571.    “An indemnity agreement is to be interpreted according to the language

and contents of the contract as well as the intention of the parties as indicated by the contract.”

Myers Bldg. Indus., Ltd. v. Interface Tech., Inc., 13 Cal. App. 4th 949, 968 (1993); see also

Herman Christensen & Sons, Inc. v. Paris Plastering Co., 61 Cal. App. 3d 237, 245 (1976)

(where the parties “have expressly contracted with respect to the duty to indemnify, the extent of

that duty must be determined from the contract and not by reliance on the independent doctrine

of equitable indemnity”). Such agreements “are construed under the same rules that govern the


                                                 196
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 636 of 644




interpretation of other contracts.” Alki Partners, LP v. DB Fund Servs., LLC, 4 Cal. App. 5th

574, 600 (2016).

               572.    Apple is not entitled to indemnification for two reasons.

               573.    First, Section 10 applies only to claims brought by third parties against

Apple—not to claims between Epic and Apple. “Generally, an indemnification provision allows

one party to recover costs incurred defending actions by third parties, not attorney fees incurred

in an action between the parties to the contract.” Alki, 4 Cal. App. 5th at 600. “An

indemnification clause in which one party promised to ‘indemnify’ the other from ‘any, all, and

every claim’ which arises out of ‘the performance of the contract’ deals only with third party

claims, and cannot support an award of attorney fees in an action for breach of contract between

the parties to the agreement.” Id. at 601 (internal citation omitted).

               574.    Courts look to several indicators to distinguish third-party indemnification

provisions from provisions for the award of attorney fees incurred in litigation between the

parties to the contract. Id. at 600. The “key indicator” is “an express reference to

indemnification”: “A clause that contains the words ‘indemnify’ and ‘hold harmless’ generally

obligates the indemnitor to reimburse the indemnitee for any damages the indemnitee becomes

obligated to pay third persons—that is, it relates to third party claims, not attorney fees incurred

in a breach of contract between the parties to the indemnity agreement itself.” Id.

               575.    Section 10 states that Epic will “indemnify” Apple for “any and all

. . . losses . . . arising from”, among other things, Epic’s “breach of any certification, covenant,

obligation, representation or warranty in this Agreement”. (PX-2619 (DPLA) § 10.) Nothing in



                                                 197
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 637 of 644




Section 10 clearly states or indicates that the indemnification provision applies to claims asserted

by one party against another.

               576.    Moreover, Section 10 provides that “upon Apple’s request”, Epic will

“defend” Apple against the claims subject to indemnification. It would be nonsensical to

interpret this to apply to claims brought by Epic, thereby requiring Epic to defend Apple against

claims that Epic itself had brought.

               577.    Accordingly, Section 10 does not apply to an action between the two

parties.

               578.    Second, even if the indemnification clause applied to intra-party disputes

(which it does not), Section 10 should not be enforced in this case because such enforcement

would be unconscionable.23

               579.    The legal standard for unconscionability is discussed above. (See

§ XIII.A.iii above.)

               580.    If interpreted to cover intra-party disputes, the indemnification clause of

the DPLA would be procedurally unconscionable because the DPLA is a contract of adhesion.

(Findings of Fact § IV.A.)



    23
       Apple argues that “Epic has waived any argument that the indemnification clause of the
DPLA is substantively unconscionable.” (Apple’s 5/21/21 COL ¶ 817.) The Court disagrees.
Epic pleaded the unconscionability defense in its Answer (ECF No. 106 at pp. 17-18), and Apple
knew why Epic contended the indemnification clause was unconscionable well before trial
(Legal Framework (ECF No. 276) at 121). Epic was not obligated at the pleading stage to
explain all the bases on which each provision is unconscionable. See Kohler v. Flava Enters.,
Inc., 779 F.3d 1016, 1019 (9th Cir. 2015) (holding that affirmative defense was not waived
because “the ‘fair notice’ required by the pleading standards only requires describing the defense
in ‘general terms’”).
                                                198
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 638 of 644




               581.   Section 10 is substantively unconscionable. Courts have found indemnity

clauses to be substantively unconscionable where, under the “bare language” of the clause, the

defendant would be entitled to attorneys’ fees, costs and expenses and even the judgment amount

from plaintiff even where plaintiff won suit against defendant. See, e.g., Lennar Homes of Calif.,

Inc. v. Stephens, 232 Cal. App. 4th. 673, 693 (2014). Under Apple’s reading, Section 10,

requires Epic to pay regardless of whether Apple or Epic sues, and regardless of whether Apple

or Epic prevails, because Apple will incur some amount of “[l]osses” in all scenarios. This is

unconscionable. See id.

               582.   For the foregoing reasons, the Court denies relief on Count 7.




                                               199
       Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 639 of 644




XIV.        APPENDIX 1: SPECIFIC RELIEF

                 For the reasons provided in Epic’s [Proposed] Conclusions of Law, Epic

 respectfully requests that the Court enter the permanent injunction set forth below.

 Claims Concerning iOS App Distribution

                 The Court has found in favor of Epic on the following claims:

            •    Epic Count 1: Sherman Act § 2: Unlawful Monopoly Maintenance in the iOS App
                 Distribution Market

            •    Epic Count 2: Sherman Act § 2: Denial of Essential Facility in the iOS App
                 Distribution Market

            •    Epic Count 3: Sherman Act § 1: Unreasonable Restraints on Trade in the iOS App
                 Distribution Market

            •    Epic Count 7: California Cartwright Act: Unreasonable Restraints of Trade in the
                 iOS App Distribution Market

            •    Epic Count 10: California Unfair Competition Law (with respect to iOS app
                 distribution)
                 To remedy Epic’s injuries, the Court orders the following relief:

                 Apple is permanently enjoined from further violations of Section 1 and/or Section
 2 of the Sherman Act, the Cartwright Act and/or the California Unfair Competition Law with

 respect to the iOS App Distribution Market and/or the App Store on the iOS platform;
                 Apple is permanently enjoined from restricting, prohibiting, impeding or deterring
 the distribution24 of iOS apps through a distribution channel other than the App Store, including
 by:


       24
       Distribution includes both supply of apps by developers and acquisition of apps by
 consumers unless otherwise specified.
                                                 200
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 640 of 644




       •      Restricting, prohibiting, impeding or deterring users of iOS devices, through
              technical, contractual, financial, or other means, from downloading, executing,
              installing and/or updating iOS apps and app stores from a distribution channel other
              than the App Store;

       •      Enforcing contractual provisions, guidelines or policies, or imposing technical
              restrictions or financial penalties, that (i) restrict, prohibit, impede or deter the
              distribution of iOS apps through a distribution channel other than the App Store or
              (ii) have the effect of impeding or deterring competition among app distributors
              (including competition between third party app distributors and the App Store);

       •      Conditioning access of developers to iOS on the pricing of their apps or in-app
              content on other platforms;

       •      Conditioning access of developers to the App Store on the pricing of their apps or
              in-app content on other platforms and/or on the pricing of their iOS apps or in-app
              content available through other distribution channels;

       •      Conditioning distribution through the App Store on exclusivity or on an agreement
              by a developer not to distribute an iOS app through other means; and

       •      Retaliating or threatening to retaliate against any developer on the basis of the
              developer’s choice of iOS app distribution channel.
              Apple is permanently enjoined from discriminating against or disadvantaging iOS

app distribution through channels other than the App Store, including by:

       1.     Denying iOS app stores access to iOS functionality that the App Store has access
              to, including iOS functionality that assists in or is required for the downloading,
              execution, installation, updating and removal of apps;




                                              201
     Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 641 of 644




       2.      Denying iOS apps that were downloaded through a distribution channel other than

               the App Store equivalent access to iOS functionality and/or features that iOS apps
               downloaded through the App Store have access to;
       3.      Deterring users from downloading, executing, installing and/or updating iOS apps
               from or through an app distribution channel other than the App Store, including by
               imposing “warning” screens or other user obstructions or deterrents on iOS apps
               distributed through channels other than the App Store that are not present for apps
               distributed through the App Store.
               To remedy Apple’s past misconduct and its anti-competitive effects in the iOS

App Distribution Market and other relevant markets, and in order to restore competition in the

iOS App Distribution Market, the Court orders the following time-limited relief, which shall be

effective from the date of this Order for a period of three (3) years:

       4.      Apple is enjoined from enforcing contractual provisions, guidelines or policies, or
               imposing technical restrictions, that restrict, prohibit, impede or deter distribution
               of iOS app stores through the App Store.
               Nothing in this Order shall prohibit Apple from taking steps to prevent the

distribution of malware.

Claims Concerning In-App Payment Processing

               The Court has found in favor of Epic on the following claims:

       •       Epic Count 4: Sherman Act § 2: Unlawful Monopoly Maintenance in the iOS In-
               App Payment Solutions Market

       •       Epic Count 5: Sherman Act § 1: Unreasonable Restraints of Trade in the iOS In-
               App Payment Solutions Market


                                                 202
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 642 of 644




       •      Epic Count 6: Sherman Act § 1: Tying the App Store in the iOS App Distribution
              Market to In-App Purchase in the iOS In-App Payment Solutions Market

       •      Epic Count 8: California Cartwright Act: Unreasonable Restraints of Trade in the
              iOS In-App Payment Solutions Market

       •      Epic Count 9: California Cartwright Act: Tying the App Store in the iOS App
              Distribution Market to In-App Purchase in the iOS In-App Payment Solutions
              Market

       •      Epic Count 10: California Unfair Competition Law (with respect to iOS in-app
              payment processing)
              To remedy Epic’s injuries, the Court orders the following relief:

              Apple is permanently enjoined from further violations of Section 1 and/or Section

2 of the Sherman Act, the Cartwright Act and/or the California Unfair Competition Law with

respect to the iOS In-App Payment Solutions Market;

              Apple is permanently enjoined from restricting, prohibiting, impeding or deterring

the use of in-app payment processors other than Apple’s In-App Purchase (“IAP”), including by:

       •      Rejecting iOS apps for distribution through the App Store or retaliating or
              threatening to retaliate against any developer of an iOS app on the basis of the
              developer’s or the app’s actual or intended integration of one or more non-IAP
              payment processors;

       •      Enforcing contractual provisions, guidelines or policies, or imposing technical
              restrictions or financial penalties, that (i) restrict, prohibit, impede or deter
              developers from integrating payment processors other than Apple’s IAP into their

              apps for processing in-app purchases of in-app content or (ii) have the effect of


                                              203
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 643 of 644




               impeding or deterring competition among in-app payment processors;

               Apple is permanently enjoined from discriminating against payment processors

other than Apple’s IAP, iOS developers that use payment processors other than Apple’s IAP, or

iOS apps or app stores that use payment processors other than Apple’s IAP, including by:

       •       Denying access to iOS apps or app stores that use payment processors other than
               Apple’s IAP, to the same iOS functionality and/or features that apps using
               exclusively Apple’s IAP for processing in-app purchases of in-app content have;

       •       Giving preferential treatment in search to iOS apps that exclusively use Apple’s
               IAP; and
               Apple is permanently enjoined from imposing a financial penalty or technical

limitation on access to the iOS platform by iOS apps (including iOS app stores) that use payment

processing solutions other than or in addition to Apple’s IAP.

                                        *       *      *         *    *

               Nothing in this Order shall prohibit Apple from seeking a modification of the

Court’s Order regarding the iOS In-App Payment Solutions Market on the basis of changed

circumstances (i.e., Apple’s loss of monopoly power in the iOS App Distribution Market).

Anti-Circumvention
               Apple is permanently enjoined from circumventing this Order by taking steps that

violate the purpose, if not the terms, of this Order, including by imposing disincentives or

providing incentives that are designed to, and have the effect of, making real competition in the

iOS App Distribution Market and/or the iOS In-App Payment Solutions Market impracticable.




                                               204
    Case 4:20-cv-05640-YGR Document 777-3 Filed 05/28/21 Page 644 of 644




Anti-Retaliation

               Apple is permanently enjoined from taking any retaliatory actions against Epic or

any of its affiliates in connection with or based on Epic’s filing of this Action, the August 2020

enablement of a direct payment option in Fortnite, or the steps Epic took to enable that option

(“Prior Epic Actions”). For the avoidance of doubt, prohibited retaliatory actions include conduct

by Apple that denies Fortnite access to Apple’s App Store on the basis of such Prior Epic Actions.




                                               205
